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                      Exhibit A
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(12) United States Patent                                                            (10) Patent No.:                          US 8,811,184 B2
       Ong                                                                           (45) Date of Patent:                               Aug. 19, 2014
(54) AUTOMATICALLY ADJUSTING BANDWITH                                            (56)                             References Cited
       ALLOCATED BETWEEN DIFFERENT ZONES
       IN PROPORTION TO THE NUMBER OF                                                                 U.S. PATENT DOCUMENTS
       USERS IN EACH OF THE ZONES WHERE A
       FIRST LEVEL, ZONE INCLUDES                                                        5,231,633 A * 7/1993 Hluchy et al. ............... 370,429
                                                                                         5,889,956 A * 3/1999 Hauser et al. ......                     TO9,226
       SECONO-LEVEL ZONES NOT ENTITLED TO                                                7.215,675 B2* 5/2007 Kramer et al. ...                      370,395.4
       ANY GUARANTEED BANDWITH RATE                                                      7,324.473 B2 * 1/2008 Corneille et al. ..                     370,328
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                                                                                  2003/00051 12 A1                 1/2003 Krautkremer ................. TO9,224
(75) Inventor: David Ong, Calgary (CA)                                            2005/009 1539 A1                 4/2005 Wang et al.
                                                                                  2005/0094643 A1*                 5/2005 Wang et al. ................ 370,395.4
(73) Assignee: Guest Tek Interactive Entertainment                                2006/022823 A1* 10, 2006 Shoham et al. ....                          370,229
               Ltd., Calgary (CA)                                                                                     (Continued)
(*) Notice:          Subject to any disclaimer, the term of this                                  FOREIGN PATENT DOCUMENTS
                     patent is extended or adjusted under 35
                     U.S.C. 154(b) by 164 days.                                 CA                   275O345                 12/2011
                                                                                WO             WO-01/031861 A9               11, 2002
                                                                                WO            WO-2011005710                   1, 2011
(21) Appl. No.: 13/308,908                                                                                OTHER PUBLICATIONS
(22) Filed:          Dec. 1, 2011                                                Martin Devera and Don Cohen, “HTB Linux queuing discipline
                                                                                 manual—a user guide', last updated May 5, 2002; http://luxik.cdi.
(65)                    Prior Publication Data                                   cz-devik?qoshtb/manual/userg.htm.
       US 2013/OO51237 A1               Feb. 28, 2013                           Primary Examiner — Andrew Lai
                                                                                Assistant Examiner — Sumitra Ganguly
(30)             Foreign Application Priority Data                              (74) Attorney, Agent, or Firm — Andrew T. MacMillan
  Aug. 24, 2011        (CA) ...................................... 2750345       (57)                               ABSTRACT
                                                                                A bandwidth management system includes a plurality of
(51) Int. Cl.                                                                   queues respectively corresponding to a plurality of Zones. An
       H04L 2/26                   (2006.01)                                    enqueuing module receives network traffic from one or more
       H04L 2/56                   (2006.01)                                    incoming network interfaces, determines a belonging Zone to
       H04L 2/24                   (2006.01)                                    which the network traffic belongs, and enqueues the network
       HO4L 29/06                  (2006.01)                                    traffic on a queue corresponding to the belonging Zone. A
(52) U.S. Cl.                                                                   dequeuing module selectively dequeues data from the queues
       CPC ............. H04L 4I/0896 (2013.01); H04L 63/08                     and passes the data to one or more outgoing network inter
                  (2013.01); H04L 47/6255 (2013.01); H04L                       faces. When dequeuing data from the queues the dequeuing
                                        47/2441 (2013.01)                       module dequeues an amount of data from a selected queue,
       USPC ........................................... 370/237; 370/229        and the amount of data dequeued from the selected queue is
(58) Field of Classification Search                                             determined according to user load of a Zone to which the
       USPC ........... 370/412,413, 415,417, 229; 709/235                      selected queue corresponds.
       See application file for complete search history.                                       20 Claims, 9 Drawing Sheets




                                  Guaranteed zone       Guaranteedzone :               Remaining bandwidthzone
                                      Rate = R1            Rate = R2
                                      Cap = C1             Cap = C2                  Cap = CRESERVE = BT-(R1+ R2)


                                                                                    14                      116


                                                                             : Best effort zone           Best effort zone
                                                                                   Cap = C4                  Cap = C5


                                                                              Unreserved bandwidthzones
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                ZOZ
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                                                       US 8,811,184 B2
                                1.                                                                      2
    AUTOMATICALLY ADJUSTING BANDWITH                                       A hotel may also allow a user to purchase an amount of
    ALLOCATED BETWEEN DIFFERENT ZONES                                    guaranteed bandwidth that is not shared with other users.
      IN PROPORTION TO THE NUMBER OF                                     Guaranteed bandwidth is often also provided by the hotel to
     USERS IN EACH OF THE ZONES WHERE A                                  meeting and conference rooms, and the users of these rooms
          FIRST LEVEL, ZONE INCLUDES                                     share the rooms allocation. The amount of guaranteedband
    SECONO-LEVEL ZONES NOT ENTITLED TO                                   width allocated to hotel guests is generally set according to an
       ANY GUARANTEED BANDWITH RATE                                      amount purchased by the user during a sign-in process, and
            CROSS-REFERENCE TO RELATED
                                                                         the amount of guaranteed bandwidth allocated to conference
                   APPLICATIONS                                     10
                                                                         and meeting rooms is typically determined when the room is
                                                                         booked and may be a function of the booking price to allow
                                                                         the conference organizer to pay according to the level of
   This application claims the benefit of Canadian Patent                bandwidth required for the conference.
 Application No. 2,750,345 filed Aug. 24, 2011 which is incor              When bandwidth is guaranteed, ideally the minimum
 porated herein by reference.                                            bandwidth that a user (or room, etc) benefiting from the
                                                                    15
           BACKGROUND OF THE INVENTION                                   guarantee will ever experience will be the guaranteed rate. In
                                                                         Some cases, the bandwidth may also be capped at a higher rate
    (1) Field of the Invention                                           so when there is bandwidth in the hotel available over and
    The invention pertains generally to bandwidth manage                 above the guaranteed rate, the user may experience even
 ment. More specifically, the invention relates to allocating            higher rates. When the hotel is provided with a fixed total ISP
 available bandwidth shared by a plurality of users.                     bandwidth, care must be taken by the hotel to not oversell
    (2) Description of the Related Art                                   guaranteedbandwidth or it may be impossible for the hotel to
    Travellers increasingly view in-room high speed Internet             actually deliver the guaranteed rates when usage is high.
 access (HSIA) as a requirement when choosing at which hotel                Traffic shaping and prioritization may also be performed
 to stay. Business travellers may need to access company            25   by monitoring and detecting traffic types and giving prefer
 networks while on the road and tourists may wish to upload              ential treatment for certaintime-sensitive applications such as
 photos and send email to family friends while travelling. To            teleconferencing Voice and video traffic. Compression, cach
 provide in-room HSIA, hotels typically purchase a connec                ing, and blocking technologies (i.e., blocking malware and
 tion to the Internet from a local Internet service provider             other unwanted web traffic) may also be utilized by the
 (ISP). The ISP provides the hotel with a fixed amount of           30   hotel's HSIA system to reduce unnecessary bandwidth utili
 bandwidth determined according to the ISPs pricing struc                zation and thereby increase the bandwidth available to share
 ture or other constraints. The hotel shares the available band          between users.
 width between the hotel guests, users in meeting and confer                Although the above-described methods of managing band
 ence rooms, and the hotel's networked computer systems.                 width within a hotel are useful, they also tend to be unfair to
   A large hotel may have hundreds or even thousands of             35   certain users. For example, in some circumstances a user who
 guests staying in guest rooms and utilizing meeting rooms—              has not upgraded to an amount of guaranteedbandwidth may
 each competing for Internet bandwidth. One or more com                  be starved for bandwidth when sharing a small amount of
 puter systems in the hotel may additionally need to transfer            available bandwidth with other users. Due to a variety of
 data via the Internet such as to receive reservations from              reasons it may not be possible for this user to purchase guar
 external travel agencies or to download content for playback       40   anteedbandwidth, for example, because the total ISP connec
 by guests using the hotels in-room media and entertainment              tion bandwidth is limited and other users (i.e., meeting rooms
 system. Because user satisfaction will be lowered if access to          and/or VIP guests) may already have reserved the hotel's
 the Internet is slow, unresponsive, or unreliable, the available        limit on guaranteed bandwidth. Although, the user may be
 Internet bandwidth provided by the ISP needs to be effec                able to upgrade to a higher individual bandwidth cap, during
 tively allocated between the various users within the hotel.       45   peak usage times when bandwidth is in high demand, the
    Typically, when a user connects a network device to the              actual portion of bandwidth received by the user may not even
 hotel's LAN, the user is required by the hotel's HSIA system            reach the lower cap so having a higher cap will provide no
 to authenticate and gain access to the network, for example,            benefit. Further techniques to optimize bandwidth allocation
 by providing a password or other information Such as room               between multiple users to help prevent bandwidth starvation
 number and registered guest's name. Once authorized, traffic       50   in these situations would be beneficial.
 shaping is performed on a per-user basis in order to cap each
 user's maximum usage at a certain level while still sharing the                 BRIEF SUMMARY OF THE INVENTION
 total available bandwidth between all guests and other appli
 cations within the hotel. For example, a basic user bandwidth              According to an exemplary configuration of the invention
 cap may limit each user to at most receive 256 kbit/sec of the     55   there is provided abandwidth management system including
 hotel's available bandwidth to the Internet. The actual amount          a plurality of queues respectively corresponding to a plurality
 received by the user may be less than the cap during peak               of Zones. An enqueuing module receives network traffic from
 usage times.                                                            one or more incoming network interfaces, determines a
    Some hotels allow users to purchase “upgraded' band                  belonging Zone to which the network traffic belongs, and
 width, which typically involves raising the user's individual      60   enqueues the network traffic on a queue corresponding to the
 bandwidth cap while still sharing the available bandwidth               belonging Zone. A dequeuing module selectively dequeues
 with other users. For example, the user's cap may be raised to          data from the queues and passes the data to one or more
 1024 kbit/sec after a payment of S9.99 is received. Again,              outgoing network interfaces. When dequeuing data from the
 when bandwidth is upgraded in this way, the maximum                     queues the dequeuing module dequeues an amount of data
 throughput is limited to the cap but the minimum throughput        65   from a selected queue, and the amount of data dequeued from
 is not limited and instead depends on how much bandwidth                the selected queue is determined according to user load of a
 other users are currently using.                                        Zone to which the selected queue corresponds.
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                                 3                                                                      4
    According to another exemplary configuration of the                   FIG. 5 illustrates a quantum calculation table describing a
 invention there is provided a bandwidth management system             calculation process that the quantum manager of FIG. 4 may
 including a plurality of queues respectively corresponding to         utilize to calculate a quantum for each queue according to the
 a plurality of Zones. One or more processors are configured to        user load example shown in FIG. 3.
 receive network traffic from one or more incoming network                FIG. 6 illustrates a quantum calculation table describing a
 interfaces, determine a belonging Zone to which the network           calculation process that the quantum manager of FIG. 4 may
 traffic belongs, enqueue the network traffic on a queue corre         utilize to calculate the quantum for each queue according to
 sponding to the belonging Zone, selectively dequeue data              another user load example for the Zones shown in FIG. 3.
 from the queues, and pass the data to one or more outgoing               FIG. 7 illustrates a beneficial organization of meeting room
 network interfaces. When selectively dequeuing data from         10   bandwidth Zones in a conference center according to an
 the queues the one or more processors are configured to               exemplary configuration of the invention.
 dequeue an amount of data from a selected queue, and the                 FIG. 8 illustrates a quantum calculation table describing a
 amount of data dequeued from the selected queue is deter              calculation process that a quantum manager may utilize to
 mined according to user load of a Zone to which the selected          calculate a quantum for a queue of each Zone of FIG.8 when
 queue corresponds.
                                                                  15   the user load of each Zone corresponds to a Summation of
    According to another exemplary configuration of the                bandwidth caps of the current users in the Zone.
                                                                          FIG. 9 illustrates a flowchart describing a method of allo
 invention there is provided a bandwidth management appa               cating bandwidth between Zones according to user load in an
 ratus including a plurality of queues respectively correspond         exemplary configuration of the invention.
 ing to a plurality of Zones. Included is means for receiving
 network traffic, means for determining a belonging Zone to                            DETAILED DESCRIPTION
 which the network traffic belongs and enqueuing the network
 traffic on a queue corresponding to the belonging Zone, and              FIG. 1 illustrates a generalized bandwidth Zone tree-struc
 means for selectively dequeuing data from the queues and              ture according to an exemplary configuration of the invention.
 passing the data to one or more destinations. Selectively        25   The definition of a “Zone' according to the invention is flex
 dequeuing data from the queues involves dequeuing an                  ible and depends upon application-specific design require
 amount of data from a selected queue, the amount of data              ments. Generally speaking, Zones represent manageable divi
 being determined according to user load of a Zone to which            sions of users, user devices, and/or other lower-level Zones.
 the selected queue corresponds.                                       Zones may be logically and/or physically separated from
    According to another exemplary configuration of the           30   other Zones. For example, different Zones may be isolated on
 invention there is provided a method of allocating bandwidth          separate local area networks (LANs) or virtual LANs
 between a plurality of Zones. The method includes providing           (VLANs) corresponding to separate rooms or areas of a hotel,
 a plurality of queues respectively corresponding to the plu           or different Zones may share a same LAN but correspond to
 rality of Zones. The method further includes receiving net            different service levels of users within a hotel. The Zones and
 work traffic from one or more incoming network interfaces        35   tree-structure may be dynamic and change at any time as
 and determining a belonging Zone to which the network traf            users associated with certain Zones upgrade their Internet
 fic belongs. The method further includes enqueuing the net            access or when meeting reservations begin and end, for
 work traffic on a queue corresponding to the belonging Zone,          example.
 and selectively dequeuing data from the queues and passing               In the example Zone organization of FIG. 1, an Internet
 the data to one or more outgoing network interfaces. Selec       40   pipe 102 providing a total bandwidth (BT) is shared between
 tively dequeuing data from the queues involves dequeuing an           a set of reserved bandwidth Zones 104 and a set of unreserved
 amount of data from a selected queue, the amount of data              bandwidth Zones 106. The set of reserved bandwidth Zones
 being determined according to user load of a Zone to which            104 are arranged on a first-level of the tree and include a first
 the selected queue corresponds.                                       guaranteed Zone 108 having a guaranteed bandwidth rate of
    These and other embodiments and advantages of the inven       45   R1 and a maximum bandwidth usage cap of C1, and a second
 tion will become apparent from the following detailed                 guaranteed Zone 110 having a guaranteed bandwidth rate of
 description, taken in conjunction with the accompanying               R2 and a cap of C2. Bandwidth rates R1,R2 are guaranteed to
 drawings, illustrating by way of example the principles of the        the Zone; when there is unused bandwidth in the hotel, each
 invention.                                                            Zone may also obtain extra bandwidth up to its cap C1, C2.
                                                                  50   Each Zone's cap C1, C2 may be equal to or higher than the
       BRIEF DESCRIPTION OF THE DRAWINGS                               Zone's reserved rate R1, R2. Additionally, the reserved rate
                                                                       R1,R2 and cap C1, C2 of each Zone may be changed at any
   The invention will be described in greater detail with ref          time.
 erence to the accompanying drawings which represent pre                 In the set of unreserved bandwidth Zones 106, there is a
 ferred embodiments thereof.                                      55   single first-level remaining bandwidth Zone 112 that may
    FIG. 1 illustrates a generalized bandwidth Zone tree-struc         obtain up to a cap amount of bandwidth that still leaves at least
 ture according to an exemplary configuration of the invention.        the reserved bandwidth available for each of the reserved
    FIG. 2 illustrates how each Zone of FIG.1 may include one          bandwidth Zones 104. For example, using the Zones illus
 or more user devices and/or may include other Zones at a              trated in FIG. 1, CRESERVE=BT-(R1+R2). The CRE
 lower level of the tree-structure.                               60   SERVE cap may be automatically set in this way to ensure
   FIG. 3 illustrates a beneficial organization of bandwidth           that users who have purchased guaranteed bandwidth can
 Zones in a hotel according to an exemplary configuration of           utilize their full guaranteed allotment capacity at any time and
 the invention.                                                        will not be affected by overuse by the unreserved bandwidth
    FIG. 4 illustrates a bandwidth management system having            Zones 106. Although capping the remaining bandwidth Zone
 a plurality of queues respectively corresponding to the Zones    65   112 at CRESERVE means there may be some wasted band
 of FIG. 3 according to an exemplary configuration of the              width capacity when the reserved bandwidth Zones 104 are
 invention.                                                            not utilizing their full rates R1, R2, the CRESERVE cap
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                           5                                                                             6
 advantageously preserves interactivity for each of the                  utilization according to their guaranteed rates. Additionally,
 reserved bandwidth Zones 104 and allows immediate band                  guaranteed Zones 308, 310 are automatically capped at 6
 width usage by the reserved bandwidth Zones 104 such as is              Mbit/sec and guaranteed Zones 312, 314 are automatically
 needed during bandwidth speed tests or intermittent traffic             capped at 5 Mbit/sec to ensure that when any one operates at
 bursts, for example.                                                    full capacity there is enough bandwidth to accommodate each
    In some configurations, the caps C1, C2 of the guaranteed            of the other reserved bandwidth Zones 304. As previously
 Zones 108, 110 may similarly each be automatically set to               mentioned, automatically setting the caps in this way pre
 prevent overuse of one of the reserved bandwidth Zones 104              serves the interactivity of the guaranteed bandwidth Zones
 from affecting another of the reserved bandwidth Zones 104.             308,310,312,314. When the guaranteed rates of any of the
 For example, using the Zones illustrated in FIG. 1, C1 may be      10   reserved bandwidth Zones 304 are changed, the bandwidth
 automatically set to BT-R2, and C2 may be automatically set             caps throughout the Zones in the hotel 300 may be automati
 to BT-R1. In other configurations, the caps C1, C2 may be set           cally adjusted by the hotel's bandwidth management system
 to lower values to preserve bandwidth for use by the unre               accordingly.
 served bandwidth Zones 106 or be set to higher values when                 As shown in FIG. 3, each Zone has an example number of
 it is not a concern if one of the reserved bandwidth Zones 104     15   current users to help describe this configuration of the inven
 interferes with another of the reserved bandwidth Zones 104             tion. In this configuration, the word “users’ refers to the
 Such as when there is a only a single guaranteed Zone 108,              different user devices 204 since the hotel's HSIA system will
 110.                                                                    generally identify each user device 204 with a unique IP
   Under the first-level remaining bandwidth Zone 112 area               address and will provide an individual bandwidth cap on aper
 number of second-level best effort Zones 114, 116 each hav              user device 204 basis. However, in other configurations, the
 ing its own cap. For example, best effort Zone 114 has cap C4           term “users' may instead refer to different human users as
 and best effort Zone 116 has cap C5. Caps C4, C5 are usually            tracked by their user devices 204. For example, when a par
 lower than CRESERVE and may be adjusted at any time such                ticular Zone has a single hotel guest utilizing three user
 as when a user of a particular guest room upgrades to a higher          devices 204, the Zone may only be determined to include a
 bandwidth cap, for example.                                        25   single user as each of the IP addresses of the three user devices
    A second-level best effort Zone 114, 116 may be automati             204 are associated with the same user in a database. In yet
 cally moved to become one of the first-level reserved band              other configurations, “users' may also include automated
 width Zones 104 and given a guaranteedbandwidth rate Such               applications, tasks, or servers such as the various components
 as when a user upgrades a room to a guaranteed bandwidth                of the hotel's HSIA system or other networked systems in the
 rate, for example. Likewise, a guaranteed Zone 108, 110 may        30   hotel 300. In general, the term “users’ in each of the various
 have its reserved rate R1,R2 set to zero (or otherwise deleted)         configurations refers to agents that compete for available
 and be automatically moved to become a second-level best                bandwidth, and any mechanism of identifying and distin
 effort Zone under the remaining bandwidth Zone 112. This                guishing current users may be utilized in conjunction with the
 may occur, for example, when a guaranteed bandwidth rate                invention.
 upgrade expires or when a VIP user entitled to guaranteed          35      Although not illustrated in FIG. 3, each user under a Zone
 bandwidth in a room checks outs and the room automatically              may in fact be included in a user-specific lower-level child
 becomes a best effort Zone 114, 116.                                    Zone having a user-specific cap (and/or reserved rate). This
   FIG. 2 illustrates how each Zone 202 may include one or               configuration is beneficial to prevent each user under a Zone
 more user devices 204 and/or may include other lower-level              from monopolizing all the bandwidth assigned to the Zone.
 Zones 206. Such parent Zones 202 include all the user devices      40   For example, a user that tries to bit-torrent under a Zone will
 and/or additional Zones from their lower-level child Zones              not unfairly take more than their allotted bandwidth cap from
 206. Although the examples illustrated in FIG. 1 and FIG. 2             other users sharing the bandwidth under that Zone.
 have first-level Zones and second-level Zones, the invention is            Additionally, the number of current users indicated in FIG.
 not limited to a two-level bandwidth Zone tree-structure. For           3 is meant only as an example Snapshot of one particular time
 example, a single level tree-structure is illustrated later in     45   period and it is expected the numbers of current users of each
 FIG. 7. Additionally, three or greater-level tree-structures are        Zone 308,310, 312, 314, 316, 318a, 318b will change over
 also possible and may be beneficial when there are many sub             time. For example, after a meeting in the first meeting room
 categories of a higher level Zone, for example.                         Zone 308 ends, the number of users of the first meeting room
    FIG. 3 illustrates a beneficial organization of bandwidth            Zone 308 will drop from sixty-five to zero. Then, when a next
 Zones in a hotel 300 according to an exemplary configuration       50   meeting begins, the user count will rapidly climb up to
 of the invention. In this example, the hotel's ISP pipe 302             another level dependent upon how many users bring elec
 provides a total bandwidth of 10 Mbit/sec shared between a              tronic devices 204 that are connected to the network. The
 number of reserved bandwidth Zones 304 and a number of                  number of current users of the other Zones 310,312,314,316,
 unreserved bandwidth Zones 306. Following the tree-struc                3.18a, 318b may similarly change over time as well.
 ture organization introduced in FIG. 1, the reserved band          55      The number of current users of the remaining bandwidth
 width Zones 304 are each positioned at a first-level of the tree        Zone316 is one-hundred and ninety-two in this example. This
 and include a first meeting room Zone 308, a second meeting             number includes all the current users of the various guest
 room Zone 310, a penthouse Suite Zone312, and an upgraded               room Zones 318 that are included as second-level Zones under
 room Zone314. A single first-level remaining bandwidth Zone             the first-level remaining bandwidth Zone 316. Each guest
 316 includes a number of second-level guest room Zones 318         60   room Zone 318 may only have one or two current users, but
 including a first guest room Zone318a and second guest room             the hotel 300 in this example has hundreds of guest rooms
 Zone 318b.                                                              and, due to the Zone tree-structure, all of the current guest
    In this example, the remaining bandwidth Zone 316 is                 room users add up to form the total number of current users of
 automatically capped at 4 Mbit/sec so that even when at full            remaining bandwidth Zone 316.
 utilization there is still enough bandwidth left over (e.g., 6     65      For illustration purposes, the upload direction (hotel to
 Mbit/sec remaining) within the hotel 300 to accommodate                 ISP) will be described and the rates/caps shown for each Zone
 each of the reserved bandwidth Zones 304 operating at full              indicate the upload speeds in the following description. How
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 ever, these rates/caps may also apply in the download direc               face 406 may in fact be a plurality of outgoing network
 tion, or the download direction could have different rates/caps           interfaces. Having multiple incoming and outgoing network
 for each Zone. Regardless, the invention may be used in both              interfaces 404, 406 allows for redundant communication
 the upload and download directions or may be used only in a               links in the event of a fault and also allows for higher overall
 single direction depending upon the specific bandwidth man                bandwidth capacity by multiplying the number of interfaces
 agement requirements of the target application.                           by the maximum capacity of each interface.
    In this example, the hotel ISP pipe 302 has a total of 10                 In operation, the Zone engueuing module 410 receives
 Mbit/sec bandwidth provided by the ISP and each of the                    network traffic from the incoming network interface 404,
 first-level reserved bandwidth Zones 304 is guaranteed some               determines a belonging Zone to which the network traffic
 of that bandwidth. Even if each of the reserved bandwidth            10
 Zones 304 is utilizing its full guaranteed rate, there is still an        belongs, and enqueues the network traffic on a queue 408
 available 4 Mbit/sec remaining that may be shared among the               corresponding to the belonging Zone. For example, the Zone
 various first-level Zones in the hotel.                                   enqueuing module 410 may be implemented as one or more
   According to this configuration of the invention, the avail             filters for classifying to which Zone an Ethernet frame (or IP
 able bandwidth is shared between Zones at the same level in          15   packet, etc) received from the incoming network interface
 the Zone tree. This means the 4Mbit/sec in the above example              404 belongs. In this example, when network traffic belongs to
 will be shared between the first-level Zones including the first          multiple Zones, the Zone endueuing module 410 enqueues the
 meeting room Zone 308, the second meeting room Zone310,                   received network traffic in the queue 408 corresponding to the
 the penthouse suite Zone 312, the upgraded room Zone 314,                 lower-level belonging Zone. For example, when network traf
 and the remaining bandwidth Zone 316. Even when sharing                   fic belongs to both the first guest room Zone 318a and the
 available bandwidth, if a Zone has a bandwidth cap, that Zone             remaining bandwidth Zone 316, the Zone engueuing module
 may not obtain any bandwidth above the cap level.                         410 enqueues the network traffic on the first guest room queue
    Each Zone has a quantum (shown as example Q values                     408a.
 indicated in FIG. 3) representing an amount of bytes that can                The Zone enqueuing module 410 may determine the
 be served at a single time from the Zone and passed to a             25   belonging Zone by examining an IP or MAC address included
 higher-level Zone (or to the hotel ISP pipe 302). According to            in the network traffic and looking up in the user/Zone database
 this configuration of the invention, the quantums are dynami              419 to see to which Zone that IP or MAC belongs. The map
 cally adjusted according to the user load of each Zone, and the           ping between IP or MAC address and the belonging Zone may
 user load of each Zone corresponds to the number of current               be stored in the user/Zone database 419 by the authentication
 users in the Zone.                                                   30   server 418 when the user logs in to the hotel's HSIA system.
    When each Zone is implemented as one or more queues                    For example, when a guest staying in "Guest room A Suc
 enforcing rate and cap limits, the quantum indicates the maxi             cessfully logs in using a laptop computer, the authentication
 mum number of bytes that can be dequeued (i.e., removed                   server 418 may store the IP or MAC address utilized by the
 from a particular queue) at one time. In some configurations,             laptop computer as belonging to the first guest room Zone
 the cap limit may prevent the full quantum of bytes from             35   3.18a in user/Zone database 419. Thereafter, the Zone enqueu
 being dequeued from a queue corresponding to a particular                 ing module 410 enqueues received network traffic having the
 Zone if this would cause the bandwidth provided to the Zone               IP or MAC address of the laptop computer on the first guest
 to exceed its cap limit. In another configuration, as long as the         room queue 408a.
 data in the queue is Sufficient, the quantum of bytes is always              Depending on the direction of the network traffic, e.g.,
 dequeued at once; however, the frequency of dequeuing the            40   upload or download, the IP or MAC address may be either the
 quantum of bytes may be reduced in order to limit the average             Source or destination address. For example, if incoming net
 bandwidth to the Zone's cap.                                              work interface 404 is coupled to the hotel ISP pipe 302, the
    FIG. 4 illustrates a bandwidth management system 400                   laptop's IP or MAC address may be the destination address of
 having a plurality of queues 408 where each individual queue              the network traffic. Alternatively, if the incoming network
 408 respectively corresponds to one of the Zones of FIG.3 and        45   interface 404 is coupled to the hotel's LAN, the laptop's IP or
 includes a queue-specific quantum 409 according to an exem                MAC address may be the source address of the network
 plary configuration of the invention. In this example, the                traffic. A similar process may be used by the Zone engueuing
 bandwidth management system 400 further includes an                       module 410 to enqueue network traffic of other Zones on the
 incoming network interface 404, an outgoing network inter                 appropriate queue 408 corresponding to the Zone that the
 face 406, a Zone endueuing module 410, a Zone dequeuing              50   network traffic belongs.
 module 412, a user monitor 414, a network activity log 416,                  In another configuration, the Zone endueuing module 410
 an authentication server 418, a user/Zone database 419, and a             performs port detection by accessing various intermediate
 quantum manager 420. The quantum manager 420 is prepro                    Switches between the Zone enqueuing module 410 and a user
 grammed with a maximum quantum ratio 422. The outgoing                    device in order to thereby track from which switch/port the
 network interface 406 has a maximum transportunit (MTU)              55   network traffic originated. Each switch/port combination and
 426, for example, 1500 bytes when the outgoing network                    belonging Zone may be stored in the user/Zone database 419.
 interface 406 is of the Ethernet type.                                    Other methods of correlating to which Zone received network
    Again, although the bandwidth management system 400 is                 traffic belongs may also be used according to application
 shown operating in a single direction from incoming network               specific designs.
 interface 404 to outgoing network interface 406, in some             60      Each queue 408 has a respective quantum 409 that deter
 configurations, there may be a similar structure in both upload           mines how many bytes can be dequeued at a single time by the
 and download directions. The bandwidth management sys                     dequeuing module 412. For example, with a round robin
 tem 400 may be used to manage bandwidth in the upload                     dequeuing strategy and assuming all Zones have data to send,
 direction (hotel to ISP) and/or download direction (ISP to                all guaranteed rates have been met, and no Zone has exceeded
 hotel) according to different configurations. Additionally, the      65   its designated cap, the dequeuing module 412 cycles one-by
 incoming network interface 404 may in fact be a plurality of              one to each queue 408 at a particular tree-level and dequeues
 incoming network interfaces and the outgoing network inter                (i.e., removes) the queue's quantum number of bytes.
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    Using the exemplary quantum Q values illustrated in FIG.            318b will be decremented by one. Additionally, because the
 3 as an example, for the first-level Zones, the dequeuing              remaining bandwidth Zone 316 includes the second guest
 module 412 dequeues 21,000 bytes of data from the first                room Zone 318b, the summation of how many users have
 meeting room queue 408c, then dequeues 7500 bytes of data              sent/received network traffic within the remaining bandwidth
 from the second meeting room queue 408d, then dequeues                 Zone 316 will also be decremented by one.
 60,000 bytes of data from the remaining bandwidth queue                   In another example, the user monitor 414 periodically
 408e, then dequeues 1500 bytes of data from the penthouse              sends a ping to the IP address of network devices for each
 suite queue 408f then dequeues 1500 bytes of data from the             user. The user devices that have replied to the most recent ping
 upgraded room queue 408g, and then returns to again                    are stored in the user/Zone database 419. To determine the
 dequeue 21,000 bytes of data from the first meeting room          10   number of current users in a particular Zone, the quantum
 queue 308, and so on. If the bandwidth management system               manager 420 queries the user/Zone database 419 to sum how
 400 is configured in the upload direction, the dequeued data is        many user devices in the particular Zone have replied to the
 passed to the outgoing network interface 406 for transmission          most recent ping. For example, after a guest in Guest room B
 to various destinations on the Internet via the hotel ISP pipe         shuts off their laptop, the Summation of how many user
 302. If the bandwidth management system 400 is configured         15   devices have replied to the most recent ping from the second
 in the download direction, the dequeued data is passed to the          guest room Zone318b will be decremented by one. Addition
 outgoing network interface 406 for transmission to various             ally, because the remaining bandwidth Zone 316 includes the
 destinations on the hotel's LAN.                                       second guest room Zone 318b, the Summation of how many
    Although not illustrated in FIG. 4, the Zone dequeuing              user devices have replied to the most recent ping from the
 module 412 may also extend between the second-level                    remaining bandwidth Zone 316 will also be decremented by
 queues 408a, 408b and the first-level remaining bandwidth              OC.
 queue 408e. Again using the example quantum Q values                      Combinations of the above methods of determining the
 illustrated in FIG.3, a similar round robin dequeuing strategy         number of current users in each Zone may also be employed.
 may be employed by the dequeuing module 406 at the sec                 Additionally, as previously mentioned, in other configura
 ond-level to dequeue 1500 bytes of data from the first guest      25   tions current users may refer to current human users rather
 room queue 408a, then dequeue 1500 bytes of data from the              than current user devices. As each human user may be asso
 second guest room queue 408b, and then return to again                 ciated in a database with one or more user devices (e.g., a
 dequeue 1500 bytes of data from the first guest room queue             single hotel guest may be utilizing both a mobile phone and a
 408a, and so on. Each set of dequeued data is thereafter               tablet computer to access the Internet), the Summation indi
 enqueued on the remaining bandwidth queue 408e, i.e., the         30   cating how many current users are in a particular Zone in these
 queue 408e corresponding to the next higher-level parent               configurations may be less than the above-described
 Zone being the remaining bandwidth Zone 316 in this                    examples based on the number of user devices in the particu
 example.                                                               lar Zone.
    The quantum manager 420 dynamically adjusts the quan                   The plurality of Zone queues 402 shown in the example
 tum values 409 of each queue 408 according to user load of        35   block diagram of FIG. 4 may be implemented using a hierar
 the particular Zone to which the queue 408 corresponds. In             chical token bucket (HTB) queuing discipline (qdisc) includ
 this example, the user load of each Zone corresponds to a              ing an HTB for each queue 408. Using an HTB to implement
 Summation of how many current users are in the Zone. The               each queue 408 allows for easy configuration of a rate, ceiling
 current users may be the active users that are competing for           (cap), and quantum for each queue 408 as these parameters
 available bandwidth in the Zone, which includes all child         40   are already supported by HTB based queues. Although not
 Zones under the Zone.                                                  illustrated, a stochastic fairness queuing (SFQ) qdisc may
    To allow the quantum manager 420 to determine how many              also be included for each user at the leaf Zones 408a,b,c,dfg
 current users are in a particular Zone, in a first example, the        to ensure fairness between the different connections for the
 authentication server 418 manages logged in users of each              user. Linux based HTB and SFQ qdiscs are well-known in the
 Zone and stores this information in the user/Zone database        45   art and further description of their operation and configura
 419. The quantum manager 420 queries the database 419 to               tion is omitted herein for brevity.
 Sum how many users are logged in to the particular Zone. For              FIG. 5 illustrates a quantum calculation table describing a
 example, when a guest connects a laptop computer to the                calculation process that the quantum manager 420 utilizes in
 hotel network and logs in to the HSIA system from “Guest               an exemplary configuration to calculate the quantums 409 for
 room B, the Summation of how many users are logged into           50   each queue 408 according to the number of current users per
 the second guest room Zone318b will be incremented by one.             Zone as shown in FIG. 3.
 Additionally, because the remaining bandwidth Zone 316                    In this configuration, the quantums 409 are dynamically
 includes the second guest room Zone318b, the summation of              adjusted in proportion to the total number of current users
 how many users are logged into the remaining bandwidth                 (i.e., user load) under each Zone. To beneficially increase
 Zone 316 will also be incremented by one.                         55   efficiency, a minimum possible quantum is the MTU 426 and
    In another example, the Zone engueuing module 410 logs              all quantums 409 are rounded up to their nearest positive
 data transmission activity by users in the activity log 416. To        integer multiple of the MTU 426. This allows dequeued data
 determine the number of current users in a particular Zone, the        to be transmitted by the outgoing network interface 406 using
 quantum manager 420 queries the activity log 416 to Sum how            one or more full capacity transportunits (e.g., frames, pack
 many users have received or sent network traffic within the       60   ets, messages, etc). To prevent excessive monopolization of
 particular Zone during a last predetermined time period. For           the shared ISP pipe 302, a maximum possible quantum is
 example, the current users may be defined as the number of             limited according to the maximum quantum ratio 422 multi
 different users who have sent or received at least one Ethernet        plied by the MTU 426. This limits the number of concurrent
 frame (or IP packet, etc) in the past ten minutes. Ten minutes         MTU sized transport units that will be sent in a row from a
 after a guest in Guest room B stops browsing the Internet from    65   single queue 408. Additionally, to increase responsiveness,
 their laptop, the Summation of how many users have sent/               when possible the quantums 409 are minimized while main
 received network traffic within the second guest room Zone             taining their relative ratios. This increases the frequency with
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 which the Zone dequeuing module 412 cycles through the                times more data from the remaining bandwidth queue 408e
 queues 408 such as in a round robin order. In other imple             than from the penthouse suite queue 408f.
 mentations, different quantum optimization rules may be                  Even though the penthouse Suite Zone312 has a guaranteed
 used.                                                                 bandwidth rate and a higher bandwidth cap than the remain
    In this example, the maximum quantum ratio 422 is pre              ing bandwidth Zone 316, the remaining bandwidth Zone 316
 determined at 1:40. Taking the above advantageous quantum             receives preferential treatment when sharing available band
 optimization rules into consideration, the maximum value              width due to having a larger userload than the penthouse Suite
 quantum is therefore forty times the MTU 426, which corre             Zone312. As the guest room Zones 318 are under the remain
 sponds to forty full sized Ethernet frames of data (maximum      10
                                                                       ing bandwidth Zone 316 in the tree-structure of FIG. 3, the
 of 60,000 bytes of data) being sent in a row from the outgoing        individual users in the various guest room Zones 318 benefit
 network interface 406. The MTU of Ethernet is 1500 bytes              because all their network traffic is Subsequently enqueued on
 and therefore a minimum possible quantum is 1500 bytes and            the remaining bandwidth queue 408e before being dequeued
 all quantums are rounded to multiples of 1500 bytes.                  and passed to the outgoing network interface 406 by the Zone
   With reference to FIG. 5, column 500 indicates the Zone/       15   dequeuing module 412. Network traffic to/from these users
 queue name and column 502 indicates the user load of the              depending on the configured direction(s) therefore spends
 Zone being the number of current users in this example. Col           less time waiting on the queues 408a, 408b, 408e of the
 umn 504 indicates a scale factor that the user load of each           unreserved bandwidth Zones 306 because of the higher quan
 Zone is multiplied with Such that the maximum user load               tum 409e allocated to remaining bandwidth queue 408e.
 (“192’ current users in this example) is scaled to the maxi              Available bandwidth shared between the Zones may be the
 mum possible quantum (“60,000 bytes in this example).                 leftover ISP pipe 302 bandwidth after all Zones utilize up to
 Column 506 indicates a calculated scaled quantum for each             their reserved rates. The Zone dequeuing module 412 first
 Zone being the scale factor of column 504 multiplied by the           ensures that all the Zones having reserved rates get the amount
 user load of column 502. Because the calculated scaled quan           of bandwidth they need up to their reserved rates, then all
 tums of column 506 are not multiples of the MTU 426,             25   Zones share the remaining available bandwidth up to their
 column 508 indicates how many full MTU 426 sized frames               caps (i.e., ceilings). The dynamic quantums 409 adjusted
 would be required to transmit the calculated scaled quantum           according to the userload of Zone are particularly useful when
 of data in column 506. Column 510 indicates a final rounded           sharing bandwidth that exceeds guaranteed rates because
 quantum value being the value of column 508 multiplied by             Zones having higher numbers of current users receive more of
 the MTU 426. As the number of current users in each Zone of      30
                                                                       the available bandwidth than Zones with lower numbers of
 FIG. 3 changes over time, the quantum manager 420 corre               current users. As previously explained, the current users of
 spondingly recalculates the quantums of column 510 accord             each Zone may be the active users that have recently sent or
 ing to the above-described process.                                   received network traffic and are therefore currently compet
    Taking the penthouse Suite Zone 312 as an example,
 because the penthouse Suite Zone 312 has a guaranteed rate of    35   ing for bandwidth.
 1 Mbit/sec, the Zone dequeuing module 412 may more fre                   FIG. 6 illustrates a quantum calculation table describing a
 quently dequeue 1500 bytes from the penthouse suite queue             calculation process that the quantum manager of FIG. 4 uti
 408f when the users in the penthouse suite Zone 312 have              lizes to calculate the quantums 409 for each queue 408
 traffic to send (and/or receive depending on the applicable           according to another example of numbers of current users of
 direction of the guaranteed rate) and the guaranteed rate has    40   the Zones shown in FIG. 3. Column 600 indicates the Zone/
 not yet been met. However, when either the penthouse suite            queue name and column 602 indicates the number of current
 Zone 312 does not need to utilize its guaranteed rate or has          users per Zone. As shown in this example, the hotel 300 is
 already exceeded its full guaranteed rate, the Zone dequeuing         almost vacant and there are only a few users in each Zone. In
 module 406 may place both the remaining bandwidth queue               this configuration, for any Zones having “0” users in column
 408e and penthouse suite queue 408fat a same priority in a       45   602, the quantum manager 420 assumes that at least “1” user
 round robin dequeuing order. In this situation, the remaining         is present. Although there may initially be no users in the
 bandwidth Zone 316 benefits by having up to 60,000 bytes              Zone, if the quantum is set to 0 bytes, should the Zone gain a
 dequeued and passed to the outgoing interface 406 each time           user before the quantums 409 are next adjusted, the queue 408
 around whereas the penthouse suite Zone 314 will only have            corresponding to the Zone will not have any data dequeued by
 up to 1500 bytes dequeued and passed to the outgoing inter       50   the Zone dequeue module 412. Additionally, when there are
 face 406 each time around.                                            Zero users in the Zone, the queue 408 corresponding to the
    Assuming all guaranteed bandwidth rates have been met,             Zone will not have network traffic to dequeue in the first place,
 the more current users in a Zone, the more bytes that are             So it is not necessary to set the quantum to 0 bytes.
 dequeued each time from that Zone's queue 408 by the Zone               Column 604 indicates a scale factor that the user load of
 dequeuing module 412. This is beneficial to prevent starva       55   each Zone is multiplied with Such that the minimum user load
 tion of users who are in Zones with a large number of other           (“1” current users in this example) is scaled to the minimum
 active users such as the remaining bandwidth Zone 316 of              possible quantum, which is 1500 bytes in this example (i.e.,
 FIG. 3. Zones having a very low number of active users such           the MTU 426 of Ethernet). Column 606 indicates a calculated
 as the penthouse Suite Zone 312 and the upgraded room Zone            scaled quantum for each Zone being the scalefactor of column
 314 receive much lower quantum values. In this way, the          60   604 multiplied by the user load of column 702. Because the
 quantum 409e for the remaining bandwidth queue 408e is                calculated Scaled quantums of column 606 are already mul
 forty times the quantum 409f of the penthouse suite queue             tiples of the MTU 426, no further calculations are required
 408f. When the penthouse suite Zone 312 is borrowing avail            and column 606 represents the final quantums 409. Again, in
 able bandwidth over and above its guaranteed rate of 1 Mbit/          this example the remaining bandwidth Zone 316 receives a
 sec, due to the large number of current users under the remain   65   higher quantum but now it is only 3.5 times that of the pent
 ing bandwidth Zone316, the Zone dequeuing module 412 will             house Suite Zone 312. The reason is the two Zones 316, 312
 dequeue and pass to the outgoing network interface 406 forty          now only have a 3.5 times differential in their respective users
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 loads and therefore the remaining bandwidth Zone 316                     at the conference center 700 in order to allocate available
 receives a corresponding ratio of preferential treatment by the          bandwidth between the Zones 704, 706,708, 710 according to
 Zone dequeuing module 412.                                               the quantum of each Zone.
    Concerning the different types of scale factors in columns               The reason equal rates and caps are used in this example is
 504, 604, the scale factor illustrated in column 504 of FIG.5            to illustrate how the quantums Q may be adjusted for each
 causes the quantum 409 of the queue 408 corresponding to the             Zone 704, 706, 708, 710 according to user load even when all
 Zone with the maximum user load to be set at the maximum                 Zones are entitled to the same share of the overall conference
 quantum value (60,000 bytes in this example). This type of               center bandwidth 702. However, similar to the previous
 scale factor is particularly useful when the ratio between the           example, the below-described techniques may also be
 minimum user load (rounded up to “1” if “0”) to the maxi
                                                                     10   employed when the rates and caps of the Zones 704, 706, 708,
 mum user load is greater than the maximum quantum ratio                  710 are different and dynamically changing as different meet
 422. For example, in the above examples, the maximum                     ings begin and end, for example.
 quantum ratio 422 is 1:40. Therefore, because the ratio of the              In the conference center 700, users are given a basic indi
 minimum user load of “1” in column 502 of FIG. 5 to the
                                                                          vidual bandwidth cap of 256 kbit/sec and have the option to
 maximum user load of “192 in column 502 of FIG. 5 is
                                                                     15   upgrade to a higher individual bandwidth cap of 1024 kbit/
                                                                          sec. FIG. 7 indicates an example situation where the first
 greater than 1:40, the scale factor 504 scales the quantums to           room Zone 704 has forty users at the basic bandwidth cap of
 the maximum range so that the ratio between the minimum                  256 kbit/sec, the second room Zone 706 has forty users at the
 quantum and the largest quantum meets the maximum quan                   upgraded bandwidth cap of 1024 kbit/sec, the third room Zone
 tum ratio 422 (“1:40” in this example). This gives the greatest          708 has twenty-seven users at the basic bandwidth cap of 256
 amount of preferential treatment to the Zone having the great            kbit/sec and thirteen users at the upgraded bandwidth cap of
 est user load without allowing that Zone to monopolize the               1024 kbit/sec, and the fourth room Zone 710 has thirteen users
 hotel's ISP connection by sending more than forty full MTU               at the basic bandwidth cap of 256 kbit/sec and twenty-seven
 sized Ethernet packets in a row.                                         users at the upgraded bandwidth cap of 1024 kbit/sec.
   In contrast, the scale factor illustrated in column 604 of        25      FIG. 8 illustrates a quantum calculation table describing a
 FIG. 6 causes the quantum 409 of the queue 408 correspond                calculation process that a quantum manager may utilize to
 ing to the Zone with the minimum user load (rounded up to                calculate the quantums for each Zone shown in FIG.8 when
 “1” if “0”) to be set at the MTU 422 of the outgoing network             user load corresponds to a Summation of user caps of the
 interface (e.g., 1500 bytes in this example). This type of scale         current users in each Zone.
 factor is particularly useful when the ratio between the mini       30      Column 800 indicates the Zone?queue name, column 802
 mum user load (rounded up to “1” if “0”) to the maximum                  indicates the number of current users capped at 256 kbit/sec.
 user load is not greater than the maximum quantum ratio 422.             and column 804 indicates the number of current users capped
                                                                          at 1024 kbit/sec. Column 806 indicates the user load of each
 For example, assuming again that the maximum quantum                     Zone being the Summation of individual user caps (i.e., the
 ratio 422 is 1:40, because the ratio of the minimum user load       35   number of users in column 802 multiplied by 256 kbit/sec
 of “1” in column 602 of FIG. 6 to the maximum user load of
                                                                          plus the number of users in column 804 multiplied by 1024
 “7” in column 602 of FIG. 6 is not greater than 1:40, the scale          kbit/sec).
 factor 604 scales the quantums to multiples of the MTU 422                  Because the ratio of the minimum user load (“10240” in
 while ensuring that the ratio between the minimum quantum                this example) to maximum user load ("40960 in this
 and the largest quantum is the same as the ratio between the        40   example) is less than the maximum quantum ratio 422 (“1:
 minimum user load (rounded up to “1” if 0) to the maximum                40” in this example), column 808 indicates a scale factor that
 user load. This give the exact ratio of preferential treatment to        the user load of each Zone is multiplied with such that the
 the Zone having the greatest user load while also maximizing             minimum user load (“10240 in this example) is scaled to the
 the interactivity of all Zones by minimizing the quantums 409.           MTU of an outgoing network interface (1500 bytes in this
    In an advantageous configuration, the quantum manager            45   example).
 420 automatically checks the ratio between the minimum                      Column 810 indicates a calculated scaled quantum for each
 user load and the maximum user load and utilizes the best                Zone being the scale factor of column 808 multiplied by the
 type of scaling factor. For example, the quantum manager 420             user load of column 806. Because the calculated scaled quan
 may be configured to scale the quantums 409 Such that a                  tums of column 810 are not multiples of the MTU, column
 smallest quantum is the MTU 426 of the outgoing network             50   812 indicates a final rounded quantum value being the value
 interface 406 when a ratio of the minimum user load to the               of column 810 rounded to the nearest multiple of the MTU.
 maximum user load is less than a predetermined threshold                    The higher the Summation of individual user caps in a Zone,
 ratio 422, and to scale the quantums 409 such that the largest           the more bytes that are dequeued each time from that Zone's
 quantum is a predetermined maximum amount when the ratio                 queue. This is beneficial to prevent starvation ofusers who are
 of the minimum userload to the maximum user load is greater         55   sharing Zones with a large number of other active users.
 than the predetermined threshold ratio 422.                              Additionally, rather than only judging user load according to
    FIG. 7 illustrates a beneficial organization of bandwidth             number of users, this configuration also takes into account
 Zones in a conference center 700 according to another exem               individual user caps. This helps increase user satisfaction
 plary configuration of the invention. In this example, the               because as users in a Zone upgrade to higher individual band
 conference centers ISP connection 702 provides a total              60   width caps, the Zone to which they belong has higher userload
 bandwidth of 50Mbit/sec shared between a number of room                  and may therefore receive a larger quantum value. The higher
 Zones 704, 706, 708, 710 such as different meeting rooms or              the total user caps in a Zone, the higher each individual user's
 conference rooms. All the Zones 704, 706, 708, 710 are at the            effective bandwidth will be when the Zone shares available
 first-level of the tree-structure and have equal guaranteed              bandwidth with other Zones.
 bandwidth rates of 2 Mbit/sec and equal bandwidth caps of 44        65      FIG. 9 illustrates a flowchart describing a method of allo
 Mbit/sec. Although not illustrated, a bandwidth management               cating bandwidth in a system having a plurality of queues
 system similar to that illustrated in FIG. 4 may be employed             respectively corresponding to a plurality of Zones according
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 to an exemplary configuration of the invention. The steps of                10 minutes and/or the number of current users may be
 the flowchart are not restricted to the exact order shown, and,             periodically determined once per time window. In
 in other configurations, shown steps may be omitted or other                another example, the userload ofa Zone may further take
 intermediate steps added. In this configuration, a bandwidth                into account individual attributes of users in the Zone.
 management system performs the following operations:                         For example, user load of a Zone may correspond to a
    Step 900: A plurality of queues are provided, where each                  Summation of individual user caps of the current users in
      queue corresponding to a bandwidth Zone. The Zones                     the Zone. In another example, user load of a Zone may
      may be allocated once upon initial configuration, or may               correspond to a Summation of how much data current
      be changed dynamically throughout operation accord                     users in the Zone have recently sent or received (e.g., in
      ing to different requirements. For example, a meeting        10        the past 10 minutes). In another example, user load of a
      room rate? cap may be changed as different meetings                    Zone may correspond to the amount of user network
      begin and end. The Zones may be defined and/or identi                  traffic currently enqueued on one or more queues corre
      fied using different LANs, VLANs, switch port num                       sponding to the Zone. When the Zones are organized in a
      bers, pass codes, Zone codes, usernames, service set                   multi-level Zone tree-structure, the user load of a par
      identifiers (SSIDs), room numbers, names of physical         15        ticular Zone may include the user load of all lower-level
      areas, IP and other addresses, etc.                                    Zones under the particular Zone.
   Step 902: Network traffic is received, and a belonging Zone             Step 908: For each queue, a quantum of data that can be
     to which the network traffic belongs is determined. For                 dequeued together is dynamically adjusted according to
     example, the belonging Zone may be the source Zone                      the userload of the Zone to which the queue corresponds.
     from which the network traffic originated or the desti                   For example, a quantum manager may dynamically
      nation Zone for which the network traffic is destined. The             adjust how many bytes will be dequeued from each Zone
      belonging Zone may be determined by examining Zone                     according to the user load per Zone as tracked at step 906.
      identification information included in each received                    In general, Zones having higher user loads will have the
      packet/frame such as IP addresses, MAC addresses,                      capability to transfer larger numbers of bytes when
      cookie information, VLAN tag, or other information.          25        dequeuing traffic. This is beneficial to prevent Zones
      This Zone identification information may be correlated                 having low user loads but high guaranteed rates and/or
      to the correct belonging Zone in a database. Due to a Zone             bandwidth caps from getting a disproportionate amount
      tree-structure, network traffic may in fact belong to sev              of available bandwidth that is being shared with other
      eral Zones at different levels of the tree-structure, for              Zones having high current userloads. As the userloads of
      example, to both remaining bandwidth Zone316 and one         30        the Zones change over time, the quantums may be auto
      of guest room Zones 318 illustrated in FIG. 3. In this                 matically adjusted to give preferential treatment to the
      example, the database associates Zone identification                   Zones according to their new user loads.
      information with a single belonging Zone being the low               Step 910: Data is selectively dequeued from the queues and
      est belonging Zone according to the tree-structure. For                passed to one or more outgoing network interfaces.
      instance, depending on the configured direction, net         35        When selectively dequeuing data from the queues, an
      work traffic to/from guest room A is determined by the                 amount of data is dequeued from a selected queue
      Zone enqueuing module 410 to belong to the guest room                  according to the quantum of the queue determined at
      A Zone 318a (i.e., the lowest-level belonging Zone).                    step 908. As explained above, the quantum of the
      In another configuration, the belonging Zone may be                     Selected queue is determined according to user load of
         determined by querying intermediate devices such as       40        the Zone to which the selected queue corresponds. In one
         intermediate Switches, routers, gateways, etc for Zone              usage example, the queues are selected one by one (e.g.,
        identification information Such as source/destination                in a round robin order), and up to the selected queue's
        port numbers or interface identifiers in order to deter              quantum of data is dequeued from each queue while also
        mine the belonging Zone. For example, an intermedi                   ensuring any bandwidth reservations and/or caps of the
        ate Switch may be queried using simple network man         45        Zones are complied with. By still ensuring that band
        agement protocol (SNMP) to determine to which port                   width reservations and/or caps of the Zones are complied
        a device having an IP address included in the network                with, the invention may be beneficially used in combi
        traffic is associated. The belonging Zone is then deter              nation with and to enhance existing bandwidth manage
        mined according to the associated Switch port (i.e.,                 ment systems employing rates and caps.
        each Switch port may correspond to a particular Zone).     50      An advantage of the invention is that it allows a hotel to
   Step 904: The network traffic is enqueued on the queue               limit bandwidth utilization on a Zone-by-Zone basis Such as
     corresponding to the belonging Zone. For example, a                by defining each guest room to be a Zone with its own reserved
     Zone endueuing module 410 Such as that illustrated in              bandwidth rate/cap. The Zone tree-structure also allows a
     FIG. 4 may enqueue network traffic received at step 902            first-level Zone to include a number of second-level Zones,
     on the queue 408 corresponding to the belonging Zone          55   which advantageously allows second-level Zones that may
     determined at that step.                                           individually have low user loads to accumulate their user
   Step 906: A user load of each Zone is tracked. In one                loads togetherina single first-level Zone and gain preferential
     example, the user load of a Zone corresponds to a sum              treatment. According to the Zone tree-structure, Zones
     mation indicating how many current users are in the                dequeue an amount of data to pass to destinations being either
     Zone. Current users per Zone may defined and tracked in       60   a next higher-level Zone or one or more destination network
     a number of ways including active ports per Zone, num              interface(s) in proportion to their user loads. By enqueuing
     ber of logged in users per Zone, number of outgoing or             network traffic from a plurality of second-level Zones into a
     incoming connections per Zone, number of traffic pack              single queue of their corresponding first-level Zone, users of
     ets/frames per Zone, active users who have sent/received           the second-level Zones receive increased bandwidth when
     network traffic, users who have replied to a recent ping      65   data of the first-level queue is dequeued in larger amounts.
     request, or any combination of any of the above. Addi              Zones having higher user loads may advantageously receive
     tionally, a time window may be utilized such as the past           more of the available bandwidth, which prevents individual
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                                                       US 8,811,184 B2
                               17                                                                        18
 users under these Zones from being starved. Another advan                try Such as by conference centers, corporations, or any other
 tage of the invention is that because rates and caps of Zones            entity wishing to allocate available bandwidth shared
 and individual users continue to be enforced, the invention is           between a plurality of users.
 compatible with many existing bandwidth management tech                     The various separate elements, features, and modules of
 niques. Yet another advantage is that when a Zone having a               the invention described above may be integrated or combined
 reserved bandwidth rate and/or cap does not need to use up to            into single units. Similarly, functions of single modules may
 its reserved bandwidth rate/cap (e.g., when the users in the             be separated into multiple units. The modules may be imple
 Zone are not using the Internet), the unneeded bandwidth may             mented as dedicated hardware modules, and the modules may
 be shared among other Zones according to the relative user               also be implemented as one or more software programs
 loads of the other Zones. More of the available bandwidth is        10   executed by a general or specific purpose processor to cause
 thereby beneficially allocated to Zones having higher current            the processor to operate pursuant to the Software program to
 user loads. As user loads of the Zones change over time, the             perform the above-described module functions. For example,
 amount of data to be dequeued from their respective queues is            the bandwidth management system 400 of FIG. 4 may be
 dynamically updated.                                                     implemented by a computer server having one or more pro
    Adjusting the quantum 409 of each queue 408 in propor            15   cessors 430 executing a computer program loaded from a
 tion to the user load of its corresponding Zone helps prevent            storage media (not shown) to perform the above-described
 bandwidth starvation of users without guaranteed rates. For              functions of the Zone enqueuing module 410, quantum man
 instance, users under a Zone with a relatively lower user load           ager 420, and Zone dequeuing module 412. Likewise, the
 have less competition for bandwidth allocated to that Zone. In           flowchart of FIG. 9 may be implemented as one or more
 contrast, users under a Zone having a relatively higher user             processes executed by dedicated hardware, and may also be
 load will have more competition for bandwidth allocated to               implemented as one or more software programs executed by
 that Zone and the data in its queue 408 (and in any higher level         a general or specific purpose processor to cause the processor
 parent queue(s) 408) will therefore tend to build up more                to operate pursuant to the Software program to perform the
 quickly. To help prevent bandwidth starvation of these users             flowchart steps. A computer-readable medium may store
 and increase the fairness of bandwidth allocation between           25   computer executable instructions that when executed by a
 Zones, the quantum manager 420 dynamically allocates quan                computer cause the computer to perform above-described
 tums 409 to the queues 408 such that queues 408 correspond               method steps of FIG. 9. Examples of the computer-readable
 ing to Zones having lower user loads receive Smaller quan                medium include optical media (e.g., CD-ROM, DVD discs),
 tums 409, and queues 408 corresponding to Zones having                   magnetic media (e.g., hard drives, diskettes), and other elec
 higher user loads receive larger quantums 409. In this way, a       30   tronically readable media Such as flash storage devices and
 single user who is trying to utilize large amounts of band               memory devices (e.g., RAM, ROM). The computer-readable
 width over and above his guaranteed rate in a first Zone (e.g.,          medium may be local to the computer executing the instruc
 meeting room) will not negatively impact multiple users who              tions, or may be remote to this computer Such as when
 don't have any reserved bandwidth under other Zones (e.g.,               coupled to the computer via a computer network. In one
 guest rooms Zones).                                                 35   configuration, the computer is a computer serverconnected to
    In an exemplary configuration, a bandwidth management                 a network Such as the Internet and the computer program
 system includes a plurality of queues respectively corre                 stored on a hard drive of the computer may be dynamically
 sponding to a plurality of Zones. An enqueuing module                    updated by a remote server via the Internet. In addition to a
 receives network traffic from one or more incoming network               dedicated physical computing device, the word "server” may
 interfaces, determines a belonging Zone to which the network        40   also mean a service daemon on a single computer, virtual
 traffic belongs, and enqueues the network traffic on a queue             computer, or shared physical computer, for example. Unless
 corresponding to the belonging Zone. A dequeuing module                  otherwise specified, features described may be implemented
 selectively dequeues data from the queues and passes the data            inhardware or Software according to different design require
 to one or more outgoing network interfaces. When dequeuing               ments. Additionally, all combinations and permutations of the
 data from the queues the dequeuing module dequeues an               45   above described features and configurations may be utilized
 amount of data from a selected queue, and the amount of data             in conjunction with the invention.
 dequeued from the selected queue is determined according to
 user load of a Zone to which the selected queue corresponds.               What is claimed is:
    Although the invention has been described in connection                 1. A bandwidth management system for allocating band
 with a preferred embodiment, it should be understood that           50   width between a plurality of bandwidth Zones at an establish
 various modifications, additions and alterations may be made             ment serving a plurality of users, each Zone having a number
 to the invention by one skilled in the art without departing             of users competing for bandwidth allocated to the Zone,
 from the spirit and scope of the invention as defined in the             wherein the number of users in each Zone changes over time;
 appended claims. For example, although the invention has                 the bandwidth management system comprising:
 been described as being utilized at a hotel, the invention is       55     a plurality of queues, wherein each of the Zones has a
 equally applicable to any hospitality related location or ser                 corresponding queue;
 vice wishing to allocate available bandwidth between mul                   an enqueuing module for receiving network traffic from
 tiple users including but not limited to hotels, motels, resorts,             one or more incoming network interfaces, determining a
 hospitals, apartment/townhouse complexes, restaurants,                        belonging Zone to which the network traffic belongs, and
 retirement centers, cruise ships, busses, airlines, shopping        60        enqueuing the network traffic on a queue corresponding
 centers, passenger trains, etc. The exemplary user of 'guest'                 to the belonging Zone;
 is utilized in the above description because customers of                  a dequeuing module for selectively dequeuing data from
 hospitality establishments are generally referred to as guests;               the queues and passing the data to one or more outgoing
 however, the exemplary user of 'guest' in conjunction with                    network interfaces; and
 the invention further includes all types of users whether or not    65     a quantum manager for dynamically adjusting values of a
 they are customers. The invention may also be beneficially                    plurality of quantums, each of the queues having a
 employed in other applications outside the hospitality indus                  respective quantum associated therewith:
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                                                       US 8,811,184 B2
                              19                                                                      20
   wherein, when a selected queue has no guaranteed band                    8. The bandwidth management system of claim 1, wherein
     width rate or has already reached its guaranteed band                the quantum manager is configured to round the values of
     width rate, the dequeuing module dequeues at most an                 each of the quantums to a multiple of a maximum transmis
     amount of data from the selected queue up to the quan                sion unit (MTU) of the one or more outgoing network inter
     tum of the selected queue before dequeuing data from                 faces.
     another of the queues;                                                 9. The bandwidth management system of claim 1, wherein
   the quantum manager dynamically adjusts the values of the              each Zone corresponds to one or more rooms of a hotel.
     quantums in proportion to the number of users in each of               10. The bandwidth management system of claim 1,
     the Zones as the number of users change over time; the               wherein each user corresponds to a different user device.
     values of the quantums being automatically adjusted             10
                                                                            11. The bandwidth management system of claim 1,
     Such that the quantum of a first queue is a higher value             wherein, besides the first-level Zone and the second-level
     than the quantum of a second queue while the Zone to                 Zones under the first-level Zone, all the other Zones are entitled
     which the first queue corresponds has a higher number
     of users than the Zone to which the second queue corre               to one or more guaranteed bandwidth rates.
     sponds, and Such that the quantum of the first queue is a       15      12. A method of allocating bandwidth between a plurality
     lower value than the quantum of the second queue while               of bandwidth Zones at an establishment serving a plurality of
     the Zone to which the first queue corresponds has a lower            users, each Zone having a number of users competing for
     number of users than the Zone to which the second queue              bandwidth allocated to the Zone, wherein the number of users
     corresponds;                                                         in each Zone changes over time, the method comprising:
   at least one of the Zones is a first-level Zone that includes a           providing a plurality of queues, wherein each of the Zones
      plurality of second-level Zones not entitled to any guar                 has a corresponding queue;
      anteed bandwidth rate;                                                 receiving network traffic from one or more incoming net
   network traffic enqueued on one or more queues corre                        work interfaces;
     sponding to the second-level Zones is dequeued and then                determining a belonging Zone to which the network traffic
     enqueued on the queue corresponding to the first-level          25        belongs;
      Zone; and                                                             enqueuing the network traffic on a queue corresponding to
   the quantum manager determines the number of users of                       the belonging Zone;
     the first-level Zone by accumulating the number of users               selectively dequeuing data from the queues and passing the
      under each of the second-level Zones.                                    data to one or more outgoing network interfaces; and
   2. The bandwidth management system of claim 1, further            30     dynamically adjusting values of a plurality of quantums,
 comprising:                                                                   each of the queues having a respective quantum associ
   an authentication server for managing logged in users of                    ated therewith:
      each of the Zones;                                                    wherein, when a selected queue has no guaranteed band
   wherein the number of users in each Zone at a particular                    width rate or has already reached its guaranteed band
      time corresponds to the number of logged in users of           35        width rate, selectively dequeuing data from the queues
      each Zone at the particular time.                                        comprises dequeuing at most an amount of data from the
   3. The bandwidth management system of claim 1, further                      Selected queue up to the quantum of the selected queue
 comprising:                                                                   before dequeuing data from another of the queues;
   a log for logging network traffic activity;                              dynamically adjusting values of the quantums comprises
   wherein the number of users in each Zone at a particular          40        dynamically adjusting the values of the quantums in
      time corresponds to users who have received or sent                      proportion to the number of users in each of the Zones as
      network traffic within each Zone during a last predeter                  the number of users change over time; the values of the
      mined time period according to the log.                                  quantums being automatically adjusted Such that the
   4. The bandwidth management system of claim 1, further                      quantum of a first queue is a higher value than the quan
 comprising:                                                         45        tum of a second queue while the Zone to which the first
   a user monitor for periodically sending a ping to each user                 queue corresponds has a higher number of users than the
      in each of the Zones;                                                    Zone to which the second queue corresponds, and Such
    wherein the number of users in each Zone at a particular                   that the quantum of the first queue is a lower value than
       time corresponds to users in each Zone who replied to a                 the quantum of the second queue while the Zone to which
       most recent ping.                                             50        the first queue corresponds has a lower number of users
    5. The bandwidth management system of claim 1, wherein,                    than the Zone to which the second queue corresponds;
 when all Zones have data to send, all guaranteed bandwidth                 at least one of the Zones is a first-level Zone that includes a
 rates have been met, and no Zone has exceeded its designated                  plurality of second-level Zones not entitled to any guar
 cap, the dequeuing module cycles through the queues in a                      anteed bandwidth rate, and the method further com
 round robin dequeuing strategy and dequeues the quantum of          55       prises:
 data associated with each queue.                                           dequeuing network traffic enqueued on one or more queues
    6. The bandwidth management system of claim 1, wherein                    corresponding to the second-level Zones and then
 the quantum manager is configured to Scale the values of the                 enqueuing it on the queue corresponding to the first
 quantums such that a smallest quantum value represents a                      level Zone; and
 maximum transmission unit (MTU) of the one or more out              60     determining the number of users of the first-level Zone by
 going network interfaces.                                                    accumulating the number of users under each of the
    7. The bandwidth management system of claim 1, wherein                     second-level Zones.
 the quantum manager is configured to Scale the values of the               13. The method of claim 12, further comprising:
 quantums such that a largest quantum value represents a                    managing logged in users of each of the Zones;
 predetermined maximum amount being a multiple of a maxi             65     wherein the number of users in each Zone at a particular
 mum transmission unit (MTU) of the one or more outgoing                      time corresponds to the number of logged in users of
 network interfaces.                                                          each Zone at the particular time.
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                                                    US 8,811,184 B2
                            21                                                                    22
   14. The method of claim 12, further comprising:                         Selectively dequeue data from the queues;
   Scaling the values of the quantums such that a smallest                 pass the data to one or more outgoing network inter
     quantum value is a maximum transmission unit (MTU)                       faces; and
     of the one or more outgoing network interfaces when a                 dynamically adjust values of a plurality of quantums,
       ratio of a minimum number of users to a maximum                       each of the queues having a respective quantum asso
       number of users is less than a predetermined threshold                 ciated therewith:
       ratio; and                                                       wherein, when a selected queue has no guaranteed band
   Scaling the values of the quantums such that a largest quan            width rate or has already reached its guaranteed band
     tum value is a predetermined maximum amount when                     width rate, the one or more processors are configured to
       the ratio of the minimum number of users to the maxi      10
       mum number of users is greater than the predetermined              dequeue at most an amount of data from the selected
       threshold ratio.                                                   queue up to the quantum of the selected queue before
   15. The method of claim 12, further comprising:                        dequeuing data from another of the queues;
   ensuring a maximum bandwidth cap of the selected Zone is             the one or more processors are configured to dynamically
       not exceeded; and                                         15       adjust the values of the quantums in proportion to the
   ensuring the selected Zone receives at least a guaranteed               number of users in each of the Zones as the number of
       bandwidth allotment.                                                users change overtime; the values of the quantums being
   16. A non-transitory computer-readable medium compris                   automatically adjusted Such that the quantum of a first
 ing computer executable instructions that when executed by a              queue is a higher value than the quantum of a second
 computer cause the computer to perform the method of claim                queue while the Zone to which the first queue corre
 12.                                                                       sponds has a higher number of users than the Zone to
   17. The method of claim 12, wherein each Zone corre                     which the second queue corresponds, and Such that the
 sponds to one or more physically separate areas at the estab              quantum of the first queue is a lower value than the
 lishment.                                                                 quantum of the second queue while the Zone to which the
   18. The method of claim 12, wherein, wherein, besides the     25        first queue corresponds has a lower number of users than
 first-level Zone and the second-level Zones under the first               the Zone to which the second queue corresponds;
 level Zone, all the other Zones are entitled to one or more            at least one of the Zones is a first-level Zone that includes a
 guaranteed bandwidth rates.                                              plurality of second-level Zones not entitled to any guar
    19. A bandwidth management system for allocating band                 anteed bandwidth rate, and the one or more processors
 width between a plurality of bandwidth Zones at an establish    30
                                                                          are further configured to:
 ment serving a plurality of users, each Zone having a number           dequeue network traffic enqueued on one or more queues
 of users competing for bandwidth allocated to the Zone,                  corresponding to the second-level Zones and then
 wherein the number of users in each Zone changes over time,              enqueue it on the queue corresponding to the first-level
 the system comprising:
   a plurality of queues, wherein each of the Zones has a        35        Zone; and
      corresponding queue; and                                          determine the number of users of the first-level Zone by
   one or more processors configured to:                                  accumulating the number of users under each of the
                                                                           second-level Zones.
      receive network traffic from one or more incoming net             20. The bandwidth management system of claim 19,
         work interfaces;
       determine a belonging Zone to which the network traffic   40   wherein, besides the first-level Zone and the second-level
         belongs;                                                     Zones under the first-level Zone, all the other Zones are entitled
       enqueue the network traffic on a queue corresponding to        to one or more guaranteed bandwidth rates.
         the belonging Zone;                                                                  k   k   k   k    k
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                      Exhibit B
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                                                                                                           US009 154435B2


 (12) United States Patent                                                        (10) Patent No.:                              US 9,154.435 B2
        Ong                                                                       (45) Date of Patent:                                   *Oct. 6, 2015
 (54) AUTOMATICALLY ADJUSTING                                                  (52) U.S. Cl.
        BANDWDTH ALLOCATED BETWEEN                                                       CPC .......... H04L 47527 (2013.01); H04L 41/0896
        DIFFERENT ZONES IN PROPORTION TO                                                      (2013.01); H04L 47/2441 (2013.01); H04L
        SUMMATION OF INDIVIDUAL BANDWDTH                                                     47/6255 (2013.01); H04L 47/781 (2013.01);
        CAPS OF USERS IN EACH OF THE ZONES                                               H04L 47/808 (2013.01); H04L 63/08 (2013.01)
        WHERE A FIRST LEVEL, ZONE INCLUDES                                     (58) Field of Classification Search
        SECONO-LEVEL ZONES NOT ENTITLED TO                                               CPC ................................ H04L 47/00; H04L 41/00
        ANY GUARANTEED BANDWIDTH RATE                                                    See application file for complete search history.
 (71) Applicant: Guest Tek Interactive Entertainment                           (56)                          References Cited
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 (73) Assignee: Guest Tek Interactive Entertainment                                                               (Continued)
                Ltd., Calgary (CA)
                                                                                                FOREIGN PATENT DOCUMENTS
 (*) Notice:       Subject to any disclaimer, the term of this
                   patent is extended or adjusted under 35                     CA                  275O345                    12/2011
                   U.S.C. 154(b) by 0 days.                                    WO                01.031861 A9                 11, 2002
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                   This patent is Subject to a terminal dis                                          OTHER PUBLICATIONS
                   claimer.                                                    Martin Devera and Don Cohen, “HTB Linux queuing discipline
                                                                               manual—user guide', last updated May 5, 2002, downloaded from
 (21) Appl. No.: 14/456,035                                                    http://luxik.cdi.cz/-devik?qos/htb/manual/userg.htm.
 (22) Filed:       Aug. 11, 2014                                               Primary Examiner — Andrew Lai
                                                                               Assistant Examiner — Sumitra Ganguly
 (65)                 Prior Publication Data                                   (74) Attorney, Agent, or Firm — ATMAC Patent Services
        US 2014/O347999 A1            Nov. 27, 2014                            Ltd.; Andrew T. MacMillan
                                                                               (57)                              ABSTRACT
                                                                               A bandwidth management system includes a plurality of
             Related U.S. Application Data                                     queues respectively corresponding to a plurality of Zones. An
 (63) Continuation of application No. 13/308.908, filed on                     enqueuing module receives network traffic from one or more
        Dec. 1, 2011, now Pat. No. 8,811,184.                                  incoming network interfaces, determines a belonging Zone to
                                                                               which the network traffic belongs, and enqueues the network
 (30)            Foreign Application Priority Data                             traffic on a queue corresponding to the belonging Zone. A
                                                                               dequeuing module selectively dequeues data from the queues
   Aug. 24, 2011     (CA) ...................................... 2750345       and passes the data to one or more outgoing network inter
                                                                               faces. When dequeuing data from the queues the dequeuing
 (51) Int. Cl.                                                                 module dequeues an amount of data from a selected queue,
                                                                               and the amount of data dequeued from the selected queue is
        H04L (2/873             (2013.01)                                      determined according to user load of a Zone to which the
        H04L 2/24               (2006.01)                                      selected queue corresponds.
                          (Continued)                                                         20 Claims, 9 Drawing Sheets




                                : Guaranteed zone      Guaranteed zone :
                                      Rate = R1            Rate = R2
                                     Cap = C1              Cap = C2


                                                                           :      114                      16
                                                                           : Best effort zone            Best effort zone :
                                                                                  Cap = C4                  Cap = C5


                                                                           : Unreserved bandwidthzones
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                                                                      Page 2

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     Y.


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               ZOZ
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 U.S. Patent




      Z09)
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               907Z
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      006
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                                                       US 9,154,435 B2
                                1.                                                                      2
           AUTOMATICALLY ADJUSTING                                       throughput is limited to the cap but the minimum throughput
        BANDWIDTH ALLOCATED BETWEEN                                      is not limited and instead depends on how much bandwidth
       DIFFERENT ZONES IN PROPORTION TO                                  other users are currently using.
     SUMMATION OF INDIVIDUAL BANDWDTH                                       A hotel may also allow a user to purchase an amount of
      CAPS OF USERS IN EACH OF THE ZONES                                 guaranteed bandwidth that is not shared with other users.
      WHERE A FIRST LEVEL, ZONE INCLUDES                                 Guaranteed bandwidth is often also provided by the hotel to
     SECONO-LEVEL ZONES NOT ENTITLED TO                                  meeting and conference rooms, and the users of these rooms
       ANY GUARANTEED BANDWDTH RATE                                      share the rooms allocation. The amount of guaranteedband
                                                                         width allocated to hotel guests is generally set according to an
            CROSS-REFERENCE TO RELATED                              10   amount purchased by the user during a sign-in process, and
                   APPLICATIONS                                          the amount of guaranteed bandwidth allocated to conference
                                                                         and meeting rooms is typically determined when the room is
   This application is a continuation of U.S. patent applica             booked and may be a function of the booking price to allow
 tion Ser. No. 13/308,908 filed Dec. 1, 2011, which claims the           the conference organizer to pay according to the level of
 benefit of Canadian Patent Application No. 2,750,345 filed         15   bandwidth required for the conference.
 Aug. 24, 2011. Both of these applications are incorporated                 When bandwidth is guaranteed, ideally the minimum
 herein by reference.                                                    bandwidth that a user (or room, etc) benefiting from the
                                                                         guarantee will ever experience will be the guaranteed rate. In
           BACKGROUND OF THE INVENTION                                   Some cases, the bandwidth may also be capped at a higher rate
                                                                         so when there is bandwidth in the hotel available over and
    (1) Field of the Invention                                           above the guaranteed rate, the user may experience even
    The invention pertains generally to bandwidth manage                 higher rates. When the hotel is provided with a fixed total ISP
 ment. More specifically, the invention relates to allocating            bandwidth, care must be taken by the hotel to not oversell
 available bandwidth shared by a plurality of users.                     guaranteedbandwidth or it may be impossible for the hotel to
    (2) Description of the Related Art                              25   actually deliver the guaranteed rates when usage is high.
    Travellers increasingly view in-room high speed Internet                Traffic shaping and prioritization may also be performed
 access (HSIA) as a requirement when choosing at which hotel             by monitoring and detecting traffic types and giving prefer
 to stay. Business travellers may need to access company                 ential treatment for certaintime-sensitive applications such as
 networks while on the road and tourists may wish to upload              teleconferencing Voice and video traffic. Compression, cach
 photos and send email to family friends while travelling. To       30   ing, and blocking technologies (i.e., blocking malware and
 provide in-room HSIA, hotels typically purchase a connec                other unwanted web traffic) may also be utilized by the
 tion to the Internet from a local Internet service provider             hotel’s HSIA system to reduce unnecessary bandwidth utili
 (ISP). The ISP provides the hotel with a fixed amount of                zation and thereby increase the bandwidth available to share
 bandwidth determined according to the ISPs pricing struc                between users.
 ture or other constraints. The hotel shares the available band     35      Although the above-described methods of managing band
 width between the hotel guests, users in meeting and confer             width within a hotel are useful, they also tend to be unfair to
 ence rooms, and the hotel's networked computer systems.                 certain users. For example, in some circumstances a user who
   A large hotel may have hundreds or even thousands of                  has not upgraded to an amount of guaranteedbandwidth may
 guests staying in guest rooms and utilizing meeting rooms—              be starved for bandwidth when sharing a small amount of
 each competing for Internet bandwidth. One or more com             40   available bandwidth with other users. Due to a variety of
 puter systems in the hotel may additionally need to transfer            reasons it may not be possible for this user to purchase guar
 data via the Internet such as to receive reservations from              anteedbandwidth, for example, because the total ISP connec
 external travel agencies or to download content for playback            tion bandwidth is limited and other users (i.e., meeting rooms
 by guests using the hotels in-room media and entertainment              and/or VIP guests) may already have reserved the hotel's
 system. Because user satisfaction will be lowered if access to     45   limit on guaranteed bandwidth. Although, the user may be
 the Internet is slow, unresponsive, or unreliable, the available        able to upgrade to a higher individual bandwidth cap, during
 Internet bandwidth provided by the ISP needs to be effec                peak usage times when bandwidth is in high demand, the
 tively allocated between the various users within the hotel.            actual portion of bandwidth received by the user may not even
    Typically, when a user connects a network device to the              reach the lower cap so having a higher cap will provide no
 hotel's LAN, the user is required by the hotel's HSIA system       50   benefit. Further techniques to optimize bandwidth allocation
 to authenticate and gain access to the network, for example,            between multiple users to help prevent bandwidth starvation
 by providing a password or other information Such as room               in these situations would be beneficial.
 number and registered guest's name. Once authorized, traffic
 shaping is performed on a per-user basis in order to cap each                   BRIEF SUMMARY OF THE INVENTION
 user's maximum usage at a certain level while still sharing the    55
 total available bandwidth between all guests and other appli               According to an exemplary configuration of the invention
 cations within the hotel. For example, a basic user bandwidth           there is provided abandwidth management system including
 cap may limit each user to at most receive 256 kbit/sec of the          a plurality of queues respectively corresponding to a plurality
 hotel's available bandwidth to the Internet. The actual amount          of Zones. An enqueuing module receives network traffic from
 received by the user may be less than the cap during peak          60   one or more incoming network interfaces, determines a
 usage times.                                                            belonging Zone to which the network traffic belongs, and
    Some hotels allow users to purchase “upgraded' band                  enqueues the network traffic on a queue corresponding to the
 width, which typically involves raising the user's individual           belonging Zone. A dequeuing module selectively dequeues
 bandwidth cap while still sharing the available bandwidth               data from the queues and passes the data to one or more
 with other users. For example, the user's cap may be raised to     65   outgoing network interfaces. When dequeuing data from the
 1024 kbit/sec after a payment of S9.99 is received. Again,              queues the dequeuing module dequeues an amount of data
 when bandwidth is upgraded in this way, the maximum                     from a selected queue, and the amount of data dequeued from
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                                 3                                                                    4
 the selected queue is determined according to user load of a             FIG. 4 illustrates a bandwidth management system having
 Zone to which the selected queue corresponds.                         a plurality of queues respectively corresponding to the Zones
    According to another exemplary configuration of the                of FIG. 3 according to an exemplary configuration of the
 invention there is provided a bandwidth management system             invention.
 including a plurality of queues respectively corresponding to            FIG. 5 illustrates a quantum calculation table describing a
 a plurality of Zones. One or more processors are configured to        calculation process that the quantum manager of FIG. 4 may
 receive network traffic from one or more incoming network             utilize to calculate a quantum for each queue according to the
 interfaces, determine a belonging Zone to which the network           user load example shown in FIG. 3.
 traffic belongs, enqueue the network traffic on a queue corre            FIG. 6 illustrates a quantum calculation table describing a
 sponding to the belonging Zone, selectively dequeue data         10   calculation process that the quantum manager of FIG. 4 may
 from the queues, and pass the data to one or more outgoing            utilize to calculate the quantum for each queue according to
 network interfaces. When selectively dequeuing data from              another user load example for the Zones shown in FIG. 3.
 the queues the one or more processors are configured to                  FIG. 7 illustrates a beneficial organization of meeting room
 dequeue an amount of data from a selected queue, and the              bandwidth Zones in a conference center according to an
                                                                  15   exemplary configuration of the invention.
 amount of data dequeued from the selected queue is deter                 FIG. 8 illustrates a quantum calculation table describing a
 mined according to user load of a Zone to which the selected          calculation process that a quantum manager may utilize to
 queue corresponds.                                                    calculate a quantum for a queue of each Zone of FIG.8 when
    According to another exemplary configuration of the                the user load of each Zone corresponds to a Summation of
 invention there is provided a bandwidth management appa               bandwidth caps of the current users in the Zone.
 ratus including a plurality of queues respectively correspond            FIG. 9 illustrates a flowchart describing a method of allo
 ing to a plurality of Zones. Included is means for receiving          cating bandwidth between Zones according to user load in an
 network traffic, means for determining a belonging Zone to            exemplary configuration of the invention.
 which the network traffic belongs and enqueuing the network
 traffic on a queue corresponding to the belonging Zone, and      25                   DETAILED DESCRIPTION
 means for selectively dequeuing data from the queues and
 passing the data to one or more destinations. Selectively                FIG. 1 illustrates a generalized bandwidth Zone tree-struc
 dequeuing data from the queues involves dequeuing an                  ture according to an exemplary configuration of the invention.
 amount of data from a selected queue, the amount of data              The definition of a “Zone' according to the invention is flex
 being determined according to user load of a Zone to which       30   ible and depends upon application-specific design require
 the selected queue corresponds.                                       ments. Generally speaking, Zones represent manageable divi
    According to another exemplary configuration of the                sions of users, user devices, and/or other lower-level Zones.
 invention there is provided a method of allocating bandwidth          Zones may be logically and/or physically separated from
 between a plurality of Zones. The method includes providing           other Zones. For example, different Zones may be isolated on
 a plurality of queues respectively corresponding to the plu
                                                                  35   separate local area networks (LANs) or virtual LANs
                                                                       (VLANs) corresponding to separate rooms or areas of a hotel,
 rality of Zones. The method further includes receiving net            or different Zones may share a same LAN but correspond to
 work traffic from one or more incoming network interfaces             different service levels of users within a hotel. The Zones and
 and determining a belonging Zone to which the network traf            tree-structure may be dynamic and change at any time as
 fic belongs. The method further includes enqueuing the net       40   users associated with certain Zones upgrade their Internet
 work traffic on a queue corresponding to the belonging Zone,          access or when meeting reservations begin and end, for
 and selectively dequeuing data from the queues and passing            example.
 the data to one or more outgoing network interfaces. Selec               In the example Zone organization of FIG. 1, an Internet
 tively dequeuing data from the queues involves dequeuing an           pipe 102 providing a total bandwidth (BT) is shared between
 amount of data from a selected queue, the amount of data         45   a set of reserved bandwidth Zones 104 and a set of unreserved
 being determined according to user load of a Zone to which            bandwidth Zones 106. The set of reserved bandwidth Zones
 the selected queue corresponds.                                       104 are arranged on a first-level of the tree and include a first
    These and other embodiments and advantages of the inven            guaranteed Zone 108 having a guaranteed bandwidth rate of
 tion will become apparent from the following detailed                 R1 and a maximum bandwidth usage cap of C1, and a second
 description, taken in conjunction with the accompanying          50   guaranteed Zone 110 having a guaranteed bandwidth rate of
 drawings, illustrating by way of example the principles of the        R2 and a cap of C2. Bandwidth rates R1,R2 are guaranteed to
 invention.                                                            the Zone; when there is unused bandwidth in the hotel, each
                                                                       Zone may also obtain extra bandwidth up to its cap C1, C2.
       BRIEF DESCRIPTION OF THE DRAWINGS                               Each Zone's cap C1, C2 may be equal to or higher than the
                                                                  55   Zone's reserved rate R1, R2. Additionally, the reserved rate
   The invention will be described in greater detail with ref          R1,R2 and cap C1, C2 of each Zone may be changed at any
                                                                       time.
 erence to the accompanying drawings which represent pre                 In the set of unreserved bandwidth Zones 106, there is a
 ferred embodiments thereof.
                                                                       single first-level remaining bandwidth Zone 112 that may
    FIG. 1 illustrates a generalized bandwidth Zone tree-struc    60   obtain up to a cap amount of bandwidth that still leaves at least
 ture according to an exemplary configuration of the invention.        the reserved bandwidth available for each of the reserved
    FIG. 2 illustrates how each Zone of FIG.1 may include one          bandwidth Zones 104. For example, using the Zones illus
 or more user devices and/or may include other Zones at a              trated in FIG. 1, CRESERVE=BT-(R1+R2). The CRE
 lower level of the tree-structure.                                    SERVE cap may be automatically set in this way to ensure
   FIG. 3 illustrates a beneficial organization of bandwidth      65   that users who have purchased guaranteed bandwidth can
 Zones in a hotel according to an exemplary configuration of           utilize their full guaranteed allotment capacity at any time and
 the invention.                                                        will not be affected by overuse by the unreserved bandwidth
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                                5                                                                        6
 Zones 106. Although capping the remaining bandwidth Zone                   In this example, the remaining bandwidth Zone 316 is
 112 at CRESERVE means there may be some wasted band                     automatically capped at 4 Mbit/sec so that even when at full
 width capacity when the reserved bandwidth Zones 104 are                utilization there is still enough bandwidth left over (e.g., 6
 not utilizing their full rates R1, R2, the CRESERVE cap                 Mbit/sec remaining) within the hotel 300 to accommodate
 advantageously preserves interactivity for each of the                  each of the reserved bandwidth Zones 304 operating at full
 reserved bandwidth Zones 104 and allows immediate band                  utilization according to their guaranteed rates. Additionally,
 width usage by the reserved bandwidth Zones 104 such as is              guaranteed Zones 308, 310 are automatically capped at 6
 needed during bandwidth speed tests or intermittent traffic             Mbit/sec and guaranteed Zones 312, 314 are automatically
 bursts, for example.                                                    capped at 5 Mbit/sec to ensure that when any one operates at
    In some configurations, the caps C1, C2 of the guaranteed       10   full capacity there is enough bandwidth to accommodate each
 Zones 108, 110 may similarly each be automatically set to               of the other reserved bandwidth Zones 304. As previously
                                                                         mentioned, automatically setting the caps in this way pre
 prevent overuse of one of the reserved bandwidth Zones 104              serves the interactivity of the guaranteed bandwidth Zones
 from affecting another of the reserved bandwidth Zones 104.             308,310,312,314. When the guaranteed rates of any of the
 For example, using the Zones illustrated in FIG. 1, C1 may be      15   reserved bandwidth Zones 304 are changed, the bandwidth
 automatically set to BT-R2, and C2 may be automatically set             caps throughout the Zones in the hotel 300 may be automati
 to BT-R1. In other configurations, the caps C1, C2 may be set           cally adjusted by the hotel's bandwidth management system
 to lower values to preserve bandwidth for use by the unre               accordingly.
 served bandwidth Zones 106 or be set to higher values when                 As shown in FIG. 3, each Zone has an example number of
 it is not a concern if one of the reserved bandwidth Zones 104          current users to help describe this configuration of the inven
 interferes with another of the reserved bandwidth Zones 104             tion. In this configuration, the word “users’ refers to the
 Such as when there is a only a single guaranteed Zone 108,              different user devices 204 since the hotel's HSIA system will
 110.                                                                    generally identify each user device 204 with a unique IP
   Under the first-level remaining bandwidth Zone 112 area               address and will provide an individual bandwidth cap on aper
 number of second-level best effort Zones 114, 116 each hav         25   user device 204 basis. However, in other configurations, the
 ing its own cap. For example, best effort Zone 114 has cap C4           term “users' may instead refer to different human users as
 and best effort Zone 116 has cap C5. Caps C4, C5 are usually            tracked by their user devices 204. For example, when a par
 lower than CRESERVE and may be adjusted at any time such                ticular Zone has a single hotel guest utilizing three user
 as when a user of a particular guest room upgrades to a higher          devices 204, the Zone may only be determined to include a
 bandwidth cap, for example.                                        30   single user as each of the IP addresses of the three user devices
    A second-level best effort Zone 114, 116 may be automati             204 are associated with the same user in a database. In yet
 cally moved to become one of the first-level reserved band              other configurations, “users’ may also include automated
 width Zones 104 and given a guaranteedbandwidth rate Such               applications, tasks, or servers such as the various components
 as when a user upgrades a room to a guaranteed bandwidth                of the hotel's HSIA system or other networked systems in the
 rate, for example. Likewise, a guaranteed Zone 108, 110 may        35   hotel 300. In general, the term “users’ in each of the various
 have its reserved rate R1,R2 set to zero (or otherwise deleted)         configurations refers to agents that compete for available
 and be automatically moved to become a second-level best                bandwidth, and any mechanism of identifying and distin
 effort Zone under the remaining bandwidth Zone 112. This                guishing current users may be utilized in conjunction with the
 may occur, for example, when a guaranteed bandwidth rate                invention.
 upgrade expires or when a VIP user entitled to guaranteed          40      Although not illustrated in FIG. 3, each user under a Zone
 bandwidth in a room checks outs and the room automatically              may in fact be included in a user-specific lower-level child
 becomes a best effort Zone 114, 116.                                    Zone having a user-specific cap (and/or reserved rate). This
   FIG. 2 illustrates how each Zone 202 may include one or               configuration is beneficial to prevent each user under a Zone
 more user devices 204 and/or may include other lower-level              from monopolizing all the bandwidth assigned to the Zone.
 Zones 206. Such parent Zones 202 include all the user devices      45   For example, a user that tries to bit-torrent under a Zone will
 and/or additional Zones from their lower-level child Zones              not unfairly take more than their allotted bandwidth cap from
 206. Although the examples illustrated in FIG. 1 and FIG. 2             other users sharing the bandwidth under that Zone.
 have first-level Zones and second-level Zones, the invention is            Additionally, the number of current users indicated in FIG.
 not limited to a two-level bandwidth Zone tree-structure. For           3 is meant only as an example Snapshot of one particular time
 example, a single level tree-structure is illustrated later in     50   period and it is expected the numbers of current users of each
 FIG. 7. Additionally, three or greater-level tree-structures are        Zone 308,310, 312, 314, 316, 318a, 318b will change over
 also possible and may be beneficial when there are many sub             time. For example, after a meeting in the first meeting room
 categories of a higher level Zone, for example.                         Zone 308 ends, the number of users of the first meeting room
    FIG. 3 illustrates a beneficial organization of bandwidth            Zone 308 will drop from sixty-five to zero. Then, when a next
 Zones in a hotel 300 according to an exemplary configuration       55   meeting begins, the user count will rapidly climb up to
 of the invention. In this example, the hotel's ISP pipe 302             another level dependent upon how many users bring elec
 provides a total bandwidth of 10 Mbit/sec shared between a              tronic devices 204 that are connected to the network. The
 number of reserved bandwidth Zones 304 and a number of                  number of current users of the other Zones 310,312,314,316,
 unreserved bandwidth Zones 306. Following the tree-struc                3.18a, 318b may similarly change over time as well.
 ture organization introduced in FIG. 1, the reserved band          60      The number of current users of the remaining bandwidth
 width Zones 304 are each positioned at a first-level of the tree        Zone316 is one-hundred and ninety-two in this example. This
 and include a first meeting room Zone 308, a second meeting             number includes all the current users of the various guest
 room Zone 310, a penthouse Suite Zone312, and an upgraded               room Zones 318 that are included as second-level Zones under
 room Zone314. A single first-level remaining bandwidth Zone             the first-level remaining bandwidth Zone 316. Each guest
 316 includes a number of second-level guest room Zones 318         65   room Zone 318 may only have one or two current users, but
 including a first guest room Zone318a and second guest room             the hotel 300 in this example has hundreds of guest rooms
 Zone 318b.                                                              and, due to the Zone tree-structure, all of the current guest
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 room users add up to form the total number of current users of            tem 400 may be used to manage bandwidth in the upload
 remaining bandwidth Zone 316.                                             direction (hotel to ISP) and/or download direction (ISP to
    For illustration purposes, the upload direction (hotel to              hotel) according to different configurations. Additionally, the
 ISP) will be described and the rates/caps shown for each Zone             incoming network interface 404 may in fact be a plurality of
 indicate the upload speeds in the following description. How              incoming network interfaces and the outgoing network inter
 ever, these rates/caps may also apply in the download direc               face 406 may in fact be a plurality of outgoing network
 tion, or the download direction could have different rates/caps           interfaces. Having multiple incoming and outgoing network
 for each Zone. Regardless, the invention may be used in both              interfaces 404, 406 allows for redundant communication
 the upload and download directions or may be used only in a               links in the event of a fault and also allows for higher overall
 single direction depending upon the specific bandwidth man           10   bandwidth capacity by multiplying the number of interfaces
 agement requirements of the target application.                           by the maximum capacity of each interface.
    In this example, the hotel ISP pipe 302 has a total of 10                 In operation, the Zone engueuing module 410 receives
 Mbit/sec bandwidth provided by the ISP and each of the                    network traffic from the incoming network interface 404,
 first-level reserved bandwidth Zones 304 is guaranteed some               determines a belonging Zone to which the network traffic
 of that bandwidth. Even if each of the reserved bandwidth            15   belongs, and enqueues the network traffic on a queue 408
 Zones 304 is utilizing its full guaranteed rate, there is still an        corresponding to the belonging Zone. For example, the Zone
 available 4 Mbit/sec remaining that may be shared among the               enqueuing module 410 may be implemented as one or more
 various first-level Zones in the hotel.                                   filters for classifying to which Zone an Ethernet frame (or IP
   According to this configuration of the invention, the avail             packet, etc) received from the incoming network interface
 able bandwidth is shared between Zones at the same level in               404 belongs. In this example, when network traffic belongs to
 the Zone tree. This means the 4Mbit/sec in the above example              multiple Zones, the Zone endueuing module 410 enqueues the
 will be shared between the first-level Zones including the first          received network traffic in the queue 408 corresponding to the
 meeting room Zone 308, the second meeting room Zone310,                   lower-level belonging Zone. For example, when network traf
 the penthouse suite Zone 312, the upgraded room Zone 314,                 fic belongs to both the first guest room Zone 318a and the
 and the remaining bandwidth Zone 316. Even when sharing              25   remaining bandwidth Zone 316, the Zone engueuing module
 available bandwidth, if a Zone has a bandwidth cap, that Zone             410 enqueues the network traffic on the first guest room queue
 may not obtain any bandwidth above the cap level.                         408a.
    Each Zone has a quantum (shown as example Q values                        The Zone enqueuing module 410 may determine the
 indicated in FIG. 3) representing an amount of bytes that can             belonging Zone by examining an IP or MAC address included
 be served at a single time from the Zone and passed to a             30   in the network traffic and looking up in the user/Zone database
 higher-level Zone (or to the hotel ISP pipe 302). According to            419 to see to which Zone that IP or MAC belongs. The map
 this configuration of the invention, the quantums are dynami              ping between IP or MAC address and the belonging Zone may
 cally adjusted according to the user load of each Zone, and the           be stored in the user/Zone database 419 by the authentication
 user load of each Zone corresponds to the number of current               server 418 when the user logs in to the hotel's HSIA system.
 users in the Zone.                                                   35   For example, when a guest staying in "Guest room A Suc
    When each Zone is implemented as one or more queues                    cessfully logs in using a laptop computer, the authentication
 enforcing rate and cap limits, the quantum indicates the maxi             server 418 may store the IP or MAC address utilized by the
 mum number of bytes that can be dequeued (i.e., removed                   laptop computer as belonging to the first guest room Zone
 from a particular queue) at one time. In some configurations,             3.18a in user/Zone database 419. Thereafter, the Zone enqueu
 the cap limit may prevent the full quantum of bytes from             40   ing module 410 enqueues received network traffic having the
 being dequeued from a queue corresponding to a particular                 IP or MAC address of the laptop computer on the first guest
 Zone if this would cause the bandwidth provided to the Zone               room queue 408a.
 to exceed its cap limit. In another configuration, as long as the            Depending on the direction of the network traffic, e.g.,
 data in the queue is Sufficient, the quantum of bytes is always           upload or download, the IP or MAC address may be either the
 dequeued at once; however, the frequency of dequeuing the            45   Source or destination address. For example, if incoming net
 quantum of bytes may be reduced in order to limit the average             work interface 404 is coupled to the hotel ISP pipe 302, the
 bandwidth to the Zone's cap.                                              laptop's IP or MAC address may be the destination address of
    FIG. 4 illustrates a bandwidth management system 400                   the network traffic. Alternatively, if the incoming network
 having a plurality of queues 408 where each individual queue              interface 404 is coupled to the hotel's LAN, the laptop's IP or
 408 respectively corresponds to one of the Zones of FIG.3 and        50   MAC address may be the source address of the network
 includes a queue-specific quantum 409 according to an exem                traffic. A similar process may be used by the Zone engueuing
 plary configuration of the invention. In this example, the                module 410 to enqueue network traffic of other Zones on the
 bandwidth management system 400 further includes an                       appropriate queue 408 corresponding to the Zone that the
 incoming network interface 404, an outgoing network inter                 network traffic belongs.
 face 406, a Zone endueuing module 410, a Zone dequeuing              55      In another configuration, the Zone endueuing module 410
 module 412, a user monitor 414, a network activity log 416,               performs port detection by accessing various intermediate
 an authentication server 418, a user/Zone database 419, and a             Switches between the Zone enqueuing module 410 and a user
 quantum manager 420. The quantum manager 420 is prepro                    device in order to thereby track from which switch/port the
 gramed with a maximum quantum ratio 422. The outgoing                     network traffic originated. Each switch/port combination and
 network interface 406 has a maximum transportunit (MTU)              60   belonging Zone may be stored in the user/Zone database 419.
 426, for example, 1500 bytes when the outgoing network                    Other methods of correlating to which Zone received network
 interface 406 is of the Ethernet type.                                    traffic belongs may also be used according to application
    Again, although the bandwidth management system 400 is                 specific designs.
 shown operating in a single direction from incoming network                  Each queue 408 has a respective quantum 409 that deter
 interface 404 to outgoing network interface 406, in some             65   mines how many bytes can be dequeued at a single time by the
 configurations, there may be a similar structure in both upload           dequeuing module 412. For example, with a round robin
 and download directions. The bandwidth management sys                     dequeuing strategy and assuming all Zones have data to send,
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 all guaranteed rates have been met, and no Zone has exceeded           frame (or IP packet, etc) in the past ten minutes. Ten minutes
 its designated cap, the dequeuing module 412 cycles one-by             after a guestin Guest room B stops browsing the Internet from
 one to each queue 408 at a particular tree-level and dequeues          their laptop, the Summation of how many users have sent/
 (i.e., removes) the queue's quantum number of bytes.                   received network traffic within the second guest room Zone
    Using the exemplary quantum Q values illustrated in FIG.            318b will be decremented by one. Additionally, because the
 3 as an example, for the first-level Zones, the dequeuing              remaining bandwidth Zone 316 includes the second guest
 module 412 dequeues 21,000 bytes of data from the first                room Zone 318b, the summation of how many users have
 meeting room queue 408c, then dequeues 7500 bytes of data              sent/received network traffic within the remaining bandwidth
 from the second meeting room queue 408d, then dequeues                 Zone 316 will also be decremented by one.
 60,000 bytes of data from the remaining bandwidth queue           10      In another example, the user monitor 414 periodically
 408e, then dequeues 1500 bytes of data from the penthouse              sends a ping to the IP address of network devices for each
 suite queue 408f then dequeues 1500 bytes of data from the             user. The user devices that have replied to the most recent ping
 upgraded room queue 408g, and then returns to again                    are stored in the user/Zone database 419. To determine the
 dequeue 21,000 bytes of data from the first meeting room               number of current users in a particular Zone, the quantum
 queue 308, and so on. If the bandwidth management system          15   manager 420 queries the user/Zone database 419 to sum how
 400 is configured in the upload direction, the dequeued data is        many user devices in the particular Zone have replied to the
 passed to the outgoing network interface 406 for transmission          most recent ping. For example, after a guest in Guest room B
 to various destinations on the Internet via the hotel ISP pipe         shuts off their laptop, the Summation of how many user
 302. If the bandwidth management system 400 is configured              devices have replied to the most recent ping from the second
 in the download direction, the dequeued data is passed to the          guest room Zone318b will be decremented by one. Addition
 outgoing network interface 406 for transmission to various             ally, because the remaining bandwidth Zone 316 includes the
 destinations on the hotel's LAN.                                       second guest room Zone 318b, the Summation of how many
    Although not illustrated in FIG. 4, the Zone dequeuing              user devices have replied to the most recent ping from the
 module 412 may also extend between the second-level                    remaining bandwidth Zone 316 will also be decremented by
 queues 408a, 408b and the first-level remaining bandwidth         25 OC.
 queue 408e. Again using the example quantum Q values                      Combinations of the above methods of determining the
 illustrated in FIG.3, a similar round robin dequeuing strategy         number of current users in each Zone may also be employed.
 may be employed by the dequeuing module 406 at the sec                 Additionally, as previously mentioned, in other configura
 ond-level to dequeue 1500 bytes of data from the first guest           tions current users may refer to current human users rather
 room queue 408a, then dequeue 1500 bytes of data from the         30   than current user devices. As each human user may be asso
 second guest room queue 408b, and then return to again                 ciated in a database with one or more user devices (e.g., a
 dequeue 1500 bytes of data from the first guest room queue             single hotel guest may be utilizing both a mobile phone and a
 408a, and so on. Each set of dequeued data is thereafter               tablet computer to access the Internet), the Summation indi
 enqueued on the remaining bandwidth queue 408e, i.e., the              cating how many current users are in a particular Zone in these
 queue 408e corresponding to the next higher-level parent          35   configurations may be less than the above-described
 Zone being the remaining bandwidth Zone 316 in this                    examples based on the number of user devices in the particu
 example.                                                               lar Zone.
    The quantum manager 420 dynamically adjusts the quan                   The plurality of Zone queues 402 shown in the example
 tum values 409 of each queue 408 according to user load of             block diagram of FIG. 4 may be implemented using a hierar
 the particular Zone to which the queue 408 corresponds. In        40   chical token bucket (HTB) queuing discipline (qdisc) includ
 this example, the user load of each Zone corresponds to a              ing an HTB for each queue 408. Using an HTB to implement
 Summation of how many current users are in the Zone. The               each queue 408 allows for easy configuration of a rate, ceiling
 current users may be the active users that are competing for           (cap), and quantum for each queue 408 as these parameters
 available bandwidth in the Zone, which includes all child              are already supported by HTB based queues. Although not
 Zones under the Zone.                                             45   illustrated, a stochastic fairness queuing (SFQ) qdisc may
    To allow the quantum manager 420 to determine how many              also be included for each user at the leaf Zones 408a,b,c,dfg
 current users are in a particular Zone, in a first example, the        to ensure fairness between the different connections for the
 authentication server 418 manages logged in users of each              user. Linux based HTB and SFQ qdiscs are well-known in the
 Zone and stores this information in the user/Zone database             art and further description of their operation and configura
 419. The quantum manager 420 queries the database 419 to          50   tion is omitted herein for brevity.
 Sum how many users are logged in to the particular Zone. For              FIG. 5 illustrates a quantum calculation table describing a
 example, when a guest connects a laptop computer to the                calculation process that the quantum manager 420 utilizes in
 hotel network and logs in to the HSIA system from “Guest               an exemplary configuration to calculate the quantums 409 for
 room B, the Summation of how many users are logged into                each queue 408 according to the number of current users per
 the second guest room Zone318b will be incremented by one.        55   Zone as shown in FIG. 3.
 Additionally, because the remaining bandwidth Zone 316                    In this configuration, the quantums 409 are dynamically
 includes the second guest room Zone318b, the summation of              adjusted in proportion to the total number of current users
 how many users are logged into the remaining bandwidth                 (i.e., user load) under each Zone. To beneficially increase
 Zone 316 will also be incremented by one.                              efficiency, a minimum possible quantum is the MTU 426 and
    In another example, the Zone engueuing module 410 logs         60   all quantums 409 are rounded up to their nearest positive
 data transmission activity by users in the activity log 416. To        integer multiple of the MTU 426. This allows dequeued data
 determine the number of current users in a particular Zone, the        to be transmitted by the outgoing network interface 406 using
 quantum manager 420 queries the activity log 416 to Sum how            one or more full capacity transportunits (e.g., frames, pack
 many users have received or sent network traffic within the            ets, messages, etc). To prevent excessive monopolization of
 particular Zone during a last predetermined time period. For      65   the shared ISP pipe 302, a maximum possible quantum is
 example, the current users may be defined as the number of             limited according to the maximum quantum ratio 422 multi
 different users who have sent or received at least one Ethernet        plied by the MTU 426. This limits the number of concurrent
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 MTU sized transport units that will be sent in a row from a             sec, due to the large number of current users under the remain
 single queue 408. Additionally, to increase responsiveness,             ing bandwidth Zone316, the Zone dequeuing module 412 will
 when possible the quantums 409 are minimized while main                 dequeue and pass to the outgoing network interface 406 forty
 taining their relative ratios. This increases the frequency with        times more data from the remaining bandwidth queue 408e
 which the Zone dequeuing module 412 cycles through the             5    than from the penthouse suite queue 408f.
 queues 408 such as in a round robin order. In other imple                  Even though the penthouse Suite Zone312 has a guaranteed
 mentations, different quantum optimization rules may be                 bandwidth rate and a higher bandwidth cap than the remain
 used.                                                                   ing bandwidth Zone 316, the remaining bandwidth Zone 316
    In this example, the maximum quantum ratio 422 is pre                receives preferential treatment when sharing available band
 determined at 1:40. Taking the above advantageous quantum          10   width due to having a larger userload than the penthouse Suite
 optimization rules into consideration, the maximum value                Zone312. As the guest room Zones 318 are under the remain
 quantum is therefore forty times the MTU 426, which corre               ing bandwidth Zone 316 in the tree-structure of FIG. 3, the
 sponds to forty full sized Ethernet frames of data (maximum             individual users in the various guest room Zones 318 benefit
 of 60,000 bytes of data) being sent in a row from the outgoing          because all their network traffic is Subsequently enqueued on
 network interface 406. The MTU of Ethernet is 1500 bytes           15   the remaining bandwidth queue 408e before being dequeued
 and therefore a minimum possible quantum is 1500 bytes and              and passed to the outgoing network interface 406 by the Zone
 all quantums are rounded to multiples of 1500 bytes.                    dequeuing module 412. Network traffic to/from these users
   With reference to FIG. 5, column 500 indicates the Zone/              depending on the configured direction(s) therefore spends
 queue name and column 502 indicates the user load of the                less time waiting on the queues 408a, 408b, 408e of the
 Zone being the number of current users in this example. Col             unreserved bandwidth Zones 306 because of the higher quan
 umn 504 indicates a scale factor that the user load of each             tum 409e allocated to remaining bandwidth queue 408e.
 Zone is multiplied with Such that the maximum user load                    Available bandwidth shared between the Zones may be the
 (“192’ current users in this example) is scaled to the maxi             leftover ISP pipe 302 bandwidth after all Zones utilize up to
 mum possible quantum (“60,000 bytes in this example).                   their reserved rates. The Zone dequeuing module 412 first
 Column 506 indicates a calculated scaled quantum for each          25   ensures that all the Zones having reserved rates get the amount
 Zone being the scale factor of column 504 multiplied by the             of bandwidth they need up to their reserved rates, then all
 user load of column 502. Because the calculated scaled quan             Zones share the remaining available bandwidth up to their
 tums of column 506 are not multiples of the MTU 426,                    caps (i.e., ceilings). The dynamic quantums 409 adjusted
 column 508 indicates how many full MTU 426 sized frames                 according to the userload of Zone are particularly useful when
 would be required to transmit the calculated scaled quantum        30   sharing bandwidth that exceeds guaranteed rates because
 of data in column 506. Column 510 indicates a final rounded             Zones having higher numbers of current users receive more of
 quantum value being the value of column 508 multiplied by               the available bandwidth than Zones with lower numbers of
 the MTU 426. As the number of current users in each Zone of             current users. As previously explained, the current users of
 FIG. 3 changes over time, the quantum manager 420 corre                 each Zone may be the active users that have recently sent or
 spondingly recalculates the quantums of column 510 accord          35   received network traffic and are therefore currently compet
 ing to the above-described process.                                     ing for bandwidth.
    Taking the penthouse Suite Zone 312 as an example,                      FIG. 6 illustrates a quantum calculation table describing a
 because the penthouse Suite Zone 312 has a guaranteed rate of           calculation process that the quantum manager of FIG. 4 uti
 1 Mbit/sec, the Zone dequeuing module 412 may more fre                  lizes to calculate the quantums 409 for each queue 408
 quently dequeue 1500 bytes from the penthouse suite queue          40   according to another example of numbers of current users of
 408f when the users in the penthouse suite Zone 312 have                the Zones shown in FIG. 3. Column 600 indicates the Zone/
 traffic to send (and/or receive depending on the applicable             queue name and column 602 indicates the number of current
 direction of the guaranteed rate) and the guaranteed rate has           users per Zone. As shown in this example, the hotel 300 is
 not yet been met. However, when either the penthouse suite              almost vacant and there are only a few users in each Zone. In
 Zone 312 does not need to utilize its guaranteed rate or has       45   this configuration, for any Zones having “0” users in column
 already exceeded its full guaranteed rate, the Zone dequeuing           602, the quantum manager 420 assumes that at least “1” user
 module 406 may place both the remaining bandwidth queue                 is present. Although there may initially be no users in the
 408e and penthouse suite queue 408fat a same priority in a              Zone, if the quantum is set to 0 bytes, should the Zone gain a
 round robin dequeuing order. In this situation, the remaining           user before the quantums 409 are next adjusted, the queue 408
 bandwidth Zone 316 benefits by having up to 60,000 bytes           50   corresponding to the Zone will not have any data dequeued by
 dequeued and passed to the outgoing interface 406 each time             the Zone dequeue module 412. Additionally, when there are
 around whereas the penthouse suite Zone 314 will only have              Zero users in the Zone, the queue 408 corresponding to the
 up to 1500 bytes dequeued and passed to the outgoing inter              Zone will not have network traffic to dequeue in the first place,
 face 406 each time around.                                              So it is not necessary to set the quantum to 0 bytes.
    Assuming all guaranteed bandwidth rates have been met,          55     Column 604 indicates a scale factor that the user load of
 the more current users in a Zone, the more bytes that are               each Zone is multiplied with Such that the minimum user load
 dequeued each time from that Zone's queue 408 by the Zone               (“1” current users in this example) is scaled to the minimum
 dequeuing module 412. This is beneficial to prevent starva              possible quantum, which is 1500 bytes in this example (i.e.,
 tion of users who are in Zones with a large number of other             the MTU 426 of Ethernet). Column 606 indicates a calculated
 active users such as the remaining bandwidth Zone 316 of           60   scaled quantum for each Zone being the scalefactor of column
 FIG. 3. Zones having a very low number of active users such             604 multiplied by the user load of column 702. Because the
 as the penthouse Suite Zone 312 and the upgraded room Zone              calculated Scaled quantums of column 606 are already mul
 314 receive much lower quantum values. In this way, the                 tiples of the MTU 426, no further calculations are required
 quantum 409e for the remaining bandwidth queue 408e is                  and column 606 represents the final quantums 409. Again, in
 forty times the quantum 409f of the penthouse suite queue          65   this example the remaining bandwidth Zone 316 receives a
 408f. When the penthouse suite Zone 312 is borrowing avail              higher quantum but now it is only 3.5 times that of the pent
 able bandwidth over and above its guaranteed rate of 1 Mbit/            house Suite Zone 312. The reason is the two Zones 316, 312
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 now only have a 3.5 times differential in their respective users         at the conference center 700 in order to allocate available
 loads and therefore the remaining bandwidth Zone 316                     bandwidth between the Zones 704, 706,708, 710 according to
 receives a corresponding ratio of preferential treatment by the          the quantum of each Zone.
 Zone dequeuing module 412.                                                  The reason equal rates and caps are used in this example is
    Concerning the different types of scale factors in columns            to illustrate how the quantums Q may be adjusted for each
 504, 604, the scale factor illustrated in column 504 of FIG.5            Zone 704, 706, 708, 710 according to user load even when all
 causes the quantum 409 of the queue 408 corresponding to the             Zones are entitled to the same share of the overall conference
 Zone with the maximum user load to be set at the maximum                 center bandwidth 702. However, similar to the previous
 quantum value (60,000 bytes in this example). This type of               example, the below-described techniques may also be
 scale factor is particularly useful when the ratio between the      10   employed when the rates and caps of the Zones 704, 706, 708,
 minimum user load (rounded up to “1” if “0”) to the maxi                 710 are different and dynamically changing as different meet
 mum user load is greater than the maximum quantum ratio                  ings begin and end, for example.
 422. For example, in the above examples, the maximum                        In the conference center 700, users are given a basic indi
                                                                          vidual bandwidth cap of 256 kbit/sec and have the option to
 quantum ratio 422 is 1:40. Therefore, because the ratio of the      15   upgrade to a higher individual bandwidth cap of 1024 kbit/
 minimum user load of “1” in column 502 of FIG. 5 to the                  sec. FIG. 7 indicates an example situation where the first
 maximum user load of “192 in column 502 of FIG. 5 is                     room Zone 704 has forty users at the basic bandwidth cap of
 greater than 1:40, the scale factor 504 scales the quantums to           256 kbit/sec, the second room Zone 706 has forty users at the
 the maximum range so that the ratio between the minimum                  upgraded bandwidth cap of 1024 kbit/sec, the third room Zone
 quantum and the largest quantum meets the maximum quan                   708 has twenty-seven users at the basic bandwidth cap of 256
 tum ratio 422 (“1:40” in this example). This gives the greatest          kbit/sec and thirteen users at the upgraded bandwidth cap of
 amount of preferential treatment to the Zone having the great            1024 kbit/sec, and the fourth room Zone 710 has thirteen users
 est user load without allowing that Zone to monopolize the               at the basic bandwidth cap of 256 kbit/sec and twenty-seven
 hotel's ISP connection by sending more than forty full MTU               users at the upgraded bandwidth cap of 1024 kbit/sec.
 sized Ethernet packets in a row.                                    25      FIG. 8 illustrates a quantum calculation table describing a
   In contrast, the scale factor illustrated in column 604 of             calculation process that a quantum manager may utilize to
 FIG. 6 causes the quantum 409 of the queue 408 correspond                calculate the quantums for each Zone shown in FIG.8 when
 ing to the Zone with the minimum user load (rounded up to                user load corresponds to a Summation of user caps of the
 “1” if “0”) to be set at the MTU 422 of the outgoing network             current users in each Zone.
 interface (e.g., 1500 bytes in this example). This type of scale    30      Column 800 indicates the Zone?queue name, column 802
 factor is particularly useful when the ratio between the mini            indicates the number of current users capped at 256 kbit/sec.
 mum user load (rounded up to “1” if “0”) to the maximum                  and column 804 indicates the number of current users capped
 user load is not greater than the maximum quantum ratio 422.             at 1024 kbit/sec. Column 806 indicates the user load of each
 For example, assuming again that the maximum quantum                     Zone being the Summation of individual user caps (i.e., the
 ratio 422 is 1:40, because the ratio of the minimum user load       35   number of users in column 802 multiplied by 256 kbit/sec
 of “1” in column 602 of FIG. 6 to the maximum user load of               plus the number of users in column 804 multiplied by 1024
 “7” in column 602 of FIG. 6 is not greater than 1:40, the scale          kbit/sec).
 factor 604 scales the quantums to multiples of the MTU 422                  Because the ratio of the minimum user load (“10240” in
 while ensuring that the ratio between the minimum quantum                this example) to maximum user load ("40960 in this
 and the largest quantum is the same as the ratio between the        40   example) is less than the maximum quantum ratio 422 (“1:
 minimum user load (rounded up to “1” if 0) to the maximum                40” in this example), column 808 indicates a scale factor that
 user load. This give the exact ratio of preferential treatment to        the user load of each Zone is multiplied with such that the
 the Zone having the greatest user load while also maximizing             minimum user load (“10240 in this example) is scaled to the
 the interactivity of all Zones by minimizing the quantums 409.           MTU of an outgoing network interface (1500 bytes in this
    In an advantageous configuration, the quantum manager            45   example).
 420 automatically checks the ratio between the minimum                      Column 810 indicates a calculated scaled quantum for each
 user load and the maximum user load and utilizes the best                Zone being the scale factor of column 808 multiplied by the
 type of scaling factor. For example, the quantum manager 420             user load of column 806. Because the calculated scaled quan
 may be configured to scale the quantums 409 Such that a                  tums of column 810 are not multiples of the MTU, column
 smallest quantum is the MTU 426 of the outgoing network             50   812 indicates a final rounded quantum value being the value
 interface 406 when a ratio of the minimum user load to the               of column 810 rounded to the nearest multiple of the MTU.
 maximum user load is less than a predetermined threshold                    The higher the Summation of individual user caps in a Zone,
 ratio 422, and to scale the quantums 409 such that the largest           the more bytes that are dequeued each time from that Zone's
 quantum is a predetermined maximum amount when the ratio                 queue. This is beneficial to prevent starvation ofusers who are
 of the minimum userload to the maximum user load is greater         55   sharing Zones with a large number of other active users.
 than the predetermined threshold ratio 422.                              Additionally, rather than only judging user load according to
    FIG. 7 illustrates a beneficial organization of bandwidth             number of users, this configuration also takes into account
 Zones in a conference center 700 according to another exem               individual user caps. This helps increase user satisfaction
 plary configuration of the invention. In this example, the               because as users in a Zone upgrade to higher individual band
 conference centers ISP connection 702 provides a total              60   width caps, the Zone to which they belong has higher userload
 bandwidth of 50Mbit/sec shared between a number of room                  and may therefore receive a larger quantum value. The higher
 Zones 704, 706, 708, 710 such as different meeting rooms or              the total user caps in a Zone, the higher each individual user's
 conference rooms. All the Zones 704, 706, 708, 710 are at the            effective bandwidth will be when the Zone shares available
 first-level of the tree-structure and have equal guaranteed              bandwidth with other Zones.
 bandwidth rates of 2 Mbit/sec and equal bandwidth caps of 44        65      FIG. 9 illustrates a flowchart describing a method of allo
 Mbit/sec. Although not illustrated, a bandwidth management               cating bandwidth in a system having a plurality of queues
 system similar to that illustrated in FIG. 4 may be employed             respectively corresponding to a plurality of Zones according
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                            15                                                                       16
 to an exemplary configuration of the invention. The steps of                10 minutes and/or the number of current users may be
 the flowchart are not restricted to the exact order shown, and,             periodically determined once per time window. In
 in other configurations, shown steps may be omitted or other                another example, the userload ofa Zone may further take
 intermediate steps added. In this configuration, a bandwidth                into account individual attributes of users in the Zone.
 management system performs the following operations:                         For example, user load of a Zone may correspond to a
    Step 900: A plurality of queues are provided, where each                  Summation of individual user caps of the current users in
      queue corresponding to a bandwidth Zone. The Zones                     the Zone. In another example, user load of a Zone may
      may be allocated once upon initial configuration, or may               correspond to a Summation of how much data current
      be changed dynamically throughout operation accord                     users in the Zone have recently sent or received (e.g., in
      ing to different requirements. For example, a meeting        10        the past 10 minutes). In another example, user load of a
      room rate? cap may be changed as different meetings                    Zone may correspond to the amount of user network
      begin and end. The Zones may be defined and/or identi                  traffic currently enqueued on one or more queues corre
      fied using different LANs, VLANs, switch port num                       sponding to the Zone. When the Zones are organized in a
      bers, pass codes, Zone codes, usernames, service set                   multi-level Zone tree-structure, the user load of a par
      identifiers (SSIDs), room numbers, names of physical         15        ticular Zone may include the user load of all lower-level
      areas, IP and other addresses, etc.                                    Zones under the particular Zone.
   Step 902: Network traffic is received, and a belonging Zone             Step 908: For each queue, a quantum of data that can be
     to which the network traffic belongs is determined. For                 dequeued together is dynamically adjusted according to
     example, the belonging Zone may be the source Zone                      the userload of the Zone to which the queue corresponds.
     from which the network traffic originated or the desti                   For example, a quantum manager may dynamically
      nation Zone for which the network traffic is destined. The             adjust how many bytes will be dequeued from each Zone
      belonging Zone may be determined by examining Zone                     according to the user load per Zone as tracked at step 906.
      identification information included in each received                    In general, Zones having higher user loads will have the
      packet/frame such as IP addresses, MAC addresses,                      capability to transfer larger numbers of bytes when
      cookie information, VLAN tag, or other information.          25        dequeuing traffic. This is beneficial to prevent Zones
      This Zone identification information may be correlated                 having low user loads but high guaranteed rates and/or
      to the correct belonging Zone in a database. Due to a Zone             bandwidth caps from getting a disproportionate amount
      tree-structure, network traffic may in fact belong to sev              of available bandwidth that is being shared with other
      eral Zones at different levels of the tree-structure, for              Zones having high current userloads. As the userloads of
      example, to both remaining bandwidth Zone316 and one         30        the Zones change over time, the quantums may be auto
      of guest room Zones 318 illustrated in FIG. 3. In this                 matically adjusted to give preferential treatment to the
      example, the database associates Zone identification                   Zones according to their new user loads.
      information with a single belonging Zone being the low               Step 910: Data is selectively dequeued from the queues and
      est belonging Zone according to the tree-structure. For                passed to one or more outgoing network interfaces.
      instance, depending on the configured direction, net         35        When selectively dequeuing data from the queues, an
      work traffic to/from guest room A is determined by the                 amount of data is dequeued from a selected queue
      Zone enqueuing module 410 to belong to the guest room                  according to the quantum of the queue determined at
      A Zone 318a (i.e., the lowest-level belonging Zone).                    step 908. As explained above, the quantum of the
      In another configuration, the belonging Zone may be                     Selected queue is determined according to user load of
         determined by querying intermediate devices such as       40        the Zone to which the selected queue corresponds. In one
         intermediate Switches, routers, gateways, etc for Zone              usage example, the queues are selected one by one (e.g.,
        identification information Such as source/destination                in a round robin order), and up to the selected queue's
        port numbers or interface identifiers in order to deter              quantum of data is dequeued from each queue while also
        mine the belonging Zone. For example, an intermedi                   ensuring any bandwidth reservations and/or caps of the
        ate Switch may be queried using simple network man         45        Zones are complied with. By still ensuring that band
        agement protocol (SNMP) to determine to which port                   width reservations and/or caps of the Zones are complied
        a device having an IP address included in the network                with, the invention may be beneficially used in combi
        traffic is associated. The belonging Zone is then deter              nation with and to enhance existing bandwidth manage
        mined according to the associated Switch port (i.e.,                 ment systems employing rates and caps.
        each Switch port may correspond to a particular Zone).     50      An advantage of the invention is that it allows a hotel to
   Step 904: The network traffic is enqueued on the queue               limit bandwidth utilization on a Zone-by-Zone basis Such as
     corresponding to the belonging Zone. For example, a                by defining each guest room to be a Zone with its own reserved
     Zone endueuing module 410 Such as that illustrated in              bandwidth rate/cap. The Zone tree-structure also allows a
     FIG. 4 may enqueue network traffic received at step 902            first-level Zone to include a number of second-level Zones,
     on the queue 408 corresponding to the belonging Zone          55   which advantageously allows second-level Zones that may
     determined at that step.                                           individually have low user loads to accumulate their user
   Step 906: A user load of each Zone is tracked. In one                loads togetherina single first-level Zone and gain preferential
     example, the user load of a Zone corresponds to a sum              treatment. According to the Zone tree-structure, Zones
     mation indicating how many current users are in the                dequeue an amount of data to pass to destinations being either
     Zone. Current users per Zone may defined and tracked in       60   a next higher-level Zone or one or more destination network
     a number of ways including active ports per Zone, num              interface(s) in proportion to their user loads. By enqueuing
     ber of logged in users per Zone, number of outgoing or             network traffic from a plurality of second-level Zones into a
     incoming connections per Zone, number of traffic pack              single queue of their corresponding first-level Zone, users of
     ets/frames per Zone, active users who have sent/received           the second-level Zones receive increased bandwidth when
     network traffic, users who have replied to a recent ping      65   data of the first-level queue is dequeued in larger amounts.
     request, or any combination of any of the above. Addi              Zones having higher user loads may advantageously receive
     tionally, a time window may be utilized such as the past           more of the available bandwidth, which prevents individual
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 users under these Zones from being starved. Another advan                try Such as by conference centers, corporations, or any other
 tage of the invention is that because rates and caps of Zones            entity wishing to allocate available bandwidth shared
 and individual users continue to be enforced, the invention is           between a plurality of users.
 compatible with many existing bandwidth management tech                     The various separate elements, features, and modules of
 niques. Yet another advantage is that when a Zone having a               the invention described above may be integrated or combined
 reserved bandwidth rate and/or cap does not need to use up to            into single units. Similarly, functions of single modules may
 its reserved bandwidth rate/cap (e.g., when the users in the             be separated into multiple units. The modules may be imple
 Zone are not using the Internet), the unneeded bandwidth may             mented as dedicated hardware modules, and the modules may
 be shared among other Zones according to the relative user               also be implemented as one or more software programs
 loads of the other Zones. More of the available bandwidth is        10   executed by a general or specific purpose processor to cause
 thereby beneficially allocated to Zones having higher current            the processor to operate pursuant to the Software program to
 user loads. As user loads of the Zones change over time, the             perform the above-described module functions. For example,
 amount of data to be dequeued from their respective queues is            the bandwidth management system 400 of FIG. 4 may be
 dynamically updated.                                                     implemented by a computer server having one or more pro
    Adjusting the quantum 409 of each queue 408 in propor            15   cessors 430 executing a computer program loaded from a
 tion to the user load of its corresponding Zone helps prevent            storage media (not shown) to perform the above-described
 bandwidth starvation of users without guaranteed rates. For              functions of the Zone enqueuing module 410, quantum man
 instance, users under a Zone with a relatively lower user load           ager 420, and Zone dequeuing module 412. Likewise, the
 have less competition for bandwidth allocated to that Zone. In           flowchart of FIG. 9 may be implemented as one or more
 contrast, users under a Zone having a relatively higher user             processes executed by dedicated hardware, and may also be
 load will have more competition for bandwidth allocated to               implemented as one or more software programs executed by
 that Zone and the data in its queue 408 (and in any higher level         a general or specific purpose processor to cause the processor
 parent queue(s) 408) will therefore tend to build up more                to operate pursuant to the Software program to perform the
 quickly. To help prevent bandwidth starvation of these users             flowchart steps. A computer-readable medium may store
 and increase the fairness of bandwidth allocation between           25   computer executable instructions that when executed by a
 Zones, the quantum manager 420 dynamically allocates quan                computer cause the computer to perform above-described
 tums 409 to the queues 408 such that queues 408 correspond               method steps of FIG. 9. Examples of the computer-readable
 ing to Zones having lower user loads receive Smaller quan                medium include optical media (e.g., CD-ROM, DVD discs),
 tums 409, and queues 408 corresponding to Zones having                   magnetic media (e.g., hard drives, diskettes), and other elec
 higher user loads receive larger quantums 409. In this way, a       30   tronically readable media Such as flash storage devices and
 single user who is trying to utilize large amounts of band               memory devices (e.g., RAM, ROM). The computer-readable
 width over and above his guaranteed rate in a first Zone (e.g.,          medium may be local to the computer executing the instruc
 meeting room) will not negatively impact multiple users who              tions, or may be remote to this computer Such as when
 don't have any reserved bandwidth under other Zones (e.g.,               coupled to the computer via a computer network. In one
 guest rooms Zones).                                                 35   configuration, the computer is a computer serverconnected to
    In an exemplary configuration, a bandwidth management                 a network Such as the Internet and the computer program
 system includes a plurality of queues respectively corre                 stored on a hard drive of the computer may be dynamically
 sponding to a plurality of Zones. An enqueuing module                    updated by a remote server via the Internet. In addition to a
 receives network traffic from one or more incoming network               dedicated physical computing device, the word "server” may
 interfaces, determines a belonging Zone to which the network        40   also mean a service daemon on a single computer, virtual
 traffic belongs, and enqueues the network traffic on a queue             computer, or shared physical computer, for example. Unless
 corresponding to the belonging Zone. A dequeuing module                  otherwise specified, features described may be implemented
 selectively dequeues data from the queues and passes the data            inhardware or Software according to different design require
 to one or more outgoing network interfaces. When dequeuing               ments. Additionally, all combinations and permutations of the
 data from the queues the dequeuing module dequeues an               45   above described features and configurations may be utilized
 amount of data from a selected queue, and the amount of data             in conjunction with the invention.
 dequeued from the selected queue is determined according to                What is claimed is:
 user load of a Zone to which the selected queue corresponds.                1. A bandwidth management system for allocating band
    Although the invention has been described in connection               width between a plurality of bandwidth Zones at an establish
 with a preferred embodiment, it should be understood that           50   ment serving a plurality of users, each Zone having a number
 various modifications, additions and alterations may be made             of users competing for bandwidth allocated to the Zone,
 to the invention by one skilled in the art without departing             wherein each of the users has an individual bandwidth cap,
 from the spirit and scope of the invention as defined in the             and at least one of the individual bandwidth caps changes over
 appended claims. For example, although the invention has                 time; the bandwidth management system comprising:
 been described as being utilized at a hotel, the invention is       55      a computer server providing a plurality of queues, wherein
 equally applicable to any hospitality related location or ser                  each of the Zones has a corresponding queue; and
 vice wishing to allocate available bandwidth between mul                    a computer readable medium storing a plurality of software
 tiple users including but not limited to hotels, motels, resorts,              modules for execution by the computer server;
 hospitals, apartment/townhouse complexes, restaurants,                     wherein the Software modules include an enqueuing mod
 retirement centers, cruise ships, busses, airlines, shopping        60         ule that when executed by the computer server causes
 centers, passenger trains, etc. The exemplary user of 'guest'                  the computer server to receive network traffic from one
 is utilized in the above description because customers of                      or more incoming network interfaces of the computer
 hospitality establishments are generally referred to as guests;                server, determine a belonging Zone to which the network
 however, the exemplary user of 'guest' in conjunction with                     traffic belongs, and enqueue the network traffic on a
 the invention further includes all types of users whether or not    65         queue corresponding to the belonging Zone;
 they are customers. The invention may also be beneficially                 the Software modules further include a dequeuing module
 employed in other applications outside the hospitality indus                   that when executed by the computer server causes the
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     computer server to selectively dequeue data from the                 round robin dequeuing strategy and dequeues the quantum of
     queues and pass the data to one or more outgoing net                 data associated with each queue.
     work interfaces of the computer server;                                6. The bandwidth management system of claim 1, wherein
   the Software modules further include a quantum manager                 the quantum manager is configured to scale the values of the
     that when executed by the computer server causes the                 quantums such that a smallest quantum value represents a
     computer server to dynamically adjust values of a plu                maximum transmission unit (MTU) of the one or more out
     rality of quantums, each of the queues having a respec               going network interfaces.
     tive quantum associated therewith:                                     7. The bandwidth management system of claim 1, wherein
   wherein, when a selected queue has no guaranteed band                  the quantum manager is configured to scale the values of the
     width rate or has already reached its guaranteed band           10   quantums such that a largest quantum value represents a
     width rate, the dequeuing module causes the computer                 predetermined maximum amount being a multiple of a maxi
     server to dequeue at most an amount of data from the                 mum transmission unit (MTU) of the one or more outgoing
     Selected queue up to the quantum of the selected queue               network interfaces.
     before dequeuing data from another of the queues;                      8. The bandwidth management system of claim 1, wherein
   the quantum manager causes the computer server to                 15   the quantum manager is configured to round the values of
     dynamically adjust the values of the quantums in pro                 each of the quantums to a multiple of a maximum transmis
     portion to a Summation value of the individual band                  sion unit (MTU) of the one or more outgoing network inter
     width caps of the users in each Zone as the individual               faces.
     bandwidth caps change over time; the values of the                     9. The bandwidth management system of claim 1, wherein
     quantums being automatically adjusted Such that the                  each Zone corresponds to one or more rooms of a hotel.
     quantum of a first queue is a higher value than the quan               10. The bandwidth management system of claim 1,
     tum of a second queue while the Zone to which the first              wherein each user corresponds to a different user device.
     queue corresponds has a higher Summation value of the                  11. The bandwidth management system of claim 1,
     individual bandwidth caps of the users than the Zone to              wherein, besides the first-level Zone and the second-level
     which the second queue corresponds, and Such that the           25   Zones under the first-level Zone, all the other Zones are entitled
     quantum of the first queue is a lower value than the                 to one or more guaranteed bandwidth rates.
     quantum of the second queue while the Zone to which the                 12. A method of allocating bandwidth between a plurality
     first queue corresponds has a lower Summation value of               of bandwidth Zones at an establishment serving a plurality of
     the individual bandwidth caps of the users than the Zone             users, each Zone having a number of users competing for
     to which the second queue corresponds;                          30   bandwidth allocated to the Zone, wherein each of the users has
   at least one of the Zones is a first-level Zone that includes a        an individual bandwidth cap, and at least one of the individual
      plurality of second-level Zones not entitled to any guar            bandwidth caps changes over time, the method comprising:
      anteed bandwidth rate;                                                providing a plurality of queues, wherein each of the Zones
   network traffic enqueued on one or more queues corre                        has a corresponding queue;
     sponding to the second-level Zones is dequeued and then         35     receiving network traffic from one or more incoming net
     enqueued on the queue corresponding to the first-level                    work interfaces;
      Zone; and                                                             determining a belonging Zone to which the network traffic
   the quantum manager causes the computer server to deter                     belongs;
      mine the summation value of the individual bandwidth                  enqueuing the network traffic on a queue corresponding to
      caps of the users of the first-level Zone by accumulating      40        the belonging Zone;
      the individual bandwidth caps of the users under each of              selectively dequeuing data from the queues and passing the
      the second-level Zones.                                                  data to one or more outgoing network interfaces; and
   2. The bandwidth management system of claim 1, further                   dynamically adjusting values of a plurality of quantums,
 comprising:                                                                   each of the queues having a respective quantum associ
   an authentication server for managing logged in users of          45        ated therewith:
      each of the Zones;                                                    wherein, when a selected queue has no guaranteed band
   wherein the users in each Zone at a particular time corre                  width rate or has already reached its guaranteed band
     sponds to the logged in users of each Zone at the particu                width rate, selectively dequeuing data from the queues
      lar time.                                                               comprises dequeuing at most an amount of data from the
   3. The bandwidth management system of claim 1, further            50       Selected queue up to the quantum of the selected queue
 comprising:                                                                  before dequeuing data from another of the queues;
   a log for logging network traffic activity;                              dynamically adjusting values of the quantums comprises
   wherein the users in each Zone at a particular time corre                  dynamically adjusting the values of the quantums in
      sponds to users who have received or sent network traffic               proportion to a Summation value of the individual band
      within each Zone during a last predetermined time              55       width caps of the users in each Zone as the individual
      period according to the log.                                            bandwidth caps change over time; the values of the
   4. The bandwidth management system of claim 1, further                     quantums being automatically adjusted Such that the
 comprising:                                                                  quantum of a first queue is a higher value than the quan
   a user monitor for periodically sending a ping to each user                tum of a second queue while the Zone to which the first
      in each of the Zones;                                          60       queue corresponds has a higher Summation value of the
    wherein the users in each Zone at a particular time corre                 individual bandwidth caps of the users than the Zone to
       sponds to users in each Zone who replied to a most recent              which the second queue corresponds, and Such that the
       ping.                                                                  quantum of the first queue is a lower value than the
    5. The bandwidth management system of claim 1, wherein,                   quantum of the second queue while the Zone to which the
 when all Zones have data to send, all guaranteed bandwidth          65       first queue corresponds has a lower Summation value of
 rates have been met, and no Zone has exceeded its designated                 the individual bandwidth caps of the users than the Zone
 cap, the dequeuing module cycles through the queues in a                     to which the second queue corresponds;
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                                                       US 9,154,435 B2
                               21                                                                    22
   at least one of the Zones is a first-level Zone that includes a          one or more processors configured to:
       plurality of second-level Zones not entitled to any guar                receive network traffic from one or more incoming net
       anteed bandwidth rate, and the method further com                         work interfaces;
       prises:                                                                 determine a belonging Zone to which the network traffic
   dequeuing network traffic enqueued on one or more queues                       belongs:
     corresponding to the second-level Zones and then                          enqueue the network traffic on a queue corresponding to
     enqueuing it on the queue corresponding to the first                        the belonging Zone:
     level Zone; and                                                           Selectively dequeue data from the queues;
   determining the summation value of the individual band                      pass the data to one or more outgoing network inter
     width caps of the users of the first-level Zone by accu         10
                                                                                  faces; and
     mulating the individual bandwidth caps of the users                       dynamically adjust values of a plurality of quantums,
       under each of the second-level Zones.
   13. The method of claim 12, further comprising:                                each of the queues having a respective quantum asso
   managing logged in users of each of the Zones;                                 ciated therewith:
   wherein the users in each Zone at a particular time corre         15     wherein, when a selected queue has no guaranteed band
      sponds to the logged in users of each Zone at the particu               width rate or has already reached its guaranteed band
       lar time.                                                              width rate, the one or more processors are configured to
   14. The method of claim 12, further comprising:                             dequeue at most an amount of data from the selected
   Scaling the values of the quantums such that a smallest                     queue up to the quantum of the selected queue before
     quantum value is a maximum transmission unit (MTU)                       dequeuing data from another of the queues;
     of the one or more outgoing network interfaces when a                  the one or more processors are configured to dynamically
       ratio of a minimum number of users to a maximum                        adjust the values of the quantums in proportion to a
       number of users is less than a predetermined threshold                  summation value of the individual bandwidth caps of the
       ratio; and                                                             users in each Zone as the individual bandwidth caps
   Scaling the values of the quantums such that a largest quan       25       change over time; the values of the quantums being
     tum value is a predetermined maximum amount when                         automatically adjusted such that the quantum of a first
       the ratio of the minimum number of users to the maxi                    queue is a higher value than the quantum of a second
       mum number of users is greater than the predetermined                   queue while the Zone to which the first queue corre
       threshold ratio.                                                        sponds has a higher summation value of the individual
   15. The method of claim 12, further comprising:                   30
                                                                              bandwidth caps of the users than the Zone to which the
   ensuring a maximum bandwidth cap of the selected Zone is                    second queue corresponds, and such that the quantum of
      not exceeded; and                                                       the first queue is a lower value than the quantum of the
   ensuring the selected Zone receives at least a guaranteed                   second queue while the Zone to which the first queue
       bandwidth allotment.
   16. A non-transitory computer-readable medium compris             35       corresponds has a lower summation value of the indi
 ing computer executable instructions that when executed by a                 vidual bandwidth caps of the users than the Zone to
 computer cause the computer to perform the method of claim                   which the second queue corresponds;
 12.                                                                        at least one of the Zones is a first-level Zone that includes a
   17. The method of claim 12, wherein each Zone corre                        plurality of second-level Zones not entitled to any guar
 sponds to one or more physically separate areas at the estab        40       anteed bandwidth rate, and the one or more processors
 lishment.                                                                    are further configured to:
   18. The method of claim 12, wherein, wherein, besides the                dequeue network traffic enqueued on one or more queues
 first-level Zone and the second-level Zones under the first                  corresponding to the second-level Zones and then
 level Zone, all the other Zones are entitled to one or more                  enqueue it on the queue corresponding to the first-level
 guaranteed bandwidth rates.                                         45        Zone; and
   19. A bandwidth management system for allocating band                    determine the summation value of the individual band
 width between a plurality of bandwidth Zones at an establish                  width caps of the users of the first-level Zone by accu
 ment serving a plurality of users, each Zone having a number                  mulating the individual bandwidth caps of the users
 of users competing for bandwidth allocated to the Zone,                       under each of the second-level Zones.
 wherein each of the users has an individual bandwidth cap,          50     20. The bandwidth management system of claim 19,
 and at least one of the individual bandwidth caps changes over           wherein, besides the first-level Zone and the second-level
 time, the system comprising:                                             Zones under the first-level Zone, all the other Zones are entitled
    a plurality of queues, wherein each of the Zones has a                to one or more guaranteed bandwidth rates.
      corresponding queue; and                                                                    :k   k   k   k   k
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                      Exhibit C
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                                                                                                            USOO9531640B2


 (12) United States Patent                                                        (10) Patent No.:                               US 9,531,640 B2
        Ong                                                                       (45) Date of Patent:                                     Dec. 27, 2016
 (54) SHARING BANDWIDTH BETWEEN                                              (58) Field of Classification Search
        PLURALITY OF GUARANTEED                                                   CPC ........... H04L 47/00; H04L 41/00; H04L 63/00
        BANDWIDTH ZONES AND A REMAINING                                           See application file for complete search history.
        NON-GUARANTEED BANDWIDTH ZONE
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 (72) Inventor: David T. Ong, Calgary (CA)                                                                                                         37O?355
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 (73) Assignee: Guest Tek Interactive Entertainment                                                                (Continued)
                Ltd., Calgary (CA)
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 (*) Notice:       Subject to any disclaimer, the term of this
                   patent is extended or adjusted under 35                   CA                       275O345                   12/2011
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 (21) Appl. No.: 14/867,237
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 (22) Filed:       Sep. 28, 2015
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 (65)                 Prior Publication Data                                 manual—user guide', last updated May 5, 2002, downloaded from
                                                                             http://luxik.cdi.cz/-devik/cosihtb/manual/userg.htm.
        US 2016/0021027 A1            Jan. 21, 2016
                                                                             Primary Examiner — Andrew Lai
             Related U.S. Application Data                                   Assistant Examiner — Sumitra Ganguly
 (63) Continuation of application No. 14/456,035, filed on                   (74) Attorney, Agent, or Firm — ATMAC Patent Services
      Aug. 11, 2014, now Pat. No. 9,154.435, which is a                      Ltd.; Andrew T. MacMillan
                         (Continued)                                         (57)                                  ABSTRACT
 (30)            Foreign Application Priority Data                           A bandwidth management system includes a plurality of
                                                                             queues respectively corresponding to a plurality of Zones.
  Aug. 24, 2011      (CA) ...................................... 2750345     An enqueuing module receives network traffic from one or
                                                                             more incoming network interfaces, determines a belonging
 (51) Int. Cl.                                                               Zone to which the network traffic belongs, and enqueues the
        H04L 2/9II              (2013.01)                                    network traffic on a queue corresponding to the belonging
        H04L 12/24              (2006.01)                                    Zone. A dequeuing module selectively dequeues data from
                          (Continued)                                        the queues and passes the data to one or more outgoing
 (52) U.S. Cl.                                                               network interfaces. When dequeuing data from the queues
        CPC ......... H04L 4 7/828 (2013.01); H04L 4I/0896                   the dequeuing module dequeues an amount of data from a
                 (2013.01); H04L 47/2441 (2013.01); H04L                     selected queue, and the amount of data dequeued from the
                 47/522 (2013.01); H04L 47527 (2013.01);                     selected queue is determined according to user load of a
                   H04L 47/6235 (2013.01); H04L 47/6255                      Zone to which the selected queue corresponds.
                  (2013.01); H04L 47/781 (2013.01); H04L
                   47/808 (2013.01); H04L 63/08 (2013.01)                                          20 Claims, 9 Drawing Sheets




                                  : Guaranteed zone      Guaranteed zone :
                                        Rate = R1           Rate = R2
                                        Cap = C1            Cap = C2


                                                                                   114                       116


                                                                             : Best effort zone            Best effort zone :
                                                                                    Cap = C4                  Cap = C5


                                                                             : Unreserved bandwidthzones
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         continuation of application No. 13/308.908, filed on                  9,154.435 B2    10, 2015    Ong
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               ZOZ
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 U.S. Patent




     Z09
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     aseunOZb
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                 907Z
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    006
              Z06
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                                                    US 9,531,640 B2
                              1.                                                                    2
            SHARING BANDWDTH BETWEEN                                  is not limited and instead depends on how much bandwidth
              PLURALITY OF GUARANTEED                                 other users are currently using.
          BANDWIDTH ZONES AND A REMAINING                                A hotel may also allow a user to purchase an amount of
          NON-GUARANTEED BANDWDTH ZONE                                guaranteed bandwidth that is not shared with other users.
                                                                      Guaranteed bandwidth is often also provided by the hotel to
             CROSS-REFERENCE TO RELATED                               meeting and conference rooms, and the users of these rooms
                    APPLICATIONS                                      share the rooms allocation. The amount of guaranteed
                                                                      bandwidth allocated to hotel guests is generally set accord
    This application is a continuation of U.S. patent applica         ing to an amount purchased by the user during a sign-in
 tion Ser. No. 14/456,035 filed Aug. 11, 2014, which is a        10   process, and the amount of guaranteed bandwidth allocated
 continuation of U.S. patent application Ser. No. 13/308.908          to conference and meeting rooms is typically determined
 filed Dec. 1, 2011, which claims the benefit of Canadian             when the room is booked and may be a function of the
 Patent Application No. 2,750,345 filed Aug. 24, 2011. All of         booking price to allow the conference organizer to pay
 these applications are incorporated herein by reference.             according to the level of bandwidth required for the confer
                                                                 15 CCC.
            BACKGROUND OF THE INVENTION                                  When bandwidth is guaranteed, ideally the minimum
                                                                      bandwidth that a user (or room, etc) benefiting from the
    (1) Field of the Invention                                        guarantee will ever experience will be the guaranteed rate.
    The invention pertains generally to bandwidth manage              In some cases, the bandwidth may also be capped at a higher
 ment. More specifically, the invention relates to allocating         rate so when there is bandwidth in the hotel available over
 available bandwidth shared by a plurality of users.                  and above the guaranteed rate, the user may experience even
    (2) Description of the Related Art                                higher rates. When the hotel is provided with a fixed total
    Travelers increasingly view in-room high speed Internet           ISP bandwidth, care must be taken by the hotel to not
 access (HSIA) as a requirement when choosing at which                oversell guaranteed bandwidth or it may be impossible for
 hotel to stay. Business travelers may need to access company    25   the hotel to actually deliver the guaranteed rates when usage
 networks while on the road and tourists may wish to upload           is high.
 photos and send email to family friends while travelling. To            Traffic shaping and prioritization may also be performed
 provide in-room HSIA, hotels typically purchase a connec             by monitoring and detecting traffic types and giving prefer
 tion to the Internet from a local Internet service provider          ential treatment for certain time-sensitive applications such
 (ISP). The ISP provides the hotel with a fixed amount of        30   as teleconferencing voice and video traffic. Compression,
 bandwidth determined according to the ISPs pricing struc             caching, and blocking technologies (i.e., blocking malware
 ture or other constraints. The hotel shares the available            and other unwanted web traffic) may also be utilized by the
 bandwidth between the hotel guests, users in meeting and             hotel's HSIA system to reduce unnecessary bandwidth uti
 conference rooms, and the hotel's networked computer                 lization and thereby increase the bandwidth available to
 systems.                                                        35   share between users.
   A large hotel may have hundreds or even thousands of                 Although the above-described methods of managing
 guests staying in guest rooms and utilizing meeting rooms—           bandwidth within a hotel are useful, they also tend to be
 each competing for Internet bandwidth. One or more com               unfair to certain users. For example, in Some circumstances
 puter systems in the hotel may additionally need to transfer         a user who has not upgraded to an amount of guaranteed
 data via the Internet such as to receive reservations from      40   bandwidth may be starved for bandwidth when sharing a
 external travel agencies or to download content for playback         small amount of available bandwidth with other users. Due
 by guests using the hotels in-room media and entertainment           to a variety of reasons it may not be possible for this user to
 system. Because user satisfaction will be lowered if access          purchase guaranteed bandwidth, for example, because the
 to the Internet is slow, unresponsive, or unreliable, the            total ISP connection bandwidth is limited and other users
 available Internet bandwidth provided by the ISP needs to be    45   (i.e., meeting rooms and/or VIP guests) may already have
 effectively allocated between the various users within the           reserved the hotel's limit on guaranteed bandwidth.
 hotel.                                                               Although, the user may be able to upgrade to a higher
    Typically, when a user connects a network device to the           individual bandwidth cap, during peak usage times when
 hotel's LAN, the user is required by the hotel's HSIA system         bandwidth is in high demand, the actual portion of band
 to authenticate and gain access to the network, for example,    50   width received by the user may not even reach the lower cap
 by providing a password or other information Such as room            so having a higher cap will provide no benefit. Further
 number and registered guest's name. Once authorized, traffic         techniques to optimize bandwidth allocation between mul
 shaping is performed on a per-user basis in order to cap each        tiple users to help prevent bandwidth starvation in these
 user's maximum usage at a certain level while still sharing          situations would be beneficial.
 the total available bandwidth between all guests and other      55
 applications within the hotel. For example, a basic user                    BRIEF SUMMARY OF THE INVENTION
 bandwidth cap may limit each user to at most receive 256
 kbit/sec of the hotels available bandwidth to the Internet.             According to an exemplary configuration of the invention
 The actual amount received by the user may be less than the          there is provided abandwidth management system including
 cap during peak usage times.                                    60   a plurality of queues respectively corresponding to a plu
    Some hotels allow users to purchase “upgraded” band               rality of Zones. An enqueuing module receives network
 width, which typically involves raising the user's individual        traffic from one or more incoming network interfaces, deter
 bandwidth cap while still sharing the available bandwidth            mines a belonging Zone to which the network traffic belongs,
 with other users. For example, the user's cap may be raised          and enqueues the network traffic on a queue corresponding
 to 1024 kbit/sec after a payment of S9.99 is received. Again,   65   to the belonging Zone. A dequeuing module selectively
 when bandwidth is upgraded in this way, the maximum                  dequeues data from the queues and passes the data to one or
 throughput is limited to the cap but the minimum throughput          more outgoing network interfaces. When dequeuing data
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                                                     US 9,531,640 B2
                               3                                                                  4
 from the queues the dequeuing module dequeues an amount data, and thereafter pass the dequeued data to one of the first
 of data from a selected queue, and the amount of data or second network interfaces for transmission to a destina
 dequeued from the selected queue is determined according tion network address. When dequeing data from a particular
 to user load of a Zone to which the selected queue corre queue, the one or more processors are operable to automati
 sponds.                                                       5 cally determine an amount of data to dequeue from the
    According to another exemplary configuration of the particular queue according to a bandwidth limit for the
 invention there is provided a bandwidth management system particular queue. The bandwidth limit for each of the queues
 including a plurality of queues respectively corresponding to corresponding to the first level guaranteed bandwidth Zones
 a plurality of Zones. One or more processors are configured
 to receive network traffic from one or more incoming 10 includes for the
                                                                            a guaranteed bandwidth rate. The bandwidth limit
                                                                          first level remaining bandwidth Zone has no guaran
 network interfaces, determine a belonging Zone to which the teed bandwidth          rate but includes a bandwidth cap equal to
 network traffic belongs, enqueue the network traffic on a the fixed total amount             of bandwidth of the first network
 queue corresponding to the belonging Zone, selectively
 dequeue data from the queues, and pass the data to one or        interface   minus   each  guaranteed   bandwidth rate for the
 more outgoing network interfaces. When selectively 15 plurality of the first level guaranteed bandwidth Zones.
 dequeuing data from the queues the one or more processors           According to another exemplary configuration of the
 are configured to dequeue an amount of data from a selected invention there is provided a method of bandwidth control in
 queue, and the amount of data dequeued from the selected a system having one or more first network interfaces coupled
 queue is determined according to user load of a Zone to to a first network with which a fixed total amount of
 which the selected queue corresponds.                         2O bandwidth per unit time can be transferred, and one or more
    According to another exemplary configuration of the second network interfaces coupled to a second network. The
 invention there is provided a bandwidth management appa method includes providing a plurality of queues, each of the
 ratus including a plurality of queues respectively corre queues corresponding to a respective one of a plurality of
 sponding to a plurality of Zones. Included is means for bandwidth Zones, the bandwidth Zones including a plurality
 receiving network traffic, means for determining a belonging 25 of first level guaranteed bandwidth Zones and only one first
 Zone to which the network traffic belongs and enqueuing the level remaining bandwidth Zone not entitled to any guaran
 network traffic on a queue corresponding to the belonging teed bandwidth. The method further includes determining a
 Zone, and means for selectively dequeuing data from the belonging Zone to which network traffic received from either
 queues and passing the data to one or more destinations. of the first or second network interfaces belongs. The
 Selectively dequeuing data from the queues involves 30
 dequeuing an amount of data from a selected queue, the method             further includes enqueuing the network traffic on a
 amount of data being determined according to user load of further includes cyclingtothough
                                                                  queue   corresponding        the belonging Zone. The method
                                                                                                     the queues, dequeuing data,
 a Zone to which the selected queue corresponds.                  and  thereafter  passing  the dequeued  data to one of the first
    According to another exemplary configuration of the
 invention there is provided a method of allocating band- 35 or second network interfaces for transmission to a destina
 width between a plurality of Zones. The method includes tion           network address. The method further includes, when
 providing a plurality of queues respectively corresponding dequeuing data from a particular queue, automatically deter
 to the plurality of Zones. The method further includes mining an amount of data to dequeuer from the particular
 receiving network traffic from one or more incoming net queue according to a bandwidth limit for the particular
 work interfaces and determining a belonging Zone to which 40 queue. The bandwidth limit for each of the queues corre
 the network traffic belongs. The method further includes sponding to the first level guaranteed bandwidth Zones
 enqueuing the network traffic on a queue corresponding to includes a guaranteed bandwidth rate. The bandwidth limit
 the belonging Zone, and selectively dequeuing data from the for the first level remaining bandwidth Zone has no guaran
 queues and passing the data to one or more outgoing teed bandwidth rate but includes a bandwidth cap equal to
 network interfaces. Selectively dequeuing data from the 45 the fixed total amount of bandwidth of the first network
 queues involves dequeuing an amount of data from a interface minus each guaranteed bandwidth rate for the
 selected queue, the amount of data being determined accord plurality of the first level guaranteed bandwidth Zones.
 ing to user load of a Zone to which the selected queue              These and other embodiments and advantages of the
 corresponds.                                                     invention will become apparent from the following detailed
    According to another exemplary configuration of the 50 description, taken in conjunction with the accompanying
 invention there is provided a system including one or more drawings, illustrating by way of example the principles of
 first network interfaces coupled to a first network with which the invention.
 a fixed total amount of bandwidth per unit time can be
 transferred. The system further includes one or more second             BRIEF DESCRIPTION OF THE DRAWINGS
 network interfaces coupled to a second network. The system 55
 further includes a plurality of queues. Each of the queues          The invention will be described in greater detail with
 corresponds to a respective one of a plurality of bandwidth reference to the accompanying drawings which represent
 Zones. The bandwidth Zones include a plurality of first level preferred embodiments thereof.
 guaranteedbandwidth Zones and only one first level remain           FIG. 1 illustrates a generalized bandwidth Zone tree
 ing bandwidth Zone not entitled to any guaranteed band- 60 structure according to an exemplary configuration of the
 width. The system further includes one or more processors invention.
 operable to determine a belonging Zone to which network             FIG. 2 illustrates how each Zone of FIG. 1 may include
 traffic received from either of the first or second network      one or more user devices and/or may include other Zones at
 interfaces belongs. The one or more processors are further a lower level of the tree-structure.
 operable to enqueue the network traffic on a queue corre- 65 FIG. 3 illustrates a beneficial organization of bandwidth
 sponding to the belonging Zone. The one or more processors Zones in a hotel according to an exemplary configuration of
 are further operable to cycle though the queues, dequeue the invention.
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                                                      US 9,531,640 B2
                                5                                                                    6
    FIG. 4 illustrates a bandwidth management system having             and will not be affected by overuse by the unreserved
 a plurality of queues respectively corresponding to the Zones          bandwidth Zones 106. Although capping the remaining
 of FIG. 3 according to an exemplary configuration of the               bandwidth Zone 112 at CRESERVE means there may be
 invention.                                                             some wasted bandwidth capacity when the reserved band
    FIG. 5 illustrates a quantum calculation table describing      5    width Zones 104 are not utilizing their full rates R1, R2, the
 a calculation process that the quantum manager of FIG. 4               CRESERVE cap advantageously preserves interactivity for
 may utilize to calculate a quantum for each queue according            each of the reserved bandwidth Zones 104 and allows
 to the user load example shown in FIG. 3.                              immediate bandwidth usage by the reserved bandwidth
    FIG. 6 illustrates a quantum calculation table describing           Zones 104 such as is needed during bandwidth speed tests or
 a calculation process that the quantum manager of FIG. 4          10
                                                                        intermittent traffic bursts, for example.
 may utilize to calculate the quantum for each queue accord                In some configurations, the caps C1, C2 of the guaranteed
 ing to another user load example for the Zones shown in FIG.           Zones 108, 110 may similarly each be automatically set to
 3.
    FIG. 7 illustrates a beneficial organization of meeting             prevent overuse of one of the reserved bandwidth Zones 104
 room bandwidth Zones in a conference center according to          15   from affecting another of the reserved bandwidth Zones 104.
 an exemplary configuration of the invention.                           For example, using the Zones illustrated in FIG. 1, C1 may
    FIG. 8 illustrates a quantum calculation table describing           be automatically set to BT-R2, and C2 may be automatically
 a calculation process that a quantum manager may utilize to            set to BT-R1. In other configurations, the caps C1, C2 may
 calculate a quantum for a queue of each Zone of FIG.8 when             be set to lower values to preserve bandwidth for use by the
 the user load of each Zone corresponds to a Summation of               unreserved bandwidth Zones 106 or be set to higher values
 bandwidth caps of the current users in the Zone.                       when it is not a concern if one of the reserved bandwidth
    FIG. 9 illustrates a flowchart describing a method of               Zones 104 interferes with another of the reserved bandwidth
 allocating bandwidth between Zones according to user load              Zones 104 Such as when there is a only a single guaranteed
 in an exemplary configuration of the invention.                        Zone 108, 110.
                                                                   25     Under the first-level remaining bandwidth Zone 112 are a
                  DETAILED DESCRIPTION                                  number of second-level best effort Zones 114, 116 each
                                                                        having its own cap. For example, best effort Zone 114 has
    FIG. 1 illustrates a generalized bandwidth Zone tree                cap C4 and best effort Zone 116 has cap C5. Caps C4, C5 are
 structure according to an exemplary configuration of the               usually lower than CRESERVE and may be adjusted at any
 invention. The definition of a “Zone' according to the            30   time Such as when a user of a particular guest room upgrades
 invention is flexible and depends upon application-specific            to a higher bandwidth cap, for example.
 design requirements. Generally speaking, Zones represent                  A second-level best effort Zone 114, 116 may be auto
 manageable divisions of users, user devices, and/or other              matically moved to become one of the first-level reserved
 lower-level Zones. Zones may be logically and/or physically            bandwidth Zones 104 and given a guaranteed bandwidth rate
 separated from other Zones. For example, different Zones          35   Such as when a user upgrades a room to a guaranteed
 may be isolated on separate local area networks (LANs) or              bandwidth rate, for example. Likewise, a guaranteed Zone
 virtual LANs (VLANs) corresponding to separate rooms or                108, 110 may have its reserved rate R1, R2 set to zero (or
 areas of a hotel, or different Zones may share a same LAN              otherwise deleted) and be automatically moved to become a
 but correspond to different service levels of users within a           second-level best effort Zone under the remaining bandwidth
 hotel. The Zones and tree-structure may be dynamic and            40   Zone 112. This may occur, for example, when a guaranteed
 change at any time as users associated with certain Zones              bandwidth rate upgrade expires or when a VIP user entitled
 upgrade their Internet access or when meeting reservations             to guaranteedbandwidth in a room checks outs and the room
 begin and end, for example.                                            automatically becomes a best effort Zone 114, 116.
    In the example Zone organization of FIG. 1, an Internet                FIG. 2 illustrates how each Zone 202 may include one or
 pipe 102 providing a total bandwidth (BT) is shared between       45   more user devices 204 and/or may include other lower-level
 a set of reserved bandwidth Zones 104 and a set of unre                Zones 206. Such parent Zones 202 include all the user
 served bandwidth Zones 106. The set of reserved bandwidth              devices and/or additional Zones from their lower-level child
 Zones 104 are arranged on a first-level of the tree and include        Zones 206. Although the examples illustrated in FIG. 1 and
 a first guaranteed Zone 108 having a guaranteed bandwidth              FIG. 2 have first-level Zones and second-level Zones, the
 rate of R1 and a maximum bandwidth usage cap of C1, and           50   invention is not limited to a two-level bandwidth Zone
 a second guaranteed Zone 110 having a guaranteed band                  tree-structure. For example, a single level tree-structure is
 width rate of R2 and a cap of C2. Bandwidth rates R1, R2               illustrated later in FIG. 7. Additionally, three or greater-level
 are guaranteed to the Zone; when there is unused bandwidth             tree-structures are also possible and may be beneficial when
 in the hotel, each Zone may also obtain extra bandwidth up             there are many Sub categories of a higher level Zone, for
 to its cap C1, C2. Each Zone's cap C1, C2 may be equal to         55   example.
 or higher than the Zone's reserved rate R1, R2. Additionally,             FIG. 3 illustrates a beneficial organization of bandwidth
 the reserved rate R1, R2 and cap C1, C2 of each Zone may               Zones in a hotel 300 according to an exemplary configura
 be changed at any time.                                                tion of the invention. In this example, the hotel's ISP pipe
      In the set of unreserved bandwidth Zones 106, there is a          302 provides a total bandwidth of 10 Mbit/sec shared
 single first-level remaining bandwidth Zone 112 that may          60   between a number of reserved bandwidth Zones 304 and a
 obtain up to a cap amount of bandwidth that still leaves at            number of unreserved bandwidth Zones 306. Following the
 least the reserved bandwidth available for each of the                 tree-structure organization introduced in FIG. 1, the reserved
 reserved bandwidth Zones 104. For example, using the Zones             bandwidth Zones 304 are each positioned at a first-level of
 illustrated in FIG. 1, CRESERVE=BT-(R1+R2). The CRE                    the tree and include a first meeting room Zone 308, a second
 SERVE cap may be automatically set in this way to ensure          65   meeting room Zone 310, a penthouse Suite Zone 312, and an
 that users who have purchased guaranteed bandwidth can                 upgraded room Zone 314. A single first-level remaining
 utilize their full guaranteed allotment capacity at any time           bandwidth Zone 316 includes a number of second-level
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 guest room Zones 318 including a first guest room Zone 318a            Each guest room Zone 318 may only have one or two current
 and second guest room Zone 318b.                                       users, but the hotel 300 in this example has hundreds of
    In this example, the remaining bandwidth Zone 316 is                guest rooms and, due to the Zone tree-structure, all of the
 automatically capped at 4 Mbit/sec so that even when at full           current guest room users add up to form the total number of
 utilization there is still enough bandwidth left over (e.g., 6         current users of remaining bandwidth Zone 316.
 Mbit/sec remaining) within the hotel 300 to accommodate                   For illustration purposes, the upload direction (hotel to
 each of the reserved bandwidth Zones 304 operating at full             ISP) will be described and the rates/caps shown for each
 utilization according to their guaranteed rates. Additionally,         Zone indicate the upload speeds in the following description.
 guaranteed Zones 308, 310 are automatically capped at 6                However, these rates/caps may also apply in the download
 Mbit/sec and guaranteed Zones 312, 314 are automatically          10
                                                                        direction, or the download direction could have different
 capped at 5 Mbit/sec to ensure that when any one operates              rates/caps for each Zone. Regardless, the invention may be
 at full capacity there is enough bandwidth to accommodate              used in both the upload and download directions or may be
 each of the other reserved bandwidth Zones 304. As previ               used only in a single direction depending upon the specific
 ously mentioned, automatically setting the caps in this way
 preserves the interactivity of the guaranteed bandwidth           15   bandwidth management requirements of the target applica
 Zones 308, 310, 312,314. When the guaranteed rates of any              tion.
 of the reserved bandwidth Zones 304 are changed, the                      In this example, the hotel ISP pipe 302 has a total of 10
 bandwidth caps throughout the Zones in the hotel 300 may               Mbit/sec bandwidth provided by the ISP and each of the
 be automatically adjusted by the hotel's bandwidth manage              first-level reserved bandwidth Zones 304 is guaranteed some
 ment system accordingly.                                               of that bandwidth. Even if each of the reserved bandwidth
    As shown in FIG. 3, each Zone has an example number of              Zones 304 is utilizing its full guaranteed rate, there is still an
 current users to help describe this configuration of the               available 4 Mbit/sec remaining that may be shared among
 invention. In this configuration, the word “users’ refers to           the various first-level Zones in the hotel.
 the different user devices 204 since the hotel's HSIA system             According to this configuration of the invention, the
 will generally identify each user device 204 with a unique IP     25   available bandwidth is shared between Zones at the same
 address and will provide an individual bandwidth cap on a              level in the Zone tree. This means the 4 Mbit/sec in the above
 per user device 204 basis. However, in other configurations,           example will be shared between the first-level Zones includ
 the term “users' may instead refer to different human users            ing the first meeting room Zone 308, the second meeting
 as tracked by their user devices 204. For example, when a              room Zone 310, the penthouse suite Zone 312, the upgraded
 particular Zone has a single hotel guest utilizing three user     30
                                                                        room Zone 314, and the remaining bandwidth Zone 316.
 devices 204, the Zone may only be determined to include a              Even when sharing available bandwidth, if a Zone has a
 single user as each of the IP addresses of the three user              bandwidth cap, that Zone may not obtain any bandwidth
 devices 204 are associated with the same user in a database.
 In yet other configurations, “users' may also include auto             above the cap level.
 mated applications, tasks, or servers such as the various         35      Each Zone has a quantum (shown as example Q values
 components of the hotel's HSIA system or other networked               indicated in FIG. 3) representing an amount of bytes that can
 systems in the hotel 300. In general, the term “users' in each         be served at a single time from the Zone and passed to a
 of the various configurations refers to agents that compete            higher-level Zone (or to the hotel ISP pipe 302). According
 for available bandwidth, and any mechanism of identifying              to this configuration of the invention, the quantums are
 and distinguishing current users may be utilized in conjunc       40   dynamically adjusted according to the user load of each
 tion with the invention.                                               Zone, and the user load of each Zone corresponds to the
    Although not illustrated in FIG. 3, each user under a Zone          number of current users in the Zone.
 may in fact be included in a user-specific lower-level child              When each Zone is implemented as one or more queues
 Zone having a user-specific cap (and/or reserved rate). This           enforcing rate and cap limits, the quantum indicates the
 configuration is beneficial to prevent each user under a Zone     45   maximum number of bytes that can be dequeued (i.e.,
 from monopolizing all the bandwidth assigned to the Zone.              removed from a particular queue) at one time. In some
 For example, a user that tries to bit-torrent under a Zone will        configurations, the cap limit may prevent the full quantum of
 not unfairly take more than their allotted bandwidth cap               bytes from being dequeued from a queue corresponding to
 from other users sharing the bandwidth under that Zone.                a particular Zone if this would cause the bandwidth provided
    Additionally, the number of current users indicated in         50   to the Zone to exceed its cap limit. In another configuration,
 FIG. 3 is meant only as an example Snapshot of one                     as long as the data in the queue is Sufficient, the quantum of
 particular time period and it is expected the numbers of               bytes is always dequeued at once; however, the frequency of
 current users of each Zone 308, 310, 312, 314, 316, 318a,              dequeuing the quantum of bytes may be reduced in order to
 318b will change over time. For example, after a meeting in            limit the average bandwidth to the Zone's cap.
 the first meeting room Zone 308 ends, the number of users         55      FIG. 4 illustrates a bandwidth management system 400
 of the first meeting room Zone 308 will drop from sixty-five           having a plurality of queues 408 where each individual
 to Zero. Then, when a next meeting begins, the user count              queue 408 respectively corresponds to one of the Zones of
 will rapidly climb up to another level dependent upon how              FIG.3 and includes a queue-specific quantum 409 according
 many users bring electronic devices 204 that are connected             to an exemplary configuration of the invention. In this
 to the network. The number of current users of the other          60   example, the bandwidth management system 400 further
 Zones 310, 312,314, 316, 318a, 318b may similarly change               includes an incoming network interface 404, an outgoing
 over time as well.                                                     network interface 406, a Zone engueuing module 410, a Zone
   The number of current users of the remaining bandwidth               dequeuing module 412, a user monitor 414, a network
 Zone 316 is one-hundred and ninety-two in this example.                activity log 416, an authentication server 418, a user/Zone
 This number includes all the current users of the various         65   database 419, and a quantum manager 420. The quantum
 guest room Zones 318 that are included as second-level                 manager 420 is preprogramed with a maximum quantum
 Zones under the first-level remaining bandwidth Zone 316.              ratio 422. The outgoing network interface 406 has a maxi
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 mum transport unit (MTU) 426, for example, 1500 bytes                 and belonging Zone may be stored in the user/Zone database
 when the outgoing network interface 406 is of the Ethernet            419. Other methods of correlating to which Zone received
 type.                                                                 network traffic belongs may also be used according to
    Again, although the bandwidth management system 400                application specific designs.
 is shown operating in a single direction from incoming                   Each queue 408 has a respective quantum 409 that
 network interface 404 to outgoing network interface 406, in           determines how many bytes can be dequeued at a single time
 Some configurations, there may be a similar structure in both         by the dequeuing module 412. For example, with a round
 upload and download directions. The bandwidth manage                  robin dequeuing strategy and assuming all Zones have data
 ment system 400 may be used to manage bandwidth in the                to send, all guaranteed rates have been met, and no Zone has
 upload direction (hotel to ISP) and/or download direction        10
                                                                       exceeded its designated cap, the dequeuing module 412
 (ISP to hotel) according to different configurations. Addi            cycles one-by-one to each queue 408 at a particular tree
 tionally, the incoming network interface 404 may in fact be           level and dequeues (i.e., removes) the queue's quantum
 a plurality of incoming network interfaces and the outgoing
 network interface 406 may in fact be a plurality of outgoing          number of bytes.
 network interfaces. Having multiple incoming and outgoing        15      Using the exemplary quantum Q values illustrated in FIG.
 network interfaces 404, 406 allows for redundant commu                3 as an example, for the first-level Zones, the dequeuing
 nication links in the event of a fault and also allows for            module 412 dequeues 21,000 bytes of data from the first
 higher overall bandwidth capacity by multiplying the num              meeting room queue 408c, then dequeues 7500 bytes of data
 ber of interfaces by the maximum capacity of each interface.          from the second meeting room queue 408d, then dequeues
    In operation, the Zone engueuing module 410 receives               60,000 bytes of data from the remaining bandwidth queue
 network traffic from the incoming network interface 404,              408e, then dequeues 1500 bytes of data from the penthouse
 determines a belonging Zone to which the network traffic              suite queue 408f then dequeues 1500 bytes of data from the
 belongs, and enqueues the network traffic on a queue 408              upgraded room queue 408g, and then returns to again
 corresponding to the belonging Zone. For example, the Zone            dequeue 21,000 bytes of data from the first meeting room
 enqueuing module 410 may be implemented as one or more           25   queue 308, and so on. If the bandwidth management system
 filters for classifying to which Zone an Ethernet frame (or IP        400 is configured in the upload direction, the dequeued data
 packet, etc) received from the incoming network interface             is passed to the outgoing network interface 406 for trans
 404 belongs. In this example, when network traffic belongs            mission to various destinations on the Internet via the hotel
 to multiple Zones, the Zone endueuing module 410 enqueues             ISP pipe 302. If the bandwidth management system 400 is
 the received network traffic in the queue 408 corresponding      30   configured in the download direction, the dequeued data is
 to the lower-level belonging Zone. For example, when                  passed to the outgoing network interface 406 for transmis
 network traffic belongs to both the first guest room Zone             sion to various destinations on the hotel's LAN.
 3.18a and the remaining bandwidth Zone 316, the Zone                     Although not illustrated in FIG. 4, the Zone dequeuing
 enqueuing module 410 enqueues the network traffic on the              module 412 may also extend between the second-level
 first guest room queue 408a.                                     35   queues 408a, 408b and the first-level remaining bandwidth
    The Zone enqueuing module 410 may determine the                    queue 408e. Again using the example quantum Q values
 belonging Zone by examining an IP or MAC address                      illustrated in FIG. 3, a similar round robin dequeuing
 included in the network traffic and looking up in the user/           strategy may be employed by the dequeuing module 406 at
 Zone database 419 to see to which Zone that IP or MAC                 the second-level to dequeue 1500 bytes of data from the first
 belongs. The mapping between IP or MAC address and the           40   guest room queue 408a, then dequeue 1500 bytes of data
 belonging Zone may be stored in the user/Zone database 419            from the second guest room queue 408b, and then return to
 by the authentication server 418 when the user logs in to the         again dequeue 1500 bytes of data from the first guest room
 hotel's HSIA System. For example, when a guest staying in             queue 408a, and so on. Each set of dequeued data is
 “Guest room A Successfully logs in using a laptop com                 thereafter enqueued on the remaining bandwidth queue
 puter, the authentication server 418 may store the IP or MAC     45   408e, i.e., the queue 408e corresponding to the next higher
 address utilized by the laptop computer as belonging to the           level parent Zone being the remaining bandwidth Zone 316
 first guest room Zone 318a in user/Zone database 419.                 in this example.
 Thereafter, the Zone engueuing module 410 enqueues                       The quantum manager 420 dynamically adjusts the quan
 received network traffic having the IP or MAC address of the          tum values 409 of each queue 408 according to user load of
 laptop computer on the first guest room queue 408a.              50   the particular Zone to which the queue 408 corresponds. In
    Depending on the direction of the network traffic, e.g.,           this example, the user load of each Zone corresponds to a
 upload or download, the IP or MAC address may be either               Summation of how many current users are in the Zone. The
 the Source or destination address. For example, if incoming           current users may be the active users that are competing for
 network interface 404 is coupled to the hotel ISP pipe 302,           available bandwidth in the Zone, which includes all child
 the laptop's IP or MAC address may be the destination            55   Zones under the Zone.
 address of the network traffic. Alternatively, if the incoming          To allow the quantum manager 420 to determine how
 network interface 404 is coupled to the hotel's LAN, the              many current users are in a particular Zone, in a first
 laptop's IP or MAC address may be the source address of the           example, the authentication server 418 manages logged in
 network traffic. A similar process may be used by the Zone            users of each Zone and stores this information in the user/
 enqueuing module 410 to enqueue network traffic of other         60   Zone database 419. The quantum manager 420 queries the
 Zones on the appropriate queue 408 corresponding to the               database 419 to Sum how many users are logged in to the
 Zone that the network traffic belongs.                                particular Zone. For example, when a guest connects a laptop
    In another configuration, the Zone endueuing module 410            computer to the hotel network and logs in to the HSIA
 performs port detection by accessing various intermediate             system from “Guest room B, the summation of how many
 Switches between the Zone enqueuing module 410 and a user        65   users are logged into the second guest room Zone 318b will
 device in order to thereby track from which switch/port the           be incremented by one. Additionally, because the remaining
 network traffic originated. Each switch/port combination              bandwidth Zone 316 includes the second guest room Zone
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 318b, the Summation of how many users are logged into the              in an exemplary configuration to calculate the quantums 409
 remaining bandwidth Zone 316 will also be incremented by               for each queue 408 according to the number of current users
 OC.                                                                    per Zone as shown in FIG. 3.
    In another example, the Zone endueuing module 410 logs                 In this configuration, the quantums 409 are dynamically
 data transmission activity by users in the activity log 416. To        adjusted in proportion to the total number of current users
 determine the number of current users in a particular Zone,            (i.e., user load) under each Zone. To beneficially increase
 the quantum manager 420 queries the activity log 416 to Sum            efficiency, a minimum possible quantum is the MTU 426
 how many users have received or sent network traffic within            and all quantums 409 are rounded up to their nearest positive
 the particular Zone during a last predetermined time period.           integer multiple of the MTU 426. This allows dequeued data
 For example, the current users may be defined as the number       10   to be transmitted by the outgoing network interface 406
 of different users who have sent or received at least one              using one or more full capacity transport units (e.g., frames,
                                                                        packets, messages, etc). To prevent excessive monopoliza
 Ethernet frame (or IP packet, etc) in the past ten minutes.            tion of the shared ISP pipe 302, a maximum possible
 Ten minutes after a guest in Guest room B stops browsing               quantum is limited according to the maximum quantum ratio
 the Internet from their laptop, the Summation of how many         15   422 multiplied by the MTU 426. This limits the number of
 users have sent/received network traffic within the second             concurrent MTU sized transport units that will be sent in a
 guest room Zone 318b will be decremented by one. Addi                  row from a single queue 408. Additionally, to increase
 tionally, because the remaining bandwidth Zone 316                     responsiveness, when possible the quantums 409 are mini
 includes the second guest room Zone 318b, the Summation                mized while maintaining their relative ratios. This increases
 of how many users have sent/received network traffic within            the frequency with which the Zone dequeuing module 412
 the remaining bandwidth Zone 316 will also be decremented              cycles through the queues 408 Such as in a round robin order.
 by one.                                                                In other implementations, different quantum optimization
    In another example, the user monitor 414 periodically               rules may be used.
 sends a ping to the IP address of network devices for each                In this example, the maximum quantum ratio 422 is
 user. The user devices that have replied to the most recent       25   predetermined at 1:40. Taking the above advantageous quan
 ping are stored in the user/Zone database 419. To determine            tum optimization rules into consideration, the maximum
 the number of current users in a particular Zone, the quantum          value quantum is therefore forty times the MTU 426, which
 manager 420 queries the user/Zone database 419 to sum how              corresponds to forty full sized Ethernet frames of data
 many user devices in the particular Zone have replied to the           (maximum of 60,000 bytes of data) being sent in a row from
 most recent ping. For example, after a guest in Guest room        30   the outgoing network interface 406. The MTU of Ethernet is
 B shuts off their laptop, the summation of how many user               1500 bytes and therefore a minimum possible quantum is
 devices have replied to the most recent ping from the second           1500 bytes and all quantums are rounded to multiples of
                                                                        1500 bytes.
 guest room Zone 318b will be decremented by one. Addi                    With reference to FIG. 5, column 500 indicates the
 tionally, because the remaining bandwidth Zone 316                35   Zone?queue name and column 502 indicates the user load of
 includes the second guest room Zone 318b, the Summation                the Zone being the number of current users in this example.
 of how many user devices have replied to the most recent               Column 504 indicates a scale factor that the user load of
 ping from the remaining bandwidth Zone 316 will also be                each Zone is multiplied with Such that the maximum user
 decremented by one.                                                    load (“192’ current users in this example) is scaled to the
    Combinations of the above methods of determining the           40   maximum possible quantum (“60,000 bytes in this
 number of current users in each Zone may also be employed.             example). Column 506 indicates a calculated scaled quan
 Additionally, as previously mentioned, in other configura              tum for each Zone being the scale factor of column 504
 tions current users may refer to current human users rather            multiplied by the user load of column 502. Because the
 than current user devices. As each human user may be                   calculated scaled quantums of column 506 are not multiples
 associated in a database with one or more user devices (e.g.,     45   of the MTU 426, column 508 indicates how many full MTU
 a single hotel guest may be utilizing both a mobile phone              426 sized frames would be required to transmit the calcu
 and a tablet computer to access the Internet), the Summation           lated scaled quantum of data in column 506. Column 510
 indicating how many current users are in a particular Zone in          indicates a final rounded quantum value being the value of
 these configurations may be less than the above-described              column 508 multiplied by the MTU 426. As the number of
 examples based on the number of user devices in the               50   current users in each Zone of FIG. 3 changes over time, the
 particular Zone.                                                       quantum manager 420 correspondingly recalculates the
    The plurality of Zone queues 402 shown in the example               quantums of column 510 according to the above-described
 block diagram of FIG. 4 may be implemented using a                     process.
 hierarchical token bucket (HTB) queuing discipline (qdisc)                Taking the penthouse Suite Zone 312 as an example,
 including an HTB for each queue 408. Using an HTB to              55   because the penthouse Suite Zone 312 has a guaranteed rate
 implement each queue 408 allows for easy configuration of              of 1 Mbit/sec, the Zone dequeuing module 412 may more
 a rate, ceiling (cap), and quantum for each queue 408 as               frequently dequeue 1500 bytes from the penthouse suite
 these parameters are already supported by HTB based                    queue 408f when the users in the penthouse suite Zone 312
 queues. Although not illustrated, a stochastic fairness queu           have traffic to send (and/or receive depending on the appli
 ing (SFQ) qdisc may also be included for each user at the         60   cable direction of the guaranteed rate) and the guaranteed
 leaf Zones 408a,b,c,d fig to ensure fairness between the               rate has not yet been met. However, when either the pent
 different connections for the user. Linux based HTB and                house Suite Zone 312 does not need to utilize its guaranteed
 SFQ qdiscs are well-known in the art and further description           rate or has already exceeded its full guaranteed rate, the Zone
 of their operation and configuration is omitted herein for             dequeuing module 406 may place both the remaining band
 brevity.                                                          65   width queue 408e and penthouse suite queue 408fat a same
    FIG. 5 illustrates a quantum calculation table describing           priority in a round robin dequeuing order. In this situation,
 a calculation process that the quantum manager 420 utilizes            the remaining bandwidth Zone 316 benefits by having up to
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 60,000 bytes dequeued and passed to the outgoing interface             the queue 408 corresponding to the Zone will not have any
 406 each time around whereas the penthouse suite Zone 314              data dequeued by the Zone dequeue module 412. Addition
 will only have up to 1500 bytes dequeued and passed to the             ally, when there are zero users in the Zone, the queue 408
 outgoing interface 406 each time around.                               corresponding to the Zone will not have network traffic to
    Assuming all guaranteed bandwidth rates have been met,              dequeue in the first place, so it is not necessary to set the
 the more current users in a Zone, the more bytes that are              quantum to 0 bytes.
 dequeued each time from that Zone's queue 408 by the Zone                Column 604 indicates a scale factor that the user load of
 dequeuing module 412. This is beneficial to prevent starva             each Zone is multiplied with Such that the minimum user
 tion of users who are in Zones with a large number of other            load (“1” current users in this example) is scaled to the
 active users such as the remaining bandwidth Zone 316 of          10   minimum possible quantum, which is 1500 bytes in this
 FIG. 3. Zones having a very low number of active users such            example (i.e., the MTU 426 of Ethernet). Column 606
 as the penthouse Suite Zone 312 and the upgraded room Zone             indicates a calculated scaled quantum for each Zone being
 314 receive much lower quantum values. In this way, the                the scale factor of column 604 multiplied by the user load of
 quantum 409e for the remaining bandwidth queue 408e is                 column 702. Because the calculated scaled quantums of
 forty times the quantum 409f of the penthouse suite queue         15   column 606 are already multiples of the MTU 426, no
 408f. When the penthouse suite Zone 312 is borrowing                   further calculations are required and column 606 represents
 available bandwidth over and above its guaranteed rate of 1            the final quantums 409. Again, in this example the remaining
 Mbit/sec, due to the large number of current users under the           bandwidth Zone 316 receives a higher quantum but now it is
 remaining bandwidth Zone 316, the Zone dequeuing module                only 3.5 times that of the penthouse suite Zone 312. The
 412 will dequeue and pass to the outgoing network interface            reason is the two Zones 316, 312 now only have a 3.5 times
 406 forty times more data from the remaining bandwidth                 differential in their respective users loads and therefore the
 queue 408e than from the penthouse suite queue 408f                    remaining bandwidth Zone 316 receives a corresponding
    Even though the penthouse Suite Zone 312 has a guaran               ratio of preferential treatment by the Zone dequeuing module
 teed bandwidth rate and a higher bandwidth cap than the                412.
 remaining bandwidth Zone 316, the remaining bandwidth             25     Concerning the different types of Scale factors in columns
 Zone 316 receives preferential treatment when sharing avail            504, 604, the scale factor illustrated in column 504 of FIG.
 able bandwidth due to having a larger user load than the               5 causes the quantum 409 of the queue 408 corresponding to
 penthouse suite Zone 312. As the guest room Zones 318 are              the Zone with the maximum user load to be set at the
 under the remaining bandwidth Zone 316 in the tree-struc               maximum quantum value (60,000 bytes in this example).
 ture of FIG. 3, the individual users in the various guest room    30   This type of scale factor is particularly useful when the ratio
 Zones 318 benefit because all their network traffic is subse           between the minimum user load (rounded up to “1” if “0”)
 quently endueued on the remaining bandwidth queue 408e                 to the maximum user load is greater than the maximum
 before being dequeued and passed to the outgoing network               quantum ratio 422. For example, in the above examples, the
 interface 406 by the Zone dequeuing module 412. Network                maximum quantum ratio 422 is 1:40. Therefore, because the
 traffic to/from these users depending on the configured           35   ratio of the minimum user load of “1” in column 502 of FIG.
 direction(s) therefore spends less time waiting on the queues          5 to the maximum user load of “192 in column 502 of FIG.
 408a, 408b, 408e of the unreserved bandwidth Zones 306                 5 is greater than 1:40, the scale factor 504 scales the
 because of the higher quantum 409e allocated to remaining              quantums to the maximum range so that the ratio between
 bandwidth queue 408e.                                                  the minimum quantum and the largest quantum meets the
    Available bandwidth shared between the Zones may be the        40   maximum quantum ratio 422 (“1:40” in this example). This
 leftover ISP pipe 302 bandwidth after all Zones utilize up to          gives the greatest amount of preferential treatment to the
 their reserved rates. The Zone dequeuing module 412 first              Zone having the greatest user load without allowing that
 ensures that all the Zones having reserved rates get the               Zone to monopolize the hotel's ISP connection by sending
 amount of bandwidth they need up to their reserved rates,              more than forty full MTU sized Ethernet packets in a row.
 then all Zones share the remaining available bandwidth up to      45     In contrast, the scale factor illustrated in column 604 of
 their caps (i.e., ceilings). The dynamic quantums 409                  FIG. 6 causes the quantum 409 of the queue 408 corre
 adjusted according to the user load of Zone are particularly           sponding to the Zone with the minimum user load (rounded
 useful when sharing bandwidth that exceeds guaranteed                  up to “1” if “0”) to be set at the MTU 422 of the outgoing
 rates because Zones having higher numbers of current users             network interface (e.g., 1500 bytes in this example). This
 receive more of the available bandwidth than Zones with           50   type of scale factor is particularly useful when the ratio
 lower numbers of current users. As previously explained, the           between the minimum user load (rounded up to “1” if “0”)
 current users of each Zone may be the active users that have           to the maximum user load is not greater than the maximum
 recently sent or received network traffic and are therefore            quantum ratio 422. For example, assuming again that the
 currently competing for bandwidth.                                     maximum quantum ratio 422 is 1:40, because the ratio of the
    FIG. 6 illustrates a quantum calculation table describing      55   minimum user load of “1” in column 602 of FIG. 6 to the
 a calculation process that the quantum manager of FIG. 4               maximum user load of “7” in column 602 of FIG. 6 is not
 utilizes to calculate the quantums 409 for each queue 408              greater than 1:40, the scale factor 604 scales the quantums
 according to another example of numbers of current users of            to multiples of the MTU 422 while ensuring that the ratio
 the Zones shown in FIG. 3. Column 600 indicates the                    between the minimum quantum and the largest quantum is
 Zone?queue name and column 602 indicates the number of            60   the same as the ratio between the minimum user load
 current users per Zone. As shown in this example, the hotel            (rounded up to “1” if 0) to the maximum user load. This give
 300 is almost vacant and there are only a few users in each            the exact ratio of preferential treatment to the Zone having
 Zone. In this configuration, for any Zones having “0” users            the greatest user load while also maximizing the interactivity
 in column 602, the quantum manager 420 assumes that at                 of all Zones by minimizing the quantums 409.
 least “1” user is present. Although there may initially be no     65     In an advantageous configuration, the quantum manager
 users in the Zone, if the quantum is set to 0 bytes, should the        420 automatically checks the ratio between the minimum
 Zone gain a user before the quantums 409 are next adjusted,            user load and the maximum user load and utilizes the best
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                              15                                                                    16
 type of Scaling factor. For example, the quantum manager                Column 810 indicates a calculated scaled quantum for
 420 may be configured to scale the quantums 409 such that             each Zone being the scale factor of column 808 multiplied by
 a smallest quantum is the MTU 426 of the outgoing network             the user load of column 806. Because the calculated scaled
 interface 406 when a ratio of the minimum user load to the            quantums of column 810 are not multiples of the MTU,
 maximum user load is less than a predetermined threshold              column 812 indicates a final rounded quantum value being
 ratio 422, and to scale the quantums 409 such that the largest        the value of column 810 rounded to the nearest multiple of
 quantum is a predetermined maximum amount when the                    the MTU.
 ratio of the minimum user load to the maximum user load is               The higher the Summation of individual user caps in a
 greater than the predetermined threshold ratio 422.                   Zone, the more bytes that are dequeued each time from that
    FIG. 7 illustrates a beneficial organization of bandwidth     10   Zone's queue. This is beneficial to prevent starvation of users
 Zones in a conference center 700 according to another                 who are sharing Zones with a large number of other active
 exemplary configuration of the invention. In this example,            users. Additionally, rather than only judging user load
                                                                       according to number of users, this configuration also takes
 the conference center's ISP connection 702 provides a total           into account individual user caps. This helps increase user
 bandwidth of 50Mbit/sec shared between a number of room          15   satisfaction because as users in a Zone upgrade to higher
 Zones 704, 706, 708, 710 such as different meeting rooms or           individual bandwidth caps, the Zone to which they belong
 conference rooms. All the Zones 704, 706, 708, 710 are at the         has higher user load and may therefore receive a larger
 first-level of the tree-structure and have equal guaranteed           quantum value. The higher the total user caps in a Zone, the
 bandwidth rates of 2 Mbit/sec and equal bandwidth caps of             higher each individual user's effective bandwidth will be
 44 Mbit/sec. Although not illustrated, a bandwidth manage             when the Zone shares available bandwidth with other Zones.
 ment system similar to that illustrated in FIG. 4 may be                 FIG. 9 illustrates a flowchart describing a method of
 employed at the conference center 700 in order to allocate            allocating bandwidth in a system having a plurality of
 available bandwidth between the Zones 704, 706, 708, 710              queues respectively corresponding to a plurality of Zones
 according to the quantum of each Zone.                                according to an exemplary configuration of the invention.
    The reason equal rates and caps are used in this example      25   The steps of the flowchart are not restricted to the exact
 is to illustrate how the quantums Q may be adjusted for each          order shown, and, in other configurations, shown steps may
 Zone 704, 706, 708, 710 according to user load even when              be omitted or other intermediate steps added. In this con
 all Zones are entitled to the same share of the overall               figuration, a bandwidth management system performs the
 conference center bandwidth 702. However, similar to the              following operations:
 previous example, the below-described techniques may also        30      Step 900: A plurality of queues are provided, where each
 be employed when the rates and caps of the Zones 704, 706,                 queue corresponding to a bandwidth Zone. The Zones
 708, 710 are different and dynamically changing as different               may be allocated once upon initial configuration, or
 meetings begin and end, for example.                                       may be changed dynamically throughout operation
    In the conference center 700, users are given a basic                   according to different requirements. For example, a
 individual bandwidth cap of 256 kbit/sec and have the            35        meeting room rate/cap may be changed as different
 option to upgrade to a higher individual bandwidth cap of                  meetings begin and end. The Zones may be defined
 1024 kbit/sec. FIG. 7 indicates an example situation where                 and/or identified using different LANs, VLANs, switch
 the first room Zone 704 has forty users at the basic band                  port numbers, pass codes, Zone codes, usernames,
 width cap of 256 kbit/sec, the second room Zone 706 has                    service set identifiers (SSIDs), room numbers, names of
 forty users at the upgraded bandwidth cap of 1024 kbit/sec.      40        physical areas, IP and other addresses, etc.
 the third room Zone 708 has twenty-seven users at the basic              Step 902: Network traffic is received, and a belonging
 bandwidth cap of 256 kbit/sec and thirteen users at the                    Zone to which the network traffic belongs is deter
 upgraded bandwidth cap of 1024 kbit/sec, and the fourth                    mined. For example, the belonging Zone may be the
 room Zone 710 has thirteen users at the basic bandwidth cap                source Zone from which the network traffic originated
 of 256 kbit/sec and twenty-seven users at the upgraded           45        or the destination Zone for which the network traffic is
 bandwidth cap of 1024 kbit/sec.                                            destined. The belonging Zone may be determined by
    FIG. 8 illustrates a quantum calculation table describing               examining Zone identification information included in
 a calculation process that a quantum manager may utilize to                each received packet/frame such as IP addresses, MAC
 calculate the quantums for each Zone shown in FIG.8 when                   addresses, cookie information, VLAN tag, or other
 user load corresponds to a Summation of user caps of the         50        information. This Zone identification information may
 current users in each Zone.                                                be correlated to the correct belonging Zone in a data
    Column 800 indicates the Zone?queue name, column 802                    base. Due to a Zone tree-structure, network traffic may
 indicates the number of current users capped at 256 kbit/sec.              in fact belong to several Zones at different levels of the
 and column 804 indicates the number of current users                       tree-structure, for example, to both remaining band
 capped at 1024 kbit/sec. Column 806 indicates the user load      55        width Zone 316 and one of guest room Zones 318
 of each Zone being the Summation of individual user caps                   illustrated in FIG. 3. In this example, the database
 (i.e., the number of users in column 802 multiplied by 256                 associates Zone identification information with a single
 kbit/sec plus the number of users in column 804 multiplied                 belonging Zone being the lowest belonging Zone
 by 1024 kbit/sec).                                                         according to the tree-structure. For instance, depending
    Because the ratio of the minimum user load (“10240” in        60        on the configured direction, network traffic to/from
 this example) to maximum user load ("40960 in this                         guest room A is determined by the Zone endueuing
 example) is less than the maximum quantum ratio 422                        module 410 to belong to the guest room. A Zone 3.18a
 (“1:40” in this example), column 808 indicates a scale factor              (i.e., the lowest-level belonging Zone).
 that the user load of each Zone is multiplied with such that               In another configuration, the belonging Zone may be
 the minimum user load (“10240 in this example) is scaled         65           determined by querying intermediate devices such as
 to the MTU of an outgoing network interface (1500 bytes in                    intermediate Switches, routers, gateways, etc for
 this example).                                                               Zone identification information Such as source/des
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                               17                                                                  18
        tination port numbers or interface identifiers in order             the Zone to which the selected queue corresponds. In
        to determine the belonging Zone. For example, an                    one usage example, the queues are selected one by one
        intermediate Switch may be queried using simple                     (e.g., in a round robin order), and up to the selected
        network management protocol (SNMP) to determine                     queue's quantum of data is dequeued from each queue
        to which port a device having an IP address included                while also ensuring any bandwidth reservations and/or
        in the network traffic is associated. The belonging                 caps of the Zones are complied with. By still ensuring
        Zone is then determined according to the associated                 that bandwidth reservations and/or caps of the Zones
        Switch port (i.e., each Switch port may correspond to               are complied with, the invention may be beneficially
        a particular Zone).                                                 used in combination with and to enhance existing
   Step 904: The network traffic is enqueued on the queue         10        bandwidth management systems employing rates and
     corresponding to the belonging Zone. For example, a                    caps.
     Zone endueuing module 410 Such as that illustrated in                An advantage of the invention is that it allows a hotel to
     FIG. 4 may enqueue network traffic received at step               limit bandwidth utilization on a Zone-by-Zone basis Such as
     902 on the queue 408 corresponding to the belonging               by defining each guest room to be a Zone with its own
     Zone determined at that step.                                15   reserved bandwidth rate/cap. The Zone tree-structure also
   Step 906: A user load of each Zone is tracked. In one               allows a first-level Zone to include a number of second-level
     example, the user load of a Zone corresponds to a                 Zones, which advantageously allows second-level Zones that
     Summation indicating how many current users are in                may individually have low user loads to accumulate their
     the Zone. Current users per Zone may defined and                  user loads together in a single first-level Zone and gain
     tracked in a number of ways including active ports per            preferential treatment. According to the Zone tree-structure,
     Zone, number of logged in users per Zone, number of               Zones dequeue an amount of data to pass to destinations
     outgoing or incoming connections per Zone, number of              being either a next higher-level Zone or one or more desti
     traffic packets/frames per Zone, active users who have            nation network interface(s) in proportion to their user loads.
     sent/received network traffic, users who have replied to          By enqueuing network traffic from a plurality of second
     a recent ping request, or any combination of any of the      25   level Zones into a single queue of their corresponding
     above. Additionally, a time window may be utilized                first-level Zone, users of the second-level Zones receive
     such as the past 10 minutes and/or the number of                  increased bandwidth when data of the first-level queue is
     current users may be periodically determined once per             dequeued in larger amounts. Zones having higher user loads
     time window. In another example, the user load of a               may advantageously receive more of the available band
     Zone may further take into account individual attributes     30   width, which prevents individual users under these Zones
     of users in the Zone. For example, user load of a Zone            from being starved. Another advantage of the invention is
     may correspond to a summation of individual user caps             that because rates and caps of Zones and individual users
     of the current users in the Zone. In another example,             continue to be enforced, the invention is compatible with
     user load of a Zone may correspond to a Summation of              many existing bandwidth management techniques. Yet
     how much data current users in the Zone have recently        35   another advantage is that when a Zone having a reserved
     sent or received (e.g., in the past 10 minutes). In               bandwidth rate and/or cap does not need to use up to its
     another example, user load of a Zone may correspond               reserved bandwidth rate? cap (e.g., when the users in the Zone
     to the amount of user network traffic currently                   are not using the Internet), the unneeded bandwidth may be
     enqueued on one or more queues corresponding to the               shared among other Zones according to the relative user
     Zone. When the Zones are organized in a multi-level          40   loads of the other Zones. More of the available bandwidth is
     Zone tree-structure, the user load of a particular Zone           thereby beneficially allocated to Zones having higher current
     may include the user load of all lower-level Zones under          user loads. As user loads of the Zones change over time, the
     the particular Zone.                                              amount of data to be dequeued from their respective queues
   Step 908: For each queue, a quantum of data that can be             is dynamically updated.
     dequeued together is dynamically adjusted according to       45      Adjusting the quantum 409 of each queue 408 in propor
     the user load of the Zone to which the queue corre                tion to the user load of its corresponding Zone helps prevent
     sponds. For example, a quantum manager may dynami                 bandwidth starvation of users without guaranteed rates. For
     cally adjust how many bytes will be dequeued from                 instance, users under a Zone with a relatively lower user load
     each Zone according to the user load per Zone as tracked          have less competition for bandwidth allocated to that Zone.
     at step 906. In general, Zones having higher user loads      50   In contrast, users under a Zone having a relatively higher
     will have the capability to transfer larger numbers of            user load will have more competition for bandwidth allo
     bytes when dequeuing traffic. This is beneficial to               cated to that Zone and the data in its queue 408 (and in any
     prevent Zones having low user loads but high guaran               higher level parent queue(s) 408) will therefore tend to build
     teed rates and/or bandwidth caps from getting a dis               up more quickly. To help prevent bandwidth starvation of
     proportionate amount of available bandwidth that is          55   these users and increase the fairness of bandwidth allocation
     being shared with other Zones having high current user            between Zones, the quantum manager 420 dynamically
     loads. As the user loads of the Zones change over time,           allocates quantums 409 to the queues 408 such that queues
     the quantums may be automatically adjusted to give                408 corresponding to Zones having lower user loads receive
     preferential treatment to the Zones according to their            Smaller quantums 409, and queues 408 corresponding to
     new user loads.                                              60   Zones having higher user loads receive larger quantums 409.
   Step 910: Data is selectively dequeued from the queues              In this way, a single user who is trying to utilize large
     and passed to one or more outgoing network interfaces.            amounts of bandwidth over and above his guaranteed rate in
     When selectively dequeuing data from the queues, an               a first Zone (e.g., meeting room) will not negatively impact
     amount of data is dequeued from a selected queue                  multiple users who don’t have any reserved bandwidth
     according to the quantum of the queue determined at          65   under other Zones (e.g., guest rooms Zones).
     step 908. As explained above, the quantum of the                     In an exemplary configuration, a bandwidth management
     Selected queue is determined according to user load of            system includes a plurality of queues respectively corre
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 sponding to a plurality of Zones. An enqueuing module                 and the computer program stored on a hard drive of the
 receives network traffic from one or more incoming network            computer may be dynamically updated by a remote server
 interfaces, determines a belonging Zone to which the net              via the Internet. In addition to a dedicated physical comput
 work traffic belongs, and enqueues the network traffic on a           ing device, the word 'server” may also mean a service
 queue corresponding to the belonging Zone. A dequeuing             5 daemon on a single computer, virtual computer, or shared
 module selectively dequeues data from the queues and                  physical computer, for example. Unless otherwise specified,
 passes the data to one or more outgoing network interfaces.           features described may be implemented in hardware or
 When dequeuing data from the queues the dequeuing mod                 Software according to different design requirements. Addi
 ule dequeues an amount of data from a selected queue, and             tionally, all combinations and permutations of the above
 the amount of data dequeued from the selected queue is             10 described features and configurations may be utilized in
 determined according to user load of a Zone to which the              conjunction with the invention.
 selected queue corresponds.
    Although the invention has been described in connection              What is claimed is:
 with a preferred embodiment, it should be understood that
 various modifications, additions and alterations may be            15   1. A system comprising:
 made to the invention by one skilled in the art without                 one or more first network interfaces coupled to a first
 departing from the spirit and scope of the invention as                    network with which a fixed total amount of bandwidth
 defined in the appended claims. For example, although the                  is available to transfer data;
 invention has been described as being utilized at a hotel, the          one or more second network interfaces coupled to a
 invention is equally applicable to any hospitality related         20      second network;
 location or service wishing to allocate available bandwidth             a plurality of queues, each of the plurality of the queues
 between multiple users including but not limited to hotels,                corresponding to a respective one of a plurality of
 motels, resorts, hospitals, apartment/townhouse complexes,                 bandwidth Zones, the plurality of the bandwidth Zones
 restaurants, retirement centers, cruise ships, busses, airlines,           including a plurality of first level guaranteedbandwidth
 shopping centers, passenger trains, etc. The exemplary user        25      Zones and only one first level remaining bandwidth
 of “guest' is utilized in the above description because                    Zone not entitled to any guaranteed bandwidth; and
 customers of hospitality establishments are generally                   one or more processors operable to:
 referred to as guests; however, the exemplary user of “guest'           determine a belonging bandwidth Zone to which network
 in conjunction with the invention further includes all types               traffic received from either of the first or the second
 of users whether or not they are customers. The invention          30     network interfaces belongs;
 may also be beneficially employed in other applications
 outside the hospitality industry such as by conference cen              enqueue the network traffic received from either of the
 ters, corporations, or any other entity wishing to allocate               first or the second network interfaces on a queue
 available bandwidth shared between a plurality of users.                  corresponding to the belonging bandwidth Zone; and
    The various separate elements, features, and modules of         35   cycle though the plurality of the queues, dequeue the
 the invention described above may be integrated or com                    network traffic from the plurality of the queues, and
 bined into single units. Similarly, functions of single mod               thereafter pass the network traffic dequeued from the
 ules may be separated into multiple units. The modules may                plurality of the queues to one of the first or the second
 be implemented as dedicated hardware modules, and the                      network interfaces for transmission to a destination
 modules may also be implemented as one or more software            40      network address;
 programs executed by a general or specific purpose proces               wherein, when dequeing the network traffic from a par
 Sor to cause the processor to operate pursuant to the software            ticular queue, the one or more processors are operable
 program to perform the above-described module functions.                  to automatically determine an amount of the network
 For example, the bandwidth management system 400 of                       traffic to dequeue from the particular queue according
 FIG. 4 may be implemented by a computer server having              45     to a bandwidth limit for the particular queue;
 one or more processors 430 executing a computer program                 the bandwidth limit for each of the plurality of the queues
 loaded from a storage media (not shown) to perform the                    corresponding to the plurality of the first level guaran
 above-described functions of the Zone endueuing module                    teed bandwidth Zones includes a guaranteed bandwidth
 410, quantum manager 420, and Zone dequeuing module                        rate; and
 412. Likewise, the flowchart of FIG.9 may be implemented           50   the bandwidth limit for the first level remaining band
 as one or more processes executed by dedicated hardware,                  width Zone has no guaranteed bandwidth rate but
 and may also be implemented as one or more software                       includes a bandwidth cap equal to the fixed total
 programs executed by a general or specific purpose proces                  amount of bandwidth of the one or more first network
 Sor to cause the processor to operate pursuant to the software             interfaces minus the guaranteed bandwidth rate for
 program to perform the flowchart steps. A computer-read-           55      each of the plurality of the first level guaranteed
 able medium may store computer executable instructions                     bandwidth Zones.
 that when executed by a computer cause the computer to                  2. The system of claim 1, wherein:
 perform above-described method steps of FIG. 9. Examples                the bandwidth limit for each of the plurality of the queues
 of the computer-readable medium include optical media                      corresponding to the plurality of the first level guaran
 (e.g., CD-ROM, DVD discs), magnetic media (e.g., hard              60      teed bandwidth Zones further includes abandwidth cap;
 drives, diskettes), and other electronically readable media                and
 Such as flash storage devices and memory devices (e.g.,                 the bandwidth cap for the particular queue is equal to the
 RAM, ROM). The computer-readable medium may be local                       fixed total amount of bandwidth of the one or more first
 to the computer executing the instructions, or may be remote               network interfaces minus the guaranteed bandwidth
 to this computer Such as when coupled to the computer via          65      rate for each of the plurality of the first level guaranteed
 a computer network. In one configuration, the computer is a                bandwidth Zones other than any guaranteed bandwidth
 computer server connected to a network Such as the Internet                Zone corresponding to the particular queue.
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   3. The system of claim 1, wherein a sum of the guaranteed                network traffic to dequeue from the particular queue
 bandwidth rates of each of the plurality of the queues is less             according to a bandwidth limit for the particular queue:
 than the fixed total amount of bandwidth of the one or more              wherein the bandwidth limit for each of the plurality of
 first network interfaces.                                                  the queues corresponding to the plurality of the first
   4. The system of claim 1, wherein each of the plurality of 5              level guaranteed bandwidth Zones includes a guaran
 the bandwidth Zones corresponds to one or more physically                  teed bandwidth rate; and
 Separate areas.                                                          the bandwidth limit for the first level remaining band
                                                                            width Zone has no guaranteed bandwidth rate but
    5. The system of claim 1, wherein, when all of the                      includes a bandwidth cap equal to the fixed total
 plurality of the bandwidth Zones have queued data to send,        10
                                                                            amount of bandwidth of the one or more first network
 all guaranteed bandwidth rates have been met, and none of                  interfaces minus the guaranteed bandwidth rate for
 the plurality of the bandwidth Zones has exceeded its band                 each of the plurality of the first level guaranteed
 width cap, the one or more processors cycle through the                     bandwidth Zones.
 plurality of the queues in a round robin dequeuing strategy.             12. The method of claim 11, wherein:
    6. The system of claim 1, wherein one or more users in a       15
                                                                          the bandwidth limit for each of the plurality of the queues
 particular one of the plurality of the bandwidth Zones share               corresponding to the plurality of the first level guaran
 bandwidth made available under the particular one of the                   teedbandwidth Zones further includes abandwidth cap:
                                                                            and
 plurality of the bandwidth Zones.                                        the bandwidth cap for the particular queue is equal to the
    7. The system of claim 6, wherein each user corresponds                  fixed total amount of bandwidth of the one or more first
 to a different user device.                                       2O
   8. The system of claim 1, wherein:                                        network interfaces minus the guaranteed bandwidth
   the plurality of the bandwidth Zones are organized in a                   rate for each of the plurality of the first level guaranteed
      tree structure of at least two levels; and                             bandwidth Zones other than any guaranteed bandwidth
   the plurality of the queues further include a plurality of                Zone corresponding to the particular queue.
                                                                  13. The method of claim 11, wherein a sum of the
      second level queues corresponding to best effort band- is guaranteed
      width Zones that share bandwidth available under the                 bandwidth rates of each of the plurality of the
      first level remaining bandwidth Zone.                             queues is less than the fixed total amount of bandwidth of the
                                                                        one or more first network interfaces.
   9. The system of claim 8, wherein each of the best effort
 bandwidth Zones corresponds to a guest room of a hospi                   14. The method of claim 11, wherein each of the plurality
 tality establishment.                                   of the bandwidth Zones corresponds to
                                                      30 cally                                                one or more physi
   10. The system of claim 8, wherein the one or more          separate areas.
 processors are operable to upgrade one of the best effort               15. The method of claim 11, further comprising cycling
 bandwidth Zones to become a new guaranteed bandwidth                 through the plurality of the queues in a round robin
 Zone in response to receiving an upgrade message.                    dequeuing strategy when all of the plurality of the band
   11. A method of bandwidth control in a system having one           width   Zones have queued data to send, all guaranteed
                                                                   is bandwidth
 or more first network interfaces coupled to a first network                      rates have been met, and no Zone has exceeded
 with which a fixed total amount of bandwidth is available to         its bandwidth cap.
 transfer data, and one or more second network interfaces                16. The method of claim 11, wherein one or more users in
 coupled to a second network, the method comprising:                  a particular one of the plurality of the bandwidth Zones share
   providing a plurality of queues, each of the plurality of the   ao bandwidth    made available under the particular one of the
                                                                      plurality of the bandwidth Zones.
      queues corresponding to a respective one of a plurality
     of bandwidth Zones, the plurality of the bandwidth                   17. The method of claim 11, wherein:
     Zones including a plurality of first level guaranteed                the plurality of the bandwidth Zones are organized in a
     bandwidth Zones and only one first level remaining                      tree structure of a least two levels; and
      bandwidth Zone not entitled to any guaranteed band- as              the plurality of the queues further include a plurality of
      width:                                                                 second level queues corresponding to best effort band
   determining a belonging bandwidth Zone to which net                       width Zones that share bandwidth available under the
      work traffic received from either of the first or the                  first level remaining bandwidth Zone.
      second network interfaces belongs:                                  18. The method of claim 17, wherein each of the best
                                                                effort bandwidth Zones corresponds to a guest room of a
   enqueuing the network traffic received from either of the so hospitality
     first or the second network interfaces on a queue                      establishment.
     corresponding to the belonging bandwidth Zone;            19. The method of claim 17, further comprising upgrading
   cycling though the plurality of the queues, dequeuing the            one of the best effort bandwidth Zones to become a new
     network traffic from the plurality of the queues, and   guaranteed bandwidth Zone in response to receiving an
                                                             upgrade message.
      thereafter passing the network traffic dequeued from ss 20. A non-transitory
      the plurality of the queues to one of the first or the                       computer-readable medium compris
      Second network interfaces for transmission to a desti  ing computer executable instructions that when executed by
      nation network address; and                                       a computer cause the computer to perform the method of
                                                                        claim 11.
   when dequeuing the network traffic from a particular
     queue, automatically determining an amount of the                                         ck   ck   ck   ck   ck
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                       Exhibit D
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                                                                                                           COMMUNICATION IMIDI MINUN                                                  US009871738B2

  (12) United States Patent                                                                                                       ( 10) Patent No.:                                                                        US 9,871,738 B2
           Ong                                                                                                                    (45 ) Date of Patent:                                                                               * Jan . 16 , 2018
  (54 ) ALLOCATING BANDWIDTH BETWEEN                                                                                      (58 ) Field of Classification Search
        BANDWIDTH ZONES ACCORDING TO                                                                                            CPC .......... HO4L 47 / 00 ; H04L 41/ 00 ; H04L 63/ 00
           USER LOAD                                                                                                            See application file for complete search history.
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  (63) Continuation of application No. 14 /867,237 , filed on                                                             ( 74 ) Attorney , Agent, or Firm — ATMAC Patent Services
           Sep . 28 , 2015 , now Pat. No . 9 ,531,640, which is a                                                         Ltd .; Andrew T. MacMillan
           continuation of application No. 14 /456 , 035 , filed on
           Aug . 11 , 2014 , now Pat. No . 9 , 154 ,435 , which is a                                                      (57)                     ABSTRACT
           continuation of application No . 13/308, 908, filed on                                                         A bandwidth management system includes a plurality of
           Dec . 1 , 2011, now Pat. No. 8 ,811 ,184 .                                                                     queues respectively corresponding to a plurality of zones .
                     Foreign Application Priority Data                                                                An enqueuing module receives network traffic from one or
  ( 30 )                                                                                                              more incoming network interfaces, determines a belonging
                                                                                                                          zone to which the network traffic belongs, and enqueues the
    Aug. 24 , 2011 (CA )                                            ............. 2750345                                 network traffic on a queue corresponding to the belonging
  (51) Int . CI.                                                                                                          zone . A dequeuing module selectively dequeues data from
       H04L 12 /873                       ( 2013 .01)                                                                     the queues and passes the data to one or more outgoing
           H04L 12 /24                     ( 2006 .01)                                                                    network interfaces. When dequeuing data from the queues
                                                                                                                          the dequeuing module dequeues an amount of data from a
                                   ( Continued )                                                                          selected queue, and the amount of data dequeued from the
  (52 ) CPC
        U .S. CI.........    H04L 47/522 (2013 .01 ); H04L 41 /0896
                                                                                                                          selected queue is determined according to user load of a
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                                (2013 .01) ; H04L 47 /2441 (2013 .01) ;
                                   (Continued )                                                                                                                 20 Claims, 9 Drawing Sheets

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  (51) Int. CI.                                                                         8, 811, 184 B2 * 8/ 2014 Ông .................... H04L 41/ 0896
       H04L 12 /851                     ( 2013 .01)                                                                                               370 / 229
       H04L 12 / 863                   ( 2013.01)                                       9 , 154 , 435 B2 * 10/ 2015 Ong                     HO4L 41/0896
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            H04L 29 / 06               ( 2006 .01)                                  2003 /0005112 A1* 1/2003 Krautkremer ....... H04L 41/0213
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  (52 ) U .S. CI.                                                                   2005 /0091539 AL       4 /2005 Wang et al.
            CPC ........ H04L 47/527 ( 2013 .01); H04L 47/6235                      2005/ 0094643 A1* 5/2005 Wang .................. H04L 47 /2408
                     (2013.01 ); H04L 47/6255 (2013.01); H04L                                                                                   370 / 395 .4
                      47/ 781 ( 2013 .01); H04L 477808 ( 2013 .01) ;                2006 / 0221823 A1 * 10 / 2006 Shoham ................. H04L 49/ 90
                              H04L 47 /828 (2013 .01); H04L 63/08                                                                                 370 /229
                                                         (2013.01)                  2007/0008884 A1* 1/2007 Tang ......... ............. H04L 29 /06
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                                                                                              4 Mbit
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         ALLOCATING BANDWIDTH BETWEEN                                   throughput is limited to the cap but the minimum throughput
         BANDWIDTH ZONES ACCORDING TO                                    is not limited and instead depends on how much bandwidth
                          USER LOAD                                     other users are currently using .
                                                                           A hotel may also allow a user to purchase an amount of
             CROSS -REFERENCE TO RELATED                              5 guaranteed bandwidth that is not shared with other users .
                      APPLICATIONS                                      Guaranteed bandwidth is often also provided by the hotel to
                                                                        meeting and conference rooms, and the users of these rooms
     This application is a continuation of U .S . patent applica - share the room 's allocation. The amount of guaranteed
 tion Ser. No. 14 /867, 237 filed Sep . 28 , 2015 , which is a       bandwidth allocated to hotel guests is generally set accord
  continuation of U .S . patent application Ser. No. 14 /456 ,035 10 ing to an amount purchased by the user during a sign -in
  filed Aug . 11 , 2014 , which is a continuation of U . S . patent     process, and the amount of guaranteed bandwidth allocated
  application Ser. No . 13 /308, 908 filed Dec . 1 , 2011 , which       to conference and meeting rooms is typically determined
  claims the benefit of Canadian Patent Application No. 2 , 750 ,       when the room is booked and may be a function of the
  345 filed Aug . 24 , 2011 . All of these applications are booking price to allow the conference organizer to pay
  incorporated herein by reference .                       15 according to the level of bandwidth required for the confer
                                                              ence .
             BACKGROUND OF THE INVENTION                        When bandwidth is guaranteed, ideally the minimum
                                                              bandwidth that a user ( or room , etc ) benefiting from the
     (1 ) Field of the Invention                              guarantee will ever experience will be the guaranteed rate .
     The invention pertains generally to bandwidth manage - 20 In some cases, the bandwidth may also be capped at a higher
 ment. More specifically, the invention relates to allocating           rate so when there is bandwidth in the hotel available over
 available bandwidth shared by a plurality of users .                   and above the guaranteed rate , the user may experience even
    (2 ) Description of the Related Art                                 higher rates. When the hotel is provided with a fixed total
    Travelers increasingly view in -room high speed Internet ISP bandwidth , care must be taken by the hotel to not
 access (HSIA ) as a requirement when choosing at which 25 oversell guaranteed bandwidth or it may be impossible for
 hotel to stay . Business travelers may need to access company the hotel to actually deliver the guaranteed rates when usage
  networks while on the road and tourists may wish to upload            is high .
 photos and send email to family friends while travelling. To              Traffic shaping and prioritization may also be performed
 provide in -room HSIA , hotels typically purchase a connec - by monitoring and detecting traffic types and giving prefer
 tion to the Internet from a local Internet service provider 30 ential treatment for certain time- sensitive applications such
 ( ISP ) . The ISP provides the hotel with a fixed amount of as teleconferencing voice and video traffic . Compression ,
 bandwidth determined according to the ISP 's pricing struc-            caching, and blocking technologies (i.e., blocking malware
 ture or other constraints. The hotel shares the available and other unwanted web traffic ) may also be utilized by the
 bandwidth between the hotel guests , users in meeting and hotel' s HSIA system to reduce unnecessary bandwidth uti
 conference rooms, and the hotel 's networked computer 35 lization and thereby increase the bandwidth available to
 systems.                                                  share between users.
     A large hotel may have hundreds or even thousands of                  Although the above- described methods of managing
  guests staying in guest rooms and utilizing meeting rooms —           bandwidth within a hotel are useful, they also tend to be
  each competing for Internet bandwidth . One or more com -             unfair to certain users. For example, in some circumstances
 puter systems in the hotel may additionally need to transfer 40 a user who has not upgraded to an amount of guaranteed
 data via the Internet such as to receive reservations from      bandwidth may be starved for bandwidth when sharing a
  external travel agencies or to download content for playback          small amount of available bandwidth with other users. Due
 by guests using the hotel's in -room media and entertainment           to a variety of reasons it may not be possible for this user to
 system . Because user satisfaction will be lowered if access           purchase guaranteed bandwidth , for example , because the
 to the Internet is slow , unresponsive, or unreliable , the 45 total ISP connection bandwidth is limited and other users
  available Internet bandwidth provided by the ISP needs to be           (i. e ., meeting rooms and /or VIP guests ) may already have
  effectively allocated between the various users within the            reserved the hotel' s limit on guaranteed bandwidth .
 hotel.                                                            Although , the user may be able to upgrade to a higher
    Typically , when a user connects a network device to the individual bandwidth cap , during peak usage times when
 hotel' s LAN , the user is required by the hotel's HSIA system 50 bandwidth is in high demand , the actual portion of band
 to authenticate and gain access to the network , for example,          width received by the user may not even reach the lower cap
 by providing a password or other information such as room               so having a higher cap will provide no benefit . Further
 number and registered guest' s name. Once authorized , traffic          techniques to optimize bandwidth allocation between mul
 shaping is performed on a per -user basis in order to cap each         tiple users to help prevent bandwidth starvation in these
 user' s maximum usage at a certain level while still sharing 55        situations would be beneficial.
 the total available bandwidth between all guests and other
 applications within the hotel. For example , a basic user                 BRIEF SUMMARY OF THE INVENTION
 bandwidth cap may limit each user to at most receive 256
 kbit /sec of the hotel's available bandwidth to the Internet.       According to an exemplary configuration of the invention
  The actual amount received by the user may be less than the 60 there is provided a bandwidth management system including
 cap during peak usage times .                                    a plurality of queues respectively corresponding to a plu
    Some hotels allow users to purchase “ upgraded ” band -       rality of zones. An enqueuing module receives network
 width , which typically involves raising the user ' s individual traffic from one or more incoming network interfaces, deter
 bandwidth cap while still sharing the available bandwidth              mines a belonging zone to which the network traffic belongs,
 with other users. For example, the user ' s cap may be raised 65 and enqueues the network traffic on a queue corresponding
 to 1024 kbit/ sec after a payment of $ 9 . 99 is received . Again , to the belonging zone. A dequeuing module selectively
 when bandwidth is upgraded in this way, the maximum                     dequeues data from the queues and passes the data to one or
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 more outgoing network interfaces. When dequeuing data               are further operable to cycle though the queues, dequeue
 from the queues the dequeuing module dequeues an amount             data , and thereafter pass the dequeued data to one of the first
 of data from a selected queue , and the amount of data              or second network interfaces for transmission to a destina
 dequeued from the selected queue is determined according            tion network address. When dequeing data from a particular
 to user load of a zone to which the selected queue corre - 5 queue, the one or more processors are operable to automati
  sponds.                                                            cally determine an amount of data to dequeue from the
     According to another exemplary configuration of the             particular queue according to a bandwidth limit for the
  invention there is provided a bandwidth management system          particular queue. The bandwidth limit for each of the queues
  including a plurality of queues respectively corresponding to   corresponding to the first level guaranteed bandwidth zones
  a plurality of zones . One or more processors are configured 10 includes a guaranteed bandwidth rate . The bandwidth limit
  to receive network traffic from one or more incoming            for the first level remaining bandwidth zone has no guaran
 network interfaces, determine a belonging zone to which the         teed bandwidth rate but includes a bandwidth cap equal to
  network traffic belongs , enqueue the network traffic on a         the fixed total amount of bandwidth of the first network
 queue corresponding to the belonging zone , selectively       interface minus each guaranteed bandwidth rate for the
 dequeue data from the queues , and pass the data to one or 15 plurality of the first level guaranteed bandwidth zones.
 more outgoing network interfaces . When selectively                    According to another exemplary configuration of the
 dequeuing data from the queues the one or more processors           invention there is provided a method of bandwidth control in
 are configured to dequeue an amount of data from a selected         a system having one or more first network interfaces coupled
 queue, and the amount of data dequeued from the selected            to a first network with which a fixed total amount of
 queue is determined according to user load of a zone to 20 bandwidth per unit time can be transferred , and one or more
 which the selected queue corresponds .                     second network interfaces coupled to a second network . The
    According to another exemplary configuration of the        method includes providing a plurality of queues , each of the
  invention there is provided a bandwidth management appa      queues corresponding to a respective one of a plurality of
 ratus including a plurality of queues respectively corre - bandwidth zones, the bandwidth zones including a plurality
 sponding to a plurality of zones . Included is means for 25 of first level guaranteed bandwidth zones and only one first
 receiving network traffic , means for determining a belonging level remaining bandwidth zone not entitled to any guaran
 zone to which the network traffic belongs and enqueuing the teed bandwidth . The method further includes determining a
 network traffic on a queue corresponding to the belonging           belonging zone to which network traffic received from either
  zone, and means for selectively dequeuing data from the            of the first or second network interfaces belongs . The
  queues and passing the data to one or more destinations . 30 method further includes enqueuing the network traffic on a
 Selectively dequeuing data from the queues involves queue corresponding to the belonging zone. The method
 dequeuing an amount of data from a selected queue, the further includes cycling though the queues , dequeuing data ,
 amount of data being determined according to user load of and thereafter passing the dequeued data to one of the first
 a zone to which the selected queue corresponds.           or second network interfaces for transmission to a destina
    According to another exemplary configuration of the 35 tion network address. The method further includes, when
 invention there is provided a method of allocating band - dequeuing data from a particular queue, automatically deter
 width between a plurality of zones . The method includes mining an amount of data to dequeuer from the particular
  providing a plurality of queues respectively corresponding         queue according to a bandwidth limit for the particular
  to the plurality of zones. The method further includes             queue . The bandwidth limit for each of the queues corre
 receiving network traffic from one or more incoming net - 40 sponding to the first level guaranteed bandwidth zones
 work interfaces and determining a belonging zone to which           includes a guaranteed bandwidth rate . The bandwidth limit
  the network traffic belongs. The method further includes           for the first level remaining bandwidth zone has no guaran
 enqueuing the network traffic on a queue corresponding to           teed bandwidth rate but includes a bandwidth cap equal to
 the belonging zone , and selectively dequeuing data from the        the fixed total amount of bandwidth of the first network
  queues and passing the data to one or more outgoing 45 interface minus each guaranteed bandwidth rate for the
 network interfaces. Selectively dequeuing data from the             plurality of the first level guaranteed bandwidth zones.
 queues involves dequeuing an amount of data from a                    According to another exemplary configuration of the
 selected queue , the amount of data being determined accord -       invention there is provided a bandwidth management system
  ing to user load of a zone to which the selected queue             for allocating bandwidth between a plurality of bandwidth
 corresponds.                                                     50 zones at an establishment serving a plurality of users . Each
    According to another exemplary configuration of the              of the bandwidth zones has a number of users competing for
 invention there is provided a system including one or more          bandwidth allocated thereto . The bandwidth management
 first network interfaces coupled to a first network with which      system includes a computer server providing a first queue
 a fixed total amount of bandwidth per unit time can be              and a second queue . The first queue queues first data
 transferred . The system further includes one or more second 55     associated with a first bandwidth zone of the plurality of
 network interfaces coupled to a second network . The system         bandwidth zones , and the second queue queues second data
  further includes a plurality of queues. Each of the queues         associated with a second bandwidth zone of the plurality of
 corresponds to a respective one of a plurality of bandwidth         bandwidth zones . The system further includes a computer
 zones . The bandwidth zones include a plurality of first level      readable medium storing a plurality of software instructions
  guaranteed bandwidth zones and only one first level remain - 60 for execution by the computer server . By the computer
  ing bandwidth zone not entitled to any guaranteed band -        server executing the software instructions loaded from the
 width . The system further includes one or more processors          computer readable medium , the computer server is operable
 operable to determine a belonging zone to which network        to repeatedly dequeue a first amount of the first data from the
 traffic received from either of the first or second network    first queue and a second amount of the second data from the
 interfaces belongs . The one or more processors are further 65 second queue, and pass the first amount of the first data and
 operable to enqueue the network traffic on a queue corre -          the second amount of the second data to one or more
 sponding to the belonging zone . The one or more processors         outgoing network interfaces. The computer server is further
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 operable to automatically adjust the first amount and the            FIG . 1 illustrates a generalized bandwidth zone tree
  second amount over time such that the first amount is larger     structure according to an exemplary configuration of the
  than the second amount while the first bandwidth zone has        invention .
  a higher user load than the second bandwidth zone, and such        FIG . 2 illustrates how each zone of FIG . 1 may include
  that the first amount is smaller than the second amount while 5 one or more user devices and/or may include other zones at
  the first bandwidth zone has a lower user load than the a lower level of the tree -structure.
  second bandwidth zone .                                           FIG . 3 illustrates a beneficial organization of bandwidth
    According to another exemplary configuration of the            zones in a hotel according to an exemplary configuration of
 invention there is provided a method of allocating band      the invention .
 width between a plurality of bandwidth zones at an estab - 10 FIG . 4 illustrates a bandwidth management system having
 lishment serving a plurality ofusers. Each of the bandwidth   a plurality of queues respectively corresponding to the zones
  zones has a number of users competing for bandwidth              of FIG . 3 according to an exemplary configuration of the
 allocated thereto . The method includes providing a first         invention .
  queue and a second queue , wherein the first queue queues     FIG . 5 illustrates a quantum calculation table describing
  first data associated with a first bandwidth zone of the 15 a calculation process that the quantum manager of FIG . 4
 plurality of bandwidth zones, and the second queue queues         may utilize to calculate a quantum for each queue according
 second data associated with a second bandwidth zone of the        to the user load example shown in FIG . 3 .
 plurality of bandwidth zones. The method further includes           FIG . 6 illustrates a quantum calculation table describing
 repeatedly dequeuing a first amount of the first data from the    a calculation process that the quantum manager of FIG . 4
  first queue and a second amount of the second data from the 20 may utilize to calculate the quantum for each queue accord
 second queue , and passing the first amount of the first data     ing to another user load example for the zones shown in FIG .
 and the second amount of the second data to one or more           3.
 outgoing network interfaces. The method further includes            FIG . 7 illustrates a beneficial organization of meeting
 automatically adjusting the first amount and the second           room bandwidth zones in a conference center according to
 amount over time such that the first amount is larger than the 25 an exemplary configuration of the invention .
 second amount while the first bandwidth zone has a higher            FIG . 8 illustrates a quantum calculation table describing
 user load than the second bandwidth zone, and such that the       a calculation process that a quantum manager may utilize to
 first amount is smaller than the second amountwhile the first     calculate a quantum for a queue of each zone of FIG . 8 when
 bandwidth zone has a lower user load than the second              the user load of each zone corresponds to a summation of
 bandwidth zone.                                                30 bandwidth caps of the current users in the zone.
    According to another exemplary configuration of the               FIG . 9 illustrates a flowchart describing a method of
 invention there is provided an apparatus for allocating allocating bandwidth between zones according to user load
 bandwidth between a plurality of bandwidth zones at an            in an exemplary configuration of the invention .
 establishment serving a plurality of users. Each of the
 bandwidth zones having a number of users competing for 35                         DETAILED DESCRIPTION
 bandwidth allocated thereto . The apparatus a storage device ;
 a network interfaces; and a processor coupled to the storage         FIG . 1 illustrates a generalized bandwidth zone tree
 device and the network interface . By the processor executing  structure according to an exemplary configuration of the
 software instructions loaded from the storage device , the     invention . The definition of a “ zone” according to the
 processor is operable to provide a first queue and a second 40 invention is flexible and depends upon application -specific
 queue, wherein the first queue queues first data associated design requirements . Generally speaking, zones represent
 with a first bandwidth zone of the plurality of bandwidth         manageable divisions of users, user devices , and /or other
  zones, and the second queue queues second data associated        lower -level zones . Zones may be logically and /or physically
 with a second bandwidth zone of the plurality of bandwidth        separated from other zones. For example , different zones
  zones. The processor is further operable to repeatedly 45 may be isolated on separate local area networks (LANs) or
 dequeue a first amount of the first data from the first queue     virtual LANs (VLANs ) corresponding to separate rooms or
 and a second amount of the second data from the second            areas of a hotel, or different zones may share a same LAN
 queue, and pass the first amount of the first data and the        but correspond to different service levels of users within a
 second amount of the second data to the network interface .       hotel. The zones and tree -structure may be dynamic and
  The processor is further operable to automatically adjust the 50 change at any time as users associated with certain zones
  first amount and the second amount over time such that the       upgrade their Internet access or when meeting reservations
  first amount is larger than the second amount while the first   begin and end , for example .
 bandwidth zone has a higher user load than the second                In the example zone organization of FIG . 1 , an Internet
 bandwidth zone , and such that the first amount is smaller        pipe 102 providing a total bandwidth (BT) is shared between
  than the second amount while the first bandwidth zone has 55 a set of reserved bandwidth zones 104 and a set of unre
  a lower user load than the second bandwidth zone.            served bandwidth zones 106 . The set of reserved bandwidth
     These and other embodiments and advantages of the zones 104 are arranged on a first -level of the tree and include
  invention will become apparent from the following detailed a first guaranteed zone 108 having a guaranteed bandwidth
 description , taken in conjunction with the accompanying      rate ofR1 and a maximum bandwidth usage cap of C1, and
 drawings, illustrating by way of example the principles of 60 a second guaranteed zone 110 having a guaranteed band
 the invention .                                               width rate of R2 and a cap of C2 . Bandwidth rates R1, R2
                                                              are guaranteed to the zone; when there is unused bandwidth
       BRIEF DESCRIPTION OF THE DRAWINGS                      in the hotel, each zone may also obtain extra bandwidth up
                                                              to its cap C1, C2 . Each zone ' s cap C1 , C2 may be equal to
    The invention will be described in greater detail with 65 or higher than the zone's reserved rate R1, R2. Additionally ,
 reference to the accompanying drawings which represent            the reserved rate R1, R2 and cap C1, C2 of each zone may
 preferred embodiments thereof.                                   be changed at any time.
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    In the set of unreserved bandwidth zones 106 , there is a         between a number of reserved bandwidth zones 304 and a
 single first- level remaining bandwidth zone 112 that may            number of unreserved bandwidth zones 306 . Following the
 obtain up to a cap amount of bandwidth that still leaves at          tree - structure organization introduced in FIG . 1 , the reserved
  least the reserved bandwidth available for each of the bandwidth zones 304 are each positioned at a first- level of
  reserved bandwidth zones 104 . For example , using the zones 5 the tree and include a firstmeeting room zone 308 , a second
  illustrated in FIG . 1 , CRESERVE =BT- (R1 +R2 ). The CRE           meeting room zone 310 , a penthouse suite zone 312 , and an
 SERVE cap may be automatically set in this way to ensure             upgraded room zone 314 . A single first -level remaining
  that users who have purchased guaranteed bandwidth can              bandwidth zone 316 includes a number of second -level
  utilize their full guaranteed allotment capacity at any time        guest room zones 318 including a first guest room zone 318a
 and will not be affected by overuse by the unreserved 10 and second guest room zone 318b .
 bandwidth zones 106 . Although capping the remaining               In this example, the remaining bandwidth zone 316 is
 bandwidth zone 112 at CRESERVE means there may be               automatically capped at 4 Mbit / sec so that even when at full
 some wasted bandwidth capacity when the reserved band -         utilization there is still enough bandwidth left over ( e . g ., 6
 width zones 104 are not utilizing their full rates R1, R2 , the Mbit/ sec remaining ) within the hotel 300 to accommodate
 CRESERVE cap advantageously preserves interactivity for 15 each of the reserved bandwidth zones 304 operating at full
 each of the reserved bandwidth zones 104 and allows utilization according to their guaranteed rates. Additionally ,
 immediate bandwidth usage by the reserved bandwidth             guaranteed zones 308 , 310 are automatically capped at 6
  zones 104 such as is needed during bandwidth speed tests or         Mbit /sec and guaranteed zones 312 , 314 are automatically
  intermittent traffic bursts , for example .                         capped at 5 Mbit/ sec to ensure that when any one operates
    In some configurations, the caps C1 , C2 of the guaranteed 20 at full capacity there is enough bandwidth to accommodate
 zones 108 , 110 may similarly each be automatically set to           each of the other reserved bandwidth zones 304 . As previ
 prevent overuse of one of the reserved bandwidth zones 104           ously mentioned , automatically setting the caps in this way
 from affecting another of the reserved bandwidth zones 104 . preserves the interactivity of the guaranteed bandwidth
 For example , using the zones illustrated in FIG . 1 , C1 may zones 308 , 310 , 312 , 314 . When the guaranteed rates of any
 be automatically set to BT-R2, and C2 may be automatically 25 of the reserved bandwidth zones 304 are changed , the
 set to BT-R1. In other configurations, the caps C1, C2 may    bandwidth caps throughout the zones in the hotel 300 may
 be set to lower values to preserve bandwidth for use by the be automatically adjusted by the hotel's bandwidth manage
 unreserved bandwidth zones 106 or be set to higher values            ment system accordingly .
 when it is not a concern if one of the reserved bandwidth        As shown in FIG . 3 , each zone has an example number of
 zones 104 interferes with another of the reserved bandwidth 30 current users to help describe this configuration of the
 zones 104 such as when there is a only a single guaranteed invention . In this configuration , the word “ users ” refers to
 zone 108 , 110 .                                               the differentuser devices 204 since the hotel's HSIA system
    Under the first-level remaining bandwidth zone 112 are a          will generally identify each user device 204 with a unique IP
  number of second- level best effort zones 114 , 116 each            address and will provide an individual bandwidth cap on a
 having its own cap . For example , best effort zone 114 has 35 per user device 204 basis. However, in other configurations ,
 cap C4 and best effort zone 116 has cap C5 . Caps C4 , C5 are  the term “ users ” may instead refer to different human users
 usually lower than CRESERVE and may be adjusted at any               as tracked by their user devices 204 . For example , when a
 time such as when a user of a particular guest room upgrades         particular zone has a single hotel guest utilizing three user
 to a higher bandwidth cap , for example .                       devices 204, the zone may only be determined to include a
    A second - level best effort zone 114 , 116 may be auto - 40 single user as each of the IP addresses of the three user
 matically moved to become one of the first -level reserved           devices 204 are associated with the same user in a database .
 bandwidth zones 104 and given a guaranteed bandwidth rate            In yet other configurations , " users " may also include auto
 such as when a user upgrades a room to a guaranteed                  mated applications , tasks, or servers such as the various
 bandwidth rate , for example . Likewise , a guaranteed zone      components of the hotel' s HSIA system or other networked
  108 , 110 may have its reserved rate R1, R2 set to zero ( or 45 systems in the hotel 300 . In general, the term " users” in each
 otherwise deleted ) and be automatically moved to become a       of the various configurations refers to agents that compete
 second - levelbest effort zone under the remaining bandwidth         for available bandwidth , and any mechanism of identifying
 zone 112 . This may occur, for example , when a guaranteed   and distinguishing current users may be utilized in conjunc
 bandwidth rate upgrade expires or when a VIP user entitled   tion with the invention .
 to guaranteed bandwidth in a room checks outs and the room 50 Although not illustrated in FIG . 3 , each user under a zone
 automatically becomes a best effort zone 114 , 116 .         may in fact be included in a user -specific lower -level child
    FIG . 2 illustrates how each zone 202 may include one or          zone having a user -specific cap (and /or reserved rate ). This
 more user devices 204 and/ or may include other lower -level     configuration is beneficial to prevent each user under a zone
 zones 206 . Such parent zones 202 include all the user from monopolizing all the bandwidth assigned to the zone.
 devices and/ or additional zones from their lower-level child 55 For example , a user that tries to bit -torrent under a zone will
 zones 206 . Although the examples illustrated in FIG . 1 and         not unfairly take more than their allotted bandwidth cap
 FIG . 2 have first- level zones and second -level zones, the         from other users sharing the bandwidth under that zone.
  invention is not limited to a two - level bandwidth zone              Additionally , the number of current users indicated in
 tree - structure . For example , a single level tree -structure is   FIG . 3 is meant only as an example snapshot of one
  illustrated later in FIG . 7 . Additionally , three or greater -level 60 particular time period and it is expected the numbers of
 tree - structures are also possible and may be beneficial when       current users of each zone 308 , 310, 312 , 314 , 316 , 318a ,
 there are many sub categories of a higher level zone, for            318b will change over time. For example , after a meeting in
  example .                                                           the first meeting room zone 308 ends, the number of users
    FIG . 3 illustrates a beneficial organization of bandwidth        of the first meeting room zone 308 will drop from sixty - five
 zones in a hotel 300 according to an exemplary configura - 65 to zero . Then , when a next meeting begins , the user count
 tion of the invention . In this example , the hotel' s ISP pipe      will rapidly climb up to another level dependent upon how
  302 provides a total bandwidth of 10 Mbit/sec shared                many users bring electronic devices 204 that are connected
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                                                         US 9 ,871,738 B2
                                                                                                        10
  to the network . The number of current users of the other               network interface 406 , a zone enqueuing module 410 , a zone
  zones 310 , 312 , 314 , 316 , 318a , 318b may similarly change          dequeuing module 412 , a user monitor 414 , a network
  over time as well .
 OV                                                            activity log 416 , an authentication server 418 , a user / zone
     The number of current users of the remaining bandwidth database 419 , and a quantum manager 420 . The quantum
  zone 316 is one- hundred and ninety -two in this example . 5 manager 420 is preprogrammed with a maximum quantum
  This number includes all the current users of the various               ratio 422 . The outgoing network interface 406 has a maxi
  guest room zones 318 that are included as second -level                 mum transport unit (MTU ) 426 , for example, 1500 bytes
 zones under the first-level remaining bandwidth zone 316 .               when the outgoing network interface 406 is of the Ethernet
 Each guest room zone 318 may only have one or two current
 users, but the hotel 300 in this example has hundreds of 10 typeAgain
                                                                    .
                                                                        , although the bandwidth management system 400
  guest rooms and , due to the zone tree -structure, all of the is shown operating in a single direction from incoming
 current guest room users add up to form the total number of network interface 404 to outgoing network interface 406 , in
 current users of remaining bandwidth zone 316 .
    For illustration purposes, the upload direction (hotel to some configurations, there may be a similar structure in both
 ISP ) will be described and the rates / caps shown for each 15 upload and download directions. The bandwidth manage
 zone indicate the upload speeds in the following description . ment system 400 may be used to manage bandwidth in the
 However, these rates/ caps may also apply in the download      upload direction (hotel to ISP ) and / or download direction
 direction , or the download direction could have different (ISP to hotel) according to different configurations. Addi
 rates/caps for each zone. Regardless, the invention may be tionally, the incoming network interface 404 may in fact be
 used in both the upload and download directions or may be 20 a plurality of incoming network interfaces and the outgoing
 used only in a single direction depending upon the specific              network interface 406 may in fact be a plurality of outgoing
 bandwidth management requirements of the target applica -                network interfaces. Having multiple incoming and outgoing
 tion .                                                                   network interfaces 404 , 406 allows for redundant commu
      In this example , the hotel ISP pipe 302 has a total of 10          nication links in the event of a fault and also allows for
 Mbit/sec bandwidth provided by the ISP and each of the 25 higher overall bandwidth capacity by multiplying the num
  first-level reserved bandwidth zones 304 is guaranteed some             ber of interfaces by themaximum capacity of each interface .
 of that bandwidth . Even if each of the reserved bandwidth                  In operation , the zone enqueuing module 410 receives
 zones 304 is utilizing its full guaranteed rate , there is still an      network traffic from the incoming network interface 404 ,
 available 4 Mbit/sec remaining that may be shared among                  determines a belonging zone to which the network traffic
  the various first - level zones in the hotel.                        30 belongs , and enqueues the network traffic on a queue 408
    According to this configuration of the invention , the                corresponding to the belonging zone . For example , the zone
 available bandwidth is shared between zones at the same                  enqueuing module 410 may be implemented as one or more
 level in the zone tree . This means the 4 Mbit/ sec in the above         filters for classifying to which zone an Ethernet frame (or IP
 example will be shared between the first- level zones includ             packet, etc ) received from the incoming network interface
  ing the first meeting room zone 308 , the second meeting 35 404 belongs. In this example , when network traffic belongs
  room zone 310 , the penthouse suite zone 312 , the upgraded             to multiple zones, the zone enqueuing module 410 enqueues
  room zone 314 , and the remaining bandwidth zone 316 .                  the received network traffic in the queue 408 corresponding
 Even when sharing available bandwidth , if a zone has a                  to the lower - level belonging zone. For example , when
 bandwidth cap , that zone may not obtain any bandwidth network traffic belongs to both the first guest room zone
 above the cap level.                                  40 318a and the remaining bandwidth zone 316 , the zone
    Each zone has a quantum ( shown as example Q values                   enqueuing module 410 enqueues the network traffic on the
 indicated in FIG . 3 ) representing an amount ofbytes that can           first guest room queue 408a .
 be served at a single time from the zone and passed to a                     The zone enqueuing module 410 may determine the
 higher -level zone (or to the hotel ISP pipe 302 ). According            belonging zone by examining an IP or MAC address
 to this configuration of the invention , the quantums are             45 included in the network traffic and looking up in the user /
 dynamically adjusted according to the user load of each                  zone database 419 to see to which zone that IP or MAC
 zone , and the user load of each zone corresponds to the                 belongs . The mapping between IP or MAC address and the
  number of current users in the zone.                                    belonging zone may be stored in the user /zone database 419
    When each zone is implemented as one or more queues                   by the authentication server 418 when the user logs in to the
  enforcing rate and cap limits , the quantum indicates the 50 hotel ' s HSIA system . For example , when a guest staying in
 maximum number of bytes that can be dequeued (i.e .,                     “Guest room A ” successfully logs in using a laptop com
 removed from a particular queue) at one time. In some                    puter, the authentication server 418 may store the IP or MAC
 configurations, the cap limit may prevent the full quantum of            address utilized by the laptop computer as belonging to the
 bytes from being dequeued from a queue corresponding to                  first guest room zone 318a in user /zone database 419 .
  a particular zone if this would cause the bandwidth provided 55 Thereafter, the zone enqueuing module 410 enqueues
  to the zone to exceed its cap limit . In another configuration ,        received network traffic having the IP orMAC address of the
 as long as the data in the queue is sufficient, the quantum of           laptop computer on the first guest room queue 408a .
 bytes is always dequeued at once ; however, the frequency of               Depending on the direction of the network traffic , e . g .,
 dequeuing the quantum of bytes may be reduced in order to    upload or download, the IP or MAC address may be either
 limit the average bandwidth to the zone 's cap .          60 the source or destination address . For example , if incoming
      FIG . 4 illustrates a bandwidth management system 400               network interface 404 is coupled to the hotel ISP pipe 302 ,
 having a plurality of queues 408 where each individual                   the laptop ' s IP or MAC address may be the destination
  queue 408 respectively corresponds to one of the zones of               address of the network traffic. Alternatively, if the incoming
  FIG . 3 and includes a queue -specific quantum 409 according network interface 404 is coupled to the hotel' s LAN , the
  to an exemplary configuration of the invention . In this 65 laptop ' s IP orMAC address may be the source address of the
  example , the bandwidth management system 400 further                   network traffic . A similar process may be used by the zone
  includes an incoming network interface 404 , an outgoing                enqueuing module 410 to enqueue network traffic of other
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  zones on the appropriate queue 408 corresponding to the          particular zone . For example , when a guest connects a laptop
 zone that the network traffic belongs .                           computer to the hotel network and logs in to the HSIA
    In another configuration , the zone enqueuingmodule 410        system from “ Guest room B ” , the summation of how many
  performs port detection by accessing various intermediate        users are logged into the second guest room zone 318b will
  switches between the zone enqueuing module 410 and a user 5 be incremented by one. Additionally , because the remaining
 device in order to thereby track from which switch / port the     bandwidth zone 316 includes the second guest room zone
 network traffic originated . Each switch /port combination        318b , the summation ofhow many users are logged into the
 and belonging zone may be stored in the user / zone database      remaining bandwidth zone 316 will also be incremented by
 419. Other methods of correlating to which zone received
 network traffic belongs may also be used according to 10 oneIn. another example , the zone enqueuing module 410 logs
 application specific designs .                           data transmission activity by users in the activity log 416 . To
    Each queue 408 has a respective quantum 409 that
 determines how many bytes can be dequeued at a single time      determine the number of current users in a particular zone ,
 by the dequeuing module 412 . For example, with a round the quantum manager 420 queries the activity log 416 to sum
 robin dequeuing strategy and assuming all zones have data 15 how many users have received or sent network traffic within
 to send , all guaranteed rates have been met, and no zone has the particular zone during a last predetermined time period .
 exceeded its designated cap, the dequeuing module 412 For example, the current users may be defined as the number
 cycles one-by -one to each queue 408 at a particular tree       of different users who have sent or received at least one
 level and dequeues (i.e., removes ) the queue 's quantum        Ethernet frame (or IP packet, etc ) in the past ten minutes.
 number of bytes.                                             20 Ten minutes after a guest in Guest room B stops browsing
    Using the exemplary quantum Q values illustrated in FIG . the Internet from their laptop , the summation of how many
 3 as an example , for the first -level zones, the dequeuing users have sent/ received network traffic within the second
 module 412 dequeues 21,000 bytes of data from the first guest room zone 318b will be decremented by one . Addi
 meeting room queue 408c , then dequeues 7500 bytes of data        tionally, because the remaining bandwidth zone 316
  from the second meeting room queue 408d , then dequeues 25 includes the second guest room zone 318b , the summation
 60 , 000 bytes of data from the remaining bandwidth queue         of how many users have sent/received network traffic within
 408e , then dequeues 1500 bytes of data from the penthouse        the remaining bandwidth zone 316 will also be decremented
 suite queue 408f, then dequeues 1500 bytes of data from the       by one .
 upgraded room queue 408g, and then returns to again             In another example , the user monitor 414 periodically
 dequeue 21 , 000 bytes of data from the first meeting room 30 sends a ping to the IP address of network devices for each
  queue 308 , and so on . If the bandwidth management system       user. The user devices that have replied to the most recent
  400 is configured in the upload direction , the dequeued data    ping are stored in the user/zone database 419 . To determine
  is passed to the outgoing network interface 406 for trans -      the number of current users in a particular zone , the quantum
 mission to various destinations on the Internet via the hotel     manager 420 queries the user/zone database 419 to sum how
 ISP pipe 302 . If the bandwidth management system 400 is 35 many user devices in the particular zone have replied to the
 configured in the download direction , the dequeued data is most recent ping. For example, after a guest in Guest room
 passed to the outgoing network interface 406 for transmis -  B shuts off their laptop , the summation of how many user
 sion to various destinations on the hotel' s LAN .                devices have replied to the most recent ping from the second
   Although not illustrated in FIG . 4 , the zone dequeuing guest room zone 318b will be decremented by one. Addi
 module 412 may also extend between the second - level 40 tionally , because the remaining bandwidth Zone 316
 queues 408a , 408b and the first-level remaining bandwidth includes the second guest room zone 3186 , the summation
  queue 408e. Again using the example quantum Q values             of how many user devices have replied to the most recent
  illustrated in FIG . 3 , a similar round robin dequeuing         ping from the remaining bandwidth zone 316 will also be
 strategy may be employed by the dequeuing module 406 at decremented by one .
 the second- level to dequeue 1500 bytes of data from the first 45 Combinations of the above methods of determining the
  guest room queue 408a , then dequeue 1500 bytes of data          number of current users in each zone may also be employed .
  from the second guest room queue 408b , and then return to       Additionally , as previously mentioned , in other configura
  again dequeue 1500 bytes of data from the first guest room       tions current users may refer to current human users rather
  queue 408a , and so on . Each set of dequeued data is            than current user devices . As each human user may be
  thereafter enqueued on the remaining bandwidth queue 50 associated in a database with one or more user devices ( e . g .,
 408e , i.e ., the queue 408e corresponding to the next higher -   a single hotel guest may be utilizing both a mobile phone
 level parent zone being the remaining bandwidth zone 316          and a tablet computer to access the Internet), the summation
  in this example .                                                indicating how many current users are in a particular zone in
     The quantum manager 420 dynamically adjusts the quan          these configurations may be less than the above-described
 tum values 409 of each queue 408 according to user load of 55 examples based on the number of user devices in the
 the particular zone to which the queue 408 corresponds. In        particular zone.
 this example , the user load of each zone corresponds to a           The plurality of zone queues 402 shown in the example
 summation of how many current users are in the zone . The         block diagram of FIG . 4 may be implemented using a
  current users may be the active users that are competing for     hierarchical token bucket (HTB ) queuing discipline ( qdisc )
 available bandwidth in the zone, which includes all child - 60 including an HTB for each queue 408 . Using an HTB to
 zones under the zone.                                          implement each queue 408 allows for easy configuration of
    To allow the quantum manager 420 to determine how              a rate , ceiling ( cap ), and quantum for each queue 408 as
 many current users are in a particular zone , in a first          these parameters are already supported by HTB based
 example , the authentication server 418 manages logged in         queues . Although not illustrated , a stochastic fairness queu
 users of each zone and stores this information in the user/ 65 ing ( SFQ ) qdisc may also be included for each user at the
 zone database 419 . The quantum manager 420 queries the           leaf zones 408a ,b ,c ,d , f, g to ensure fairness between the
 database 419 to sum how many users are logged in to the           different connections for the user. Linux based HTB and
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                             13                                                                 14
  SFQ qdiscs are well-known in the art and further description      rate or has already exceeded its full guaranteed rate , the zone
 of their operation and configuration is omitted herein for         dequeuing module 406 may place both the remaining band
 brevity.                                                           width queue 408e and penthouse suite queue 408f at a same
    FIG . 5 illustrates a quantum calculation table describing      priority in a round robin dequeuing order. In this situation ,
  a calculation process that the quantum manager 420 utilizes 5 the remaining bandwidth zone 316 benefits by having up to
  in an exemplary configuration to calculate the quantums 409       60, 000 bytes dequeued and passed to the outgoing interface
 for each queue 408 according to the number of current users        406 each time around whereas the penthouse suite zone 314
 per zone as shown in FIG . 3.                                      will only have up to 1500 bytes dequeued and passed to the
    In this configuration , the quantums 409 are dynamically        outgoing interface 406 each time around .
 adjusted in proportion to the total number of current users 10        Assuming all guaranteed bandwidth rates have been met,
  (i.e ., user load ) under each zone . To beneficially increase    the more current users in a zone , the more bytes that are
  efficiency, a minimum possible quantum is the MTU 426             dequeued each time from that zone 's queue 408 by the zone
  and all quantums 409 are rounded up to their nearest positive     dequeuing module 412. This is beneficial to prevent starva
 integer multiple of theMTU 426 . This allows dequeued data        tion of users who are in zones with a large number of other
 to be transmitted by the outgoing network interface 406 15 active users such as the remaining bandwidth zone 316 of
 using one or more full capacity transport units ( e. g ., frames, FIG . 3 . Zones having a very low number of active users such
 packets, messages , etc ). To prevent excessive monopoliza - as the penthouse suite zone 312 and the upgraded room zone
 tion of the shared ISP pipe 302 , a maximum possible         314 receive much lower quantum values . In this way, the
 quantum is limited according to the maximum quantum ratio    quantum 409e for the remaining bandwidth queue 408e is
 422 multiplied by the MTU 426 . This limits the number of 20 forty times the quantum 409f of the penthouse suite queue
 concurrent MTU sized transport units that will be sent in a        408f When the penthouse suite zone 312 is borrowing
 row from a single queue 408 . Additionally , to increase           available bandwidth over and above its guaranteed rate of 1
 responsiveness , when possible the quantums 409 are mini -         Mbit/sec , due to the large number of current users under the
 mized while maintaining their relative ratios. This increases      remaining bandwidth zone 316 , the zone dequeuing module
  the frequency with which the zone dequeuing module 412 25 412 will dequeue and pass to the outgoing network interface
  cycles through the queues 408 such as in a round robin order . 406 forty times more data from the remaining bandwidth
 In other implementations, different quantum optimization         queue 408e than from the penthouse suite queue 408f.
 rules may be used .                                                Even though the penthouse suite zone 312 has a guaran
    In this example , the maximum quantum ratio 422 is            teed bandwidth rate and a higher bandwidth cap than the
 predetermined at 1: 40 . Taking the above advantageous quan - 30 remaining bandwidth zone 316 , the remaining bandwidth
 tum optimization rules into consideration , the maximum            zone 316 receives preferentialtreatment when sharing avail
 value quantum is therefore forty times the MTU 426 , which         able bandwidth due to having a larger user load than the
 corresponds to forty full sized Ethernet frames of data            penthouse suite zone 312 . As the guest room zones 318 are
  (maximum of 60 ,000 bytes of data ) being sent in a row from      under the remaining bandwidth zone 316 in the tree -struc
  the outgoing network interface 406 . The MTU of Ethernet is 35 ture of FIG . 3 , the individual users in the various guest room
  1500 bytes and therefore a minimum possible quantum is            zones 318 benefit because all their network traffic is subse
  1500 bytes and all quantums are rounded to multiples of           quently enqueued on the remaining bandwidth queue 408e
  1500 bytes .                                                      before being dequeued and passed to the outgoing network
    With reference to FIG . 5 , column 500 indicates the            interface 406 by the zone dequeuing module 412 . Network
  zone /queue name and column 502 indicates the user load of 40 traffic to / from these users depending on the configured
 the zone being the number of current users in this example .       direction ( s ) therefore spends less time waiting on the queues
  Column 504 indicates a scale factor that the user load of         408a , 408 , 408e of the unreserved bandwidth zones 306
 each zone is multiplied with such that the maximum user because of the higher quantum 409e allocated to remaining
 load (“ 192 ” current users in this example ) is scaled to the bandwidth queue 408e.
 maximum possible quantum (“ 60 ,000 " bytes in this 45 Available bandwidth shared between the zones may be the
  example ). Column 506 indicates a calculated scaled quan -        leftover ISP pipe 302 bandwidth after all zones utilize up to
 tum for each zone being the scale factor of column 504             their reserved rates . The zone dequeuing module 412 first
 multiplied by the user load of column 502 . Because the            ensures that all the zones having reserved rates get the
 calculated scaled quantumsof column 506 are not multiples          amount of bandwidth they need up to their reserved rates ,
 of the MTU 426 , column 508 indicates how many fullMTU 50 then all zones share the remaining available bandwidth up to
 426 sized frames would be required to transmit the calcu -         their caps (i.e., ceilings). The dynamic quantums 409
  lated scaled quantum of data in column 506 . Column 510           adjusted according to the user load of zone are particularly
  indicates a final rounded quantum value being the value of        useful when sharing bandwidth that exceeds guaranteed
  column 508 multiplied by the MTU 426 . As the number of           rates because zones having higher numbers of current users
 current users in each zone of FIG . 3 changes over time, the 55 receive more of the available bandwidth than zones with
 quantum manager 420 correspondingly recalculates the lower numbers ofcurrent users . As previously explained ,the
 quantums of column 510 according to the above -described current users of each zone may be the active users that have
 process .                                                       recently sent or received network traffic and are therefore
    Taking the penthouse suite zone 312 as an example, currently competing for bandwidth .
 because the penthouse suite zone 312 has a guaranteed rate 60 FIG . 6 illustrates a quantum calculation table describing
 of 1 Mbit / sec , the zone dequeuing module 412 may more     a calculation process that the quantum manager of FIG . 4
 frequently dequeue 1500 bytes from the penthouse suite utilizes to calculate the quantums 409 for each queue 408
  queue 408f when the users in the penthouse suite zone 312         according to another example of numbers of current users of
 have traffic to send ( and/ or receive depending on the appli-     the zones shown in FIG . 3 . Column 600 indicates the
  cable direction of the guaranteed rate ) and the guaranteed 65 zone/ queue name and column 602 indicates the number of
  rate has not yet been met. However, when either the pent-         current users per zone. As shown in this example , the hotel
 house suite zone 312 does not need to utilize its guaranteed        300 is almost vacant and there are only a few users in each
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                               15                                                                  16
 zone . In this configuration , for any zones having “ O ” users    the greatest user load while also maximizing the interactivity
 in column 602 , the quantum manager 420 assumes that at            of all zones by minimizing the quantums 409.
 least “ 1 ” user is present. Although there may initially be no       In an advantageous configuration , the quantum manager
 users in the zone , if the quantum is set to 0 bytes, should the   420 automatically checks the ratio between the minimum
 zone gain a user before the quantums 409 are next adjusted , 5 user load and the maximum user load and utilizes the best
 the queue 408 corresponding to the zone will not have any          type of scaling factor. For example , the quantum manager
 data dequeued by the zone dequeue module 412 . Addition            420 may be configured to scale the quantums 409 such that
 ally , when there are zero users in the zone, the queue 408        a smallest quantum is the MTU 426 of the outgoing network
 corresponding to the zone will not have network traffic to         interface 406 when a ratio of the minimum user load to the
 dequeue in the first place, so it is not necessary to set the 10 maximum user load is less than a predetermined threshold
  quantum to 0 bytes.                                               ratio 422, and to scale the quantums 409 such that the largest
     Column 604 indicates a scale factor that the user load of      quantum is a predetermined maximum amount when the
  each zone is multiplied with such that the minimum user           ratio of the minimum user load to the maximum user load is
 load (“ 1” current users in this example ) is scaled to the greater than the predetermined threshold ratio 422 .
 minimum possible quantum , which is 1500 bytes in this 15 FIG . 7 illustrates a beneficial organization of bandwidth
 example (i. e ., the MTU 426 of Ethernet ). Column 606      zones in a conference center 700 according to another
 indicates a calculated scaled quantum for each zone being   exemplary configuration of the invention . In this example ,
  the scale factor of column 604 multiplied by the user load of     the conference center 's ISP connection 702 provides a total
  column 702 . Because the calculated scaled quantums of            bandwidth of 50 Mbit/sec shared between a number of room
  column 606 are already multiples of the MTU 426 , no 20 zones 704 , 706 , 708 , 710 such as differentmeeting rooms or
  further calculations are required and column 606 represents    conference rooms. All the zones 704 , 706 , 708 , 710 are at the
  the final quantums 409 . Again , in this example the remaining first-level of the tree-structure and have equal guaranteed
 bandwidth zone 316 receives a higher quantum but now it is         bandwidth rates of 2 Mbit/sec and equal bandwidth caps of
 only 3 . 5 times that of the penthouse suite zone 312 . The        44 Mbit/sec . Although not illustrated , a bandwidth manage
 reason is the two zones 316 , 312 now only have a 3 . 5 times 25 ment system similar to that illustrated in FIG . 4 may be
 differential in their respective users loads and therefore the employed at the conference center 700 in order to allocate
 remaining bandwidth zone 316 receives a corresponding available bandwidth between the zones 704 , 706 , 708, 710
 ratio of preferential treatment by the zone dequeuing module according to the quantum of each zone.
 412.                                                                 The reason equal rates and caps are used in this example
    Concerning the different types of scale factors in columns 30 is to illustrate how the quantums Q may be adjusted for each
 504, 604, the scale factor illustrated in column 504 of FIG . zone 704, 706 , 708 , 710 according to user load even when
  5 causes the quantum 409 of the queue 408 corresponding to        all zones are entitled to the same share of the overall
  the zone with the maximum user load to be set at the              conference center bandwidth 702 . However, similar to the
 maximum quantum value (60 , 000 bytes in this example ).           previous example , the below -described techniques may also
  This type of scale factor is particularly usefulwhen the ratio 35 be employed when the rates and caps of the zones 704 , 706 ,
 between the minimum user load (rounded up to “ 1” if “ O ” )       708 , 710 are different and dynamically changing as different
 to the maximum user load is greater than the maximum               meetings begin and end , for example .
 quantum ratio 422 . For example , in the above examples , the         In the conference center 700 , users are given a basic
 maximum quantum ratio 422 is 1 : 40 . Therefore , because the      individual bandwidth cap of 256 kbit /sec and have the
  ratio of the minimum user load of “ 1 ” in column 502 of FIG . 40 option to upgrade to a higher individual bandwidth cap of
  5 to the maximum user load of " 192 ” in column 502 of FIG .      1024 kbit /sec. FIG . 7 indicates an example situation where
 5 is greater than 1 : 40 , the scale factor 504 scales the         the first room zone 704 has forty users at the basic band
 quantums to the maximum range so that the ratio between            width cap of 256 kbit / sec , the second room zone 706 has
  the minimum quantum and the largest quantum meets the             forty users at the upgraded bandwidth cap of 1024 kbit/sec ,
 maximum quantum ratio 422 (“ 1 :40 ” in this example ). This 45 the third room zone 708 has twenty - seven users at the basic
  gives the greatest amount of preferential treatment to the        bandwidth cap of 256 kbit / sec and thirteen users at the
 zone having the greatest user load without allowing that           upgraded bandwidth cap of 1024 kbit/sec , and the fourth
 zone to monopolize the hotel' s ISP connection by sending room zone 710 has thirteen users at the basic bandwidth cap
 more than forty full MTU sized Ethernet packets in a row . of 256 kbit / sec and twenty -seven users at the upgraded
   In contrast, the scale factor illustrated in column 604 of 50 bandwidth cap of 1024 kbit/sec .
  FIG . 6 causes the quantum 409 of the queue 408 corre               FIG . 8 illustrates a quantum calculation table describing
 sponding to the zone with the minimum user load ( rounded          a calculation process that a quantum manager may utilize to
 up to “ 1” if “ O " ) to be set at the MTU 422 of the outgoing     calculate the quantums for each zone shown in FIG . 8 when
 network interface (e . g ., 1500 bytes in this example ). This     user load corresponds to a summation of user caps of the
 type of scale factor is particularly useful when the ratio 55 current users in each zone .
 between the minimum user load (rounded up to “ 1 ” if “ 0 ” )         Column 800 indicates the zone /queue name, column 802
 to the maximum user load is not greater than the maximum           indicates the number of current users capped at 256 kbit/sec ,
  quantum ratio 422 . For example , assuming again that the         and column 804 indicates the number of current users
 maximum quantum ratio 422 is 1: 40 , because the ratio of the capped at 1024 kbit /sec . Column 806 indicates the user load
 minimum user load of “ 1 ” in column 602 of FIG . 6 to the 60 of each zone being the summation of individual user caps
 maximum user load of “ 7 ” in column 602 of FIG . 6 is not         (i.e., the number of users in column 802 multiplied by 256
 greater than 1: 40 , the scale factor 604 scales the quantums      kbit/ sec plus the number of users in column 804 multiplied
 to multiples of the MTU 422 while ensuring that the ratio          by 1024 kbit/ sec ).
 between the minimum quantum and the largest quantum is                Because the ratio of the minimum user load (“ 10240 ” in
 the same as the ratio between the minimum user load 65             this example ) to maximum user load (“ 40960 ” in this
 (rounded up to “ 1” ifo ) to themaximum user load . This give      example ) is less than the maximum quantum ratio 422
 the exact ratio of preferential treatment to the zone having       (“ 1 : 40 ” in this example ), column 808 indicates a scale factor
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                               17                                                               18
  that the user load of each zone is multiplied with such that         In another configuration , the belonging zone may be
 the minimum user load (“ 10240 ” in this example ) is scaled             determined by querying intermediate devices such as
 to theMTU of an outgoing network interface ( 1500 bytes in               intermediate switches , routers , gateways , etc for
  this example ).                                                        zone identification information such as source/ des
    Column 810 indicates a calculated scaled quantum for 5               tination port numbers or interface identifiers in order
  each zone being the scale factor of column 808 multiplied by           to determine the belonging zone. For example , an
 the user load of column 806 . Because the calculated scaled              intermediate switch may be queried using simple
  quantums of column 810 are not multiples of the MTU ,                  network management protocol (SNMP ) to determine
  column 812 indicates a final rounded quantum value being               to which port a device having an IP address included
 the value of column 810 rounded to the nearest multiple of 10            in the network traffic is associated . The belonging
 the MTU .                                                               zone is then determined according to the associated
     The higher the summation of individual user caps in a                switch port (i.e., each switch port may correspond to
  zone, the more bytes that are dequeued each time from that              a particular zone ).
 zone 's queue . This is beneficial to prevent starvation of users   Step 904 : The network traffic is enqueued on the queue
 who are sharing zones with a large number of other active 15          corresponding to the belonging zone. For example , a
  users . Additionally , rather than only judging user load            zone enqueuing module 410 such as that illustrated in
 according to number of users , this configuration also takes          FIG . 4 may enqueue network traffic received at step
 into account individual user caps . This helps increase user          902 on the queue 408 corresponding to the belonging
  satisfaction because as users in a zone upgrade to higher            zone determined at that step .
  individual bandwidth caps, the zone to which they belong 20        Step 906 : A user load of each zone is tracked . In one
 has higher user load and may therefore receive a larger               example , the user load of a zone corresponds to a
 quantum value. The higher the total user caps in a zone, the          summation indicating how many current users are in
 higher each individual user ' s effective bandwidth will be           the zone. Current users per zone may defined and
 when the zone shares available bandwidth with other zones .           tracked in a number of ways including active ports per
    FIG . 9 illustrates a flowchart describing a method of 25          zone, number of logged in users per zone, number of
  allocating bandwidth in a system having a plurality of               outgoing or incoming connections per zone, number of
  queues respectively corresponding to a plurality of zones            traffic packets / frames per zone , active users who have
  according to an exemplary configuration of the invention .           sent/ received network traffic , users who have replied to
  The steps of the flowchart are not restricted to the exact           a recent ping request, or any combination of any of the
 order shown , and , in other configurations, shown steps may 30       above. Additionally , a time window may be utilized
 be omitted or other intermediate steps added . In this con            such as the past 10 minutes and /or the number of
  figuration , a bandwidth management system performs the              current users may be periodically determined once per
  following operations :                                               time window . In another example , the user load of a
    Step 900 : A plurality of queues are provided , where each         zone may further take into account individual attributes
       queue corresponding to a bandwidth zone. The zones 35           of users in the zone. For example, user load of a zone
      may be allocated once upon initial configuration , or            may correspond to a summation of individual user caps
      may be changed dynamically throughout operation                  of the current users in the zone . In another example,
      according to different requirements . For example , a            user load of a zone may correspond to a summation of
      meeting room rate /cap may be changed as different               how much data current users in the zone have recently
      meetings begin and end . The zones may be defined 40             sent or received (e . g ., in the past 10 minutes ). In
      and/or identified using different LANs, VLANs, switch            another example , user load of a zone may correspond
       port numbers , pass codes , zone codes , usernames ,            to the amount of user network traffic currently
       service set identifiers (SSIDs), room numbers, names of         enqueued on one or more queues corresponding to the
       physical areas , IP and other addresses, etc .                  zone . When the zones are organized in a multi-level
    Step 902 : Network traffic is received , and a belonging 45        zone tree - structure , the user load of a particular zone
       zone to which the network traffic belongs is deter              may include the user load of all lower -level zones under
      mined . For example , the belonging zone may be the              the particular zone.
       source zone from which the network traffic originated         Step 908 : For each queue, a quantum of data that can be
      or the destination zone for which the network traffic is         dequeued together is dynamically adjusted according to
      destined . The belonging zone may be determined by 50            the user load of the zone to which the queue corre
       examining zone identification information included in           sponds . For example , a quantum manager may dynami
       each received packet/frame such as IP addresses ,MAC            cally adjust how many bytes will be dequeued from
      addresses, cookie information , VLAN tag, or other               each zone according to the user load per zone as tracked
      information . This zone identification information may           at step 906 . In general, zones having higher user loads
      be correlated to the correct belonging zone in a data - 55       will have the capability to transfer larger numbers of
      base . Due to a zone tree - structure , network traffic may      bytes when dequeuing traffic . This is beneficial to
      in fact belong to several zones at different levels of the       prevent zones having low user loads but high guaran
      tree -structure, for example , to both remaining band            teed rates and /or bandwidth caps from getting a dis
      width zone 316 and one of guest room zones 318                   proportionate amount of available bandwidth that is
      illustrated in FIG . 3 . In this example, the database 60        being shared with other zones having high current user
      associates zone identification information with a single         loads . As the user loads of the zones change over time,
      belonging zone being the lowest belonging zone                   the quantums may be automatically adjusted to give
      according to the tree - structure . For instance , depending     preferential treatment to the zones according to their
      on the configured direction , network traffic to / from          new user loads.
       guest room A is determined by the zone enqueuing 65           Step 910 : Data is selectively dequeued from the queues
      module 410 to belong to the guest room A zone 318a               and passed to one or more outgoing network interfaces .
       (i.e., the lowest-level belonging zone).                        When selectively dequeuing data from the queues , an
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                                                        US 9,871,738 B2
                            19                                                                         20
       amount of data is dequeued from a selected queue                 multiple users who don 't have any reserved bandwidth
       according to the quantum of the queue determined at              under other zones (e .g., guest rooms zones).
       step 908 . As explained above , the quantum of the                   In an exemplary configuration , a bandwidth management
       selected queue is determined according to user load of            system includes a plurality of queues respectively corre
       the zone to which the selected queue corresponds. In 5 sponding to a plurality of zones . An enqueuing module
       one usage example , the queues are selected one by one            receives network traffic from one or more incoming network
       (e .g ., in a round robin order ), and up to the selected         interfaces, determines a belonging zone to which the net
       queue ' s quantum of data is dequeued from each queue            work traffic belongs , and enqueues the network traffic on a
       while also ensuring any bandwidth reservations and/ or            queue corresponding to the belonging zone . A dequeuing
       caps of the zones are complied with . By still ensuring 10 module selectively dequeues data from the queues and
       that bandwidth reservations and/ or caps of the zones            passes the data to one or more outgoing network interfaces .
       are complied with , the invention may be beneficially             When dequeuing data from the queues the dequeuing mod
       used in combination with and to enhance existing                  ule dequeues an amount of data from a selected queue, and
       bandwidth management systems employing rates and                  the amount of data dequeued from the selected queue is
       caps.                                                          15 determined according to user load of a zone to which the
    An advantage of the invention is that it allows a hotel to                          ? ?
  limit bandwidth utilization on a zone -by -zone basis such as            Although the invention has been described in connection
 by defining each guest room to be a zone with its own                  with a preferred embodiment, it should be understood that
  reserved bandwidth rate /cap . The zone tree - structure also          various modifications, additions and alterations may be
 allows a first - level zone to include a number of second -level 20 made to the invention by one skilled in the art without
 zones , which advantageously allows second-level zones that             departing from the spirit and scope of the invention as
 may individually have low user loads to accumulate their                defined in the appended claims. For example, although the
 user loads together in a single first- level zone and gain              invention has been described as being utilized at a hotel, the
 preferential treatment. According to the zone tree - structure ,        invention is equally applicable to any hospitality related
 zones dequeue an amount of data to pass to destinations 25 location or service wishing to allocate available bandwidth
 being either a next higher- level zone or one or more desti -     between multiple users including but not limited to hotels ,
 nation network interface ( s ) in proportion to their user loads. motels , resorts , hospitals , apartment/ townhouse complexes,
 By enqueuing network traffic from a plurality of second           restaurants , retirement centers , cruise ships, busses, airlines,
 level zones into a single queue of their corresponding         shopping centers, passenger trains, etc . The exemplary user
 first-level zone , users of the second -level zones receive 30 of " guest" is utilized in the above description because
  increased bandwidth when data of the first -level queue is    customers of hospitality establishments are generally
 dequeued in larger amounts . Zones having higher user loads             referred to as guests ; however , the exemplary user of “ guest"
 may advantageously receive more of the available band                   in conjunction with the invention further includes all types
 width , which prevents individual users under these zones               of users whether or not they are customers. The invention
  from being starved . Another advantage of the invention is 35 may also be beneficially employed in other applications
 that because rates and caps of zones and individual users               outside the hospitality industry such as by conference cen
  continue to be enforced , the invention is compatible with             ters , corporations, or any other entity wishing to allocate
 many existing bandwidth management techniques . Yet                     available bandwidth shared between a plurality of users .
  another advantage is that when a zone having a reserved                   The various separate elements , features , and modules of
 bandwidth rate and / or cap does not need to use up to its 40 the invention described above may be integrated or com
  reserved bandwidth rate /cap (e . g ., when the users in the zone     bined into single units . Similarly , functions of single mod
 are not using the Internet ), the unneeded bandwidth may be             ules may be separated into multiple units . The modules may
  shared among other zones according to the relative user               be implemented as dedicated hardware modules, and the
 loads of the other zones. More of the available bandwidth is           modules may also be implemented as one or more software
 thereby beneficially allocated to zones having higher current 45 programs executed by a general or specific purpose proces
 user loads . As user loads of the zones change over time, the    sor to cause the processor to operate pursuant to the software
 amount of data to be dequeued from their respective queues              program to perform the above -described module functions.
  is dynamically updated.                                                For example , the bandwidth management system 400 of
     Adjusting the quantum 409 of each queue 408 in propor -             FIG . 4 may be implemented by a computer server having
 tion to the user load of its corresponding zone helps prevent 50 one or more processors 430 executing a computer program
 bandwidth starvation of users without guaranteed rates . For loaded from a storage media (not shown ) to perform the
 instance , users under a zone with a relatively lower user load  above -described functions of the zone enqueuing module
 have less competition for bandwidth allocated to that zone .           410 , quantum manager 420 , and zone dequeuing module
  In contrast, users under a zone having a relatively higher             412 . Likewise , the flowchart of FIG . 9 may be implemented
 user load will have more competition for bandwidth allo - 55 as one or more processes executed by dedicated hardware,
  cated to that zone and the data in its queue 408 (and in any           and may also be implemented as one or more software
 higher levelparent queue (s) 408 ) will therefore tend to build         programs executed by a general or specific purpose proces
 up more quickly . To help prevent bandwidth starvation of               sor to cause the processor to operate pursuant to the software
  these users and increase the fairness ofbandwidth allocation           program to perform the flowchart steps . A computer-read
 between zones , the quantum manager 420 dynamically 60 able medium may store computer executable instructions
 allocates quantums 409 to the queues 408 such that queues that when executed by a computer cause the computer to
 408 corresponding to zones having lower user loads receive             perform above -described method steps of FIG . 9 . Examples
  smaller quantums 409 , and queues 408 corresponding to                 of the computer-readable medium include optical media
 zones having higher user loads receive larger quantums 409 .  (e . g ., CD - ROM , DVD discs), magnetic media ( e .g ., hard
 In this way , a single user who is trying to utilize large 65 drives, diskettes ), and other electronically readable media
 amounts of bandwidth over and above his guaranteed rate in    such as flash storage devices and memory devices ( e . g .,
  a first zone (e. g., meeting room ) will not negatively impact        RAM , ROM ). The computer-readable medium may be local
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                                                      US 9,871,738 B2
                               21
  to the computer executing the instructions, or may be remote           an authentication server for managing logged in users ;
 to this computer such as when coupled to the computer via               wherein the one or more current users in the particular one
 a computer network . In one configuration , the computer is a              of the plurality of bandwidth zones correspond to the
 computer server connected to a network such as the Internet                logged in users of the particular one of the plurality of
 and the computer program stored on a hard drive of the 5                   bandwidth zones.
 computer may be dynamically updated by a remote server                  5 . The bandwidth management system of claim 3 , further
 via the Internet. In addition to a dedicated physical comput          comprising:
 ing device , the word “ server” may also mean a service                 a log for logging network traffic activity ;
 daemon on a single computer, virtual computer, or shared                wherein the one ormore current users in the particular one
 physical computer, for example . Unless otherwise specified , 10          of the plurality of bandwidth zones are users who have
  features described may be implemented in hardware or                     received or sent network traffic during a last predeter
  software according to different design requirements . Addi               mined time period according to the log.
 tionally , all combinations and permutations of the above
                                                                6 . The bandwidth management system of claim 3 , further
  described features and configurations may be utilized in 15 comprising
 conjunction with the invention .                                         :
                                                                         a user monitor for sending a ping to users ;
   What is claimed is :                                                  wherein the one or more current users in the particular one
    1. A bandwidth management system for allocating band                    of the plurality of bandwidth zones are users who
 width between a plurality of bandwidth zones at an estab                  replied to the ping.
 lishment serving a plurality of users , each of the plurality of 20     7. The bandwidth management system of claim 1 ,
 bandwidth zones having a number of users competing for                wherein a user load of a particular one of the plurality of
 bandwidth allocated thereto , the bandwidth management                bandwidth zones comprises a summation of bandwidth caps
 system comprising :                                                   of current users in the particular one of the plurality of
    a computer server providing a first queue and a second bandwidth zones.
      queue , wherein the first queue queues first data asso - 25 8 . The bandwidth management system of claim 1 ,
       ciated with a first bandwidth zone of the plurality of wherein the computer server is further operable to scale the
      bandwidth zones, and the second queue queues second         first amount and the second amount relative to one another
      data associated with a second bandwidth zone of the such that a smallest of the first amount and the second
      plurality of bandwidth zones ; and                         amount corresponds to a maximum transmission unit (MTU )
    a computer readable medium storing a plurality of soft- 30 of the one or more outgoing network interfaces.
      ware instructions for execution by the computer server ;           9 . The bandwidth management system of claim 1 ,
    wherein , by the computer server executing the plurality of        wherein the computer server is further operable to scale the
      software instructions loaded from the computer read -            first amount and the second amount relative to one another
      ablemedium , the computer server is operable to repeat           such that a largest of the first amount and the second amount
      edly dequeue a first amount of the first data from the 35 corresponds to a multiple of a maximum transmission unit
      first queue and a second amount of the second data               (MTU ) of the one or more outgoing network interfaces.
      from the second queue, and pass the first amount of the             10 . The bandwidth management system of claim 1 ,
      first data and the second amount of the second data to           wherein the computer server is further operable to round
      one or more outgoing network interfaces ; and             each of the first amount and the second amount to a multiple
    the computer server is further operable to automatically 40 of a maximum transmission unit (MTU ) of the one ormore
      adjust the first amount and the second amount over time          outgoing network interfaces.
      such that the first amount is larger than the second                11 . A method of allocating bandwidth between a plurality
      amount while the first bandwidth zone has a higher user          ofbandwidth zones at an establishment serving a plurality of
      load than the second bandwidth zone, and such that the           users , each of the plurality of bandwidth zones having a
       first amount is smaller than the second amount while 45 number of users competing for bandwidth allocated thereto ,
      the first bandwidth zone has a lower user load than the          the method comprising :
      second bandwidth zone ; wherein user load of the first             providing a first queue and a second queue , wherein the
      bandwidth zone is determined according to a number of                 first queue queues first data associated with a first
       first users competing for bandwidth in the first band               bandwidth zone of the plurality of bandwidth zones,
      width zone, and user load of the second bandwidth zone 50            and the second queue queues second data associated
       is determined according to a number of second users                 with a second bandwidth zone of the plurality of
       competing for bandwidth in the second zone.                         bandwidth zones;
    2 . The bandwidth management system of claim 1 ,                     repeatedly dequeuing a first amount of the first data from
 wherein :                                                                  the first queue and a second amount of the second data
   at least one of the first bandwidth zone and the second 55               from the second queue , and passing the first amount of
       bandwidth zone is a first- level zone that includes a                the first data and the second amount of the second data
      plurality of second -level zones; and                                 to one ormore outgoing network interfaces; and
    the computer server is further operable to calculate a user          automatically adjusting the first amount and the second
       load of the first - level zone by accumulating a plurality           amount over time such that the first amount is larger
      of user loads of the plurality of second- level zones. 60             than the second amount while the first bandwidth zone
    3 . The bandwidth management system of claim 1,                         has a higher user load than the second bandwidth zone ,
 wherein a user load of a particular one of the plurality of                and such that the first amount is smaller than the second
 bandwidth zones comprises a summation of one or more                       amountwhile the first bandwidth zone has a lower user
 current users in the particular one of the plurality of band               load than the second bandwidth zone; wherein user
 width zones.                                                 65            load of the first bandwidth zone is determined accord
    4 . The bandwidth management system of claim 3 , further                ing to a number of first users competing for bandwidth
  comprising:                                                               in the first bandwidth zone, and user load of the second
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                               23                                                                  24
       bandwidth zone is determined according to a number of             19 . The method of claim 11, further comprising rounding
       second users competing for bandwidth in the second             each of the first amount and the second amount to a multiple
       zone.                                                    of a maximum transmission unit (MTU ) of the one or more
    12 . The method of claim 11 , wherein :                     outgoing network interfaces .
    at least one of the first bandwidth zone and the second 5 20 . An apparatus for allocating bandwidth between a
       bandwidth zone is a first-level zone that includes a     plurality of bandwidth zones at an establishment serving a
       plurality of second - level zones; and
    the method further comprises calculating a user load of plurality of users , each of the plurality of bandwidth zones
       the first-level zone by accumulating a plurality of user having a number ofusers competing forbandwidth allocated
       loads of the plurality of second -level zones.                 thereto , the apparatus comprising :
    13 . The method of claim 11 , further comprising deter              a storage device ;
 mining a user load of a particular one of the plurality of             a network interface ; and
 bandwidth zones by calculating a summation of one or more              a processor coupled to the storage device and the network
 current users in the particular one of the plurality of band              interface ;
 width zones .                                                          wherein , by the processor executing software instructions
     14 . The method of claim 13 , further comprising:          15         loaded from the storage device, the processor is oper
    providing an authentication server for managing logged in              able to :
        users ;                                                            provide a first queue and a second queue , wherein the
    wherein the one or more current users in the particular one               first queue queues first data associated with a first
        of the plurality of bandwidth zones corresponds to the
       logged in users of the particular one of the plurality of 20          bandwidth zone of the plurality of bandwidth zones ,
       bandwidth zones .                                                     and the second queue queues second data associated
     15 . The method of claim 13 , further comprising :                      with a second bandwidth zone of the plurality of
    logging network traffic activity in a log ;                              bandwidth zones ;
    wherein the one or more current users in the particular one            repeatedly dequeue a first amount of the first data from
      of the plurality of bandwidth zones are users who have 25               the first queue and a second amount of the second
       received or sent network traffic during a last predeter                data from the second queue , and pass the first amount
       mined time period according to the log .                               of the first data and the second amount of the second
     16 . The method of claim 11, wherein a user load of a                    data to the network interface ; and
  particular one of the plurality of bandwidth zones comprises             automatically adjust the first amount and the second
  a summation of bandwidth caps of current users in the 30                   amount over time such that the first amount is larger
 particular one of the plurality of bandwidth zones .                        than the second amount while the first bandwidth
     17 . The method of claim 11, further comprising scaling                 zone has a higher user load than the second band
 the first amount and the second amount relative to one                      width zone, and such that the first amount is smaller
 another such that a smallest of the first amount and the                    than the second amount while the first bandwidth
 second amount corresponds to a maximum transmission unit 35                 zone has a lower user load than the second band
 (MTU ) of the one or more outgoing network interfaces .                     width zone ; wherein user load of the first bandwidth
     18 . The method of claim 11 , further comprising scaling                zone is determined according to a number of first
 the first amount and the second amount relative to one                      users competing for bandwidth in the first bandwidth
 another such that a largest of the first amount and the second              zone , and user load of the second bandwidth zone is
 amount corresponds to a multiple of a maximum transmis - 40                 determined according to a number of second users
  sion unit (MTU ) of the one or more outgoing network                       competing for bandwidth in the second zone .
  interfaces .                                                                              *   *   *   *    *
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                       Exhibit E
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           7KLV8VHU*XLGHLVSURWHFWHGE\86FRS\ULJKWODZV<RXPD\QRWWUDQVPLWFRS\
           PRGLI\RUWUDQVODWHWKLVPDQXDORUUHGXFHLWRUDQ\SDUWRILWWRDQ\PDFKLQHUHDGDEOH
           IRUPZLWKRXWWKHH[SUHVVSHUPLVVLRQRIWKHFRS\ULJKWKROGHU
Case 1:18-cv-01394-RGA Document 1-1 Filed 09/07/18 Page 97 of 476 PageID #: 140




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         Trademarks

         7KH       V\PERO                          DQG1RPDGL[6HUYLFH(QJLQHDUHUHJLVWHUHG
         WUDGHPDUNVRI1RPDGL[,QF$OORWKHUWUDGHPDUNVDQGEUDQGQDPHVDUHPDUNVRIWKHLU
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         Product Information
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          Write your product serial number in this box:




         Patent Information
         3OHDVHVHHWKH1RPDGL[ZHEVLWHIRUDOLVWRI86DQGIRUHLJQSDWHQWVFRYHULQJWKLVSURGXFW
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         Disclaimer
         1RPDGL[,QFPDNHVQRZDUUDQW\HLWKHUH[SUHVVRULPSOLHGLQFOXGLQJEXWQRWOLPLWHGWRDQ\
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         SURGXFWGHVFULEHGKHUHLQ,QQRHYHQWVKDOO1RPDGL[,QFEHOLDEOHWRDQ\RQHIRUVSHFLDO
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                              :$51,1*                                                     &$87,21

         Risk of electric shock; do not open; no user-serviceable       Read the instruction manual prior to operation.
                               parts inside.
                                                                                        $77(17,21
                          $9(57,66(0(17
                                                                            Lire le mode d’emploi avant utilisation.
        Risque de choc electrique; ne pas ouvrir; ne pas tenter de
                          demontre l’appareil.                                           $&+781*

                              :$5181*                                Lesen Sie das Handbuch bevor Sie das Gerät in Betrieb
                                                                                          nehmen.
                   Nicht öffnen; elektrische Bauteile.
                                                                                       35(&$8&,Ï1
                                 $9,62
                                                                       Leer el manual de instrucciones antes de poner en
           Riesgo de shock eléctrico. No abrir. No hay piezas                         marcha el equipo.
                         configurables dentro.




                        $JRXUD5G6XLWH$JRXUD+LOOV&$86$ KHDGRIILFH
Case 1:18-cv-01394-RGA Document 1-1 Filed 09/07/18 Page 99 of 476 PageID #: 142




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            :HE0DQDJHPHQW,QWHUIDFH :0, 0HQXV 
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            'HIDXOW )DFWRU\ &RQILJXUDWLRQ6HWWLQJV  
            3URGXFW6SHFLILFDWLRQV 
            6DPSOH$$$/RJ 
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            6DPSOH+LVWRU\/RJ  
            .H\ERDUG6KRUWFXWV 
            +\SHU7HUPLQDO6HWWLQJV  
            5$',86$WWULEXWHV 
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            *HQHUDO+LQWVDQG7LSV  
            0DQDJHPHQW,QWHUIDFH(UURU0HVVDJHV 
            &RPPRQ3UREOHPV 

       $SSHQGL[$7HFKQLFDO6XSSRUW  
            &RQWDFW,QIRUPDWLRQ  

       $SSHQGL[%*ORVVDU\RI7HUPV 




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       $&&(66*$7(:$<                                                                            
       Introduction
       $ERXWWKLV*XLGH
           7KLV8VHU*XLGHSURYLGHVLQIRUPDWLRQDQGSURFHGXUHVWKDWZLOOHQDEOHV\VWHPDGPLQLVWUDWRUVWR
           LQVWDOOFRQILJXUHPDQDJHDQGXVHWKH$FFHVV*DWHZD\SURGXFWVXFFHVVIXOO\DQGHIILFLHQWO\
           8VHWKLVJXLGHWRWDNHIXOODGYDQWDJHRIWKH$FFHVV*DWHZD\¶VIXQFWLRQDOLW\DQGIHDWXUHV
           5HIHUWR³3URGXFW6SHFLILFDWLRQV´RQSDJH IRUDOLVWRI$FFHVV*DWHZD\3URGXFWVWKDWWKLV
           GRFXPHQWVXSSRUWV
           7KH1RPDGL[$FFHVV*DWHZD\KDUGZDUHLVFRQILJXUHGDQGFRQWUROOHGE\1RPDGL[6HUYLFH
           (QJLQH 16( VRIWZDUH7KH16(LVWKHODVW6RIWZDUH5HOHDVHWKDWVXSSRUWVWKH$*
           $*DQG$*
           16(VHULHVVRIWZDUHUHOHDVHVVXSSRUWWKH$*$*$*DQG$*




       Introduction                                                                                     1
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       2UJDQL]DWLRQ
           7KLV8VHU*XLGHLVRUJDQL]HGLQWRWKHIROORZLQJVHFWLRQV
           &KDSWHU±,QWURGXFWLRQ7KHFXUUHQWFKDSWHUDQLQWURGXFWLRQWRWKHIHDWXUHVDQGEHQHILWVRI
           WKH1RPDGL[$FFHVV*DWHZD\
           &KDSWHU±,QVWDOOLQJWKH$FFHVV*DWHZD\3URYLGHVLQVWUXFWLRQVIRULQVWDOOLQJWKH$FFHVV
           *DWHZD\DQGHVWDEOLVKLQJWKHVWDUWXSFRQILJXUDWLRQ
           &KDSWHU±6\VWHP$GPLQLVWUDWLRQ3URYLGHVDOOWKHLQVWUXFWLRQVDQGSURFHGXUHVQHFHVVDU\WR
           PDQDJHDQGDGPLQLVWHUWKH$FFHVV*DWHZD\RQWKHFXVWRPHU¶VQHWZRUNIROORZLQJDVXFFHVVIXO
           LQVWDOODWLRQ
           &KDSWHU±7KH6XEVFULEHU,QWHUIDFH3URYLGHVDQRYHUYLHZDQGVDPSOHVFHQDULRIRUWKH
           $FFHVV*DWHZD\¶VVXEVFULEHULQWHUIDFH,WDOVRLQFOXGHVDQRXWOLQHRIWKHDXWKRUL]DWLRQDQG
           ELOOLQJSURFHVVHVXWLOL]HGE\WKHV\VWHPDQGWKH1RPDGL[,QIRUPDWLRQDQG&RQWURO&RQVROH
           &KDSWHU±4XLFN5HIHUHQFH*XLGH&RQWDLQVSURGXFWUHIHUHQFHLQIRUPDWLRQRUJDQL]HGE\
           WRSLFDQGIXQFWLRQDOLW\,WDOVRFRQWDLQVDIXOOOLVWLQJRIDOOSURGXFWFRQILJXUDWLRQHOHPHQWV
           VRUWHGDOSKDEHWLFDOO\DQGE\PHQX
           &KDSWHU±7URXEOHVKRRWLQJ3URYLGHVLQIRUPDWLRQWRKHOS\RXUHVROYHFRPPRQKDUGZDUHDQG
           VRIWZDUHSUREOHPV,WDOVRFRQWDLQVDOLVWRIHUURUPHVVDJHVDVVRFLDWHGZLWKWKHPDQDJHPHQW
           LQWHUIDFH
           7HFKQLFDO6XSSRUW,QIRUPV\RXKRZWRREWDLQWHFKQLFDOVXSSRUW5HIHUWR7URXEOHVKRRWLQJ
           EHIRUHFRQWDFWLQJ1RPDGL[,QFGLUHFWO\
           *ORVVDU\RI7HUPV3URYLGHVDQH[SODQDWLRQRIWHUPVGLUHFWO\UHODWHGWR1RPDGL[SURGXFW
           WHFKQRORJ\*ORVVDU\HQWULHVDUHRUJDQL]HGDOSKDEHWLFDOO\




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       :HOFRPHWRWKH$FFHVV*DWHZD\
           7KH$FFHVV*DWHZD\LVDIUHHVWDQGLQJIXOO\IHDWXUHGQHWZRUNDSSOLDQFHWKDWHQDEOHVSXEOLF
           DFFHVVVHUYLFHSURYLGHUVWRRIIHUEURDGEDQG,QWHUQHWFRQQHFWLYLW\WRWKHLUFXVWRPHUV
           7KH$FFHVV*DWHZD\KDQGOHVWUDQVSDUHQWFRQQHFWLYLW\DGYDQFHGVHFXULW\SROLF\EDVHGWUDIILF
           VKDSLQJDQGVHUYLFHSODFHPHQWVXSSRUWLQJWKRXVDQGVRIXVHUVVLPXOWDQHRXVO\LQDEURDGEDQG
           HQYLURQPHQW7KH$FFHVV*DWHZD\DOVRRIIHUVDXQLTXHVHWRIVHFXULW\DQGFRQQHFWLYLW\
           IHDWXUHVIRUGHSOR\LQJPHWURZLUHOHVVQHWZRUNVLQFOXGLQJ0HVKDQG:L0$;
           WHFKQRORJLHV




           7KH$FFHVV*DWHZD\\LHOGVDFRPSOHWHVROXWLRQWRDVHWRIFRPSOH[LVVXHVLQWKH(QWHUSULVH
           3XEOLF/$1DQG5HVLGHQWLDOVHJPHQWV


           Product Configuration and Licensing
           $OO1RPDGL[$FFHVV*DWHZD\SURGXFWVDUHSRZHUHGE\RXUSDWHQWHGDQGSDWHQWSHQGLQJVXLWH
           RIHPEHGGHGVRIWZDUHFDOOHGWKH1RPDGL[6HUYLFH(QJLQH 16( 7KH$FFHVV*DWHZD\
           HPSOR\VRXU16(FRUHVRIWZDUHSDFNDJHDQGFRPHVSUHSDFNDJHGZLWKWKHRSWLRQWRSXUFKDVH
           DGGLWLRQDOPRGXOHVWRH[SDQGWKHSURGXFW¶VIXQFWLRQDOLW\
           7KLV8VHU*XLGHFRYHUVDOOIHDWXUHVDQGIXQFWLRQDOLW\SURYLGHGZLWKWKH16(FRUHSDFNDJHDV
           ZHOODVDGGLWLRQDORSWLRQDOPRGXOHV<RXUSURGXFWOLFHQVHPXVWVXSSRUWWKHRSWLRQDO16(
           PRGXOHVLI\RXZDQWWRWDNHDGYDQWDJHRIWKHH[SDQGHGIXQFWLRQDOLW\7KHIROORZLQJQRWHZLOO
           SUHIDFHSURFHGXUHVWKDWGLUHFWO\UHODWHWRRSWLRQDOPRGXOHV

           6HHDOVR
               z       16(&RUH)XQFWLRQDOLW\
               z       2SWLRQDO16(0RGXOHV



       Introduction                                                                                       3
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       .H\)HDWXUHVDQG%HQHILWV
           7KH$FFHVV*DWHZD\LVD8KLJKIUHHVWDQGLQJRUUDFNPRXQWDEOHGHYLFHWKDWSURYLGHV
           (WKHUQHWSRUWVWRLQWHUIDFHZLWKWKHURXWHUDQGWKHDJJUHJDWLRQHTXLSPHQWZLWKLQWKHQHWZRUN,W
           DOVRSURYLGHVDQ56VHULDOSRUWIRUFRQQHFWLQJWRD3URSHUW\0DQDJHPHQW6\VWHP 306 
           ZKLOHPDLQWDLQLQJRQHELOOLQJUHODWLRQVKLSZLWKWKHLUFKRVHQSURYLGHU
           7KH$FFHVV*DWHZD\HQDEOHVDZLGHYDULHW\RIQHWZRUNGHSOR\PHQWRSWLRQVIRUGLIIHUHQWYHQXH
           W\SHV)RUH[DPSOH
               z    $OORZVIRUIOH[LEOH:$1&RQQHFWLYLW\ 7(&DEOH['6/DQG,6'1 
               z    6XSSRUWVDEJDQGK\EULGQHWZRUNVXWLOL]LQJZLUHG(WKHUQHW
               z    6XSSRUWVNH\UHTXLUHPHQWVQHHGHGWREHFRPSOLDQWZLWKWKH:L)L=21(SURJUDP
               z    $OORZV\RXWRVHJPHQW\RXUH[LVWLQJQHWZRUNLQWRSXEOLFDQGSULYDWHVHFWLRQVXVLQJ
                    9/$1VWKHQOHYHUDJH\RXUH[LVWLQJQHWZRUNLQYHVWPHQWWRFUHDWHQHZUHYHQXH
                    VWUHDPV
               z    (QDEOHV\RXWRSURYLGH:L)LDFFHVVDVDELOODEOHVHUYLFHRUDVDQDPHQLW\WRDXJPHQW
                    WKHPDLQOLQHRIEXVLQHVVIRU\RXUYHQXH
               z    &RQWDLQVDQDGYDQFHG;0/LQWHUIDFHIRUDFFHSWLQJDQGSURFHVVLQJ;0/FRPPDQGV
                    DOORZLQJWKHLPSOHPHQWDWLRQRIDYDULHW\RIVHUYLFHSODQVDQGRIIHULQJV
               z    2IIHUVWKUHHXVHUIULHQGO\ZD\VRIUHPRWHPDQDJHPHQW²WKURXJKD:HELQWHUIDFH
                    61030,%VDQG7HOQHWLQWHUIDFHV²DOORZLQJIRUVFDODEOHODUJHSXEOLFDFFHVV
                    GHSOR\PHQWV
               z    3URYLGHVFDSDELOLWLHVIRUORDGEDODQFLQJDQGIDLORYHUPDQDJHPHQWDFURVVPXOWLSOH
                    ,63V


           Platform Reliability
           7KH$FFHVV*DWHZD\LVGHVLJQHGDVDQHWZRUNDSSOLDQFHSURYLGLQJPD[LPXPXSWLPHDQG
           UHOLDELOLW\XQOLNHFRPSHWLWLYHRIIHULQJVWKDWXVHDVHUYHUEDVHGSODWIRUP


           Local Content and Services
           7KH$FFHVV*DWHZD\¶V3RUWDO3DJHIHDWXUHLQWHUFHSWVWKHXVHU¶VEURZVHUVHWWLQJVDQGGLUHFWV
           WKHPWRDGHVLJQDWHG:HEVLWHWRVHFXUHO\VLJQXSIRUVHUYLFHRUORJLQLIWKH\KDYHDSUH
           H[LVWLQJDFFRXQW
               z    $OORZVWKHSURYLGHUWRSUHVHQWWKHLUFXVWRPHUVZLWKORFDOVHUYLFHVRUKDYHWKHXVHU
                    VLJQXSIRUVHUYLFHDW]HURH[SHQVH




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       $&&(66*$7(:$<

               z      2IIHUVERWKSUHDQGSRVWDXWKHQWLFDWLRQUHGLUHFWVRIWKHXVHU¶VEURZVHUSURYLGLQJ
                      PD[LPXPIOH[LELOLW\LQVHUYLFHEUDQGLQJ


           Transparent Connectivity
           5HVROYLQJFRQILJXUDWLRQFRQIOLFWVLVGLIILFXOWDQGWLPHFRQVXPLQJIRUQHWZRUNXVHUVZKRDUH
           FRQVWDQWO\RQWKHPRYHDQGFRVWO\WRWKHVROXWLRQSURYLGHU,QIDFWPRVWXVHUVDUHUHOXFWDQWWR
           PDNHFKDQJHVWRWKHLUFRPSXWHU¶VQHWZRUNVHWWLQJVDQGZRQ¶WHYHQERWKHU7KLVIDFWDORQHKDV
           SUHYHQWHGWKHZLGHVSUHDGGHSOR\PHQWRIEURDGEDQGQHWZRUNVHUYLFHV
           2XUSDWHQWHG'\QDPLF$GGUHVV7UDQVODWLRQ '$7 IXQFWLRQDOLW\RIIHUVDWUXH³SOXJDQG
           SOD\´VROXWLRQE\HQDEOLQJDVHDPOHVVDQGWUDQVSDUHQWH[SHULHQFHDQGWKHWRROVWRDFTXLUHQHZ
           FXVWRPHUVRQVLWH
           '$7JUHDWO\UHGXFHVSURYLVLRQLQJDQGWHFKQLFDOVXSSRUWFRVWVDQGHQDEOHVSURYLGHUVWRGHOLYHU
           DQHDV\WRXVHFXVWRPHUIULHQGO\VHUYLFH
           




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           Billing Enablement
           7KH$FFHVV*DWHZD\VXSSRUWVELOOLQJSODQVXVLQJFUHGLWFDUGVVFUDWFKFDUGVRUPRQWKO\
           VXEVFULSWLRQVRUGLUHFWELOOLQJWRDKRWHO¶V3URSHUW\0DQDJHPHQW6\VWHP 306 DQGFDQEDVH
           WKHELOODEOHHYHQWRQDQXPEHURIGLIIHUHQWSDUDPHWHUVVXFKDVWLPHYROXPH,3DGGUHVVW\SHRU
           EDQGZLGWK


           Access Control and Authentication
           7KH$FFHVV*DWHZD\HQVXUHVWKDWDOOWUDIILFWRWKH,QWHUQHWLVEORFNHGXQWLODXWKHQWLFDWLRQKDV
           EHHQFRPSOHWHGFUHDWLQJDQDGGLWLRQDOOHYHORIVHFXULW\LQWKHQHWZRUN$OVRWKH$FFHVV
           *DWHZD\DOORZVVHUYLFHSURYLGHUVWRFUHDWHWKHLURZQXQLTXH³ZDOOHGJDUGHQ´HQDEOLQJXVHUV
           WRDFFHVVRQO\FHUWDLQSUHGHWHUPLQHG:HEVLWHVEHIRUHWKH\KDYHEHHQDXWKHQWLFDWHG
           1RPDGL[VLPXOWDQHRXVO\VXSSRUWVWKHVHFXUHEURZVHUEDVHG8QLYHUVDO$FFHVV0HWKRG 8$0 
           ,((([DQG6PDUW&OLHQWVIRUFRPSDQLHVVXFKDV$GMXQJR1HWZRUNV%RLQJR:LUHOHVV
           *5,&DQGL3DVV0$&EDVHGDXWKHQWLFDWLRQLVDOVRDYDLODEOH


           Security
           7KHSDWHQWHGL1$7 ,QWHOOLJHQW1HWZRUN$GGUHVV7UDQVODWLRQ IHDWXUHFUHDWHVDQLQWHOOLJHQW
           PDSSLQJRI,3$GGUHVVHVDQGWKHLUDVVRFLDWHG931WXQQHOV²E\IDUWKHPRVWUHOLDEOHPXOWL
           VHVVLRQ931SDVVWKURXJKWREHWHVWHGDJDLQVWGLYHUVH931WHUPLQDWLRQVHUYHUVIURPFRPSDQLHV
           VXFKDV&LVFR&KHFNSRLQW1RUWHODQG0LFURVRIW1RPDGL[¶L1$7IHDWXUHDOORZVPXOWLSOH
           WXQQHOVWREHHVWDEOLVKHGWRWKHVDPH931VHUYHUFUHDWLQJDVHDPOHVVFRQQHFWLRQIRUDOOXVHUV
           RQWKHQHWZRUN
           7KH$FFHVV*DWHZD\SURYLGHVILQHJUDLQPDQDJHPHQWRI'R6 'HQLDORI6HUYLFH DWWDFNV
           WKURXJKLWV6HVVLRQ5DWH/LPLWLQJ 65/ IHDWXUHDQG0$&ILOWHULQJIRULPSURYHGQHWZRUN
           UHOLDELOLW\


           5-Step Service Branding
           $QHWZRUNHQDEOHGZLWKWKH1RPDGL[$FFHVV*DWHZD\RIIHUVD6WHSVHUYLFHEUDQGLQJ
           PHWKRGRORJ\IRUVHUYLFHSURYLGHUVDQGWKHLUSDUWQHUVFRPSULVLQJ
              ,QLWLDO)ODVK3DJHEUDQGLQJ
              ,QLWLDO3RUWDO3DJH5HGLUHFW 3UH$XWKHQWLFDWLRQ 7\SLFDOO\WKLVLVXVHGWRUHGLUHFWWKHXVHU
                WRDYHQXHVSHFLILF:HOFRPHDQG/RJLQSDJH
              +RPH3DJH5HGLUHFW 3RVW$XWKHQWLFDWLRQ 7KLVUHGLUHFWSDJHFDQEHWDLORUHGWRWKH
                LQGLYLGXDOXVHU DVSDUWRIWKH5$',865HSO\PHVVDJHWKH85/LVUHFHLYHGE\WKH16( 
                RUVHWWRUHGLVSOD\LWVHOIDWIUHHO\FRQILJXUDEOHLQWHUYDOV




       6                                                                                          Introduction
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              7KH,QIRUPDWLRQDQG&RQWURO&RQVROH ,&& FRQWDLQVPXOWLSOHRSSRUWXQLWLHVIRUDQ
                RSHUDWRUWRGLVSOD\LWVEUDQGLQJRUWKHEUDQGLQJRISDUWQHUVGXULQJWKHXVHU¶VVHVVLRQ$VDQ
                DOWHUQDWLYHWRWKH,&&DVLPSOHSRSXSZLQGRZSURYLGHVWKHRSSRUWXQLW\WRGLVSOD\D
                VLQJOHORJR
              7KH³*RRGE\H´SDJHLVDSRVWVHVVLRQSDJHWKDWFDQEHGHILQHGHLWKHUDVD5$',8696$
                RUEHGULYHQE\WKH,QWHUQDO:HE6HUYHU ,:6 LQWKH16(8VLQJWKH,:6RSWLRQPHDQV
                WKDWWKLVIXQFWLRQDOLW\LVDOVRDYDLODEOHIRURWKHUSRVWSDLGELOOLQJPHFKDQLVPV IRU
                H[DPSOHSRVWSDLG306 




       Introduction                                                                                         7
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       16(&RUH)XQFWLRQDOLW\
           3RZHULQJ1RPDGL[¶IDPLO\RI$FFHVV*DWHZD\VWKH1RPDGL[6HUYLFH(QJLQH 16( GHOLYHUV
           DIXOOUDQJHRIIHDWXUHVQHHGHGWRVXFFHVVIXOO\GHSOR\SXEOLFDFFHVVQHWZRUNV7KHVH³FRUH´
           IHDWXUHVVROYHLVVXHVRIFRQQHFWLYLW\VHFXULW\ELOOLQJDQGURDPLQJLQD:L)LSXEOLFDFFHVV
           QHWZRUN
           7KH16(¶VFRUHSDFNDJHRIIHDWXUHVLQFOXGHV
               z    $FFHVV&RQWURO
               z    %DQGZLGWK0DQDJHPHQW
               z    %LOOLQJ5HFRUGV0LUURULQJ
               z    %ULGJH0RGH
               z    &ODVV%DVHG4XHXHLQJ
               z    &RPPDQG/LQH,QWHUIDFH
               z    &UHGLW&DUG
               z    '\QDPLF$GGUHVV7UDQVODWLRQ
               z    '\QDPLF7UDQVSDUHQW3UR[\
               z    (QG8VHU/LFHQVHH&RXQW
               z    ([WHUQDO:HE6HUYHU0RGH
               z    )DFHERRN$XWKHQWLFDWLRQ
               z    +RPH3DJH5HGLUHFW
               z    L1$7
               z    ,QIRUPDWLRQDQG&RQWURO&RQVROH
               z    ,QWHUQDO:HE6HUYHU
               z    ,QWHUQDWLRQDO/DQJXDJH6XSSRUW
               z    ,38SVHOO
               z    /RJRXW3RS8S:LQGRZ
               z    0$&)LOWHULQJ
               z    0XOWL/HYHO$GPLQLVWUDWLRQ6XSSRUW
               z    0XOWL:$1,QWHUIDFH0DQDJHPHQW
               z    1736XSSRUW



       8                                                                                     Introduction
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               z      3RUWDO3DJH5HGLUHFW
               z      5$',86&OLHQW
               z      5$',86GULYHQ$XWR&RQILJXUDWLRQ
               z      5$',863UR[\
               z      5HDOP%DVHG5RXWLQJ
               z      5HPHPEHU0HDQG5$',865H$XWKHQWLFDWLRQ
               z      6HFXUH0DQDJHPHQW
               z      6HFXUH6RFNHW/D\HU 66/
               z      6HFXUH;0/$3,
               z      6HVVLRQ5DWH/LPLWLQJ 65/
               z      6HVVLRQ7HUPLQDWLRQ5HGLUHFW
               z      6PDUW&OLHQW6XSSRUW
               z      61031RPDGL[3ULYDWH0,%
               z      6WDWLF3RUW0DSSLQJ
               z      7UL0RGH$XWKHQWLFDWLRQ
               z      85/)LOWHULQJ
               z      :DOOHG*DUGHQ
               z      :HE0DQDJHPHQW,QWHUIDFH
               z      :HLJKWHG)DLU4XHXHLQJ


           Access Control
           )RU,3EDVHGDFFHVVFRQWUROWKH16(LQFRUSRUDWHVDPDVWHUDFFHVVFRQWUROOLVWWKDWFKHFNVWKH
           VRXUFH ,3DGGUHVV RIDGPLQLVWUDWRUORJLQV$ORJLQLVSHUPLWWHGRQO\LIDPDWFKLVPDGHZLWK
           WKHPDVWHUOLVWFRQWDLQHGZLWKLQWKH16(,IDPDWFKLVQRWPDGHWKHORJLQLVGHQLHGHYHQLID
           FRUUHFWORJLQQDPHDQGSDVVZRUGDUHVXSSOLHG
           7KHDFFHVVFRQWUROOLVWVXSSRUWVXSWR ILIW\ HQWULHVLQWKHIRUPRIDVSHFLILF,3DGGUHVVRU
           UDQJHRI,3DGGUHVVHV
           7KH16(DOVRRIIHUVDFFHVVFRQWUROEDVHGRQWKHLQWHUIDFHEHLQJXVHG7KLVIHDWXUHDOORZV
           DGPLQLVWUDWRUVWREORFNDFFHVVIURP7HOQHW:HE0DQDJHPHQWDQG)73VRXUFHV




       Introduction                                                                                             9
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                                                                                         $&&(66*$7(:$<

            $GPLQLVWUDWLRQFDQQRZEHSHUIRUPHGDIWHUXQEORFNLQJWKHLQWHUIDFHVIRUWKH6XEVFULEHUVLGHRI
            WKH16(7KH$GPLQLVWUDWLYHSRUWVDUHFRQILJXUDEOHDVZHOO6HH³(VWDEOLVKLQJ6HFXUH
            $GPLQLVWUDWLRQ^$FFHVV&RQWURO`´RQSDJH 


            Bandwidth Management
            7KH16(RSWLPL]HVEDQGZLGWKE\OLPLWLQJEDQGZLGWKXVDJHV\PPHWULFDOO\RUDV\PPHWULFDOO\
            RQDSHUGHYLFH 0$&DGGUHVV8VHU EDVLVDQGPDQDJHVWKH:$1/LQNWUDIILFWRSURYLGH
            FRPSOHWHEDQGZLGWKPDQDJHPHQWRYHUWKHHQWLUHQHWZRUN<RXFDQHQVXUHWKDWHYHU\XVHUKDVD
            TXDOLW\H[SHULHQFHE\SODFLQJDEDQGZLGWKFHLOLQJRQHDFKGHYLFHDFFHVVLQJWKHQHWZRUNVR
            HYHU\XVHUJHWVDIDLUVKDUHRIWKHDYDLODEOHEDQGZLGWK
            :LWKWKH1RPDGL[,&&IHDWXUHHQDEOHGVXEVFULEHUVFDQLQFUHDVHRUGHFUHDVHWKHLURZQ
            EDQGZLGWKDQGSULFLQJSODQVIRUWKHLUVHUYLFHG\QDPLFDOO\

                         <RXFDQVHWGHIDXOWPD[LPXPXSDQGGRZQEDQGZLGWKVIRUVXEVFULEHUVZKRGR
                         QRWKDYHDVSHFLILHGEDQGZLGWKVHWWLQJ6HH³6HWWLQJ8S%DQGZLGWK0DQDJHPHQW
                         ^%DQGZLGWK0DQDJHPHQW`´RQSDJH 



                                                                  %DQGZLGWKVHOHFWLRQ SXOOGRZQ




                                         ,QIRUPDWLRQDQG&RQWURO&RQVROH ,&&




            Billing Records Mirroring
            16(SRZHUHGGHYLFHVFDQVHQGFRSLHVRIFUHGLWFDUGELOOLQJUHFRUGV DQGRSWLRQDOO\306 WR
            H[WHUQDOVHUYHUVWKDWKDYHEHHQSUHYLRXVO\GHILQHGE\V\VWHPDGPLQLVWUDWRUV7KH16(DVVXPHV
            FRQWURORIELOOLQJWUDQVPLVVLRQVDQGWKHVDYLQJRIELOOLQJUHFRUGV%\HIIHFWLYHO\³PLUURULQJ´
            WKHELOOLQJGDWDWKH16(FDQVHQGFRSLHVRIELOOLQJUHFRUGVWRSUHGHILQHG³FDUERQFRS\´
            VHUYHUV$GGLWLRQDOO\LIWKHSULPDU\DQGVHFRQGDU\VHUYHUVDUHQRWUHVSRQGLQJWKH16(FDQ
            VWRUHXSWRELOOLQJUHFRUGV7KH16(UHJXODUO\DWWHPSWVWRFRQQHFWZLWKWKHSULPDU\DQG


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           VHFRQGDU\VHYHUV:KHQDFRQQHFWLRQLVUHHVWDEOLVKHG ZLWKHLWKHUVHUYHU WKH16(VHQGVWKH
           FDFKHGLQIRUPDWLRQWRWKHVHUYHU&XVWRPHUVFDQEHFRQILGHQWWKDWWKHLUELOOLQJLQIRUPDWLRQLV
           VHFXUHDQGWKDWQRWUDQVDFWLRQUHFRUGVDUHORVW


           Bridge Mode
           7KLVIHDWXUHDOORZVFRPSOHWHDQGXQFRQGLWLRQDODFFHVVWRGHYLFHV:KHQ%ULGJH0RGHLV
           HQDEOHG\RXU16(SRZHUHGSURGXFWLVHIIHFWLYHO\WUDQVSDUHQWWRWKHQHWZRUNLQZKLFKLWLV
           ORFDWHG
           7KH16(IRUZDUGVDQ\DQGDOOSDFNHWV H[FHSWWKRVHDGGUHVVHGWRWKH16(QHWZRUNLQWHUIDFH 
           7KHSDFNHWVDUHXQPRGLILHGDQGFDQEHIRUZDUGHGLQERWKGLUHFWLRQV7KH%ULGJH0RGH
           IXQFWLRQLVDYHU\XVHIXOIHDWXUHZKHQWURXEOHVKRRWLQJ\RXUHQWLUHQHWZRUNDVLWDOORZV
           DGPLQLVWUDWRUVWRHIIHFWLYHO\³UHPRYH´\RXUSURGXFWIURPWKHQHWZRUNZLWKRXWSK\VLFDOO\
           GLVFRQQHFWLQJWKHXQLW


           Class-Based Queueing
           7KH1RPDGL[&ODVV%DVHG4XHXHLQJIHDWXUHSURYLGHVWKHDELOLW\WRGHILQHPXOWLSOHJURXSV
            FODVVHV RIXVHUV<RXFDQSULRULWL]HGJURXSVDQGJXDUDQWHHPLQLPXPEDQGZLGWKRQDSHU
           JURXSEDVLV
           8VHUVDUHDGGHGWRFODVVHVDQGUXOHVDUHDSSOLHGDFURVVWKHHQWLUHFODVV(DFKFODVVKDVWKUHH
           FRQILJXUDEOHDWWULEXWHV
               z      3ULRULW\
               z      0LQLPXP%DQGZLGWK
               z      0D[LPXP%DQGZLGWK
           &ODVVEDVHGTXHXHLQJGRHVQRWDSSO\UXOHVWRLQGLYLGXDOXVHUV<RXPD\XVHEDQGZLGWKOLPLWV
           WRUHVWULFWLQGLYLGXDOXVHUVLIGHVLUHG
           &ODVVEDVHGTXHXHLQJGRHVQRWSURYLGHDSSOLFDWLRQOHYHO OD\HU WKURWWOLQJRUFODVVRIVHUYLFH

           8VH&DVH3URSHUW\KDV0ESV:$1/LQN
           ,QWKLVVFHQDULRDSURSHUW\ZLVKHVWRSURYLGHJXDUDQWHHGPLQLPXPEDQGZLGWKDQGSULRULWL]H
           WUDIILFDFURVVWKUHHJURXSV&RQIHUHQFH*XHVW5RRP3XEOLF$UHDV7KHSURSHUW\FDQFRQILJXUH
           FODVVEDVHGTXHXLQJDFFRUGLQJWRWKHIROORZLQJWDEOH

                                                                                       8VHU%DQGZLGWK
               &ODVV                 3ULRULW\      0LQLPXP          0D[LPXP                /LPLW

        &RQIHUHQFH                              0ESV          0ESV           0ESV


       Introduction                                                                                       11
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                                                                                         $&&(66*$7(:$<


                                                                                        8VHU%DQGZLGWK
                 &ODVV                3ULRULW\      0LQLPXP           0D[LPXP               /LPLW

        *XHVW5RRP                               0ESV          0ESV           0ESV

        3XEOLF                                   0ESV          0ESV           0ESV



                          8VHU%DQGZLGWK/LPLWLVQRWDQDWWULEXWHRI&ODVV%DVHG4XHXHLQJEXWFDQEH
                          DSSOLHG LIGHVLUHG XVLQJH[LVWLQJ%DQGZLGWK/LPLWIXQFWLRQDOLW\

            7KHVXPRIPLQLPXPVDFURVVDOOFODVVHVVKRXOGQRWH[FHHGWKHWRWDODYDLODEOHEDQGZLGWK
            ,WLVJHQHUDOO\UHFRPPHQGHGWRVHWWKH0D[LPXPWRHTXDOWKHWRWDODYDLODEOHEDQGZLGWKDFURVV
            DOOFODVVHV7KLVDOORZVDOOFODVVHVWRWDNHDGYDQWDJHRIWKHIXOOEDQGZLGWKZKHQWKHUHLVQR
            FRQWHQWLRQ
            :LWKWKHDERYHFRQILJXUDWLRQHDFKRIWKHWKUHHFODVVHVPD\XWLOL]HWKHHQWLUHDYDLODEOH
            EDQGZLGWKZKHQWKHUHLVQRFRQWHQWLRQ%XWZKHQHYHUFRQWHQWLRQRFFXUVEDQGZLGWKZLOOEH
            DOORFDWHGDFFRUGLQJWRSULRULW\DQGPLQLPXPJXDUDQWHH
            )RUH[DPSOHLIWKHUHDUHQRXVHUVLQWKH&RQIHUHQFH&ODVVWKHQWKH*XHVW5RRPDQG3XEOLF
            &ODVVHVFDQXVHRIWKHEDQGZLGWK,IWKHUHLVFRQWHQWLRQEHWZHHQWKHWZRWKHQWKH*XHVW
            5RRPFODVVZLOOEHDOORFDWHGXSWR0ESV EHFDXVHLWKDVDKLJKHUSULRULW\ ZLWK0ESV
            WDNHQE\WKH3XEOLFFODVV LWVPLQLPXPJXDUDQWHH ,IKRZHYHUWKHUHZHUHQRXVHUVLQWKH
            3XEOLFFODVVWKHQWKH*XHVW5RRPFODVVFRXOGWDNHRIWKHEDQGZLGWK 0ESV 
            ,IXVHUVDUHLQWURGXFHGLQWRWKH&RQIHUHQFHFODVV 3ULRULW\ DQGWKLVFUHDWHVFRQWHQWLRQWKHQ
            WKH\ZLOOWDNHEDQGZLGWKDZD\IURPHDFKRIWKHRWKHUWZRFODVVHVXQWLOHDFKUHDFKHVLWV
            PLQLPXP

            ([DPSOH,OOXVWUDWLRQRI&ODVV%DVHG4XHXHLQJ
            7KHIROORZLQJGLDJUDPGHPRQVWUDWHVWKHHIIHFWRI&ODVV%DVHG4XHXHLQJZLWKDVDWXUDWHGOLQN
            RI0ESVDQGWKUHHFODVVHVGHILQHGZLWKPLQLPXPJXDUDQWHHVRI0ESV 0HHWLQJ
            5RRP 0SEV 9,3*XHVWV DQG0ESV /REE\ 
            1RWHWKHIROORZLQJRYHUWLPH
                 z   :KHQRQO\/REE\FODVVVXEVFULEHUVDUHRQWKHQHWZRUNDOODYDLODEOHEDQGZLGWKLV
                     DOORFDWHGWR/REE\FODVVVXEVFULEHUV
                 z   $V9,3*XHVWVMRLQWKHQHWZRUNEDQGZLGWKLVDOORFDWHGIURP/REE\FODVVWR9,3
                     *XHVWVXQWLOWKH/REE\EDQGZLGWKGURSVWRLWVPLQLPXPJXDUDQWHHRI0ESV
                 z   $V0HHWLQJ5RRPVXEVFULEHUVMRLQWKHQHWZRUNWKH/REE\EDQGZLGWKLVDOUHDG\DWLWV
                     PLQLPXPJXDUDQWHH%DQGZLGWKLVDOORFDWHGIURP9,3*XHVWVWR0HHWLQJ5RRP


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                      VXEVFULEHUVXQWLOEDQGZLGWKIRU9,3*XHVWVUHDFKHVWKHPLQLPXPJXDUDQWHHRI
                      0ESVDQG0HHWLQJ5RRPUHDFKHVLWVPLQLPXPJXDUDQWHHRI0ESV




           ([DPSOH,OOXVWUDWLRQRI:HLJKWHG)DLU4XHXHLQJDQG&ODVV%DVHG4XHXHLQJ
           7KLVH[DPSOHGHPRQVWUDWHVWKHHIIHFWVRIXVLQJ:HLJKWHG)DLU4XHXHLQJDQG&ODVV%DVHG
           4XHXHLQJWRJHWKHU,QWKLVH[DPSOHFRQILJXUDWLRQWKHVHSDUDPHWHUVDSSO\
               z      $VLQJOH:$1LQWHUIDFHZLWKDJOREDOXSSHUOLPLWRI0
               z      WRWDOVXEVFULEHUVZLWKXSSHUEDQGZLGWKRI0ZLWKXSSHUEDQGZLGWKRI
                      0ZLWKXSSHUEDQGZLGWKRI0
               z      7ZRFODVVHV
                        z   &ODVV3ULRULW\0LQLPXP 00D[LPXP 0
                        z   &ODVV3ULRULW\0LQLPXP 00D[LPXP 0
               z      VXEVFULEHUVZLWKHDFKOLPLWDUHDVVLJQHGWR&ODVVDQGWR&ODVV



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                                                                                       $&&(66*$7(:$<

                z    &ODVVVXEVFULEHUVEHJLQUXQQLQJILUVWIROORZHGE\WKRVHLQ&ODVVDERXWDPLQXWH
                     ODWHU
            7KHVXEVFULEHUVLQ&ODVVLQLWLDOO\UHFHLYHDOORIWKHDYDLODEOHEDQGZLGWKZHLJKWHGFRUUHFWO\
            $V&ODVVVXEVFULEHUVFRQQHFWWKH&ODVVVXEVFULEHUVDUHGULYHQWRWKHPLQLPXPRI0VWLOO
            ZHLJKWHGFRUUHFWO\$WWKDWSRLQWWKH&ODVVVXEVFULEHUVUHFHLYHDOOUHPDLQLQJEDQGZLGWK DERXW
            0 DOVRZHLJKWHGFRUUHFWO\




            1RWHVDQG&DXWLRQV
            ([HUFLVHFDXWLRQLQPL[LQJVXEVFULEHUVZLWKDQGZLWKRXWFODVVPHPEHUVKLS6XEVFULEHUVZLWK
            QRFODVVPHPEHUVKLSDUHDXWRPDWLFDOO\DVVLJQHGDSULRULW\RIHLJKWWKHORZHVWSULRULW\DQGKDYH
            QRPLQLPXPEDQGZLGWK
            ,IKLJKHUSULRULW\FODVVHVDUHQRWDVVLJQHGDPD[LPXPEDQGZLGWKFDSLWLVSRVVLEOHWKDW
            XQDVVLJQHGVXEVFULEHUVZLOOEHFRPSOHWHO\VWDUYHGIRUEDQGZLGWK


       14                                                                                      Introduction
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       $&&(66*$7(:$<

           ,QDPL[HGXVHUHQYLURQPHQWFDUHVKRXOGEHWDNHQWRHQVXUHWRSSULRULW\FODVVHVKDYHVHQVLEOH
           PD[LPXPWKUHVKROGV7RWDNHDGYDQWDJHRIWKHFODVVEDQGZLGWKTXHXLQJRQHVKRXOGDVVLJQ
           VXEVFULEHUVWRDPLQLPXPEDQGZLGWKDQGVSHFLILFFODVV
           :KHQUXQQLQJ&ODVV%DVHG4XHXHLQJFRQFXUUHQWO\ZLWK:HLJKWHG)DLU4XHXHLQJWKH16(
           ZLOOPDLQWDLQWKHZHLJKWLQJZKHQPXOWLSOH:$1LQWHUIDFHVZLWK/RDG%DODQFLQJDUH
           FRQILJXUHG7KHXSSHUEDQGZLGWKOLPLWLVFRQVWUDLQHGE\WKHWKHPD[LPXPEDQGZLGWKWKDWWKH
           SODWIRUPZLOOVXSSRUW
           6HHDOVR³&ODVV%DVHG4XHXHLQJ´RQSDJH 


           Command Line Interface
           7KH&RPPDQG/LQH,QWHUIDFH &/, LVDFKDUDFWHUEDVHGXVHULQWHUIDFHWKDWFDQEHDFFHVVHG
           UHPRWHO\RUYLDDGLUHFWFDEOHFRQQHFWLRQ8QWLO\RXU1RPDGL[SURGXFWLVXSDQGUXQQLQJRQWKH
           QHWZRUNWKH&/,LVWKH1HWZRUN$GPLQLVWUDWRU¶VZLQGRZWRWKHV\VWHP6RIWZDUHXSJUDGHV
           FDQRQO\EHSHUIRUPHGIURPWKH&/,
           6HHDOVR³7KH0DQDJHPHQW,QWHUIDFHV &/,DQG:HE ´RQSDJH 


           Credit Card
           7KH&UHGLW&DUGSURYLGHVDVHFXUHLQWHUIDFHRYHU66/WRHQDEOHELOOLQJYLDDFUHGLWFDUGIRU
           +LJK6SHHG,QWHUQHW$FFHVV +6,$ 
           6HHDOVR
               z       ³6HFXUH6RFNHW/D\HU 66/ ´RQSDJH 


           Daylight Savings Time and IANA Time Zone Support
           7LPHFRQILJXUDWLRQLQFOXGHVVXSSRUWIRUFRQILJXUDWLRQE\UHJLRQFLW\DXWRPDWLFGD\OLJKW
           VDYLQJVWLPHDGMXVWPHQWDQGRIILFLDO,$1$ LDQDRUJ WLPH]RQHV


           Dynamic Address Translation™
           '\QDPLF$GGUHVV7UDQVODWLRQ '$7 HQDEOHVWUDQVSDUHQWEURDGEDQGQHWZRUNFRQQHFWLYLW\
           FRYHULQJDOOW\SHVRI,3FRQILJXUDWLRQV VWDWLF,3'+&3'16 UHJDUGOHVVRIWKHSODWIRUPRU
           WKHRSHUDWLQJV\VWHPXVHG²HQVXULQJWKDWHYHU\RQHJHWVDFFHVVWRWKHQHWZRUNZLWKRXWWKHQHHG
           IRUFKDQJHVWRWKHLUFRPSXWHU¶VFRQILJXUDWLRQVHWWLQJVRUFOLHQWVLGHVRIWZDUH7KH16(
           VXSSRUWVERWK3373DQG,36HF931VLQDPDQQHUWKDWLVWUDQVSDUHQWWRWKHXVHUDQGWKDW
           SURYLGHVDPRUHVHFXUHVWDQGDUGFRQQHFWLRQ6HHDOVR³7UDQVSDUHQW&RQQHFWLYLW\´RQSDJH 




       Introduction                                                                                        15
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                                                                                        $&&(66*$7(:$<

            Dynamic Transparent Proxy
            7KH16(GLUHFWVDOO+773DQG+7736SUR[\UHTXHVWVWKURXJKDQLQWHUQDOSUR[\ZKLFKLV
            WUDQVSDUHQWWRVXEVFULEHUV QRQHHGIRUXVHUVWRSHUIRUPDQ\UHFRQILJXUDWLRQWDVNV 8QLTXHO\
            WKH16(DOVRVXSSRUWVFOLHQWVWKDWG\QDPLFDOO\FKDQJHWKHLUEURZVHUVWDWXVIURPQRQSUR[\WR
            SUR[\RUYLFHYHUVD,QDGGLWLRQWKH16(VXSSRUWVSUR[\SRUWVDQGDV
            ZHOODVDOOXQDVVLJQHGSRUWV IRUH[DPSOHSRUWVDERYH WKXVHQVXULQJIDUIHZHUSUR[\
            UHODWHGVXSSRUWFDOOVWKDQFRPSHWLWLYHSURGXFWV


            End User Licensee Count
            7KH16(VXSSRUWVDUDQJHRIVLPXOWDQHRXVXVHUFRXQWVGHSHQGLQJRQWKH1RPDGL[$FFHVV
            *DWHZD\\RXFKRRVH,QDGGLWLRQGHSHQGLQJRQ\RXUSODWIRUPYDULRXVXVHUFRXQWXSJUDGHVDUH
            DYDLODEOHIRUHDFKRIRXU16(SRZHUHGSURGXFWVWKDWDOORZ\RXWRLQFUHDVHWKHVLPXOWDQHRXV
            XVHUFRXQW


            External Web Server Mode
            7KH([WHUQDO:HE6HUYHU (:6 LQWHUIDFHLVIRUFXVWRPHUVZKRZDQWWRGHYHORSDQGXVHWKHLU
            RZQFRQWHQW,WDOORZV\RXWRFUHDWHD³ULFKHU´HQYLURQPHQWWKDQLVSRVVLEOHZLWK\RXUSURGXFW¶V
            HPEHGGHG,QWHUQDO:HE6HUYHU
            7KHDGYDQWDJHVRIXVLQJDQ([WHUQDO:HE6HUYHUDUH
                z    0DQDJHIUHTXHQWO\FKDQJLQJFRQWHQWIURPRQHORFDWLRQ
                z    6HUYHGLIIHUHQWSDJHVGHSHQGLQJRQVLWHVXEORFDWLRQ IRUH[DPSOH9/$1 DQGXVHU
                z    7DNHDGYDQWDJHRIWKHFRPSUHKHQVLYH1RPDGL[;0/$3,WRLPSOHPHQWPRUH
                     FRPSOH[ELOOLQJSODQV
                z    5HF\FOHH[LVWLQJ:HESDJHFRQWHQWIRUWKHFHQWUDOO\KRVWHGSRUWDOSDJH
            ,I\RXFKRRVHWRXVHWKH(:6LQWHUIDFH1RPDGL[7HFKQLFDO6XSSRUWFDQSURYLGH\RXZLWK
            VDPSOHVFULSWV6HHDOVR³&RQWDFW,QIRUPDWLRQ´RQSDJH 


            Facebook Authentication
            <RXPD\SURYLGH)DFHERRNDXWKHQWLFDWLRQIRUIDFLOLW\JXHVWV/RJLQZLWK)DFHERRNLVDVWHS
            SURFHVV$XVHUPXVWILUVWFOLFNWKH1HZ8VHUEXWWRQRQWKH1RPDGL[VSODVKVFUHHQ




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       $&&(66*$7(:$<




           7KHQWKHXVHUPXVWFOLFNWKH³/RJLQZLWK)DFHERRN´EXWWRQ




           6HYHUDOFRQILJXUDWLRQVWHSVDUHUHTXLUHGWRVXSSRUW)DFHERRNDXWKHQWLFDWLRQ6HHWKHIROORZLQJ
           VHFWLRQVIRUVSHFLILFLQVWUXFWLRQV
               z      ³'HILQLQJWKH$$$6HUYLFHV^$$$`´RQSDJH 
               z      ³$VVLJQLQJ3DVVWKURXJK$GGUHVVHV^3DVVWKURXJK$GGUHVVHV`´RQSDJH 
               z      ³'HILQLQJWKH%LOOLQJ2SWLRQV^%LOOLQJ2SWLRQV`´RQSDJH 
               z      ³$GGLQJDQG8SGDWLQJ3RUW/RFDWLRQ$VVLJQPHQWV^$GG`´RQSDJH 




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                                                                                         $&&(66*$7(:$<

            Home Page Redirect
            7KH16(VXSSRUWVDFRPSUHKHQVLYH+773UHGLUHFWORJLFWKDWDOORZVQHWZRUNDGPLQLVWUDWRUVWR
            GHILQHPXOWLSOHLQVWDQFHVWRLQWHUFHSWWKHEURZVHU¶VUHTXHVWDQGUHSODFHLWZLWKIUHHO\
            FRQILJXUDEOH85/V
            3RUWDOSDJHUHGLUHFWHQDEOHVUHGLUHFWLRQWRDSRUWDOSDJHEHIRUHWKHDXWKHQWLFDWLRQSURFHVV7KLV
            PHDQVWKDWDQ\RQHZLOOJHWUHGLUHFWHGWRD:HESDJHWRHVWDEOLVKDQDFFRXQWVHOHFWDVHUYLFH
            SODQDQGSD\IRUDFFHVV+RPH3DJHUHGLUHFWHQDEOHVUHGLUHFWLRQWRDSDJHDIWHUWKH
            DXWKHQWLFDWLRQSURFHVV IRUH[DPSOHWRZHOFRPHDVSHFLILFXVHUWRWKHVHUYLFH²DIWHUWKHXVHU
            KDVEHHQLGHQWLILHGE\WKHDXWKHQWLFDWLRQSURFHVV6HHDOVR³3RUWDO3DJH5HGLUHFW´RQSDJH 


            iNAT™
            1RPDGL[LQYHQWHGDQHZZD\RILQWHOOLJHQWO\VXSSRUWLQJPXOWLSOH931FRQQHFWLRQVWRWKH
            VDPHWHUPLQDWLRQDWWKHVDPHWLPH L1$7 WKXVVROYLQJDNH\SUREOHPRIPDQ\SXEOLFDFFHVV
            QHWZRUNV
            1RPDGL[¶SDWHQWHGL1$7 LQWHOOLJHQW1HWZRUN$GGUHVV7UDQVODWLRQ IHDWXUHFRQWDLQVDQ
            DGYDQFHGUHDOWLPHWUDQVODWLRQHQJLQHWKDWDQDO\]HVDOOGDWDSDFNHWVEHLQJFRPPXQLFDWHG
            EHWZHHQWKHSULYDWHDGGUHVVUHDOPDQGWKHSXEOLFDGGUHVVUHDOP
            7KH16(SHUIRUPVDGHILQHGPRGHRIQHWZRUNDGGUHVVWUDQVODWLRQEDVHGRQSDFNHWW\SHDQG
            SURWRFRO IRUH[DPSOH,6$.03HWF 8'3SDFNHWIUDJPHQWDWLRQLVVXSSRUWHGWRSURYLGHPRUH
            VHDPOHVVWUDQVODWLRQHQJLQHIRUFHUWLILFDWHEDVHG931FRQQHFWLRQV
            ,IDGGUHVVWUDQVODWLRQLVQHHGHGWRHQVXUHWKHVXFFHVVRIDVSHFLILFDSSOLFDWLRQ IRUH[DPSOH
            PXOWLSOHXVHUVWU\LQJWRDFFHVVWKHVDPH931WHUPLQDWLRQVHUYHUDWWKHVDPHWLPH WKHSDFNHW
            HQJLQHVHOHFWVDQ,3DGGUHVVIURPDIUHHO\GHILQDEOHSRRORISXEOLFO\URXWDEOH,3DGGUHVVHV7KH
            VDPHSXEOLF,3DGGUHVVFDQEHXVHGDVDVRXUFH,3WRVXSSRUWFRQFXUUHQWWXQQHOVWRGLIIHUHQW
            WHUPLQDWLRQGHYLFHV²RIIHULQJXQPDWFKHGHIILFLHQF\LQWKHXWLOL]DWLRQRIFRVWO\SXEOLF,3
            DGGUHVVHV,IWKHSURWRFROW\SHFDQEHVXSSRUWHGZLWKRXWWKHXVHRIDSXEOLF,3 IRUH[DPSOH
            +773)73 RXUSURYHQ'\QDPLF$GGUHVV7UDQVODWLRQIXQFWLRQDOLW\FRQWLQXHVWREHXVHG
            6RPHRIWKHEHQHILWVRIL1$7LQFOXGH
                z    ,PSURYHVWKHVXFFHVVUDWHRI931FRQQHFWLYLW\E\PLVFRQILJXUHGXVHUVWKXVUHGXFLQJ
                     FXVWRPHUVXSSRUWFRVWVDQGERRVWLQJFXVWRPHUVDWLVIDFWLRQ
                z    0DLQWDLQVWKHVHFXULW\EHQHILWVRIWUDGLWLRQDODGGUHVVWUDQVODWLRQWHFKQRORJLHVZKLOH
                     HQDEOLQJVHFXUH931FRQQHFWLRQVIRUPRELOHZRUNHUVDFFHVVLQJFRUSRUDWHUHVRXUFHV
                     IURPDSXEOLFDFFHVVORFDWLRQ
                z    '\QDPLFDOO\DGMXVWVWKHPRGHRIDGGUHVVWUDQVODWLRQGXULQJWKHXVHU VVHVVLRQ
                     GHSHQGLQJRQWKHSDFNHWW\SH
                z    6XSSRUWVXVHUVZLWKVWDWLFSULYDWH,3DGGUHVVHV IRUH[DPSOH[[ RUSXEOLF
                      GLIIHUHQWVXEQHW ,3DGGUHVVHVZLWKRXWDQ\FKDQJHVWRWKHFOLHQW,3VHWWLQJV


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       $&&(66*$7(:$<

               z       'UDPDWLFDOO\KHLJKWHQVWKHUHXVDELOLW\IDFWRURIFRVWO\SXEOLF,3DGGUHVVHV


           Information and Control Console
           7KH1RPDGL[,&&LVD+70/EDVHGSRSXSZLQGRZWKDWLVSUHVHQWHGWRVXEVFULEHUVZLWKWKHLU
           :HEEURZVHU7KH,&&DOORZVVXEVFULEHUVWRVHOHFWWKHLUEDQGZLGWKDQGELOOLQJRSWLRQVTXLFNO\
           DQGHIILFLHQWO\IURPDVLPSOHSXOOGRZQPHQX)RUFUHGLWFDUGDFFRXQWVWKH,&&GLVSOD\VD
           G\QDPLF³WLPH´ILHOGWRLQIRUPVXEVFULEHUVRIWKHWLPHUHPDLQLQJRQWKHLUDFFRXQW




                                            ,QIRUPDWLRQDQG&RQWURO&RQVROH ,&&


           $GGLWLRQDOO\WKH,&&FRQWDLQVPXOWLSOHRSSRUWXQLWLHVIRUDQRSHUDWRUWRGLVSOD\LWVEUDQGLQJRU
           WKHEUDQGLQJRISDUWQHUVGXULQJWKHXVHU¶VVHVVLRQDVZHOODVGLVSOD\DGYHUWLVLQJEDQQHUVDQG
           SUHVHQWDFKRLFHRIUHGLUHFWLRQRSWLRQVWRWKHLUVXEVFULEHUV
           6HHDOVR
               z       6WHS6HUYLFH%UDQGLQJ
               z       /RJRXW3RS8S:LQGRZ
               z       ,QIRUPDWLRQDQG&RQWURO&RQVROH


           Initial NSE Configuration
           6HH³,QVWDOOLQJWKH$FFHVV*DWHZD\´RQSDJH IRULQLWLDOLQVWDOODWLRQDQGFRQILJXUDWLRQ
           LQVWUXFWLRQV


           Internal Web Server
           7KH16(RIIHUVDQHPEHGGHG,QWHUQDO:HE6HUYHU ,:6 WRGHOLYHU:HESDJHVVWRUHGLQIODVK
           PHPRU\7KHVH:HESDJHVDUHFRQILJXUDEOHE\WKHV\VWHPDGPLQLVWUDWRUE\VHOHFWLQJYDULRXV
           SDUDPHWHUVWREHGLVSOD\HGRQWKHLQWHUQDOSDJHV:KHQSURYLGHUVRU+RW6SRWRZQHUVGRQRW
           ZDQWWRGHYHORSWKHLURZQFRQWHQWWKH,:6LVWKHDQVZHU$EDQQHUDWWKHWRSRIHDFK,:6
           SDJHLVFRQILJXUDEOHDQGFRQWDLQVWKHFXVWRPHU VFRPSDQ\ORJRRUDQ\RWKHULPDJHILOHWKH\
           GHVLUH


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                                                                                         $&&(66*$7(:$<

            7RVXSSRUW3'$VDQGRWKHUKDQGKHOGGHYLFHVWKH16(DXWRPDWLFDOO\IRUPDWVWKH,:6SDJHV
            WRDVFUHHQVL]HWKDWLVRSWLPDOIRUWKHSDUWLFXODUGHYLFHEHLQJXVHG
            6HHDOVR
                z       6WHS6HUYLFH%UDQGLQJ
                z       ,QWHUQDWLRQDO/DQJXDJH6XSSRUW


            International Language Support
            7KH16(DOORZV\RXWRGHILQHWKHWH[WGLVSOD\HGWR\RXUXVHUVE\WKH,:6ZLWKRXWDQ\+70/
            RU$63NQRZOHGJH7KHODQJXDJH\RXVHOHFWGHWHUPLQHVWKHODQJXDJHHQFRGLQJWKDWWKH,:6
            LQVWUXFWVWKHEURZVHUWRXVH
            7KHDYDLODEOHODQJXDJHRSWLRQVDUH
                z       (QJOLVK
                z       &KLQHVH %LJ
                z       )UHQFK
                z       *HUPDQ
                z       -DSDQHVH 6KLIWB-,6
                z       6SDQLVK
            )RUORFDOL]LQJWKHXVHUIDFLQJWH[WLQWRRWKHUODQJXDJHVWKHIROORZLQJFKDUDFWHUVHWVDUH
            VXSSRUWHG
                z       :HVWHUQ,62
                z       &KLQHVH %LJ(8&&1(8&7:*%
                z       -DSDQHVH (8&-3,62-36KLIWB-,6
                z       .RUHDQ (8&.5,62.5.6B&B
                z       87)
            6HH³'HILQLQJ/DQJXDJHV^/DQJXDJH6XSSRUW`´RQSDJH IRUODQJXDJHFRQILJXUDWLRQ
            LQIRUPDWLRQ
            <RXDOVRFDQFKDQJHWKHODQJXDJHRIWKH:HE0DQDJHPHQW,QWHUIDFHWH[W6HH³6HOHFWLQJWKH
            ODQJXDJHRIWKH:HE0DQDJHPHQW,QWHUIDFH´RQSDJH (QJOLVKDQG&KLQHVH VLPSOLILHG 
            LQWHUIDFHVDUHVXSSRUWHG




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       $&&(66*$7(:$<

           IP Upsell
           6\VWHPDGPLQLVWUDWRUVFDQVHWWZRGLIIHUHQW'+&3SRROVIRUWKHVDPHSK\VLFDO/$1:KHQ
           '+&3VXEVFULEHUVVHOHFWDVHUYLFHSODQZLWKDSXEOLFSRRODGGUHVVWKH16(DVVRFLDWHVWKHLU
           0$&DGGUHVVZLWKWKHLUSXEOLF,3DGGUHVVIRUWKHGXUDWLRQRIWKHVHUYLFHOHYHODJUHHPHQW7KH
           RSSRVLWHLVWUXHLIWKH\VHOHFWDSODQZLWKDSULYDWHSRRODGGUHVV7KLVIHDWXUHHQDEOHVD
           FRPSHWLWLYHVROXWLRQDQGLVDQLQVWDQWUHYHQXHJHQHUDWRUIRU,63V
           7KH,38SVHOOIHDWXUHVROYHVDQXPEHURIFRQQHFWLYLW\SUREOHPVHVSHFLDOO\ZLWKUHJDUGWR
           FHUWDLQYLGHRFRQIHUHQFLQJDQGRQOLQHJDPLQJDSSOLFDWLRQV
           <RXKDYHDGGLWLRQDOIOH[LELOLW\IRUFRQILJXULQJXSVHOOVFHQDULRV8VHUVFDQEHDVVLJQHG:$1¶V
           RIGLIIHUHQWEDQGZLGWKFDSDELOLWLHVIRUH[DPSOHKRWHOJXHVWVZLWKOR\DOW\PHPEHUVKLSVFDQ
           TXDOLI\IRUSUHPLXPVHUYLFHV


           Load Balancing
           /RDGEDODQFLQJLVDYDLODEOHDVDQRSWLRQDOPRGXOH6HH³/RDG%DODQFLQJDQG/LQN)DLORYHU´RQ
           SDJH IRUDPRUHFRPSOHWHGHVFULSWLRQDQGW\SLFDOXVHFDVHV


           Logout Pop-Up Window
           $VDQDOWHUQDWLYHWRWKH,&&WKH16(GHOLYHUVD+70/EDVHGSRSXSZLQGRZZLWKWKH
           IROORZLQJIXQFWLRQV
               z      3URYLGHVWKHRSSRUWXQLW\WRGLVSOD\DVLQJOHORJR
               z      'LVSOD\VWKHVHVVLRQ¶VHODSVHGFRXQWGRZQWLPH
               z      3UHVHQWVDQH[SOLFLW/RJRXWEXWWRQ
           6HHDOVR³,QIRUPDWLRQDQG&RQWURO&RQVROH´RQSDJH 


           MAC Filtering
           0$&)LOWHULQJHQKDQFHV1RPDGL[ DFFHVVFRQWUROWHFKQRORJ\E\DOORZLQJV\VWHP
           DGPLQLVWUDWRUVWREORFNPDOLFLRXVXVHUVEDVHGRQWKHLU0$&DGGUHVV8SWR0$&DGGUHVVHV
           FDQEHEORFNHGDWDQ\RQHWLPH6HHDOVR³6HVVLRQ5DWH/LPLWLQJ 65/ ´RQSDJH 


           Multi-Level Administration Support
           7KH16(DOORZV\RXWRGHILQHFRQFXUUHQWDFFHVVOHYHOVWRGLIIHUHQWLDWHEHWZHHQPDQDJHUV
           DQGRSHUDWRUVZKHUHPDQDJHUVDUHSHUPLWWHGUHDGZULWHDFFHVVDQGRSHUDWRUVDUHUHVWULFWHGWR
           UHDGDFFHVVRQO\



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                                                                                         $&&(66*$7(:$<

            2QFHWKHORJLQVKDYHEHHQDVVLJQHGPDQDJHUVKDYHWKHDELOLW\WRSHUIRUPDOOZULWHFRPPDQGV
            6XEPLW5HVHW5HERRW$GG'HOHWHHWF EXWRSHUDWRUVFDQQRWFKDQJHDQ\V\VWHPVHWWLQJV
            :KHQ$GPLQLVWUDWLRQ&RQFXUUHQF\LVHQDEOHGRQHPDQDJHUDQGWKUHHRSHUDWRUVFDQDFFHVVWKH
            $FFHVV*DWHZD\SODWIRUPDWDQ\RQHWLPH


            Multi-WAN Interface Management
            7KH16(VXSSRUWVPXOWLSOHLQGHSHQGHQWO\FRQILJXUDEOH:$1LQWHUIDFHVWRRSWLPL]H,63
            UHVRXUFHDOORFDWLRQDQGSURYLGHORDGEDODQFLQJ RSWLRQDO IDLORYHUDQGXSVHOOFDSDELOLWLHV


            NTP Support
            7KH16(VXSSRUWV1HWZRUN7LPH3URWRFRO 173 DQ,QWHUQHWVWDQGDUGSURWRFROWKDWDVVXUHV
            DFFXUDWHV\QFKURQL]DWLRQ WRWKHPLOOLVHFRQG RIFRPSXWHUFORFNWLPHVLQDQHWZRUNRI
            FRPSXWHUV173V\QFKURQL]HVWKHFOLHQW¶VFORFNWRWKH861DYDO2EVHUYDWRU\PDVWHUFORFNV
            5XQQLQJDVDFRQWLQXRXVEDFNJURXQGFOLHQWSURJUDPRQDFRPSXWHU173VHQGVSHULRGLFWLPH
            UHTXHVWVWRVHUYHUVREWDLQLQJVHUYHUWLPHVWDPSVDQGXVLQJWKHPWRDGMXVWWKHFOLHQW VFORFN


            Portal Page Redirect
            7KH16(FRQWDLQVDFRPSUHKHQVLYH+773SDJHUHGLUHFWLRQORJLFWKDWDOORZVIRUDSDJHUHGLUHFW
            EHIRUH 3RUWDO3DJH5HGLUHFW DQGRUDIWHUWKHDXWKHQWLFDWLRQSURFHVV +RPH3DJH5HGLUHFW 
            $VSDUWRIWKH3RUWDO3DJH5HGLUHFWIHDWXUHWKH16(FDQVHQGDGHILQHGVHWRISDUDPHWHUVWRWKH
            SRUWDOSDJHUHGLUHFWLRQORJLFWKDWDOORZVDQ([WHUQDO:HE6HUYHUWRSHUIRUPDUHGLUHFWLRQEDVHG
            RQ
                z    $FFHVV*DWHZD\,'DQG,3$GGUHVV
                z    2ULJLQ6HUYHU
                z    3RUW/RFDWLRQ
                z    6XEVFULEHU0$&DGGUHVV
                z    ([WHUQDOO\KRVWHG5$',86ORJLQIDLOXUHSDJH
            7KLVPHDQVWKDWWKHQHWZRUNDGPLQLVWUDWRUFDQQRZSHUIRUPORFDWLRQVSHFLILFVHUYLFHEUDQGLQJ
             IRUH[DPSOHDQDLUSRUWORXQJH IURPDFHQWUDOL]HG:HEVHUYHU
            6HHDOVR³$GGLQJDQG8SGDWLQJ3RUW/RFDWLRQ$VVLJQPHQWV^$GG`´RQSDJH 


            RADIUS-driven Auto Configuration
            1RPDGL[¶XQLTXH5$',86GULYHQ$XWR&RQILJXUDWLRQIXQFWLRQDOLW\XWLOL]HVWKHH[LVWLQJ
            LQIUDVWUXFWXUHRIDPRELOHRSHUDWRUWRSURYLGHDQHIIRUWOHVVDQGUDSLGPHWKRGIRUFRQILJXULQJ
            GHYLFHVIRUIDVWQHWZRUNUROORXWV2QFHFRQILJXUHGWKLVPHWKRGRORJ\FDQDOVREHHIIHFWLYHO\

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       $&&(66*$7(:$<

           XVHGWRFHQWUDOO\PDQDJHFRQILJXUDWLRQSURILOHVIRUDOO1RPDGL[GHYLFHVLQWKHSXEOLFDFFHVV
           QHWZRUN
           7ZRVXEVHTXHQWHYHQWVGULYHWKHDXWRPDWLFFRQILJXUDWLRQRI1RPDGL[GHYLFHV
              $IORZRI5$',86$XWKHQWLFDWLRQ5HTXHVWDQG5HSO\PHVVDJHVEHWZHHQWKH1RPDGL[
                JDWHZD\DQGWKHFHQWUDOL]HG5$',86VHUYHUWKDWVSHFLILHVWKHORFDWLRQRIWKHPHWD
                FRQILJXUDWLRQILOH FRQWDLQLQJDOLVWLQJRIWKHLQGLYLGXDOFRQILJXUDWLRQILOHVDQGWKHLU
                GRZQORDGIUHTXHQF\VWDWXV DUHGRZQORDGHGIURPDQ)73VHUYHULQWRWKHIODVKRIWKH
                1RPDGL[GHYLFH
              'HILQHVWKHDXWRPDWHGORJLQLQWRWKHFHQWUDOL]HG)73VHUYHUDQGWKHDFWXDOGRZQORDG
                SURFHVVLQWRWKHIODVK
           2SWLRQDOO\WKH5$',86DXWKHQWLFDWLRQSURFHVVDQG)73GRZQORDGFDQEHVHFXUHGE\VHQGLQJ
           WKHWUDIILFWKURXJKDSHHUWRSHHU,36HFWXQQHOHVWDEOLVKHGE\WKH1RPDGL[JDWHZD\DQG
           WHUPLQDWHGDWWKH12& 1HWZRUN2SHUDWLRQV&HQWHU 6HHDOVR³6HFXUH0DQDJHPHQW´RQ
           SDJH 


           RADIUS Client
           1RPDGL[RIIHUVDQLQWHJUDWHG5$',86 5HPRWH$XWKHQWLFDWLRQ'LDO,Q8VHU6HUYLFH FOLHQW
           ZLWKWKH16(DOORZLQJVHUYLFHSURYLGHUVWRWUDFNRUELOOXVHUVEDVHGRQWKHQXPEHURI
           FRQQHFWLRQVORFDWLRQRIWKHFRQQHFWLRQE\WHVVHQWDQGUHFHLYHGFRQQHFWWLPHHWF7KH
           FXVWRPHUGDWDEDVHFDQH[LVWLQDFHQWUDO5$',86VHUYHUDORQJZLWKDVVRFLDWHGDWWULEXWHVIRU
           HDFKXVHU:KHQDFXVWRPHUFRQQHFWVLQWRWKHQHWZRUNWKH5$',86FOLHQWDXWKHQWLFDWHVWKH
           FXVWRPHUZLWKWKH5$',86VHUYHUDSSOLHVDVVRFLDWHGDWWULEXWHVVWRUHGLQWKDWFXVWRPHU V
           SURILOHDQGORJVWKHLUDFWLYLW\ LQFOXGLQJE\WHVWUDQVIHUUHGFRQQHFWWLPHHWF 7KH16( V
           5$',86LPSOHPHQWDWLRQDOVRKDQGOHVYHQGRUVSHFLILFDWWULEXWHV 96$V UHTXLUHGE\:,63V
           WKDWZDQWWRHQDEOHPRUHDGYDQFHGVHUYLFHVDQGELOOLQJVFKHPHVVXFKDVDSHUGHYLFHSHU
           PRQWKFRQQHFWLYLW\IHH


           RADIUS Proxy
           7KH5$',863UR[\IHDWXUHUHOD\VDXWKHQWLFDWLRQDQGDFFRXQWLQJSDFNHWVEHWZHHQWKHSDUWLHV
           SHUIRUPLQJWKHDXWKHQWLFDWLRQSURFHVV'LIIHUHQWUHDOPVFDQEHVHWXSWRGLUHFWO\FKDQQHO
           5$',86PHVVDJHVWRWKHYDULRXV5$',86VHUYHUV7KLVIXQFWLRQDOLW\FDQEHHIIHFWLYHO\
           GHSOR\HGWR
                z     6XSSRUWDZKROHVDOH:,63PRGHOGLUHFWO\IURPWKHHGJHZLWKRXWWKHQHHGIRUDQ\
                      FHQWUDOL]HG$$$SUR[\LQIUDVWUXFWXUH
                z     6XSSRUW($3DXWKHQWLFDWRUV IRUH[DPSOH:/$1$3V RQWKHVXEVFULEHUVLGHRIWKH
                      16(WRWUDQVSDUHQWO\SUR[\DOO($3W\SHV 7/66,0HWF DQGWRDOORZIRUWKH
                      GLVWULEXWLRQRISHUVHVVLRQNH\VWR($3DXWKHQWLFDWRUVDQGVXSSOLFDQWV



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                                                                                         $&&(66*$7(:$<

            Realm-Based Routing
            5HDOP%DVHG5RXWLQJSURYLGHVDGYDQFHG1$, 1HWZRUN$FFHVV,GHQWLILHU URXWLQJ
            FDSDELOLWLHVHQDEOLQJPXOWLSOHVHUYLFHSURYLGHUVWRVKDUHD+RW6SRWORFDWLRQIXUWKHUVXSSRUWLQJ
            D:L)LZKROHVDOHPRGHO7KLVIXQFWLRQDOLW\DOORZVXVHUVWRLQWHUDFWRQO\ZLWKWKHLUFKRVHQ
            SURYLGHULQDVHDPOHVVDQGWUDQVSDUHQWPDQQHU
            7KH$FFHVV*DWHZD\FDQURXWH5$',86PHVVDJHVGHSHQGLQJRQWKH1HWZRUN$FFHVV
            ,GHQWLILHU 1$, %RWKSUHIL[EDVHG IRUH[DPSOHISP/username@ISP.net DQGVXIIL[EDVHG
             username@ISP.net 1$,URXWLQJPHFKDQLVPVDUHVXSSRUWHG7RJHWKHUWKH5$',863UR[\
            DQG5HDOP%DVHG5RXWLQJIXUWKHUVXSSRUWWKHGHSOR\PHQWRIWKH:KROHVDOH:L)LPRGHO
            DOORZLQJPXOWLSOHSURYLGHUVWRVHUYLFHRQHORFDWLRQ


            Remember Me and RADIUS Re-Authentication
            7KH16(¶V,QWHUQDO:HE6HUYHU ,:6 VWRUHVHQFU\SWHGORJLQFRRNLHVLQWKHEURZVHUWR
            UHPHPEHUORJLQVXVLQJXVHUQDPHVDQGSDVVZRUGV7KLV³5HPHPEHU0H´IXQFWLRQDOLW\FUHDWHV
            DPRUHHIILFLHQWDQGEHWWHUXVHUH[SHULHQFHLQZLUHOHVVQHWZRUNV
            5$',865H$XWKHQWLFDWLRQDOORZVWKH$FFHVV*DWHZD\WRVWRUHWKH5$',86FUHGHQWLDOVRI
            VSHFLILFGHYLFHVIRUDFRQILJXUDEOHSHULRGRIWLPH7KLVKHOSVGHYLFHVWRVHDPOHVVO\OHDYHDQG
            WKHQUHFRQQHFWWRWKHJXHVWQHWZRUNDQGUHWDLQWKHLU5$',86SDUDPHWHUVZLWKRXWUHTXLULQJ
            DQRWKHUPDQXDOORJLQ6HHDOVR³'HILQLQJWKH5$',86&OLHQW6HWWLQJV^5$',86&OLHQW`´RQ
            SDJH 


            Secure Management
            7KHUHDUHPDQ\GLIIHUHQWZD\VWRFRQILJXUHPDQDJHDQGPRQLWRUWKHSHUIRUPDQFHDQGXSWLPH
            RIQHWZRUNGHYLFHV61037HOQHW+773DQG,&03DUHDOOFRPPRQSURWRFROVWRDFFRPSOLVK
            QHWZRUNPDQDJHPHQWREMHFWLYHV$QGZLWKLQWKRVHREMHFWLYHVLVWKHUHTXLUHPHQWWRSURYLGHWKH
            KLJKHVWOHYHORIVHFXULW\SRVVLEOH
            :KLOHVHYHUDOQHWZRUNSURWRFROVKDYHHYROYHGWKDWRIIHUVRPHOHYHORIVHFXULW\DQGGDWD
            HQFU\SWLRQWKHSUHIHUUHGPHWKRGIRUDWWDLQLQJPD[LPXPVHFXULW\DFURVVDOOQHWZRUNGHYLFHVLV
            WRHVWDEOLVKDQ,36HFWXQQHOEHWZHHQWKH12& 1HWZRUN2SHUDWLRQV&HQWHU DQGWKHHGJH
            GHYLFH HDUO\931SURWRFROVVXFKDV3373KDYHEHHQZLGHO\GLVFUHGLWHGDVDVHFXUHWXQQHOLQJ
            PHWKRG 
            $VSDUWRI1RPDGL[¶FRPPLWPHQWWRSURYLGHRXWVWDQGLQJFDUULHUFODVVQHWZRUNPDQDJHPHQW
            FDSDELOLWLHVWRLWVIDPLO\RISXEOLFDFFHVVJDWHZD\VZHRIIHUVHFXUHPDQDJHPHQWWKURXJKWKH
            16(¶VVWDQGDUGVGULYHQSHHUWRSHHU,36HFWXQQHOLQJZLWKVWURQJGDWDHQFU\SWLRQ(VWDEOLVKLQJ
            WKH,36HFWXQQHOQRWRQO\DOORZVIRUWKHVHFXUHPDQDJHPHQWRIWKH1RPDGL[JDWHZD\XVLQJDQ\
            SUHIHUUHGPDQDJHPHQWSURWRFROEXWDOVRWKHVHFXUHPDQDJHPHQWRIWKLUGSDUW\GHYLFHV IRU
            H[DPSOH:/$1$FFHVV3RLQWVDQGVZLWFKHV RQSULYDWHVXEQHWVRQWKHVXEVFULEHUVLGH
            RIWKH1RPDGL[JDWHZD\6HHDOVR³'HILQLQJ,36HF7XQQHO6HWWLQJV^,36HF`´RQSDJH 


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       $&&(66*$7(:$<

           7ZRVXEVHTXHQWHYHQWVGULYHWKHVHFXUHPDQDJHPHQWIXQFWLRQRIWKH1RPDGL[JDWHZD\DQGWKH
           GHYLFHVEHKLQGLW
              (VWDEOLVKLQJDQ,36HFWXQQHOWRDFHQWUDOL]HG,36HFWHUPLQDWLRQVHUYHU IRUH[DPSOH
                1RUWHO&RQWLYLW\ $VSDUWRIWKHVHVVLRQHVWDEOLVKPHQWSURFHVVNH\WXQQHOSDUDPHWHUVDUH
                H[FKDQJHG IRUH[DPSOH+DVK$OJRULWKP6HFXULW\$VVRFLDWLRQ/LIHWLPHVHWF 
              7KHH[FKDQJHRIPDQDJHPHQWWUDIILFHLWKHURULJLQDWLQJDWWKH12&RUIURPWKHHGJH
                GHYLFHWKURXJKWKH,36HFWXQQHO$OWHUQDWLYHO\$$$GDWDVXFKDV5$',86
                $XWKHQWLFDWLRQDQG$FFRXQWLQJWUDIILFFDQEHVHQWWKURXJKWKH,36HFWXQQHO6HHDOVR
                ³5$',86&OLHQW´RQSDJH 
           7KHDGYDQWDJHRIXVLQJ,36HFLVWKDWDOOW\SHVRIPDQDJHPHQWWUDIILFDUHVXSSRUWHGLQFOXGLQJ
           WKHIROORZLQJW\SLFDOH[DPSOHV
                z     ,&033,1*IURP12&WRHGJHGHYLFHV
                z     7HOQHW7HOQHWIURP12&WRHGJHGHYLFHV
                z     :HE0DQDJHPHQW+773DFFHVVIURP12&WRHGJHGHYLFHV
                z     6103
                        z   6103*(7IURP12&WRVXEVFULEHUVLGHGHYLFH IRUH[DPSOH$3
                        z   61036(7IURP12&WRVXEVFULEHUVLGHGHYLFH IRUH[DPSOH$3
                        z   61037UDSIURPVXEVFULEHUVLGHGHYLFH IRUH[DPSOH$3 WR12&


           Secure Socket Layer (SSL)
           7KLVIHDWXUHDOORZVIRUWKHFUHDWLRQRIDQHQGWRHQGHQFU\SWHGOLQNEHWZHHQ\RXU16(
           SRZHUHGSURGXFWDQGZLUHOHVVFOLHQWVE\HQDEOLQJWKH,QWHUQDO:HE6HUYHU ,:6 WRGLVSOD\
           SDJHVXQGHUDVHFXUHOLQN²LPSRUWDQWZKHQWUDQVPLWWLQJ$$$LQIRUPDWLRQLQDZLUHOHVV
           QHWZRUNZKHQXVLQJ5$',86
           66/UHTXLUHVVHUYLFHSURYLGHUVWRREWDLQGLJLWDOFHUWLILFDWHVWRFUHDWH+7736SDJHV
           ,QVWUXFWLRQVIRUREWDLQLQJFHUWLILFDWHVDUHSURYLGHGE\1RPDGL[


           Secure XML API
           ;0/ ([WHQVLEOH0DUNXS/DQJXDJH LVXVHGE\WKHVXEVFULEHUPDQDJHPHQWPRGXOHIRUXVHU
           DGPLQLVWUDWLRQ7KH;0/LQWHUIDFHDOORZVWKH16(WRDFFHSWDQGSURFHVV;0/FRPPDQGV
           IURPDQH[WHUQDOVRXUFH;0/FRPPDQGVDUHVHQWRYHUWKHQHWZRUNWR\RXU16(SRZHUHG
           SURGXFWZKLFKH[HFXWHVWKHFRPPDQGVDQGUHWXUQVGDWDWRWKHV\VWHPWKDWLQLWLDWHGWKH
           FRPPDQGUHTXHVW;0/HQDEOHVVROXWLRQSURYLGHUVWRFXVWRPL]HDQGHQKDQFHWKHLUSURGXFW
           LQVWDOODWLRQV




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                                                                                          $&&(66*$7(:$<

            7KLVIHDWXUHDOORZVWKHRSHUDWRUWRXVH1RPDGL[ SRSXODU;0/$3,XVLQJWKHEXLOWLQ66/
            FHUWLILFDWHIXQFWLRQDOLW\LQWKH16(VRWKDWSDUDPHWHUVSDVVHGEHWZHHQWKH*DWHZD\DQGWKH
            FHQWUDOL]HG:HEVHUYHUDUHVHFXUHGYLD66/

                          If you plan to implement XML for external billing, please contact technical
                          support for the XML specification of your product. Refer to ³&RQWDFW
                          ,QIRUPDWLRQ´RQSDJH .


            Session Rate Limiting (SRL)
            6HVVLRQ5DWH/LPLWLQJ 65/ VLJQLILFDQWO\UHGXFHVWKHULVNRI³'HQLDORI6HUYLFH´DWWDFNVE\
            DOORZLQJDGPLQLVWUDWRUVWROLPLWWKHQXPEHUVHVVLRQVDQ\RQHXVHUFDQWDNHRYHUDJLYHQWLPH
            SHULRGDQGLIQHFHVVDU\WKHQEORFNPDOLFLRXVXVHUV


            Session Termination Redirect
            2QFHFRQQHFWHGWRWKHSXEOLFDFFHVVQHWZRUNWKH16(ZLOODXWRPDWLFDOO\UHGLUHFWWKHFXVWRPHU
            WRD:HEVLWHIRUORFDORUSHUVRQDOL]HGVHUYLFHVLIWKHFXVWRPHUORJVRXWRUWKHFXVWRPHU¶V
            DFFRXQWH[SLUHVZKLOHRQOLQHDQGWKHJRRGE\HSDJHLVHQDEOHG,QDGGLWLRQWKH16(DOVR
            SURYLGHVSUHDQGSRVWDXWKHQWLFDWLRQUHGLUHFWVDVZHOODVRQHDWVHVVLRQWHUPLQDWLRQ


            Smart Client Support
            7KH16(VXSSRUWVDXWKHQWLFDWLRQPHFKDQLVPVXVHGE\6PDUW&OLHQWVE\FRPSDQLHVVXFKDV
            $GMXQJR1HWZRUNV%RLQJR:LUHOHVV*5,&DQGL3DVV


            SNMP Nomadix Private MIB
            1RPDGL[¶$FFHVV*DWHZD\VFDQEHHDVLO\PDQDJHGRYHUWKH,QWHUQHWZLWKDQ6103FOLHQW
            PDQDJHU IRUH[DPSOH+32SHQ9LHZRU&DVWOH5RFN 6HH³8VLQJDQ61030DQDJHU´RQ
            SDJH 
            7RWDNHDGYDQWDJHRIWKHIXQFWLRQDOLW\SURYLGHGZLWK1RPDGL[¶SULYDWH0,% 0DQDJHPHQW
            ,QIRUPDWLRQ%DVH WRYLHZDQGPDQDJH6103REMHFWVRQ\RXUSURGXFWVHH³,QVWDOOLQJWKH
            1RPDGL[3ULYDWH0,%´RQSDJH 


            Static Port Mapping
            7KLVIHDWXUHDOORZVWKHQHWZRUNDGPLQLVWUDWRUWRVHWXSDSRUWPDSSLQJVFKHPHWKDWIRUZDUGV
            SDFNHWVUHFHLYHGRQDVSHFLILFSRUWWRDSDUWLFXODUVWDWLF,3 W\SLFDOO\SULYDWHDQGPLVFRQILJXUHG 
            DQGSRUWQXPEHURQWKHVXEVFULEHUVLGHRIWKH16(7KHDGYDQWDJHIRUWKHQHWZRUN



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           DGPLQLVWUDWRULVWKDWIUHHSULYDWH,3DGGUHVVHVFDQEHXVHGWRPDQDJHGHYLFHV VXFKDV$FFHVV
           3RLQWV RQWKHVXEVFULEHUVLGHRIWKH16(ZLWKRXWVHWWLQJWKHPXSZLWK3XEOLF,3DGGUHVVHV


           Tri-Mode Authentication
           7KH16(HQDEOHVPXOWLSOHDXWKHQWLFDWLRQPRGHOVSURYLGLQJWKHPD[LPXPDPRXQWRIIOH[LELOLW\
           WRWKHHQGXVHUDQGWRWKHRSHUDWRUE\VXSSRUWLQJDQ\W\SHRIFOLHQWHQWHULQJWKHLUQHWZRUNDQG
           DQ\W\SHRIEXVLQHVVUHODWLRQVKLSRQWKHEDFNHQG)RUH[DPSOHLQDGGLWLRQWRVXSSRUWLQJWKH
           VHFXUHEURZVHUEDVHG8QLYHUVDO$FFHVV0HWKRG 8$0 YLD66/1RPDGL[LVWKHRQO\
           FRPSDQ\WRVLPXOWDQHRXVO\VXSSRUWSRUWEDVHGDXWKHQWLFDWLRQXVLQJ,((([DQG
           DXWKHQWLFDWLRQPHFKDQLVPVXVHGE\6PDUW&OLHQWV0$&EDVHGDXWKHQWLFDWLRQLVDOVR
           DYDLODEOH
           6HHDOVR
               z       $FFHVV&RQWURODQG$XWKHQWLFDWLRQ
               z       6PDUW&OLHQW6XSSRUW


           URL Filtering
           7KH16(FDQUHVWULFWDFFHVVWRVSHFLILHG:HEVLWHVEDVHGRQ85/VGHILQHGE\WKHV\VWHP
           DGPLQLVWUDWRU85/ILOWHULQJZLOOEORFNDFFHVVWRDOLVWRIVLWHVDQGRUGRPDLQVHQWHUHGE\WKH
           DGPLQLVWUDWRUXVLQJWKHIROORZLQJWKUHHPHWKRGV
               z       +RVW,3DGGUHVV IRUH[DPSOH 
               z       +RVW'16QDPH IRUH[DPSOHZZZ\DKRRFRP 
               z       '16GRPDLQQDPH IRUH[DPSOH \DKRRFRPPHDQLQJDOOVLWHVXQGHUWKH
                       \DKRRFRPKLHUDUFK\VXFKDVILQDQFH\DKRRFRPVSRUWV\DKRRFRPHWF 
           7KHV\VWHPDGPLQLVWUDWRUFDQG\QDPLFDOO\DGGRUUHPRYHXSWRVSHFLILF,3DGGUHVVHVDQG
           GRPDLQQDPHVWREHILOWHUHGIRUHDFKSURSHUW\


           Walled Garden
           7KH16(SURYLGHVXSWR,3SDVVWKURXJKDGGUHVVHV DQGRU'16HQWULHV DOORZLQJ\RXWR
           FUHDWHD³:DOOHG*DUGHQ´ZLWKLQWKH,QWHUQHWZKHUHXQDXWKHQWLFDWHGXVHUVFDQEHJUDQWHGRU
           GHQLHGDFFHVVWRVLWHVRI\RXUFKRRVLQJ




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                                                                                      $&&(66*$7(:$<

            Web Management Interface
            1RPDGL[¶$FFHVV*DWHZD\VFDQEHPDQDJHGUHPRWHO\YLDWKHEXLOWLQ:HE0DQDJHPHQW
            ,QWHUIDFHZKHUHYDULRXVOHYHOVRIDGPLQLVWUDWLRQFDQEHHVWDEOLVKHG6HHDOVR³8VLQJWKH:HE
            0DQDJHPHQW,QWHUIDFH :0, ´RQSDJH 


            Weighted Fair Queueing
            :HLJKWHG)DLU4XHXHLQJDOORFDWHVEDQGZLGWKWRLQGLYLGXDOXVHUVRUJURXSVLQSURSRUWLRQWR
            WKHLULQGLYLGXDORUJURXSEDQGZLGWKOLPLWV:HLJKWHG)DLU4XHXHLQJSURYLGHVDIDOOEDFNLQDQ
            RYHUVXEVFULEHGVFHQDULR

            Example Scenario
            <RXUIDFLOLW\KDVD0ESVLQWHUQHWFRQQHFWLRQ<RXKDYHVXEVFULEHUVZLWKDEDVLFSODQ
            ZLWK0XSGRZQEDQGZLGWKOLPLWVDQGVXEVFULEHUVZLWKDSUHPLXPSODQZLWK0XS
            GRZQVSHHGV
            $WIXOOFDSDFLW\\RXUVXEVFULEHUVZLOOFRQVXPH0ESV+RZHYHUWKHWRWDODYDLODEOH
            EDQGZLGWKLVRQO\0ESV
            :KHQ:)4LV21WKHSUHPLXPVXEVFULEHUVZLOOJHWDWRWDOEDQGZLGWKRI0%$QGUHJXODU
            VXEVFULEHUVZLOOJHWDWRWDOEDQGZLGWKRI0%RQO\7KHUDWLRRIEDQGZLGWKXWLOL]DWLRQ
            EHWZHHQWKHSUHPLXPVXEVFULEHUVDQGUHJXODUVXEVFULEHUVUHPDLQV




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       $&&(66*$7(:$<

       2SWLRQDO16(0RGXOHV

           Load Balancing

                        Load Balancing requires an optional NSE product license

           :LWKWKH/RDG%DODQFLQJ0RGXOH,QWHUQHWWUDIILFLVEDODQFHGDFURVVPXOWLSOH:$1,63
           FRQQHFWLRQVWRHQVXUHWKDWWUDIILFLVGLVWULEXWHGEDVHGRQWKHFDSDELOLW\RIHDFKFRQQHFWLRQ)RU
           H[DPSOHRUJDQL]DWLRQVPD\ZLVKWREDODQFHWUDIILFEHWZHHQDORZFRVW'6/:$1,63DQGRQH
           KLJKSHUIRUPDQFHKLJKFDSDFLW\:$1,637KLVLVRIYDOXHZKHQPXOWLSOHOLQNVDUHXVHGWR
           RSWLPL]HFRVWIRU,QWHUQHWVHUYLFHVXFKDVEDODQFLQJWUDIILFEHWZHHQRQHORZFRVW'6/:$1
           ,63DQGRQHKLJKSHUIRUPDQFHKLJKFDSDFLW\:$1,63+RWHOVPD\DOVRXVHWKLVFDSDELOLW\WR
           SURYLGHWLHUHGVHUYLFHVUHIOHFWLQJWKHFDSDFLW\RIWKH:$1,63FRQQHFWLRQ
           7KH/LQN)DLORYHUIHDWXUHRIWKH/RDG%DODQFLQJ0RGXOHLVGHVLJQHGWRLPSURYHEXVLQHVV
           FRQWLQXLW\,QWKHHYHQWWKDWRQHRUPRUHOLQNVIDLOWUDIILFLVVHDPOHVVO\UHURXWHGWRWKH
           UHPDLQLQJVXUYLYLQJOLQNVZLWKRXWODSVHRIVHUYLFH:KHQWKHIDLOHGOLQNVUHFRYHUWKH16(
           URXWHVQHZFRQQHFWLRQVWRZDUGWKHQRZZRUNLQJOLQNVXQWLODQRUPDOEDODQFHGFRQILJXUDWLRQ
           LVUHDFKHG
           )RUGHWDLOVRIWKH/RDG%DODQFLQJFDSDELOLWLHVDQGVDPSOHXVHFDVHVVHH³/RDG%DODQFLQJDQG
           /LQN)DLORYHU´RQSDJH 


           Hospitality Module
           7KHRSWLRQDO+RVSLWDOLW\0RGXOHSURYLGHVWKHZLGHVWUDQJHRI3URSHUW\0DQDJHPHQW6\VWHP
            306 LQWHUIDFHVWRHQDEOHLQURRPJXHVWELOOLQJIRU+LJK6SHHG,QWHUQHW$FFHVV +6,$ 
           VHUYLFH7KLVPRGXOHDOVRLQFOXGHV:D\306LQWHUIDFHFDSDELOLW\IRULQURRPELOOLQJLQD:L
           )LHQDEOHGQHWZRUN,QDGGLWLRQWKH+RVSLWDOLW\0RGXOHLQFOXGHVWKH%LOO0LUURUIXQFWLRQDOLW\
           IRUSRVWLQJRIELOOLQJUHFRUGVWRPXOWLSOHVRXUFHV:LWKWKLVPRGXOHWKH16(DOVRVXSSRUWV
           ELOOLQJRYHUD7&3,3FRQQHFWLRQWRVHOHFW306LQWHUIDFHV
           %\LQWHJUDWLQJZLWKDKRWHO¶V306\RXU16(SRZHUHGSURGXFWFDQSRVWFKDUJHVIRU,QWHUQHW
           DFFHVVGLUHFWO\WRDJXHVW¶VKRWHOELOO,QWKLVFDVHWKHJXHVWLVELOOHGRQO\RQFH7KH16(
           RXWSXWVDFDOODFFRXQWLQJUHFRUGWRWKH306V\VWHPZKHQHYHUDVXEVFULEHUSXUFKDVHV,QWHUQHW
           VHUYLFHDQGGHFLGHVWRSRVWWKHFKDUJHVWRWKHLUURRP1RPDGL[¶$FFHVV*DWHZD\VDUH
           HTXLSSHGZLWKDVHULDO306LQWHUIDFHSRUWWRIDFLOLWDWHFRQQHFWLYLW\ZLWKDFXVWRPHU¶V3URSHUW\
           0DQDJHPHQW6\VWHP

                        Some Property Management Systems may require you to obtain a license before
                        integrating the PMS with the Access Gateway. Check with the PMS vendor.



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                                                                                     $&&(66*$7(:$<

            High Availability Module

                         Your product license may not support this feature.

            7KHRSWLRQDO+LJK$YDLODELOLW\0RGXOHRIIHUVHQKDQFHGQHWZRUNXSWLPHDQGVHUYLFH
            DYDLODELOLW\ZKHQGHOLYHULQJKLJKTXDOLW\:L)LVHUYLFHE\SURYLGLQJ)DLO2YHUIXQFWLRQDOLW\
            7KLVPRGXOHDOORZVDVHFRQGDU\1RPDGL[$FFHVV*DWHZD\WREHSODFHGLQWKHQHWZRUNWKDWFDQ
            WDNHRYHULIWKHSULPDU\GHYLFHIDLOVHQVXULQJ:L)LVHUYLFHUHPDLQVXQLQWHUUXSWHG




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       $&&(66*$7(:$<

       1HWZRUN$UFKLWHFWXUH 6DPSOH
           7KH$FFHVV*DWHZD\FDQEHGHSOR\HGHIIHFWLYHO\LQDYDULHW\RIZLUHOHVVDQGZLUHGEURDGEDQG
           HQYLURQPHQWVZKHUHWKHUHDUHPDQ\XVHUV²XVXDOO\PRELOH²ZKRQHHGKLJKVSHHGDFFHVVWR
           WKH,QWHUQHW
           7KHIROORZLQJH[DPSOHVKRZVDSRWHQWLDO+RVSLWDOLW\DSSOLFDWLRQ




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                                                                                       $&&(66*$7(:$<

       0XOWLSOH8QLW&OXVWHULQJ
            ,QWKHUHFHQWSDVWLWZDVQHFHVVDU\WRVHJPHQWWKHQHWZRUNWRVHUYHDQXPEHURIVXEVFULEHUV
            WKDWH[FHHGWKHXVHUFRXQWRQD1RPDGL[JDWHZD\1RZZLWKFOXVWHULQJDOOVXEVFULEHUVFDQEH
            RQWKHVDPHVHJPHQWDVWKHVXEVFULEHUVDUHGLVWULEXWHGDFURVVPXOWLSOHJDWHZD\V$ODUJH
            QXPEHURIVXEVFULEHUVFDQEHGLVWULEXWHGWRDVPDQ\DVJDWHZD\VWKXVSURYLGLQJDGHVLJQ
            FDSDFLW\RIWZRPLOOLRQVXEVFULEHUV
            2QHFDQVFDOHWKHFOXVWHUXSDQGGRZQMXVWE\DGGLQJJDWHZD\VRUUHPRYLQJJDWHZD\V
            5HPHPEHUWKDWDVXEVFULEHUDQGWKHVXEVFULEHU¶V0$&DGGUHVVDUHSRVLWLRQHGLQDVSHFLILF
            JDWHZD\VRFKDQJLQJWKHQXPEHURIJDWHZD\VZLOOUHTXLUHWKHJDWHZD\VWRUHFRQILJXUHDQG
            WKHLUFXUUHQWVXEVFULEHUWDEOHXSGDWHG,IDSUHSDLGVXEVFULEHUH[LVWVLQDUDGLXVRU
            DXWKHQWLFDWLRQILOHWKLVSUHSD\PHQWZLOOEHORVW,WLVUHFRPPHQGHGWKDWSUHSD\PHQWVLWXDWLRQV
            VKRXOGEHDYRLGHG
            7KHFOXVWHUZLOOGLVWULEXWHWKHVXEVFULEHUV0$&DGGUHVVHVDFFRUGLQJWRDPRGXOXVFDOFXODWLRQ
            EDVHGRQWKHODVWWKUHHE\WHVRIWKH0$&DGGUHVVRIWKHVXEVFULEHU7KHUHVXOWZLOOGHWHUPLQH
            ZKLFKJDWHZD\ZLOOVXSSRUWWKDW0$&DGGUHVVZKLOHWKHRWKHUJDWHZD\VLJQRUHWKHWUDIILFIRU
            WKH0$&
            7KHUHLVFXUUHQWO\QRIDLORYHULQVXSSRUWRIFOXVWHULQJ7KHIROORZLQJRWKHU16(IHDWXUHVDUH
            QRWFRPSDWLEOHZLWKFOXVWHULQJ
                 z   3UR[\$53IRUGHYLFH
                 z   5RXWHGVXEVFULEHUV


            Identifying the Resident Gateway in a Cluster Environment
            7RGLDJQRVHGHYLFHFRQQHFWLRQSUREOHPVLQDFOXVWHUHQYLURQPHQW\RXPXVWLGHQWLI\WKH
            UHVLGHQWJDWHZD\)RUDJLYHQ0$&DGGUHVV\RXFDQGHWHUPLQHWKHJDWHZD\DVIROORZV<RX
            ZLOOQHHGWKHODVWWKUHHE\WHVRIWKHGHYLFH0$&DGGUHVVDQGWKHWRWDOQXPEHURIJDWHZD\V
            &RQYHUWWKHKH[E\WHVWRGHFLPDO
               8VLQJWKH:LQGRZV&DOFXODWRULQSURJUDPPHUPRGH
               ,QKH[PRGHLQSXWWKHODVWWKUHHE\WHVRIWKH0$&DGGUHVV
               &RQYHUWWRGHFLPDOE\XVLQJWKDWIXQFWLRQRQWKHFDOFXODWRU
            7KHUHVLGHQWJDWHZD\LVWKH GHFLPDOE\WHV PRGXOXV WKHWRWDOQXPEHURIJDWHZD\V SOXV




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       $&&(66*$7(:$<

           7KHIROORZLQJJUDSKLFLOOXVWUDWHVDFOXVWHULQJVFHQDULRZLWKXVHUVDQGWKUHHJDWHZD\V




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                                                                                           $&&(66*$7(:$<

       /RDG%DODQFLQJDQG/LQN)DLORYHU
            7KH16(VXSSRUWVLQGLYLGXDOFRQILJXUDWLRQRIPXOWLSOH:$1VRQDQ$FFHVV*DWHZD\
             VXSSRUWHGRQ$*$*$*DQG$*KDUGZDUH +RWHOVFDQXVHWKLV
            FDSDELOLW\LQDQXPEHURIZD\VLQFOXGLQJORDGEDODQFLQJIDLOXUHSURWHFWLRQDQGVXEVFULEHU
            DOORFDWLRQ
            7KLVVHFWLRQSURYLGHVXVHFDVHVDQGVFHQDULRVWRKHOS\RXFRQVLGHUWKHIXOODGYDQWDJHRIWKHVH
            FDSDELOLWLHV


            Definitions and Concepts

            /RDG%DODQFLQJ
            /RDGEDODQFLQJUHIHUVWRWKHJHQHUDOSURFHVVRIEDODQFLQJXVHUWUDIILFDFURVVPXOWLSOH,63
            FRQQHFWLRQV$OOORDGEDODQFLQJDSSOLDQFHVDVZHOODVWKH1RPDGL[16(VXSSRUWORDG
            EDODQFLQJ

            /LQN$JJUHJDWLRQ
            /LQNDJJUHJDWLRQUHIHUVWRWKHSURFHVVRIFRQQHFWLQJPXOWLSOH,63FRQQHFWLRQVWRDQDSSOLDQFH
            DQGKDYLQJWKHVXPRIDOORIWKH,63EDQGZLGWKDYDLODEOHWREHVKDUHGDFURVVDOOXVHUV
            +RZHYHURQHLQGLYLGXDOFRQQHFWLRQLVOLPLWHGWRWKHVSHHGRIWKH,63FRQQHFWLRQWKDWLV
            FXUUHQWO\EHLQJXVHG)RUH[DPSOHDKRWHOPD\DJJUHJDWH[0ESV'6/FRQQHFWLRQV
            WRJHWKHU7KLVPHDQVWKDWDWRWDORI0ESVRIEDQGZLGWKLVDYDLODEOHWREHVKDUHGDFURVVDOO
            XVHUVEXWDVLQJOHXVHUFDQUHFHLYHDPD[LPXPRI0ESV$OOORDGEDODQFLQJDSSOLDQFHVDV
            ZHOODVWKH1RPDGL[16(VXSSRUWOLQNDJJUHJDWLRQ,QPRVWFDVHVOLQNDJJUHJDWLRQDQGORDG
            EDODQFLQJLVHIIHFWLYHO\WKHVDPHWKLQJ

            /LQN)DLORYHU
            /LQNIDLORYHU VRPHWLPHVUHIHUUHGWR,63UHGXQGDQF\ LVWKHSURFHVVRISURYLGLQJDVHFRQG RU
            RFFDVLRQDOO\DWKLUGRUPRUH ,63OLQNDVDEDFNXSWRWKHSULPDU\,63OLQN,QWKHHYHQWWKDWWKH
            SULPDU\OLQNIDLOVDOOWUDIILFLVUHURXWHGWRWKHEDFNXSOLQNXQWLOVXFKWLPHDVWKHSULPDU\OLQN
            EHFRPHVDYDLODEOH

            &RPELQHG/RDG%DODQFLQJDQG/LQN)DLORYHU
            7KLVLVWKHSURFHVVZKHUHERWKORDGEDODQFLQJDQGOLQNIDLORYHUDUHFRPELQHGWRJHWKHU,W
            UHSUHVHQWVWKHEHVWRIERWKZRUOGV:KHUHPXOWLSOH,63OLQNVDUHXVHGLQORDGEDODQFLQJPRGH
            LQWKHHYHQWWKDWRQHRUPRUHOLQNVIDLODOOWUDIILFLVDXWRPDWLFDOO\UHURXWHGWRWKHUHPDLQLQJ
            VXUYLYLQJOLQNV:KHQWKHIDLOHGOLQNVUHFRYHUQHZFRQQHFWLRQVDUHURXWHGWRZDUGWKHVHXQWLO
            WKHQRUPDOEDODQFHGFRQILJXUDWLRQLVUHDFKHG




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       $&&(66*$7(:$<

           ,63OLQN6HOHFWLRQ&ULWHULD
           ,QDORDGEDODQFLQJVFHQDULRVRPHFULWHULDPXVWEHXVHGWRGHFLGHZKLFK,63LVVHOHFWHGIRU
           RXWJRLQJWUDIILF7KHUHDQXPEHURIIDFWRUVWKDWLQIOXHQFHWKLVGHFLVLRQLQFOXGLQJ
                z     ,GHQWLW\RIWKHXVHUV,VDUDQGRP,63VHFWLRQXVHGRULVLWGHVLUDEOHWRKDYHFHUWDLQ
                      XVHUVVWHHUHGWRZDUGDSDUWLFXODU,63"
                z     )RUUDQGRP,63:KHWKHUVXEVFULEHUGHVWLQDWLRQDGGUHVVRUVHVVLRQEDVHGOLQN
                      VHOHFWLRQLVXVHG"

           User-Based ISP Selection versus Random ISP Selection
           8VHUEDVHG,63VHOHFWLRQLVWKHSURFHVVZKHUHE\WKH,63OLQNWKDWLVVHOHFWHGLQDORDGEDODQFHG
           HQYLURQPHQWLVEDVHGRQWKHLGHQWLW\RIWKHXVHU)RUH[DPSOHDOOXVHUVIURPJXHVWURRPVPD\
           EHVWHHUHGWRZDUGRQH,63OLQNDQGDOOPHHWLQJURRPXVHUVVWHHUHGWRZDUGDQRWKHU,63OLQNWKDW
           LVRQO\XVHGIRUPHHWLQJVDQGFRQIHUHQFHV
           7KHDOWHUQDWLYHLVWRXVHUDQGRP,63VHOHFWLRQZKHUHE\WKHORDGEDODQFHURU16(VHOHFWVWKH
           ,63WREHXVHGDFFRUGLQJWRWKHFXUUHQWORDGFRQGLWLRQV7KH1RPDGL[16(XVHVUDQGRP,63
           VHOHFWLRQE\GHIDXOW

           /LQN$YDLODELOLW\'HWHFWLRQ0HWKRGDQG7LPH
           /RDGEDODQFLQJDQGIDLORYHUUHTXLUHVVRPHIRUPRIPRQLWRULQJRIHDFK,63OLQNWRGHWHUPLQH
           LWVDYDLODELOLW\IRUH[HFXWLQJORDGEDODQFLQJDQGIDLORYHUGHFLVLRQV*HQHUDOO\OLQNPRQLWRULQJ
           LVDFFRPSOLVKHGE\WZRGLIIHUHQWPHWKRGV
              3HULRGLFSURELQJRISUHGHILQHGKRVWVXVLQJ+773RU,&03SLQJUHTXHVWV
              3HULRGLF'16TXHULHVWRWKH'16VHUYHUVSURYLGHGE\HDFK,63
           7KHSHULRGEHWZHHQVXFFHVVLYHOLQNWHVWVLVXVXDOO\FRQILJXUHGDQGLVW\SLFDOO\VHWWREHWZHHQ
           VHFRQGVDQGVHFRQGV7KLVUHSUHVHQWVWKHPD[LPXPWLPHIRUZKLFKDXVHUZLOOUHPDLQ
           FRQQHFWHGWRDIDLOHG,63FRQQHFWLRQEHIRUHEHLQJUHURXWHGWRDZRUNLQJ,63OLQNLQDQ,63
           IDLOXUHVFHQDULR

           Traffic Balancing and Weighting
           /RDGEDODQFHUVKDYHVRPHIRUPRIZHLJKWLQJRIWUDIILFEHWZHHQOLQNVWRDFKLHYHDGHVLUHG
           EDODQFHVFHQDULR:LWKWKH1RPDGL[16(WUDIILFLVEDODQFHGE\LQGLYLGXDOVXEVFULEHU
           QXPEHUVDQGZHLJKWHGDFFRUGLQJWRWKHVSHHGRIWKH,63FRQQHFWHGWRHDFKSRUW)RUH[DPSOH
           LIDQ16(KDV[0OLQNVFRQQHFWHGDQGFXUUHQWO\KDVDFWLYHVXEVFULEHUVWKHQXVHUV
           ZRXOGEHFRQQHFWHGWRHDFKOLQN,IWKH,63OLQNVZHUH0ESVDQG0ESVWKHQXVHUV
           ZRXOGEHFRQQHFWHGWRWKH0OLQNDQGXVHUVWRWKH0OLQNDQGVRRQ




       Introduction                                                                                             35
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                                                                                           $&&(66*$7(:$<

            /RDG5HEDODQFLQJXSRQ/LQN5HFRYHU\
            /RDGEDODQFLQJDQGIDLORYHUZLWKZHOOFRQILJXUHGOLQNDYDLODELOLW\GHWHFWLRQSURYLGHVIDVWDQG
            HIIHFWLYHUHFRYHU\IURP,63OLQNIDLOXUHRFFXUUHQFHV$GGLWLRQDOFRQVLGHUDWLRQPXVWEHPDGHDV
            WRZKDWDFWLRQVVKRXOGEHWDNHQZKHQDIDLOHG,63OLQNUHFRYHUV7KH1RPDGL[DSSURDFKLVWR
            UHEDODQFHDVWKH,63OLQNVFKDQJHWKXVPDNLQJVXUHWKHPD[LPXPOHYHORIVHUYLFHLVDOZD\V
            SURYLGHG7KHUHLVDVPDOO\HWLPSRUWDQWZDLWLQJWLPHWRHQVXUHFKDQJLQJOLQNVLVNHSWWRD
            PLQLPXP

            /RDG%DODQFLQJDQG)DLOXUH&RQVLGHUDWLRQV
               ,VORDGEDODQFLQJRUMXVW,63IDLORYHUUHTXLUHG"
               ,VDJJUHJDWLRQRIPXOWLSOHORZVSHHGOLQNVUHTXLUHG"
               +RZUHOLDEOHDUHGLIIHUHQWORFDO,63VHUYLFHV"
               :KDWDUHWKHUHODWLYHFRVWVRIGLIIHUHQW,63VHUYLFHV"
               'R,63OLQNVQHHGWREHVKDUHGEHWZHHQJXHVWDQGEDFNRIILFHXVHUV"
               ,VWKHUHDUHTXLUHPHQWWRKDYHFHUWDLQXVHUVFRQQHFWHGWRDSDUWLFXODU,63"
            ,WPD\EHDUHTXLUHPHQWWRSURYLGHMXVWDEDFNXSVHUYLFHWRWKHSULPDU\,63VHUYLFHLQWKH
            FDVHWKDWWKHPDLQ+6,$,63IDLOV7KHEDFNXSVHUYLFHPD\EHRQDSD\WRXVHEDVLVWKURXJKD
            *RU*ZLUHOHVVPRGHPRUEHDORZFRVWORZHUWLHUVHUYLFHVXFKDVDFDEOHPRGHPVHUYLFH
            WKDWLVRQO\XVHGZKHQWKHPDLQ,63OLQNLVGRZQRQWKHEDVLVWKDWSURYLGLQJDUHGXFHG+6,$
            VHUYLFHLVEHWWHUWKDQQRVHUYLFHDWDOOZKHQWKHPDLQ,63OLQNLVGRZQ$OWHUQDWLYHO\WKH
            RUJDQL]DWLRQPD\KDYHPXOWLSOH,63OLQNVDQGZDQWVWREHDEOHWRIXOO\XWLOL]HDOORIWKHPXQGHU
            QRUPDOFRQGLWLRQV7KH1RPDGL[16(VXSSRUWVERWKIDLORYHURQO\DQGFRPELQHGORDG
            EDODQFLQJZLWKIDLORYHU
            ,QVRPHLQVWDQFHVVXLWDEOHKLJKVSHHGLQWHUQHWVHUYLFHVUHTXLUHGWRPHHWWKHDJJUHJDWHQHHGV
            RIWKHRUJDQL]DWLRQPD\QRWEHDYDLODEOHRUDUHVLPSO\WRRH[SHQVLYH,QWKLVFDVHLWPD\EH
            GHVLUDEOHWRDJJUHJDWHPXOWLSOHORZHUFRVWORZHUVSHHGOLQHVWRJHWKHU7KH1RPDGL[$*
            DQG$*FDQDJJUHJDWHVHUYLFHVIURPXSWRWKUHH,63OLQNVWKH$*DQG$*FDQ
            KDQGOHXSWRILYHOLQNV
            ,WLVLPSRUWDQWWRFRQVLGHUWKHUHODWLYHTXDOLW\RIHDFK,63OLQN,IDVHFRQGOLQNLVPXFKORZHU
            TXDOLW\WKDQWKHPDLQ,63OLQNWKHQLWVKRXOGRQO\EHXVHGDVDEDFNXSOLQNLQIDLORYHUPRGH
            DQGQRWLQDORDGEDODQFHGHQYLURQPHQW,IWKHTXDOLW\RIWKHOLQNVLVPXFKWKHVDPHWKHQORDG
            EDODQFLQJZLWKIDLORYHUVKRXOGEHXVHG
            ,WLVLPSRUWDQWWRFRQVLGHUWKHUHODWLYHFRVWRIOLQNV,IDOOOLQNVKDYHDIL[HGPRQWKO\FKDUJH
            WKHQLGHDOO\WKH\VKRXOGEHXVHGLQDORDGEDODQFHGPRGHVRWKDWFRVWO\OLQNVDUHQRWVLWWLQJ
            XQXVHGPRVWRIWKHWLPH%XWLIDQ,63OLQNKDVDUHODWLYHO\ORZPRQWKO\FKDUJHZLWKKLJKSHU
            PHJDE\WHGDWDXVDJHFKDUJHVWKHQLWVKRXOGRQO\EHXVHGLQIDLORYHUPRGHDVDEDFNXSWRD
            PDLQ,63OLQN



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           ,WPD\EHUHTXLUHPHQWWRVKDUH,63EDQGZLGWKEHWZHHQ*XHVW+6,$DQG+RWHO$GPLQ
           QHWZRUNVRUKDYHHDFKQHWZRUNDYDLODEOHDVDIDOOEDFNQHWZRUNIRUWKHRWKHU%RWKVFHQDULRV
           FDQEHKDQGOHGZLWKWKH1RPDGL[16(
           ,WPD\EHGHVLUDEOHWRKDYHFHUWDLQXVHUVFRQQHFWHGWRDSDUWLFXODU,63OLQNDQGRWKHUXVHUV
           FRQQHFWHGWRDGLIIHUHQW,63OLQN7KH1RPDGL[16(SURYLGHVD³SUHIHUUHG:$1´UDGLXV
           DWWULEXWH 96$ )RUH[DPSOHSD\LQJXVHUVPD\EHFRQQHFWHGWRDQH[SHQVLYHKLJKTXDOLW\
           OLQNZLWKIUHHXVHUVFRQQHFWHGWRDORZHUTXDOLW\OLQNZLWKOLQNIDLORYHUVWLOODYDLODEOHLIWKH
           SUHIHUUHGOLQNIDLOV
           6RPHH[DPSOHVRIW\SLFDOFRPPRQGHSOR\PHQWVFHQDULRVDUHRXWOLQHGEHORZ7KHVHDUHMXVW
           H[DPSOHVDQGRWKHUGHSOR\PHQWVFHQDULRVFDQEHKDQGOHGDVZHOO


           Load Balancing across Multiple Low Speed Links
           ,QWKLVH[DPSOHDQHVWDEOLVKPHQWKDVDFFHVVWRRQO\ORZVSHHG'6/EDVHG,63FLUFXLWVDQG
           ZLVKHVWRDJJUHJDWHILYHVXFKOLQNVWRJHWKHU7KH1RPDGL[16(LVFRQILJXUHGZLWKORDG
           EDODQFLQJEHWZHHQDOOOLQNV




           Failover to Standby ISP Link
           ,QWKLVH[DPSOHWKHRUJDQL]DWLRQKDVDKLJKTXDOLW\0(WKHUQHWVHUYLFH%XWWRJXDUDQWHH
           FRQWLQXRXV+6,$VHUYLFHWKHRUJDQL]DWLRQKDVDEDFNXS,63VHUYLFHIURPDORZFRVWZLUHOHVV


       Introduction                                                                                         37
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            SURYLGHUZKLFKFKDUJHVRQDGDWDYROXPHEDVLV7KHRUJDQL]DWLRQRQO\ZLVKHVIRUWKLVOLQNWR
            EHXVHGZKHQWKHPDLQ,63FLUFXLWLVQRWDYDLODEOH
            7KH1RPDGL[16(LVFRQILJXUHGIRUIDLORYHURQO\IURPWKH:$1WRSRUW(WKRQWKH16(




            Separate Guest HSIA and Admin ISP Links, with Failover Between Each
            ISP Link
            ,QWKLVVFHQDULRWKHKRWHOKDVVHSDUDWH+6,$DQG+RWHO$GPLQ,63FLUFXLWV8QGHUQRUPDO
            FLUFXPVWDQFHV*XHVWVZLOOEHFRQQHFWHGWRWKH*XHVW+6,$,63DQG+RWHO$GPLQXVHUVZLOO
            FRQQHFWWRWKH$GPLQ,63,IHLWKHUOLQNIDLOVWKHQIDLORYHUWRWKHRWKHUOLQNZLOORFFXU,IWKH
            *XHVW+6,$OLQNIDLOVWKHJXHVWVZLOOEHFRQQHFWHGWRWKH$GPLQ,63OLQNXQWLOWKH*XHVW+6,$
            OLQNLVUHVWRUHG,IWKH$GPLQ,63OLQNIDLOVWKH$GPLQXVHUVZLOOEHFRQQHFWHGWRWKH*XHVW
            +6,$OLQNXQWLOWKH$GPLQ,63LVUHVWRUHG
            7KH1RPDGL[16(LVFRQILJXUHGZLWKORDGEDODQFLQJDQGIDLORYHU$OO*XHVWVXVH,63DVWKH
            SUHIHUUHG:$1WKH$GPLQQHWZRUNURXWHUXVHV,63DVWKHSUHIHUUHG:$1




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           Guest HSIA Failover Only, to Admin Network
           ,QWKLVVFHQDULRWKHKRWHOKDVVHSDUDWH,63FLUFXLWVIRUWKH*XHVW+6,$QHWZRUNDQG+RWHO
           $GPLQQHWZRUN7KHKRWHOZDQWVWKH$GPLQQHWZRUNWREHDYDLODEOHDVDEDFNXSOLQNLQFDVH
           WKH*XHVW+6,$,63OLQNIDLOV7KHUHLVQREDFNXSIRUWKH$GPLQ,63QHWZRUN
           7KH1RPDGL[16(LVFRQILJXUHGZLWKOLQNIDLORYHUEHWZHHQWKH:$1SRUWDQGSRUW(7+
           ZKLFKLVFRQQHFWHGWRWKHKRWHO$GPLQQHWZRUNURXWHU




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            Sharing Guest HSIA Network and Hotel Admin Network Among Multiple
            ISP Links
            ,QWKLVVFHQDULRPXOWLSOH,63OLQNVDUHFRQQHFWHGWRWKH1RPDGL[16(LQDVLPLODUPHWKRGWR
            WKHILUVWVFHQDULREXWERWKWKHJXHVW+6,$QHWZRUNDQGWKH+RWHO$GPLQQHWZRUNDUH
            FRQQHFWHGWRWKH16(DQGVKDUHWKHDJJUHJDWHEDQGZLGWKRIWKHFRPELQHG,63OLQNV
            7KH1RPDGL[16(LVFRQILJXUHGIRUORDGEDODQFLQJDQGWKHEDFNRIILFHURXWHU V0$&DGGUHVV
            LVUHJLVWHUHGLQDVDGHYLFHLQWKH16(ZLWKDQDSSURSULDWHEDQGZLGWKOLPLW




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           Load Balancing With Users Connected to a Preferred ISP Link
           ,QWKLVVFHQDULRWKHKRWHOKDVSXUFKDVHG[,63OLQNVIRUJXHVW+6,$2QHLVDKLJKTXDOLW\
           KLJKFRVWEXVLQHVVJUDGH,63FLUFXLWDQGWKHRWKHULVDORZFRVWORZHUJUDGHGRPHVWLF
           VHUYLFHSURYLGHGE\WKHORFDOFDEOH79RSHUDWRU7KHKRWHOKDVDQXPEHURIELOOSODQRSWLRQV
           LQFOXGLQJIUHHWRXVHDQGSD\WRXVHSUHPLXPSODQV8QGHUQRUPDOFLUFXPVWDQFHVWKHKRWHO
           ZDQWVJXHVWVZKRKDYHVHOHFWHGDIUHHSODQWRXVHWKHORZFRVWOLQNDQGJXHVWVZKRKDYH
           VHOHFWHGDSUHPLXPVHUYLFHWRXVHWKHKLJKHUFRVWEXVLQHVVJUDGH,63FRQQHFWLRQ,IHLWKHUOLQN
           IDLOVJXHVWVKRXOGIDLORYHUWRWKHRWKHUOLQNVXQWLOWKHSUHIHUUHGOLQNLVUHVWRUHG




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       $&&(66*$7(:$<

       2QOLQH+HOS :HE+HOS
           7KH$FFHVV*DWHZD\LQFRUSRUDWHVDQRQOLQH+HOSV\VWHPFDOOHG³:HE+HOS´ZKLFKLV
           DFFHVVLEOHWKURXJKWKH:HE0DQDJHPHQW,QWHUIDFH ZKHQDUHPRWH,QWHUQHWFRQQHFWLRQLV
           HVWDEOLVKHGIROORZLQJDVXFFHVVIXOLQVWDOODWLRQ :HE+HOSLV+70/EDVHGDQGFDQEHYLHZHG
           LQDEURZVHU
           :HE+HOSLVXVHIXOZKHQ\RXKDYHDQ,QWHUQHWFRQQHFWLRQWRWKH$FFHVV*DWHZD\DQG\RXZDQW
           WRDFFHVVLQIRUPDWLRQTXLFNO\DQGHIILFLHQWO\,WFRQWDLQVDOOWKHLQIRUPDWLRQ\RXZLOOILQGLQ
           WKLV8VHU*XLGH
           )RUPRUHLQIRUPDWLRQDERXW:HE+HOSDQGRWKHURQOLQHGRFXPHQWDWLRQUHVRXUFHVJRWR³2QOLQH
           'RFXPHQWDWLRQDQG+HOS´RQSDJH 


       1RWHV&DXWLRQVDQG:DUQLQJV
           7KHIROORZLQJIRUPDWVDUHXVHGWKURXJKRXWWKLV8VHU*XLGH

                        General notes and additional information that may be useful are indicated with a
                        Note.

                        Cautions and warnings are indicated with a Caution. Cautions and warnings
                        provide important information to eliminate the risk of a system malfunction or
                        possible damage.




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       $&&(66*$7(:$<                                                                             
       Installing the Access Gateway
           7KLVVHFWLRQSURYLGHVLQVWDOODWLRQLQVWUXFWLRQVIRUWKHKDUGZDUHDQGVRIWZDUHFRPSRQHQWVRIWKH
           $FFHVV*DWHZD\,WDOVRLQFOXGHVDQRYHUYLHZRIWKHPDQDJHPHQWLQWHUIDFHVRPHKHOSIXOKLQWV
           IRUV\VWHPDGPLQLVWUDWRUVDQGSURFHGXUHV$4XLFN5HIHUHQFH*XLGHFKDSWHULVDOVRSURYLGHG
           LQWKLVGRFXPHQW




       ,QVWDOODWLRQ:RUNIORZ
           7KHIROORZLQJIORZFKDUWLOOXVWUDWHVWKHVWHSVWKDWDUHUHTXLUHGWRLQVWDOODQGFRQILJXUH\RXU
           $FFHVV*DWHZD\VXFFHVVIXOO\5HYLHZWKHLQVWDOODWLRQZRUNIORZEHIRUHDWWHPSWLQJWRLQVWDOOWKH




       Installing the Access Gateway                                                                   45
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                                                                                              $&&(66*$7(:$<

            $FFHVV*DWHZD\RQWKHFXVWRPHU¶VQHWZRUN

                      3ODFHWKH$*RQDIODWDQGVWDEOHZRUNVXUIDFHDQGFRQQHFWWKHSRZHUFRUG


                        &RQQHFWWKH$*WRD³OLYH´QHWZRUN8VHWKH5-WR'%FRQVROHFDEOH
                                  EHWZHHQWKH$FFHVV*DWHZD\DQG\RXUFRPSXWHU



                                     3RZHUXS\RXUFRPSXWHUDQGWXUQRQWKH$*


                     6WDUWD+\SHU7HUPLQDOVHVVLRQWRFRPPXQLFDWHZLWKWKH$*YLDWKHVHULDOSRUW


                                         /RJLQWRWKH&RPPDQG/LQH,QWHUIDFH


                              :KHQSURPSWHGFRQILJXUH\RXU$*¶V,3'16DQG/RFDWLRQ
                              VHWWLQJV7KH$*ZLOOWKHQSURPSW\RXWRUHERRWWKHV\VWHP


                   :KHQSURPSWHGDFFHSWWRWKH1RPDGL[(QG8VHU/LFHQVH$JUHHPHQW (8/$ <RX
                    PXVWDFFHSWWKH(8/$EHIRUHWKH$*FDQFRQQHFWZLWKWKH1RPDGL[/LFHQVH.H\
                   6HUYHU:KHQWKHNH\LVVXFFHVVIXOO\UHFHLYHGIURPWKHVHUYHU\RXU$*ZLOOUHERRW
                       <RXFDQQRZSRZHUGRZQDQGFRQQHFWWKH$*WRWKHFXVWRPHU¶VQHWZRUN



              1HWZRUN
                                      &RQQHFWWKH$*WRWKHFXVWRPHU¶VQHWZRUN


                   3RZHUXSWKH$*DQGORJLQYLDD7HOQHWVHVVLRQRUWKH:HE0DQDJHPHQW,QWHUIDFH


                                 6HWWKHEDVLFFRQILJXUDWLRQSDUDPHWHUVIRUVXEVFULEHUV


                                7KH$*LVQRZUHDG\IRUDGPLQLVWUDWRUVWRDGGGHOHWHRU
                                          FKDQJHXQLTXHVXEVFULEHUSURILOHV


                                  ([SRUW\RXUFRQILJXUDWLRQVHWWLQJVWRDQDUFKLYHILOH




       46                                                                          Installing the Access Gateway
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       $&&(66*$7(:$<

       3RZHULQJ8SWKH6\VWHP
           8VHWKLVSURFHGXUHWRHVWDEOLVKDGLUHFWFDEOHFRQQHFWLRQEHWZHHQWKH$FFHVV*DWHZD\DQG
           \RXUODSWRSFRPSXWHUDQGWRSRZHUXSWKHV\VWHP
              3ODFHWKH$FFHVV*DWHZD\RQDIODWDQGVWDEOHZRUNVXUIDFH
              &RQQHFWWKHSRZHUFRUG
              &RQQHFWWKH5-FRQVROHFDEOHEHWZHHQWKH$FFHVV*DWHZD\¶V&RQVROHSRUWDQGWKH
                IHPDOH'%WRWKHVHULDOSRUWRU86%WRVHULDODGDSWHURI\RXUFRPSXWHU
              7XUQRQ\RXUFRPSXWHUDQGDOORZLWWRERRWXS
              7XUQRQWKH$FFHVV*DWHZD\




                                              &RQQHFWWKH5-
                                              FRQVROHFDEOHKHUH



       8VHU0DQXDODQG'RFXPHQWDWLRQ
           7KH1RPDGL[SURGXFWXVHUPDQXDOVSURGXFWGRFXPHQWDWLRQDQGVXSSRUWILOHVLQFOXGLQJ0,%
           ;0/'7'DQGVDPSOHGLFWLRQDU\ILOHVDUHORFDWHGDWWKHIROORZLQJ85/
           KWWSZZZQRPDGL[FRPVXSSRUW
           ,I\RXKDYHDQ\SUREOHPVSOHDVHFRQWDFWRXUWHFKQLFDOVXSSRUWWHDPDWRU
           HPDLOVXSSRUW#QRPDGL[FRP
           7KLVTXLFNVWDUWGRFXPHQWSURYLGHVLQVWUXFWLRQVDQGUHIHUHQFHPDWHULDOIRUJHWWLQJVWDUWHGZLWK
           WKH1RPDGL[$FFHVV*DWHZD\SURGXFWVVSHFLILFDOO\WKH$*$*DQG$*




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                                                                                        $&&(66*$7(:$<

       6WDUW+HUH
               8QSDFNWKH1RPDGL[$FFHVV*DWHZD\DQGSODFHWKHSURGXFWRQDIODWDQGVWDEOHZRUN
                 VXUIDFH
               5HJLVWHUWKHJDWHZD\IRUVXSSRUWVHUYLFHVE\FRPSOHWLQJDQGUHWXUQLQJWKH1RPDGL[
                 *DWHZD\5HJLVWUDWLRQ)RUPKDUGFRS\HQFORVHGRUREWDLQWKHIRUPRQOLQHDW
                 KWWSZZZQRPDGL[FRPUHJLVWUDWLRQ
               &RQQHFWWKHSRZHUFRUG
               &RQQHFWWRWKH$FFHVV*DWHZD\ $* 7KHUHDUHWZRZD\VWRFRQQHFWWRWKH$FFHVV
                 *DWHZD\ $* 
                 z     6HULDO&RQQHFWLRQ
                 &RQQHFWWKH5-FRQVROHFDEOHWRWKHSURGXFW¶VFRQVROHSRUWDQGWKH'%IHPDOHWR\RXU
                 FRPSXWHU
                 6WDUWD+\SHU7HUPLQDO RUHTXLYDOHQW VHVVLRQWRFRPPXQLFDWHZLWKWKH$*YLDWKH
                 SURGXFW¶VFRQVROHLQWHUIDFH8VHWKHIROORZLQJFRQILJXUDWLRQVHWWLQJVIRU\RXUVHVVLRQ

                     %LWVSHU6HFRQG    'DWD%LWV      3DULW\      6WRS%LWV       )ORZ&RQWURO

                                                1RQH                       1RQH


                 z     6XEVFULEHUVLGH(WKHUQHW&RQQHFWLRQ
                 &RQQHFWDQ(WKHUQHWFDEOHEHWZHHQWKHSURGXFW¶V(WKSRUWDQG\RXUFRPSXWHU¶V(WKHUQHW
                 SRUW
               6HWXSD66+FOLHQWWRHVWDEOLVKD66+VHVVLRQWRFRPPXQLFDWHZLWKWKH16(JDWHZD\YLD
                 WKHDGPLQLVWUDWLYH,3DGGUHVVDIWHUWKH$FFHVV*DWHZD\ILQLVKHVSRZHULQJXS7KH
                 DGPLQLVWUDWLYH,3DGGUHVVLV

                                  ,3$GGUHVV                    

                                  1HWPDVN                       

                                  *DWHZD\                       

                                  '16 ,I5HTXLUHG              


               7XUQRQWKHSURGXFW<RXFDQWKHQFRQILJXUHWKH:$1IRUDVWDWLF,3DGGUHVV'+&3&OLHQW
                 RU333R(FOLHQWXVLQJDSSURSULDWHFRQILJXUDWLRQJXLGHOLQHVWKDWIROORZLQRUGHUWRREWDLQ

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       $&&(66*$7(:$<

                 WKHOLFHQVHNH\2QFHWKHNH\KDVEHHQREWDLQHGWKHZHEPDQDJHPHQWLQWHUIDFH :0, 
                 FDQEHXVHGWRFRQWLQXHFRQILJXUDWLRQ

           /&'0HVVDJHV
           6RPH$FFHVV*DWHZD\KDUGZDUHPRGHOVDUHHTXLSSHGZLWKDQ/&'SDQHOWKDWGLVSOD\VWKH
           IROORZLQJV\VWHPLQIRUPDWLRQ
                 z   3ODWIRUPDQG)LUPZDUH9HUVLRQ,QVWDOOHG
                 z   3ULPDU\,3$GGUHVVRIWKH16(
                 z   16(,'
                 z   $FWLYH6XEVFULEHUV


       &RQILJXUDWLRQ
           1RWH7KH:$1SRUWRIWKH$*PXVWEHFRQQHFWHGWRDOLYHQHWZRUNWKDWFDQDFFHVVWKH
           ,QWHUQHWLQRUGHUWRUHWULHYHWKHOLFHQVHNH\IURPWKHOLFHQVHNH\VHUYHU
           /RJLQE\W\SLQJDGPLQWKHQSDVVZRUGDGPLQ7\SH \ HVZKHQSURPSWHGWRFRQILJXUH
           VHWWLQJV7KHLQLWLDOPLQLPDO:$1SRUWFRQILJXUDWLRQPRGHZLOOEHGLVSOD\HGDVVKRZQLQ
           )LJXUH
           Ready.      Press enter to login.
           NSE
           Login: admin <Enter>
           Password: ***** <Enter>


           NO LICENSE KEY HAS BEEN ENTERED.             A LICENSE KEY MUST BE ENTERED
           IN ORDER TO PROCEED WITH INSTALLATION.
           SEE USER'S GUIDE FOR LICENSE KEY INFORMATION.


           INSTALLATION WILL NOW TRY TO CONTACT THE NOMADIX LICENSE KEY SERVER.
           IN ORDER TO PROCEED, THE NSE MUST BE ABLE TO CONNECT TO THE INTERNET.


           DO YOU WANT TO CONFIGURE THE NSE'S IP AND DNS SETTINGS? [yes/no]: y


           Configuring minimal WAN interface connectivity parameters:
           Configuration Mode                  [static]          (static, dhcp, pppoe) :
           )LJXUH,QLWLDOPLQLPDO:$1SRUWFRQILJXUDWLRQ


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                                                                                     $&&(66*$7(:$<

            6HOHFWWKHGHVLUHGFRQILJXUDWLRQPRGHDQGXVHWKHIROORZLQJVWHSVWRFRQILJXUHWKH:$1SRUW
            IRUHLWKHU6WDWLF,3'+&3FOLHQWRU333R(


       Step 1a: Static WAN IP Configuration
            $FFHSWVWDWLFDVWKHGHIDXOWFRQILJXUDWLRQPRGHDQGHQWHUWKHIROORZLQJPDQGDWRU\VHWWLQJV
            VKRZQLQ)LJXUH
       Configuring minimal WAN interface connectivity parameters:
       Configuration Mode [static ] (static, dhcp, pppoe) :
       IP Address [10.0.0.10 ] : Your WAN IP address
       Subnet Mask [255.255.255.0 ] : Your subnet mask
       Gateway IP [10.0.0.1 ] : Your gateway IP address
       WAN 802.1Q tagging [Disabled ] :
       VLAN ID [1 ] :
       DNS Domain Name [nomadix.com ] :
       DNS Server 1 [0.0.0.2 ] : Your primary DNS IP
       DNS Server 2 [0.0.0.0 ] :
          DNS Server 3 [0.0.0.0 ] :
            )LJXUH,QLWLDO:$1SRUWVHWWLQJV
            $:$1SRUWVXPPDU\SDJHZLOOWKHQEHGLVSOD\HGDVVKRZQLQ)LJXUH
       Port Name : WAN
       Port Role : wanIf
       Configuration Mode : static
       IP Address : Your IP address
       Subnet Mask : Your subnet mask
       Gateway IP : Your gateway IP addrss
       WAN 802.1Q tagging : Disabled
       VLAN ID : 1
       DNS Domain Name : nomadix.com
       DNS Server 1 : Your primary DNS IP address
       DNS Server 2 :
       DNS Server 3 : 0.0.0.0
       Additional NAT IP addresses : Disabled
       show all - Show all WAN Interface configuration
       show interface <name> - Show a single WAN Interface configuration
       modify interface <name> - Modify a single WAN Interface
       configuration


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       $&&(66*$7(:$<

       Type b to go back, <esc> to abort, ? for help.
          Ethernet port/WAN interface configuration>
           )LJXUH:$1SRUWVWDWLF,3FRQILJXUDWLRQVXPPDU\SDJH
           ,IHYHU\WKLQJLVFRUUHFWLQWKHVXPPDU\W\SH E DFNWRUHWXUQWRWKHSUHYLRXVPHQXDQG
           SURFHHGWR6WHSWRHQWHUWKHORFDWLRQLQIRUPDWLRQ
           2WKHUZLVHVHOHFWDQRSWLRQIURPWKH(WKHUQHWSRUWFRQILJXUDWLRQPHQXWRGLVSOD\RUPDNH
           FKDQJHVWRWKH:$1SRUWVHWWLQJV:KHQILQLVKHGZLWKWKHVHWWLQJVW\SHE DFN WRUHWXUQWRWKH
           SUHYLRXVPHQXDQGJRWR6WHS


       Step 1b: DHCP Client Configuration
           7\SH G KFSIRUWKHFRQILJXUDWLRQPRGHDVVKRZQLQ)LJXUH
       Configuring minimal WAN interface connectivity parameters:
       Configuration Mode [static ] (static, dhcp, pppoe) : d
       WAN 802.1Q tagging [Disabled ] :
       VLAN ID [1 ] :
          DNS Server 3 [0.0.0.0 ] :
           )LJXUH6HOHFWLQJ'+&3&OLHQWIRU:$1FRQILJXUDWLRQ
           $:$1SRUWVXPPDU\SDJHZLOOWKHQEHGLVSOD\HGDVVKRZQLQ)LJXUH
       Port Name : WAN
       Port Role : wanIf
       Configuration Mode : dhcp
       IP Address : Your IP address
       Subnet Mask : Your subnet mask
       Gateway IP : Your gateway IP addrss
       WAN 802.1Q tagging : Disabled
       VLAN ID : 1
       DNS Domain Name : Your domain name
       DNS Server 1 : Your primary DNS IP address
       DNS Server 2 :
       DNS Server 3 : 0.0.0.0
       Additional NAT IP addresses : Disabled
       show all - Show all WAN Interface configuration
       show interface <name> - Show a single WAN Interface configuration
       modify interface <name> - Modify a single WAN Interface configuration
       Type b to go back, <esc> to abort, ? for help.
          Ethernet port/WAN interface configuration>



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                                                                                        $&&(66*$7(:$<

            )LJXUH:$1SRUW'+&3FOLHQWFRQILJXUDWLRQVXPPDU\SDJH
            ,IHYHU\WKLQJLVFRUUHFWLQWKHVXPPDU\W\SH E DFNWRUHWXUQWRWKHSUHYLRXVPHQXDQGSURFHHG
            WRVWHSWRHQWHUORFDWLRQLQIRUPDWLRQ
            2WKHUZLVHVHOHFWDQRSWLRQIURPWKH(WKHUQHWSRUWFRQILJXUDWLRQPHQXWRGLVSOD\RUPDNH
            FKDQJHVWRWKH:$1SRUWVHWWLQJV:KHQILQLVKHGZLWKVHWWLQJVW\SHE DFN WRUHWXUQWRWKH
            SUHYLRXVPHQXDQGJRWRVWHS


       Step 1c: PPPoE Dynamic IP Client Configuration
            (QWHU S SSRHZKHQSURPSWHG(QWHUWKHIROORZLQJPDQGDWRU\VHWWLQJVIRUD333R(
            FRQQHFWLRQZLWKG\QDPLF333,3FRQILJXUDWLRQVKRZQLQ)LJXUH
       Configuring minimal WAN interface connectivity parameters:
       Port Role [wanIf ] (outOfService, subscriberIf, w
       anIf) :
       Configuration Mode [static ] (static, dhcp, pppoe) : p
       PPPoE Service Name [ ] : ("none" to clear) : Your Service
       LCP Echo-Request Interval [30 ] :
       Maximum LCP Non-responses [6 ] :
       PPP Authentication User Name [ ] : ("none" to clear) : Your User Name
       PPP Authentication Password [ ] : ("none" to clear) : Your Password
       PPP IP Configuation Mode [dynamic ] (dynamic, static) :
       PPP Static IP Address [0.0.0.0 ] :
       PPP Maximum TCP MSS [1452 ] :
       WAN 802.1Q tagging [Disabled ] :
       VLAN ID [1 ] :
       DNS Domain Name [nomadix.com ] :
       DNS Server 3 [0.0.0.0 ] :
            )LJXUH6HOHFWLQJ333R(ZLWKG\QDPLF,3FRQILJXUDWLRQ
            $:$1SRUWVXPPDU\SDJHZLOOWKHQEHGLVSOD\HGDVVKRZQLQ)LJXUH
       Port Name : WAN
       Port Role : wanIf
       Configuration Mode : pppoe
       IP Address : Your IP address
       Subnet Mask : Your subnet mask
       Gateway IP : Your gateway
       PPPoE Service Name : Your Service Name
       LCP Echo-Request Interval : 30
       Maximum LCP Non-responses : 6


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       $&&(66*$7(:$<

       PPP Authentication User Name : Your user name
       PPP Authentication Password : Your password
       PPP IP Configuation Mode : dynamic
       PPP Static IP Address : 0.0.0.0
       PPP Maximum TCP MSS : 1452
       WAN 802.1Q tagging : Disabled
       VLAN ID : 1
       DNS Domain Name : Your domain name
       DNS Server 1 : Your dns server IP address
       DNS Server 2 : 0.0.0.0
       DNS Server 3 : 0.0.0.0
       Additional NAT IP addresses : Disabled
       show all - Show all WAN Interface configuration
       show interface <name> - Show a single WAN Interface configuration
       modify interface <name> - Modify a single WAN Interface configuration
       Type b to go back, <esc> to abort, ? for help.
          Ethernet port/WAN interface configuration>
           )LJXUH:$1SRUW333R(FOLHQWFRQILJXUDWLRQVXPPDU\SDJH
           ,IHYHU\WKLQJLVFRUUHFWLQWKHVXPPDU\W\SH E DFNWRUHWXUQWRWKHSUHYLRXVPHQXDQG
           SURFHHGWRVWHSWRHQWHUORFDWLRQLQIRUPDWLRQ
           2WKHUZLVHVHOHFWDQRSWLRQIURPWKH(WKHUQHWSRUWFRQILJXUDWLRQPHQXWRGLVSOD\RUPDNH
           FKDQJHVWRWKH:$1SRUWVHWWLQJV:KHQILQLVKHGZLWKVHWWLQJVW\SHE DFN WRUHWXUQWRWKH
           SUHYLRXVPHQXDQGJRWRVWHS


       Step 1d: PPPoE Static IP Client Configuration
           8VHWKHVDPHVWHSVIRUFRQILJXULQJG\QDPLF333R(VKRZQLQ)LJXUHDERYHEXWVHOHFWVWDWLF
           IRUPPP IP Configuration Mode,DQGHQWHU\RXU,3DGGUHVVIRUPPP Static IP Address$
           VXPPDU\SDJHVLPLODUWR)LJXUHDERYHZLOOEHGLVSOD\HG
           ,IHYHU\WKLQJLVFRUUHFWLQWKHVXPPDU\W\SH E DFNWRUHWXUQWRWKHSUHYLRXVPHQXDQG
           SURFHHGWRVWHSWRHQWHUORFDWLRQLQIRUPDWLRQ
           2WKHUZLVHVHOHFWDQRSWLRQIURPWKH(WKHUQHWSRUWFRQILJXUDWLRQPHQXWRGLVSOD\RUPDNH
           FKDQJHVWRWKH:$1SRUWVHWWLQJV:KHQILQLVKHGZLWKVHWWLQJVW\SHE DFN WRUHWXUQWRWKH
           SUHYLRXVPHQXDQGJRWRVWHS


       Step 2: Entering Your Location Information
           <RXZLOOEHUHTXLUHGWRHQWHUORFDWLRQLQIRUPDWLRQLQRUGHUWRREWDLQWKHOLFHQVHNH\(QWHUWKH
           IROORZLQJPDQGDWRU\ORFDWLRQLQIRUPDWLRQGHWDLOVVKRZQLQ)LJXUH


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                                                                                        $&&(66*$7(:$<

       Ethernet port/WAN interface configuration>b
       Please enter your Company Name [ ]: Your company name
       Please enter your Site Name [ ]: Your site name
       Please enter your Address (Line 1) [ ]:
       (Line 2) [ ]:
       (City) [ ]: Your site city
       (State) [ ]: Your site state
       (ZIP/Postal Code) [ ]:
       (Country) [ ]: Your site country
       Please enter your E-Mail Address [ ]: email address
       Please select the venue type that most reflects your location
       1. Apartment
       ...
       25. Other
           Please enter a number from the above list: Venue Type
            )LJXUH6LWHORFDWLRQGHWDLOV


       Step 3: Retrieving Your License Key
            7KHV\VWHPZLOOQRZSURPSW\RXWRDFFHSWRUGHFOLQHWKH(QG8VHU/LFHQVH$JUHHPHQW
             (8/$ <RXPXVWDFFHSWWKHWHUPVRIWKH(8/$EHIRUHWKH$*FDQUHWULHYHLWVOLFHQVHNH\
            7RUHWULHYHWKHOLFHQVHNH\HQWHU \ HVDVVKRZQLQ)LJXUH7KH$*UHWULHYHVWKHOLFHQVHNH\
            IURPWKH1RPDGL[OLFHQVHNH\VHUYHUWKHQUHERRWV
       PLEASE READ THE NOMADIX END USER LICENSE AGREEMENT ('AGREEMENT') INCLUDED
       WITH THE NOMADIX PRODUCT.
       BY USING THIS SOFTWARE, YOU INDICATE YOUR ACCEPTANCE OF THE AGREEMENT.
       I AGREE TO THE TERMS AND CONDITIONS OF THE NOMADIX END USER LICENSE
       AGREEMENT.
       (Y)ES (N)O
       y
       The system will now try to contact the Nomadix License Key Server.
       Please wait...
       Received key from License Key Server.
          If the license key is successfully processed the unit will reboot...
            )LJXUH/LFHQVHNH\UHWULHYDO
            127(7KHGDWHDQGWLPH6RIWZDUH/LFHQVH6XEVFULSWLRQVWDUWGDWH




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       $&&(66*$7(:$<

       Step 4: Configuring the System
           <RXKDYHQRZHVWDEOLVKHGDEDVLFFRQILJXUDWLRQIRUWKH$*WKDWHQDEOHVLQWHUQHWFRQQHFWLYLW\
           %HIRUH\RXFDQORJLQWRWKH$*DQGXVHWKHJUDSKLFDO:HE0DQDJHPHQW,QWHUIDFH :0, \RX
           PXVWGLVDEOHVXEVFULEHUVLGH+773
              /RJLQWRWKH$*
              1DYLJDWHWRConfiguration!Access Control!Interface
              3UHVV(QWHUXQWLO\RXUHDFKSubscriber-side HTTP
              (QWHUdisabled
           <RXFDQQRZXVHWKHJUDSKLFDO:HE0DQDJHPHQW,QWHUIDFH :0, WRFRQILJXUHWKHSURGXFW¶V
           IHDWXUHV


       Step 5: Configuring AG DHCP Server Settings
           '+&36HUYHULVHQDEOHGE\GHIDXOW7RFRQILJXUHWKH'+&36HUYHUJRWR'+&3XQGHUWKH
           &RQILJXUDWLRQPHQX<RXFDQHLWKHUPRGLI\WKHGHIDXOW'+&3SRRORUGHOHWHDGGDQRWKHU
           '+&3SRRO7KHWRWDOOHDVHSRROVL]HUHFRPPHQGDWLRQLVWLPHVPRUHWKDQWKHQXPEHURI
           OLFHQVHGVXEVFULEHUV

                  '+&33DUDPHWHU                          <RXU6HWWLQJV               'HIDXOW9DOXHV

            '+&36HUYLFHV 'LVDEOH                                                      QR

            '+&35HOD\ <HV1R                                                        QR
            ,I1RVNLSWR'+&36HUYHU

            '+&35HOD\6HUYHU,3$GGUHVV                                                EODQN

            '+&35HOD\$JHQW,3$GGUHVV                                                 EODQN

            '+&36HUYHU <HV1R                                                       \HV
            2QO\LIWKH'+&35HOD\LV
            GLVDEOHG

            '+&36HUYHU,3$GGUHVV                                                      

            '+&36HUYHU6XEQHW0DVN                                                     

            '+&33RRO6WDUW,3$GGUHVV                                                  



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                                                                                         $&&(66*$7(:$<


                    '+&33DUDPHWHU                           <RXU6HWWLQJV                'HIDXOW9DOXHV

             '+&33RRO(QG,3$GGUHVV                                                       

             '+&3/HDVH0LQXWHV                                                             


            $QH[DPSOHRIDEDVLFQHWZRUNLQFOXGLQJDQ$*LVVKRZQEHORZ




       7KH0DQDJHPHQW,QWHUIDFHV &/,DQG:HE
                         The Access Gateway supports various methods for managing the system
                         remotely. These include, an embedded graphical Web Management Interface
                         (WMI), an SNMP client, or Telnet. However, until the unit is installed and
                         running, system management is performed from the Access Gateway’s embedded
                         CLI via a direct serial cable connection. The CLI can also be accessed remotely.

            8QWLOWKHXQLWLVLQVWDOOHGRQWKHFXVWRPHU¶VQHWZRUNDQGDUHPRWHFRQQHFWLRQLVHVWDEOLVKHGWKH
            &/,LVWKHDGPLQLVWUDWRU¶VZLQGRZWRWKHV\VWHP7KLVLVZKHUH\RXHVWDEOLVKDOOWKH$FFHVV
            *DWHZD\VWDUWXSFRQILJXUDWLRQSDUDPHWHUVGHSHQGLQJRQWKHFXVWRPHU¶VQHWZRUNDUFKLWHFWXUH
            7KHAccess Gateway MenuLV\RXUVWDUWLQJSRLQW)URPKHUH\RXDFFHVVDOOWKHV\VWHP
            DGPLQLVWUDWLRQLWHPVIURPWKH ILYH SULPDU\PHQXVDYDLODEOH
                z    &RQILJXUDWLRQ



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       $&&(66*$7(:$<

               z    1HWZRUN,QIR
               z    3RUWORFDWLRQ
               z    6XEVFULEHUV
               z    6\VWHP

                        Although the basic functional elements are the same, the CLI and the WMI have
                        some minor content and organizational differences. For example, in the WMI the
                        “subscribers” menu is divided into “Subscriber Administration” and
                        “Subscriber Interface.” See also, ³0HQX2UJDQL]DWLRQ :HE0DQDJHPHQW
                        ,QWHUIDFH ´RQSDJH .


       Making Menu Selections and Inputting Data with the CLI
           7KH&/,LVFKDUDFWHUEDVHG,WUHFRJQL]HVWKHIHZHVWXQLTXHFKDUDFWHUVLWQHHGVWRFRUUHFWO\
           LGHQWLI\DQHQWU\)RUH[DPSOHLQWKHAccess Gateway Menu\RXQHHGRQO\HQWHUFWRDFFHVV
           WKH ConfigurationPHQXEXW\RXPXVWHQWHUVXWRDFFHVVWKHSubscribersPHQXDQGV\WR
           DFFHVVWKHSystemPHQX EHFDXVHWKH\ERWKVWDUWZLWKWKHOHWWHU³V´ 
           <RXPD\DOVRGRDQ\RIWKHIROORZLQJ
               z    (QWHUE EDFN RUSUHVV(VF HVFDSH WRUHWXUQWRDSUHYLRXVPHQX
               z    3UHVV(VFWRDERUWDQDFWLRQDWDQ\WLPH
               z    3UHVV(QWHUWRUHGLVSOD\WKHFXUUHQWPHQX
               z    3UHVV"DWDQ\WLPHWRDFFHVVWKH&/,¶VHelpVFUHHQ
           :KHQXVLQJWKH&/,LIDSURFHGXUHDVNV\RXWR³HQWHUVQ´WKLVPHDQV\RXPXVWW\SHVQDQG
           SUHVVWKH(QWHUNH\7KHV\VWHPGRHVQRWDFFHSWGDWDRUFRPPDQGVXQWLO\RXKLWWKHEnter NH\


       Menu Organization (Web Management Interface)
           :KHQ\RXKDYHVXFFHVVIXOO\LQVWDOOHGDQGFRQILJXUHGWKH$FFHVV*DWHZD\IURPWKH&/,\RX
           FDQWKHQDFFHVVWKH$FFHVV*DWHZD\IURPLWVHPEHGGHG:HE0DQDJHPHQW,QWHUIDFH :0, 
           7KH:0,LVHDVLHUWRXVH SRLQWDQGFOLFN DQGLQFOXGHVVRPHLWHPVQRWIRXQGLQWKH&/,<RX
           FDQXVHHLWKHULQWHUIDFHGHSHQGLQJRQ\RXUSUHIHUHQFH
           )RUDFRPSOHWHGHVFULSWLRQRIDOOIHDWXUHVDYDLODEOHLQWKH:0,VHH³8VLQJWKH:HE
           0DQDJHPHQW,QWHUIDFH :0, ´RQSDJH 




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                                                                                      $&&(66*$7(:$<

       Inputting Data – Maximum Character Lengths
            7KHIROORZLQJWDEOHGHWDLOVWKHPD[LPXPDOORZDEOHFKDUDFWHUOHQJWKVZKHQLQSXWWLQJGDWD

                                       'DWD)LHOG                        0D[&KDUDFWHUV

                 $OO0HVVDJHV ELOOLQJRSWLRQV                                  

                 $OO0HVVDJHV VXEVFULEHUHUURUPHVVDJHV                        

                 $OO0HVVDJHV VXEVFULEHUORJLQ8,                              

                 $OO0HVVDJHV VXEVFULEHU³RWKHU´PHVVDJHV                      

                 'HVFULSWLRQRI6HUYLFH ELOOLQJRSWLRQV3ODQ                   

                 +RPH3DJH85/                                                  

                 +RVW1DPHDQG'RPDLQ1DPH '16VHWWLQJV                        

                 ,3'161DPH SDVVWKURXJKDGGUHVVHV                           

                 /DEHO ELOOLQJRSWLRQVSODQ                                    

                 /RFDWLRQVHWWLQJV DOOILHOGV                                  

                 3DUWQHU,PDJH)LOH1DPH                                        

                 3DVVZRUG DGGLQJVXEVFULEHUSURILOHV                           

                 3RUW'HVFULSWLRQ ILQGLQJSRUWVE\GHVFULSWLRQ                 

                 5HGLUHFWLRQ)UHTXHQF\ LQPLQXWHV                         
                                                                         UHFRPPHQG

                 5HVHUYDWLRQ1XPEHU                                             

                 8VHUQDPH DGGLQJVXEVFULEHUSURILOHV                           

                 9DOLG66/&HUWLILFDWH'161DPH                                 




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       $&&(66*$7(:$<

       Online Documentation and Help
           7KH:HE0DQDJHPHQW,QWHUIDFH :0, LQFRUSRUDWHVDQRQOLQHKHOSV\VWHPZKLFKLVDFFHVVLEOH
           IURPWKHPDLQZLQGRZ




                                                           &OLFNKHUHWRDFFHVVWKH
                                                              RQOLQH+HOSV\VWHP




           2WKHURQOLQHGRFXPHQWDWLRQUHVRXUFHVDYDLODEOHIURPRXUFRUSRUDWH:HEVLWH
            www.nomadix.com/support LQFOXGHDIXOO3')YHUVLRQRIWKLV8VHU*XLGH YLHZDEOHZLWK
           $FUREDW5HDGHU +RZ7R*XLGHV5($'0(ILOHVZKLWHSDSHUVWHFKQLFDOQRWHVDQG
           EXVLQHVVFDVHV




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                                                                                     $&&(66*$7(:$<

       (VWDEOLVKLQJWKH6WDUW8S&RQILJXUDWLRQ
            7KH&/,DOORZV\RXWRDGPLQLVWHUWKH$FFHVV*DWHZD\¶VVWDUWXSFRQILJXUDWLRQVHWWLQJV

                         When establishing the start-up configuration for a new installation, you are
                         connected to the Access Gateway via a direct serial connection (you do not have
                         remote access capability because the Access Gateway is not yet configured or
                         connected to a network). Once the installation is complete (see ³,QVWDOODWLRQ
                         :RUNIORZ´RQSDJH ) and the system is successfully configured, you will have
                         the additional options of managing the Access Gateway remotely from the
                         system’s Web Management Interface, an SNMP client manager of your choice, or
                         a simple Telnet interface.

            7KHVWDUWXSFRQILJXUDWLRQPXVWEHHVWDEOLVKHGEHIRUHFRQQHFWLQJWKH$FFHVV*DWHZD\WRD
            FXVWRPHU¶VQHWZRUN7KH³VWDUWXS´FRQILJXUDWLRQVHWWLQJVLQFOXGH
                z   $VVLJQLQJ/RJLQ8VHU1DPHVDQG3DVVZRUGV±<RXPXVWDVVLJQDXQLTXHORJLQXVHU
                    QDPHDQGSDVVZRUGWKDWHQDEOHV\RXWRDGPLQLVWHUDQGPDQDJHWKH$FFHVV*DWHZD\
                    VHFXUHO\

                         User names and passwords are case-sensitive.


                z   6HWWLQJWKH61033DUDPHWHUV RSWLRQDO ±7KH6103 6LPSOH1HWZRUN0DQDJHPHQW
                    3URWRFRO SDUDPHWHUVPXVWEHHVWDEOLVKHGEHIRUH\RXFDQXVHDQ6103FOLHQW IRU
                    H[DPSOH+32SHQ9LHZ WRPDQDJHDQGPRQLWRUWKH$FFHVV*DWHZD\UHPRWHO\
                z   (QDEOLQJWKH/RJJLQJ2SWLRQV UHFRPPHQGHG ±6HUYHUVPXVWEHDVVLJQHGDQGVHWXS
                    LI\RXZDQWWRFUHDWHV\VWHPDQG$$$ ELOOLQJ ORJILOHVDQGUHWULHYHHUURUPHVVDJHV
                    JHQHUDWHGE\WKH$FFHVV*DWHZD\




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       $&&(66*$7(:$<

                z   $VVLJQLQJWKH/RFDWLRQ,QIRUPDWLRQDQG,3$GGUHVVHV
                       z     $VVLJQLQJWKH1HWZRUN,QWHUIDFH,3$GGUHVV7KLVLVWKHSXEOLF,3
                             DGGUHVVWKDWDOORZVDGPLQLVWUDWRUVDQGVXEVFULEHUVWRVHHWKH$FFHVV*DWHZD\
                             RQWKHQHWZRUN8VHWKLVDGGUHVVZKHQ\RXQHHGWRPDNHDQHWZRUNFRQQHFWLRQ
                             ZLWKWKH$FFHVV*DWHZD\
                       z     $VVLJQLQJWKH6XEQHW0DVN±7KHVXEQHWPDVNGHILQHVWKHQXPEHURI,3
                             DGGUHVVHVWKDWDUHDYDLODEOHRQWKHURXWHGVXEQHWZKHUHWKH$FFHVV*DWHZD\LV
                             ORFDWHG
                       z     $VVLJQLQJWKH'HIDXOW*DWHZD\,3$GGUHVV±7KLVLVWKH,3DGGUHVVRI
                             WKHURXWHUWKDWWKH$FFHVV*DWHZD\XVHVWRWUDQVPLWGDWDWRWKH,QWHUQHW


       Assigning Login User Names and Passwords
           :KHQ\RXLQLWLDOO\SRZHUHGXSWKH$FFHVV*DWHZD\DQGORJJHGLQWRWKH0DQDJHPHQW
           ,QWHUIDFHWKHGHIDXOWORJLQXVHUQDPHDQGSDVVZRUG\RXXVHGZDV³DGPLQ´7KH$FFHVV
           *DWHZD\DOORZV\RXWRGHILQHFRQFXUUHQWDFFHVVOHYHOVWRGLIIHUHQWLDWHEHWZHHQPDQDJHUVDQG
           RSHUDWRUVZKHUHPDQDJHUVDUHSHUPLWWHGread/writeDFFHVVDQGRSHUDWRUVDUHUHVWULFWHGWRread
           DFFHVVRQO\2QFHWKHORJLQVKDYHEHHQDVVLJQHGPDQDJHUVKDYHWKHDELOLW\WRSHUIRUPDOOZULWH
           FRPPDQGV SubmitResetRebootAddDeleteHWF EXWRSHUDWRUVFDQQRWFKDQJHDQ\V\VWHP
           VHWWLQJV:KHQ$GPLQLVWUDWLRQ&RQFXUUHQF\LVHQDEOHGRQHPDQDJHUDQGWKUHHRSHUDWRUVFDQ
           DFFHVVWKH$FFHVV*DWHZD\DWDQ\RQHWLPH WKHGHIDXOWVHWWLQJIRUWKLVIHDWXUHLV³GLVDEOHG´ 
              (QWHUV\ V\VWHP DWWKHAccess Gateway Menu7KHSystem PHQXDSSHDUV
              (QWHUOR ORJLQ 
                7KHV\VWHPSURPSWV\RXIRUWKHFXUUHQWORJLQ,IWKLVLVWKHILUVWWLPH\RXDUHFKDQJLQJWKH
                ORJLQSDUDPHWHUVVLQFHLQLWLDOL]LQJWKH$FFHVV*DWHZD\WKHGHIDXOWORJLQQDPHDQG
                SDVVZRUGLV³DGPLQ´

                           The system accepts up to 11 characters (any character type) for user names and
                           passwords. All user names and passwords are case-sensitive.

              :KHQSURPSWHGFRQILUPWKHFXUUHQWORJLQSDUDPHWHUVDQGHQWHUQHZRQHV

                    6DPSOH6FUHHQ5HVSRQVH
                    6\VWHP!OR
                    (QDEOH'LVDEOH$GPLQLVWUDWLRQ&RQFXUUHQF\>GLVDEOHG@H
                    &XUUHQWORJLQDGPLQ
                    &XUUHQWSDVVZRUG
                    (QWHUQHZPDQDJHUORJLQQHZPJU
                    (QWHUQHZSDVVZRUG
                    5HW\SHQHZSDVVZRUG


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                                                                                         $&&(66*$7(:$<

                     7KHDGPLQLVWUDWLYHORJLQDQGSDVVZRUGZHUHFKDQJHG
                     (QWHUQHZRSHUDWRUORJLQQHZRS
                     (QWHUQHZRSHUDWRUSDVVZRUG
                     5HW\SHQHZRSHUDWRUSDVVZRUG
                     7KHRSHUDWRUORJLQDQGSDVVZRUGZHUHFKDQJHG

                     (QWHU5$',86UHPRWHWHVWORJLQUDG
                     (QWHUQHZ5$',86UHPRWHWHVWSDVVZRUG
                     5HW\SHQHZ5$',86UHPRWHWHVWSDVVZRUG
                     7KH5$',86UHPRWHWHVWORJLQDQGSDVVZRUGZHUHFKDQJHG
                 <RXPXVWXVHWKHQHZORJLQXVHUQDPH V DQGSDVVZRUG V WRDFFHVVWKHV\VWHP


       Setting the SNMP Parameters (optional)
            <RXFDQDGGUHVVWKH$FFHVV*DWHZD\XVLQJDQ6103FOLHQWPDQDJHU IRUH[DPSOH+3
            2SHQ9LHZ 6103LVWKHVWDQGDUGSURWRFROWKDWUHJXODWHVQHWZRUNPDQDJHPHQWRYHUWKH
            ,QWHUQHW7RGRWKLV\RXPXVWVHWXSWKH6103FRPPXQLWLHVDQGLGHQWLILHUV)RUPRUH
            LQIRUPDWLRQDERXW6103VHH³8VLQJDQ61030DQDJHU´RQSDJH 

                          If you want to use SNMP, you must manually turn on SNMP.


               (QWHUF FRQILJXUDWLRQ DWWKHAccess Gateway Menu7KHConfiguration PHQXDSSHDUV
               (QWHUVQ VQPS 
               (QDEOHWKH6103GDHPRQDVUHTXLUHG7KHV\VWHPGLVSOD\VDQ\H[LVWLQJ6103FRQWDFW
                 LQIRUPDWLRQDQGSURPSWV\RXWRHQWHUQHZLQIRUPDWLRQ,IWKLVLVWKHILUVWWLPH\RXKDYH
                 LQLWLDOL]HGWKH6103FRPPDQGVLQFHUHPRYLQJWKH$FFHVV*DWHZD\IURPLWVER[WKH
                 V\VWHPKDVQRLQIRUPDWLRQWRGLVSOD\ WKHUHDUHQRGHIDXOWV 
               (QWHUWKH6103SDUDPHWHUV FRPPXQLWLHVDQGLGHQWLILHUV 7KH6103SDUDPHWHUVLQFOXGH
                 \RXUFRQWDFWLQIRUPDWLRQWKHJHWVHWFRPPXQLWLHVDQGWKH,3DGGUHVVRIWKHWUDSUHFLSLHQW
                 <RXU6103PDQDJHUQHHGVWKLVLQIRUPDWLRQWRHQDEOHQHWZRUNPDQDJHPHQWRYHUWKH
                 ,QWHUQHW
               ,I\RXHQDEOHGWKH6103GDHPRQ\RXPXVWUHERRWWKHV\VWHPIRU\RXUFKDQJHVWRWDNH
                 HIIHFW,QWKLVFDVHHQWHU\ \HV WRUHERRW\RXU$FFHVV*DWHZD\

                     6DPSOH6FUHHQ5HVSRQVH
                     &RQILJXUDWLRQ!VQ
                     (QDEOHWKH6103'DHPRQ"><HV@
                     (QWHUQHZV\VWHPFRQWDFWQHZQDPH#GRPDLQQDPHFRP
                     >1RPDGL[1HZEXU\3DUN&$@


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       $&&(66*$7(:$<

                    (QWHUQHZV\VWHPORFDWLRQ2IILFH1HZEXU\3DUN&$
                    (QWHUUHDGJHWFRPPXQLW\>SXEOLF@
                    (QWHUZULWHVHWFRPPXQLW\>SULYDWH@
                    (QWHU,3RIWUDSUHFLSLHQW>@
                    6103'DHPRQ(QDEOHG
                    6\VWHPFRQWDFWQHZQDPH#GRPDLQQDPHFRP
                    6\VWHPORFDWLRQ2IILFH1HZEXU\3DUN&$
                    *HW UHDG FRPPXQLW\SXEOLF
                    6HW ZULWH FRPPXQLW\SULYDWH
                    7UDSUHFLSLHQW

                    5HERRWWRHQDEOHQHZFKDQJHV">\HVQR@\
                    5HERRWLQJ

           <RXFDQQRZDGGUHVVWKH$FFHVV*DWHZD\XVLQJDQ6103FOLHQWPDQDJHU


       Configuring the WAN interface
           ,IDOLFHQVHNH\LVQRWSUHVHQW\RXZLOOVWLOOEHGLUHFWHGWRVHWXSWKH:$1FRQILJXUDWLRQDV
           VRRQDV\RXORJLQWRWKH&/,+RZHYHUWKHVXEVHTXHQWVWHSVDUHQHZDQGQHWZRUNVHWWLQJVDUH
           QRORQJHUFRQILJXUHGXQGHU/RFDWLRQ
           7KHIROORZLQJDUHWKHVWHSVDUHQHHGHGWRFRQILJXUHWKHPDLQ:$1LQWHUIDFH
              (QWHUF FRQILJXUDWLRQ DWWKHAccess Gateway Menu7KHConfiguration PHQXDSSHDUV
              (QWHUHWK HWKHUQHW 
              $IWHU\RXKDYHHQWHUHG³\HV´WRWKHLQLWLDOSURPSWHQWHU³PRGLQW:$1´RU³PL:$1´
                 ³PRGLI\LQWHUIDFH:$1´ 1RWHWKDWPRGHVDQGLQWHUIDFHQDPHVDUHFDVHVHQVLWLYH7KH
                FRQILJXUDWLRQWKHQVWHSVWKURXJKWKHVHWWLQJVRQHE\RQH
              3RUWUROHIRUWKH:$1SRUWVKRXOGEHDOUHDG\VHWWR:$1MXVWKLWHQWHU!
              6HWWKHFRQILJXUDWLRQPRGHWRPDWFK\RXUQHWZRUNVHWWLQJV
              6HWWKHUHPDLQLQJQHWZRUNVHWWLQJV
              'HIDXOWXSOLQNDQGGRZQORDGVSHHGLV0ESV(QWHUGLIIHUHQWYDOXHVLIGHVLUHG
                %DQGZLGWKDQG'16VHWWLQJVDUHFRQILJXUHGVHSDUDWHO\IRUHDFK:$1LQWHUIDFH<RXFDQ
                FRQILJXUHWKHPODWHULQWKH:$1FRQILJXUDWLRQGLDORJLQWKH:HE0DQDJHPHQW,QWHUIDFH
              ,I\RXGRQRWZLVKWRFRQILJXUHDGGLWLRQDO1$7,3DGGUHVVHVDWWKLVWLPHW\SH³E´
              $VXPPDU\RIWKH:$1SRUWVHWWLQJVLVQRZGLVSOD\HGLIWKH\DUHFRUUHFWW\SH³E´DJDLQ
           <RXZLOOQRZVHHWKH1RPDGL[ORFDWLRQFRQILJXUDWLRQSDJH(QWHUFRQWDFWGDWDDQGDJUHHWRWKH
           1RPDGL[(QG8VHU/LFHQVH$JUHHPHQW<RXUOLFHQVHZLOOEHUHWULHYHGZKHQ\RXHQWHU³\´
           7KH16(ZLOOWKHQUHERRWWRDFWLYDWH\RXUOLFHQVHVHWWLQJV

       Installing the Access Gateway                                                                   63
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                                                                                          $&&(66*$7(:$<




       Enabling the Logging Options (recommended)
            6\VWHPORJJLQJFUHDWHVORJILOHVDQGHUURUPHVVDJHVJHQHUDWHGDWWKHV\VWHPOHYHO$$$
            ORJJLQJFUHDWHVDFWLYLW\ORJILOHVIRUWKH$$$ $XWKHQWLFDWLRQ$XWKRUL]DWLRQDQG$FFRXQWLQJ 
            IXQFWLRQV<RXFDQHQDEOHHLWKHURIWKHVHRSWLRQV

                          Although the AAA and billing logs can go to the same server, we recommend that
                          they have their own unique server ID number assigned (between 0 and 7). When
                          managing multiple properties, the properties are identified in the log files by their
                          IP addresses.

            :KHQV\VWHPORJJLQJLVHQDEOHGWKHVWDQGDUG6<6/2*SURWRFRO 8'3 LVXVHGWRVHQGDOO
            PHVVDJHORJVJHQHUDWHGE\WKH$FFHVV*DWHZD\WRWKHVSHFLILHGVHUYHU
               (QWHUORJ ORJJLQJ DWWKHConfiguration PHQX7KHV\VWHPGLVSOD\VWKHFXUUHQWORJJLQJ
                 VWDWXV HQDEOHGRUGLVDEOHG 
               (QDEOHRUGLVDEOHWKHV\VWHPDQGRU$$$ORJJLQJRSWLRQVDVUHTXLUHG,I\RXHQDEOHHLWKHU
                 RSWLRQJRWR6WHSRWKHUZLVHORJJLQJLVGLVDEOHGDQG\RXFDQWHUPLQDWHWKLVSURFHGXUH
               $VVLJQDYDOLG,'QXPEHU  WRHDFKVHUYHU
               (QWHUWKH,3DGGUHVVHVWRLGHQWLI\WKHORFDWLRQRIWKHV\VWHPDQG$$$6<6/2*VHUYHUVRQ
                 WKHQHWZRUN WKHGHIDXOWIRUERWKLV 

       64                                                                      Installing the Access Gateway
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       $&&(66*$7(:$<

               :KHQORJJLQJLVHQDEOHGORJILOHVDQGHUURUPHVVDJHVDUHVHQWWRWKHVHVHUYHUVIRUIXWXUH
               UHWULHYDO7RVHHVDPSOHUHSRUWVJRWR³6DPSOH6<6/2*5HSRUW´RQSDJH DQG
               ³6DPSOH$$$/RJ´RQSDJH 

                   6DPSOH6FUHHQ5HVSRQVH
                   &RQILJXUDWLRQ!ORJ

                   (QDEOHGLVDEOH6\VWHP/RJ>GLVDEOHG@HQDEOH
                   (QWHU6\VWHP/RJ1XPEHU  >@
                   (QWHU6\VWHP/RJ)LOWHU

                   (PHUJHQF\
                   $OHUW
                   &ULWLFDO
                   (UURU
                   :DUQLQJ
                   1RWLFH
                   ,QIR
                   'HEXJ

                   6HOHFWDQRSWLRQIURPDERYH>@
                   (QWHU6\VWHP/RJ6HUYHU,3>@
                   (QDEOHGLVDEOH6\VWHP/RJ6DYHWRILOH>GLVDEOHG@HQDEOH

                   (QDEOHGLVDEOH$$$/RJ>GLVDEOHG@HQDEOH
                   (QWHU$$$/RJ1XPEHU  >@
                   (QWHU$$$/RJ)LOWHU

                   (PHUJHQF\
                   $OHUW
                   &ULWLFDO
                   (UURU
                   :DUQLQJ
                   1RWLFH
                   ,QIR
                   'HEXJ

                   6HOHFWDQRSWLRQIURPDERYH>@
                   (QWHU$$$/RJ6HUYHU,3>@
                   (QDEOHGLVDEOH$$$/RJ6DYHWRILOH>GLVDEOHG@HQDEOH

                   (QDEOHGLVDEOH5$',86+LVWRU\/RJ>GLVDEOHG@HQDEOH
                   (QWHU5$',86+LVWRU\/RJ1XPEHU  >@
                   (QWHU5$',86+LVWRU\/RJ)LOWHU

                   (PHUJHQF\
                   $OHUW


       Installing the Access Gateway                                                                    65
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                                                                                        $&&(66*$7(:$<

                &ULWLFDO
                (UURU
                :DUQLQJ
                1RWLFH
                ,QIR
                'HEXJ

                6HOHFWDQRSWLRQIURPDERYH>@
                (QWHU5$',86+LVWRU\/RJ6HUYHU,3>@
                (QDEOHGLVDEOH5$',86+LVWRU\/RJ6DYHWRILOH>GLVDEOHG@HQDEOH

                (QDEOHGLVDEOH6\VWHP5HSRUW/RJ>GLVDEOHG@HQDEOH
                (QWHU6\VWHP5HSRUW/RJ1XPEHU  >@
                (QWHU6\VWHP5HSRUW/RJ6HUYHU,3>@
                (QWHU6\VWHP5HSRUW/RJLQWHUYDO PLQXWHV >@

                (QDEOHGLVDEOH7UDFNLQJ/RJ>GLVDEOHG@HQDEOH
                (QWHU7UDFNLQJ/RJ1XPEHU  >@
                (QWHU7UDFNLQJ/RJ6HUYHU,3>@
                (QDEOHGLVDEOH7UDFNLQJ/RJ6DYHWRILOH>GLVDEOHG@
                (QDEOH'LVDEOH1DPH5HSRUWLQJ>GLVDEOHG@HQDEOH
                (QDEOH'LVDEOH3RUW5HSRUWLQJ>GLVDEOHG@HQDEOH
                (QDEOH'LVDEOH/RFDWLRQ5HSRUWLQJ>GLVDEOHG@HQDEOH
                (QDEOH'LVDEOHWK3DFNHW&RXQW5HSRUWLQJ>GLVDEOHG@HQDEOH

                6\VWHP/RJ(QDEOHG
                6\VWHP/RJ1XPEHU
                6\VWHP/RJ)LOWHU
                6\VWHP/RJ6HUYHU,3
                6\VWHP/RJ6DYHWRILOH(QDEOHG

                $$$/RJ(QDEOHG
                $$$/RJ1XPEHU
                $$$/RJ)LOWHU
                $$$/RJ6HUYHU,3
                $$$/RJ6DYHWRILOH(QDEOHG

                5$',86+LVWRU\/RJ(QDEOHG
                5$',86+LVWRU\/RJ1XPEHU
                5$',86+LVWRU\/RJ)LOWHU
                5$',86+LVWRU\/RJ6HUYHU,3
                5$',86+LVWRU\/RJ6DYHWRILOH(QDEOHG

                6\VWHP5HSRUW/RJ(QDEOHG
                6\VWHP5HSRUW/RJ1XPEHU
                6\VWHP5HSRUW/RJ6HUYHU,3
                6\VWHP5HSRUW/RJ,QWHUYDO LQPLQXWHV 



       66                                                                    Installing the Access Gateway
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       $&&(66*$7(:$<

                    7UDFNLQJ/RJ(QDEOHG
                    7UDFNLQJ/RJ1XPEHU
                    7UDFNLQJ/RJ6HUYHU,3
                    7UDFNLQJ/RJ6DYHWRILOH'LVDEOHG
                    7UDFNLQJ1DPH5HSRUWLQJ(QDEOHG
                    7UDFNLQJ3RUW5HSRUWLQJ(QDEOHG
                    7UDFNLQJ/RFDWLRQ5HSRUWLQJ(QDEOHG
                    7UDFNLQJ5HSRUWHYHU\WKSDFNHW(QDEOHG

                    :$51,1*&RPPXQLFDWLRQEHWZHHQWKHJDWHZD\DQGWKHV\VORJVHUYHUPD\QHHGWREH
                    VHFXUHGWRFRPSO\ZLWKORFDOODZV&RQVLGHUURXWLQJFRPPXQLFDWLRQWKURXJKDQ,36HFWXQQHO

                    &RQILJXUDWLRQ!


       /RJJLQJ2XWDQG3RZHULQJ'RZQWKH6\VWHP
           8VHWKLVSURFHGXUHWRORJRXWDQGSRZHUGRZQWKH$FFHVV*DWHZD\
              (QWHUO ORJRXW DWWKH$FFHVV*DWHZD\0HQX<RXUVHULDOVHVVLRQFORVHVDXWRPDWLFDOO\
              7XUQRIIWKH$FFHVV*DWHZD\DQGGLVFRQQHFWWKHSRZHUFRUG
              'LVFRQQHFWWKHFDEOHEHWZHHQWKH$FFHVV*DWHZD\DQG\RXUFRPSXWHU


       &RQQHFWLQJWKH$FFHVV*DWHZD\WRWKH&XVWRPHU¶V1HWZRUN
           8VHWKLVSURFHGXUHWRFRQQHFWWKH$FFHVV*DWHZD\WRWKHFXVWRPHU¶VQHWZRUN DIWHUWKHVWDUWXS
           FRQILJXUDWLRQSDUDPHWHUVKDYHEHHQHVWDEOLVKHG 
              &KRRVHDQDSSURSULDWHSK\VLFDOORFDWLRQWKDWDOORZVDPLQLPXPFOHDUDQFHRIFPHLWKHU
                VLGHRIWKHXQLW IRUDGHTXDWHDLUIORZ 
              &RQQHFWWKH$FFHVV*DWHZD\WRWKHURXWHUWKHQFRQQHFWWKH$FFHVV*DWHZD\WRWKH
                FXVWRPHU¶VVXEVFULEHUSRUW
              &RQQHFWWKHSRZHUFRUGDQGWXUQRQWKH$FFHVV*DWHZD\
              *RWR³(VWDEOLVKLQJWKH%DVLF&RQILJXUDWLRQIRU6XEVFULEHUV´RQSDJH 


       (VWDEOLVKLQJWKH%DVLF&RQILJXUDWLRQIRU6XEVFULEHUV
           :KHQ\RXKDYHVXFFHVVIXOO\HVWDEOLVKHGWKHVWDUWXSFRQILJXUDWLRQDQGLQVWDOOHGWKHXQLWRQWR
           WKHFXVWRPHU¶VQHWZRUNFRQQHFWWRWKH$FFHVV*DWHZD\YLD7HOQHW<RXPXVWQRZVHWXSWKH
           EDVLFFRQILJXUDWLRQSDUDPHWHUVIRUVXEVFULEHUVLQFOXGLQJ




       Installing the Access Gateway                                                                        67
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                                                                                      $&&(66*$7(:$<

                 z   6HWWLQJWKH'+&32SWLRQV±'+&3 '\QDPLF+RVW&RQILJXUDWLRQ3URWRFRO DOORZV
                     \RXWRDVVLJQ,3DGGUHVVHVDXWRPDWLFDOO\ WRVXEVFULEHUVZKRDUH'+&3HQDEOHG 7KH
                     $FFHVV*DWHZD\FDQ³UHOD\´WKHVHUYLFHWKURXJKDQH[WHUQDO'+&3VHUYHURULWFDQEH
                     FRQILJXUHGWRDFWDVLWVRZQ'+&3VHUYHU
                 z   6HWWLQJWKH'162SWLRQV±'16 'RPDLQ1DPH6\VWHP DOORZVVXEVFULEHUVWRHQWHU
                     PHDQLQJIXO85/VLQWRWKHLUEURZVHUV LQVWHDGRIFRPSOLFDWHGQXPHULF,3DGGUHVVHV 
                     '16FRQYHUWVWKH85/VLQWRWKHFRUUHFW,3DGGUHVVHVDXWRPDWLFDOO\


       Setting the DHCP Options
            :KHQDGHYLFHFRQQHFWVWRWKHQHWZRUNWKH'+&3VHUYHUDVVLJQVLWD³G\QDPLF´,3DGGUHVVIRU
            WKHGXUDWLRQRIWKHVHVVLRQ0RVWXVHUVKDYH'+&3FDSDELOLW\RQWKHLUFRPSXWHU7RHQDEOHWKLV
            VHUYLFHRQWKH$FFHVV*DWHZD\\RXFDQHLWKHUHQDEOHWKH'+&3UHOD\ URXWHGWRDQH[WHUQDO
            '+&3VHUYHU,3DGGUHVV RU\RXFDQHQDEOHWKH$FFHVV*DWHZD\WRDFWDVLWVRZQ'+&3
            VHUYHU,QERWKFDVHV'+&3IXQFWLRQDOLW\LVQHFHVVDU\LI\RXZDQWWRDXWRPDWLFDOO\DVVLJQ,3
            DGGUHVVHVWRVXEVFULEHUV

                         The Access Gateway’s adaptive configuration technology provides Dynamic
                         Address Translation (DAT) functionality. DAT is automatically configured to
                         facilitate “plug-and-play” access to subscribers who are misconfigured with
                         static (permanent) IP addresses, or subscribers that do not have DHCP capability
                         on their computers. DAT allows all users to obtain network access, regardless of
                         their computer’s network settings.

               (QWHUF FRQILJXUDWLRQ DWWKHAccess Gateway Menu7KHConfiguration PHQXDSSHDUV
               (QWHUGK GKFS 

                         By default, the Access Gateway is configured to act as its own DHCP server and
                         the relay feature is “disabled.”. Please verify that your DHCP Server supports
                         DHCP packets before enabling the relay. Not all devices containing DHCP
                         servers (for example, routers) support DHCP Relay functionality.

                         When assigning a DHCP Relay Agent IP address for the DHCP Relay, ensure
                         that the IP address you use does not conflict with devices on the network side of
                         the Access Gateway.

                         Although you cannot enable the DHCP relay and the DHCP service at the
                         same time, it is possible to “disable” both functions from the Command Line
                         Interface. In this case, a warning message informs you that no DHCP services
                         are available to subscribers.

               )ROORZWKHRQVFUHHQLQVWUXFWLRQVWRVHWXS\RXU'+&3RSWLRQV)RUH[DPSOH


       68                                                                   Installing the Access Gateway
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       $&&(66*$7(:$<

                    6DPSOH6FUHHQ5HVSRQVH
                    &RQILJXUDWLRQ!GK
                    (QDEOH'LVDEOH,38SVHOO>GLVDEOHG@
                    (QDEOH'LVDEOH'+&35HOD\>GLVDEOHG@
                    (QDEOH'LVDEOH'+&36HUYHU>HQDEOHG@
                    (QDEOH'LVDEOH6XEQHWEDVHG'+&36HUYLFH>GLVDEOHG
                    (QDEOH'LVDEOH)RUZDUGHG'+&3&OLHQWV>GLVDEOHG@
                    ,38SVHOO'LVDEOHG
                    '+&35HOD\'LVDEOHG
                    ([WHUQDO'+&36HUYHU,3
                    '+&35HOD\$JHQW,3
                    '+&36HUYHU(QDEOHG
                    '+&36HUYHU6XEQHWEDVHG'LVDEOHG
                    )RUZDUGHG'+&3&OLHQWV'LVDEOHG
                    6HUYHU,36HUYHU1HWPDVN6WDUW,3(QG,3           /HDVH   7\SH   ,38S
                                                  35,9   12
                                                    35,9   12
                     'HIDXOW,33RRO
                    '+&3,33RROV&RQILJXUDWLRQ
                    6KRZ,33RROV
                    $GGDQHZ,33RRO
                    0RGLI\DQ,33RRO
                    5HPRYHDQ,33RRO
                    ([LWWKLVPHQX
                    6HOHFWWKH'+&33RROFRQILJXUDWLRQPRGH>@


       DHCP Options from RFC 2132
           <RXFDQFRQILJXUH'+&3RSWLRQVDVGHILQHGLQ5)&7KHFRQILJXUHGRSWLRQVDUHVHQWWR
           VXEVFULEHUVZKRREWDLQWKHLUQHWZRUNFRQILJXUDWLRQIURPWKH16(YLD'+&3
           7KLVFDSDELOLW\RQO\DSSOLHVWRWKH16(¶V'+&3Server function7KHUHLVQRFKDQJHWRWKH
           16(¶VRSHUDWLRQDVD'+&3FOLHQW
           7KHRSWLRQVDUHFRQILJXUDEOHRQDSHUSRROEDVLV'LIIHUHQWVHWVRIRSWLRQVFDQEHFRQILJXUHG
           IRUGLIIHUHQWSRROV
           $JLYHQ'+&3RSWLRQFRQVLVWVRIDQRSWLRQFRGHDQGDYDOXH5)&GHWDLOVWKHYDULRXV
           DYDLODEOHRSWLRQVDQGWKHGDWDW\SHIRUHDFK7KH16(ZLOOYDOLGDWHWKHGDWDHQWHUHGWRHQVXUH
           WKDWLWLVW\SHFRUUHFWIRUWKHRSWLRQFRGHLQTXHVWLRQ,ILWLVLQFRUUHFWWKHRSWLRQLVQRW
           DFFHSWHG
           1XPHULFDOLQWHJHUYDOXHVFDQEHHQWHUHGLQGHFLPDOIRUPDWRUKH[IRUPDWXVLQJD³[´SUHIL[




       Installing the Access Gateway                                                                       69
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                                                                                          $&&(66*$7(:$<

            7KHIROORZLQJ'+&3RSWLRQFRGHVDUHVXSSRUWHG

                      2SWLRQ'HVFULSWLRQ                                    2SWLRQ&RGH

        6LQJOH,3DGGUHVV                                  

        /LVWRIRQHRUPRUH,3DGGUHVVHV                   

        /LVWRI]HURRUPRUH,3DGGUHVVHV                  

        /LVWRIRQHRUPRUHSDLUVRI,3DGGUHVVHV RU     
        DGGUHVVPDVNSDLUV

        ELWXQVLJQHGLQWHJHUYDOXH                      

        ELWXQVLJQHGLQWHJHUYDOXH                      

        ELWXQVLJQHGLQWHJHUYDOXH                       

        /LVWRIRUPRUHELWXQVLJQHGLQWHJHUYDOXHV   

        6LQJOHRFWHW%RROHDQ YDOXHPD\EHRU          

        6HTXHQFHRIRUPRUHRFWHWV                       

        $VFLLVWULQJRIRUPRUHSULQWDEOHFKDUDFWHUV     


            'LVDOORZHGRSWLRQV6RPHRSWLRQFRGHVDUHQRWDOORZHGIRURQHRIWKHIROORZLQJUHDVRQV
                z    ,WHPVWKDWDUHDOUHDG\FRQILJXUHGHOVHZKHUHDVDVHSDUDWH'+&3SRRORU16(
                     FRQILJXUDWLRQSDUDPHWHUDQGRUDUHGHULYHGIURPRQHWKDWLV,QFOXGHVRSWLRQV
                      VXEQHWPDVN  URXWHU  GRPDLQQDPHVHUYHU  GRPDLQQDPH  OHDVHWLPH 
                      VHUYHULGHQWLILHU  UHQHZDOWLPH  UHELQGLQJWLPH 
                z    ,WHPVQRWYDOLGLQD'+&3RIIHURU$&.PHVVDJH,QFOXGHVRSWLRQV UHTXHVWHG,3
                     DGGUHVV  SDUDPHWHUUHTXHVWOLVW  HUURUPHVVDJH  PD[LPXPPHVVDJHVL]H 
                      YHQGRUFODVVLGHQWLILHU  FOLHQWLGHQWLILHU 
                z    ,WHPVJHQHUDWHGDXWRPDWLFDOO\E\WKHPHFKDQLVPRI'+&3PHVVDJHFRQVWUXFWLRQ
                     ZKLFKFDUU\QRDSSOLFDWLRQLQIRUPDWLRQ,QFOXGHVRSWLRQV SDG  RSWLRQ
                     RYHUORDG  '+&3PHVVDJHW\SH  HQG 
            8QUHFRJQL]HGRSWLRQV2SWLRQVDUHXQUHFRJQL]HG6RPHRIWKHVHFRGHVDUH
            OHJLWLPDWHDQGDUHGHILQHGLQRWKHU5)&VZKLOHRWKHUVDUHQRWGHILQHG7KHVHRSWLRQFRGHVDUH
            QRWH[SOLFLWO\GLVDOORZHGRQWKH16(EXWWKH16(LV³XQDZDUH´RIWKHP±WKDWLVLWZLOOPDNH
            QRDWWHPSWWRYDOLGDWHHLWKHUWKHFRGHRUWKHGDWD,WLVWKHDGPLQLVWUDWRU¶VUHVSRQVLELOLW\WR
            HQVXUHWKDWWKHRSWLRQFRGHVDQGGDWDHQWHUHGDUHOHJLWLPDWH


       70                                                                    Installing the Access Gateway
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       $&&(66*$7(:$<

           7KHIROORZLQJVFUHHQVLOOXVWUDWHDGGLQJDGGLWLRQDO'+&3RSWLRQVWRD'+&33RRO




       Installing the Access Gateway                                                          71
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                                                                                 $&&(66*$7(:$<

       DHCP Dynamic Enable and Disable
            &OLFN&RQILJXUDWLRQ!'+&3&OLFNWKH6HUYHU,3DQG(QDEOHWKLV'+&33RRO1RWHWKDW
            '+&3HQDEOHGLVDEOHLVG\QDPLFQRUHERRWUHTXLUHG




            &OLFN&RQILJXUDWLRQ!'+&3$QHZFROXPQDSSHDUVXQGHUH[LVWLQJ'+&33RROVWDEOHIRU
            '+&3SRROHQDEOH




       72                                                              Installing the Access Gateway
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       $&&(66*$7(:$<

           &OLFN6XEVFULEHU$GPLQLVWUDWLRQ!'+&3/HDVHV7KH'+&3OHDVHV3DJHGLVSOD\VDOOWKH
           FXUUHQW'+&3OHDVHVRQWKH16(




       Setting the DNS Options
           '16DOORZVVXEVFULEHUVWRHQWHUPHDQLQJIXO85/VLQWRWKHLUEURZVHUV LQVWHDGRIQXPHULF,3
           DGGUHVVHV E\DXWRPDWLFDOO\FRQYHUWLQJWKH85/VLQWRWKHFRUUHFW,3DGGUHVVHV
           $IWHU\RXKDYHFRQILJXUHG'16JOREDORSWLRQVLQWKHFRPPDQGOLQHLQWHUIDFH\RXFDQDVVLJQD
           SULPDU\VHFRQGDU\RUWHUWLDU\ WKLUG '16VHUYHUIRUHDFK:$1LQWKH:HE0DQDJHPHQW
           ,QWHUIDFH :0, 6HH³(WKHUQHW3RUWV:$1´RQSDJH IRU:$1VSHFLILF'16
           FRQILJXUDWLRQ
           7RVHWWKH'16JOREDOFRQILJXUDWLRQRSWLRQV
              (QWHUF FRQILJXUDWLRQ DWWKHAccess Gateway Menu7KHConfiguration PHQXDSSHDUV
              (QWHUGQ GQVJOREDO DWWKHConfiguration PHQX
              (QWHUWKHKRVWQDPH WKH'16QDPHRIWKH$FFHVV*DWHZD\ 7KHKRVWQDPHPXVWQRW
                FRQWDLQDQ\VSDFHV
              6SHFLI\WKH5HGLUHFWLRQ3RUW0RGH,IIORDWLQJWKH'16ZLOOXVHHSKHPHUDOSRUWVIRUWKH
                VRXUFHSRUWRI'16UHTXHVWV,IIL[HG GHIDXOW WKHPDQXDOO\FRQILJXUHGSRUWVDUHXVHG
              6SHFLI\WKH8'3'165HGLUHFWLRQ3RUW
              (QDEOH GHIDXOW RUGLVDEOH'166(& 'RPDLQ1DPHU6\VWHP6HFXULW\([WHQVLRQV 

                    6DPSOH6FUHHQ5HVSRQVH

                    &RQILJXUDWLRQ!GQ

                    (QWHUKRVWQDPH QRVSDFHV >$*[@XVJ
                    5HGLUHFWLRQ3RUW0RGH )L[HG)ORDWLQJ >IL[HG@
                    (QWHU8'3'165HGLUHFWLRQ3RUW>@
                    (QWHU3UR[\8'3'163RUW>@


       Installing the Access Gateway                                                                  73
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                                                                                                 $&&(66*$7(:$<

                     (QDEOH'LVDEOH'166(&>HQDEOHG@

                     +RVW1DPHXVJ
                     '165HGLUHFWLRQ3RUW0RGHIL[HG
                     8'3'165HGLUHFWLRQ3RUW
                     3UR[\8'3'163RUW
                     '166(&6XSSRUWHQDEOHG


       $UFKLYLQJ<RXU&RQILJXUDWLRQ6HWWLQJV
            2QFH\RXKDYHLQVWDOOHG\RXU$FFHVV*DWHZD\DQGHVWDEOLVKHGWKHFRQILJXUDWLRQVHWWLQJV\RX
            VKRXOGZULWHWKHVHWWLQJVWRDQDUFKLYHILOH,I\RXHYHUH[SHULHQFHSUREOHPVZLWKWKHV\VWHP
            \RXUDUFKLYHGVHWWLQJVFDQEHUHVWRUHGDWDQ\WLPH
            5HIHUWRWKHIROORZLQJSURFHGXUHV
                 z   ³([SRUWLQJ&RQILJXUDWLRQ6HWWLQJVWRWKH$UFKLYH)LOH^([SRUW`´RQSDJH 
                 z   ³,PSRUWLQJ&RQILJXUDWLRQ6HWWLQJVIURPWKH$UFKLYH)LOH^,PSRUW`´RQSDJH 


       ,QVWDOOLQJWKH1RPDGL[3ULYDWH0,%
            7KH1RPDGL[3ULYDWH0DQDJHPHQW,QIRUPDWLRQ%DVH 0,% DOORZV\RXWRYLHZDQGPDQDJH
            6103REMHFWVRQ\RXU$FFHVV*DWHZD\7RXVHWKH0,%\RXPXVWREWDLQWKHDSSURSULDWH
            nomadix.mibILOHIRU\RXU$FFHVV*DWHZD\7KLVILOHLVDYDLODEOHLQWKH6XSSRUWDUHDRIWKH
            1RPDGL[ZHEVLWH

            Obtaining the Management Information Base (MIB) file
               9LVLWZZZQRPDGL[FRPVXSSRUW
               6FUROOWR³*DWHZD\'RFXPHQWDWLRQ´
               &OLFN³/DWHVW'RFXPHQWDWLRQ´
               6FUROOWRWKHJURXSIRU\RXU$FFHVV*DWHZD\PRGHO
               &OLFNWKHOLQNWRGRZQORDGWKH0,%ILOHIRU\RXU$FFHVV*DWHZD\




       74                                                                              Installing the Access Gateway
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       $&&(66*$7(:$<




                                                            &OLFNWRGRZQORDGWKH0,%ILOH




           Configuring the Management Information Base
              ,PSRUWWKHnomadix.mibILOHLQWR\RXU6103FOLHQWPDQDJHU
              &RQQHFWWRWKH$FFHVV*DWHZD\IURPDQRGHRQWKHQHWZRUNWKDWLVDFFHVVLEOHYLDWKH
                $FFHVV*DWHZD\¶VQHWZRUNSRUW ,QWHUQHW/$1HWF %HVXUHWRHQDEOHWKH6103
                GDHPRQRQWKH$FFHVV*DWHZD\ DYDLODEOHRQWKH$FFHVV*DWHZD\¶V&/,RU:HE
                0DQDJHPHQW,QWHUIDFHXQGHUWKHConfigurationPHQX±VQPS 
              $OOYDULDEOHVGHILQHGE\1RPDGL[VWDUWZLWKWKHIROORZLQJSUHIL[
                LVRRUJGRGLQWHUQHWSULYDWHHQWHUSULVHVQRPDGL[
              <RXVKRXOGQRZEHDEOHWRGHILQHTXHULHVDQGVHWWKH6103YDOXHVRQ\RXU$FFHVV
                *DWHZD\,IQHFHVVDU\FRQVXOWWKLV8VHU*XLGHRU\RXU6103FOLHQWPDQDJHU¶V
                GRFXPHQWDWLRQIRUIXUWKHUGHWDLOV

                         We recommend that you change the predefined community strings in order to
                         maintain a secure environment for your Access Gateway.




       Installing the Access Gateway                                                                   75
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                                                              $&&(66*$7(:$<




       76                                           Installing the Access Gateway
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       $&&(66*$7(:$<                                                                               
       System Administration
           7KLVVHFWLRQSURYLGHVDOOWKHLQVWUXFWLRQVDQGSURFHGXUHVQHFHVVDU\IRUV\VWHPDGPLQLVWUDWRUVWR
           PDQDJHWKH$FFHVV*DWHZD\RQWKHFXVWRPHU¶VQHWZRUN DIWHUDVXFFHVVIXOLQVWDOODWLRQ 
           7KHV\VWHPDGPLQLVWUDWLRQSURFHGXUHVLQWKLVVHFWLRQDUHRUJDQL]HGDVWKH\DUHOLVWHGXQGHUWKHLU
           UHVSHFWLYH:HE0DQDJHPHQW,QWHUIDFH :0, PHQXV
               z    ³&RQILJXUDWLRQ0HQX´RQSDJH 
               z    ³1HWZRUN,QIR0HQX´RQSDJH 
               z    ³3RUW/RFDWLRQ0HQX´RQSDJH 
               z    ³6XEVFULEHU$GPLQLVWUDWLRQ0HQX´RQSDJH 
               z    ³6XEVFULEHU,QWHUIDFH0HQX´RQSDJH 
               z    ³6\VWHP0HQX´RQSDJH 

                        Now that the Access Gateway has been installed and configured successfully, this
                        User Guide moves away from the Command Line Interface (CLI) and documents
                        the Access Gateway from the Web Management Interface (WMI) viewpoint.


       &KRRVLQJD5HPRWH&RQQHFWLRQ
           2QFHLQVWDOOHGDQGFRQILJXUHGIRUWKHFXVWRPHU¶VQHWZRUNWKH$FFHVV*DWHZD\FDQEH
           PDQDJHGDQGDGPLQLVWHUHGUHPRWHO\ZLWKDQ\RIWKHIROORZLQJLQWHUIDFHRSWLRQV
               z    8VLQJWKH:HE0DQDJHPHQW,QWHUIDFH :0, 3URYLGHVDSRZHUIXODQGIOH[LEOH:HE
                    LQWHUIDFHIRUQHWZRUNDGPLQLVWUDWRUV
               z    8VLQJDQ61030DQDJHU$OORZVUHPRWH³:LQGRZV´PDQDJHPHQWXVLQJDQ6103
                    FOLHQWPDQDJHU IRUH[DPSOH+32SHQ9LHZ +RZHYHUEHIRUH\RXFDQXVH6103WR
                    DFFHVVWKH$FFHVV*DWHZD\\RXPXVWVHWXSWKHDSSURSULDWH6103FRPPXQLWLHV)RU
                    PRUHLQIRUPDWLRQUHIHUWR³0DQDJLQJWKH6103&RPPXQLWLHV^6103`´RQ
                    SDJH 
               z    8VLQJD7HOQHW&OLHQW

                        To use any of the remote connections (Web, SNMP, or Telnet), the network
                        interface IP address for the Access Gateway must be established (you did this
                        during the installation process).

           &KRRVHDQLQWHUIDFHFRQQHFWLRQEDVHGRQ\RXUSUHIHUHQFH

       System Administration                                                                             77
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                                                                                        $&&(66*$7(:$<

            Using the Web Management Interface (WMI)
            7KH:HE0DQDJHPHQW,QWHUIDFH :0, LVD³JUDSKLFDO´YHUVLRQRIWKH&RPPDQG/LQH
            ,QWHUIDFHFRPSULVHGRI+70/ILOHV7KH+70/ILOHVDUHHPEHGGHGLQWKH$FFHVV*DWHZD\
            DQGDUHG\QDPLFDOO\OLQNHGWRWKHV\VWHP¶VIXQFWLRQDOFRPPDQGVHWV<RXFDQDFFHVVWKH:0,
            IURPDQ\:HEEURZVHU

                          Your browser preferences or Internet options should be set to compare loaded
                          pages with cached pages.

            7RFRQQHFWWRWKH:HE0DQDJHPHQW,QWHUIDFHGRWKHIROORZLQJ
               (VWDEOLVKDFRQQHFWLRQWRWKH,QWHUQHW
               2SHQ\RXU:HEEURZVHU
               (QWHUWKHQHWZRUNLQWHUIDFH,3DGGUHVVRIWKH$FFHVV*DWHZD\ VHWXSGXULQJWKH
                 LQVWDOODWLRQSURFHVV 
               /RJLQDVXVXDO VXSSO\LQJ\RXUXVHUQDPHDQGSDVVZRUG 
            7RDFFHVVDQ\PHQXLWHPIURPWKH:0,FOLFNRQWKHLWHP\RXZDQW7KHFRUUHVSRQGLQJZRUN
            VFUHHQWKHQDSSHDUVLQWKHULJKWVLGHIUDPH)URPKHUH\RXFDQFRQWUROWKHIHDWXUHVDQGVHWWLQJV
            UHODWHGWR\RXUVHOHFWLRQ$OWKRXJKWKHDSSHDUDQFHLVYHU\GLIIHUHQWIURPWKH&RPPDQG/LQH
            ,QWHUIDFHWKHLQIRUPDWLRQGLVSOD\HGWR\RXLVEDVLFDOO\WKHVDPH7KHRQO\GLIIHUHQFHEHWZHHQ
            WKHWZRLQWHUIDFHVLVLQWKHPHWKRGXVHGIRUPDNLQJVHOHFWLRQVDQGDSSO\LQJ\RXUFKDQJHV
             VHOHFWLRQVDUHFKHFNDEOHER[HVDQGDSSO\LQJ\RXUFKDQJHVLVDFKLHYHGE\SUHVVLQJWKH6DYH
            EXWWRQ 3UHVVLQJWKH5HVWRUHEXWWRQUHVHWVWKHVFUHHQWRLWVSUHYLRXVVWDWH FOHDULQJDOO\RXU
            FKDQJHVZLWKRXWDSSO\LQJWKHP 

            6HOHFWLQJWKHODQJXDJHRIWKH:HE0DQDJHPHQW,QWHUIDFH
            <RXFDQFOLFNRQ/DQJXDJH6HOHFWLRQWRFKDQJHWKHODQJXDJHRIWKH:HE0DQDJHPHQW,QWHUIDFH
            WH[W&XUUHQWO\(QJOLVK 86 DQG&KLQHVH VLPSOLILHG DUHSURYLGHG




       78                                                                            System Administration
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       $&&(66*$7(:$<

           Using an SNMP Manager
           2QFHWKH6103FRPPXQLWLHVDUHHVWDEOLVKHG\RXFDQFRQQHFWWRWKH$FFHVV*DWHZD\YLDWKH
           ,QWHUQHWXVLQJDQ6103FOLHQWPDQDJHU IRUH[DPSOH+32SHQ9LHZ 6103LVWKHVWDQGDUG
           SURWRFROXVHGLQWKH1HWZRUN0DQDJHPHQW 10 V\VWHP7KLVV\VWHPFRQWDLQVWZRSULPDU\
           HOHPHQWV
               z    0DQDJHU±7KHFRQVROH FOLHQW WKURXJKZKLFKV\VWHPDGPLQLVWUDWRUVSHUIRUP
                    QHWZRUNPDQDJHPHQWIXQFWLRQV
               z    $JHQW±$Q6103FRPSOLDQWGHYLFHZKLFKVWRUHVGDWDDERXWLWVHOILQD0DQDJHPHQW
                    ,QIRUPDWLRQ%DVH 0,% 7KH$FFHVV*DWHZD\LVDQH[DPSOHRIVXFKDGHYLFH
           7KH$FFHVV*DWHZD\FRQWDLQVPDQDJHGREMHFWVWKDWGLUHFWO\UHODWHWRLWVFXUUHQWRSHUDWLRQDO
           VWDWH7KHVHREMHFWVLQFOXGHKDUGZDUHFRQILJXUDWLRQSDUDPHWHUVDQGSHUIRUPDQFHVWDWLVWLFV
           0DQDJHGREMHFWVDUHDUUDQJHGLQWRDYLUWXDOLQIRUPDWLRQGDWDEDVHFDOOHGD0DQDJHPHQW
           ,QIRUPDWLRQ%DVH 0,% 6103HQDEOHVmanagersDQGagentsWRFRPPXQLFDWHZLWKHDFKRWKHU
           IRUWKHSXUSRVHRIDFFHVVLQJWKHVH0,%VDQGUHWULHYLQJGDWD6HHDOVR³,QVWDOOLQJWKH1RPDGL[
           3ULYDWH0,%´RQSDJH 
           7KHIROORZLQJH[DPSOHVKRZVD SDUWLDO 6103VFUHHQUHVSRQVH




           Using a Telnet Client
           7KHUHDUHPDQ\7HOQHWFOLHQWVWKDW\RXFDQXVHWRFRQQHFWZLWKWKH$FFHVV*DWHZD\8VLQJ
           7HOQHWSURYLGHVDVLPSOHWHUPLQDOHPXODWLRQWKDWDOORZV\RXWRVHHDQGLQWHUDFWZLWKWKH$FFHVV
           *DWHZD\¶V&RPPDQG/LQH,QWHUIDFH DVLI\RXZHUHFRQQHFWHGYLDWKHVHULDOLQWHUIDFH $VZLWK
           DQ\UHPRWHFRQQHFWLRQWKHQHWZRUNLQWHUIDFH,3DGGUHVVIRUWKH$FFHVV*DWHZD\PXVWEH
           HVWDEOLVKHG \RXGLGWKLVGXULQJWKHLQVWDOODWLRQSURFHVV 




       System Administration                                                                              79
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                                                                                       $&&(66*$7(:$<

       /RJJLQJ,Q
            7RDFFHVVWKH$FFHVV*DWHZD\¶V:HE0DQDJHPHQW,QWHUIDFHXVHWKHManagerRUOperator
            ORJLQXVHUQDPHDQGSDVVZRUG\RXGHILQHGGXULQJWKHLQVWDOODWLRQSURFHVV UHIHUWR$VVLJQLQJ
            /RJLQ8VHU1DPHVDQG3DVVZRUGV 

                         User names and passwords are case-sensitive.



       $ERXW<RXU3URGXFW/LFHQVH
            6RPHIHDWXUHVLQFOXGHGLQWKLVVHFWLRQZLOOQRWEHDYDLODEOHWR\RXXQOHVV\RXKDYHSXUFKDVHG
            WKHDSSURSULDWHSURGXFWOLFHQVHIURP1RPDGL[,QWKLVFDVHWKHIROORZLQJVWDWHPHQWZLOODSSHDU
            HLWKHULPPHGLDWHO\EHORZWKHVHFWLRQKHDGLQJRUZKHQWKHIHDWXUHLVPHQWLRQHGLQWKHERG\
            WH[W

                         Your product license may not support this feature. You can upgrade your product
                         license at any time.


       &RQILJXUDWLRQ0HQX

            Defining the AAA Services {AAA}
            7KLVSURFHGXUHVKRZV\RXKRZWRVHWXSWKH$$$ $XWKHQWLFDWLRQ$XWKRUL]DWLRQDQG
            $FFRXQWLQJ VHUYLFHRSWLRQVAAA ServicesDUHXVHGE\WKH$FFHVV*DWHZD\WRDXWKHQWLFDWH
            DXWKRUL]HDQGVXEVHTXHQWO\ELOOVXEVFULEHUVIRUWKHLUXVHRIWKHFXVWRPHU¶VQHWZRUN7KH
            $FFHVV*DWHZD\FXUUHQWO\VXSSRUWVVHYHUDO$$$PRGHOVZKLFKDUHGLVFXVVHGLQ³6XEVFULEHU
            0DQDJHPHQW´RQSDJH 
               )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ$$$7KH
                 Authentication Authorization and Accounting Settings VFUHHQDSSHDUV




       80                                                                           System Administration
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       $&&(66*$7(:$<




              (QDEOHRUGLVDEOH$$$6HUYLFHV,I\RXHQDEOHAAA ServicesJRWR6WHSRWKHUZLVHWKLV
                IHDWXUHLVGLVDEOHGDQG\RXFDQH[LWWKHSURFHGXUH
              6HOHFWD/RJRXW,3DGGUHVVIURPWKHGURSGRZQOLVW7KHOLVWFRQWDLQV,3DGGUHVVWKDWFDQ
                EHXVHGDVWKHORJRXW,3DGGUHVV7KHGHIDXOW,3DGGUHVVLV
              &OLFN&RQILJXUHWRFRQILJXUHWKH;0/,QWHUIDFHDVUHTXLUHG




       System Administration                                                                            81
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                                                                                       $&&(66*$7(:$<




                          ;0/LVXVHGE\WKH$FFHVV*DWHZD\¶VVXEVFULEHUPDQDJHPHQWPRGXOHIRUSRUW
                          ORFDWLRQDQGXVHUDGPLQLVWUDWLRQ(QDEOLQJWKH;0/LQWHUIDFHDOORZVWKH$FFHVV
                          *DWHZD\WRDFFHSWDQGSURFHVV;0/FRPPDQGVIURPDQH[WHUQDOVRXUFH;0/
                          FRPPDQGVDUHVHQWRYHUWKHQHWZRUNWRWKH$FFHVV*DWHZD\7KH$FFHVV
                          *DWHZD\SDUVHVWKHTXHU\VWULQJH[HFXWHVWKHFRPPDQGVVSHFLILHGE\WKHVWULQJ
                          DQGUHWXUQVGDWDWRWKHV\VWHPWKDWLQLWLDWHGWKHFRPPDQGUHTXHVW
                          <RXFDQDXWKHQWLFDWH;0/FRPPDQGVYLDXVHUFUHGHQWLDOVDVZHOODVYLD,3
                          DGGUHVVHV<RXFDQFKRRVHHLWKHURUERWKDXWKHQWLFDWLRQPHFKDQLVPV
                         ,I\RXVHOHFW(QDEOH$XWKHQWLFDWLRQYLD;0/8VHU&UHGHQWLDOVFRQILUPWKDWDQ
                          ;0/XVHUKDVEHHQVHWXS(LWKHUFOLFNRQWKH8VHU&UHGHQWLDOVOLQNRUVHOHFW
                          6\VWHP!/RJLQWRVHWRUFRQILUPWKH;0//RJLQ,'DQGSDVVZRUG
                          %HORZLVDQH[DPSOH;0/FRPPDQGLQLWLDWLRQWKDWUHOLHVRQ;0/8VHU
                          DXWKHQWLFDWLRQ
                          wget http://NSE_IP/usg/command.xml -O out.txt
                          --auth-no-challenge --user=xmlcommand
                          --password=xmlcommand --post-file="addUser.xml"
                          --header="Content-Type:text/xml"
                         ,I\RXVHOHFW(QDEOH$XWKHQWLFDWLRQYLD,3$GGUHVVHQWHUWKHYDOLG;0/VHUYHU
                          DGGUHVV HV 8SWRIRXUDGGUHVVHVDUHVXSSRUWHG
               (QDEOHRUGLVDEOH3ULQW%LOOLQJ&RPPDQGDVUHTXLUHG7KLVIHDWXUHHQDEOHV16(WR
                 VXSSRUW'ULYHUOHVV3ULQWVHUYHUV,IWKLVIHDWXUHLVHQDEOHG\RXPXVWHQDEOHWKH;0/
                 LQWHUIDFHDQGHQWHUWKH,3DGGUHVVIRUWKH;0/LQWHUIDFH 6WHSDQG6WHS :LWK3ULQW
                 %LOOLQJHQDEOHGSULQWVHUYHUVFDQELOOVXEVFULEHUV¶URRPVIRUSULQWLQJWKHLUGRFXPHQWV
                 ZLWKRXWWKHPKDYLQJWRLQVWDOOSULQWHUV
                 7KH'16QDPHSULQWVHUYHUFRPZLOOLQWHUQDOO\UHVROYHWRWKH&RQILJXUHG3ULQW6HUYHU
                 85/WKDWLVHQWHUHGLQWKHFRQILJXUDWLRQ:KHQVXEVFULEHUVDUHUHGLUHFWHGWRWKH3ULQW


       82                                                                           System Administration
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       $&&(66*$7(:$<

                6HUYHUWKH16(DGGV3DUDPHWHUVWRWKDWUHTXHVWVRWKDWWKH6HUYHULVDEOHWRFKDUJHWKH
                SURSHUVXEVFULEHU
                :LWKWKHVHYDULDEOHVVHQWWRWKHVHUYHULWFDQQRZVHQGWKH;0/FRPPDQGWRELOOWKHXVHUV
                SURSHUO\
                3ULQW6HUYHU,3QHHGVWREHHQWHUHGDVRQHRIWKH;0/VHUYHU,3IRUWKHFRPPDQGWR
                VXFFHVVIXOO\FRPSOHWH
                7KH;0/FRPPDQGLV
                <USG COMMAND="BILL_PRINT" IP_ADDR="">
                       <ROOM_NUM></ROOM_NUM>
                       <DOC_NAME></DOC_NAME>
                       <NUM_COPIES></NUM_COPIES>
                       <NUM_PAGES></NUM_PAGES>
                       <COST></COST>
                       <TIME_SUBMITTED></TIME_SUBMITTED>
                </USG>
                6XEVFULEHUVFRXOGJHWWRSULQWVHUYHUFRPE\
                z   ,&&EXWWRQOLQN
                z   3ULQWRXWLQWKHKRWHOURRP
                z   /LQNIURPWKHKRWHO¶V+353DJH


                         Your product license may not support this feature.

              (QDEOHRUGLVDEOHWKH$$$3DVVWKURXJK3RUWIHDWXUHDVUHTXLUHG6\VWHPDGPLQLVWUDWRUV
                FDQVHWWKH$FFHVV*DWHZD\WRSDVVWKURXJK+7736WUDIILFLQDGGLWLRQWRVWDQGDUGSRUW
                WUDIILFZLWKRXWEHLQJUHGLUHFWHG:KHQDFFHVVWRDQRQ+7736DGGUHVV IRUH[DPSOHD
                6HDUFK(QJLQHRU1HZVVLWH KDVEHHQUHTXHVWHGWKHVXEVFULEHULVWKHQUHGLUHFWHGDVXVXDO
              ,I$$$SDVVWKURXJKLVHQDEOHGHQWHUWKHFRUUHVSRQGLQJSRUWQXPEHU


                         The port number must be different than 80, 2111, 1111, or 1112.

              (QDEOHRUGLVDEOHWKH[$XWKHQWLFDWLRQ6XSSRUWIHDWXUHDVUHTXLUHG

                         Both AAA and RADIUS Authentication must be enabled for 802.1x
                         Authentication support.




       System Administration                                                                                83
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                                                                                          $&&(66*$7(:$<

               (QDEOHRUGLVDEOHWKH2ULJLQ6HUYHU 26 SDUDPHWHUHQFRGLQJIRU3RUWDO3DJHDQG(:6
                 IHDWXUHDVUHTXLUHG

             <RXFDQFKRRVHWR(QDEOHIDLORYHUWR,QWHUQDO:HE6HUYHU$XWKHQWLFDWLRQLI3RUWDO
                3DJH([WHUQDO:HE6HUYHULVQRWUHDFKDEOHE\SODFLQJDFKHFNLQWKDWER[
             (QDEOHRUGLVDEOH3RUW%DVHG%LOOLQJ3ROLFLHV
                 :LWK3RUW%DVHG%LOOLQJ3ROLFLHVHQDEOHG\RXFDQLQGLYLGXDOO\FRQILJXUHWKHELOOLQJ
                 PHWKRGV 5$',86&UHGLW&DUG306 DQGWKHELOOLQJSODQVDYDLODEOHRQHDFKSRUW
                 7KLVDELOLW\DOORZVIRUKDYLQJGLIIHUHQWELOOLQJPHWKRGVDQGELOOLQJSODQVRQGLIIHUHQWSRUWV
                 LGHQWLILHGE\9/$1VRU61033RUW4XHU\RIWKHFRQFHQWUDWRU$SUDFWLFDODSSOLFDWLRQRI
                 WKLVIHDWXUHLVWRKDYHDQRUPDOKRWHOURRPZLWKDSODQ$WKDWLVIRUDGD\ZLWK306
                 ELOOLQJDQGKDYHDPHHWLQJURRPZLWKDSODQRIDQKRXUZLWK&UHGLW&DUGELOOLQJ
                 ,QRUGHUIRUWKHSRUWEDVHGSROLFLHVWRZRUN\RXPXVWHQDEOH3RUW%DVHG%LOOLQJ3ROLFLHV
                 6HHDOVR³$GGLQJDQG8SGDWLQJ3RUW/RFDWLRQ$VVLJQPHQWV^$GG`´RQSDJH 
             (QDEOHRUGLVDEOH+77365HGLUHFWLRQ
                 7KH16(UHVSRQGVWRUHJXODU+773UHTXHVWVIURPSHQGLQJVXEVFULEHUVZLWKDUHGLUHFWLRQ
                 WRWKHORJLQVFUHHQ7KH16(GRHVQRWUHVSRQGWR+7736UHTXHVWVIURPSHQGLQJ
                 VXEVFULEHUV +773UHTXHVWVZLWKDGHVWLQDWLRQSRUW  ZLWKDUHGLUHFWWKLVZLOOUHVXOW
                 LQDWLPHRXWRULQYDOLGFHUWLILFDWHZDUQLQJ
                 (QDEOLQJ+77365HGLUHFWLRQDGGVDVHFXULW\H[FHSWLRQWRWKHXVHU¶VEURZVHUWRDOORZWKH
                 FHUWLILFDWHUHFHLYHGIURPWKH16(WREHDOZD\V³YDOLG´
             (QDEOHRUGLVDEOH)DFHERRN/RJLQ,I\RXHQDEOH)DFHERRNORJLQ\RXPXVWSURYLGHD
                 )DFHERRN$SS,'DQG)DFHERRN$SSVHFUHWFRGH,QVWUXFWLRQVIRUFUHDWLQJWKHVHDUH
                 DYDLODEOHIURP)DFHERRN
             'HSHQGLQJRQZKLFKDXWKRUL]DWLRQPRGH\RXFKRRVHJRWRWKHIROORZLQJVXEVHFWLRQVLQ
                 WKLVSURFHGXUH
                 z   (QDEOLQJ$$$6HUYLFHVZLWKWKH,QWHUQDO:HE6HUYHU±7KH,:6LV³IODVKHG´LQWRWKH
                     V\VWHP¶VPHPRU\DQGWKHVXEVFULEHU¶VORJLQSDJHLVVHUYHGGLUHFWO\IURPWKH$FFHVV
                     *DWHZD\
                 z   (QDEOLQJ$$$6HUYLFHVZLWKDQ([WHUQDO:HE6HUYHU±,QWKH(:6PRGHWKH$FFHVV
                     *DWHZD\UHGLUHFWVWKHVXEVFULEHU¶VORJLQUHTXHVWWRDQH[WHUQDOVHUYHU WUDQVSDUHQWWR
                     WKHVXEVFULEHU 7KHORJLQSDJHVHUYHGE\WKH(:6 UHIOHFWVWKH³ORRNDQGIHHO´RIWKH
                     VROXWLRQSURYLGHU¶VQHWZRUNDQGSUHVHQWVPRUHORJLQRSWLRQV

            (QDEOLQJ$$$6HUYLFHVZLWKWKH,QWHUQDO:HE6HUYHU
            <RXDUHKHUHEHFDXVH\RXZDQWWRHQDEOHWKHAAA ServicesZLWKWKH$FFHVV*DWHZD\¶VInternal
            Web Server7KH$FFHVV*DWHZD\PDLQWDLQVDQLQWHUQDOGDWDEDVHRIDXWKRUL]HGVXEVFULEHUV
            EDVHGRQWKHLU0$& KDUGZDUHDGGUHVV DQGXVHUQDPH LIHQDEOHG %\UHIHUULQJWRLWVGDWDEDVH


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       $&&(66*$7(:$<

           UHFRUGDOVRNQRZQDVDQDXWKRUL]DWLRQWDEOHWKH$FFHVV*DWHZD\LQVWDQWO\UHFRJQL]HVQHZ
           VXEVFULEHUVRQWKHQHWZRUN
           <RXFDQFRQILJXUHWKH$FFHVV*DWHZD\WRKDQGOHQHZVXEVFULEHUVLQYDULRXVZD\V VHHWKH
           WDEOHRQWKLVSDJH :LWKWKH,:6\RXDOVRKDYHWKHRSWLRQRIHQDEOLQJ66/VXSSRUW
           $IWHUVHOHFWLQJWKHInternal Web ServerDXWKRUL]DWLRQPRGH\RXKDYHWKHRSWLRQRIHQDEOLQJRU
           GLVDEOLQJWKHUsernamesDQGNew SubscribersIHDWXUHV7KHVHIHDWXUHVZRUNLQFRQMXQFWLRQ
           ZLWKHDFKRWKHUWRGHWHUPLQHKRZQHZVXEVFULEHUVDUHKDQGOHG5HIHUWRWKHIROORZLQJWDEOH

           8VHUQDPHV           1HZ6XEVFULEHUV                        6\VWHP5HVSRQVH

        'LVDEOHG               (QDEOHG                $OORZVQHZVXEVFULEHUVWRHQWHUWKHV\VWHPZLWKRXW
                                                      JLYLQJDXVHUQDPHDQGSDVVZRUG

        (QDEOHG                (QDEOHG                $OORZVQHZVXEVFULEHUVRUDXWKHQWLFDWLRQE\WKHLU
         optional                                     XVHUQDPHDQGSDVVZRUG

        (QDEOHG                'LVDEOHG               1HZVXEVFULEHUVDUHQRWDOORZHG2QO\H[LVWLQJ
                                                      VXEVFULEHUVDUHDOORZHGDIWHUDXWKHQWLFDWLQJWKHLU
                                                      XVHUQDPHDQGSDVVZRUG

        'LVDEOHG               'LVDEOHG               <RXZLOOQRWXVHWKLVFRPELQDWLRQXQOHVV\RXZDQWWR
                                                      ORFNRXWDOOVXEVFULEHUV


              6HOHFWWKH,QWHUQDO:HE6HUYHUWDE




       System Administration                                                                                85
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                                                                                       $&&(66*$7(:$<




               (QDEOHRUGLVDEOHWKH66/6XSSRUWIHDWXUHDVUHTXLUHG,I\RXHQDEOH66/6XSSRUW\RX
                 PXVWSURYLGHDYDOLG&HUWLILFDWH'161DPH
                 )RUPRUHLQIRUPDWLRQDERXWVHWWLQJXS66/JRWR³6HWWLQJ8SWKH66/)HDWXUH´RQ
                 SDJH 
                 66/VXSSRUWDOORZVIRUWKHFUHDWLRQRIDQHQGWRHQGHQFU\SWHGOLQNEHWZHHQWKH$FFHVV
                 *DWHZD\DQGLWVFOLHQWVE\HQDEOLQJWKH,QWHUQDO:HE6HUYHU ,:6 WRGLVSOD\SDJHVXQGHU
                 DVHFXUHOLQN²LPSRUWDQWZKHQWUDQVPLWWLQJ$$$LQIRUPDWLRQLQDQHWZRUN
                 $GGLQJ66/VXSSRUWWRWKH$FFHVV*DWHZD\UHTXLUHVVHUYLFHSURYLGHUVWRREWDLQGLJLWDO
                 FHUWLILFDWHVIURP9HUL6LJQWRFUHDWH+7736SDJHV,QVWUXFWLRQVIRUREWDLQLQJFHUWLILFDWHV
                 DUHSURYLGHGE\1RPDGL[

                          To enable SSL Support, your Access Gateway’s flash must include the server.pem,
                          cakey.pem, and cacert.pem certificate files (the “cacert.pem” file is provided
                          with your Access Gateway). For assistance, contact 7HFKQLFDO6XSSRUW.




       86                                                                           System Administration
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       $&&(66*$7(:$<

              ,I\RXZDQWWRGHVLJQDWHDSRUWDOSDJH\RXPXVWHQDEOHWKH3RUWDO3DJHIHDWXUHRWKHUZLVH
                OHDYHWKLVIHDWXUHGLVDEOHG

                         The Portal Page IP or DNS address are added to the IP passthrough list
                         automatically.

              ,I\RXHQDEOHGWKH3RUWDO3DJHIHDWXUHSURYLGHWKHIROORZLQJVXSSRUWLQJLQIRUPDWLRQ
                z   3RUWDO3DJH85/
                z   3DUDPHWHU3DVVLQJ HQDEOHGRUGLVDEOHG
                z   3DUDPHWHU6LJQLQJ LQFOXGLQJ0HWKRG3DUDPHWHUVDQG6KDUHG6HFUHW

                         See ³5HGLUHFWLRQ3DUDPHWHU6LJQLQJ´RQSDJH  for more information about
                         parameter signing.

                z   3RUWDO;0/326785/WDUJHWIRUWKH16(¶V86(5B67$786;0/FRPPDQGV
                z   3RUWDO;0/3RVW3RUW
                z   6XSSRUW*,6&OLHQWV HQDEOHGRUGLVDEOHG

                         GIS stands for Generic Interface Specification, a document written by iPass.
                         Enabling the Smart Client option in the Access Gateway automatically supports
                         all GIS compliant clients using the Internal Web Server. Enabling “Support for
                         GIS Clients” under the Portal Page feature means that the Access Gateway will
                         defer the management of the GIS clients to the Portal Page server.

                z   %ORFN,:6/RJLQ3DJH HQDEOHGRUGLVDEOHG
              (QDEOHRUGLVDEOHWKH8VHUQDPHVIHDWXUHDVUHTXLUHG UHIHUWRWKHWDEOHLQ³(QDEOLQJ$$$
                6HUYLFHVZLWKWKH,QWHUQDO:HE6HUYHU´RQSDJH  
                6RPHVXEVFULEHUVPD\ZDQWDGGLWLRQDODFFRXQWIOH[LELOLW\DQGVHFXULW\IRUWKHLUVHUYLFHV
                 IRUH[DPSOHLIWKH\XVHPRUHWKDQRQHFRPSXWHUDQGWKHLU0$&DGGUHVVFKDQJHVRULI
                WKH\PRYHEHWZHHQSRUWORFDWLRQV ,QWKLVFDVHDVXEVFULEHUFDQGHILQHDXQLTXHXVHU
                QDPHDQGSDVVZRUGZKLFKWKH\FDQXVHIURPDQ\PDFKLQHRUORFDWLRQ ZLWKRXWEHLQJUH
                FKDUJHG 6XEVFULEHUVZKRFKRRVHWKLVRSWLRQDUHSURPSWHGIRUWKHLUXVHUQDPHDQG
                SDVVZRUGZKHQHYHUWKH\WU\WRDFFHVVWKH,QWHUQHW6ROXWLRQSURYLGHUVFDQFKDUJHDIHHIRU
                WKLVVHUYLFH
              (QDEOHRUGLVDEOHWKH1HZ6XEVFULEHUVIHDWXUH UHIHUWRWKHWDEOHLQ³(QDEOLQJ$$$
                6HUYLFHVZLWKWKH,QWHUQDO:HE6HUYHU´RQSDJH  

                         New Subscribers must be enabled before enabling the Credit Card and PMS
                         options.



       System Administration                                                                            87
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                                                                                         $&&(66*$7(:$<

               ,I\RXHQDEOHG1HZ6XEVFULEHUVHQDEOHRUGLVDEOHWKH5HORJLQ$IWHU7LPHRXWRSWLRQ
               <RXFDQQRZHQDEOHRUGLVDEOHWKH&UHGLW&DUG6HUYLFH:KHQWKLVIHDWXUHLVHQDEOHG
                 VXEVFULEHUVDUHSURPSWHGIRUWKHLUFUHGLWFDUGLQIRUPDWLRQ IRUELOOLQJSXUSRVHV 7KH
                 $FFHVV*DWHZD\LVFRQILJXUHGWRXVHAuthorize.net<RXZLOOQHHGWRRSHQDPHUFKDQW
                 DFFRXQWZLWKAuthorize.netEHIRUHWKLVIHDWXUHFDQEHXVHG
                 3OHDVHFRQWDFW1RPDGL[7HFKQLFDO6XSSRUWIRUDVVLVWDQFH5HIHUWR³&RQWDFW,QIRUPDWLRQ´
                 RQSDJH 

                          All data communications between the Access Gateway and the credit card server
                          are encrypted by the SSL (Secure Sockets Layer) protocol. The Access Gateway
                          never “sees” subscriber credit card numbers.

               ,I\RXHQDEOHGWKHCredit Card ServiceGHILQHZKLFKVHUYLFH\RXUHTXLUH $XWKRUL]HQHW 
                 IURPWKHSXOOGRZQPHQX

                          DNS must be configured if you want to enter meaningful URLs instead of numeric
                          IP addresses into any of the Access Gateway’s configuration screens (for
                          example, the Credit Card Server URL in the following step).

             ,IWKHCredit Card ServiceLVHQDEOHGHQWHUWKHLQIRUPDWLRQIRUWKHIROORZLQJILHOGV
                 z   &UHGLW&DUG6HUYHU85/
                 z   &UHGLW&DUG6HUYHU,3
                 z   0HUFKDQW,' DYDOLG,'LVVXHGE\WKHFUHGLWFDUGUHFRQFLOLDWLRQVHUYLFHSURYLGHU±
                     Authorize.net 
             &KHFNWKH8VH16(¶V+RVWQDPHDQG'16GRPDLQQDPHER[LI\RXZDQWWKH+RVWQDPH
                 DQGGRPDLQQDPHWREHVHQWWRWKH&UHGLW&DUGVHUYHULQVWHDGRIWKHORFDO16(,3DGGUHVV
             (QDEOHRUGLVDEOHWKH6,0&RPSOLDQWIHDWXUHDVUHTXLUHG:LWKWKLVIHDWXUHHQDEOHG\RX
                 FDQFKDQJHWKHWUDQVDFWLRQNH\DW\RXUGLVFUHWLRQ7RFKDQJHWKHWUDQVDFWLRQNH\VLPSO\
                 HQWHUWKHNH\LQWKH&KDQJH7UDQVDFWLRQ.H\ER[WKHQUHHQWHUWKHNH\LQWKH9HULI\
                 7UDQVDFWLRQ.H\ER[


                          The SIM Compliant option refers to Authorize.net's Simple Integration Method.

             (QDEOHRUGLVDEOH6PDUW&OLHQW6XSSRUWDVUHTXLUHG
             &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVFOLFNRQ6DYHWKHQ5HERRWWRUHERRWWKH
                $FFHVV*DWHZD\DQGPDNHWKHFKDQJHVWDNHHIIHFWLPPHGLDWHO\RUFOLFNRQWKH5HVWRUH
                 EXWWRQLI\RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH




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       $&&(66*$7(:$<

           (QDEOLQJ$$$6HUYLFHVZLWKDQ([WHUQDO:HE6HUYHU
           <RXDUHKHUHEHFDXVH\RXZDQWWRHQDEOHWKHAAA ServicesZLWKDQExternal Web Server
            (:6 ,QWKH(:6PRGHWKH$FFHVV*DWHZD\UHGLUHFWVWKHVXEVFULEHU¶VORJLQUHTXHVWWRDQ
           H[WHUQDOVHUYHU
              6HOHFWWKH([WHUQDO:HE6HUYHUWDE




              (QWHUWKH6HFUHW.H\ 7KH$FFHVV*DWHZD\DQGWKHH[WHUQDODXWKRUL]DWLRQVHUYHUPXVWXVH
                WKHVDPHVHFUHWNH\ 7KH6HFUHW.H\HQVXUHVWKDWWKHUHVSRQVHWKH$FFHVV*DWHZD\JHWV
                IURPWKH([WHUQDO:HE6HUYHULVYDOLG

                         DNS must be configured if you want to enter meaningful URLs instead of numeric
                         IP addresses into any of the Access Gateway’s configuration screens (for
                         example, the External login page URL in the following step).

              (QWHUDYDOLG([WHUQDOORJLQSDJH85/
              &RQILJXUHWKH3DUDPHWHU6LJQLQJRSWLRQV

                         See 5HGLUHFWLRQ3DUDPHWHU6LJQLQJ for more information about parameter
                         signing.

              &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVFOLFNRQ6DYHWKHQ5HERRWWRUHERRWWKH
                $FFHVV*DWHZD\DQGPDNHWKHFKDQJHVWDNHHIIHFWLPPHGLDWHO\RUFOLFNRQWKH5HVWRUH
                EXWWRQLI\RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH PDNLQJFKDQJHVWRWKH
                (:6VHWWLQJVGRHVQRWUHTXLUHDV\VWHPUHERRW 




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                                                                                       $&&(66*$7(:$<

            Redirection Parameter Signing
            ([WHUQDO:HE6HUYHU (:6 DQG,QWHUQDO:HE6HUYHU ,:6 3RUWDO3DJH3DUDPHWHUVFDQEH
            GLJLWDOO\VLJQHGSUHYHQWLQJPDOLFLRXVVXEVFULEHUVIURPLQWHUFHSWLQJIRUJLQJDQGUHSOD\LQJ
            85/UHGLUHFWLRQVWULQJVXVHGE\WKH16(DQG(:6RU,:63RUWDO3DJHWRYDOLGDWHVXEVFULEHU
            DFFHVV7KLVFDSDELOLW\HOLPLQDWHVDYXOQHUDELOLW\WKDWZDVSUHYLRXVO\H[SORLWHGWRJDLQ
            XQDXWKRUL]HG,QWHUQHWDFFHVVDWFKDUJHIRUXVHVLWHV
            7KHVLJQLQJIHDWXUHFDQFUHDWHDFU\SWRJUDSKLFDOO\VWURQJVLJQDWXUHWKDWSURWHFWVWKHVHQVLWLYH
            SRUWLRQVRID85/UHGLUHFWLRQVWULQJ LH16(,'0$&DGGUHVVRIWKHVXEVFULEHUHWF ZKLOH
            OHWWLQJWKH(:63RUWDO3DJHYHULI\WKDWWKH85/VWULQJKDVQRWEHHQWDPSHUHGRUIRUJHGE\WKH
            VXEVFULEHU




            7KHIHDWXUHLVFRQILJXUHGE\VHOHFWLQJDVLJQLQJPHWKRGWKHSDUDPHWHUVWREHVLJQHGDQG
            DVVLJQLQJDVHFUHWNH\
            7ZRVLJQDWXUHPHWKRGVDUHVXSSRUWHG
                z    +$6+&5&
                z    +0$&0'
            1RWDOOSDUDPHWHUVWKDWDUHSDUWRIWKH85/UHGLUHFWLRQVWULQJQHHGWREHLQFOXGHGLQWKH
            VLJQDWXUHFDOFXODWLRQ7KHIROORZLQJSDUDPHWHUVDUHFRQVLGHUHGVHQVLWLYHDQGFDQEHVHOHFWHG
                z    8, WKH,'RIWKH16(
                z    0$ WKHVXEVFULEHU¶V0$&DGGUHVV



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       $&&(66*$7(:$<

                z   51 WKH5RRP1XPEHU
                z   3257 WKHSRUWQXPEHUWKHVXEVFULEHULVFRQQHFWHGWR
           7KHGHVLUHGVHFUHWNH\VLPSO\QHHGVWREHHQWHUHGLQWKHILHOG2QFHHQWHUHGLWLVQRWYLVLEOHWR
           WKHXVHU
           ,QIRUPDWLRQWKDWLQGLFDWHVZKLFKSDUDPHWHUVZHUHVLJQHGDORQJZLWKWKHUHVXOWDQWKDVKYDOXH
           DUHWKHQLQFOXGHGLQVRPHDGGLWLRQDOSDUDPHWHUVWKDWDUHDSSHQGHGWRWKHUHGLUHFWLRQVWULQJ
           ,QRUGHUWRXWLOL]HWKHSDUDPHWHUVLJQLQJIHDWXUHWKH(:6RU3RUWDO3DJH6HUYHUXVHGPXVWEH
           FRQILJXUHGWRFRUUHFWO\SDUVHDQGYHULI\WKHVLJQLQJLQIRUPDWLRQ'RFXPHQWDWLRQWKDWLQFOXGHV
           JXLGHOLQHVIRUFRQILJXULQJDVHUYHUWRVXSSRUWVLJQLQJFDQEHREWDLQHGE\FRQWDFWLQJ1RPDGL[
           7HFKQLFDO6XSSRUW


           Establishing Secure Administration {Access Control}
           7KH$FFHVV*DWHZD\DOORZV\RXWREORFNDGPLQLVWUDWRUDFFHVVWRLQWHUIDFHV 7HOQHW:0,DQG
           )7366+DQG6)73 DQGLQFRUSRUDWHVDPDVWHUDFFHVVFRQWUROOLVWWKDWFKHFNVWKHVRXUFH ,3
           DGGUHVV RIDGPLQLVWUDWRUORJLQV$ORJLQLVSHUPLWWHGRQO\WRWKHLQWHUIDFHVWKDWKDYHQRWEHHQ
           EORFNHGDQGRQO\LIDPDWFKLVPDGHZLWKWKHPDVWHU³6RXUFH,3´OLVWFRQWDLQHGRQWKH$FFHVV
           *DWHZD\,IDPDWFKLVQRWPDGHZLWKWKH³6RXUFH,3OLVW´WKHORJLQLVGHQLHGHYHQLIDFRUUHFW
           ORJLQQDPHDQGSDVVZRUGDUHVXSSOLHG7KHDFFHVVFRQWUROOLVWIRUVRXUFH,3VVXSSRUWVXSWR
            ILIW\ HQWULHVLQWKHIRUPRIDVSHFLILF,3DGGUHVVRUUDQJHRI,3DGGUHVVHV
           7KLVSURFHGXUHDOORZV\RXWRHQDEOHWKH³$FFHVV&RQWURO´IHDWXUHDQGEORFNDGPLQLVWUDWRU
           DFFHVVWRVSHFLILFLQWHUIDFHVDQGDGGRUUHPRYHDGPLQLVWUDWRU³6RXUFH,3´DGGUHVVHV
           7KH16(VXSSRUWVVHFXUHKWWSVFRQQHFWLRQVWRWKH:HE0DQDJHPHQW,QWHUIDFH :0, &RUUHFW
           FHUWLILFDWHVPXVWEHLQVWDOOHGRQWKH16(IODVKPHPRU\IRUWKHVHFRQQHFWLRQVWRIXQFWLRQ
           SURSHUO\7KHVDPHFHUWLILFDWHVHWWKDWLVXVHGWRVXSSRUW66/FRQQHFWLRQVIRUVXEVFULEHUVLV
           XVHGIRUWKLVSXUSRVH)RUGRFXPHQWDWLRQDERXWFRQILJXULQJWKHV\VWHPWRVXSSRUWVHFXUH
           FRQQHFWLRQVFRQWDFWWHFKQLFDOVXSSRUW6HH7HFKQLFDO6XSSRUW
           ,QDGGLWLRQFRUUHVSRQGLQJRSWLRQVWREORFNKWWSVFRQQHFWLRQV LQGHSHQGHQWRIKWWS DUH
           LQFOXGHGLQWKH16( V$FFHVV&RQWUROIXQFWLRQDOLW\IRUERWKWKHQHWZRUNDQGVXEVFULEHUVLGHV
           ,IWKHUHTXLUHGFHUWLILFDWHVDUHQRWUHVLGHQWRQWKHIODVKDQDWWHPSWHGKWWSVFRQQHFWLRQZLOO
           JHQHUDWHDQHUURUV\VORJ
              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ$FFHVV&RQWURO7KH
                Access ControlVFUHHQDSSHDUV




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                                                                                        $&&(66*$7(:$<




            



               )RU&RQILJXUDEOH3RUWVHQWHUD7HOQHW3RUWDQGDQ+773RU+77363RUW
               (QDEOHRUGLVDEOHDGPLQLVWUDWRUDFFHVVWRDQ\RIWKHIROORZLQJLQWHUIDFHV
                 z   7HOQHW$FFHVV
                 z   :HE0DQDJHPHQW$FFHVV +773



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       $&&(66*$7(:$<

                z   :HE0DQDJHPHQW$FFHVV +7736
                z   )73$FFHVV
                z   6)73$FFHVV
                z   66+6KHOO$FFHVV

                         Blocking or unblocking interface access will terminate the current session.


                         Do not enable the blocking of all interfaces without setting up and enabling
                         SNMP. Enabling the blocking of all interfaces and disabling SNMP will
                         completely block access to the Access Gateway administration interface. For
                         assistance, contact Nomadix Technical Support.

              (QDEOHRUGLVDEOHVXEVFULEHUVLGHLQWHUIDFHEORFNLQJIRUDQ\RIWKHIROORZLQJLQWHUIDFHV
                z   7HOQHW$FFHVVHQDEOHVGLVDEOHVEORFNLQJRI7HOQHWDFFHVVIURPWKHVXEVFULEHUVLGHWR
                    WKH16(7HOQHWLQWHUIDFH'HIDXOWVHWWLQJLVHQDEOHG
                z   :HE0DQDJHPHQW$FFHVV +773 HQDEOHVGLVDEOHVEORFNLQJRI:HE0DQDJHPHQW
                    DFFHVVIURPWKHVXEVFULEHUVLGHWRWKH16(:0,'HIDXOWVHWWLQJLVHQDEOHG
                z   :HE0DQDJHPHQW$FFHVV +7736 HQDEOHVGLVDEOHVEORFNLQJRIVHFXUH:HE
                    0DQDJHPHQWDFFHVVIURPWKHVXEVFULEHUVLGHWRWKH16(:0,'HIDXOWVHWWLQJLV
                    HQDEOHG
                z   )73$FFHVVHQDEOHVGLVDEOHVEORFNLQJRI)73DFFHVVIURPWKHVXEVFULEHUVLGHWRWKH
                    16('HIDXOWVHWWLQJLVHQDEOHG
                z   6)73$FFHVVHQDEOHVGLVDEOHVEORFNLQJRI6)73DFFHVVIURPWKHVXEVFULEHUVLGHWR
                    WKH16('HIDXOWVHWWLQJLVHQDEOHG
                z   66+6KHOO$FFHVVHQDEOHVGLVDEOHVEORFNLQJRI66+VKHOODFFHVVIURPWKH
                    VXEVFULEHUVLGHWRWKH16(&/,'HIDXOWVHWWLQJLVGLVDEOHG
              &OLFNWKHFKHFNER[IRU$FFHVV&RQWUROLI\RXZDQWWRHQDEOHWKLVIHDWXUHWKHQFOLFNRQ
                WKH6DYHEXWWRQWRVDYH\RXUFKDQJH
                ,I\RXHQDEOHG$FFHVV&RQWURODGPLQLVWUDWRUDFFHVVLVUHVWULFWHGRQO\WRWKH,3DGGUHVVHV
                VKRZQXQGHUWKH³&XUUHQWO\$FFHVVLV3HUPLWWHGIRU,3V´OLVWLQJ,I\RXZDQWWRDGGWRRU
                UHPRYH,3DGGUHVVHVIURPWKHOLVWJRWR6WHSWKURXJK6WHS

                         The Access Control list can contain up to 50 (fifty) valid administrator IP
                         addresses or ranges of IP addresses.

              7RDGGDQ,3DGGUHVV RUUDQJHRI,3DGGUHVVHV WRWKHOLVWHQWHUWKH³VWDUWLQJ´,3DGGUHVVLQ
                WKH$FFHVV&RQWURO6WDUW,3ILHOG


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                                                                                         $&&(66*$7(:$<

               ,I\RXDUHDGGLQJDUDQJHRI,3DGGUHVVHVWRWKHDFFHVVFRQWUROOLVW\RXPXVWQRZHQWHUWKH
                 ³HQGLQJ´,3DGGUHVVLQWKH$FFHVV&RQWURO(QG,3ILHOG,I\RXDUHDGGLQJDVLQJOH,3
                 DGGUHVVHQWHU1RQHLQWKH$FFHVV&RQWURO(QG,3ILHOG
               &OLFNRQWKH$GGEXWWRQWRDGGWKH,3DGGUHVV RUUDQJHRI,3DGGUHVVHV WRWKHOLVW
               7RUHPRYHDQ,3DGGUHVV RUUDQJHRI,3DGGUHVVHV IURPWKHOLVWHQWHUWKH³VWDUWLQJ´,3
                 DGGUHVVLQWKH$FFHVV&RQWURO6WDUW,3ILHOG
                 ,I\RXDUHUHPRYLQJDUDQJHRI,3DGGUHVVHVIURPWKHDFFHVVFRQWUROOLVW\RXPXVWQRZ
                 HQWHUWKH³HQGLQJ´,3DGGUHVVLQWKH$FFHVV&RQWURO(QG,3ILHOG,I\RXDUHUHPRYLQJD
                 VLQJOH,3DGGUHVVHQWHU1RQHLQWKH$FFHVV&RQWURO(QG,3ILHOG
             &OLFNRQWKH5HPRYHEXWWRQWRUHPRYHWKH,3DGGUHVV RUUDQJHRI,3DGGUHVVHV IURPWKH
                 OLVW

                          If you enabled Access Control and have “locked yourself out,” of the system
                          (for example, because you’ve forgotten your password), you must establish a
                          local serial connection with the CLI to disable the Access Control feature, or
                          change the range of allowed IP addresses to access the management interfaces.


            Defining Automatic Configuration Settings {Auto Configuration}
            7KH$FFHVV*DWHZD\DOORZV\RXWRGHILQHSDUDPHWHUVWRHQDEOHWKHDXWRPDWLFFRQILJXUDWLRQRI
            WKHV\VWHP6HHDOVR³5$',86GULYHQ$XWR&RQILJXUDWLRQ´RQSDJH 
               )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ$XWR&RQILJXUDWLRQ
                 7KHAutoconfiguration SettingsVFUHHQDSSHDUV




               (QDEOHRUGLVDEOH$XWRFRQILJXUDWLRQDVUHTXLUHG
               ,I\RXHQDEOHGAutoconfiguration\RXPXVWHQWHUWKHIROORZLQJLQIRUPDWLRQLQWRWKH
                 FRUUHVSRQGLQJILHOGV


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       $&&(66*$7(:$<

                z   5$',86$XWKHQWLFDWLRQ1DPH
                z   5$',863DVVZRUG
                z   &RQILUP3DVVZRUG
              &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVFOLFNRQ6DYHWKHQ5HERRWWRUHERRWWKH
                $FFHVV*DWHZD\DQGPDNHWKHFKDQJHVWDNHHIIHFWLPPHGLDWHO\RUFOLFNRUWKH5HVWRUH
                EXWWRQWRUHVHWDOOGDWDWRLWVSUHYLRXVVWDWH

           (QDEOLQJ$XWR&RQILJXUDWLRQ
           $VVKRZQLQWKHGLDJUDPEHORZWZRVXEVHTXHQWHYHQWVGULYHWKHDXWRPDWLFFRQILJXUDWLRQRI
           1RPDGL[GHYLFHV
              $IORZRI5$',86$XWKHQWLFDWLRQ5HTXHVWDQG5HSO\PHVVDJHVEHWZHHQWKH1RPDGL[
                JDWHZD\DQGWKHFHQWUDOL]HG5$',86VHUYHUWKDWVSHFLILHVWKHORFDWLRQRIWKHPHWD
                FRQILJXUDWLRQILOH FRQWDLQLQJDOLVWLQJRIWKHLQGLYLGXDOFRQILJXUDWLRQILOHVDQGWKHLU
                GRZQORDGIUHTXHQF\VWDWXV DUHGRZQORDGHGIURPDQ)73VHUYHULQWRWKHIODVKRIWKH
                1RPDGL[GHYLFH
              'HILQHVWKHDXWRPDWHGORJLQLQWRWKHFHQWUDOL]HG)73VHUYHUDQGWKHDFWXDOGRZQORDG
                SURFHVVLQWRWKHIODVK

                                    6WHS5$',86$XWKHQ5HT5HVSRQVH
                                    PHVVDJHWRGHWHUPLQHORFDWLRQRIPHWD
                                              FRQILJXUDWLRQILOH




                               6WHS)73GRZQORDGRIFRQILJXUDWLRQILOHV
                                               VHFXUH


           7KH$XWR&RQILJXUDWLRQVHWXSUHTXLUHVDIHZEDVLFVWHSVWREHFRPSOHWHGE\ERWKWKHILHOG
           HQJLQHHUDQGWKH12&DGPLQLVWUDWRU




       System Administration                                                                            95
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                                                                                         $&&(66*$7(:$<

            Administrative Steps to Enable Auto-Config
            7\SLFDOO\WKHVHWDVNVDUHSHUIRUPHGHLWKHUDWDGHYLFHSUHVWDJLQJFHQWHURUE\WKHILHOG
            HQJLQHHU
               (VWDEOLVKD:$1FRQQHFWLRQDQGHOHFWURQLFDOO\DFFHSWWKH(8/$
               6HWXS5$',866HUYHUSDUDPHWHUV JRWR³'HILQLQJWKH5HDOP%DVHG5RXWLQJ6HWWLQJV
                 ^5HDOP%DVHG5RXWLQJ`´RQSDJH  
               6HWXS8VHUQDPHDQG3DVVZRUGIRU5$',86$XWKHQWLFDWLRQ

            Administrative Steps to Enable Auto-Config for the NOC Administrator:
             $GG1$6,3DGGUHVV
               $GG1RPDGL[$XWR&RQILJ96$WRWKH1RPDGL[GLFWLRQDU\ILOHRQWKH5$',86VHUYHU
               &UHDWHD5$',86SURILOHZLWKWKHFRQILJXUDWLRQ96$
               &UHDWHDQ)73VHUYHUZLWKWKHFRQILJXUDWLRQILOHV
               7KHIROORZLQJGLDJUDPVKRZVDVDPSOH5$',86FRQILJXUDWLRQILOHPHWDILOHDQG
                 LOOXVWUDWLRQRIWKH)73VHUYHUVHWXS




       96                                                                             System Administration
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       $&&(66*$7(:$<

           7KH1RPDGL[GHYLFHZLOODXWRPDWLFDOO\LQLWLDWHRQHUHERRWWRHQDEOHWKHQHZVHWWLQJV
           &RQILJXUDWLRQXSGDWHVIRUQHWZRUNPDLQWHQDQFHFDQEHDFFRPSOLVKHGE\VLPSO\HQDEOLQJWKH
           $XWR&RQILJXUDWLRQRSWLRQDQGUHERRWLQJWKHGHYLFH IRUH[DPSOHXVLQJ6103 6HHDOVR
           'HILQLQJ$XWRPDWLF&RQILJXUDWLRQ6HWWLQJV^$XWR&RQILJXUDWLRQ`


           Setting Up Bandwidth Management {Bandwidth Management}
           7KH$FFHVV*DWHZD\DOORZVV\VWHPDGPLQLVWUDWRUVWRPDQDJHWKHEDQGZLGWKIRUVXEVFULEHUV
           GHILQHGLQ.ESV .LORELWVSHUVHFRQGV IRUERWKXSVWUHDPDQGGRZQVWUHDPGDWDWUDQVPLVVLRQV
           :LWKWKH,&&IHDWXUHHQDEOHGVXEVFULEHUVFDQLQFUHDVHRUGHFUHDVHWKHLURZQEDQGZLGWK
           G\QDPLFDOO\DQGDOVRDGMXVWWKHSULFLQJSODQIRUWKHLUVHUYLFH
           <RXFDQHQDEOHRUGLVDEOHEDQGZLGWKSROLFLHVIRUEDQGZLGWKPDQDJHPHQWDQGJURXS
           EDQGZLGWKPDQDJHPHQWSROLFLHV<RXFDQVSHFLI\VHWWLQJVIRUHDFKLQGLYLGXDO:$17KH16(
           VXSSRUWVVHWWLQJGHIDXOWPD[LPXPXSDQGGRZQVWUHDPEDQGZLGWKVIRUVXEVFULEHUVZKRGRQRW
           KDYHDVSHFLILHGEDQGZLGWK
              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ%DQGZLGWK
                0DQDJHPHQW7KHBandwidth ManagementVFUHHQDSSHDUV




              ,IUHTXLUHGFOLFNWKHFKHFNER[IRU%DQGZLGWK0DQDJHPHQW(QDEOHG
              ,IUHTXLUHGVHOHFW*URXS%DQGZLGWK3ROLFLHV%DQGZLGWK0DQDJHPHQWPXVWEHHQDEOHG
                EHIRUH\RXFDQHQDEOHDQGVSHFLI\*URXS%DQGZLGWK3ROLFLHV
       Note: The Bandwidth Management page only globally Enables and Disables Bandwidth
       Management and Group Bandwidth Policies. Bandwidth settings themselves are set for each WAN
       interface in Ethernet Ports/WAN.
              ,IGHVLUHGFOLFNWKHFKHFNER[WRHQDEOH:HLJKWHG)DLU4XHXLQJ6HH³:HLJKWHG)DLU
                4XHXHLQJ´RQSDJH 



       System Administration                                                                           97
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                                                                                          $&&(66*$7(:$<

                :LWK:HLJKWHG)DLU4XHXLQJHQDEOHG\RXKDYHWKHRSWLRQWR6KDUH8QXVHG%DQGZLGWK
                  ,IFKHFNHGXQXVHGEDQGZLGWKLIDYDLODEOHLVGLVWULEXWHGDPRQJXVHUVLQSURSRUWLRQWRWKH
                  XVHUV¶EDQGZLGWKFDSV,IXQFKHFNHGXVHUVDUHKHOGWRWKHLUEDQGZLGWKFDSOLPLWV
                ,IUHTXLUHGVSHFLI\'HIDXOW9DOLG6XEVFULEHU%DQGZLGWK8SDQGRU'RZQ7KHVHRSWLRQV
                  VSHFLI\WKHGHIDXOWPD[LPXPXSDQGGRZQEDQGZLGWKVIRUDQ\VXEVFULEHUVWKDWGRQRW
                  KDYHDVSHFLILHGEDQGZLGWKVHWWLQJ$YDOXHRIµ¶PHDQVWKDWQROLPLWZLOOEHDSSOLHG
                &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVRUFOLFNWKH5HVWRUHEXWWRQWRUHVHWDOOWKH
                  YDOXHVWRWKHLUSUHYLRXVVWDWH


             Group Bandwidth Limit Policy
             7KH*URXS%DQGZLGWK/LPLW3ROLF\DOORZVWKH\RXWRDVVLJQDFRPPRQEDQGZLGWKUDWHOLPLWLQJ
             SROLF\WRDJURXSRIVXEVFULEHUGHYLFHV$OOGHYLFHVZLWKLQWKHJURXSVKDUHWKHWRWDOEDQGZLGWK
             DOORFDWHGWRWKHSROLF\
             7KH*URXS%DQGZLGWK/LPLW3ROLF\IHDWXUHGHILQHVWKHIROORZLQJYHQGRUVSHFLILFDWWULEXWHV
              96$V 


            1RPDGL[                  1DPH                                    5ROH9DOXH
             96$

                       *5283B%:B32/,&<B,'                 'HILQHVWKH,'WKHIRUWKHJURXSSROLF\,QWHJHU
                                                            EHWZHHQDQGLQFOXVLYH

                       *5283B%:B0$;B83                    'HILQHVWKHWRWDOXSVWUHDPEDQGZLGWKDOORZHG
                                                            IRUWKHJURXSLQ.LORELWVSHUVHFRQG,QWHJHU
                                                            YDOXHLVLQWHUSUHWHGDVXQOLPLWHG

                       *5283B%:B0$;B'2:1                  'HILQHVWKHWRWDOGRZQVWUHDPEDQGZLGWK
                                                            DOORZHGIRUWKHJURXSLQ.LORELWVSHUVHFRQG
                                                            ,QWHJHUYDOXHLVLQWHUSUHWHGDVXQOLPLWHG


             Group Bandwidth Limit Policy – Operation
             7KH16(PDLQWDLQVDFROOHFWLRQRIDOOLQVWDOOHGJURXSEDQGZLGWKSROLFLHV7KHFROOHFWLRQLV
             LQGH[HGE\WKHEDQGZLGWKSROLF\,'SURYLGHGE\WKH5$',86VHUYHU7KHFROOHFWLRQFDQVWRUH
             DVPDQ\SROLF\UHFRUGVDVWKHQXPEHURIOLFHQVHGVXEVFULEHUGHYLFHV$OOVXEVFULEHUGHYLFHV
             VKDULQJWKHVDPHJURXSEDQGZLGWKSROLF\,'EHORQJWRWKHVDPHJURXS$VXEVFULEHUGHYLFHFDQ
             SDUWLFLSDWHLQRQO\RQHEDQGZLGWKOLPLWLQJJURXSDWDWLPH
             :KHQDORJLQLVSHUIRUPHGWRDQDFFRXQWWKDWUHWXUQVDEDQGZLGWKSROLF\,'WKDWGRHVQRW\HW
             H[LVWLQWKH16(DQHZSROLF\UHFRUGLVFUHDWHGDQGLQVHUWHGLQWRWKHDIRUHPHQWLRQHG


       98                                                                              System Administration
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       $&&(66*$7(:$<

           FROOHFWLRQ7KHVXEVFULEHUDXWKRUL]HGE\WKH$FFHVV$FFHSWLVDVVRFLDWHGZLWKWKHQHZO\
           LQVWDOOHGEDQGZLGWKSROLF\,'DQGWKHEDQGZLGWKOLPLWVUHWXUQHGDUHLQYRNHG
           :KHQWKH$FFHVV$FFHSWIRUDVXEVFULEHUFRQWDLQVDEDQGZLGWKSROLF\,'DOUHDG\SUHVHQWRQ
           16(WKHVXEVFULEHULVDVVRFLDWHGZLWKWKHH[LVWLQJJURXSSROLF\$OOVXEVFULEHUVWKDWDUHQRZ
           PHPEHUVRIWKHJURXSVKDUHWKHWRWDOEDQGZLGWKDOORFDWHGWRWKHSROLF\
           ,IDWVRPHSRLQWDORJLQLVSHUIRUPHGWRDQDFFRXQWWKDWUHWXUQVWKHSROLF\,'IRUDQH[LVWLQJ
           SROLF\EXWDOVRUHWXUQVEDQGZLGWKYDOXHVGLIIHUHQWWKDQWKRVHFXUUHQWO\DOORFDWHGIRUWKDW
           SROLF\WKHSROLF\ZLOOEHXSGDWHGZLWKWKHQHZYDOXHVIRXQGLQWKH$FFHVV$FFHSW7KXVWKH
           ODWHVW$FFHVV$FFHSWGHWHUPLQHVWKHFXUUHQWUDWHVIRUWKHHQWLUHJURXS
           7KHOLIHWLPHRIDJURXSSROLF\UHFRUGLQWKHFROOHFWLRQLVGHWHUPLQHGE\WKHVHVVLRQWLPHRIWKH
           DXWKRUL]HG LH9$/,' VXEVFULEHUVSDUWLFLSDWLQJLQWKHJURXS*URXSSROLF\UHFRUGVDUH
           UHPRYHGIURPWKHFROOHFWLRQZKHQWKHODVWVXEVFULEHUGHYLFHEHORQJLQJWRWKHJURXSLVORJJHG
           RXWRIWKH16(UHJDUGOHVVRIWKHUHDVRQ HJVHVVLRQWLPHRXWLGOHWLPHRXWGHOHWLRQRIWKH
           VXEVFULEHUE\DQDGPLQLVWUDWRUHWF 
           7KH16(GRHVQRWVXSSRUWWKHDELOLW\WRHQIRUFHERWKSHUVXEVFULEHUDQGJURXSEDQGZLGWKUDWHV
           VLPXOWDQHRXVO\IRUWKHVDPHVXEVFULEHUV7KH5$',86VHUYHUPXVWVSHFLI\HLWKHUSHU
           VXEVFULEHURUJURXSEDQGZLGWKDWWULEXWHV+RZHYHULQFDVHD5$',86$FFHVV$FFHSW
           FRQWDLQVERWKLQGLYLGXDODQGJURXSEDQGZLGWKDWWULEXWHVthe NSE will use the group attributes
           and ignore the per-subscriber attributes

                        The NSE can concurrently support some subscribers as part of a group and some
                        others with limits set on a per-subscriber basis. However, a single subscriber
                        cannot be assigned group membership and individual limits at the same time.


           Group Bandwidth Limit Policy – Current Table
           :KHQWKHIHDWXUHLVHQDEOHGDJURXSEDQGZLGWKSROLF\,'FROXPQLVGLVSOD\HGLQWKH&XUUHQW
           6XEVFULEHUVWDEOH 6XEVFULEHU$GPLQLVWUDWLRQ!&XUUHQW 2QFHSROLFLHVDUHLQVWDQWLDWHG
           SROLF\LQIRUPDWLRQFDQDOVREHYLHZHGYLD;0/




       System Administration                                                                             99
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                                                                                        $&&(66*$7(:$<




             Establishing Billing Records “Mirroring” {Bill Record Mirroring}
             7KH$FFHVV*DWHZD\FDQVHQGFRSLHVRIFUHGLWFDUGWUDQVDFWLRQDQG306ELOOLQJUHFRUGVWR
             H[WHUQDOVHUYHUVWKDWKDYHEHHQSUHYLRXVO\GHILQHGE\V\VWHPDGPLQLVWUDWRUV7KH$FFHVV
             *DWHZD\DVVXPHVFRQWURORIELOOLQJWUDQVPLVVLRQVDQGVDYLQJELOOLQJUHFRUGV%\³PLUURULQJ´
             WKHELOOLQJGDWDWKH$FFHVV*DWHZD\FDQDOVRVHQGFRSLHVRIELOOLQJUHFRUGVWRSUHGHILQHG
             ³FDUERQFRS\´VHUYHUV$GGLWLRQDOO\LIWKHSULPDU\DQGVHFRQGDU\VHUYHUVDUHGRZQWKH$FFHVV
             *DWHZD\FDQVWRUHXSWRFUHGLWFDUGWUDQVDFWLRQUHFRUGV:KHQDFRQQHFWLRQLVUH
             HVWDEOLVKHG ZLWKHLWKHUVHUYHU WKH$FFHVV*DWHZD\VHQGVWKHVWRUHGLQIRUPDWLRQWRWKH
             VHUYHU²no records are lost!
             )RUPRUHLQIRUPDWLRQDERXWWKHELOOUHFRUGPLUURULQJIHDWXUHJRWR³0LUURULQJ%LOOLQJ
             5HFRUGV´RQSDJH 
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ%LOO5HFRUG
                  0LUURULQJ7KH&UHGLW&DUG0LUURULQJ6HWWLQJVVFUHHQDSSHDUV




       100                                                                           System Administration
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       $&&(66*$7(:$<




              ,I\RXZDQWWRHQDEOHWKHELOOLQJUHFRUGV³PLUURULQJ´IXQFWLRQDOLW\IRUFUHGLWFDUG
                WUDQVDFWLRQVFOLFNRQWKHFKHFNER[IRU(QDEOH%LOO5HFRUG0LUURULQJ
              (QWHUWKHSURSHUW\LGHQWLILFDWLRQFRGHLQWKH3URSHUW\,'ILHOG
              (QWHUWKHFRPPXQLFDWLRQSDUDPHWHUVIRUWKHSULPDU\VHUYHUWKDWLVWREHXVHGIRU
                PLUURULQJLQFOXGLQJ
                z   3ULPDU\,3
                z   85/
                z   6HFUHW.H\

                         The Access Gateway and the “mirror” servers must use the same secret key.




       System Administration                                                                           101
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                                                                                         $&&(66*$7(:$<

                5HSHDW6WHSIRUWKHVHFRQGDU\VHUYHU LIDQ\ DQGDOOFDUERQFRS\VHUYHUV
                'HILQHWKH³IDLOVDIH´SURYLVLRQVLQFOXGLQJ
                  z   5HWUDQVPLW0HWKRG±$OWHUQDWHRUGRQRWDOWHUQDWH
                  z   1XPEHURI5HWUDQVPLW$WWHPSWV±7KLVWHOOVWKHV\VWHPKRZPDQ\WLPHVLWVKRXOG
                      DWWHPSWWRUHWUDQVPLWELOOLQJUHFRUGVEHIRUHVXVSHQGLQJWKHWDVN
                  z   5HWUDQVPLW'HOD\±7KLVVSHFLILHVWKHWLPHGHOD\EHWZHHQHDFKUHWUDQVPLVVLRQ
                &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVRUFOLFNRQWKH5HVWRUHEXWWRQLI\RXZDQW
                  WRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH


             Class-Based Queueing
             1RPDGL[&ODVV%DVHG4XHXHLQJSURYLGHVDIOH[LEOHZD\WRFRQWUROWKHEDQGZLGWKSURYLGHGWR
             LQGLYLGXDOJURXSVRIXVHUV FODVVHV &ODVVHVKDYHERWKPD[LPXPDQGPLQLPXPEDQGZLGWK
             VSHFLILFDWLRQV
             <RXFDQDGGXVHUVWRFODVVHVDQGDSSO\DWWULEXWHVDFURVVHQWLUHFODVVHV(DFKFODVVKDV
             FRQILJXUDEOHDWWULEXWHV
                  z   3ULRULW\
                  z   0LQLPXP%DQGZLGWK
                  z   0D[LPXP%DQGZLGWK
             )RUDGGLWLRQDOGHWDLOVVHH³&ODVV%DVHG4XHXHLQJ´RQSDJH 

             7R(QDEOHDQG&RQILJXUH&ODVV%DVHG4XHXHLQJ
                &OLFN&RQILJXUDWLRQ!&ODVV%DVHG4XHXHLQJ




       102                                                                            System Administration
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       $&&(66*$7(:$<

                7KH&ODVV%DVHG4XHXHLQJVFUHHQDSSHDUV




              &OLFN(QDEOHDQGWKHQ6DYHWRHQDEOH&ODVV%DVHG4XHXHLQJ
              &OLFN$GG&ODVVWRDGGDFODVV&ODVVQDPHVDUHFDVHVHQVLWLYH³'RW´QRWDWLRQ HJ
                <top-level class><subclass> LVXVHGWRDVVRFLDWHWRSOHYHOFODVVHVDQG
                VXEFODVVHV
                z   6XEVFULEHUVFDQRQO\EHDVVLJQHGWRVXEFODVVHV
                z   6XEFODVVHVFDQQRWDFFHVVEDQGZLGWKJUHDWHUWKDQWKHLUDVVLJQHG:$1OLQN
                z   7RSOHYHOFODVVHVFDQEHDVVLJQHGDSULRULW\RIWKURXJK6XEFODVVHVFDQEH
                    DVVLJQHGDSULRULW\RIRU2QHLVWKHKLJKHVWSULRULW\
                z   0LQLPXPEDQGZLGWKVDUHUHVSHFWHGUHJDUGOHVVRISULRULW\0LQLPXPVPD[LPXP
                    EDQGZLGWKLVDSSOLHGDFURVVDOOXVHUVLQDFODVV




       System Administration                                                                             103
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                                                                                         $&&(66*$7(:$<

                &OLFNRQDFODVVQDPHWRFKDQJHWKHFODVVQDPHRUPRGLI\WKHDWWULEXWHVRIDFODVV




                &OLFN7KURXJKSXW(VWLPDWRUWRHYDOXDWHWUDIILFVFHQDULRV*LYHQGLIIHUHQWORDGVSHUFODVV
                  WKHLQWHUIDFHSURYLGHVWKHHVWLPDWHGHIIHFWLYHWKURXJKSXW<RXFDQXVHWKLVWRROWRSUHYLHZ
                  KRZEDQGZLGWKZLOOEHDVVLJQHGEDVHGRQ&ODVV%DVHG4XHXHLQJVWUXFWXUHDQGSULRULW\
                  VHWWLQJV




             $VVLJQLQJ8VHUVWRD&ODVV
             7KHUHDUHIRXUZD\VWRDVVLJQXVHUVWRDSDUWLFXODUFODVV
                  z   5DGLXV


       104                                                                            System Administration
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       $&&(66*$7(:$<

                z   ;0/
                z   6XEVFULEHU$GPLQLVWUDWLRQPHQX
                z   6XEVFULEHU,QWHUIDFHPHQX

           Assigning a User to Class-Based Queueing Using Radius
           6XEVFULEHUVFDQEHDVVLJQHGWRDVSHFLILFFODVVVXEFODVVXVLQJ5DGLXV96$6XEVFULEHUVZLWK
           QRFODVVPHPEHUVKLSDUHDVVLJQHGDSULRULW\RI
           ATTRIBUTE Nomadix-Bw-Class-Name 27 string
           )RUH[DPSOHZKHQDVXEVFULEHUORJVLQDQGWKLVDWWULEXWHLVGHILQHGDVIROORZVWKHVXEVFULEHU
           JHWVDVVLJQHGWRWKHFODVVpriority1.Subclass
           Nomadix-Bw-Class-Name = "priority1.Sub-class"

           Assigning a user to a class using XML
           7KHCLASS_NAMEHOHPHQWKDVEHHQDGGHGWRWKHUSER_ADDDQGUSER_PAYMENT;0/
           FRPPDQGV7KHVHDUHFRYHUHGLQWKH;0/'7'GRFXPHQWDWLRQDYDLODEOHIURP
           ZZZQRPDGL[FRPVXSSRUW

           Assigning a User to a Class using the Subscriber Administration menu
           7KHSURFHGXUHVIRU$GGLQJ6XEVFULEHU3URILOHV 6XEVFULEHU$GPLQLVWUDWLRQ!$GG VXSSRUW
           DGGLQJDVXEVFULEHUGHYLFHRUJURXSDFFRXQWSURILOHWRDFODVV6HH³$GGLQJ6XEVFULEHU
           3URILOHV^$GG`´RQSDJH 

           Assigning a User to a Class Using Bill Plans (Subscriber Interface menu)
           <RXFDQDGGDXVHUWRDFODVVZKLOHVHWWLQJXSDELOOLQJSODQ6HH³6HWWLQJ8SD³1RUPDO´
           %LOOLQJ3ODQ´RQSDJH 


           Clustering {Clustering}
           16(&OXVWHULQJSURYLGHVWKHDELOLW\WRFOXVWHUPXOWLSOHJDWHZD\VRQRQHQHWZRUNVHJPHQW)RU
           PRUHLQIRUPDWLRQDERXWWKLVIHDWXUHLQFOXGLQJGHVFULSWLRQOLPLWDWLRQVDQGWURXEOHVKRRWLQJ
           LQIRUPDWLRQVHH³0XOWLSOH8QLW&OXVWHULQJ´RQSDJH 
           7RHQDEOH16(&OXVWHULQJ
              &OLFN&RQILJXUDWLRQ!&OXVWHULQJDQGFOLFN(QDEOH




       System Administration                                                                            105
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                                                                                         $&&(66*$7(:$<




                (QWHULQWHJHUVIRUWKH7RWDOQXPEHURIJDWHZD\VDQGWKH*DWHZD\QXPEHU PXVWEHIURP
                  WRZLWKQRJDSV )RUH[DPSOHLIFOXVWHULQJLVEHLQJFRQILJXUHGRQWKUHHJDWHZD\VRQH
                  JDWHZD\PXVWEHRQHJDWHZD\PXVWEHDQGRQHJDWHZD\PXVWEH
             %HDZDUHRIWKHIROORZLQJ
                  z   $OOJDWHZD\VLQDFOXVWHUPXVWKDYHWKHVDPHFRQILJXUDWLRQ
                  z   :$1DQG,1$7,3DGGUHVVHVPXVWQRWFODVKDPRQJFOXVWHUHGJDWHZD\V
                  z   $OOJDWHZD\VPXVWKDYHWKHVDPHQXPEHURIOLFHQVHGVXEVFULEHUV
                  z   1RUHVWULFWLRQVDUHSODFHGRQVKDUHGVHFUHWVDGPLQLVWUDWRUFUHGHQWLDOV5$',861$6
                      LGHQWLILHUDQG1$6SRUW


             Configuring Destination HTTP Redirection {Destination HTTP Redirection}
             'HVWLQDWLRQ+7735HGLUHFWSURYLGHV'16WULJJHUHGUHGLUHFWLRQRI+773UHTXHVWVWRRQHRU
             PRUHSRUWDOSDJH85/VFRQILJXUHGRQWKH16(3RUWDOSDJHVFRXOGLQFOXGHDFFRXQWVWDWXV
             PDSVORFDOLQIRUPDWLRQHWF
             7KH16(ZLOOLQWHUFHSWDQGUHVSRQGWR'16TXHULHVFRQWDLQLQJFRQILJXUDEOHVWULQJV
             6XEVFULEHUVUHTXHVWLQJDZHEVLWHDWWKDW'16ZLOOREWDLQD'16UHVSRQVHWKDWFRQWDLQVD
             ³PDJLF´,3DGGUHVV ZKLFKLVWKHVDPHYDOXHREWDLQHGZKHQWKHVXEVFULEHUTXHULHVWKH'16
             VWULQJ³ORJRXWQRPDGL[FRP´ 
             7KH16(ZLOOSURFHVV+773UHTXHVWVIRUWKDW³PDJLF´,3DGGUHVV FRQILJXUDEOHRQWKH$$$
             SDJH DQGZLOOUHSO\ZLWKDQ+773UHGLUHFWLRQ ZKLFKPD\LQFOXGHDQXPEHURIVLJQHG
             UHGLUHFWLRQSDUDPHWHUV WRDFRQILJXUHG85/%\IROORZLQJWKH+773UHGLUHFWLRQWKH
             VXEVFULEHUZLOOUHDFKWKHWDUJHW85/DQGKHVKHZLOOWKHQEHVHUYHGDSDJHFRQWDLQLQJ
             ZKDWHYHULQIRUPDWLRQLVUHOHYDQW DFFRXQWDQGRURWKHUVSHFLILFLQIRUPDWLRQ 




       106                                                                            System Administration
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       $&&(66*$7(:$<



            hƐĞƌ                                                    E^                  ǆƚĞƌŶĂů^ĞƌǀĞƌ
                           E^ƋƵĞƌǇ͗ǁǁǁ͘ĞǆĂŵƉůĞ͘ĐŽŵ͍                                   SRUWDOP\KRWHOFRP


                           ΎE^ƌĞƐƉŽŶƐĞ͗ϭ͘ϭ͘ϭ͘ϭ


                           'dͬ,ddWͬϭ͘ϭ͙
                                                                                    0DJLF,3$GGUHVV
                           ,ŽƐƚ͗ǁǁǁ͘ĞǆĂŵƉůĞ͘ĐŽŵ                                       5HGLUHFW0HVVDJH
                                                                                      2.$FFHSW0HVVDJH



                   ΎΎ,ddWͬϭ͘ϬϯϬϮ Z

                   >ŽĐĂƚŝŽŶ͗
                   SRUWDOP\KRWHOFRPGHWDLOV"26  8,  0$  51  3257  6,3  d^с͘͘ΘEK
                   Eс͘͘Θ^/'Eс͘͘Θ^/'Eс͘͘ΘDd,Kс͘͘

                   ͙
                   'd
                   ĚĞƚĂŝůƐ͍K^с͘͘Θ 8,  0$  51  3257  6,3  d^с͘͘ΘEKEс͘͘Θ^/'Eс͘͘Θ
                   ^/'Eс͘͘ΘDd,Kс͘͘,ddWͬϭ͘ϭ

                   ,ŽƐƚ͗SRUWDOP\KRWHOFRP


                        ΎΎΎ,ddWͬϭ͘ϭϮϬϬ K<

                        ͙

               7KHILJXUHDERYHLOOXVWUDWHVGHVWLQDWLRQ+773UHGLUHFWLRQDVVXPLQJD'16TXHU\
               VWULQJIRUZZZH[DPSOHFRPDPDJLF,3DGGUHVVRIDQGDSRUWDOSDJH85/RI
               SRUWDOP\KRWHOFRP*LYHQWKLVFRQILJXUDWLRQWKHIROORZLQJZRXOGDSSO\
                       z        $'16TXHU\IRUZZZH[DPSOHFRPLVLQWHUFHSWHGE\WKH16(ZKLFK
                                UHVSRQGVZLWKWKHPDJLF,3DGGUHVV7KHQWKHVXEVFULEHU¶VEURZVHUVHQGVDQ
                                +773UHTXHVWWRWKHPDJLF,3DQGVHWVWKH+RVWKHDGHUWR
                                ZZZH[DPSOHFRP
                       z        7KH16(ZLOOSURFHVVWKH+773UHTXHVWDQGZLOODQDO\]HWKH+RVWKHDGHUWR
                                ILQGWKHUHGLUHFWLRQ85/WKDWFRUUHVSRQGVWRZZZH[DPSOHFRPZKLFKLV
                                SRUWDOP\KRWHOFRPLQWKLVH[DPSOH7KH16(ZLOOWKHQFUDIWDQ+773
                                UHGLUHFWLRQUHVSRQVHWKDWFRQWDLQVWKHSRUWDOSDJH85/IROORZHGE\DTXHU\
                                VWULQJ7KHVWULQJZLOOLQFOXGHYDULRXVUHGLUHFWLRQSDUDPHWHUVWLPHVWDPSHG
                                DQGVLJQHGLIVLJQLQJLVHQDEOHGIRUWKDWHQWU\ ZKLFKLWLVQRWLQWKLV
                                H[DPSOH 
                       z        7KHVXEVFULEHUZLOOIROORZWKHUHGLUHFWLRQVWULQJDQGZLOOODQGRQWKHSRUWDO
                                SDJH85/7KHSRUWDOZLOOYHULI\DQGDQDO\]HWKHTXHU\VWULQJDQGWKHQZLOO
                                UHWXUQWKHUHOHYDQWLQIRUPDWLRQ OLNHO\DERXWWKHVXEVFULEHU¶VDFFRXQWVWDWXV
                                GHSHQGLQJRQZKDWWKHSRUWDOLVFRQILJXUHGWRKDQGOH 

       System Administration                                                                                      107
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                                                                                         $&&(66*$7(:$<

                  z   $IWHUVXFFHVVIXOUHGLUHFWLRQRFFXUVWKHOLVWRIVLJQHGSDUDPHWHUVDQGVLJQDWXUH
                      PHWKRGVDUHSDVVHGWRWKHSRUWDOSDJH
                      HTTP/1.0 302 RD
                      http://portal1.myhotel.com/details?OS=<Original
                      Server>&UI=<NSE’s ID>&MA=<subscriber’s MAC>&RN=<Room
                      name>&PORT=<VLAN>&SIP=<subscriber’s
                      IP>&TS=<timestamp>&NONCE=<16 chars>&SIGN=<signature>&
                      SIGNED=<list of signed parameters>& METHOD=<signature
                      method>
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ'HVWLQDWLRQ+773
                  5HGLUHFWLRQ7KHDestination HTTP Redirection SettingsVFUHHQDSSHDUV




                7RHQDEOH'HVWLQDWLRQ+7735HGLUHFWLRQFOLFNRQWKH(QDEOHGFKHFNER[7KHGHIDXOW
                  VHWWLQJLVGLVDEOHG
                  <RXPD\FUHDWHXSWRSRUWDOSDJHV




       108                                                                            System Administration
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       $&&(66*$7(:$<

              ,QWKH3RUWDO3DJHVVHFWLRQHQWHUWKHPDWFKLQJVWULQJWKDWZLOOEHGLUHFWHGWRWKHSRUWDO
                SDJHLQWKH0DWFKLQJ6WULQJILHOG
              (QWHUWKHSRUWDOSDJH¶V85/LQWKH85/ILHOG
              7RHQDEOHSDUDPHWHUSDVVLQJFOLFNRQWKH3DUDPHWHU3DVVLQJ(QDEOHFKHFNER[
              6HOHFWWKH3DUDPHWHU6LJQLQJ
                z   0HWKRG
                    1RQH+$6+&5&RU+0$&0' VHOHFWRQHPHWKRG 
                z   3DUDPHWHUV
                    8,0$51DQG3257 VHOHFWDOODSSOLFDEOHSDUDPHWHUV 
              7RHQDEOH6HW6KDUHG6HFUHWFOLFNRQWKH6HW6KDUHG6HFUHWFKHFNER[,I\RXHQDEOHWKLV
                IHDWXUHHQWHUWKHVKDUHGVHFUHWWH[WVWULQJLQWKH6HW6KDUHG6HFUHWILHOG
              &OLFNRQWKH6DYHEXWWRQWRVDYHWKHUHGLUHFWLRQVHWWLQJVRUFOLFNRQWKH5HVWRUHEXWWRQLI
                \RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH
                3RUWDOSDJHVHWWLQJDUHVDYHGWRWKHWDEOHLQ([LVWLQJ3RUWDO3DJHHQWULHVVHFWLRQRIWKH
                VFUHHQ)URPWKDWWDEOH\RXFDQHGLWRUGHOHWHH[LVWLQJSRUWDOSDJHV


           Managing the DHCP service options {DHCP}
           :KHQDGHYLFHFRQQHFWVWRWKHQHWZRUNWKH'+&3VHUYHUDVVLJQVLWD³G\QDPLF´,3DGGUHVVIRU
           WKHGXUDWLRQRIWKHVHVVLRQ0RVWXVHUVKDYH'+&3FDSDELOLW\RQWKHLUFRPSXWHU7RHQDEOHWKLV
           VHUYLFHRQWKH$FFHVV*DWHZD\\RXFDQHLWKHUHQDEOHWKH'+&3UHOD\ URXWHGWRDQH[WHUQDO
           '+&3VHUYHU,3DGGUHVV RU\RXFDQHQDEOHWKH$FFHVV*DWHZD\WRDFWDVLWVRZQ'+&3
           VHUYHU,QERWKFDVHV'+&3IXQFWLRQDOLW\LVQHFHVVDU\LI\RXZDQWWRDXWRPDWLFDOO\DVVLJQ,3
           DGGUHVVHVWRVXEVFULEHUV
              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ'+&37KHDHCP
                SettingsVFUHHQDSSHDUV




       System Administration                                                                             109
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                                                                                       $&&(66*$7(:$<




                          Nomadix’ patented Dynamic Address Translation (DAT) functionality is
                          automatically configured to facilitate “plug-and-play” access to subscribers who
                          are misconfigured with static (permanent) IP addresses, or subscribers that do
                          not have DHCP capability on their computers. DAT allows all users to obtain
                          network access, regardless of their computer’s network settings.

                '+&36HUYLFHVLVHQDEOHGE\GHIDXOW'RQRWGLVDEOHLWXQOHVV\RXZDQWWRORVHDOO\RXU
                  '+&3VHUYLFHV

                          By default, the Access Gateway is configured to act as its own DHCP server and
                          the relay feature is disabled. If you want the Access Gateway to act as its own
                          DHCP server, do not enable the relay. Go directly to Step 8.

                7RURXWH'+&3WKURXJKDQH[WHUQDOVHUYHUHQDEOHWKH'+&35HOD\
                ,I\RXHQDEOHGWKH'+&35HOD\IHDWXUH\RXPXVWDVVLJQDYDOLG'+&36HUYHU,3DGGUHVV
                   WKHGHIDXOWLV DQGDYDOLG'+&35HOD\$JHQW,3DGGUHVV
                  7KH'+&35HOD\$JHQWDOORZVWKH$FFHVV*DWHZD\WRUHTXHVWDVSHFLILFUDQJHRI,3
                  DGGUHVVHVIURPGLIIHUHQW,3SRROVIURPWKH'+&36HUYHU/HDYLQJWKHVHILHOGVEODQNIRUFHV


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       $&&(66*$7(:$<

                WKHV\VWHPWRXVHWKH,3SRROWKDWFRQWDLQV,3DGGUHVVHVWKDWDUHRQWKHVDPHVXEQHWDVWKH
                $FFHVV*DWHZD\

                         You must disable the DHCP server before enabling the DHCP relay. Both features
                         cannot be enabled concurrently.

                         If the DHCP Relay Agent IP address is set for an address that is already used or
                         the IP address of the server, the other system will get an IP conflict and will not
                         have Internet access.

              ,IGHVLUHGHQDEOH5HOD\$JHQW,QIRUPDWLRQ RSWLRQ 
                7KH'+&35HOD\$JHQW,QIRUPDWLRQ2SWLRQ RSWLRQ DOORZVWKH16(WRDGG
                LQIRUPDWLRQWRDUHOD\HG'+&3UHTXHVW7KLVLQIRUPDWLRQLGHQWLILHVWKHRULJLQRIWKH
                UHTXHVW
                <RXFDQVHWD6LWHSUHIL[RIXSWRFKDUDFWHUV7KHLQIRUPDWLRQDOVRLQFOXGHV
                z   2ULJLQDWLQJ16(SK\VLFDOVXEVFULEHUSRUW
                z   9/$1,'RIWKHVXEVFULEHU
                z   1RPDGL[,$1$,'
                z   3RUWVSHFLILFGHVFULSWLRQ YLHZVHWLQWKH3RUW/RFDWLRQ7DEOH 
                <RXFDQYLHZWKH5HOD\$JHQW,QIRUPDWLRQRUFKDQJHWKH6LWHSUHIL[E\FOLFNLQJWKH
                VKRZKLGHWRJJOHEXWWRQRQWKHVFUHHQ

                                                                VKRZKLGHWRJJOH
                                                                    EXWWRQ




              ,I\RXZDQWWKH$FFHVV*DWHZD\WRDFWDVLWVRZQ'+&36HUYHU \RXGLGQRWHQDEOHWKH
                DHCP Relay HQDEOHLWQRZ
              ,IUHTXLUHG\RXFDQPDNHWKH'+&36HUYHUIHDWXUH6XEQHWEDVHGE\FKHFNLQJWKH
                DSSURSULDWHER[
              ,IUHTXLUHGHQDEOHWKH,38SVHOOIHDWXUH.
                6\VWHPDGPLQLVWUDWRUVFDQVHWWZRGLIIHUHQW'+&3SRROVIRUWKHVDPHSK\VLFDO/$1
                :KHQ'+&3VXEVFULEHUVVHOHFWDVHUYLFHSODQZLWKDSXEOLFSRRODGGUHVVWKH$FFHVV


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                                                                                          $&&(66*$7(:$<

                  *DWHZD\DVVRFLDWHVWKHLU0$&DGGUHVVZLWKWKHLUSXEOLF,3DGGUHVVIRUWKHGXUDWLRQRIWKH
                  VHUYLFHOHYHODJUHHPHQW7KHRSSRVLWHLVWUXHLIWKH\VHOHFWDSODQZLWKDSULYDWHSRRO
                  DGGUHVV7KLVIHDWXUHHQDEOHVDFRPSHWLWLYHVROXWLRQDQGLVDQLQVWDQWUHYHQXHJHQHUDWRUIRU
                  ,63V7KH,38SVHOOIXQFWLRQDOLW\VROYHVDQXPEHURIFRQQHFWLYLW\SUREOHPVHVSHFLDOO\
                  ZLWKUHJDUGWRFHUWDLQYLGHRFRQIHUHQFLQJDQGRQOLQHJDPLQJDSSOLFDWLRQV
                  7KH16(SURYLGHVDGGLWLRQDOIOH[LELOLW\IRUFRQILJXULQJXSVHOOVFHQDULRV8VHUVFDQEH
                  DVVLJQHG:$1¶VRIGLIIHUHQWEDQGZLGWKFDSDELOLWLHVIRUH[DPSOHIRUKRWHOJXHVWVRI
                  VWDWXUHRUIRUSUHPLXPSD\PHQW
                ,I\RXZDQWWRDGGDQHZ'+&33RROFOLFNRQWKH$GGEXWWRQ7KH'+&36HWWLQJVVFUHHQ
                  GLVSOD\VILHOGVIRUWKHQHZSRRO




              (QWHUDYDOLG'+&36HUYHU,3DGGUHVVIRUWKH'+&3VHUYHU
              (QWHUWKH'+&36HUYHU1HWPDVN
              (QWHUWKHVWDUWLQJDQGHQGLQJ,3DGGUHVVHVIRUWKH'+&3DGGUHVVSRRO\RXZDQWWRXVH
                  z   '+&33RRO6WDUW,3
                  z   '+&33RRO6WRS,3
              (QWHUWKH'+&3/HDVH0LQXWHV
              6HOHFW3XEOLF3RRORU3ULYDWH3RRODVUHTXLUHG


                           A “public” IP address will not be translated by DAT.

              ,IUHTXLUHGPDNHWKLVDQ,38SVHOO3RRODQGRUWKH'HIDXOW3RROE\FKHFNLQJWKH
                  DSSURSULDWHER[HV

                           Do not allow pools to overlap.

              2SWLRQDOLIWKHJDWHZD\URXWHUIRUWKH'+&33RROLVRWKHUWKDQWKDWRIWKH'+&36HUYHU
                 ,3VHOHFW6SHFLI\DQGHQWHUWKH,3DGGUHVVRIWKHJDWHZD\URXWHURIFKRLFH
              :KHQILQLVKHGHVWDEOLVKLQJ\RXU'+&33RROVFOLFNRQWKH%DFNWR0DLQ'+&3
                 &RQILJXUDWLRQ3DJHWRUHWXUQWRWKHSUHYLRXVSDJH


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       $&&(66*$7(:$<

           7KHH[LVWLQJOHDVHSRRODQGOHDVHWDEOHDUHGHOHWHGDQGWKH$FFHVV*DWHZD\UHERRWV7KH
           $FFHVV*DWHZD\FDQLVVXH,3DGGUHVVHVWRDQ\'+&3HQDEOHGVXEVFULEHUZKRHQWHUVWKH
           QHWZRUN


           Managing the DNS Options {DNS}
           '16DOORZVVXEVFULEHUVWRHQWHUPHDQLQJIXO85/VLQWRWKHLUEURZVHUV LQVWHDGRIFRPSOLFDWHG
           QXPHULF,3DGGUHVVHV E\DXWRPDWLFDOO\FRQYHUWLQJWKH85/VLQWRWKHFRUUHFW,3DGGUHVVHV<RX
           FDQDVVLJQDSULPDU\VHFRQGDU\RUWHUWLDU\ WKLUG '16VHUYHU7KH$FFHVV*DWHZD\XWLOL]HV
           ZKLFKHYHUVHUYHULVFXUUHQWO\DYDLODEOH
           8VHWKHIROORZLQJSURFHGXUHWRVHWWKH'16FRQILJXUDWLRQRSWLRQV
              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQ!'167KHDomain Name
                System (DNS) SettingsVFUHHQDSSHDUV




              (QWHUWKH+RVW1DPH WKH'16QDPHRIWKH$FFHVV*DWHZD\ 

                        The host name must not contain any spaces.

              (QWHUD'165HGLUHFWLRQ3RUWDQGD3UR[\'163RUW
              &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVRUFOLFNRQWKH5HVWRUHEXWWRQLI\RXZDQW
                WRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH


           Enabling DNSSEC Support
           '166(&VXSSRUWDGGVDXWKHQWLFDWLRQDQGLQWHJULW\FDSDELOLW\WR'16V\VWHPV7KH'166(&
           IHDWXUHLQWKH16(DOORZV'166(&TXHULHVDQGUHVSRQVHVWRWUDYHUVHWKH16(EHWZHHQ


       System Administration                                                                          113
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                                                                                         $&&(66*$7(:$<

             VXEVFULEHUVDQGWKH16(¶VFRQILJXUHG'16VHUYHUV7KH16(LWVHOIGRHVQRWSDUWLFLSDWHLQ
             '166(&WUXVWUHODWLRQVKLSVZLWKVXEVFULEHUV
             8VHWKHIROORZLQJSURFHGXUHWRVHWWKH'16FRQILJXUDWLRQRSWLRQV
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQ!'167KHDomain Name
                  System (DNS) SettingsVFUHHQDSSHDUV
                &KHFNWKH(QDEOHFKHFNER[WRHQDEOH'166(&6XSSRUWIXQFWLRQDOLW\7KHGHIDXOWVHWWLQJ
                  LVGLVDEOHG
                &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHV UHERRWLVQRWUHTXLUHG RUFOLFNRQWKH
                  5HVWRUHEXWWRQLI\RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH


             Managing the Dynamic DNS Options {Dynamic DNS}
             8VHWKHIROORZLQJSURFHGXUHWRVHWWKH'\QDPLF'16RSWLRQV
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFN&RQILJXUDWLRQWKHQ'\QDPLF'167KH
                  Dynamic DNS ConfigurationVFUHHQDSSHDUV




                &KHFNWKH(QDEOHFKHFNER[WRHQDEOH'\QDPLF'16 ''16 IXQFWLRQDOLW\7KHGHIDXOW
                  VHWWLQJLVGLVDEOHG


       114                                                                            System Administration
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       $&&(66*$7(:$<

              (QWHUWKH3URYLGHU,QIR
                z   6HOHFWWKHSURYLGHUSURWRFROIURPWKH3URWRFROPHQX&XUUHQWO\RQO\G\QGQVRUJ
                    DQGG\QGQVRUJ VHFXUH DUHVXSSRUWHG7KHGHIDXOWVHWWLQJLVG\QGQVRUJ VHFXUH 
                z   ,QWKH6HUYHUILHOGHQWHUWKHVHUYHUQDPHWRZKLFKWKHFOLHQWVHQGVXSGDWHVWRWKH
                    ''16VHUYHU
                z   6HOHFWWKHSRUWQXPEHUIRUWKHVHUYHUIURPWKH3RUWPHQX
              (QWHUWKH$FFRXQW,QIRUPDWLRQ
                z   (QWHUWKHKRVWQDPHZKLFKLVWKH''16QDPHWKDWLVPDSSHGWRWKHFOLHQW,3DGGUHVV
                    LQWKH+RVWQDPHILHOG''16PDSSLQJLVFRQILJXUHGRQWKH'\Q'16RUJDFFRXQW
                z   (QWHUWKHXVHUQDPHIRUWKH''16VHUYHUDFFRXQWLQWKH8VHUQDPHILHOG
                z   (QWHUWKHSDVVZRUGQDPHIRUWKH''16VHUYHUDFFRXQWLQWKH3DVVZRUGILHOG
              ,QWKH)RUFH8SGDWHILHOGFOLFN6DYHDQG)RUFH8SGDWHWRIRUFHDQLPPHGLDWHXSGDWHWR
                WKH''16
                1RWHWKDWWRRPDQ\XSGDWHVPD\EHFRQVLGHUHGDEXVHE\WKH''16YHQGRU
                $OWHUQDWLYHO\FOLFN6DYHWRVDYHWKHVHWWLQJVRU5HVWRUHWRFOHDUWKHFKDQJHVDQGUHWXUQ
                WKHVHWWLQJVWRWKHSUHYLRXVVWDWH


           Ethernet Ports/WAN
           7KH16(VXSSRUWVPXOWLSOHVHSDUDWHO\FRQILJXUDEOH:$1LQWHUIDFHV<RXPD\DVVLJQHDFK
           LQWHUIDFHDVD:$16XEVFULEHU,QWHUIDFHRUVSHFLI\WKDWLWUHPDLQRXWRIVHUYLFH(DFK
           LQWHUIDFHKDVLWVRZQ,3'16%DQGZLGWK9/$1DQG1$7,3DGGUHVVHVDQGFDQREWDLQLWV,3
           DGGUHVVE\'+&3333R(RU6WDWLFFRQILJXUDWLRQ
           7KHQXPEHURIFRQILJXUDEOH:$1VZLOOYDU\ZLWKWKH$FFHVV*DWHZD\KDUGZDUH6HH³3URGXFW
           6SHFLILFDWLRQV´RQSDJH IRUWKHVHGHWDLOV
           7KH16(FDQQRZVXSSRUWXSWRILYH $*$* :$1LQWHUIDFHVDWRQFHXVLQJ
           FRPSOHWHO\LQGHSHQGHQWQHWZRUNVHWWLQJVIRUHDFK
                z   (DFK:$1SRUWKDVLQGHSHQGHQW0RGH,3'16L1$70RQLWRULQJ$GGLWLRQDO1$7
                    DGGUHVVHV4WDJJLQJDQGEDQGZLGWKVHWWLQJV
                z   5ROHVIRUPRVWSRUWV WKRVHPDUNHGHLWKHU(WK;RU$X[; DUHXQUHVWULFWHGWKDWLV
                    HDFKSRUWFDQEHVHWWR
                      z    :$11HWZRUN6LGH/LQN
                      z    68% 6XEVFULEHU RU
                      z    226 2XW2I6HUYLFH 



       System Administration                                                                               115
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                                                                                       $&&(66*$7(:$<

                 z   +RZHYHUGHVLJQDWHG:$1RU/$1SRUWVFDQQRWEHVHWWRWKHRSSRVLWHUROHEXWFDQEH
                     VHWWR226
                 z   (DFKFRQILJXUHGDQGDFWLYH:$1SRUWFDQEHXVHGIRU16(0DQDJHPHQWDFWLYLW\DQG
                     WKH:0,LVDYDLODEOHRQWKDWDGGUHVV
                 z   0XOWLSOH:$1LQWHUIDFHVPD\EHFRQILJXUHGDQGXVHGIRUPDQDJHPHQWDFWLYLW\ EXW
                     QRWVXEVFULEHUWUDIILF HYHQZLWKRXWWKH/RDG%DODQFLQJOLFHQVHIHDWXUH RUZLWKWKH
                     IHDWXUHGLVDEOHG 
                 z   2XWRIWKHER[WKH16(ZLOOERRWZLWKRQH:$1SRUWDQGRQH/$1SRUWHQDEOHGDQG
                     WKHUHPDLQLQJSRUWVVHWWRRXWRIVHUYLFH
                 z   7KH$*VXSSRUWVDQRSWLRQDOSOXJLQPRGXOHWKDWSURYLGHVWZR6)3*LJDELW
                     ILEHULQWHUIDFHVORWV
             7RYLHZDQGFRQILJXUH:$1LQWHUIDFHVVHOHFW&RQILJXUDWLRQ!(WKHUQHW3RUWV:$17KH
             &XUUHQW,QWHUIDFHV6HWWLQJVVFUHHQDSSHDUVZKLFKVXPPDUL]HVDOO:$1FRQQHFWLRQV




       116                                                                          System Administration
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       $&&(66*$7(:$<

           &OLFNDQ\LQGLYLGXDOLQWHUIDFHQDPHWRYLHZDQGVHWGHWDLOVRIWKHLQGLYLGXDO:$1




           Enabling Fast Forwarding
           16(YHUVLRQSURYLGHVD)DVW)RUZDUGLQJPRGH7KLVPRGHHQKDQFHVRYHUDOOV\VWHP
           WKURXJKSXWDQGSURYLGHVDVPXFKDVGRXEOHSUHYLRXVO\DFKLHYDEOHEDQGZLGWK




       System Administration                                                                     117
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                                                                                          $&&(66*$7(:$<

             7RHQDEOH)DVW)RUZDUGLQJPRGHFKRRVH&RQILJXUDWLRQ!)DVW)RUZDUGLQJ&KHFN(QDEOHG




             ,I\RXHQDEOH)DVW)RUZDUGLQJVRPHFRXQWLQJVWDWLVWLFV HJE\WHVVHQWUHFHLYHG DUHXSGDWHG
             VRPHZKDWOHVVIUHTXHQWO\WKDQZKHQWKHIHDWXUHLVGLVDEOHG1RUPDOO\VXFKFRXQWVVKRXOG
             XSGDWHDSSUR[LPDWHO\HYHU\VHFRQGVEXWDWKLJKWKURXJKSXWOHYHOVWKLVFDQPDNHWKH
             GLIIHUHQFHEHWZHHQVXFFHVVLYHYDOXHVODUJHU
             2QKLJKHUHQG16(SODWIRUPVWKHPD[LPXPUDWHWKHV\VWHPFDQDFKLHYHPD\EHOLPLWHGE\WKH
             OLQHUDWHRIWKHLQWHUIDFHVXVHG,QRUGHUWREHQHILWIURPWKH)DVW)RUZDUGLQJIHDWXUHRQWKHVH
             SODWIRUPV\RXPXVWXVHILEHULQWHUIDFHVRUPXOWLSOH*VWDQGDUGHWKHUQHW ERWKRQWKHQHWZRUN
             DQGVXEVFULEHUVLGHV 
             )DVW)RUZDUGLQJLVHQDEOHGE\GHIDXOWIRUDOOQHZV\VWHPV)DVW)RUZDUGLQJLIHQDEOHGGRHV
             QRWHIIHFWWKHIROORZLQJW\SHVRIVHVVLRQV
             *HQHUDO3UR[\6HVVLRQV
             6HVVLRQVWKDWUHTXLUHDQ$SSOLFDWLRQ/HYHO*DWHZD\ $/* HJ)73
             $OOVHVVLRQVRYHU:$1LQWHUIDFHVFRQILJXUHGIRU333R(RU*5(
             6XEVFULEHU,36(&WUDIILF127XVLQJ1$77UDYHUVDO LHXVLQJL1$7
             $OOWUDIILFRYHU,36(&WXQQHOVIRUZKLFKWKH16(LVDQHQGSRLQWRIWKHWXQQHO


             Setting the Home Page Redirection Options {Home Page Redirect}
             7KLVSURFHGXUHVKRZV\RXKRZWRUHGLUHFWWKHVXEVFULEHU¶VEURZVHUWRDVSHFLILHGKRPHSDJH
             6XEVFULEHUVPD\DOVREHUHGLUHFWHGWRDSDJHVSHFLILHGE\WKHVROXWLRQSURYLGHUZLWKRXWDQ\
             LQWHUDFWLRQZLWKWKHDXWKHQWLFDWLRQSURFHVV

                          You must configure DNS if you want to enter meaningful URLs instead
                          of numeric IP addresses into any of the Access Gateway’s configuration
                          screens.

                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ+RPH3DJH5HGLUHFW
                  7KHHome Page Redirection SettingsVFUHHQDSSHDUV




       118                                                                             System Administration
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       $&&(66*$7(:$<




              &OLFNRQWKHFKHFNER[IRU+RPH3DJH5HGLUHFWLRQWRHQDEOHWKLVIHDWXUH,I\RXHQDEOH
                KRPHSDJHUHGLUHFWLRQ\RXPXVWSURYLGHD85/IRUWKHUHGLUHFWHGKRPHSDJH
              (QWHUWKH85/RIWKHUHGLUHFWHGKRPHSDJHLQWKH+RPH3DJH85/ILHOG
              ,IUHTXLUHGFOLFNRQWKHFKHFNER[IRU3DUDPHWHU3DVVLQJ
                3DUDPHWHUSDVVLQJDOORZVWKH$FFHVV*DWHZD\WRWUDFNDVXEVFULEHU¶VLQLWLDO:HEUHTXHVW
                 XVXDOO\WKHLUKRPHSDJH DQGSDVVWKHLQIRUPDWLRQRQWRWKHVROXWLRQSURYLGHU7KH
                VROXWLRQSURYLGHUXVHVWKLVLQIRUPDWLRQWRHQVXUHWKDWWKHVXEVFULEHUFDQUHWXUQWRWKHLU
                KRPHSDJHHDVLO\
              ,QWKH5HGLUHFWLRQ)UHTXHQF\ILHOGVSHFLI\WKHIUHTXHQF\ LQPLQXWHV IRUKRPHSDJH
                UHGLUHFWLRQ7KLVLVWKHLQWHUYDODWZKLFKWKHVXEVFULEHULVUHGLUHFWHGWRWKHVROXWLRQ
                SURYLGHU¶VKRPHSDJHDXWRPDWLFDOO\
              &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVRUFOLFNRQWKH5HVWRUHEXWWRQLI\RXZDQW
                WRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH


           Enabling Intelligent Address Translation (iNAT™)
           7KH1RPDGL[SDWHQWHGL1$7IHDWXUHFRQWDLQVDQDGYDQFHGUHDOWLPHWUDQVODWLRQHQJLQHWKDW
           DQDO\]HVDOOGDWDSDFNHWVEHLQJFRPPXQLFDWHGEHWZHHQWKHSULYDWHDQGSXEOLFDGGUHVV
           GRPDLQV7KH1RPDGL[L1$7HQJLQHSHUIRUPVDGHILQHGPRGHRIQHWZRUNDGGUHVV
           WUDQVODWLRQEDVHGRQSDFNHWW\SHDQGSURWRFRO IRUH[DPSOH,.(HWF« 
           16(SURYLGHVWKHIROORZLQJL1$7HQKDQFHPHQWV
                z   $VHSDUDWHL1$7LQWHUIDFHSDJHVKRZVWKHVHWWLQJVIRUHDFKSRUWLQHLWKHU:$1RU
                    226PRGHV3RUWVLQ68%PRGHDUHQRWVKRZQ
                z   (DFKRIWKHGLVSOD\HGSRUWVKDVLQGLYLGXDOL1$76XEVFULEHUWXQQHOVHWWLQJV
                    DFFHVVLEOHE\FOLFNLQJRQWKDWSRUW¶VOLQN
                z   7KHLQWHUIDFHDOORZVHDV\GHOHWLRQRIDQ\L1$7DGGUHVVUDQJH
           L1$7VHWWLQJVDUHFRQILJXUHGLQGLYLGXDOO\IRUHDFKLQWHUIDFH



       System Administration                                                                           119
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                                                                                           $&&(66*$7(:$<

                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQL1$7
                  $OLVWRIFXUUHQWL1$7VHWWLQJVDSSHDUV<RXFDQVHOHFWDVSHFLILFLQWHUIDFHWRFKDQJHLWV
                  L1$7FRQILJXUDWLRQ




                  7KHiNAT™VFUHHQDSSHDUV




                (QDEOHRUGLVDEOHWKHL1$7IHDWXUHDVUHTXLUHG




       120                                                                             System Administration
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       $&&(66*$7(:$<

              ,I\RXHQDEOHGL1$7\RXKDYHWKHRSWLRQRIHQDEOLQJRUGLVDEOLQJWKHIROORZLQJ931
                SURWRFROV
                z   3373
                z   3373&$//,'
                z   ,36(&
              &OLFNRQWKH6DYHEXWWRQWRVDYH\RXURSWLRQV
                8VHWKHL1$76WDUWDQGL1$7(QGILHOGVWRHQWHUDQ,3DGGUHVVRUUDQJHRI,3DGGUHVVHV XS
                WR WKHQFOLFNRQWKH$GGEXWWRQWRDGGWKH,3DGGUHVV HV RUFOLFNRQWKH5HPRYH
                EXWWRQWRGHOHWHWKH,3DGGUHVV HV IURPWKHGDWDEDVH


           Interface Monitoring
           $VDFRPSOHPHQWDU\IHDWXUHWR/RDG%DODQFLQJ\RXFDQDFWLYHO\PRQLWRUHDFK:$1
           FRQQHFWLRQWRDVVXUHWKDWIXOOQHWZRUNIXQFWLRQDOLW\H[LVWV
           ,QWHUIDFH0RQLWRULQJPXVWEHHQDEOHGLWLVRIIE\GHIDXOW,WLVVHWVHSDUDWHO\IRUHDFK
           FRQILJXUHG:$1LQWHUIDFH
           7KUHHIDLOXUHVPXVWRFFXUEHIRUHWKHV\VWHPVHWVWKHSRUWVWDWXVWR8QDYDLODEOHDQGUHDVVLJQV
           VXEVFULEHUV
           0RQLWRULQJPD\EHFRQILJXUHGIRUERWKWKH0RQLWRULQJ,QWHUYDO GHIDXOWLVVHFRQGV DQGIRU
           WKUHHGLIIHUHQWPHWKRGVDVUHTXLUHGE\WKHQHWZRUN
                z   7KHGHIDXOWPHWKRG $XWRPDWLF ZLOOJHQHUDWHDUDQGRP'16TXHU\WRHDFK
                    FRQILJXUHG'16VHUYHU5HFHLYLQJDQ?Error?EDFNIURPWKHVHUYHU V YHULILHVIXOO
                    QHWZRUNFRQQHFWLYLW\
                z   +RVW3URELQJ 3LQJ ²$+RVWRU,3DGGUHVVFDQEHSLQJHGWRYHULI\FRQQHFWLYLW\YLD
                    ,&03UHVSRQVH
                z   +RVW3URELQJ +773 ZLOOJHQHUDWHDQ+773*(7WRWKHFRQILJXUHG:HEDGGUHVV
                    7KH+773UHVSRQVHZLOOYHULI\QHWZRUNFRQQHFWLYLW\




       System Administration                                                                            121
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                                                                                         $&&(66*$7(:$<

             7RYLHZFRQILJXUHG:$1LQWHUIDFHVVHOHFW&RQILJXUDWLRQ!,QWHUIDFH0RQLWRULQJLQWKH:HE
             0DQDJHPHQW,QWHUIDFH7KH,QWHUIDFH0RQLWRULQJ6HWWLQJVVFUHHQDSSHDUV




             &OLFNRQDQ\LQWHUIDFHQDPHWRFRQILJXUHLQGLYLGXDOLQWHUIDFHVHWWLQJV




             Defining IPSec Tunnel Settings {IPSec}
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ,36HF7KHIPSec
                  Tunnel SettingsVFUHHQDSSHDUV




       122                                                                             System Administration
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       $&&(66*$7(:$<




              &KHFNWKH(QDEOH,3VHFFKHFNER[WRHQDEOH,36HFXULW\
              &KHFN(QDEOH1$77UDYHUVDOWRDOORZSDFNHWVWRWUDYHUVH1$7,3VHFERXQGDULHV
              &OLFN6DYHWRVDYHWKHVHWWLQJ
                7RDGGRUPRGLI\,3VHFWXQQHOSHHUVVHH³0DQDJLQJ,36HF7XQQHO3HHUV´RQSDJH 7R
                DGGRUPRGLI\,3VHFVHFXULW\SROLFLHVVHH³0DQDJLQJ,36HF6HFXULW\3ROLFLHV´RQ
                SDJH 

           0DQDJLQJ,36HF7XQQHO3HHUV
           <RXFDQDGGDQHZ,36HFWXQQHOSHHURUPRGLI\WKHVHWWLQJVRIDQH[LVWLQJ,36HFWXQQHOSHHU
           IURPWKHIPSec Tunnel SettingsVFUHHQ




       System Administration                                                                         123
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                                                                                          $&&(66*$7(:$<

             Adding a new IPSec tunnel peer
              &OLFNWKH$GGEXWWRQLQWKH,36HF7XQQHO3HHUVWDEOH7KHIPSec Tunnel Peer Settings
                VFUHHQRSHQV




                (QWHUWKH,3DGGUHVVRIWKHSHHULQWKH7XQQHO3HHUILHOG
                (QWHUD'HDG3HHU'HWHFWLRQLQWHUYDO LQWHJHUYDOXHLQVHFRQGV 
                6HOHFWWKH,QWHUQHW.H\([FKDQJH ,.( 3URWRFRO9HUVLRQ
                ,QWKH3HHU$XWKHQWLFDWLRQ0HWKRGVHFWLRQVHOHFWRQHRIWKHWZRSHHUDXWKHQWLFDWLRQ
                  PHWKRGV
                  z   $XWKHQWLFDWHYLDSUHVKDUHGNH\±(QWHUWKHSUHVKDUHGNH\LQWKH6KDUHG.H\ILHOG
                  z   $XWKHQWLFDWHYLD;&HUWLILFDWH±
                        z     (QWHUWKHILOHQDPHRIWKHSULYDWHFHUWLILFDWHLQWKH3ULYDWH.H\)LOHQDPHILHOG
                        z     (QWHUWKHILOHQDPHRIWKHSXEOLFFHUWLILFDWHLQWKH&HUWLILFDWH)LOHQDPHILHOG
                  1RWHWKDWWKHILOHVPXVWH[LVWRQIODVKILUVW
                ,QWKH,.(&KDQQHO6HFXULW\3DUDPHWHUVVHFWLRQVHOHFWWKHIROORZLQJVHWWLQJV



       124                                                                             System Administration
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       $&&(66*$7(:$<

                z   $FFHSWDEOH(QFU\SWLRQ$OJRULWKPV±&KHFNWKH'(6'(6DQGRU$(6&%&
                    FKHFNER[HV \RXPXVWFKHFNDWOHDVWRQHRSWLRQ 
                z   $FFHSWDEOH+DVK$OJRULWKP±&KHFNWKH0'6+$DQGRU$(6FKHFNER[HV
                     \RXPXVWFKHFNDWOHDVWRQHRSWLRQ 
                z   .H\6WUHQJWK±7KHRSWLRQVDUHELWELWELWDQGELW7KH
                    GHIDXOWVHWWLQJLVELW
                z   /LIHWLPH±(QWHUWKHPD[LPXPNH\OLIHWLPH LQVHFRQGV 7KHGHIDXOWVHWWLQJV
              &OLFN$GGWRDGGWKH,36HFWXQQHOSHHUWRWKH,36HF7XQQHO3HHUVWDEOHRQWKHIPSec
                Tunnel SettingsVFUHHQ
              &OLFNWKH%DFNWR0DLQ,36HF7XQQHOLQJ6HWWLQJVSDJHOLQNWRUHWXUQWRWKHIPSec Tunnel
                SettingsVFUHHQ

           Modifying an Existing IPSec Tunnel Peer
            &OLFNRQWKH,36HFWXQQHOSHHUOLQNWKDW\RXZLVKWRPRGLI\LQWKH,36HF7XQQHO3HHUV
              WDEOH7KHIPSec Tunnel Peer SettingsVFUHHQRSHQV
              0RGLI\WKHVHWWLQJVDVGHVLUHG
              &OLFN
                z   0RGLI\WRVDYHWKHFKDQJHVWRWKHSHHU
                z   5HPRYHWRUHPRYHWKHSHHUIURPWKH,36HF7XQQHO3HHUVWDEOH
                z   5HVWRUHWRXQGRDQ\FKDQJHV\RXPDGHWRWKHSHHUVHWWLQJVDQGUHWXUQWKHSHHUWRLWV
                    RULJLQDOVHWWLQJV
              &OLFNWKH%DFNWR0DLQ,36HF7XQQHOLQJ6HWWLQJVSDJHOLQNWRUHWXUQWRWKHIPSec Tunnel
                SettingsVFUHHQ

           0DQDJLQJ,36HF6HFXULW\3ROLFLHV
           <RXFDQDGGDQHZ,36HFVHFXULW\SROLF\RUPRGLI\WKHVHWWLQJVRIDQH[LVWLQJ,36HFVHFXULW\
           SROLF\IURPWKHIPSec Tunnel SettingsVFUHHQ




       System Administration                                                                          125
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                                                                                         $&&(66*$7(:$<

             Adding a New IPSec Security Policy
              ,QWKH,36HF6HFXULW\3ROLFLHVWDEOHFOLFNWKH$GGEXWWRQWRDGGDQHQWU\7KHIPsec
                Tunnel Security Policy SettingsVFUHHQRSHQV




                6HOHFWWKHWXQQHOSHHU,3DGGUHVVIRUZKLFK\RXZRXOGOLNHWRDGGDVHFXULW\SROLF\IURP
                  WKH7XQQHOSHHU,3DGGUHVVPHQX<RXPXVWVHOHFWDSHHULIWKHSROLF\LVXVLQJ(63RU
                  $+LIWKHSROLF\LVD'LVFDUGRU%\SDVVSROLF\VHOHFWQRQH
                ,QWKH7UDIILF6HOHFWRUVVHFWLRQGHILQHDVSHFLILFSURWRFROE\RQHRIWKHIROORZLQJ
                  PHWKRGV
                  z   6HOHFWDVSHFLILFSURWRFROIURPWKH3URWRFROPHQX



       126                                                                            System Administration
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       $&&(66*$7(:$<

                z   (QWHUDVSHFLILFSURWRFROQXPEHULQWKH3URWRFROILHOG3URWRFROQXPEHUVDUHDYDLODEOH
                    DWZZZLDQDRUJDVVLJQPHQWVSURWRFROQXPEHUV
                1H[W\RXZLOOGHILQHVHOHFWRUVRIWKH6HFXULW\3ROLF\$OOVHOHFWRUVPXVWPDWFKIRUWKH
                SROLF\WREHDSSOLHG
              'HILQHWKHIROORZLQJVHOHFWRUVIRUWKH5HPRWH(QG
                z   5HPRWH,36XEQHW±(QWHUWKH,3DGGUHVVRIWKHUHPRWHQHWZRUNVHFXUHGE\WKH,36HF
                    WXQQHO7KHDGGUHVVFDQVSHFLI\DKRVW
                z   6XEQHW0DVN±(QWHUWKHVXEQHWPDVNRIWKHUHPRWHQHWZRUNVHFXUHGE\WKH,36HF
                    WXQQHO
                z   5HPRWH8'37&33RUW±(QWHUWKHSRUWQXPEHULVIRUDOOSRUWV RQO\LISURWRFROLV
                    8'3RU7&3 
              6HFXULW\3ROLF\FDQGHULYHWKHVHWWLQJVIRUWKH/RFDO(QGIURPWKHFXUUHQW1HWZRUN,3
                VHWWLQJVRIWKHXQLW6HOHFWRQHRIWKHIROORZLQJQHWZRUNRSWLRQVIRUWKH/RFDO(QG
                z   8VHFXUUHQW1HWZRUN,QWHUIDFH,3$GGUHVV±6HOHFWWKLVRSWLRQLI\RXZRXOGOLNHWR
                    XVHWKHFXUUHQWQHWZRUNLQWHUIDFH,3$GGUHVV1RWHWKDWWKHQHWZRUN,3DGGUHVVLV
                    G\QDPLFLI'+&3RU333R(FOLHQWLVHQDEOHG7KLVVHWWLQJLVWKHGHIDXOWVHWWLQJ
                z   8VHWKLVVWDWLF,3DGGUHVVVXEQHW±,I\RXVHOHFWWKLVRSWLRQ\RXPXVWDOVRHQWHUWKH
                    /RFDO,36XEQHWWKH6XEQHW0DVNDQGWKH,3DGGUHVVRIQHWZRUNLQWHUIDFHIRU
                    WKLVSROLF\
                      z    7KH/RFDO,36XEQHWLVWKH,3DGGUHVVRIWKHORFDOQHWZRUNVHFXUHGE\WKH
                           ,36HFWXQQHO7KHDGGUHVVFDQVSHFLI\DKRVW
                       z   7KH6XEQHW0DVNLVWKHVXEQHWPDVNRIWKHORFDOQHWZRUNVHFXUHGE\WKH,36HF
                           WXQQHO7KHDGGUHVVFDQVSHFLI\DKRVW
                       z   7KH,3DGGUHVVRIQHWZRUNLQWHUIDFHIRUWKLVSROLF\LVWKH,3$GGUHVVIRUWKH
                           16(LQVLGHDQ,36HFWXQQHO7KH,3DGGUHVVPXVWEHZLWKLQWKH/RFDO/$1
                           VXEQHWRUWKHVDPHDVWKH/RFDO/$1,3DGGUHVV,3DGGUHVVGLVDEOHVWKH
                           IXQFWLRQDOLW\7KHGHIDXOWVHWWLQJLV
              (QWHUWKHSRUWQXPEHULQWKH/RFDO8'37&33RUWILHOGLVIRUDOOSRUWV RQO\LISURWRFRO
                LV8'3RU7&3 
              ,QWKH6HFXULW\3DUDPHWHUVVHFWLRQGHILQHWKHSDUDPHWHUVRIWKHVHFXULW\SROLF\7KH
                RSWLRQVDUH'LVFDUG%\SDVV(63DQG$+(63LVWKHGHIDXOWVHWWLQJ
                z   'LVFDUG
                z   %\SDVV±6HOHFWWKHGLUHFWLRQRIWKHGLVFDUGE\SDVVWKHRSWLRQVDUH,QRQO\2XW
                    RQO\RU,QDQG2XW2XWRQO\LVWKHGHIDXOWVHWWLQJ
                z   (63±6HOHFWDOOWKHDFFHSWDEOHHQFU\SWLRQDOJRULWKPVE\SXWWLQJDFKHFNLQWKH
                    FKHFNER[RIHDFKRSWLRQWKHRSWLRQVDUH'(6'(6DQG18//'(6LVWKHGHIDXOW



       System Administration                                                                               127
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                                                                                       $&&(66*$7(:$<

                      VHWWLQJ6HH³6HWWLQJMRLQW(63DQG$+SDUDPHWHUV´RQSDJH WRVHWSDUDPHWHUVWKDW
                      SHUWDLQWRERWK(63DQG$+SROLFHV
                  z   $+±6HH³6HWWLQJMRLQW(63DQG$+SDUDPHWHUV´RQSDJH WRVHWSDUDPHWHUVWKDW
                      SHUWDLQWRERWK(63DQG$+SROLFLHV

             Setting joint ESP and AH parameters
                  7KHVHSDUDPHWHUVDIIHFWERWK(63DQG$+SROLFLHV
                  z   6HOHFWDOOWKH$FFHSWDEOHDXWKHQWLFDWLRQDOJRULWKPVE\SXWWLQJDFKHFNLQWKH
                      FKHFNER[RIHDFKRSWLRQWKHRSWLRQVDUH0'6+$DQG18//7KHGHIDXOWVHWWLQJV
                      DUH0'DQG6+$
                  z   6HOHFWWKH3HUIHFW)RUZDUG6HFUHF\6WUHQJWKWRHQDEOH3)63)6PDNHVWKHNH\LQJ
                      PDWHULDOXVHGLQSURWHFWLQJWKHGDWDLQGHSHQGHQWRIWKHNH\LQJPDWHULDOXVHGIRU
                      SURWHFWLQJWKH,.(H[FKDQJHV7KHRSWLRQVDUH1RQHELWELWELWDQG
                      ELW7KHGHIDXOWVHWWLQJLV1RQH
                  z   (QWHUWKHPD[LPXPOLIHWLPH LQVHFRQGV LQWKH0D[LPXP/LIHWLPHILHOG7KHGHIDXOW
                      VHWWLQJV
                  z   (QWHUWKHPD[LPXPOLIHVL]H LQNE\WHV LQWKH0D[LPXP/LIHVL]HILHOG
                  z   (QDEOHWKHDXWRPDWLFUHQHZDORSWLRQE\SXWWLQJDFKHFNLQWKH$XWRPDWLFUHQHZDO
                      FKHFNER[7KHGHIDXOWVHWWLQJLVHQDEOHG
                &OLFN$GGWRDGGWKHSROLF\WRWKH,36HF6HFXULW\3ROLF\WDEOHRQWKHIPSec Tunnel
                  SettingsVFUHHQ
                &OLFNWKH%DFNWR0DLQ,36HF7XQQHOLQJ6HWWLQJVSDJHOLQNWRUHWXUQWRWKHIPSec Tunnel
                  SettingsVFUHHQ

             Modifying an Existing IPSec Security Policy
              &OLFNRQWKH,36HFVHFXULW\SROLF\OLQNWKDW\RXZLVKWRPRGLI\LQWKH,36HF6HFXULW\
                3ROLFLHVWDEOH7KHIPsec Tunnel Security Policy SettingsVFUHHQRSHQV
                0RGLI\WKHVHWWLQJVDVGHVLUHG
                &OLFN
                  z   0RGLI\WRVDYHWKHFKDQJHVWRWKHSROLF\
                  z   5HPRYHWRUHPRYHWKHVHFXULW\SROLF\IURPWKH,36HF6HFXULW\3ROLFLHVWDEOH
                  z   5HVWRUHWRXQGRDQ\FKDQJHV\RXPDGHWRWKHSROLF\VHWWLQJVDQGUHWXUQWKHSROLF\WR
                      LWVRULJLQDOVHWWLQJV
                &OLFNWKH%DFNWR0DLQ,36HF7XQQHOLQJ6HWWLQJVSDJHOLQNWRUHWXUQWRWKHIPSec Tunnel
                  SettingsVFUHHQ



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       $&&(66*$7(:$<

           Load Balancing
           /RDG%DODQFLQJLVDQRSWLRQDOOLFHQVHGIHDWXUH)RUDQRYHUYLHZRI1RPDGL[ORDGEDODQFLQJ
           DQGFRPPRQXVHFDVHVVHH³/RDG%DODQFLQJDQG/LQN)DLORYHU´RQSDJH 
           7KH16(FDQEDODQFHVXEVFULEHUDVVLJQPHQWEHWZHHQDOODFWLYH:$1LQWHUIDFHVZKHQ/RDG
           %DODQFLQJPRGHLVHQDEOHG1RWHWKDWVXEVFULEHUVDUHEDODQFHGQRWWUDIILF
           $VVXEVFULEHUVJRYDOLGWKH\DUHDVVLJQHGWRD:$1LQWHUIDFHWDNLQJDFFRXQWRIERWKWKH
           8SOLQNEDQGZLGWKVHWWLQJVRIWKHLQWHUIDFHVDQGWKHQXPEHURIVXEVFULEHUVFXUUHQWO\XVLQJHDFK
           LQWHUIDFH+LJKHUEDQGZLGWKVHWWLQJVZLOOPHDQPRUHVXEVFULEHUVZLOOEHDVVLJQHGWRWKDW
           LQWHUIDFH7KHVXEVFULEHUZLOOXVHWKHDVVLJQHGLQWHUIDFHIRUDOOWUDIILF
           ,ID:$1LQWHUIDFHJRHVGRZQWKHVXEVFULEHUVFXUUHQWO\DVVLJQHGWRWKDWLQWHUIDFHZLOOEHUH
           DVVLJQHGWRWKHUHPDLQLQJLQWHUIDFHV2QFHWKDWLQWHUIDFHLVUHVWRUHGFXUUHQWVXEVFULEHUVZLOO
           127EHUHDVVLJQHGEXWQHZVXEVFULEHUVFDQEHDVVLJQHGWRWKDWLQWHUIDFH LQDFFRUGDQFHZLWK
           WKHORDGEDODQFLQJDOJRULWKP 
           $Q16(UHERRWZLOOUHEDODQFHDOOVXEVFULEHUV
           6XEVFULEHUVZLOOXVHWKH,3DGGUHVVRIWKHLU:$1SRUW RUDVVLJQHGDGGLWLRQDO1$7DGGUHVV IRU
           WKHLU'$7VHVVLRQV
           7RFRQILJXUHORDGEDODQFLQJFKRRVH&RQILJXUDWLRQ!/RDG%DODQFLQJ




           <RXFDQFKRRVHWRWULJJHUWKH/RDG%DODQFLQJ)DLORYHUIHDWXUHHLWKHUE\WKHOLQNVWDWXVRIWKH
           SRUW V RUE\WKHDFWLYH,QWHUIDFH0RQLWRULQJIHDWXUH


       System Administration                                                                            129
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                                                                                         $&&(66*$7(:$<

             :KHQHLWKHU,QWHUIDFH0RQLWRULQJRUOLQNVWDWXVLVXVHG:$1SRUWVZLOOEHFKDUDFWHUL]HGDV
             HLWKHU$YDLODEOHRU8QDYDLODEOH,I/RDG%DODQFLQJLVFRQILJXUHGWRXVH,QWHUIDFH0RQLWRULQJ
             EXW0RQLWRULQJLWVHOILVQRWFRQILJXUHGWKHVWDWXVZLOOEH8QNQRZQ
             8VLQJ/LQNVWDWHZLOOSURYLGHDIDVWHUUHVSRQVHEXWXVLQJ,QWHUIDFH0RQLWRULQJZLOODVVXUHWKDW
             WKHUHLVLQWHUQHWDFFHVVWKURXJKWKDWSRUWEHIRUHDVVLJQLQJVXEVFULEHUVWRLW
             5XQ7LPH6WDWXVJLYHVDXVHIXOVXPPDU\RIDOO/RDG%DODQFLQJVHWWLQJVDQGVXEVFULEHU
             GLVWULEXWLRQ


             Establishing Your Location {Location}
             7KLVFRPPDQGVHWVXS\RXUORFDWLRQ<RXPXVWSURYLGH\RXUIXOOORFDWLRQLQIRUPDWLRQ
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ/RFDWLRQ7KH
                  Location SettingsVFUHHQDSSHDUV




       130                                                                            System Administration
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       $&&(66*$7(:$<

              (QWHU\RXUORFDWLRQLQIRUPDWLRQLQWKHIROORZLQJILHOGV
                z   &RPSDQ\1DPH
                z   6LWH1DPH
                z   $GGUHVV /LQHDQG/LQH
                z   &LW\6WDWH=LSDQG&RXQWU\
                z   (PDLO$GGUHVV
                z   ,62&RXQWU\&RGH
                z   3KRQH&RXQWU\&RGH
                z   &DOOLQJ$UHD&RGH
              6HOHFWWKHDUHDW\SHWKDWPRVWUHVHPEOHV\RXUORFDWLRQIURPWKHGURSGRZQOLVW
              (QWHUD1HWZRUN66,'=RQH
              &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVRUFOLFNRQWKH5HVWRUHEXWWRQLI\RXZDQW
                WRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH


           Managing the Log Options {Logging}
           6\VWHPORJJLQJFUHDWHVORJILOHVDQGHUURUPHVVDJHVJHQHUDWHGDWWKHV\VWHPOHYHO$$$
           ORJJLQJFUHDWHVDFWLYLW\ORJILOHVIRUWKH$$$ $XWKRUL]DWLRQ$XWKHQWLFDWLRQDQG$FFRXQWLQJ 
           IXQFWLRQV<RXFDQHQDEOHHLWKHURIWKHVHRSWLRQV

                         Although the AAA and billing logs can go to the same server, we recommend that
                         they have their own unique server ID number assigned (between 0 and 7). When
                         managing multiple properties, the properties are identified in the log files by their
                         IP addresses.




       System Administration                                                                             131
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                                                                                  $&&(66*$7(:$<

                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ/RJJLQJ7KHLog
                  SettingsVFUHHQDSSHDUV




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       $&&(66*$7(:$<

              ,IUHTXLUHGFOLFNRQWKHFKHFNER[IRU6\VWHP/RJWRHQDEOHV\VWHPORJJLQJ
                :KHQV\VWHPORJJLQJLVHQDEOHGWKHVWDQGDUG6<6/2*SURWRFRO 8'3 LVXVHGWRVHQGDOO
                PHVVDJHORJVJHQHUDWHGE\WKH$FFHVV*DWHZD\WRWKHVSHFLILHG6<6/2*VHUYHU
              (QWHUDXQLTXHQXPEHU EHWZHHQDQG LQWKH6\VWHP/RJ1XPEHUILHOG7KLV,'
                QXPEHULVDVVLJQHGWRWKHSystem Log Server
              (QWHUDYDOLG,3DGGUHVVLQWKH6\VWHP/RJ6HUYHU,3ILHOG
              ,IUHTXLUHGUHSHDW6WHSVWKURXJKIRUWKHAAA LogIHDWXUH
              6HWWLQJD/RJ)LOWHU7KHV\VORJVFDQEHILOWHUHGDWOHYHOVDVVKRZQDERYH6HWWLQJWKH
                OHYHOWRDQXPEHUGLVDEOHVDQ\V\VORJVDERYHWKDWILOWHUVHWWLQJ)RUHJVHWWLQJWKHILOWHUWR
                &ULWLFDORQO\JHQHUDWHV(PHUJHQF\$OHUWDQG&ULWLFDOOHYHOV\VORJV$OORWKHU
                V\VORJVDUHQRWJHQHUDWHG
              /RJVDYHWRILOH6HWWLQJ7KLVVHWWLQJHQDEOHVGLVDEOHVVDYLQJRIV\VORJVJHQHUDWHGE\WKH
                V\VWHPWRDILOHQDPHG³V\VORJW[W´LQWKHIODVKGLUHFWRU\RIWKH16(7KLVVHWWLQJDELGHV
                E\WKHRWKHUVHWWLQJVVHWIRUWKHV\VORJVOLNHILOWHUVQXPEHUDQGHQDEOHGLVDEOH
                ,WLVQRWUHTXLUHGWRLQSXWDVHUYHU,3DGGUHVVLI\RXLQWHQGWRRQO\VWRUHWKHV\VORJVORFDOO\
                3OHDVHOHDYHWKH,3DGGUHVVILHOGEODQNIRUVXFKFDVHV
                7KHIROORZLQJ/RJVDUHDYDLODEOHIRUFRQILJXUDWLRQRQWKH16(
                $$$/RJ
                7KHVHORJVUHFRUGHYHQWVUHODWHGWR$XWKHQWLFDWLRQ$XWKRUL]DWLRQDQG$FFRXQWLQJRQWKH
                16(
                5$',86+LVWRU\/RJ
                7KHVHORJVUHFRUG5$',86SUR[\DFFRXQWLQJPHVVDJHVVHQWRUUHFHLYHGE\WKH5$',86
                SUR[\3OHDVHUHIHUWR³9LHZLQJ5$',863UR[\$FFRXQWLQJ/RJV^5$',866HVVLRQ
                +LVWRU\`´RQSDJH IRUDGGLWLRQDOFRQILJXUDWLRQLQIRUPDWLRQ
                6\VWHP/RJV
                7KHVHORJVUHFRUGHYHQWVVSHFLILFWRWKH16(V\VWHPLWVHOI
                6\VWHP5HSRUW/RJ
                7KHVHDUH3HULRGLF6\VORJVWKDWUHSRUWWKHVWDWXVRIWKH16(DQGFDUU\LQIRUPDWLRQDERXW
                WKH16(,'16(,3$GGUHVVDQGWKHFXUUHQWQXPEHURI6XEVFULEHUVRQWKH16(
                Example:
                ,1)2>QVHBSURGXFWBQDPHYHUVLRQ@6<6537,',3 XQUHVROYHG 
                6XEVFULEHUV
                Additional Configuration:
                6\VWHP5HSRUW/RJ,QWHUYDO
                7KLVLVWKHWLPHLQWHUYDOLQPLQXWHVEHWZHHQWKHV\VWHPUHSRUWV\VORJV


       System Administration                                                                                133
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                                                                                    $&&(66*$7(:$<

             6XEVFULEHU7UDFNLQJ/RJ
             (QDEOLQJWKLVFKHFNER[HQDEOHVWKH6XEVFULEHU7UDFNLQJORJ8VHWKLVWRWUDFNWKHQHWZRUN
             XVDJHRIVSHFLILF6XEVFULEHUVRQWKHQHWZRUNE\UHFHLYLQJDV\VORJRIHYHU\6HVVLRQWKDWLV
             RSHQHGE\HDFKVXEVFULEHU(DFKQHZ'$7VHVVLRQWKDWLVFUHDWHGIRUVXEVFULEHUVLVORJJHG
             LQWKHVHV\VORJV3UR[\VWDWHW\SHRIDFFHVVDQG8VHUQDPHDUHLQFOXGHGEHVLGHVWKHVRXUFH
             DQGGHVWLQDWLRQLQIRUPDWLRQRIHDFKVHVVLRQ7KHUHDUH,1DQG287PHVVDJHVIRUWKH
             EHJLQQLQJDQGHQGLQJRIHDFKVHVVLRQ
             Examples:
             ,1)2>$FFHVV*DWHZD\Y@/,,1!7+8-81_WHVWODE_
             6  '  ;  QRQSUR[\
             5$',86,3$668
             ,1)2>$FFHVV*DWHZD\Y@/,287!7+8-81_WHVWODE_
             6  '  ;  QRQSUR[\
             5$',86,3$668
             Field formats explained:
             /,,1!'D\0RQWK'DWH7LPH<HDU_16(B6LWHB1DPH_6 6RXUFHB,33RUW 
             ' 'HVWLQDWLRQB,33RUW ; 16(B7UDQVODWHGB,33RUW SUR[\BW\SH6XEVFULEHUB0$&
             %LOOLQJB7\SH8VHU1DPH ILUVWFKDU /,,1!7+8-81_WHVWODE_
             6  '    QRQSUR[\
             5$',86,3$668

                      Do not configure the Server IP as the Network side IP of the gateway Stored
                      syslogs are viewable under System/Syslog menu. A total of 500 syslogs are
                      stored locally.




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       $&&(66*$7(:$<




                        PageFaults are stored in the file named “lograw.txt” in the /flash directory and is
                        not viewable on the web management interface.

                  &KHFNWKH6XEVFULEHU7UDFNLQJ/RJRSWLRQWRHQDEOHRUGLVDEOHWKH6XEVFULEHU
                    WUDFNLQJORJNote: NTP must be enabled on the NSE for Subscriber tracking log to be
                    enabled.
                  (QWHUWKHVXEVFULEHUWUDFNLQJORJQXPEHULQWKH6XEVFULEHU7UDFNLQJ/RJ1XPEHU
                    ILHOG7KLVLVWKHV\VORJQXPEHUWRLGHQWLI\WKLVV\VORJWR\RXU6HUYHU
                  (QWHUWKH,3DGGUHVVRIWKH6\VORJVHUYHUWKDWLVOLVWHQLQJIRUWKHV\VORJVIURP\RXU
                    16(LQWKH6XEVFULEHU7UDFNLQJ/RJ6HUYHU,3ILHOG



       System Administration                                                                           135
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                                                                                           $&&(66*$7(:$<

                     &KHFNWKH6XEVFULEHU7UDFNLQJ/RJVDYHWRILOHRSWLRQWRVDYHWKHV\VORJVORFDOO\WR
                       WKH16(IODVKNote: Not recommended.
                   &KHFNWKH,QFOXGH8VHU1DPH5HSRUWLQJRSWLRQWRLQFOXGHWKHILUVWFKDUDFWHUVRI
                       WKHXVHUQDPHLQWKH6\VORJ
                   &KHFNWKH3RUW/RFDWLRQ,QFOXGH3RUW5HSRUWLQJRSWLRQDQG3RUW/RFDWLRQ,QFOXGH
                       /RFDWLRQRSWLRQWRLQFOXGHWKHSRUWLQIRUPDWLRQIURPWKHSRUWORFDWLRQWDEOHDQGWKH
                       3RUWUHSRUWHGWRWKHV\VWHPE\HLWKHU9/$1RU6103TXHU\7KH/RFDWLRQ
                       LQIRUPDWLRQLVOLPLWHGWRFKDUDFWHUV
                   &KHFNWKH,QFOXGHHYHU\WK3DFNHWRSWLRQWRIROORZWKH'DQLVKODZWKDWUHTXLUHV
                       WKHWKSDFNHWIRUHDFKVXEVFULEHUWREHORJJHG(QDEOLQJWKLVZLOOVHQGWKHWK
                       SDFNHWIRUHDFKVXEVFULEHUWRWKHV\VORJV\VWHP
                  &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVRUFOLFNRQWKH5HVWRUHEXWWRQLI\RXZDQW
                  WRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH
             :KHQORJJLQJLVHQDEOHGORJILOHVDQGHUURUPHVVDJHVDUHVHQWWRWKHVHVHUYHUVIRUIXWXUH
             UHWULHYDO7RVHHVDPSOHUHSRUWVJRWR³6DPSOH6<6/2*5HSRUW´RQSDJH DQG³6DPSOH
             $$$/RJ´RQSDJH 


             Enabling MAC Authentication {MAC Authentication}
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ0$&DXWKHQWLFDWLRQ
                  7KHMAC Authentication SettingsVFUHHQDSSHDUV




                &KHFNWKH0$&$XWKHQWLFDWLRQFKHFNER[WRHQDEOHWKH0$&EDVHGDXWKHQWLFDWLRQ
                  IXQFWLRQDOLW\7KHGHIDXOWVHWWLQJLVGLVDEOHG
                (QWHUWKHUHWU\IUHTXHQF\ LQVHFRQGV LQWKH5HWU\'HOD\ILHOG7KLVVHWWLQJLVWKHZDLWWLPH
                  EHIRUHUHDWWHPSWLQJ0$&DXWKHQWLFDWLRQIROORZLQJDIDLOHGDWWHPSW7KHPLQLPXP DQG
                  GHIDXOW YDOXHLVVHFRQGV
                (QWHUD5HWU\/LPLW7KLVVHWWLQJLVWKHPD[LPXPQXPEHURIIDLOHGDWWHPSWVEHIRUHFHDVLQJ
                  WRUHWU\DXWKHQWLFDWLRQ6HWWKLVILHOGWRµ¶IRUXQOLPLWHGDWWHPSWV

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       $&&(66*$7(:$<

              6HOHFWWKH0$&$GGUHVV)RUPDW7KLVVHWWLQJLVWKHIRUPDWLQZKLFKWKHVXEVFULEHU¶V
                0$&DGGUHVVZLOOEHH[SUHVVHGLQWKH5$',86XVHUQDPHDQGSDVVZRUGDWWULEXWHV7KH
                5$',86VHUYHUPXVWXVHWKHVDPHIRUPDW7KHRSWLRQVDUHDDEEFFGGHHII
                DDEEFFGGHHIIRUDDEEFFGGHHII7KHGHIDXOWVHWWLQJLVDDEEFFGGHHII
              6HOHFWWKH&DVHRI+H[$OSKD&KDUDFWHUV7KLVVHWWLQJVSHFLILHVLQWKH0$&DGGUHVVHV
                LQ5$',86XVHUQDPHDQGSDVVZRUGDWWULEXWHVZKHWKHUWKHKH[DOSKDFKDUDFWHUV$)ZLOO
                EHXSSHUFDVHRUORZHUFDVH7KHRSWLRQVDUH/RZHURU8SSHU7KHGHIDXOWVHWWLQJLV/RZHU
              6HOHFWWKH5$',866HUYLFH3URILOHWRXVHIURPWKH5$',866HUYLFH3URILOHWRXVH
                PHQX7KLVVHWWLQJVSHFLILHVWKH5$',866HUYLFH3URILOH DQGWKHUHIRUHZKLFK5$',86
                VHUYHUV WRXVHIRU0$&EDVHG$XWKHQWLFDWLRQSXUSRVHV
              &OLFN6DYHWRVDYHWKHVHWWLQJVRU5HVWRUHWRUHWXUQWKHVHWWLQJVWRWKHSUHYLRXVVWDWH


           Assigning Passthrough Addresses {Passthrough Addresses}
           7KH$FFHVV*DWHZD\DOORZVXSWR,3SDVVWKURXJKDGGUHVVHVDQG'16QDPHV7KLVIHDWXUH
           DOORZVXVHUVWR³SDVVWKURXJK´WKH$FFHVV*DWHZD\DQGDFFHVVSUHGHWHUPLQHGVHUYLFHV IRU
           H[DPSOHWKHUHGLUHFWHGKRPHSDJH DWWKHVROXWLRQSURYLGHU¶VGLVFUHWLRQHYHQWKRXJKWKH\PD\
           QRWKDYHVXEVFULEHGWRWKHEURDGEDQG,QWHUQHWVHUYLFH7KLVLVXVHIXOLIVROXWLRQSURYLGHUVZDQW
           WRRSHQO\SURPRWHVHOHFWHGVHUYLFHVWRDOOXVHUVHYHQLIWKH\DUHQRWFXUUHQWO\VXEVFULELQJ
            SD\LQJ IRUDFFHVV$OORZLQJXSWRSDVVWKURXJKV ,3DQG'16 RIIHUVFXVWRPHUVJUHDWHU
           SURPRWLRQDOIOH[LELOLW\




       System Administration                                                                               137
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                                                                                       $&&(66*$7(:$<

                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ3DVVWKURXJK
                  $GGUHVVHV7KHPassthrough Address SettingsVFUHHQDSSHDUV




                ,IUHTXLUHGHQDEOH3DVVWKURXJK$GGUHVVHVWKHQFOLFNRQWKH6DYHEXWWRQ

                          If you are supporting Facebook athentication, you must add Passthrough
                          Addresses www.facebook.com:443 and fbstatic-a.akamaihd.net.

                ,QWKH,3'161DPHILHOGHQWHUWKH,3DGGUHVVRU'16QDPHRIWKHSDVVWKURXJK\RXZDQW
                  WRDGGRUUHPRYHIURPWKHV\VWHP
                ,IDGGLQJWKLVSDVVWKURXJKFOLFNRQWKH$GGEXWWRQRWKHUZLVHFOLFNRQ5HPRYHWRGHOHWH
                  WKLVSDVVWKURXJKIURPWKHOLVW


             Assigning a PMS Service {PMS}

                          Your product license may not support this feature.


             7KH$FFHVV*DWHZD\FDQEHLQWHJUDWHGZLWKH[LVWLQJ3URSHUW\0DQDJHPHQW6\VWHPV)RU
             H[DPSOHE\LQWHJUDWLQJZLWKDKRWHO¶V306WKH$FFHVV*DWHZD\FDQSRVWFKDUJHVIRU,QWHUQHW


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       $&&(66*$7(:$<

           DFFHVVGLUHFWO\WRDJXHVW¶VKRWHOELOO,QWKLVFDVHWKHJXHVWLVELOOHGRQO\RQFH7KH$FFHVV
           *DWHZD\RXWSXWVDFDOODFFRXQWLQJUHFRUGWRWKH306V\VWHPZKHQHYHUDVXEVFULEHUSXUFKDVHV
           ,QWHUQHWVHUYLFHDQGGHFLGHVWRSRVWWKHFKDUJHVWRWKHLUURRP7KH$FFHVV*DWHZD\RIIHUV
           ³SRVWSDLG´306ELOOLQJIXQFWLRQDOLW\IRUDOOVXSSRUWHG306LQWHUIDFHVSURYLGLQJKRWHOJXHVWV
           ZLWKWKHRSWLRQWRWHUPLQDWHWKHLUFRQQHFWLRQ YLDWKH,&& DQGEHELOOHGRQO\IRUWKHDFWXDO
           WLPHKHVKHZDVRQOLQH7KH$FFHVV*DWHZD\LVHTXLSSHGZLWKDVHULDOSRUWWRIDFLOLWDWH
           FRQQHFWLYLW\ZLWKDFXVWRPHU¶V3URSHUW\0DQDJHPHQW6\VWHP

                        Some PMS vendors may require you to obtain a license before integrating the
                        PMS with the Access Gateway. Check with the PMS vendor.

                        Some Property Management Systems may use interfaces that are incompatible
                        with the Access Gateway. If your Access Gateway is having trouble
                        communicating with a solution provider’s PMS, please contact technical support.
                        Refer to ³&RQWDFW,QIRUPDWLRQ´RQSDJH .

           %HIRUH\RXFDQFKDQJHWKH306VHWWLQJVD306PXVWEHFRQQHFWHGWRWKH$FFHVV*DWHZD\YLD
           WKHVHULDOSRUWRQWKHUHDUSDQHO6HHDOVR³&RQQHFWLQJWKH$FFHVV*DWHZD\WRWKH&XVWRPHU¶V
           1HWZRUN´RQSDJH 
           7KH$FFHVV*DWHZD\FDQTXHU\PRVWSRSXODU3URSHUW\0DQDJHPHQW6\VWHPVIRUFRQILUPDWLRQ
           RIWKH³QDPHV´DQG³URRPQXPEHUV´RIKRWHOJXHVWV²HIIHFWLYHO\EHFRPLQJD³FORQH´RID
           SRSXODU0LFURV326V\VWHP7KLVIXQFWLRQDOLW\DOORZVKRWHOVWRVHDPOHVVO\GHSOR\ZLUHOHVV
           QHWZRUNV RUDOWHUQDWLYHO\XVHORZFRVWZLUHGDFFHVVFRQFHQWUDWLRQHTXLSPHQW WKDWHLWKHUGR
           QRWVXSSRUWSRUW,'RUGRVRLQDSURSULHWDU\IRUPDWWKDW1RPDGL[GRHVQRWFXUUHQWO\VXSSRUW²
           DQGVWLOOEHDEOHWRELOOGLUHFWO\WRWKHURRP
           1RPDGL[KDVFHUWLILHGLQWHURSHUDELOLW\ZLWKDYDULHW\RI3URSHUW\0DQDJHPHQW6\VWHPV
               z    (QFRUH
               z    )&6
               z    *DOD[\ *($& 
               z    *XHVW9LHZ
               z    +RORGH[ $XWR&OHUN 
               z    +LOWRQ
               z    +LOWRQ
               z    +RWHO,QIR6\V +,6 
               z    ,JHWVQHW
               z    ,QQTXHVW


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                                                                                       $&&(66*$7(:$<

                 z    /DQ0DUN
                 z    /,%,&$
                 z    /RJLVWLFV
                 z    0DHVWUR
                 z    0DUULRWW
                 z    0HJDV\V+RVSLWDOLW\6\VWHPV
                 z    0LFURV)LGHOLR),$6 6HULDO7&3,3DQG4XHU\3RVWLQWHUIDFH 
                 z    06,
                 z    1++RWHOV
                 z    3URWRFRO7HFKQRORJLHV
                 z    5DPHV\V,PDJ,QQ306
                 z    2Q4 6\VWHP 
                 z    ;HWD9LUWXDO;/
             )RU0LFURV)LGHOLR),$61RPDGL[DOVRVXSSRUWVDVHULDO5HGLUHFWRU6HUYLFHZKLFKSURYLGHVD
             PHDQVWRVHQG),$6FRPPDQGPHVVDJHVWKURXJKWKH16(;0/LQWHUIDFH
             1RPDGL[RIIHUVWKHIROORZLQJVWDQGDUGVEDVHGLQWHUIDFHVJHQHUDOO\XVHGWRHVWDEOLVKDQ
             LQWHUIDFHWRDQ\RIWKH306V\VWHPVWKDWDUHQRWSURSULHWDU\
                 z    +2%,&56,
                 z    +2%,&7636
                 z    +2%,&%7
                 z    +2%,&7(67
                 z    +2%,&2636




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       $&&(66*$7(:$<

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ3067KHProperty
                Management System SettingsVFUHHQDSSHDUV




              <RXPD\GLVDEOH306VHUYLFHVE\FOLFNLQJRQWKH306VHUYLFHVGLVDEOHGUDGLREXWWRQ
                WKHQFOLFNLQJRQWKH6DYHEXWWRQWRVDYH\RXUFKRLFH,I\RXGLVDEOH306VHUYLFHV\RXFDQ
                H[LWWKLVSURFHGXUHRWKHUZLVHSURFHHGZLWKWKHUHVWRIWKHVFUHHQ
              3063RUW7HVW0RGHSURYLGHVDXWLOLW\WRFRQILUPWKDWWKH306SRUWLVZRUNLQJ7RUXQ
                WKHXWLOLW\\RXPXVWKDYHWKH1RPDGL[VXSSOLHGGEUMDGDSWHUSOXJJHGLQWRVDPH
                GHYLFHWKDW\RXXVHGWRFKHFNWKHFRPPDQGOLQHLQWHUIDFH6HWXSDWHUPLQDOVHVVLRQZLWK




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                                                                                         $&&(66*$7(:$<

                  WKHVDPHWHUPLQDOVHWWLQJV\RXSUHYLRXVO\XVHG7KHXWLOLW\FRQILUPVERWKWUDQVPLWDQG
                  UHFHLYHDQGLVWKHIXQFWLRQDOHTXLYDOHQWRIDQH[WHUQDOORRSEDFNWHVW
                  7RWHVWWKH306SRUWFOLFN3063RUW7HVW0RGHWKHQFOLFN6DYH,IWKH306VHULDO
                  LQWHUIDFHLVZRUNLQJSURSHUO\FKDUDFWHUVW\SHGLQWRWKH&RQVROHSURJUDPZLOOEH
                  DFNQRZOHGJHGDVVHHQEHORZ




                6HOHFWWKH7\SHRI306 3UHSDLGRU3RVWSDLG \RXUHTXLUHIURPWKHDYDLODEOHOLVWRU
                  FKRRVHWKH$6&,,6HULDO3ULQWHURSWLRQ ZKHQDVHULDOSULQWHULVFRQQHFWHGWRWKH$FFHVV
                  *DWHZD\¶VVHULDOSRUW ²\RXFDQFKRRVHRQO\RQHRIWKHOLVWHGRSWLRQV

                            The pre-paid option requires hotel guests to “pre-pay” for services. The post-paid
                            option allows hotel guests to terminate their connection (via the ICC) and be
                            billed only for the actual time they are online. The NH proprietary PMS is offered
                            on a “post-paid” basis only.

                  z   ,I\RXFKRRVH+2%,&56,\RXPXVWVHOHFWWKH7\SHRI$FFHVV
                  z   )RU0DUULRWW\RXFDQHLWKHUFKRRVH0DUULRWWRU\RXFDQFKRRVHDW\SHRI:)%
                      LQWHUIDFH 3RVW2QO\4XHU\DQG3RVWRU1DPHDQG5RRP 
                  z   &OLFN'LVDEOH5HJLVWUDWLRQ1XPEHUWRVXSSUHVVSURPSWIRUDUHJLVWUDWLRQQXPEHURQ
                      JXHVWORJLQ
                  z   ,I\RXFKRRVH0LFURV)LGHOLR 7&3,3 \RXPXVWSURYLGHWKH7DUJHW,3$GGUHVVDQG
                      WKH7DUJHW3RUW1XPEHU
                  z   ,I\RXFKRRVH0LFURV HPXODWLRQ \RXPXVWSURYLGHWKH
                      IROORZLQJDGGLWLRQDOLQIRUPDWLRQ
                        z     &RPPXQLFDWLRQV6\VWHP8QLW1XPEHU 
                        z     &RPPXQLFDWLRQV6\VWHP1DPH
                        z     6WRUH5HYHQXH&HQWHU1XPEHU,QWHUQHW$FFHVV


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       $&&(66*$7(:$<

                      z    6WRUH5HYHQXH&HQWHU1XPEHU2WKHU
                <RXDOVRKDYHWKHIROORZLQJFKHFNER[RSWLRQV VHHQRWH 
                z   0DWFK/DVW1DPH2QO\
                z   6NLS)LUVW&KDULQ/DVW1DPH
                z   2Q4&RPSOLDQW (QDEOHWKLVRSWLRQLI\RXZDQWWRXVH1RPDGL[0LFURV326
                    HPXODWLRQWRTXHU\ SRVWWR+LOWRQ&RUSRUDWLRQ V2Q4306V\VWHP 
              ,QWKH0LVFHOODQHRXV6HWWLQJVJURXS\RXPD\HQDEOHSKRQHWLFQDPHPDWFKLQJIRU:)%
                )266(0,&526DQG0,&526)LGHOLR7KLVIHDWXUHXVHV0HWDSKRQHWRSHUIRUP
                SKRQHWLFQDPHPDWFKLQJEHWZHHQGDWDVXSSOLHGE\WKHVXEVFULEHUDQGWKHGDWDSURYLGHGE\
                WKH306




              &OLFN3KRQHWLFWHVWWRWHVWWKHIHDWXUH(QWHUDVWULQJWKH16(ZLOOUHWXUQDSKRQHWLFNH\




              &OLFN3RVWWRIROLRZLWK&$RU6&WRHQDEOHFDVKDQGVLJQHGFKDUJHSD\PHQWV 0DUULRWW 
              7RYLHZRUPRGLI\3065HGLUHFWRU6HUYLFHSDUDPHWHUVFOLFNWKH&RQILJXUHOLQNQH[WWR
                WKH3065HGLUHFWRUVHOHFWRURSWLRQ7KH3065HGLUHFWRUSDJHDSSHDUV




       System Administration                                                                            143
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                                                                                        $&&(66*$7(:$<




                Post-paid PMS only: ,I\RXVHOHFWHGD3RVWSDLG306RSWLRQ\RXFDQGHILQHDQ,GOH
                  7LPHRXW LQPLQXWHV DQGDQ,GOH'DWD7KUHVKROG LQE\WHV 7KHVHVHOHFWLRQVGHWHUPLQH
                  WKHWKUHVKROGVZKHQD³SRVWSDLG´KRWHOJXHVWZLOOEHDXWRPDWLFDOO\GLVFRQQHFWHGIURPWKH
                  VHUYLFH
                  3URSHUW\0DQDJHPHQW6\VWHPVJHQHUDOO\RSHUDWHDWGLIIHUHQWEDXGUDWHV<RXPXVWQRZ
                  VHOHFWDQDSSURSULDWHEDXGUDWHIRU\RXUFKRVHQ306
              6HOHFWWKH6SHHGRI306,QWHUIDFHDQG6HULDO6HWWLQJVIURPWKHDYDLODEOHOLVW,I\RXDUH
                 QRWVXUHZKLFKEDXGUDWHWRFKRRVHVHOHFW1RW6XUHDQGWKHV\VWHPZLOODWWHPSWWRXVHWKH
                  GHIDXOW




              <RXPXVWQRZVHOHFWWKH7\SHRI6HUYLFH3RVW0DSSLQJV\RXUHTXLUHUHODWLYHWRWKH
                  ELOOLQJSODQV\RXHVWDEOLVKHGLQ³'HILQLQJWKH%LOOLQJ2SWLRQV^%LOOLQJ2SWLRQV`´RQ
                  SDJH 



       144                                                                           System Administration
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       $&&(66*$7(:$<

               %HFDXVHVRPH3URSHUW\0DQDJHPHQW6\VWHPVGRQRWDOORZ\RXWRHQWHUFKDUDFWHUV\RX
               PXVWHQWHUWKHVHVHUYLFHGHVFULSWLRQVDVDQXPHULFYDOXHRQO\ QRFKDUDFWHUVRUGHOLPLWHUV 
               7KHQXPEHUVPXVWEHHQWHUHGLQWKHIRUPRID³WHOHSKRQHQXPEHU´ZKLFKWKHVHOHFWHG
               306ZLOOLQWHUSUHW

                        If the “phone number” field required by the PMS is shorter than 15 characters,
                        only the first required number of characters will be supplied.

            ,IGHVLUHGHQDEOH6\VORJ306FRPPXQLFDWLRQV




            &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVDQGUHVWDUWWKHVHULDOLQWHUIDFHRUFOLFNRQ
               WKH5HVWRUHEXWWRQLI\RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH

                        Based on the HOBIC interface standards, Nomadix, Inc. has also certified
                        interoperability with a number of other PMS and call accounting solutions such
                        as Ramesys’ ImagInn, Xeta Virtual XL, and Hilton’s proprietary standard OnQ.
                        This development effort is on-going. For an up-to-date list of supported PMS
                        systems, please contact our Technical Support team. Refer to ³7HFKQLFDO6XSSRUW´
                        RQSDJH .


           Setting Up Port Locations {Port-Location}
           3RUW/RFDWLRQDOORZV\RXWRHVWDEOLVKWKHPRGHRIRSHUDWLRQIRUGHYLFHV




       System Administration                                                                            145
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                                                                                   $&&(66*$7(:$<

                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ3RUW/RFDWLRQ7KH
                  Port-Location SettingsVFUHHQDSSHDUV




       146                                                                       System Administration
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       $&&(66*$7(:$<

              6\VWHPDGPLQLVWUDWRUVFDQVHWWKHSURSHUWLHVIRUHDFKURRPIURPWKHVXEVFULEHUVLGHRIWKH
                $FFHVV*DWHZD\7KHV\VWHPDXWRPDWLFDOO\GHWHFWVZKLFKSRUWQXPEHUWKHDGPLQLVWUDWRULV
                XVLQJDQGDOORZVWKHPWRHQWHUWKHILHOGVIRUWKHURRPFRUUHVSRQGLQJWRWKHSRUWWKH\DUH
                XVLQJ
                ,IUHTXLUHGFOLFNRQWKHFKHFNER[IRU,Q5RRP3RUW0DSSLQJWRHQDEOHWKLVIHDWXUH
              ,I\RXHQDEOHGIn Room Port Mapping\RXPXVWDVVLJQD8VHUQDPHDQG3DVVZRUG<RX
                ZLOOQHHGWKHVHZKHQ\RXSHUIRUPSRUWPDSSLQJIURPWKHVXEVFULEHUVLGHRIWKH$FFHVV
                *DWHZD\
                *RWR³,Q5RRP3RUW0DSSLQJ´RQSDJH WRPDSURRPVIURPWKHVXEVFULEHUVLGHRIWKH
                $FFHVV*DWHZD\

                         For security reasons, this feature should be disabled when in room port mapping
                         (from the subscriber side of the Access Gateway) is completed.

              6HOHFW1R3RUW/RFDWLRQ0DSSLQJLI\RXDUHQRWXVLQJ3RUWEDVHGDFFHVV
              ,I9/$1VDUHXVHGRQWKHQHWZRUNDQGLIGHVLUHGVHOHFW9/$1,'V4WZRZD\
              ,I\RXDUHXVLQJDQDFFHVVFRQFHQWUDWLRQGHYLFHWKDWFDQQRWKDQGOH9/$1,'VVHOHFWRQH
                RIWKHDYDLODEOHAccess Concentrator QueryRSWLRQV

                         The devices in the following list must be assigned an IP address on the same
                         subnet as the Access Gateway. You must remove “old” concentrator types before
                         entering new ones.

                z   7XW6\VWHPV([SUHVVR
                z   /XFHQW'6/7HUPLQDWRU
                z   7XW0'8/LWH6\VWHPV
                z   5)&&RPSOLDQW6\VWHPV
                z   5LYHU'HOWD%
                z   (ODVWLF1HWZRUNV




       System Administration                                                                           147
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                                                                                       $&&(66*$7(:$<

                  7KHVHRSWLRQVHQDEOHDQ6103TXHU\WR³DVN´WKHDFFHVVFRQFHQWUDWLRQGHYLFHZKLFKFDUG
                  VORWRUSRUWWKHLQIRUPDWLRQLVFRPLQJIURP7KHLQIRUPDWLRQFDQWKHQEH³VHQWWR´DQG
                  ³ELOOHGE\´WKH306<RXPXVWHQWHUWKH,3DGGUHVV QRWQDPH 6103FRPPXQLW\DQG
                  6103TXHU\GXUDWLRQ PD[LPXPWLPHLWWDNHVWRGHWHFWVXEVFULEHUPLJUDWLRQ RIDOODFFHVV
                  FRQFHQWUDWRUVFRQQHFWHGWRWKHVLWH<RXFDQDOVRRSWWR5HORJLQDIWHUPLJUDWLRQE\
                  FKHFNLQJWKH³5HORJLQDIWHUPLJUDWLRQ´(QDEOHER[
                  )RU³FDVFDGLQJ´7XWDQG5)&FRPSOLDQWV\VWHPVFOLFNRQWKHDVVRFLDWHG&DVFDGLQJ
                  EXWWRQ7KHCascading SupportVFUHHQDSSHDUVDOORZLQJ\RXWRHQWHUWKH,3DGGUHVVDQG
                  6103FRPPXQLW\IRUWKHSULPDU\DQGDOO³FDVFDGLQJ´GHYLFHVFRQQHFWHGWRWKHVLWH)RU
                  5)&FRPSOLDQWV\VWHPV\RXKDYHWKHDGGLWLRQDORSWLRQRIGHILQLQJWKH³8SOLQNSRUW´


                                                                                 7XW6\VWHPV




                                                                           5)&6\VWHPV


                  )URPWKHCascading SupportVFUHHQ\RXFDQUHWXUQWRWKHPDLQPort-Location Settings
                  VFUHHQDWDQ\WLPHE\SUHVVLQJWKH%DFNEXWWRQ
                &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVRUFOLFNRQWKH5HVWRUHEXWWRQLI\RXZDQW
                  WRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH
             6HH,Q5RRP3RUW0DSSLQJ



       148                                                                          System Administration
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       $&&(66*$7(:$<

           ,Q5RRP3RUW0DSSLQJ
           7KLVVHFWLRQVKRZV,Q5RRP3RUW0DSSLQJIURPWKHVXEVFULEHUVLGHZKHQWKHIn Room Port
           MappingIHDWXUHLVHQDEOHG

                         Access Gateway multiple VLAN tagged systems can use the same tags and be
                         placed on different Subscriber ports. Although it is technically possible to place
                         two different VLAN tagged switches (one on each Subscriber side) that have the
                         same VLAN tags designated, this configuration can cause problems. To avoid
                         conflicts, you must ensure that the VLAN tags are different on the different
                         devices.

              (QDEOH,Q5RRP3RUW0DSSLQJDQGDVVLJQDXVHUQDPHDQGSDVVZRUG VHHSUHYLRXV
                VHFWLRQ6WHSVDQG 
              (QWHUWKHIROORZLQJ85/WDUJHWIRUPDW
                KWWS $FFHVV*DWHZD\,3DGGUHVV XVJURRPPDSSLQJ
                )RUH[DPSOH
                KWWSXVJURRPPDSSLQJ
                7KHEnter Network PasswordSURPSWDSSHDUV


                                                                                   (QWHUXVHUQDPHDQG
                                                                                         SDVVZRUG




                &OLFNKHUHLI\RXZDQWWRVDYH\RXU
                     XVHUQDPHDQGSDVVZRUG




       System Administration                                                                           149
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                                                                                      $&&(66*$7(:$<

                (QWHU\RXUXVHUQDPHDQGSDVVZRUGWKHQFOLFNRQWKH2.EXWWRQ7KHIn Room Port
                  MappingVFUHHQDSSHDUV




                (QWHUWKHURRPQXPEHUDQGDGHVFULSWLRQIRUWKLVURRP
                6HOHFWWKHDFFHVVPRGH\RXZDQWWRDVVLJQWRWKLVURRP
                  z   5RRP)UHH$FFHVV
                  z   5RRP)RU&KDUJH
                  z   5RRP%ORFNHG
                &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHV
                5HSHDW6WHSVWKURXJKIRUHDFKURRP VHHQRWH 

                          If you leave your browser open, the “cookie” that is placed on your system will
                          allow you to go from room to room during the mapping process. However, if you
                          close your browser, the cookie is deleted and you will need to login again.




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       $&&(66*$7(:$<

           Setting up Quality of Service {QoS}
           7KH4XDOLW\RI6HUYLFHIHDWXUHFODVVLILHVVXEVFULEHUWUDIILFVRWKDWLWFDQWKHQEHDFWHGXSRQE\
           GHYLFHVWKDWVXSSRUW4R6SULRULWL]DWLRQRURWKHU4R6FDSDELOLWLHV7KLVUHTXLUHVWKHXVHRI
           TEDVHG9/$16RQWKHQHWZRUNDVLWLVEDVHGRQS&ODVVRI6HUYLFH &R6 
           PDUNLQJ7KH4R6FODVVLILFDWLRQIXQFWLRQVXSSRUWVERWKH[WHUQDODQGLQWHUQDOPRGHV,Q
           ([WHUQDOPRGHZKHQWKH16(UHFHLYHGSDFNHWVZLWKSSULRULW\ELWVDOUHDG\VHWLWZLOO
           SDVVWKHSULRULW\YDOXHVWKURXJKXQDOWHUHG,Q,QWHUQDOPRGHFODVVLILFDWLRQDQGUHVXOWDQWELW
           PDUNLQJLVSHUIRUPHGYLD4R6SROLFLHVWKDWDUHGHILQHGZLWKLQWKH16(7KHWZRPRGHVFDQ
           DOVREHXVHGLQFRPELQDWLRQ
           16(SURYLGHVVXSSRUWIRU'6&3 'LIIHUHQWLDWHG6HUYLFHV&RGH3RLQW PDUNLQJ<RXFDQXVH
           WKHWZR4R6PHFKDQLVPVLQGLYLGXDOO\RUFRQFXUUHQWO\
           '6&3DQGSFDQEHHQDEOHGLQGLYLGXDOO\RUVLPXOWDQHRXVO\LQWKHJOREDO4R6
           FRQILJXUDWLRQ<RXFDQGHILQHWKHUXOHVDQGSDUDPHWHUVIRUHDFKZLWKLQLQGLYLGXDO4R6
           SROLFLHV%RWKXVHWKHH[LVWLQJ7UDIILF'HVFULSWRUGHILQLWLRQV7KH16(GRHVQRWGRDQ\WUDIILF
           VKDSLQJWUDIILFLVPDUNHGEDVHGRQGHILQHGSROLFLHVRUH[LVWLQJPDUNLQJLVSDVVHGWKURXJK

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ4R67KHQoS
                SettingsVFUHHQDSSHDUV




              (QDEOH30DUNLQJDQGVHOHFWDFODVVLILFDWLRQPRGHWRPDUNSDFNHWVXVLQJS
                &ODVVRI6HUYLFHYDOXHV




       System Administration                                                                             151
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                                                                                        $&&(66*$7(:$<

                (QDEOH'6&30DUNLQJDQGVHOHFWDFODVVLILFDWLRQPRGHWRPDUNSDFNHWVXVLQJ'6&3
                  YDOXHV1RWHWKDWWKH([WHUQDOFODVVLILHURQO\PRGHLVQRWDYDLODEOHIRU'6&3WKLVLVWKH
                  GHIDXOWPRGHLI'6&3LVGLVDEOHG7KHIROORZLQJFKDUWRXWOLQHVWKH'6&3SURFHVVLQJIORZ

                                             '6&33URFHVVLQJ)ORZ




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       $&&(66*$7(:$<

              6HOHFW$GG3ROLF\WRGHILQHDQHZ4R6SROLF\RUVHOHFWDOLQNWRDSROLF\WKDWLVDOUHDG\
                GHILQHGLQRUGHUWRPRGLI\LW7KHAdd QoS Policy for SubscribersVFUHHQDSSHDUV




              (QWHUDQDPHIRUWKHSROLF\LQWKH4R63ROLF\ILHOG
              (QWHUDEULHIVXPPDU\DERXWWKHSROLF\'HVFULSWLRQILHOG7KHUXOHOLVWGLVSOD\VDOLVWRI
                WKHUXOHVWKDWKDYHEHHQGHILQHGIRUWKLVSROLF\
              &OLFN6DYH3ROLF\WRDFFHSWWKHSDUDPHWHUVDQGUXOHVGHILQHGDQGDGGWKHSROLF\WRWKH
                SROLF\OLVWRQWKHPDLQSDJH
              3URYLGHGHIDXOW3&R6DQGRU'6&3YDOXHVDVQHHGHG
              6HOHFWDWUDIILFGHVFULSWRUDQGD&ODVVRI6HUYLFHIRUWKHUXOHDQGWKHQFOLFN$GG5XOH
                2QFHDGGHGUXOHVZLOOEHGLVSOD\HGLQWKHOLVWDERYH
                <RXPXVWKDYHRQHRUPRUHWUDIILFGHVFULSWRUVSUHYLRXVO\GHILQHG6HH³6HWWLQJXS7UDIILF
                'HVFULSWRUV^7UDIILF'HVFULSWRUV`´RQSDJH 


       System Administration                                                                             153
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                                                                                         $&&(66*$7(:$<

             Defining the RADIUS Client Settings {RADIUS Client}
             7KH$FFHVV*DWHZD\VXSSRUWV5HPRWH$XWKHQWLFDWLRQ'LDO,Q8VHU6HUYLFH 5$',86 
             5$',86LVDQDXWKHQWLFDWLRQDQGDFFRXQWLQJV\VWHPXVHGE\PDQ\,QWHUQHW6HUYLFH3URYLGHUV

                          The “Usernames” function must be enabled for a RADIUS login. See also,
                          ³&RQILJXUDWLRQ0HQX´RQSDJH .

             1RPDGL[RIIHUVDQLQWHJUDWHG5$',86FOLHQWDOORZLQJVHUYLFHSURYLGHUVWRWUDFNRUELOOXVHUV
             EDVHGRQWKHQXPEHURIFRQQHFWLRQVORFDWLRQRIWKHFRQQHFWLRQE\WHVVHQWDQGUHFHLYHG
             FRQQHFWWLPHHWF7KHFXVWRPHUGDWDEDVHFDQH[LVWLQDFHQWUDO5$',86VHUYHUDORQJZLWK
             DVVRFLDWHGDWWULEXWHVIRUHDFKXVHU:KHQDFXVWRPHUFRQQHFWVLQWRWKHQHWZRUNWKH5$',86
             FOLHQWDXWKHQWLFDWHVWKHFXVWRPHUZLWKWKH5$',86VHUYHUDSSOLHVDVVRFLDWHGDWWULEXWHVVWRUHG
             LQWKDWFXVWRPHU VSURILOHDQGORJVWKHLUDFWLYLW\ LQFOXGLQJE\WHVWUDQVIHUUHGFRQQHFWWLPH
             HWF 
             7KH$FFHVV*DWHZD\ V5$',86LPSOHPHQWDWLRQDOVRKDQGOHVYHQGRUVSHFLILFDWWULEXWHV
              96$V UHTXLUHGE\:,63VWKDWZDQWWRHQDEOHPRUHDGYDQFHGVHUYLFHVDQGELOOLQJVFKHPHV
             VXFKDVDSHUGHYLFHSHUPRQWKFRQQHFWLYLW\IHH




                                       $OOVXEVFULEHUVDWWHPSWLQJWRJDLQDFFHVVWR
                                       WKHQHWZRUNDUHYDOLGDWHGE\5$',86




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       $&&(66*$7(:$<

           )RUDGGLWLRQDO5$',86LQIRUPDWLRQVHHDOVR
                z   ³'HILQLQJWKH5$',863UR[\6HWWLQJV^5$',863UR[\`´RQSDJH 
                z   ³'HILQLQJWKH5HDOP%DVHG5RXWLQJ6HWWLQJV^5HDOP%DVHG5RXWLQJ`´RQSDJH 
                z   ³5$',86$WWULEXWHV´RQSDJH 
              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ5$',86&OLHQW7KH
                RADIUS Client SettingsVFUHHQDSSHDUV




              8QGHUWKHServer Selection and Communication RSWLRQVFKRRVHWKH'HIDXOW5$',86
                0RGH
                z   'LVDEOHG WRGLVDEOH5$',86DXWKHQWLFDWLRQ
                z   5HDOP%DVHG IRU5HDOPURXWLQJ
                z   )L[HG IRUURXWLQJWRSUHGHILQHG5$',86VHUYHUV
              6HOHFWWKH'HIDXOW5$',866HUYLFH3URILOHIURPWKHSXOOGRZQPHQX
              (QWHUD/RFDO$XWKHQWLFDWLRQ3RUWDQGD/RFDO$FFRXQWLQJ3RUW



       System Administration                                                                       155
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                                                                                            $&&(66*$7(:$<

                6HOHFWZKHWKHU/DWHU/RJLQ6XSHUVHGHV3UHYLRXV7KLVZLOODOORZDVHFRQGDU\IRUPRI
                  DXWKHQWLFDWLRQWRRYHUULGHWKHRULJLQDODXWKHQWLFDWLRQLIQHFHVVDU\DQGXVHWKHFUHGHQWLDOV
                  RIWKHODVWORJLQWRVXFFHHG

             0LVFHOODQHRXV2SWLRQV
                ,QWKH³0LVFHOODQHRXV2SWLRQV´FDWHJRU\(QWHUDYDOXHIRUWKHWLPH LQVHFRQGV LQWKH
                  'HIDXOW8VHU,GOH7LPHRXWILHOG7KLVYDOXHGHWHUPLQHVKRZPXFK³LGOH´WLPHHODSVHV
                  EHIRUHWKHVXEVFULEHU¶VVHVVLRQWLPHVRXWDQGWKH\PXVWORJLQDJDLQ
                7KH$FFHVV*DWHZD\FDQUHDXWKHQWLFDWH³UHSHDW´VXEVFULEHUVZKRUHWXUQWRWKHV\VWHP
                  ZLWKLQDVSHFLILHGDPRXQWRIWLPH7RHQDEOHWKLVIHDWXUHFOLFNRQWKHFKHFNER[IRU
                  (QDEOH$XWRPDWLF6XEVFULEHU5HDXWKHQWLFDWLRQDQGSURYLGHDWLPHRXWYDOXH LQ
                  PLQXWHV LQWKH$XWRPDWLF6XEVFULEHU5HDXWKHQWLFDWLRQ7LPHRXWILHOG
                <RXFDQOLPLWDXWRPDWLFUHDXWKHQWLFDWLRQWRWKHVXEVFULEHU¶VRULJLQDO]RQH7RGRWKLV
                  FKHFN5HVWULFW5HDXWKHQWLFDWLRQWR2ULJLQDOO\$XWKHQWLFDWHG=RQH
                ,I\RXZDQWWRHQDEOHWKH85/UHGLUHFWLRQIHDWXUHFOLFNRQWKHFKHFNER[IRU(QDEOH85/
                  5HGLUHFWLRQ
                )RUD1HWZRUN$FFHVV6HUYHU 1$6 LI\RXZDQWWRVHQGD1$6LGHQWLILHUZLWK\RXU
                  DFFRXQWDFFHVVUHTXHVWFOLFNRQWKHFKHFNER[IRU6HQG1$6LGHQWLILHUWKHQGHILQHWKH
                  1$6LGHQWLILHULQWKH1$6LGHQWLILHUILHOG
                7RVHQGWKH1$6,3DGGUHVVZLWK\RXUDFFRXQWUHTXHVWFOLFNRQWKHFKHFNER[IRU6HQG
                  1$6,3
                7RVHQGD1$6SRUWW\SHZLWK\RXUDFFRXQWUHTXHVWFOLFNRQWKHFKHFNER[IRU6HQG1$6
                  3RUWW\SHWKHQGHILQHWKH1$6SRUWLQWKH1$63RUW7\SHILHOG
                7RVHQGWKH)UDPHG,3DGGUHVVZLWK\RXUDFFRXQWUHTXHVWFOLFNRQWKHFKHFNER[IRU6HQG
                  )UDPHG,3
                7RHQDEOH5$',86WHUPLQDWLRQDFWLRQHQKDQFHPHQWFOLFNRQWKHFKHFNER[IRU(QDEOH
                  7HUPLQDWLRQ$FWLRQ5DGLXV$WWULEXWHWKHQVHOHFWWKHSHUFHQWDJH  RIWKH
                  PD[LPXPGDWDYROXPHWKUHVKROGIRUZKLFKWHUPDFWLRQZLOOEHHQIRUFHG YROXPHEDVHG
                  VHVVLRQVRQO\ 
                  7KLVRSWLRQSURYLGHVVXSSRUWIRU5DGLXV7HUPLQDWLRQ$FWLRQIRUWLPHDQGYROXPHEDVHG
                  VXEVFULEHUVZRUNLQJLQFRQMXQFWLRQZLWKDQH[WHUQDO5DGLXVVHUYHU(QIRUFHPHQWRIWKLV
                  DWWULEXWHZLOOUHVXOWLQHLWKHU
                  z   ORJRXWRIWKHVXEVFULEHU
                  z   UHDXWKHQWLFDWLRQRIWKHVXEVFULEHUWKURXJKLVVXDQFHRIDQHZ5DGLXV$FFHVV5HTXHVW
                      WKDWFRQWDLQVDQHZ$FFW6HVVLRQ,'
                  7KH5DGLXVUHDXWKHQWLFDWLRQWKDWRFFXUVGXHWRWHUPDFWLRQHQIRUFHPHQWZLOOEH
                  WUDQVSDUHQWWRWKHVXEVFULEHU7KLVLVWUXHIRUWLPHEDVHGVHVVLRQVWKDWH[SLUHDVZHOO
                  5DGLXVDFFRXQWLQJDXJPHQWDWLRQZLOOWDNHSODFHDVDUHVXOWRIDVXFFHVVIXOUH
                  DXWKHQWLFDWLRQ


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       $&&(66*$7(:$<




               7KHIROORZLQJ96$VDUHXVHGIRULPSOHPHQWDWLRQRIYROXPHDQGWLPHEDVHG5DGLXV
               WHUPLQDWLRQDFWLRQ

                                             96$1DPH                 9DOXH

                                      7HUPLQDWLRQ$FWLRQ          

                                      6HVVLRQ7LPHRXW             

                                      1RPDGL[0D[%\WHV'RZQ        

                                      1RPDGL[0D[%\WHV8S          


            ,IUHTXLUHGFKHFNWKHER[IRU(QDEOH6HVVLRQ7HUPLQDWH(QG2I'D\:KHQ$XWKRUL]HG
                WRDOORZEXVLQHVVSROLFLHVWKDWZDQWWRWHUPLQDWHWKHVHVVLRQDWPLGQLJKWRIHYHU\GD\ 
            ,IUHTXLUHGFKHFNWKHER[IRU(QDEOH%\WH&RXQW5HVHW2Q$FFRXQW6WDUW WRUHVHWWKH
               WUDQVPLWWHGDQGUHFHLYHGE\WHFRXQWIRUDVXEVFULEHURQFHDQ³DFFRXQWLQJVWDUW´LVVHQW 
               7KLVIXQFWLRQSUHYHQWVFRXQWLQJ:DOOHG*DUGHQWUDIILFLIWKHELOOLQJSODQLVXVLQJE\WHV
               VHQWUHFHLYHGDVDFKDUJHFULWHULRQ
            ,IUHTXLUHGFKHFNWKHER[IRU(QDEOH5$',866XEQHW$WWULEXWH LI\RXZDQWWRDOORFDWHD
               VSHFLILFVXEQHWWRDXVHU 




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                                                                                           $&&(66*$7(:$<

              ,IUHTXLUHGFKHFNWKHER[IRU(QDEOH*RRGE\H85/ LI\RXZDQWWKHV\VWHPWRGLVSOD\D
                 SRVWVHVVLRQ³JRRGE\H´SDJH 7KH³JRRGE\H´SDJHFDQEHGHILQHGDVD5$',8696$RU
                 EHGULYHQE\WKH$FFHVV*DWHZD\¶V,QWHUQDO:HE6HUYHU ,:6 
              ,IUHTXLUHGFKHFNWKHER[(QDEOH)RUJHW\RXU3DVVZRUGWRFUHDWHDOLQNWKDWXVHUVFDQJR
                 WR DQGLVDGGHGWRWKHSDVVWKURXJKOLVW VRWKH\FDQUXQDSDJHDWWKHLU,63WRJHWWKHLU
                 SDVVZRUG
              (QDEOHRUGLVDEOHWKH8VHU6HVVLRQ7LPH$GMXVWPHQWDQGFUHGLWIXQFWLRQDOLW\ZKHQWKH
                 16(LVGRZQ
              (QDEOHFKDUJLQJIRULGOHWLPHWRFRXQWLGOHWLPHLQWKHVHVVLRQWLPHRI5DGLXVDFFRXQWLQJ
                 SDFNHWV
              (QDEOH5$',864R63ROLFLHVWRDVVLJQD4R6SROLF\WRDXVHULQWKHLU5DGLXV3URILOH
              &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVRUFOLFNRQWKH5HVWRUHEXWWRQLI\RXZDQW
                 WRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH


             Defining the RADIUS Proxy Settings {RADIUS Proxy}
             $5$',863UR[\DOORZVWKH16(WRUHOD\DXWKHQWLFDWLRQDQGDFFRXQWLQJSDFNHWVEHWZHHQWKH
             SDUWLHVSHUIRUPLQJWKHDXWKHQWLFDWLRQSURFHVV'LIIHUHQWUHDOPVFDQEHVHWXSWRGLUHFWO\FKDQQHO
             5$',86PHVVDJHVWRWKHYDULRXV5$',86VHUYHUV
             )RUDGGLWLRQDO5$',86LQIRUPDWLRQVHHDOVR
                 z    ³6HWWLQJXS4XDOLW\RI6HUYLFH^4R6`´RQSDJH 
                 z    ³'HILQLQJWKH5HDOP%DVHG5RXWLQJ6HWWLQJV^5HDOP%DVHG5RXWLQJ`´RQSDJH 
                 z    ³5$',86$WWULEXWHV´RQSDJH 




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       $&&(66*$7(:$<

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ5$',863UR[\7KH
                RADIUS Proxy SettingsVFUHHQDSSHDUV




              (QDEOHRUGLVDEOH5$',863UR[\6HUYLFHVDVUHTXLUHGE\FOLFNLQJRQWKHDSSURSULDWH
                FKHFNER[
              ,I\RXHQDEOHG5$',863UR[\6HUYLFHV\RXPXVWSURYLGHWKH$XWKHQWLFDWLRQ6HUYHU3RUW
                DQGWKH$FFRXQWLQJ6HUYHU3RUWUHIHUHQFHV
              &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVRUFOLFNRQWKH5HVWRUHEXWWRQLI\RXZDQW
                WRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH
           6HH$GGLQJDQ8SVWUHDP5$',861$6




       System Administration                                                                          159
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                                                                                          $&&(66*$7(:$<

             $GGLQJDQ8SVWUHDP5$',861$6
                ,I\RXZDQWWRDGGDQHZ8SVWUHDP5$',861$6 IRUH[DPSOHDQ$FFHVV3RLQW
                  RQWKHVXEVFULEHUVLGHRIWKH$FFHVV*DWHZD\ FOLFNRQWKH$GGEXWWRQ7KHAdd
                  Upstream RADIUS NASVFUHHQDSSHDUV




                7RPDNHWKLVHQWU\WKH³DFWLYH´1$6HQWU\FOLFNRQWKH(QWU\$FWLYHFKHFNER[
                (QWHUDQ,3$GGUHVVIRUWKH8SVWUHDP1$6
                (QWHUDVHFUHWNH\LQWKH$XWKHQWLFDWLRQ6HFUHW.H\ILHOG'XULQJWKHDXWKHQWLFDWLRQ
                  SURFHVVWKHVHUYHUDQGFOLHQWH[FKDQJHVHFUHWNH\V7KHVHFUHWNH\VPXVWPDWFKIRU
                  FRPPXQLFDWLRQEHWZHHQWKHVHUYHUDQGWKHFOLHQWWRFRQWLQXH7KHVHFUHWNH\LVDYDOXDEOH
                  DQGQHFHVVDU\VHFXULW\PHDVXUH
                (QWHUDVHFUHWNH\LQWKH$FFRXQWLQJ6HFUHW.H\ILHOG
                6HOHFWWKH'HIDXOW5$',866HUYLFH3URILOHIURPWKHSXOOGRZQPHQX VHHQRWH 

                          RADIUS requests originating from this Upstream NAS will be routed via the
                          specified profile if it cannot be routed based on realm. Leave this field blank if
                          default routing is not desired.

                3ODFHDFKHFNLQWKHER[RIWKH1RPDGL[96$VWREHHQIRUFHGE\WKH3UR[\IRUWKLV
                  HQWU\
                  z   (QIRUFH%DQGZLGWK8S96$7KH5DGLXV96$IRU%DQGZLGWK8SZLOOEHSDVVHGRQ
                      WRWKH8SVWUHDP1$6ZKHQHQDEOHG



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       $&&(66*$7(:$<

                z   (QIRUFH%DQGZLGWK'RZQ96$7KH5DGLXV96$IRU%DQGZLGWK'RZQZLOOEH
                    SDVVHGRQWRWKH8SVWUHDP1$6ZKHQHQDEOHG
                z   (QIRUFH5HGLUHFW85/96$7KH5DGLXV96$IRU5HGLUHFW85/ZLOOEHSDVVHGRQWR
                    WKH8SVWUHDP1$6ZKHQHQDEOHG
                z   (QIRUFH,38SVHOO96$7KH5DGLXV96$IRU,S8SVHOOZLOOEHSDVVHGRQWRWKH
                    8SVWUHDP1$6ZKHQHQDEOHG
                z   (QIRUFH6XEQHW96$7KH5DGLXV96$IRU6XEQHWZLOOEHSDVVHGRQWRWKH8SVWUHDP
                    1$6ZKHQHQDEOHG
                z   (QIRUFH4R63ROLF\96$7KH5DGLXV96$IRU4R63ROLF\ZLOOEHSDVVHGRQWRWKH
                    8SVWUHDP1$6ZKHQHQDEOHG
           &OLFNRQWKH$GGEXWWRQWRDGGWKLV8SVWUHDP5$',861$6GHILQLWLRQWKHQFOLFNRQWKH%DFN
           WR0DLQ5$',863UR[\6HWWLQJVSDJHOLQNWRUHWXUQWRWKHRADIUS Proxy SettingsVFUHHQ
                7KH8SVWUHDP5$',861$6GHILQLWLRQ\RXMXVWDGGHGDSSHDUVLQWKHOLVW<RXFDQDGGXS
                WRGHILQLWLRQV




              5HSHDW6WHSVWKURXJKWRDGGPRUH8SVWUHDP5$',861$6GHILQLWLRQVDVUHTXLUHG



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                                                                                         $&&(66*$7(:$<

                7RYLHZ\RXUFRQILJXUHG5$',866HUYLFH3URILOHVDQG5HDOP5RXWLQJ3ROLFLHVFOLFNRQ
                  WKHOLQN&OLFNKHUHWRVHHFRQILJXUHG5$',86VHUYLFHSURILOHVDQG5HDOP5RXWLQJ
                  3ROLFLHV WKLVZLOOWDNH\RXWRWKHRealm-Based Routing SettingsVFUHHQ 


             Defining the Realm-Based Routing Settings {Realm-Based Routing}
             8VHWKLVSURFHGXUHZKHQVHWWLQJXS5$',866HUYLFH3URILOHV XSWR DQG5HDOPEDVHG
             5RXWLQJ3ROLFLHV XSWR 
             )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ5HDOP%DVHG5RXWLQJ
             7KHRealm-Based Routing SettingsVFUHHQDSSHDUV




             'HILQH5$',866HUYLFH3URILOHV
             5$',86VHUYLFHSURILOHVDUHXVHGWRGLUHFWXVHUQDPHDFFHVVUHTXHVWVIRUERWKSODLQ5$',86
             XVHUVDQGXVHUVZKRVXSSO\UHDOPGRPDLQLQWKHLUXVHUQDPH
             &UHDWHD5$',86VHUYLFHSURILOHWRD5$',86VHUYHUWKDWZLOOKDQGOH3UHIL[EDVHGXVHUV7KLV
             LVWRKDQGOHXVHUVWKDWZLOOORJLQZLWKDXVHUQDPHLQWKHIRUPDWW\SHRI³,63XVHUQDPH´,QWKLV
             FDVHWKHGHOLPLWHULV³´DQGZKDWDSSHDUVEHIRUHLW³,63´LVWKHUHDOPQDPH
             &UHDWHD5$',86VHUYLFHSURILOHIRUD5$',86VHUYHUWKDWZLOOKDQGOH6XIIL[EDVHGXVHUV
             7KLVLVWRKDQGOHXVHUVWKDWZLOOORJLQZLWKDXVHUQDPHLQWKHIRUPDWW\SHRI

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       $&&(66*$7(:$<

           ³XVHUQDPH#,63FRP´,QWKLVFDVHWKHGHOLPLWHULV³#´DQGZKDWDSSHDUVDIWHULW³,63FRP´
           LVWKHUHDOPQDPH
           7RDGGD5$',866HUYLFH3URILOHFOLFNRQWKHDSSURSULDWH$GGEXWWRQ7KHAdd RADIUS
           Service ProfileVFUHHQDSSHDUV




           (QWHUDQDPHRI\RXUFKRLFHIRUWKLVVHUYLFHSURILOHLQWKH8QLTXH1DPHILHOG

           Authentication
           7KLVFDWHJRU\UHTXLUHVLQSXWIRUHQDEOLQJ5$',86DXWKHQWLFDWLRQDQGUHTXLUHV\RXWRGHILQH,3
           DGGUHVVHVSRUWVDQGVHFUHWNH\VIRUWKHSULPDU\DQGVHFRQGDU\5$',86VHUYHUV WKH
           VHFRQGDU\VHUYHULVRSWLRQDO 
              (QDEOHRUGLVDEOHWKH5$',86$XWKHQWLFDWLRQ6HUYLFHDVUHTXLUHGE\FOLFNLQJRQWKH
                (QDEOH5$',86$XWKHQWLFDWLRQ6HUYLFHFKHFNER[
              ,I\RXHQDEOHGWKH5$',86$XWKHQWLFDWLRQ6HUYLFHHQWHUWKHprimary5$',86
                DXWKHQWLFDWLRQVHUYHU,3DGGUHVVLQWKH3ULPDU\,3ILHOG7KLVILHOGFDQDOVREHSRSXODWHG
                E\D'16QDPHWRDOORZIRUFKDQJLQJWKH'16UHVROXWLRQLQVWHDGRIKDYLQJWRFKDQJH
                VHWWLQJVLQWKH16(ZKHQWKH,3RIWKH5DGLXVVHUYHUFKDQJHV
              (QWHUWKHDXWKRUL]DWLRQSRUWLQWKH3RUWILHOGIRUWKHprimary5$',86DXWKHQWLFDWLRQ
                VHUYHU7KLVLVWKHSRUWWKHV\VWHPXVHVZKHQDXWKRUL]LQJVXEVFULEHUV

       System Administration                                                                            163
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                                                                                        $&&(66*$7(:$<

                (QWHUDVHFUHWNH\LQWKH6HFUHW.H\ILHOGIRUWKHprimary5$',86DXWKHQWLFDWLRQVHUYHU
                  'XULQJWKHDXWKHQWLFDWLRQSURFHVVWKHVHUYHUDQGFOLHQWH[FKDQJHVHFUHWNH\V7KHVHFUHW
                  NH\VPXVWPDWFKIRUFRPPXQLFDWLRQEHWZHHQWKHVHUYHUDQGWKHFOLHQWWRFRQWLQXH7KH
                  VHFUHWNH\LVDYDOXDEOHDQGQHFHVVDU\VHFXULW\PHDVXUH

                           The Access Gateway and the RADIUS servers must use the same secret key.

                5HSHDW6WHSVWKURXJKIRUWKHsecondary5$',86DXWKHQWLFDWLRQVHUYHU LIXVHG 

             Accounting
             7KLVFDWHJRU\UHTXLUHVLQSXWIRUHQDEOLQJWKH5$',86DFFRXQWLQJVHUYLFHDQGDOVRUHTXLUHV
             WKHQHFHVVDU\,3DGGUHVVHVSRUWVDQGVHFUHWNH\VIRUWKHSULPDU\DQGVHFRQGDU\5$',86
             DFFRXQWLQJVHUYHUV7KH5$',86DFFRXQWLQJVHUYHULVUHVSRQVLEOHIRUUHFHLYLQJDFFRXQWLQJ
             UHTXHVWVDQGUHWXUQLQJDUHVSRQVHWRWKHFOLHQWLQGLFDWLQJWKDWLWKDVUHFHLYHGWKHUHTXHVW
                7RHQDEOHWKHDFFRXQWLQJVHUYLFHIRU\RXU5$',86IXQFWLRQDOLW\FOLFNRQWKHFKHFNER[
                  IRU(QDEOH5$',86$FFRXQWLQJ6HUYLFH
                (QWHUWKHprimary5$',86DFFRXQWLQJVHUYHU,3DGGUHVVLQWKH3ULPDU\,3ILHOG
                (QWHUWKHDFFRXQWLQJSRUWLQWKH3RUWILHOGIRUWKHprimary5$',86DFFRXQWLQJVHUYHU
                  7KLVLVWKHSRUWWKHV\VWHPXVHVZKHQFRPPXQLFDWLQJDFFRXQWLQJUHFRUGV
                (QWHUDVHFUHWNH\LQWKH6HFUHW.H\ILHOGIRUWKHprimary5$',86DFFRXQWLQJVHUYHU
                5HSHDW6WHSVWKURXJKIRUWKHsecondary5$',86DFFRXQWLQJVHUYHU LIXVHG 

             Retransmission Options
             7KLVFDWHJRU\UHTXLUHV\RXWRGHILQHWKHGDWDUHWUDQVPLVVLRQPHWKRG IDLORYHURUURXQGURELQ 
             WKHUHWUDQVPLVVLRQIUHTXHQF\DQGKRZPDQ\UHWUDQVPLVVLRQVWKHV\VWHPVKRXOGDWWHPSW
                6HOHFWWKH5HWUDQVPLVVLRQ0HWKRG FailoverRURound Robin 
                (QWHUDYDOXHIRUWKHWLPH LQVHFRQGV LQWKH5HWUDQVPLVVLRQ)UHTXHQF\ILHOG7KLVYDOXH
                  GHWHUPLQHVKRZPXFKWLPHHODSVHVEHWZHHQWUDQVPLVVLRQDWWHPSWV
                (QWHUDQXPHULFYDOXHLQWKH5HWUDQVPLVVLRQ$WWHPSWV SHUVHUYHU ILHOGWRGHILQHKRZ
                  PDQ\WLPHVWKHV\VWHPDWWHPSWVWRWUDQVPLWWKHGDWD
                &OLFNRQWKH$GGEXWWRQWRDGGWKLV5$',866HUYLFH3URILOH
                :KHQ\RXKDYHFRPSOHWHGWKHGHILQLWLRQRI\RXU5$',866HUYLFH3URILOH\RXFDQUHWXUQ
                  WRWKHSUHYLRXVVFUHHQ 5HDOP%DVHG5RXWLQJ6HWWLQJV E\FOLFNLQJRQWKH%DFNWR0DLQ
                  5HDOP%DVHG5RXWLQJ6HWWLQJVSDJHOLQN
                  7KH5$',866HUYLFH3URILOH\RXMXVWFUHDWHGLVDGGHGWRWKHOLVW




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       $&&(66*$7(:$<

           'HILQH5HDOP5RXWLQJ3ROLFLHV
           5HDOPURXWLQJSROLFLHVDUHXVHGWRGHWHUPLQHKRZVXSSOLHGXVHUQDPHSDVVZRUGLQSXWLVXVHGWR
           DXWKHQWLFDWHXVHUV&UHDWHDUHDOPURXWLQJSROLF\IRUHDFKUHDOPWKDWZLOOEHKDQGOHG7KHUHDOP
           URXWLQJSROLF\ZLOOUHIHUHQFHHLWKHUD5$',86VHUYLFHSURILOHRUDWXQQHOSURILOH0DQ\
           GLIIHUHQWUHDOPURXWLQJSROLFLHVFDQUHIHUHQFHWKHVDPH5$',86VHUYLFHRUWXQQHOSURILOH
           7KLVSROLF\UHIHUHQFHVD5$',86VHUYLFHSURILOHVRDUHDOPPDWFKZLOOUHVXOWLQDQDFFHVV
           UHTXHVWEHLQJVHQWWRWKH5$',86VHUYHU V VSHFLILHGLQWKH5$',86VHUYLFHSURILOH,QWKLV
           FDVHWKH5$',86VHUYLFHSURILOH³5DGLXV3UHIL[´LVUHIHUHQFHGDQGVRWKH5$',86VHUYHU V 
           GHILQHGWKHUHLQZLOOUHFHLYH5$',86DFFHVVUHTXHVWV
           1RWLFHWKDWWKHFKHFNER[LVXQFKHFNHGIRU³6WULSRIIURXWLQJLQIRUPDWLRQZKHQVHQGLQJWR
           5$',86VHUYHU´7KLVER[PXVWDOZD\VEHXQFKHFNHGLQRUGHUWRSDVVUHDOPLQIRUPDWLRQWR
           WKH5$',86VHUYHU V IRUPDWFKLQJRIUHDOPLQIRUPDWLRQWRLWVGHILQHGWXQQHOSURILOHVZKLFK
           FRQWDLQWKHQHHGHGWXQQHOSDUDPHWHUV
           7KHFKHFNER[³6WULSRIIURXWLQJLQIRUPDWLRQZKHQVHQGLQJWRWXQQHOVHUYHU´PD\RUPD\QRW
           EHFKHFNHGGHSHQGLQJRQWKHFRQILJXUDWLRQRIWKHWXQQHOVHUYHUDQGKRZLWZLOOEH
           DXWKHQWLFDWLQJVXEVFULEHUV,QWKLVH[DPSOHLWLVFKHFNHGDQGVRUHDOPLQIRUPDWLRQZLOOEH
           VWULSSHGOHDYLQJRQO\WKHVLPSOHXVHUQDPHDQGSDVVZRUGWREHSDVVHGWRWKHWXQQHOVHUYHU
           7KHWXQQHOVHUYHULQWKLVFDVHLVFRQILJXUHGWRDXWKHQWLFDWHXVHUVYLDDQRWKHU5$',86VHUYHU
           WKDWKDQGOHVDVLQJOHUHDOP6LQFHLWKDQGOHVDVLQJOHUHDOPQRUHDOPLQIRUPDWLRQLVQHHGHGIRU
           XVHUVDQGVRPXVWEHVWULSSHG,QWKLVFDVHLWLVVWULSSHGE\WKH16(EXWLWFRXOGHDVLO\KDYH
           EHHQVWULSSHGE\WKHWXQQHOVHUYHURUE\WKHWXQQHOVHUYHU¶V5$',86VHUYHU7KLVLVE\GHVLJQ
           DQGIRUPD[LPXPIOH[LELOLW\
           $OVRQRWHWKDWWKH³/RFDOKRVWQDPH´ILHOGLVEODQNZKLFKPHDQVWKDWWKH16(¶VGHIDXOWORFDO
           KRVWQDPHRI³XVJBODF´ZLOOEHXVHGE\WKH16(7KLVDOORZVIRUVHWWLQJWKHORFDOKRVWQDPHWR
           DQ\GHVLUHGYDOXHRWKHUWKDQWKHGHIDXOW
              7RDGGD5$',866HUYLFH3URILOHFOLFNRQWKHDSSURSULDWH$GGEXWWRQRQWKHRealm-
                Based Routing SettingsVFUHHQ
                7KHAdd Realm Routing Policy VFUHHQDSSHDUV
              7RPDNHWKLVHQWU\WKH³DFWLYH´HQWU\FOLFNRQWKH(QWU\$FWLYHFKHFNER[
              7RGHILQHDVSHFLILFUHDOPFKRRVHWKH6SHFLILF5HDOPRSWLRQDQGHQWHUWKHGHVWLQDWLRQLQ
                WKH5HDOP1DPHILHOG$OWHUQDWLYHO\\RXFDQFKRRVHWKH:LOGFDUGPDWFKRSWLRQWKHQ
                GHILQH\RXUVHDUFKRSWLRQV
                z   3UHIL[PDWFKRQO\
                z   6XIIL[PDWFKRQO\
                z   0DWFKHLWKHU
              6HOHFWWKHUHTXLUHG5$',866HUYLFH3URILOHIURPWKHSXOOGRZQPHQX


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                                                                                           $&&(66*$7(:$<

                &OLFNRQWKH6WULSRIIURXWLQJLQIRUPDWLRQFKHFNER[LI\RXZDQWWRUHPRYHWKHURXWLQJ
                  LQIRUPDWLRQ
                &OLFNRQWKH$GGEXWWRQWRDGGWKLV5HDOP5RXWLQJ3ROLF\
                :KHQ\RXKDYHFRPSOHWHGWKHGHILQLWLRQRI\RXU5HDOP5RXWLQJ3ROLF\\RXFDQUHWXUQWR
                  WKHSUHYLRXVVFUHHQ 5HDOP%DVHG5RXWLQJ6HWWLQJV E\FOLFNLQJRQWKH%DFNWR0DLQ
                  5HDOP%DVHG5RXWLQJ6HWWLQJVSDJHOLQN
                  7KHVFUHHQEHORZVKRZVDUHDOPURXWLQJSROLF\WKDWKDQGOHVSUHIL[EDVHGXVHUQDPHVXVLQJ
                  D5$',86VHUYLFHSURILOH1RWLFHWKDW³6SHFLILF5HDOP´LVFOLFNHGDQGWKH³5HDOPQDPH´
                  LV³FLVS´$OVRQRWLFHWKDW³3UHIL[PDWFKRQO\´LVFOLFNHGDQGWKDWWKHGHOLPLWHULV³´7KLV
                  PHDQVWKDWWKLVUHDOPURXWLQJSROLF\ZLOOPDWFKXVHUQDPHVWKDWDUHRIWKHIRUPDW³FLVS
                  XVHUQDPH´




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       $&&(66*$7(:$<

           &RQILJXUH5$',86&OLHQW
           7KH16(5$',86FOLHQWPXVWEHVHWXSIRUUHDOPEDVHGURXWLQJPRGHVLQFHUHDOPLQIRUPDWLRQ
           ZLOOEHXVHGWRGHWHUPLQHKRZWRKDQGOHXVHUQDPHVWKDWFRQWDLQUHDOPLQIRUPDWLRQ7KHVFUHHQ
           EHORZVKRZVDQH[DPSOHRIVHWWLQJWKHURXWLQJPRGHWRKDQGOHUHDOPEDVHGXVHUQDPHV




                                                            <RXUQHZ5$',866HUYLFH3URILOHVDUH
                                                                      DGGHGWRWKHOLVW




                                                               <RXUQHZ5HDOP5RXWLQJ3ROLFLHVDUH
                                                                        DGGHGWRWKHOLVW




           7KH5HDOP5RXWLQJ3ROLF\\RXMXVWFUHDWHGLVDGGHGWRWKHOLVW




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                                                                                       $&&(66*$7(:$<

             Managing SMTP Redirection {SMTP}
             :KHQ6073UHGLUHFWLRQLVHQDEOHG IRUPLVFRQILJXUHGRUSURSHUO\FRQILJXUHGVXEVFULEHUV WKH
             $FFHVV*DWHZD\UHGLUHFWVWKHVXEVFULEHU¶V(PDLOWKURXJKDGHGLFDWHG6073VHUYHULQFOXGLQJ
             6073VHUYHUVZKLFKVXSSRUWORJLQDXWKHQWLFDWLRQ7RWKHVXEVFULEHUVHQGLQJDQGUHFHLYLQJ(
             PDLOLVDVHDV\DVLW¶VDOZD\VEHHQ7KLVIXQFWLRQLVWUDQVSDUHQWWRVXEVFULEHUV
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFN&RQILJXUDWLRQWKHQ60737KHSMTP
                  Redirection SettingsVFUHHQDSSHDUV




                &OLFNRQWKHFKHFNER[IRU60735HGLUHFWLRQ 0LVFRQILJXUHG WRHQDEOHWKLVIHDWXUHIRU
                  ³PLVFRQILJXUHG´VXEVFULEHUV
                &OLFNRQWKHFKHFNER[IRU60735HGLUHFWLRQ 3URSHUO\&RQILJXUHG WRHQDEOHWKLV
                  IHDWXUHIRU³SURSHUO\FRQILJXUHG´VXEVFULEHUV
                  ,I\RXHQDEOH6073UHGLUHFWLRQ\RXPXVWSURYLGHWKH,3DGGUHVVRIWKH6073VHUYHU
                ,QWKH60736HUYHU,3'16ILHOGHQWHUWKHDGGUHVVRIWKH6073VHUYHU\RXZDQWWRXVH
                )RU6073VHUYHUVZKLFKVXSSRUWORJLQDXWKHQWLFDWLRQHQWHUDYDOLGXVHUQDPHLQWKH6073
                  6HUYHU$FFRXQW8VHUQDPHILHOG
                )RU6073VHUYHUVZKLFKVXSSRUWORJLQDXWKHQWLFDWLRQHQWHUDYDOLGSDVVZRUGLQWKH6073
                  6HUYHU$FFRXQW3DVVZRUGILHOG
                &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVRUFOLFNRQWKH5HVWRUHEXWWRQLI\RXZDQW
                  WRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH




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       $&&(66*$7(:$<

           Managing the SNMP Communities {SNMP}
           <RXFDQDGGUHVVWKH$FFHVV*DWHZD\XVLQJDQ6103FOLHQWPDQDJHU IRUH[DPSOH+3
           2SHQ9LHZ 6103LVWKHVWDQGDUGSURWRFROWKDWUHJXODWHVQHWZRUNPDQDJHPHQWRYHUWKH
           ,QWHUQHW7RGRWKLV\RXPXVWVHWXSWKH6103FRPPXQLWLHVDQGLGHQWLILHUV)RUPRUH
           LQIRUPDWLRQDERXW6103VHH³8VLQJDQ61030DQDJHU´RQSDJH 

                        If you want to use SNMP, you must manually turn on SNMP.

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ61037KHSNMP
                SettingsVFUHHQDSSHDUV




              &OLFNRQWKHFKHFNER[IRU6103'DHPRQWRHQDEOHWKLVIXQFWLRQDOLW\
              ,IGHVLUHG\RXFDQFKDQJHWKH6103'DHPRQ/LVWHQLQJ3RUW7KLVLVVHWE\GHIDXOWWRSRUW
                

                        If you change the SNMP Daemon Listening Port, any external services or
                        applications that communicate with the NSE via SNMP will be affected.




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                                                                                        $&&(66*$7(:$<

                (QWHUWKH6103SDUDPHWHUV FRPPXQLWLHVDQGLGHQWLILHUV LQFOXGLQJ
                  z   6\VWHP&RQWDFW
                  z   6\VWHP/RFDWLRQ
                  z   *HW 5HDG &RPPXQLW\
                  z   6HW :ULWH &RPPXQLW\
                  z   7UDS&RPPXQLW\
                  z   7UDS5HFLSLHQW,3
                  z   6SHFLI\'$77UDS,QWHUYDO  VHF
                  z   FKHFNWKHER[WRHQDEOH(WKHUQHW/LQN7UDSV
                  <RXU6103PDQDJHUQHHGVWKLVLQIRUPDWLRQWRHQDEOHQHWZRUNPDQDJHPHQWRYHUWKH
                  ,QWHUQHW
                &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVRUFOLFNRQWKH5HVWRUHEXWWRQLI\RXZDQW
                  WRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH
                  <RXFDQQRZXVH\RXU6103FOLHQWWRPDQDJHWKH$FFHVV*DWHZD\YLDWKH,QWHUQHW


             Enabling Dynamic Multiple Subnet Support (Subnets)
             1RPDGL[¶G\QDPLFPXOWLSOHVXEQHWVXSSRUWDOORZV\RXWRFUHDWHIOH[LEOHDQGFRVWHIIHFWLYH,3
             SRROVROXWLRQVWRPHHWWKHGHPDQGVRIFRPSOH[QHWZRUNVLQODUJHUHVLGHQWLDODQGSXEOLFDFFHVV
             QHWZRUNV)RUH[DPSOH\RXFDQGHILQHWKHXVHU VVXEQHWYLDWKHPDQDJHPHQWLQWHUIDFHV




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       $&&(66*$7(:$<

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ6XEQHWV7KHPublic
                Subnets SettingsVFUHHQDSSHDUV




           7RDGGD6XEQHW
              (QWHUDYDOLG,3DGGUHVVIRUWKLVVXEQHWLQWKH6XEQHWILHOG
              (QWHUWKHVXEQHWPDVNIRUWKLVVXEQHWLQWKH6XEQHW0DVNILHOG
              &OLFNRQWKH$GGEXWWRQWRDGGDQHZSXEOLFVXEQHW

                         To edit the “Current Public DHCP Subnets” table, go to ³0DQDJLQJWKH'+&3
                         VHUYLFHRSWLRQV^'+&3`´RQSDJH .
                         For additional information about the multiple subnet feature, go to ³&RQWDFW
                         ,QIRUPDWLRQ´RQSDJH  for Nomadix Technical Support.


           Displaying Your Configuration Settings {Summary}
           <RXFDQGLVSOD\DVXPPDU\OLVWLQJRIDOO\RXUFXUUHQWConfigurationVHWWLQJV
           7RYLHZWKHVXPPDU\OLVWLQJJRWRWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQ
           WKHQFOLFNRQ6XPPDU\



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                                                                                      $&&(66*$7(:$<

             7KHSummary of Configuration SettingsVFUHHQDSSHDUV SDUWLDOVFUHHQVKRZQKHUH 




                 0RUHOLVWLQJV


             Setting the System Date and Time {Time}
             <RXFDQVHWWKHV\VWHPWLPHIURPORFDOKDUGZDUHRU\RXUFKRLFHRI173VHUYHU V 
             7KH16(VXSSRUWVDXWRPDWLFGD\OLJKW6DYLQJV7LPHDGMXVWPHQWDQGRIILFLDO,$1$ LDQDRUJ 
             WLPH]RQHV<RXPD\DOVRVSHFLI\D87&RIIVHW




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       $&&(66*$7(:$<

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ7LPH7KHSet Date
                and TimeVFUHHQDSSHDUV




              6HOHFWWKHPHWKRGIRUWLPH]RQHFRQILJXUDWLRQHLWKHU,$1$7LPH=RQH'DWDEDVHRU
                *HQHULF87&RIIVHW87&LVWKH8QLYHUVDO&RRUGLQDWHG7LPHEDVHGRQWKH,62
                VWDQGDUGDQGLVXVHGLQFRQMXQFWLRQZLWK5$',86VHUYHUV IRUH[DPSOHLIWKH5$',86
                VHUYHULVVHWXSIRUDWLPH]RQHWKDWLVGLIIHUHQWIURPWKH$FFHVV*DWHZD\ 
              6HOHFWWKHFORFNVRXUFHHLWKHU,QWHUQDO7LPHWRXVHWKHORFDOKDUGZDUHWLPHRU([WHUQDO
                 173 LI\RXZDQWWRXVH173LQVWHDGRIWKHLQWHUQDOFORFNRIWKH16(
                ,I\RXVHOHFW,QWHUQDO7LPHFRQILUPDQG LIQHFHVVDU\ DGMXVWWKHGDWHDQGWLPH$IWHU\RX
                FOLFN6DYHWKHV\VWHPZULWHVWKHLQIRUPDWLRQLQWRLWV%,26WKHQGLVSOD\VWKHQHZGDWH
                DQGWLPH
                ,I\RXVHOHFW([WHUQDO7LPH
                z   ,QWKH6HUYHU7LPHRXWILHOGHQWHUWKHQXPEHURIVHFRQGVEHIRUHWKH16(JLYHVXSRQ
                    UHFHLYLQJDWLPHUHVSRQVHIURPWKH173VHUYHU


       System Administration                                                                            173
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                                                                                         $&&(66*$7(:$<

                  z   ,QWKH7LPH6HUYHUILHOGVHQWHUXSWRGLIIHUHQW173VHUYHUVWRTXHU\IRUWKH
                      FRUUHFWWLPH
                :KHQILQLVKHGFOLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVRUFOLFNRQWKH5HVWRUH
                  EXWWRQLI\RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH


             Setting up Traffic Descriptors {Traffic Descriptors}
             7UDIILF'HVFULSWRUVDUHDGHSHQGHQF\RIFUHDWLQJUXOHVIRUD4XDOLW\RI6HUYLFH3ROLF\7KH
             7UDIILF'HVFULSWRUVDUHKRZWKH$FFHVV*DWHZD\LGHQWLILHVVXEVFULEHUWUDIILF7KH\DUH
             FRQGLWLRQVRUDJURXSRIFRQGLWLRQVWKDWDUHOLQNHGWRDGHVFULSWLRQ
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ7UDIILF'HVFULSWRU
                  7KHTraffic Descriptor SettingsVFUHHQDSSHDUV




       174                                                                            System Administration
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       $&&(66*$7(:$<

              6HOHFW$GGWRFUHDWHDQHZ7UDIILF'HVFULSWRURUVHOHFWDOLQNWRDQH[LVWLQJGHVFULSWRUWR
                PRGLI\LW7KH$GG7UDIILF'HVFULSWRUVFUHHQDSSHDUV




              (QWHUDQDPHIRUWKHGHVFULSWRULQWKH8QLTXH1DPHILHOG
              (QWHUDEULHIVXPPDU\DERXWWKHGHVFULSWRULQWKH'HVFULSWLRQILHOG
              6HWFRQGLWLRQPDWFKLQJWRUHTXLUHDPDWFKWR$OOFRQGLWLRQVRU$Q\RQHRIWKHFRQGLWLRQV
                7KLVFRQGLWLRQOLVWGLVSOD\VDOLVWRIWKHFRQGLWLRQVWKDWKDYHEHHQGHILQHGIRUWKLV
                GHVFULSWRU
                6HOHFWDFRQGLWLRQW\SHIURPWKH$GG&RQGLWLRQPHQXDQGGHILQHWKHPDWFKLQJ
                SDUDPHWHUV2QFHDGGHGFRQGLWLRQVZLOOEHGLVSOD\HGLQWKHFRQGLWLRQOLVW
              6HOHFW5HPRYHWRUHPRYHDFRQGLWLRQIURPWKLVGHVFULSWRU
              6HOHFW$GG'HVFULSWRUWRDFFHSWWKHSDUDPHWHUVDQGFRQGLWLRQVGHILQHGDQGDGGWKH
                GHVFULSWRUWRWKHGHVFULSWRUOLVWRQWKHPDLQSDJH




       System Administration                                                                              175
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                                                                                         $&&(66*$7(:$<

             Setting Up URL Filtering {URL Filtering}
             7KH$FFHVV*DWHZD\FDQUHVWULFWDFFHVVWRVSHFLILHG:HEVLWHVEDVHGRQ85/VGHILQHGE\WKH
             V\VWHPDGPLQLVWUDWRU85/ILOWHULQJZLOOEORFNDFFHVVWRDOLVWRIVLWHVDQGRUGRPDLQVHQWHUHG
             E\WKHDGPLQLVWUDWRUXVLQJWKHIROORZLQJWKUHHPHWKRGV
                  z   +RVW,3DGGUHVV IRUH[DPSOH
                  z   +RVW'16QDPH IRUH[DPSOHZZZ\DKRRFRP
                  z   '16GRPDLQQDPH IRUH[DPSOH \DKRRFRPPHDQLQJDOOVLWHVXQGHUWKH
                      \DKRRFRPKLHUDUFK\VXFKDVILQDQFH\DKRRFRPVSRUWV\DKRRFRPHWF 
             7KHV\VWHPDGPLQLVWUDWRUFDQG\QDPLFDOO\DGGRUUHPRYHVSHFLILF,3DGGUHVVHVDQGGRPDLQ
             QDPHVWREHILOWHUHGIRUHDFKSURSHUW\
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ85/)LOWHULQJ7KH
                  URL Filtering Address SettingsVFUHHQDSSHDUV




                ,I\RXZDQWWRHQDEOHWKLVIHDWXUHFOLFNRQWKHFKHFNER[IRU85/)LOWHULQJ
                &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUVHWWLQJ
                ,I85/)LOWHULQJLVHQDEOHG\RXFDQDGG RUUHPRYH XSWRDGGUHVVHVLQWKH,3'16
                  1DPHILHOG$IWHUHQWHULQJWKHDGGUHVV\RXZDQWWRDGGVLPSO\FOLFNRQWKH$GGEXWWRQ
                   WKHDGGUHVVZLOOEHDGGHGWRWKHGLVSOD\HGOLVW $GGRUUHPRYHDGGUHVVHVDVUHTXLUHG




       176                                                                            System Administration
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       $&&(66*$7(:$<

           Selecting User Agent Filtering Settings
           7KH$FFHVV*DWHZD\FDQLJQRUHWUDIILFEHLQJJHQHUDWHGE\XQVXEVFULEHGXVHUGHYLFHVWKDWDUH
           QRWDFFHVVLQJZDOOHGJDUGHQVLWHVRUDQXQDXWKHQWLFDWHGXVHUV
              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ8VHU$JHQW)LOWHULQJ
                7KHUser Agent Filtering SettingsVFUHHQDSSHDUV




              (QDEOH8VHU$JHQW)LOWHULQJWRXVHWKHILOWHULQJFDSDELOLWLHVIRUWKH8VHU$JHQWV
              $GGWKHQDPHVRIWKHGLIIHUHQW8VHU$JHQWVWKDW\RXZDQWWRILOWHUWRWKH+7738VHU
                $JHQWQDPHILHOG:LQGRZV8SGDWHDQG$SSOHL7XQHVDUHGHIDXOWILOWHUHG$JHQWV


           Zone Migration
           =RQHPLJUDWLRQLVDQH[SDQVLRQRIWKH16(¶V³UHORJLQDIWHUPLJUDWLRQ´FDSDELOLW\ZKLFK
           FXUUHQWO\DOORZVWKHV\VWHPWRIRUFHDVXEVFULEHUWRORJLQDJDLQLIWKHVXEVFULEHUPRYHVIURP
           RQHSRUWORFDWLRQWRDQRWKHU=RQHPLJUDWLRQVLJQLILFDQWO\H[SDQGVWKLVFDSDELOLW\YLDWKH
           IROORZLQJPHDQV
                z   ,WDOORZVWKHFUHDWLRQRIPXOWLSOH]RQHVZKLFKDUHWKHQFRQVWLWXWHGE\JURXSLQJVRI
                    PXOWLSOHSRUWORFDWLRQV7KHVHJURXSLQJVFDQEHPDGHXSRIDQ\FRPELQDWLRQRI
                    GHVLUHGSRUWV SRUWYDOXHVGRQRWKDYHWREHVHTXHQWLDOLQRUGHUWREHJURXSHGZLWKLQD
                    JLYHQ]RQH 
                z   7KHUHORJLQUHTXLUHPHQWFDQWKHQEHFRQILJXUHGVRWKDWVXEVFULEHUVFDQPRYHIURP
                    RQHSRUWWRDQRWKHUZLWKLQD]RQHZLWKRXWEHLQJUHTXLUHGWRUHORJLQ+RZHYHUZKHQ
                    PRYLQJEHWZHHQSRUWVLQGLIIHUHQW]RQHVWKHUHORJLQUHTXLUHPHQWLVHQIRUFHG
                z   ,WLVDOVRSRVVLEOHWRFRQILJXUHD]RQHVRWKDWPLJUDWLRQEHWZHHQSRUWVZLWKLQWKH]RQH
                    UHTXLUHVWKHXVHUWRUHORJLQ




       System Administration                                                                            177
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                                                                                          $&&(66*$7(:$<

                  z   ,QDGGLWLRQWKHUHORJLQDIWHUPLJUDWLRQIXQFWLRQZDVSUHYLRXVO\OLPLWHGWR5$',86
                      DQG306XVHUV7KLVFDSDELOLW\KDVQRZEHHQH[WHQGHGWRRWKHUVXEVFULEHUORJLQW\SHV
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ&RQILJXUDWLRQWKHQ=RQH0LJUDWLRQ7KH
                  Zone Migration SettingsVFUHHQDSSHDUV




                6HOHFW5HORJLQDIWHUPLJUDWLRQWRHQDEOHWKH=RQH0LJUDWLRQIHDWXUH

             $GGDQHZ=RQH
             ,QWKH=RQH%DVHG0LJUDWLRQVHFWLRQQHZ]RQHVFDQEHDGGHGDQGLQLWLDOO\FRQILJXUHGXVLQJ
             WKHIROORZLQJSDUDPHWHUILHOGV
                  z   =RQH1DPH±$OORZVHQWU\RIDQDPHDSSURSULDWHIRUWKH]RQHWREHFUHDWHG7KH
                      QDPHPXVWEHXQLTXHFDQQRWH[FHHGFKDUDFWHUVDQGFDQQRWFRQWDLQFKDUDFWHUVWKDW
                      DUHQRWDOSKDQXPHULFGDVKXQGHUVFRUHRUVSDFH
                  z   3RUW/RFDWLRQV±7KLVLVZKHUHWKHSRUWFRQILJXUDWLRQIRUWKH]RQHLVHQWHUHG7KH
                      GDWDPXVWEHHQWHUHGDVDVWULQJEHWZHHQDQGFKDUDFWHUVLQOHQJWK7KHVWULQJ
                      PXVWFRQWDLQHLWKHUDQLQGLYLGXDOQXPHULFYDOXH  DFRPPDVHSDUDWHGOLVWRI
                      QXPHULFYDOXHV  DUDQJHRIQXPHULFYDOXHVZLWKGDVKVHSDUDWHGGHOLPLWHUV
                        DOLVWRIUDQJHVRIQXPHULFYDOXHV  RUDFRPPD
                      VHSDUDWHGOLVWRILQGLYLGXDOQXPHULFYDOXHVDQGUDQJHV  
                  z   'HVFULSWLRQ±$OORZVHQWU\RIDGHVFULSWLRQIRUWKH]RQH7KLVPXVWEHDVWULQJ
                      EHWZHHQDQGFKDUDFWHUVLQOHQJWKDQGFDQQRWFRQWDLQFKDUDFWHUVWKDWDUHQRW
                      DOSKDQXPHULFGDVKXQGHUVFRUHRUVSDFH



       178                                                                           System Administration
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       $&&(66*$7(:$<

           ,QHDFKRIWKHVHILHOGVDQ\OHDGLQJRUWUDLOLQJVSDFHVZLOOEHUHPRYHGE\WKH16(ZKHQWKH
           SDJHLVVXEPLWWHG

           5HORJLQZLWKLQ=RQH
           7KLVVHOHFWLRQSURYLGHVWKHRSWLRQWRUHTXLUHUHORJLQDIWHUPLJUDWLRQEHWZHHQSRUWVWKDWDUH
           ZLWKLQDJLYHQ]RQH7KHGHIDXOWLV'LVDEOHG

           ([LVWLQJ=RQHV
           =RQHVWKDWKDYHDOUHDG\EHHQGHILQHGDUHOLVWHGKHUHDQGFDQEHHGLWHGRUGHOHWHG(Note: The
           description field is not displayed in the list view).


       1HWZRUN,QIR0HQX

           Displaying ARP Table Entries {ARP}
           <RXFDQGLVSOD\DWDEOHWKDWVKRZVWKHFXUUHQWVWDWXVRIWKH$53 $GGUHVV5HVROXWLRQ3URWRFRO 
           DVVLJQPHQWV$53LVXVHGWRG\QDPLFDOO\ELQGDKLJKOHYHO,3DGGUHVVWRDORZOHYHOSK\VLFDO
           KDUGZDUH 0$& DGGUHVV$53LVOLPLWHGWRDVLQJOHSK\VLFDOQHWZRUNWKDWVXSSRUWVKDUGZDUH
           EURDGFDVWLQJ
           7RYLHZWKHARP TableJRWRWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ1HWZRUN,QIRWKHQ
           FOLFNRQ$53
           7KHARP TableVFUHHQDSSHDUV




           Displaying DAT Sessions {DAT}
           '\QDPLF$GGUHVV7UDQVODWLRQ '$7 DOORZVDOOXVHUVWRREWDLQQHWZRUNDFFHVVUHJDUGOHVVRI
           WKHLUFRPSXWHU¶VQHWZRUNVHWWLQJV


       System Administration                                                                               179
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                                                                                          $&&(66*$7(:$<

             7RYLHZWKHDAT Session TableJRWRWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ1HWZRUN,QIR
             WKHQFOLFNRQ'$7
             7KHDAT Session TableVFUHHQDSSHDUV




             &OLFNRQWKH'HOHWHDOOVHVVLRQVEXWWRQWRFOHDUDOOFXUUHQWVXEVFULEHUVHVVLRQV

                          Deleting DAT sessions will cause all misconfigured subscribers to lose their
                          Internet connection for a short period of time.




             Displaying the Host Table {Hosts}
             <RXFDQGLVSOD\DWDEOHZKLFKOLVWVWKHKRVWVWKDWDUHFXUUHQWO\FRQILJXUHG7KLVWDEOHLQFOXGHV
             WKHDVVLJQHGKRVWQDPHVWKHLUFRUUHVSRQGLQJ,3DGGUHVVHVDQGDQ\DOLDVHVWKDWPD\EH
             DVVLJQHGWRHDFKKRVW+RVWVSURYLGHVHUYLFHVWRRWKHUFRPSXWHUVWKDWDUHOLQNHGWRLWE\D
             QHWZRUN
             7RYLHZWKHHost TableJRWRWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ1HWZRUN,QIRWKHQ
             FOLFNRQ+RVWV




       180                                                                             System Administration
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       $&&(66*$7(:$<

           7KHHost TableVFUHHQDSSHDUV




           Displaying ICMP Statistics {ICMP}
           <RXFDQGLVSOD\WKHFXUUHQW,&03 ,QWHUQHW&RQWURO0HVVDJH3URWRFRO VWDWLVWLFV,&03LVD
           VWDQGDUG,QWHUQHWSURWRFROWKDWGHOLYHUVHUURUDQGFRQWUROPHVVDJHVIURPKRVWVWRPHVVDJH
           UHTXHVWHUV7KHVHVWDWLVWLFVDUHSUHVHQWHGDVDOLVWLQJZKLFKGHWDLOVWKHFXUUHQWVWDWXVRIHDFK
           ,&03WUDQVPLVVLRQHOHPHQW
           7RYLHZWKHICMP StatisticsJRWRWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ1HWZRUN,QIRWKHQ
           FOLFNRQ,&03
           7KHICMP StatisticsVFUHHQDSSHDUV




           Displaying the Network Interfaces {Interfaces}
           <RXFDQGLVSOD\WKHQHWZRUNLQWHUIDFHVZKLFKDUHSUHVHQWHGDVDGHWDLOHGOLVWLQJRIDOOLQWHUIDFH
           FRPPXQLFDWLRQHOHPHQWVDQGWKHLUFXUUHQWVWDWXV
           7RYLHZWKHNetwork InterfacesJRWRWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ1HWZRUN,QIR
           WKHQFOLFNRQ,QWHUIDFHV




       System Administration                                                                              181
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                                                           $&&(66*$7(:$<

             7KHNetwork InterfacesVFUHHQDSSHDUV




       182                                               System Administration
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       $&&(66*$7(:$<

           Displaying the IP Statistics {IP}
           <RXFDQGLVSOD\WKH,3 ,QWHUQHW3URWRFRO VWDWLVWLFVZKLFKDUHSUHVHQWHGDVDGHWDLOHGOLVWLQJRI
           DOO,3HOHPHQWVDQGWKHLUFXUUHQWVWDWXV:LWK,3WUDQVPLVVLRQVGDWDLVEURNHQXSLQWRSDFNHWV
           ZKLFKDUHWKHQVHQWRYHUWKHQHWZRUN%\XVLQJ,3DGGUHVVLQJ,QWHUQHW3URWRFROHQVXUHVWKDW
           WKHGDWDUHDFKHVLWVGHVWLQDWLRQHYHQWKRXJKGLIIHUHQWSDFNHWVPD\³SDVVWKURXJK´GLIIHUHQW
           QHWZRUNVWRJHWWRWKHVDPHORFDWLRQ
           7RYLHZWKHIP StatisticsJRWRWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ1HWZRUN,QIRWKHQ
           FOLFNRQ,3
           7KHIP StatisticsVFUHHQDSSHDUV




           Viewing IPSec Tunnel Status {IPSec}
           7RYLHZWKHFXUUHQW,36HF7XQQHO6WDWXVJRWRWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ
           1HWZRUN,QIRWKHQFOLFNRQ,36HF


           Viewing NAT IP Address Usage {NAT IP Usage}
           7RYLHZWKHFXUUHQW1$7,3$GGUHVV8VDJHJRWRWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ
           1HWZRUN,QIRWKHQFOLFNRQ1$7,38VDJH
           7KHNAT IP UsageVXPPDU\VFUHHQDSSHDUV


       System Administration                                                                              183
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                                                                                      $&&(66*$7(:$<




             Displaying the Routing Tables {Routing}
             <RXFDQGLVSOD\WKHFXUUHQWRouting TablesLQFOXGLQJDQ\G\QDPLFDOO\JHQHUDWHGURXWHV
             XQUHDFKDEOHURXWHVRUZLOGFDUGURXWHV
             7RYLHZWKHRouting TablesVHOHFW1HWZRUN,QIR!5RXWLQJ




       184                                                                         System Administration
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       $&&(66*$7(:$<

           7KHRouting TablesVFUHHQDSSHDUV




           Displaying the Active IP Connections {Sockets}
           <RXFDQGLVSOD\DWDEOHZKLFKSURYLGHVDGHWDLOHGOLVWLQJRIDOOFXUUHQWO\DFWLYH,3 ,QWHUQHW
           3URWRFRO FRQQHFWLRQV
           7RYLHZWKHSocket TableJRWRWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ1HWZRUN,QIRWKHQ
           FOLFNRQ6RFNHWV




       System Administration                                                                             185
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                                                                                          $&&(66*$7(:$<

             7KHSocket TableVFUHHQDSSHDUV




             Displaying the Static Port Mapping Table {Static Port-Mapping}
             <RXFDQGLVSOD\DWDEOHZKLFKSURYLGHVDGHWDLOHGOLVWLQJRIWKHFXUUHQWO\DFWLYHVWDWLFSRUW
             PDSSLQJVFKHPH
             7RYLHZWKHStatic Port-Mapping TableJRWRWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ
             1HWZRUN,QIRWKHQFOLFNRQ6WDWLF3RUW0DSSLQJ
             7KHStatic Port-Mapping TableVFUHHQDSSHDUV




       186                                                                             System Administration
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       $&&(66*$7(:$<

           Displaying TCP Statistics {TCP}
           <RXFDQGLVSOD\WKH7&3 7UDQVPLVVLRQ&RQWURO3URWRFRO VWDWLVWLFVZKLFKDUHSUHVHQWHGDVD
           GHWDLOHGOLVWLQJRIDOO7&3HOHPHQWVDQGWKHLUFXUUHQWVWDWXV7&3LVDVWDQGDUGSURWRFROWKDW
           PDQDJHVGDWDWUDQVPLVVLRQVDFURVVQHWZRUNV
           7RYLHZWKHTCP StatisticsJRWRWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ1HWZRUN,QIRWKHQ
           FOLFNRQ7&3




       System Administration                                                                            187
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                                                                                           $&&(66*$7(:$<

             7KHTCP StatisticsVFUHHQDSSHDUV




             Displaying UDP Statistics {UDP}
             <RXFDQGLVSOD\WKH8'3 8VHU'DWDJUDP3URWRFRO VWDWLVWLFVZKLFKDUHSUHVHQWHGDVDGHWDLOHG
             OLVWLQJRIDOO8'3HOHPHQWVDQGWKHLUFXUUHQWVWDWXV8'3LVDQ,QWHUQHWVWDQGDUGWUDQVSRUWOD\HU
             SURWRFRO,WLVDFRQQHFWLRQOHVVSURWRFROZKLFKDGGVDOHYHORIUHOLDELOLW\DQGPXOWLSOH[LQJWRWKH
             ,QWHUQHW3URWRFRO ,3 


       188                                                                              System Administration
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       $&&(66*$7(:$<

           7RYLHZWKHUDP StatisticsJRWRWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ1HWZRUN,QIRWKHQ
           FOLFNRQ8'3
           7KHUDP StatisticsVFUHHQDSSHDUV




       3RUW/RFDWLRQ0HQX
           7KH3RUW/RFDWLRQFDSDELOLWLHVRQWKH16(KDYHEHHQHQKDQFHG,WLVQRZSRVVLEOHWRGHILQHD
           SROLF\RQDSRUW7KHELOOLQJPHWKRGV 5$',86&UHGLW&DUG306 DQGWKHELOOLQJSODQV
           DYDLODEOHRQHDFKSRUWFDQQRZEHLQGLYLGXDOO\FRQILJXUHG
           7KLVDELOLW\DOORZVIRUKDYLQJGLIIHUHQWELOOLQJPHWKRGVDQGELOOLQJSODQVRQGLIIHUHQWSRUWVRI
           WKH16($SUDFWLFDODSSOLFDWLRQRIWKLVIHDWXUHLVWRKDYHDQRUPDOKRWHOURRPZLWKDSODQ$
           WKDWLVIRUDGD\ZLWK306ELOOLQJDQGKDYHDPHHWLQJURRPZLWKDSODQRIDQKRXU
           ZLWK&UHGLW&DUGELOOLQJ
           7KLVIHDWXUHLVFDOOHG3RUWEDVHG3ROLFLHV3RUWEDVHG3ROLFLHVPXVWEHHQDEOHGIURPWKH
           &RQILJXUDWLRQ!$$$SDJH




       System Administration                                                                            189
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                                                                                       $&&(66*$7(:$<




             Adding and Updating Port-Location Assignments {Add}
             3RUWORFDWLRQVFDQEHDVVLJQHGDWDQ\OHYHO IRUH[DPSOHDVSHFLILFURRPLQDKRWHORU
             DSDUWPHQWEXLOGLQJDIORRUQXPEHUZLQJRUEXLOGLQJ 7KHUHPD\HYHQEHPXOWLSOHSRUWV
             DVVLJQHGWRDVLQJOHURRPRUORFDWLRQ7KH$FFHVV*DWHZD\XVHVDSRUWORFDWLRQDXWKRUL]DWLRQ
             WDEOHWRPDQDJHWKHDVVLJQHGSRUWVDQGHQVXUHDFFXUDWHELOOLQJIRUWKHVHUYLFHVXVHGE\D
             SDUWLFXODUSRUW




       190                                                                          System Administration
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       $&&(66*$7(:$<

           $GGLQJD3RUW/RFDWLRQ$VVLJQPHQW
           7KLVSURFHGXUHVKRZV\RXKRZWRDGGDSRUWORFDWLRQDVVLJQPHQW,I\RXZDQWWRXSGDWHDQ
           H[LVWLQJDVVLJQPHQWJRWR8SGDWLQJD3RUW/RFDWLRQ$VVLJQPHQW
              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ3RUW/RFDWLRQWKHQ$GG7KHAdd Port-
                Location AssignmentsVFUHHQDSSHDUV




              (QWHUDORFDWLRQLGHQWLILHULQWKH/RFDWLRQILHOG/RFDWLRQVFDQEHDVVLJQHGDVDQDOSKD
                QXPHULFRUDOSKDQXPHULFYDOXHunless a PMS interface is used VHHQRWH 

                         If you are using a PMS interface, ensure that the “Location” field consists only
                         of numbers (no alpha characters or symbols).




       System Administration                                                                            191
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                                                                                            $&&(66*$7(:$<


                           All alpha characters (used for locations and descriptions) are case-sensitive.

                ,QWKH3RUWILHOGHQWHUWKHSRUW WKH9/$1,'ZKHQXVLQJ4ZD\ 
                ,QWKH'HVFULSWLRQILHOGHQWHUDPHDQLQJIXOGHVFULSWLRQIRUWKLVSRUWORFDWLRQDVVLJQPHQW
                ³3URYLGH'+&36HUYLFH´LVVHOHFWHGE\GHIDXOW'HVHOHFWWKLVRSWLRQLI\RXZLVKWRGLVDEOH
                  VXEVFULEHUVLGH'+&3IRUWKLVSRUWORFDWLRQ6HH³0DQDJLQJWKH'+&3VHUYLFHRSWLRQV
                  ^'+&3`´RQSDJH 
                (QWHUD6XEQHWIRUWKHSRUWDVVLJQPHQW\RXDUHDGGLQJ
                  <RXPXVWQRZDVVLJQDStateIRUWKLVSRUWORFDWLRQ3RVVLEOHVWDWHVDUHNo ChargeIRUXVLQJ
                  WKLVSRUWORFDWLRQCharge for UseDQGBlocked,I\RXGRQRWDVVLJQDFRQGLWLRQDOVWDWH
                  WKHVWDWHLVUHJLVWHUHGDV³1R&KDUJH´E\GHIDXOW
                ,IDSSOLFDEOHVHOHFWWKH'HIDXOW4R63ROLF\IRUWKHSRUWDVVLJQPHQW\RXDUHDGGLQJ
                6HOHFWWKHFRQGLWLRQDOVWDWH\RXZDQWWRDVVLJQWRWKLVSRUWORFDWLRQ
                  z   ,I\RXFKRRVH&KDUJHIRU8VHDGGLWLRQDOFRQILJXUDWLRQVDUHDYDLODEOH5HIHUWRWKH
                      1RWH3RUWEDVHG3ROLFLHVVKRXOGEHHQDEOHGIURPWKH&RQILJXUDWLRQ!$$$SDJHIRU
                      WKHVHVHWWLQJVWRWDNHHIIHFW
                  z   &KRRVH(QDEOH)DFHERRN/RJLQWRDOORZ)DFHERRNDXWKHQWLFDWLRQ
                  z   &KRRVH(QDEOH5$',86%LOOLQJLI\RXZDQW5$',86ELOOLQJWREHHQDEOHGRQWKLV
                      SRUW
                  z   &KRRVH(QDEOH306%LOOLQJLI\RXZDQW306EDVHGURRPELOOLQJWREHHQDEOHGRQ
                      WKLVSRUW
                  z   &KRRVH(QDEOH&UHGLW&DUG%LOOLQJLI\RXZDQW&UHGLW&DUGEDVHGELOOLQJWREH
                      HQDEOHGRQWKLVSRUW
                      <RXFDQVHOHFWDQ\QXPEHURIELOOLQJPHWKRGVSHUSRUW
                  z   6HOHFWIURP%LOOLQJ3ODQ V DYDLODEOHRQSRUW<RXFDQDVVLJQDVSHFLILFELOOLQJSODQ
                      WRDSRUWHQDEOHDOOH[LVWLQJELOOLQJSODQVRUDVVLJQVSHFLILFELOOLQJSODQVWRWKHSRUW
                  3OHDVHQRWHWKDWZKLOHLWLVSRVVLEOHWRVHWWKHYDOXHRIDSHUSRUWFRQILJXUDWLRQSDUDPHWHU
                  LQGHSHQGHQWO\RIWKHYDOXHRIWKHFRUUHVSRQGLQJJOREDOSDUDPHWHUWKHIHDWXUHLWVHOILV
                  GLVDEOHGIRUDSRUWXQOHVVERWKWKHSHUSRUWDQGJOREDOSDUDPHWHUVDUHVHWWRHQDEOHG7KXV
                  z   5$',86DXWKHQWLFDWLRQIRUDSRUWLVHQDEOHGRQO\LIWKH5$',86&OLHQWLVJOREDOO\
                      HQDEOHG$1'WKHSHUSRUWenable RADIUS billingSDUDPHWHULVVHW
                  z   &UHGLWFDUGELOOLQJIRUDSRUWLVHQDEOHGRQO\LI&UHGLW&DUG6HUYLFHVLVJOREDOO\
                      HQDEOHG$1'WKHSHUSRUWenable Credit Card billingSDUDPHWHULVVHW




       192                                                                               System Administration
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       $&&(66*$7(:$<

                z   306ELOOLQJIRUDSRUWLVHQDEOHGRQO\LI3066HUYLFHVLVJOREDOO\HQDEOHG$1'WKH
                    SHUSRUWenable PMS billingSDUDPHWHULVVHW
                z   )DFHERRNDXWKHQWLFDWLRQIRUDSRUWLVHQDEOHGRQO\LI3RUW%DVHG3ROLFLHVLVHQDEOHG
                    DQGWKDWSRUWDOORZV)DFHERRNDVDQDXWKHQWLFDWLRQW\SH
              &OLFNRQWKH$GGEXWWRQWRVDYH\RXUFKDQJHV WKHPHVVDJH(QWU\DGGHGRUXSGDWHGLQ
                WKHORFDWLRQILOHDSSHDUV RUFOLFNRQWKH5HVWRUHEXWWRQLI\RXZDQWWRUHVHWDOOWKHYDOXHV
                WRWKHLUSUHYLRXVVWDWH

           8SGDWLQJD3RUW/RFDWLRQ$VVLJQPHQW
           7KHSURFHGXUHIRUXSGDWLQJDSRUWORFDWLRQDVVLJQPHQWLVVLPLODUWRDGGLQJDSRUWORFDWLRQ
           DVVLJQPHQW7KHGLIIHUHQFHEHWZHHQWKHWZRSURFHGXUHVLVKRZWKH\DUHSUHVHQWHGWR\RX)RU
           H[DPSOHLI\RXDOUHDG\KDYHSRUWORFDWLRQVDVVLJQHGDQG\RXHQWHUDQH[LVWLQJ³SRUW´YDOXH
           HDFKGDWDILHOGWKDW\RXJRWKURXJK SRUWORFDWLRQVWDWHDQGGHVFULSWLRQ GLVSOD\VWKHYDOXH
           FXUUHQWO\DVVLJQHGWRWKHILHOG
           7RXSGDWHD3RUW/RFDWLRQDVVLJQPHQWVLPSO\XSGDWHWKHILHOGVZLWKQHZYDOXHV

                         If you have updated a port-location assignment, you may want to change its
                         description to distinguish from the old assignment. Although the old assignment
                         will no longer exist in the system, a meaningful description can often be a
                         valuable quick reference guide.


           Exporting Port-Location Assignments {Export}
           7KLVSURFHGXUHVKRZV\RXKRZWRH[SRUW\RXUFXUUHQWSRUWORFDWLRQDVVLJQPHQWVWRWKH
           ³ORFDWLRQW[W´ILOH7KHORFDWLRQW[WILOHLVVWRUHGLQIODVKORFDWLRQW[W UHVLGHQWLQWKH$FFHVV
           *DWHZD\¶VIODVKPHPRU\ 

                         Exporting your current port-location assignments to the Access Gateway’s flash
                         memory will overwrite the existing location.txt file.




       System Administration                                                                                 193
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                                                                                          $&&(66*$7(:$<

                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ3RUW/RFDWLRQWKHQ([SRUW7KHExport
                  Port-Location Assignments VFUHHQDSSHDUV




                &OLFNRQWKH([SRUWEXWWRQWRH[SRUWSRUWORFDWLRQDVVLJQPHQWWRWKHIODVKORFDWLRQW[W
                  ILOH


             Finding Port-Location Assignments by Description {Find by Description}
             7KLVSURFHGXUHVKRZV\RXKRZWRILQGDSRUWORFDWLRQDVVLJQPHQWEDVHGRQLWVGHVFULSWLRQ
             7KLVSURFHGXUHLVXVHIXOLI\RXZDQWWRUHYLHZWKHGHWDLOVRIDVSHFLILFSRUWORFDWLRQ<RXFDQ
             DOVRILQGSRUWORFDWLRQVEDVHGRQWKHLUORFDWLRQRUSRUW
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ3RUW/RFDWLRQWKHQ)LQGE\'HVFULSWLRQ
                  7KHFind a Port-Location Assignment by Description VFUHHQDSSHDUV




                ,QWKH(QWHU'HVFULSWLRQILHOGHQWHUWKHGHVFULSWLRQRIWKHDVVLJQPHQW\RXZDQWWRILQG

                           The system ignores the case (upper or lower) of the characters you enter.

                &OLFNRQWKH6KRZEXWWRQWRYLHZWKHVSHFLILHGSRUWORFDWLRQDVVLJQPHQWRUFOLFNRQWKH
                  5HVWRUHEXWWRQLI\RXZDQWWRUHVHWWKH³GHVFULSWLRQ´YDOXHWRLWVEODQNVWDWH7KH
                  UHTXHVWHGSRUWORFDWLRQLVGLVSOD\HG




       194                                                                             System Administration
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       $&&(66*$7(:$<

           Finding Port-Location Assignments by Location {Find by Location}
           7KLVSURFHGXUHVKRZV\RXKRZWRILQGDSRUWORFDWLRQDVVLJQPHQWEDVHGRQLWVORFDWLRQ7KLV
           SURFHGXUHLVXVHIXOLI\RXZDQWWRUHYLHZWKHGHWDLOVRIDVSHFLILFSRUWORFDWLRQ<RXFDQDOVR
           ILQGSRUWORFDWLRQVEDVHGRQWKHLUGHVFULSWLRQRUSRUW
              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ3RUW/RFDWLRQWKHQ)LQGE\/RFDWLRQ
                7KHFind a Port-Location Assignment by Location VFUHHQDSSHDUV




              ,QWKH(QWHU/RFDWLRQILHOGHQWHUWKHORFDWLRQRIWKHDVVLJQPHQW\RXZDQWWRILQG

                         The system ignores the case (upper or lower) of the characters you enter.

              &OLFNRQWKH6KRZEXWWRQWRYLHZWKHVSHFLILHGSRUWORFDWLRQDVVLJQPHQWRUFOLFNRQWKH
                5HVWRUHEXWWRQLI\RXZDQWWRUHVHWWKH³ORFDWLRQ´YDOXHWRLWVEODQNVWDWH7KHUHTXHVWHG
                SRUWORFDWLRQLVGLVSOD\HG




                                           $FWLYHOLQNWR³3RUW´
                                           SURFHVVLQJVFUHHQ




       System Administration                                                                            195
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                                                                                          $&&(66*$7(:$<

             Finding Port-Location Assignments by Port {Find by Port}
             7KLVSURFHGXUHVKRZV\RXKRZWRILQGDSRUWORFDWLRQDVVLJQPHQWEDVHGRQLWVSRUW7KLV
             SURFHGXUHLVXVHIXOLI\RXZDQWWRUHYLHZWKHGHWDLOVRIDVSHFLILFSRUWORFDWLRQ<RXFDQDOVR
             ILQGSRUWORFDWLRQVEDVHGRQWKHLUGHVFULSWLRQRUORFDWLRQ
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ3RUW/RFDWLRQWKHQ)LQGE\3RUW7KH
                  Find a Port-Location Assignment by Port VFUHHQDSSHDUV




                ,QWKH(QWHU3RUWILHOGHQWHUWKHSRUW\RXZDQWWRILQG

                           The “port” is the VLAN ID (when using 802.1Q 2-way).

                &OLFNRQWKH6KRZEXWWRQWRYLHZWKH3URFHVV3RUW/RFDWLRQ$VVLJQPHQWVVFUHHQRUFOLFN
                  5HVWRUHLI\RXZDQWWRUHVHWWKH³SRUW´YDOXHWRLWVEODQNVWDWH
                  )URPWKLVVFUHHQ\RXFDQFOLFNWKHSRUWQXPEHUWRPRGLI\WKHSRUWFRQILJXUDWLRQRUFOLFN
                  'HOHWHWRGHOHWHWKHSRUW




       196                                                                             System Administration
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       $&&(66*$7(:$<

           Importing Port-Location Assignments {Import}
           7KLVSURFHGXUHVKRZV\RXKRZWRLPSRUWSRUWORFDWLRQDVVLJQPHQWVIURPWKH³ORFDWLRQW[W´
           ILOH7KHORFDWLRQW[WILOHLVVWRUHGLQIODVKORFDWLRQW[W UHVLGHQWLQWKH$FFHVV*DWHZD\¶VIODVK
           PHPRU\ 

                         If you have never exported port-location assignments (since installing the Access
                         Gateway at this site), the location.txt is empty. See also, ³([SRUWLQJ3RUW/RFDWLRQ
                         $VVLJQPHQWV^([SRUW`´RQSDJH . You can create your own location.txt file,
                         FTP to the Access Gateway’s flash directory (for example, [IP address]/flash/
                         location.txt), and upload the file. See also, ³&UHDWLQJD³ORFDWLRQW[W´)LOH´RQ
                         SDJH .

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ3RUW/RFDWLRQWKHQ,PSRUW7KHImport
                Port-Location Assignments VFUHHQDSSHDUV




                                                    &OLFNKHUHWRYLHZWKH³ORFDWLRQW[W´ILOH

              &OLFNRQWKH,PSRUWEXWWRQWRLPSRUWSRUWORFDWLRQDVVLJQPHQWVIURPWKHIODVKORFDWLRQW[W
                ILOH

           9LHZLQJWKH³ORFDWLRQW[W´)LOH
                         <RXFDQFOLFNRQWKH³9LHZORFDWLRQW[W´OLQNLI\RXZDQWWRYLHZWKHFXUUHQW
                         FRQWHQWVRIWKHILOH




       System Administration                                                                                197
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                                                                                           $&&(66*$7(:$<

             &UHDWLQJD³ORFDWLRQW[W´)LOH
             <RXFDQFUHDWH\RXURZQ³ORFDWLRQW[W´ILOHDQGXSORDGWKHILOHWRWKH$FFHVV*DWHZD\¶VIODVK
             PHPRU\DW[IP address]/flash/location.txt.
             8VHWKHIROORZLQJIRUPDWZKHQFUHDWLQJWKHILOH
             ³´³5RRP´
             7KH IRXU ILHOGVXVHGLQWKHIRUPDWUHSUHVHQWWKHVWDQGDUGIRUPDWIRUSRUWORFDWLRQ
             DVVLJQPHQWV ORFDWLRQSRUWPRGHP0$&DGGUHVVIRU5LYHU'HOWDVXEQHWVWDWHGHVFULSWLRQ 

                           Characters (used for locations and descriptions) are case-sensitive.


                 z    /RFDWLRQ±/RFDWLRQVDUHDVVLJQHGDVDQDOSKDQXPHULFRUDOSKDQXPHULFYDOXH
                       XQOHVVD306LQWHUIDFHLVXVHGLQZKLFKFDVHRQO\QXPHULFYDOXHVFDQEHXVHG 
                 z    3RUW±$Q\QXPEHUEHWZHHQDQG
                 z    0RGHP0$&$GGUHVV±0$&DGGUHVVRIWKHPRGHPEHLQJXVHG
                 z    6XEQHW±6XEVFULEHU¶VVXEQHWDGGUHVV
                 z    6WDWH±3RVVLEOHVWDWHVDUH  QRFKDUJHIRUXVLQJWKLVSRUWORFDWLRQ  FKDUJHIRU
                      XVHDQG  EORFNHG,I\RXGRQRWDVVLJQDFRQGLWLRQDOVWDWHWKHVWDWHLVUHJLVWHUHGDV
                      ³1R&KDUJH´E\GHIDXOW
                 z    'HVFULSWLRQ±8VHDPHDQLQJIXOGHVFULSWLRQIRUWKHDVVLJQPHQW


             Displaying the Port-Location Mappings {List}
             <RXFDQGLVSOD\DOLVWLQJRIDOOSRUWORFDWLRQVDVVLJQHGWRWKLVV\VWHP
             7RYLHZWKHOLVWLQJRISRUWORFDWLRQDVVLJQPHQWVVHOHFW3RUW/RFDWLRQ!/LVW7KHList Port-
             Location AssignmentsVFUHHQDSSHDUV




       198                                                                              System Administration
Case 1:18-cv-01394-RGA Document 1-1 Filed 09/07/18 Page 305 of 476 PageID #: 348




       $&&(66*$7(:$<

           Deleting Port-Location Assignments
           7RGHOHWHSRUWORFDWLRQDVVLJQPHQWV
              )URPWKH:HE0DQDJHPHQW,QWHUIDFHVHOHFW3RUW/RFDWLRQ!/LVW
              &OLFNRQWKH'HOHWHOLQNWRGHOHWHDSDUWLFXODUSRUWORFDWLRQDVVLJQPHQW
           <RXFDQDOVRGHOHWHSRUWORFDWLRQDVVLJQPHQWVIURPWKH)LQGE\'HVFULSWLRQ)LQGE\
           /RFDWLRQRU)LQGE\3RUWUHVXOWV


           Enabling Facebook Login for a Port Location
              &OLFN3RUW/RFDWLRQ!/LVW&OLFNRQWKH3RUWQXPEHU7KHProcess Port-Location
                Assignment VFUHHQDSSHDUV




       System Administration                                                                       199
Case 1:18-cv-01394-RGA Document 1-1 Filed 09/07/18 Page 306 of 476 PageID #: 349




                                                                                       $&&(66*$7(:$<




                &KHFN(QDEOH)DFHERRN/RJLQ


             Subscriber Intra-Port Communication
             ,IHQDEOHGVXEVFULEHUVRQDVDPHSRUWORFDWLRQ IRUH[DPSOHDFRQIHUHQFHURRP FDQ
             FRPPXQLFDWHZLWKHDFKRWKHUZLWKRXW16(LQWHUYHQWLRQ
             6XEVFULEHUVFDQFRPPXQLFDWHZLWKHDFKRWKHUZKHQRQWKHVDPH9/$1DQGWKHVDPH,3
             VXEQHW7KH16(ZLOOQRWUHVSRQGWRDQ\$53UHTXHVWVIURPWKHVXEVFULEHUIRURWKHU
             VXEVFULEHUV RUKRVWV WKDWDUHRQWKHVDPHSRUWORFDWLRQVXEQHW




       200                                                                          System Administration
Case 1:18-cv-01394-RGA Document 1-1 Filed 09/07/18 Page 307 of 476 PageID #: 350




       $&&(66*$7(:$<


                     6XEVFULEHU6LGH                                                1HWZRUN6LGH




        6XEVFULEHUVLQVDPHSRUWORFDWLRQ

           7RHQDEOHLQWUDSRUWFRPPXQLFDWLRQ
              &OLFN3RUW/RFDWLRQ!/LVW&OLFNRQWKH3RUWQXPEHU7KH3URFHVV3RUW/RFDWLRQ
                $VVLJQPHQWVFUHHQDSSHDUV
              &OLFN$OORZ,QWUDSRUWFRPPXQLFDWLRQ
              &OLFN8SGDWH


       6XEVFULEHU$GPLQLVWUDWLRQ0HQX

           Adding Subscriber Profiles {Add}
           7KLVSURFHGXUHVKRZV\RXKRZWRDGGVXEVFULEHUSURILOHVLQWRDWDEOHRIDXWKRUL]HGXVHUV
           7KUHHW\SHVRIVXEVFULEHUSURILOHVDUHSURYLGHGVHHWKHIROORZLQJVHFWLRQVIRUFRQILJXUDWLRQ
           LQIRUPDWLRQIRUWKHGLIIHUHQWSURILOHW\SHV
                z   ³$GGLQJD6XEVFULEHU7\SH3URILOH´RQSDJH 
                z   ³$GGLQJD'HYLFH7\SH3URILOH´RQSDJH 
                z   ³$GGLQJD*URXS7\SH3URILOH´RQSDJH 
           )RUPRUHLQIRUPDWLRQDERXWVXEVFULEHUDFFHVVDQGELOOLQJRSWLRQVVHHWKHIROORZLQJVHFWLRQV
                z   ³$XWKRUL]DWLRQDQG%LOOLQJ´RQSDJH 
                z   ³6XEVFULEHU0DQDJHPHQW´RQSDJH 



       System Administration                                                                           201
Case 1:18-cv-01394-RGA Document 1-1 Filed 09/07/18 Page 308 of 476 PageID #: 351




                                                                                        $&&(66*$7(:$<

                  z   ³6XEVFULEHU0DQDJHPHQW0RGHOV´RQSDJH 
                  z   ³&RQILJXULQJWKH6XEVFULEHU0DQDJHPHQW0RGHOV´RQSDJH 

             $GGLQJD6XEVFULEHU7\SH3URILOH
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6XEVFULEHU$GPLQLVWUDWLRQWKHQ$GG
                  7KHAdd a Subscriber Profile to the Database VFUHHQDSSHDUV




                &KRRVHWKH6XEVFULEHUDFFRXQWW\SH
                'HILQHWKH'+&3$GGUHVV7\SH3XEOLFRU3ULYDWH RQO\XVHGZKHQWKH,38SVHOOIHDWXUH
                  LVHQDEOHGRWKHUZLVHOHDYHWKLVVHWWR³SULYDWH´ 
                (QWHUDYDOLG0$&$GGUHVVIRUWKHVXEVFULEHU
                  ,I\RXKDYHFKRVHQWRPDQDJHWKLVVXEVFULEHUE\XVHUQDPHRQO\\RXGRQRWQHHGWRHQWHUD
                  0$&DGGUHVV EXW\RXPXVWHQWHUDXVHUQDPH 
                (QWHUWKH,3$GGUHVVRIWKHVXEVFULEHU


       202                                                                           System Administration
Case 1:18-cv-01394-RGA Document 1-1 Filed 09/07/18 Page 309 of 476 PageID #: 352




       $&&(66*$7(:$<

              (QWHUDYDOLG6XEQHWDGGUHVVIRUWKLVVXEVFULEHU
              ,QWKH8VHUQDPHILHOGHQWHUDXVHUQDPHIRUWKLVVXEVFULEHU,I\RXHQWHUHGD0$&
                DGGUHVVDQG\RXGRQRWZDQWWRDVVLJQDXVHUQDPHVNLS6WHS SDVVZRUG 

                         User names and passwords are case-sensitive. Having a user name and password
                         is an optional service that subscribers may request (for example, if they are using
                         more than one machine, or moving between locations and they want an additional
                         level of security). If they request this service, they are prompted at the login
                         screen for the user name and password you assign here. Solution providers can
                         charge a fee for this service, at their discretion.

              ,I\RXDVVLJQHGDXVHUQDPH\RXPXVWQRZDVVLJQD3DVVZRUG
              ,QWKH([SLUDWLRQ7LPHILHOGGHILQHWKHGXUDWLRQ LQKRXUVDQGPLQXWHV IRUWKH
                VXEVFULEHU¶VDXWKRUL]HGDFFHVVWLPH:KHQWKHDVVLJQHGWLPHH[SLUHVWKHVXEVFULEHUPXVW
                ³UHVXEVFULEH´WRWKHVHUYLFH
            (QWHUDQDPRXQWLQWKH3DLGILHOG
            7KHQH[WWZRILHOGV 8VHU'HILQDEOHDQG8VHU'HILQDEOH DUHRSWLRQDO8VHWKHVH
                ILHOGVIRUVLPSOHQRWDWLRQVDERXWWKHVXEVFULEHU
            'HILQHWKH0D[8SVWUHDP%DQGZLGWKDQG0D['RZQVWUHDP%DQGZLGWKUDQJHIRUWKLV
                VXEVFULEHU LQ.ESV 
            ,IXVLQJ&ODVV%DVHG4XHXLQJHQWHUWKHSULPDU\DQGVXEFODVVIRUWKLVVXEVFULEHULQWKH
               &ODVVILHOG(QWHUWKHVHYDOXHVLQWKHIRUPDW<top-level class><subclass>
                 WRSOHYHOFODVVDQGVXEFODVVVHSDUDWHGE\DSHULRG . 6HH³&ODVV%DVHG4XHXHLQJ´RQ
                SDJH DQG³&ODVV%DVHG4XHXHLQJ´RQSDJH 
            6HOHFWDSROLF\IURPWKH4R63ROLF\PHQX6HH³6HWWLQJXS4XDOLW\RI6HUYLFH^4R6`´RQ
                SDJH IRUPRUHLQIRUPDWLRQ
            (QDEOH&RXQWGRZQDIWHUORJLQLI\RXZDQWWKHWLPHRXWDPRXQWWRWDNHHIIHFWDIWHUWKHXVHU
                ORJLQV,IWKHRSWLRQLVQRWHQDEOHGXVHUWLPHRXWVWDNHHIIHFWWKHPRPHQWWKHVXEVFULEHULV
                DGGHG
            (QDEOH67035HGLUHFWLRQWRDOORZWKHVSHFLILHGXVHUWRKDYHWKHLU6073WUDIILF
                UHGLUHFWHGE\WKHJOREDO6073UHGLUHFWFRQILJXUDWLRQ
            &OLFNRQWKH$GGEXWWRQWRDGGWKLVVXEVFULEHUWRWKHGDWDEDVHRUFOLFNRQWKH5HVWRUH
                EXWWRQLI\RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH




       System Administration                                                                             203
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                                                                                      $&&(66*$7(:$<

             $GGLQJD'HYLFH7\SH3URILOH
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6XEVFULEHU$GPLQLVWUDWLRQWKHQ$GG
                  7KHAdd a Subscriber Profile to the Database VFUHHQDSSHDUV




                &KRRVHWKH'HYLFHDFFRXQWW\SHIRUWKLVSURILOH
                ,IUHTXLUHGHQDEOHWKH3UR[\$US)RU'HYLFHIHDWXUH
                6HWWKH4'HYLFH3RUWLIWKHGHYLFHLVFRQQHFWHGWRDVSHFLILF9/$1
                (QWHUDYDOLG0$&$GGUHVVIRUWKHGHYLFH
                (QWHUWKH,3$GGUHVVRIWKHGHYLFH
                (QWHUDYDOLG6XEQHWDGGUHVVIRUWKLVGHYLFH
                ,QWKH8VHUQDPHILHOGHQWHUDXVHUQDPHIRUWKLVGHYLFH
                7KHQH[WWZRILHOGV 8VHU'HILQDEOHDQG8VHU'HILQDEOH DUHRSWLRQDO8VHWKHVH
                  ILHOGVIRUVLPSOHQRWDWLRQVDERXWWKHGHYLFH
              'HILQHWKH0LQ8SVWUHDP%DQGZLGWKDQG0D[8SVWUHDP%DQGZLGWKUDQJHIRUWKLV
                  GHYLFH LQ.ESV 


       204                                                                         System Administration
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       $&&(66*$7(:$<

            'HILQHWKH0LQ'RZQVWUHDP%DQGZLGWKDQG0D['RZQVWUHDP%DQGZLGWKUDQJHIRUWKLV
               GHYLFH LQ.ESV 
            ,IXVLQJ&ODVV%DVHG4XHXLQJHQWHUWKHSULPDU\DQGVXEFODVVIRUWKLVGHYLFHLQWKH&ODVV
               ILHOG(QWHUWKHVHYDOXHVLQWKHIRUPDW<top-level class><subclass> WRSOHYHO
               FODVVDQGVXEFODVVVHSDUDWHGE\DSHULRG . 6HH³&ODVV%DVHG4XHXHLQJ´RQSDJH DQG
               ³&ODVV%DVHG4XHXHLQJ´RQSDJH 
            6HOHFWDSROLF\IURPWKH4R63ROLF\PHQX6HH³6HWWLQJXS4XDOLW\RI6HUYLFH^4R6`´RQ
               SDJH IRUPRUHLQIRUPDWLRQ
            (QDEOH67035HGLUHFWLRQWRDOORZWKHVSHFLILHGXVHUWRKDYHWKHLU6073WUDIILF
               UHGLUHFWHGE\WKHJOREDO6073UHGLUHFWFRQILJXUDWLRQ
           &OLFNRQWKH$GGEXWWRQWRDGGWKLVGHYLFHWRWKHGDWDEDVHRUFOLFNRQWKH5HVWRUHEXWWRQLI
           \RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH




       System Administration                                                                           205
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                                                                                         $&&(66*$7(:$<

             $GGLQJD*URXS7\SH3URILOH
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6XEVFULEHU$GPLQLVWUDWLRQWKHQ$GG
                  7KHAdd a Subscriber Profile to the Database VFUHHQDSSHDUV




                &KRRVHWKH*URXS$FFRXQWW\SHIRUWKLVSURILOH
                6HWWKH$FFRXQWYDOLGXQWLOILHOGWRVHWDQH[SLUDWLRQGDWHIRUWKHJURXSDFFRXQW
                'HILQHWKH'+&3$GGUHVV7\SH3XEOLFRU3ULYDWH RQO\XVHGZKHQWKH,38SVHOOIHDWXUH
                  LVHQDEOHGRWKHUZLVHOHDYHWKLVVHWWR³SULYDWH´ 
                (QWHUDYDOLG6XEQHWDGGUHVVIRUWKLVVXEVFULEHU
                ,QWKH8VHUQDPHILHOGHQWHUDXVHUQDPHIRUWKLVVXEVFULEHU

                           User names and passwords are required for Group Accounts.

                ,I\RXDVVLJQHGDXVHUQDPH\RXPXVWQRZDVVLJQD3DVVZRUG


       206                                                                            System Administration
Case 1:18-cv-01394-RGA Document 1-1 Filed 09/07/18 Page 313 of 476 PageID #: 356




       $&&(66*$7(:$<

              ,QWKH([SLUDWLRQ7LPHILHOGGHILQHWKHGXUDWLRQ LQKRXUVDQGPLQXWHV IRUWKH
                VXEVFULEHU¶VDXWKRUL]HGDFFHVVWLPH:KHQWKHDVVLJQHGWLPHH[SLUHVWKHVXEVFULEHUPXVW
                ³UHVXEVFULEH´WRWKHVHUYLFH
              (QWHUDQDPRXQWLQWKH3DLGILHOG
            7KHQH[WWZRILHOGV 8VHU'HILQDEOHDQG8VHU'HILQDEOH DUHRSWLRQDO8VHWKHVH
                ILHOGVIRUVLPSOHQRWDWLRQVDERXWWKHVXEVFULEHU
            'HILQHWKH0LQ8SVWUHDP%DQGZLGWKDQG0D[8SVWUHDP%DQGZLGWKUDQJHIRUWKLV
                VXEVFULEHU LQ.ESV 
            'HILQHWKH0LQ'RZQVWUHDP%DQGZLGWKDQG0D['RZQVWUHDP%DQGZLGWKUDQJHIRUWKLV
                VXEVFULEHU LQ.ESV 
            ,IXVLQJ&ODVV%DVHG4XHXLQJHQWHUWKHSULPDU\DQGVXEFODVVIRUWKLVVXEVFULEHULQWKH
               &ODVVILHOG(QWHUWKHVHYDOXHVLQWKHIRUPDW<top-level class><subclass>
                 WRSOHYHOFODVVDQGVXEFODVVVHSDUDWHGE\DSHULRG . 6HH³&ODVV%DVHG4XHXHLQJ´RQ
                SDJH DQG³&ODVV%DVHG4XHXHLQJ´RQSDJH 
            (QWHUWKH0D[LPXPXVHUVSHUJURXSIRUWKHVXEVFULEHUDFFRXQW
            6HOHFWDSROLF\IURPWKH4R63ROLF\PHQX6HH³6HWWLQJXS4XDOLW\RI6HUYLFH^4R6`´RQ
                SDJH IRUPRUHLQIRUPDWLRQ
            (QDEOH67035HGLUHFWLRQWRDOORZWKHVSHFLILHGXVHUWRKDYHWKHLU6073WUDIILF
                UHGLUHFWHGE\WKHJOREDO6073UHGLUHFWFRQILJXUDWLRQ

           &OLFNRQWKH$GGEXWWRQWRDGGWKLVVXEVFULEHUWRWKHGDWDEDVHRUFOLFNRQWKH5HVWRUHEXWWRQLI
           \RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH


           Displaying Current Subscriber Connections {Current}
           <RXFDQGLVSOD\DOLVWLQJRIDOOWKHVXEVFULEHUVFXUUHQWO\FRQQHFWHGWRWKHV\VWHP7KHOLVW
           LQFOXGHVWKH0$&DGGUHVVHVRIWKHVXEVFULEHUVWKHLUDFWLYHVWDWHWKHLQGLYLGXDOH[SLUDWLRQ
           WLPHVSRUWQXPEHUV LIDVVLJQHG EDQGZLGWKOLPLWVFXUUHQWEDQGZLGWKXVDJHDQGWKHQXPEHU
           RIE\WHVWKDWKDYHEHHQSDVVHGIURPWKHVXEVFULEHUWRWKH,QWHUQHW7KLVGDWDFDQEHXVHGLID
           GLVSXWHDULVHVEHWZHHQWKHVXEVFULEHUDQGWKHVROXWLRQSURYLGHU IRUH[DPSOHLIDVXEVFULEHU
           FODLPVWKDWWKHLUFRQQHFWLRQWRWKH,QWHUQHWZDVQRWFRPSOHWHG %\UHYLHZLQJWKH³E\WH´
           VWDWLVWLFV\RXFDQFOHDUO\VHHLIWKHVXEVFULEHUPDGHDVXFFHVVIXOFRQQHFWLRQ
           7RYLHZWKHOLVWRICurrent Subscriber ConnectionsJRWRWKH:HE0DQDJHPHQW,QWHUIDFH
           FOLFNRQ6XEVFULEHU$GPLQLVWUDWLRQWKHQFOLFNRQ&XUUHQW
           7KHCurrent SubscribersVFUHHQDSSHDUVVKRZLQJWKHXVDJHVWDWLVWLFVIRUDOOVXEVFULEHUV
           FXUUHQWO\FRQQHFWHGWRWKHV\VWHP




       System Administration                                                                             207
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                                                                                           $&&(66*$7(:$<




         &OLFNWRYLHZWKH
       DVVRFLDWHGVXEVFULEHU




                           In the State field, “Valid” denotes that the subscriber has been authenticated.
                           “Pending” indicates that the subscriber is still waiting for authentication.

             7RYLHZLQGLYLGXDOVXEVFULEHUVFOLFNRQWKHOLQNHG0$&DGGUHVV
             <RXFDQVHOHFWVSHFLILFILHOGVWRGLVSOD\DQGFDQVRUWWKH&XUUHQW6XEVFULEHUVWDEOHRQDQ\ILHOG
             &OLFNDQ\WDEOHKHDGHUWRVRUWRQWKDWILHOG




             Deleting Subscriber Profiles by MAC Address {Delete by MAC}
             7KLVSURFHGXUHVKRZV\RXKRZWRGHOHWHDVXEVFULEHUSURILOHIURPWKH$FFHVV*DWHZD\¶V
             GDWDEDVHRIDXWKRUL]HGVXEVFULEHUVEDVHGRQWKHSURILOH¶V0$&DGGUHVV

                           To see a current listing of the subscriber database, sorted by MAC addresses, go
                           to ³/LVWLQJ6XEVFULEHU3URILOHV^/LVW3URILOHV`´RQSDJH .




       208                                                                              System Administration
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       $&&(66*$7(:$<

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6XEVFULEHU$GPLQLVWUDWLRQWKHQ'HOHWH
                E\0$&7KHDelete a Subscriber Profile E\0$& VFUHHQDSSHDUV




              ,QWKH(QWHU0$&$GGUHVVILHOGHQWHUWKH0$&DGGUHVVRIWKHSURILOH\RXZDQWWRGHOHWH
              &OLFNRQWKH'HOHWHEXWWRQWRGHOHWHWKLVVXEVFULEHUSURILOHRUFOLFNRQWKH5HVWRUHEXWWRQ
                LI\RXZDQWWRUHVHWWKH³0$&$GGUHVV´YDOXHWRWKHVWDWH


           Deleting Subscriber Profiles by User Name {Delete by User}
           7KLVSURFHGXUHVKRZV\RXKRZWRGHOHWHDVXEVFULEHUSURILOHIURPWKH$FFHVV*DWHZD\¶V
           GDWDEDVHRIDXWKRUL]HGVXEVFULEHUVEDVHGRQWKHSURILOH¶VXVHUQDPH

                         To see a current listing of the subscriber database, sorted by user name, go to
                         ³)LQGLQJ6XEVFULEHU3URILOHVE\8VHU1DPH^)LQGE\8VHU`´RQSDJH .

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6XEVFULEHU$GPLQLVWUDWLRQWKHQ'HOHWH
                E\8VHU7KHDelete a Subscriber Profile E\8VHU VFUHHQDSSHDUV




              ,QWKH8VHUQDPHILHOGHQWHUWKHXVHUQDPHRIWKHSURILOH\RXZDQWWRGHOHWH
              &OLFNRQWKH'HOHWHEXWWRQWRGHOHWHWKLVVXEVFULEHUSURILOHRUFOLFNRQWKH5HVWRUHEXWWRQ
                LI\RXZDQWWRUHVHWWKH³8VHUQDPH´YDOXHWRLWVEODQNVWDWH




       System Administration                                                                             209
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                                                                                      $&&(66*$7(:$<

             Displaying the Currently Allocated DHCP Leases {DHCP Leases}
             <RXFDQGLVSOD\DOLVWLQJRIWKH'+&3 '\QDPLF+RVW&RQILJXUDWLRQ3URWRFRO OHDVHVWKDWDUH
             FXUUHQWO\DFWLYHRQWKHV\VWHP¶V'+&3VHUYHU'+&3LVDVWDQGDUGPHWKRGIRUDVVLJQLQJ,3
             DGGUHVVHVDXWRPDWLFDOO\WRQHWZRUNGHYLFHV'+&3OHDVHVGHILQHWKHDPRXQWRIWLPHWKDW
             VXEVFULEHUVFDQXWLOL]HWKHV\VWHP¶V'+&3VHUYLFH
             7RYLHZWKHOLVWRICurrently Allocated DHCP LeasesJRWRWKH:HE0DQDJHPHQW,QWHUIDFH
             FOLFNRQ6XEVFULEHU$GPLQLVWUDWLRQWKHQFOLFNRQ'+&3/HDVHV

                          To use this feature, your Access Gateway must be set to act as its own DHCP
                          Server. The DHCP function cannot be set to DHCP Relay. Refer to ³0DQDJLQJWKH
                          '+&3VHUYLFHRSWLRQV^'+&3`´RQSDJH .

             7KHCurrently Allocated DHCP LeasesVFUHHQDSSHDUV




             <RXFDQ'HOHWH([SLUHG/HDVHVRU'HOHWH$OO/HDVHV


                          Deleting an active DHCP lease may cause IP conflicts.



             Deleting All Expired Subscriber Profiles {Expired}
             7KLVSURFHGXUHVKRZV\RXKRZWRGHOHWHDOOH[SLUHGVXEVFULEHUSURILOHVIURPWKH$FFHVV
             *DWHZD\¶VGDWDEDVHRIDXWKRUL]HGVXEVFULEHUV8VHWKLVSURFHGXUHZKHQ\RXZDQWWR³FOHDQXS´
             WKHVXEVFULEHUGDWDEDVH




       210                                                                         System Administration
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       $&&(66*$7(:$<

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6XEVFULEHU$GPLQLVWUDWLRQWKHQ([SLUHG
                7KHRemove Expired Profiles VFUHHQDSSHDUV




              &OLFNRQWKH2.EXWWRQWRUHPRYHDOOH[SLUHGSURILOHV


           Finding Subscriber Profiles by MAC Address {Find by MAC}
           7KLVSURFHGXUHVKRZV\RXKRZWRILQGDVXEVFULEHUSURILOHIURPWKH$FFHVV*DWHZD\¶V
           GDWDEDVHRIDXWKRUL]HGVXEVFULEHUVEDVHGRQWKHSURILOH¶V0$&DGGUHVV8VHWKLVSURFHGXUH
           ZKHQ\RXZDQWWRVHHWKHVWDWLVWLFVFRUUHVSRQGLQJWRWKH0$&DGGUHVV6WDWLVWLFVLQFOXGHXVHU
           QDPHDQGSDVVZRUG LIDQ\ DQGWKHDFFHVVWLPHUHPDLQLQJIRUWKLVVXEVFULEHU
              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6XEVFULEHU$GPLQLVWUDWLRQWKHQ)LQGE\
                0$&7KHFind a Subscriber Profile VFUHHQDSSHDUV




              ,QWKH(QWHU0$&$GGUHVVILHOGHQWHUWKH0$&DGGUHVVRIWKHVXEVFULEHU\RXZDQWWR
                ILQG
              &OLFNRQWKH6KRZEXWWRQWRYLHZWKLVVXEVFULEHUSURILOHRUFOLFNRQWKH5HVWRUHEXWWRQLI
                \RXZDQWWRUHVHWWKH³0$&$GGUHVV´YDOXHWRWKHVWDWH




       System Administration                                                                            211
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                                                                                         $&&(66*$7(:$<

             Finding Subscriber Profiles by User Name {Find by User}
             7KLVSURFHGXUHVKRZV\RXKRZWRILQGDVXEVFULEHUSURILOHIURPWKH$FFHVV*DWHZD\¶VGDWDEDVH
             RIDXWKRUL]HGVXEVFULEHUVEDVHGRQWKHSURILOH¶VXVHUQDPH8VHWKLVSURFHGXUHZKHQ\RXZDQW
             WRVHHWKHVWDWLVWLFVFRUUHVSRQGLQJWRWKHXVHUQDPH6WDWLVWLFVLQFOXGHWKHVXEVFULEHU¶V0$&
             DGGUHVVDQGWKHDFFHVVWLPHUHPDLQLQJIRUWKLVVXEVFULEHU
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6XEVFULEHU$GPLQLVWUDWLRQWKHQ)LQGE\
                  8VHU7KHFind a Subscriber Profile VFUHHQDSSHDUV




                ,QWKH(QWHU8VHUQDPHILHOGHQWHUWKHXVHUQDPHRIWKHVXEVFULEHU\RXZDQWWRILQG
                &OLFNRQWKH6KRZEXWWRQWRYLHZWKLVVXEVFULEHUSURILOHRUFOLFNRQWKH5HVWRUHEXWWRQLI
                  \RXZDQWWRUHVHWWKH³8VHUQDPH´YDOXHWRLWVEODQNVWDWH


             Listing Subscriber Profiles {List Profiles}
             <RXFDQGLVSOD\WKHFXUUHQWO\DFWLYHGDWDEDVHRIDXWKRUL]HGVXEVFULEHUVEDVHGRQXVHUQDPHV
             DQG0$&DGGUHVVHV
             7RYLHZWKHOLVWRIAuthorized Subscriber ProfilesJRWRWKH:HE0DQDJHPHQW,QWHUIDFHFOLFN
             RQ6XEVFULEHU$GPLQLVWUDWLRQWKHQFOLFNRQ/LVW3URILOHV




       212                                                                            System Administration
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       $&&(66*$7(:$<

           7KHAuthorized Subscriber ProfilesVFUHHQDSSHDUV
                                                  &OLFNRQDOLQNWRYLHZWKHDVVRFLDWHG
                                                                VXEVFULEHU




                        -1 indicates a subscriber added by Admin or XML useradd with no associated
                        plans.




       System Administration                                                                     213
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                                                                                             $&&(66*$7(:$<

             Viewing RADIUS Proxy Accounting Logs {RADIUS Session History}
             7KHVHVHWWLQJVDUHDYDLODEOHXQGHU6XEVFULEHU$GPLQLVWUDWLRQ5$',866HVVLRQ+LVWRU\PHQX




             Enable Logfile checkbox
             :KHQWKLVVHWWLQJLVHQDEOHGDQ\5$',86SUR[\DFFRXQWLQJPHVVDJHVVHQWRUUHFHLYHGE\WKH
             5$',86SUR[\DSSOLFDWLRQDUHORJJHGLQWRDILOHQDPHG³5$'+,675$'´LQWKHIODVK
             GLUHFWRU\7KLVORJFRQWDLQVDFFRXQWLQJPHVVDJHVH[FKDQJHGZLWKGRZQVWUHDPVHUYHUVDQG
             XSVWUHDP1$6V7KHVL]HRIWKHORJILOHLVOLPLWHGWRUHFRUGV DFFRXQWLQJPHVVDJHV RU
             E\WHVZKHQDQGLIQHFHVVDU\WKHROGHVWUHFRUGVDUHSXUJHGWRPDNHURRPIRUQHZ
             UHFRUGV
             ,IWKHORJILOHLVGLVDEOHGWKHFXUUHQWORJILOHLVSXUJHGIURPWKHIODVK,IWKLVLVUHHQDEOHGDJDLQ
             RQO\5$',86DFFRXQWLQJPHVVDJHVHQWUHFHLYHGIURPWKDWSRLQWLQWLPHIRUZDUGZLOOEHVWRUHG
             LQWKHORJ

             Enable Syslogs checkbox
             ,IHQDEOHGWKHQWKHVDPHLQIRUPDWLRQGHVFULEHGDERYHLVVHQWWRWKHFRQILJXUHG6\VORJVHUYHU
             7KHFRQWHQWRIWKHV\VORJVLVVHQWLQKXPDQUHDGDEOHIRUPDW
             7KHFRQILJXUDWLRQSDJHRIWKHV\VORJVHUYHUWRZKLFKWKHVH5$',86SUR[\DFFRXQWLQJ
             PHVVDJHVDUHVHQWLVDYDLODEOHXQGHUWKH&RQILJXUDWLRQ/RJJLQJPHQXDVGHVFULEHGDERYH7KH
             WKLUGVHWRI6\VORJSDUDPHWHUVRQWKDWSDJHSHUWDLQVWRWKH5$',86+LVWRU\/RJ




       214                                                                                System Administration
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       $&&(66*$7(:$<

           Displaying Current Profiles and Connections {Statistics}
           <RXFDQYLHZWKHWRWDOQXPEHURISURILOHVDQGFRQQHFWLRQVFXUUHQWO\VWRUHGLQWKH$FFHVV
           *DWHZD\¶VGDWDEDVHRIDXWKRUL]HGVXEVFULEHUV7KHGLVSOD\HGOLVWLQFOXGHVWKHQXPEHURI
           VXEVFULEHUVFXUUHQWO\LQWKHGDWDEDVH &XUUHQW7DEOH DQGDQXPHULFDOEUHDNGRZQRIKRZWKH
           VXEVFULEHUVFDQXWLOL]HWKHV\VWHP IRUH[DPSOHIUHHDFFHVVFUHGLWFDUGHWF 7KHWRWDOQXPEHU
           RIXVHUSURILOHVVWRUHGLQWKH$FFHVV*DWHZD\¶VLQWHUQDOGDWDEDVHLVDOVRVKRZQ
           7RYLHZWKHSubscriber StatisticsJRWRWKH:HE0DQDJHPHQW,QWHUIDFHFOLFN6XEVFULEHU
           $GPLQLVWUDWLRQ!6WDWLVWLFV
           7KHSubscriber StatisticsVFUHHQDSSHDUV




                         The “Subscriber licenses in use” is helpful when a large number of subscriber-
                         side devices are defined, and it is otherwise difficult to determine how many
                         license slots are actually in use.


       6XEVFULEHU,QWHUIDFH0HQX

           Defining the Billing Options {Billing Options}
               z    'XUDWLRQEDVHG%LOOLQJ3ODQV


       System Administration                                                                             215
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                                                                                           $&&(66*$7(:$<

                 z    6HWWLQJ8SD³1RUPDO´%LOOLQJ3ODQLQFOXGLQJSULFLQJDQGEDQGZLGWK
                 z    6HWWLQJ8SDQ;RYHU<%LOOLQJ3ODQ
                 z    0HVVDJHVGLVSOD\HGWRVXEVFULEHUVLQFOXGLQJDQ,QWURGXFWLRQ0HVVDJH2IIHU
                      0HVVDJHDQG3ROLF\0HVVDJH
                 z    %LOOLQJVFKHPHV XQLWVRIDFFHVV 
                 z    )UHHELOOLQJRSWLRQV IUHHDFFHVV 
                 z    3URPRWLRQDOFRGHRSWLRQV IRUH[DPSOHZKHQRIIHULQJDSHUFHQWDJHGLVFRXQW 

             'XUDWLRQEDVHG%LOOLQJ3ODQV
             7KHSXUSRVHRIWKLVIHDWXUHLVWROHWKRWHOVFUHDWHELOOLQJSODQVWKDWZRUNLQDVLPLODUIDVKLRQWR
             SUHSDLGWHOHSKRQHFDUGV7KLVPHDQVWKDWDQRSHUDWRUFDQVHWWKH$FFHVV*DWHZD\¶V,QWHUQDO
             :HE6HUYHU ,:6 WRDOORZXVHUVRQOLQHRQDWLPH³;´RYHUSHULRG³<´EDVLV6WDQGDUGELOOLQJ
             SODQV ZKHUHWLPH³;´ SHULRG³<´ FDQEHXVHGFRQFXUUHQWO\ZLWK³;´RYHU³<´SODQV)RU
             H[DPSOHPXOWLSOHSODQVZLWKIOH[LEOHELOOLQJHYHQWRSWLRQVFDQEHUROOHGRXWVXFKDV
                 z    3ODQ$KRXUVNELWVGRZQVWUHDP.ELWVXSVWUHDPSXEOLF,3DGGUHVV
                      FKDUJH
                 z    3ODQ%KRXUVWREHXVHGRYHUGD\V.ELWVGRZQVWUHDP.ELWVXSVWUHDP
                      SULYDWH,3DGGUHVVFKDUJH
                 z    3ODQ&ZHHN0ELWVGRZQVWUHDP0ELWVXSVWUHDPSXEOLF,3DGGUHVV
                      FKDUJH
             ,QDGGLWLRQWRFUHGLWFDUGELOOLQJ3URSHUW\0DQDJHPHQW6\VWHPVXVHGE\KRWHOVDUHDOVR
             VXSSRUWHGDORQJZLWKWKHLQWHUQDOGDWDEDVHRIWKH$FFHVV*DWHZD\DQGELOOLQJYLD1RPDGL[ 
             VHFXUH;0/$3,
             6HHDOVR³$VVLJQLQJD3066HUYLFH^306`´RQSDJH  VHHIROORZLQJQRWH 

                           Your product license must support the PMS feature.




       216                                                                              System Administration
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       $&&(66*$7(:$<

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6XEVFULEHU,QWHUIDFHWKHQ%LOOLQJ
                2SWLRQV7KHInternal Billing Options SetupVFUHHQDSSHDUV




              5HYLHZWKHELOOLQJSODQV QRUPDOSODQVDQG;RYHU<SODQV WKDWDUHFXUUHQWO\DFWLYH7R
                YLHZRUHGLWDELOOLQJSODQFOLFNWKH9LHZ(GLW'HOHWHEXWWRQRSSRVLWHWKHFRUUHVSRQGLQJ
                SODQ




       System Administration                                                                           217
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                                                                                 $&&(66*$7(:$<

             7KHInternal Billing Options Plan SetupRUInternal Billing Options XoverY Plan Setup
             sFUHHQDSSHDUVIRUWKHELOOLQJSODQ DQGW\SH \RXVHOHFWHG




       218                                                                    System Administration
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       $&&(66*$7(:$<

           6DPSOHRI,QWHUQDO%LOOLQJ2SWLRQV;RYHU<3ODQ6HWXS6FUHHQ




                'HSHQGLQJRQWKHW\SHRISODQ\RXZDQWWRVHWXSJRWR
                z   ³6HWWLQJ8SD³1RUPDO´%LOOLQJ3ODQ´RQSDJH 
                z   ³6HWWLQJ8SDQ;RYHU<%LOOLQJ3ODQ´RQSDJH 

           6HWWLQJ8SD³1RUPDO´%LOOLQJ3ODQ
              ,IUHTXLUHGFOLFNRQWKH(QDEOHFKHFNER[WRHQDEOH PDNHDFWLYH WKLVELOOLQJSODQ
              'HILQHD³ODEHO´IRUWKLVELOOLQJSODQLQWKH/DEHOILHOG

                         Each plan must have a unique label, different from other plans.



       System Administration                                                                            219
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                                                                                          $&&(66*$7(:$<

                (QWHUDGHVFULSWLRQIRUWKLVELOOLQJSODQLQWKH'HVFULSWLRQRI6HUYLFHILHOG
                ,IGHVLUHGHQDEOH)DFHERRN/RJLQDQGVSHFLI\DSODQGXUDWLRQ
                'HILQHWKH3ULFLQJVFKHPHVIRUWKLVELOOLQJSODQ UDWHSHUPLQXWHSHUKRXUSHUGD\SHU
                  ZHHNDQGSHUPRQWK 
                'HILQHWKH7LPH8QLWRIWKHELOODEOHHYHQW HLWKHU0LQXWH+RXU'D\:HHNRU0RQWK 
                  2QHWLPHXQLWLVDVVLJQHGWRHDFKELOOLQJSODQ

                           The Access Gateway allows you to define multiple billing plans with different time
                           units at the same time. For example, you can define one billing plan that changes
                           by the hour (e.g. $2.95 per hour) and a second plan that charges per day (e.g.
                           $12.95 per day).

                'HILQHWKH8S to network DQG'RZQ to subscribers EDQGZLGWKUDQJHIRUWKLVELOOLQJ
                  SODQ
                'HILQHWKH'+&33RRO SXEOLFRUSULYDWH VHHIROORZLQJQRWH

                           The “public” option requires IP Upsell to be turned on, otherwise subscribers
                           will receive private IP addresses.

                ,IXVLQJ&ODVV%DVHG4XHXLQJHQWHUWKHSULPDU\DQGVXEFODVVIRUWKLVVXEVFULEHULQWKH
                  &ODVVILHOG(QWHUWKHVHYDOXHVLQWKHIRUPDW<top-level class><subclass>
                   WRSOHYHOFODVVDQGVXEFODVVVHSDUDWHGE\DSHULRG . 6HH³&ODVV%DVHG4XHXHLQJ´RQ
                  SDJH DQG³&ODVV%DVHG4XHXHLQJ´RQSDJH 
              &OLFNRQWKH6DYHWKLV3ODQEXWWRQWRVDYH\RXUFKDQJHVDQGHVWDEOLVKWKLVELOOLQJSODQ
                 $OWHUQDWLYHO\\RXFDQFOLFNRQWKH'HOHWHWKLV3ODQEXWWRQLI\RXZDQWWRGHOHWHWKLVSODQ
                 RUFOLFNRQWKH&OHDUEXWWRQLI\RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLURULJLQDOVWDWH
              &OLFNRQWKH%DFNEXWWRQDWDQ\WLPHWRUHWXUQWRWKHInternal Billing Options Setup
                  SUHYLRXV VFUHHQ
              5HSHDW6WHSVWKURXJKIRUHDFKELOOLQJSODQ<RXFDQHQDEOH PDNHDFWLYH DQ\RUDOORI
                  WKHDYDLODEOHELOOLQJSODQV




       220                                                                             System Administration
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       $&&(66*$7(:$<

            'HILQHWKHPHVVDJHV\RXZDQWWRSUHVHQWWRVXEVFULEHUVLQFOXGLQJ
                z   ,QWURGXFWLRQ0HVVDJH
                z   2IIHU0HVVDJH
                z   3ROLF\0HVVDJH
            'HILQHWKH8QLWVRI$FFHVV 0LQXWH+RXU'D\:HHNRU0RQWK \RXZDQWWRPDNH
                DYDLODEOHWRVXEVFULEHUV
            ,I\RXZDQWWRDOORZIUHHDFFHVVWRVXEVFULEHUV\RXFDQGHILQHWKHIROORZLQJIUHHELOOLQJ
                RSWLRQV
                z   'HIDXOW)UHH$FFHVV7LPH LQGD\V
                z   0D[LPXP6XEVFULEHU/LIHWLPH LQGD\V
            'HILQHDQ\Promotional Code OptionsLQWKH&RGH'HILQLWLRQDQG3HUFHQWDJH'LVFRXQW
                ILHOGVDVUHTXLUHG<RXFDQGHILQHXSWR3URPRWLRQDO&RGH2SWLRQV

                           The “Percentage Discount” parameter must be between 1 and 100.

            &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVRUFOLFNRQWKH5HVWRUHEXWWRQLI\RXZDQW
                WRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH

           6HWWLQJ8SDQ;RYHU<%LOOLQJ3ODQ
              ,IUHTXLUHGFOLFNRQWKH(QDEOHFKHFNER[WRHQDEOH PDNHDFWLYH WKLVELOOLQJSODQ
              'HILQHD³ODEHO´IRUWKLVELOOLQJSODQLQWKH/DEHOILHOG

                           Each plan must have a unique label, different from other plans.

              (QWHUDGHVFULSWLRQIRUWKLVELOOLQJSODQLQWKH'HVFULSWLRQRI6HUYLFHILHOG
              (QWHUWKHFRVWWKHSODQLQWKH3ODQ&RVWILHOG
              (QWHUDGXUDWLRQYDOXHIRUWKLVSODQLQWKH3ODQ'XUDWLRQ ; ILHOG
              'HILQHWKH³WLPHXQLW´IRUWKHGXUDWLRQYDOXH\RXHQWHUHGLQ6WHS7KHWLPHXQLWFDQEH
                GHILQHGDVHLWKHU0LQXWH+RXURU'D\
              (QWHUSODQYDOLGLW\YDOXHIRUWKLVSODQLQWKH3ODQ9DOLGLW\ < ILHOG
              'HILQHWKH³WLPHXQLW´IRUWKHSODQYDOLGLW\YDOXH\RXHQWHUHGLQ6WHS7KHWLPHXQLWFDQ
                EHGHILQHGDVHLWKHU'D\:HHNRU0RQWK
              'HILQHWKH8S to network DQG'RZQ to subscribers EDQGZLGWKUDQJHIRUWKLVELOOLQJ
                SODQ


       System Administration                                                                            221
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                                                                                         $&&(66*$7(:$<

              'HILQHWKH'+&33RRO SXEOLFRUSULYDWH VHHIROORZLQJQRWH

                          The “public” option requires IP Upsell to be turned on, otherwise subscribers
                          will receive private IP addresses.

              &OLFNRQWKH6DYHWKLV3ODQEXWWRQWRVDYH\RXUFKDQJHVDQGHVWDEOLVKWKLVELOOLQJSODQ
                 $OWHUQDWLYHO\\RXFDQFOLFNRQWKH'HOHWHWKLV3ODQEXWWRQLI\RXZDQWWRGHOHWHWKLVSODQ
                 RUFOLFNRQWKH&OHDUEXWWRQLI\RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLURULJLQDOVWDWH
              &OLFNRQWKH%DFNEXWWRQDWDQ\WLPHWRUHWXUQWRWKHInternal Billing Options Setup
                  SUHYLRXV VFUHHQ


             Setting Up the Information and Control Console {ICC Setup}
             7KH1RPDGL[,&&LVD+70/SRSXSZLQGRZWKDWLVSUHVHQWHGWRVXEVFULEHUVDOORZLQJWKHP
             WRVHOHFWWKHLUEDQGZLGWKDQGELOOLQJSODQRSWLRQVTXLFNO\DQGHIILFLHQWO\DQGGLVSOD\VD
             G\QDPLF³WLPH´ILHOGWRLQIRUPWKHPRIWKHWLPHUHPDLQLQJRQWKHLUDFFRXQW7KH,&&DOVR
             RIIHUVVHUYLFHSURYLGHUVDQRSSRUWXQLW\WRGLVSOD\DGYHUWLVLQJEDQQHUVDQGSURYLGHDFKRLFHRI
             UHGLUHFWLRQRSWLRQV
             7KH$FFHVV*DWHZD\DOVROHWV6\VWHP$GPLQLVWUDWRUVGHILQHDVLPSOH+70/EDVHGSRSXS
             ZLQGRZIRUH[SOLFLW/RJRXWWKDWFDQEHXVHGDVDQDOWHUQDWLYHWRWKHPRUHIXOO\IHDWXUHG,&&




       222                                                                            System Administration
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       $&&(66*$7(:$<

            GHVFULEHGDERYH 7KHSRSXS/RJRXW&RQVROHRIIHUVWKHRSSRUWXQLW\WRGLVSOD\WKHHODSVHG
           FRXQWGRZQWLPHDQGRQHORJRIRULQWUDVHVVLRQVHUYLFHEUDQGLQJ




              )HDWXUHG
                ,&&




                                                                                   /RJRXW&RQVROH


           7KLVSURFHGXUHDOORZV\RXWRVHWXSKRZWKH,&&LVGLVSOD\HGWRVXEVFULEHUV)RUPRUH
           LQIRUPDWLRQDERXWWKH,&&JRWR³,QIRUPDWLRQDQG&RQWURO&RQVROH ,&& ´RQSDJH 




       System Administration                                                                        223
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                                                                                    $&&(66*$7(:$<

                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6XEVFULEHU,QWHUIDFHWKHQ,&&6HWXS
                  7KHICC SetupVFUHHQDSSHDUV




       224                                                                       System Administration
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       $&&(66*$7(:$<

              ,I\RXZDQWVXEVFULEHUVWRVHHWKH,&& SRSXSZLQGRZ FOLFNRQWKHFKHFNER[IRU
                'LVSOD\,&& ,QIRUPDWLRQDQG&RQWURO&RQVROH WRHQDEOHWKLVIHDWXUH
              &KRRVHZKLFK,&&\RXZDQWWREHGLVSOD\HG HLWKHUWKHIHDWXUHG,&&RUWKHVLPSOH/RJRXW
                &RQVROH (QDEOHRQHRIWKHIROORZLQJ
                z   ,&& ,QIRUPDWLRQDQG&RQWURO&RQVROH
                z   1RPDGL[/RJRXW&RQVROH
              ,I\RXHQDEOHGHLWKHURIWKH,&&SRSXSRSWLRQV\RXFDQFKRRVHDXQLTXHQDPHIRUWKH
                FRQVROH6LPSO\W\SHDPHDQLQJIXOQDPHLQWKH7LWOHILHOG
              'HILQHWKHSK\VLFDOORFDWLRQZKHUH\RXZDQWWKH1RPDGL[/RJRXW&RQVROHWRDSSHDURQ
                WKHVXEVFULEHU¶VVFUHHQ
                &KRRVHRQHRIWKHIROORZLQJRSWLRQV
                z   8SSHU/HIW&RUQHU
                z   8SSHU5LJKW&RUQHU
                z   /RZHU/HIW&RUQHU
                z   /RZHU5LJKW&RUQHU
              'HILQHKRZ\RXZDQWWRGLVSOD\WKHVXEVFULEHUVHVVLRQWLPH
                z   (ODSVHG7LPH KRZPXFKWLPHKDVHODSVHGVLQFHWKHVWDUWRIWKHVHVVLRQ
                z   7LPH5HPDLQLQJ KRZPXFKWLPHLVUHPDLQLQJIRUWKHVHVVLRQ
              <RXPXVWQRZGHFLGHZKDW\RXZDQWWKH,&&WRGRLIWKHVXEVFULEHUFORVHVLW
                &KRRVHRQHRIWKHIROORZLQJRSWLRQV
                z   5HGLVSOD\LWVHOI
                z   /RJRXW UHWXUQWKHVXEVFULEHUWRD³SHQGLQJ´VWDWH ±YDOLGRQO\ZLWK5$',86DQG
                    3RVW3DLG306
                <RXPXVWQRZDVVLJQWKHEXWWRQVWKDW\RXZDQWWRGLVSOD\WRVXEVFULEHUV

           $VVLJQLQJ%XWWRQV
           :KHQDVVLJQLQJWKHUHGLUHFWEXWWRQVWKDWZLOODSSHDULQWKH,&&\RXFDQGHILQHRQH,63/RJR
           %XWWRQ ODUJHEXWWRQ DQGXSWRVPDOOHUEXWWRQV %XWWRQWKURXJK%XWWRQ ZLWKWKH
           IROORZLQJSDUDPHWHUV




       System Administration                                                                          225
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                                                                                          $&&(66*$7(:$<

                 z    1DPH7H[W±7KHQDPHRIWKHEXWWRQDQGWKHPRXVHRYHUWH[W7KHPRXVHRYHUWH[WLV
                      WKHWH[WWKDWDSSHDUVLQWKH,&&¶V0HVVDJH%DUZKHQ\RXUPRXVHSRLQWHU³UROOV´RYHUD
                      EXWWRQLPDJH



                                                                                          0HVVDJH
                                                                                            %DU




                 z    7DUJHW85/±:KHUHVXEVFULEHUVDUHVHQWZKHQWKH\FOLFNRQWKHEXWWRQ
                 z    ,PDJH1DPH±7KHUHSUHVHQWDWLYHLPDJHILOH\RXZDQWWRXVHIRUWKHEXWWRQ
             :KHQDVVLJQLQJLPDJHVIRUEXWWRQVUHIHUWR³3L[HO6L]HV´RQSDJH 

                           If you assign (or change) button images or banner images, the Access Gateway
                           must be rebooted for your changes to take effect.

             :KHQ\RXKDYHFRPSOHWHGDVVLJQLQJDOO\RXUUHGLUHFWEXWWRQVFOLFNRQWKH6DYHEXWWRQWRVDYH
             \RXUFKDQJHVRUFOLFNRQWKH5HVWRUHEXWWRQLI\RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXV
             VWDWH
             <RXFDQQRZDVVLJQWKHEDQQHUVWKDW\RXZDQWWRGLVSOD\WRVXEVFULEHUV




       226                                                                             System Administration
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       $&&(66*$7(:$<

           $VVLJQLQJ%DQQHUV
              )URPWKHSubscriber Console (Information and Control Console - ICC) SetupVFUHHQFOLFN
                RQWKH&RQILJXUH%DQQHUVOLQN7KHSubscriber Console (Information and Control
                Console - ICC) Banners Setup VFUHHQDSSHDUV




                                  &OLFNKHUHWRUHWXUQWRWKH
                                       SUHYLRXVVFUHHQ




                z   <RXFDQGLVSOD\XSWREDQQHUVEXWWKH\PXVWEHGHILQHGKHUH%DQQHUVUHTXLUHDOO
                    WKHVDPHSDUDPHWHUVWKDW³EXWWRQV´XVH VHH³$VVLJQLQJ%XWWRQV´RQSDJH  ZLWK
                    WKHDGGLWLRQRI WKUHH PRUH7KHVHDUH
                z   'XUDWLRQ±'HILQHVKRZORQJWKHEDQQHULVGLVSOD\HGLQWKH,&&
                z   6WDUW7LPH±7KLVLVDQRSWLRQDOSDUDPHWHUWKDW\RXVHWLI\RXZDQWWRDVVLJQD³VWDUW´
                    WLPH IRUZKHQWKHEDQQHULVGLVSOD\HG 
                z   6WRS7LPH±7KLVLVDQRSWLRQDOSDUDPHWHUWKDW\RXVHWLI\RXZDQWWRDVVLJQD³VWRS´
                    WLPH IRUZKHQWKHGLVSOD\HGEDQQHUFORVHV 
                        :KHQDVVLJQLQJLPDJHVDQGWLPHVIRUEDQQHUVUHIHUWR³3L[HO6L]HV´RQ
                        SDJH DQG³7LPH)RUPDWV´RQSDJH 




       System Administration                                                                            227
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                                                                                          $&&(66*$7(:$<

                'HILQHWKHSDUDPHWHUVIRU\RXUEDQQHU V 
                  z   1DPH7H[W
                  z   7DUJHW85/
                  z   ,PDJH1DPH VHHIROORZLQJQRWH
                  z   'XUDWLRQ VHFV
                  z   6WDUW7LPH 2SWLRQDO
                  z   6WRS7LPH 2SWLRQDO

                           If you assign (or change) button images or banner images, the Access Gateway
                           must be rebooted for your changes to take effect.

                :KHQILQLVKHGFOLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVFOLFNRQ6DYHWKHQ5HERRW
                  WRUHERRWWKH$FFHVV*DWHZD\DQGPDNHWKHFKDQJHVWDNHHIIHFWLPPHGLDWHO\RUFOLFNRQ
                  WKH5HVWRUHEXWWRQLI\RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH 2QO\FKDQJHV
                  WRImage NameGHILQLWLRQVUHTXLUHDUHERRW 
                7RUHWXUQWRWKHSUHYLRXVVFUHHQFOLFNRQWKH&RQILJXUH,&&OLQN

             3L[HO6L]HV
             8VHWKHIROORZLQJSDUDPHWHUVZKHQGHILQLQJLPDJHVIRUEXWWRQVDQGEDQQHUV
                  z   %DQQHUV±SL[HOV ZLGWK [SL[HOV KHLJKW
                  z   ,63%XWWRQ±SL[HOV ZLGWK [SL[HOV KHLJKW
                  z   6PDOOEXWWRQV±SL[HOV ZLGWK [SL[HOV KHLJKW




       228                                                                             System Administration
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       $&&(66*$7(:$<

                                                                       %DQQHU
                                                                    [SL[HOV




                               6PDOO%XWWRQV
                               [SL[HOV                         ,63%XWWRQ
                                                                     [SL[HOV



           7LPH)RUPDWV
           8VHWKHIROORZLQJIRUPDWVZKHQGHILQLQJWLPHV
               z   'XUDWLRQIRU%DQQHUV±WKURXJKRUPRUH
               z   6WDUWRU6WRSWLPHVIRU%DQQHUV±KKPP30$0 IRUH[DPSOH30


           Defining Languages {Language Support}
           7KH$FFHVV*DWHZD\DOORZV\RXWRGHILQHWKHWH[WGLVSOD\HGWR\RXUXVHUVE\WKH,QWHUQDO:HE
           6HUYHU ,:6 ZLWKRXWDQ\+70/RU$63NQRZOHGJH7KHODQJXDJH\RXVHOHFWKHUHZLOO
           GHWHUPLQHWKHODQJXDJHHQFRGLQJWKDWWKH$FFHVV*DWHZD\¶V,QWHUQDO:HE6HUYHULQVWUXFWVWKH
           EURZVHUWRXVH
           7KHDYDLODEOHODQJXDJHRSWLRQVDUH
               z   (QJOLVK
               z   &KLQHVH %LJ
               z   )UHQFK
               z   *HUPDQ


       System Administration                                                                        229
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                                                                                          $&&(66*$7(:$<

                  z   -DSDQHVH 6KLIWB-,6
                  z   6SDQLVK
             )RUORFDOL]LQJWKHXVHUIDFLQJWH[WLQWRRWKHUODQJXDJHVWKHIROORZLQJFKDUDFWHUVHWVDUH
             VXSSRUWHG
                  z   :HVWHUQ,62
                  z   &KLQHVH %LJ(8&&1(8&7:*%
                  z   -DSDQHVH (8&-3,62-36KLIWB-,6
                  z   .RUHDQ (8&.5,62.5.6B&B
                  z   87)

                                <RXFDQDOVRFKDQJHWKHODQJXDJHRIWKH:HE0DQDJHPHQW,QWHUIDFH6HH
                                ³6HOHFWLQJWKHODQJXDJHRIWKH:HE0DQDJHPHQW,QWHUIDFH´RQSDJH 

                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6XEVFULEHU,QWHUIDFHWKHQ/DQJXDJH
                  6XSSRUW7KHLanguage SupportVFUHHQDSSHDUV




       230                                                                             System Administration
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       $&&(66*$7(:$<

              6HOHFWWKHODQJXDJH\RXZDQWWRXVH VHHQRWHV 

                         There are currently 6 (six) “pre-translated” language options. If you want to have
                         the ICC pre-translated into Japanese and enter and display Japanese characters
                         on the Web Management Interface and the subscriber’s portal page, choose the
                         Japanese (Shift_JIS) option. If you want to have the ICC displayed in English
                         but enter and display Japanese characters on the Web Management Interface and
                         the subscriber’s portal page, choose the Other option, then choose one of the
                         available Japanese character sets from the drop-down menu.

                         If sufficient space is available, the Access Gateway’s Internal Web Server also
                         supports multiple languages at the same time.

                7KHIROORZLQJVDPSOHLPDJHVKRZVWKH:HE0DQDJHPHQW,QWHUIDFH :0, GLVSOD\HGZLWK
                $VLDQODQJXDJHFKDUDFWHUV




           Enable Serving of Local Web Pages {Local Web Server}
           +HUHDUHWKHTXLFNVHWXSLQVWUXFWLRQVWRHQDEOHVHUYLQJRIORFDOZHESDJHV




       System Administration                                                                           231
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                                                                                         $&&(66*$7(:$<

                8SORDGWKHUHTXLUHGSDJHVDQGLPDJHVWRWKHIODVKZHEGLUHFWRU\XVLQJ)737RWDOILOHVL]H
                  RIDOOSDJHVDQGLPDJHVFDQQRWH[FHHG.%)LOHQDPHVVKRXOGEHODEHOHGXVLQJWKH
                  IRUPDW
                  7KHSDJHVFDQQRZEHVHUYHGE\UHIHUHQFLQJWKH85/KWWSQVHLSZHEILOHQDPH!RU
                  DWKWWSVQVHLSZHEILOHQDPH!IRUSUHDXWKHQWLFDWHGHQGXVHUV
                  7KHSRVWDXWKHQWLFDWLRQSDJHVDQGLPDJHVDUHDYDLODEOHDWKWWSQVHLSZHE
                  ILOHQDPH!
                *RWR6XEVFULEHU,QWHUIDFH!/RFDO:HE6HUYHUDQGDGGWKHQDPHVRIWKH+70/RULPDJH
                  ILOHVWKDWZHUHXSORDGHGWRWKHIODVKZHEGLUHFWRU\




                &OLFNWKH)RUFH5HERRWEXWWRQWRUHERRW\RXUV\VWHPDQGPDNHWKHFKDQJHVSHUVLVWHQW
                  5HERRWWKH16( 6\VWHP!5HERRW 

             Web Page File Name
             7KLVWH[WER[OHWV\RXDGGRUUHPRYHWKHQDPHVRIWKHZHESDJHVWKDW\RXLQWHQGWRVHUYHWRWKH
             HQGXVHUV1RWH7KHQDPHRIWKHZHESDJHKDVWREHDGGHGLQRUGHUIRULWWREHVHUYHGWRWKH
             HQGXVHUV8SORDGLQJWKHZHESDJHWRWKHZHEGLUHFWRU\LVQRWVXIILFLHQW

             Image File Name
             7KLVWH[WER[OHWV\RXDGGRUUHPRYHWKHQDPHVRIWKHLPDJHILOHVWKDW\RXLQWHQGWRVHUYHUWR
             WKHHQGXVHUV1RWH7KHQDPHRIWKHLPDJHILOHKDVWREHDGGHGLQRUGHUIRULWWREHVHUYHGWR
             WKHHQGXVHUV8SORDGLQJWKHLPDJHILOHWRWKHZHEGLUHFWRU\LVQRWVXIILFLHQW


       232                                                                            System Administration
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       $&&(66*$7(:$<

           Defining the Subscriber’s Login UI {Login UI}
           7KLVSURFHGXUHDOORZV\RXWRVHWXSWKHSUHVHQWDWLRQDQGFRQWHQWRIWKHVXEVFULEHU¶VORJLQ8VHU
           ,QWHUIDFH 8, 




       System Administration                                                                           233
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                                                                                      $&&(66*$7(:$<

                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6XEVFULEHU,QWHUIDFHWKHQ/RJLQ8,7KH
                  Subscriber Login User Interface SettingsVFUHHQDSSHDUV




                'HILQHWKHPHVVDJHV\RXZDQWVXEVFULEHUVWRVHHZKHQWKH\ORJLQ.HHSPHVVDJHVEULHI
                  DQGWRWKHSRLQW$YDLODEOHPHVVDJHFDWHJRULHVLQFOXGH


       234                                                                         System Administration
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       $&&(66*$7(:$<

                z   6HUYLFH6HOHFWLRQ0HVVDJH
                z   ([LVWLQJ8VHUQDPH0HVVDJH
                z   1HZ8VHUQDPH0HVVDJH
                z   &RQWDFW0HVVDJH
                z   3068VHUQDPH0HVVDJH
              ,IDQ\RI\RXUGHYLFHVGRQRWVXSSRUW-DYDVFULSWV\RXKDYHWKHRSWLRQRIGLVDEOLQJWKH
                $FFHVV*DWHZD\¶V-DYD6FULSWVXSSRUW -DYD6FULSWVXSSRUWLVHQDEOHGE\GHIDXOW ,I
                QHFHVVDU\ DQGLI-DYD6FULSWVXSSRUWLVDOUHDG\HQDEOHG FOLFNRQWKHFKHFNER[IRU(QDEOH
                -DYDVFULSWWRGLVDEOHWKLVIHDWXUH
              &OLFNRQWKHFKHFNER[IRU(QDEOH³5HPHPEHU0H´RSWLRQLI\RXZDQWWRHQDEOH RU
                GLVDEOH WKLVIHDWXUH7KLVRSWLRQHQDEOHVWKH$FFHVV*DWHZD\WR³UHPHPEHU´ORJLQVIRUD
                SUHGHWHUPLQHGGXUDWLRQ VHHQH[WVWHS 

                         The “Remember Me” option requires JavaScript to be enabled.

              ,I\RXHQDEOHGWKH³5HPHPEHU0H´RSWLRQGHILQHWKHGXUDWLRQ LQGD\V LQWKH
                5HPHPEHUIRUKRZPDQ\GD\VILHOG
              ,IUHTXLUHGGHILQHD+HOS+\SHUOLQN0HVVDJHDQGDFRUUHVSRQGLQJ+HOS+\SHUOLQN85/
              'HILQHWKHORFDWLRQLQWKH/RFDOHILHOG
              'HILQHWKHFXUUHQF\ODEHOLQJ IRUH[DPSOH LQWKH&XUUHQF\ILHOG

                         The currency must be defined using an IS0 4217 currency code (for example, USD
                         for US Dollars, GBP for Great British Pounds).

              (QWHUDQXPHULFYDOXHIRUWKH1XPEHURIGHFLPDOVIRUDPRXQW7KLVILHOGGHILQHVWKH
                QXPEHURIGHFLPDOSODFHVWKDWDUHVKRZQIRUWKHGLVSOD\HGDPRXQWV
            'HILQHWKHDSSHDUDQFHRIWKHLQWHUQDOORJLQVFUHHQ$SSHDUDQFHVHWWLQJVLQFOXGH
                z   ,PDJH)LOH1DPH LI\RXZDQWWRLQFOXGHDXQLTXHLPDJH
                z   3DJH%DFNJURXQG&RORU
                z   7DEOH%DFNJURXQG&RORU
                z   3DJH7LWOH)RQW
                z   /LQH,WHP)RQW




       System Administration                                                                            235
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                                                                                          $&&(66*$7(:$<

                 7DNHFDUHZKHQPL[LQJIRQWDQGEDFNJURXQGFRORUV<RXPD\ZDQWWRH[SHULPHQWEHIRUH
                 HVWDEOLVKLQJWKHVHVHWWLQJVWRHQVXUHWKDW\RXUFKRVHQFRORUVFKHPHLVERWKSUHVHQWDEOHDQG
                 UHDGDEOHWRVXEVFULEHUV VHHQRWHV 

                          You must reboot the Access Gateway for the “Image File Name” or “Partner
                          Image File Name” settings to take effect.

                          You can view a grid of acceptable screen colors. To view the grid, simply click on
                          the “View Color Grid” link.

                 ,I\RXFOLFNRQWKH³9LHZ&RORU*ULG´OLQNWKHBrowser Safe Background Colors by RGB
                 VFUHHQDSSHDUV




              &OLFNRQWKHFKHFNER[IRU3DUWQHU,PDJHWRHQDEOHWKLVIHDWXUHWKHQHQWHUWKHQDPHRIWKH
                 LPDJHILOHLQWKH3DUWQHU,PDJH)LOH1DPHILHOG6HH³6XEVFULEHU/RJLQ6FUHHQ 6DPSOH ´
                 RQSDJH 
              &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVFOLFNRQ6DYHWKHQ5HERRWWRUHERRWWKH
                 $FFHVV*DWHZD\DQGPDNHWKHFKDQJHVWDNHHIIHFWLPPHGLDWHO\RUFOLFNRQWKH5HVWRUH
                 EXWWRQLI\RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH ,I\RXPDGHFKDQJHVWR


       236                                                                            System Administration
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       $&&(66*$7(:$<

               WKH,PDJH)LOH1DPHRU3DUWQHU,PDJH)LOH1DPHILHOGV\RXPXVWUHERRWWKH$FFHVV
               *DWHZD\IRU\RXUFKDQJHVWRWDNHHIIHFW 

                        The partner image (splash screen) is not the same screen that is defined by the
                        Image File Name (IWS screen) field.

           6XEVFULEHU/RJLQ6FUHHQ 6DPSOH
           7KHIROORZLQJVDPSOHVKRZVDVXEVFULEHUORJLQVFUHHQ




           Defining the Post Session User Interface (Post Session UI)
           7KH3RVW6HVVLRQ8, *RRGE\H3DJH FDQEHGHILQHGHLWKHUDVD5$',8696$RUEHGULYHQE\
           WKH$FFHVV*DWHZD\¶V,QWHUQDO:HE6HUYHU ,:6 8VLQJWKH,:6RSWLRQPHDQVWKDWWKLV
           IXQFWLRQDOLW\LVDYDLODEOHIRURWKHUSRVWSDLGELOOLQJPHFKDQLVPV IRUH[DPSOHSRVWSDLG
           306²LI\RXUSURGXFWOLFHQVHVXSSRUWV306 7KH,:6SDJHGLVSOD\VWKHGHWDLOVRIWKHXVHU V
           FRQQHFWLRQVXFKDV


       System Administration                                                                         237
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                                                                                    $&&(66*$7(:$<

             z   ,3DGGUHVVRIWKHXVHU
             z   7\SHRI$$$
             z   6WDUW6WRSWLPH
             z   %\WHVVHQWUHFHLYHG
             z   )UHHO\FRQILJXUDEOHK\SHUWH[WOLQN LQFDVHWKH,63ZDQWVWROLQNWKHXVHUEDFNWRD
                 VLJQXSKHOSSDJH 




                               6DPSOHRI3RVW6HVVLRQ8, *RRGE\H3DJH




       238                                                                       System Administration
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       $&&(66*$7(:$<

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6XEVFULEHU,QWHUIDFHWKHQ3RVW6HVVLRQ
                8,7KHSubscriber Post Session User Interface SettingsVFUHHQDSSHDUV




              &OLFNRQWKH(QDEOH,:6*RRGE\H3DJHFKHFNER[WRHQDEOH RUGLVDEOH WKH,:6
                *RRGE\H3DJHDVUHTXLUHG
              ,I\RXHQDEOHGWKHIWS Goodbye PageVHOHFW\RXUSUHIHUUHGGLVSOD\RSWLRQVE\FKHFNLQJ
                WKHFRUUHVSRQGLQJER[HV
                z   'LVSOD\,3$GGUHVV


       System Administration                                                                       239
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                                                                                          $&&(66*$7(:$<

                  z   'LVSOD\$XWKHQ7\SH
                  z   'LVSOD\6WDUW7LPH
                  z   'LVSOD\6WRS7LPH
                  z   'LVSOD\%\WH6HQW
                  z   'LVSOD\%\WH5HFHLYHG
                  z   'LVSOD\+\SHUWH[W/LQN85/
                ,I\RXHQDEOHGWKH+\SHUWH[W/LQN85/IHDWXUHHQWHUWKH85/IRUWKHOLQNLQWKH+\SHU
                  7H[W/LQN85/ILHOG
                'HILQHWKHIROORZLQJField Label DefinitionsIRU\RXU*RRGE\H3DJH
                  z   6HVVLRQ6XPPDU\
                  z   ,3$GGUHVV
                  z   $XWKHQ7\SH
                  z   6WDUW7LPH
                  z   6WRS7LPH
                  z   %\WH6HQW
                  z   %\WH5HFHLYHG
                  z   *R7R

                           If you enabled the Partner image for the Login UI, you will also see the same
                           image in the IWS Post Session page.

                &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHV$OWHUQDWLYHO\\RXFDQFOLFNRQWKH&OHDU
                  &KDQJHVEXWWRQWRUHVHWDOOYDOXHVWRWKHLUSUHYLRXVVWDWHRUFOLFNRQWKH5HVWRUHEXWWRQWR
                  UHYHUWDOOYDOXHVWRWKHLUGHIDXOWVWDWH


             Defining Subscriber UI Buttons {Subscriber Buttons}
             7KLVSURFHGXUHDOORZV\RXWRGHILQHKRZHDFKRIWKHFRQWUROEXWWRQVDUHGLVSOD\HGWR
             VXEVFULEHUV




       240                                                                             System Administration
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       $&&(66*$7(:$<

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6XEVFULEHU,QWHUIDFHWKHQ6XEVFULEHU
                %XWWRQV7KHSubscriber Page -- Control Button DefinitionsVFUHHQDSSHDUV




                                                               See
                                                               Caution




              (QWHUWKHGHILQLWLRQV\RXZDQWIRUHDFKFRQWUROEXWWRQLQWKHFRUUHVSRQGLQJILHOGV

                         Only the Login button should be named “Login.” Do not assign this name to
                         any other button.

              &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVRUFOLFNRQWKH&OHDU&KDQJHVEXWWRQLI
                \RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH
                ,I\RXZDQWWRUHVHWDOOILHOGYDOXHVWRWKHLUGHIDXOWVWDWHFOLFNRQWKH5HVWRUH'HIDXOWV
                EXWWRQ


           Defining Subscriber UI Labels {Subscriber Labels}
           7KLVSURFHGXUHDOORZV\RXWRGHILQHKRZWKHXVHULQWHUIDFH 8, ILHOGODEHOVDUHGLVSOD\HGWR
           VXEVFULEHUV




       System Administration                                                                              241
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                                                                                           $&&(66*$7(:$<

                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6XEVFULEHU,QWHUIDFHWKHQ6XEVFULEHU
                  /DEHOV7KHSubscriber Page -- Field Label DefinitionsVFUHHQDSSHDUV




                (QWHUWKHGHILQLWLRQV\RXZDQWIRUHDFKODEHOLQWKHFRUUHVSRQGLQJILHOGV
                &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVRUFOLFNRQWKH&OHDU&KDQJHVEXWWRQLI
                  \RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH
                  ,I\RXZDQWWRUHVHWDOOILHOGYDOXHVWRWKHLUGHIDXOWVWDWHFOLFNRQWKH5HVWRUH'HIDXOWV
                  EXWWRQ




       242                                                                              System Administration
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       $&&(66*$7(:$<

           Defining Subscriber Error Messages {Subscriber Errors}
           7KLVSURFHGXUHDOORZV\RXWRGHILQHKRZHUURUPHVVDJHVDUHGLVSOD\HGWRVXEVFULEHUV

                         There are 2 (two) pages of error messages available.

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6XEVFULEHU,QWHUIDFHWKHQ6XEVFULEHU
                (UURUVRI7KHSubscriber Page -- Error Message Definitions, 1 of 2VFUHHQDSSHDUV




              (QWHUWKHGHILQLWLRQV\RXZDQWIRUHDFKHUURUPHVVDJHLQWKHFRUUHVSRQGLQJILHOGV
              &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVRUFOLFNRQWKH&OHDU&KDQJHVEXWWRQLI
                \RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH
                ,I\RXZDQWWRUHVHWDOOILHOGYDOXHVWRWKHLUGHIDXOWVWDWHFOLFNRQWKH5HVWRUH'HIDXOWV
                EXWWRQ


       System Administration                                                                              243
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                                                                                         $&&(66*$7(:$<

                5HSHDW6WHSV±IRUSDJHRI


             Defining Subscriber Messages {Subscriber Messages}

             7KLVSURFHGXUHDOORZV\RXWRGHILQHKRZ³RWKHU´VXEVFULEHUPHVVDJHVDUHGLVSOD\HG

                           There are 3 (three) pages of subscriber messages available.




       244                                                                          System Administration
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       $&&(66*$7(:$<

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6XEVFULEHU,QWHUIDFHWKHQ6XEVFULEHU
                0HVVDJHVRI7KHSubscriber Page -- Other Message Definitions, 1 of 3VFUHHQ
                DSSHDUV




              (QWHUWKHGHILQLWLRQV\RXZDQWIRUHDFKVXEVFULEHUPHVVDJHLQWKHFRUUHVSRQGLQJILHOGV
              &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVRUFOLFNRQWKH&OHDU&KDQJHVEXWWRQLI
                \RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH
                ,I\RXZDQWWRUHVHWDOOILHOGYDOXHVWRWKHLUGHIDXOWVWDWHFOLFNRQWKH5HVWRUH'HIDXOWV
                EXWWRQ
              5HSHDW6WHSV±IRUSDJHRI


       System Administration                                                                              245
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                                                                                     $&&(66*$7(:$<

                5HSHDW6WHSV±IRUSDJHRI


       6\VWHP0HQX

             Adding and Deleting ARP Table Entries
             $53 $GGUHVV5HVROXWLRQ3URWRFRO LVXVHGWRG\QDPLFDOO\ELQGDKLJKOHYHO,3DGGUHVVWRD
             ORZOHYHOSK\VLFDOKDUGZDUH 0$& DGGUHVV$53LVOLPLWHGWRDVLQJOHSK\VLFDOQHWZRUNWKDW
             VXSSRUWVKDUGZDUHEURDGFDVWLQJ7KLVSURFHGXUHVKRZV\RXKRZWRDGGRUGHOHWHDQ$53WDEOH
             HQWU\
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6\VWHPWKHQ$537KHARP Tables VFUHHQ
                  DSSHDUV<RXFDQYLHZGHOHWHRUDGGQHZ$53WDEOHHQWULHVIURPWKLVVFUHHQ




       246                                                                        System Administration
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       $&&(66*$7(:$<

           Configurable Gateway ARP Refresh Interval
           7KH16(ZLOOSHULRGLFDOO\UHIUHVKLWV$53FDFKHHQWU\IRUWKHJDWHZD\,3:KHQJDWHZD\
           UHGXQGDQF\LVLPSOHPHQWHGYLDWKHXVHRIPXOWLSOHJDWHZD\GHYLFHVZLWKWKHVDPH,3DGGUHVV
           WKHSHULRGLFUHIUHVKHQDEOHVWKH16(WRTXLFNO\GLVFRYHUWKHQHZ0$&DGGUHVVRIWKHJDWHZD\
           <RXFDQVHWWKHUHIUHVKIUHTXHQF\RQWKH/RFDWLRQSDJH7KHIUHTXHQF\PXVWEHEHWZHHQ
           DQGVHFRQGVVHFRQGVLVKDOIRIWKH$53FDFKHUHIUHVKLQWHUYDOVRWKH$53HQWU\FDQ
           QHYHUH[SLUH
           7RFKDQJHWKH$535HIUHVK,QWHUYDO
              &KRRVH&RQILJXUDWLRQ!(WKHUQHW3RUWV:$1




              &OLFNWKHLQWHUIDFH\RXZLVKWRFRQILJXUH LQWKLVH[DPSOHWKH:$1LQWHUIDFH 




       System Administration                                                                         247
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                                                                                          $&&(66*$7(:$<




                (QWHUWKHGHVLUHGYDOXHIRUWKH*DWHZD\$535HIUHVK,QWHUYDO3UHVV(QWHUWRDFFHSWWKH
                  QHZYDOXH


             Enabling the Bridge Mode Option {Bridge Mode}
             Bridge Mode DOORZVFRPSOHWHDQGXQFRQGLWLRQDODFFHVVWRGHYLFHVRQWKHVXEVFULEHUVLGHRIWKH
             $FFHVV*DWHZD\:KHQWKHBridge ModeRSWLRQLVHQDEOHGWKH$FFHVV*DWHZD\LVHIIHFWLYHO\
             WUDQVSDUHQWWRWKHQHWZRUNLQZKLFKLWLVORFDWHGDOORZLQJFOXVWHUVRIVZLWFKHV HVSHFLDOO\&LVFR
             6\VWHPVVZLWFKFOXVWHUV WREHPDQDJHGXVLQJWKH673 6SDQQLQJ7UHH3URWRFRO RUDQ\RWKHU
             DOJRULWKPSURWRFRO7KH$FFHVV*DWHZD\IRUZDUGVDQ\DQGDOOSDFNHWV H[FHSWWKRVHDGGUHVVHG
             WRWKH$FFHVV*DWHZD\QHWZRUNLQWHUIDFH 7KHSDFNHWVDUHXQPRGLILHGDQGFDQEHIRUZDUGHG
             LQERWKGLUHFWLRQV7KLV LVDYHU\XVHIXOIHDWXUHZKHQWURXEOHVKRRWLQJ\RXUHQWLUHQHWZRUNDVLW
             DOORZVDGPLQLVWUDWRUVWRHIIHFWLYHO\³UHPRYH´WKH$FFHVV*DWHZD\IURPWKHQHWZRUNZLWKRXW
             SK\VLFDOO\GLVFRQQHFWLQJWKHXQLW
             <RXFDQVWLOOPDQDJHWKH$FFHVV*DWHZD\ZKHQBridge ModeLVHQDEOHGEXW\RXKDYHQRRWKHU
             IXQFWLRQDOLW\,I\RXHQDEOHWKHBridge ModeRSWLRQDQGWKHQSOXJWKH$FFHVV*DWHZD\LQWRD
             QHWZRUNDOO\RXQHHGWRGRLVDVVLJQLWURXWDEOH,3DGGUHVVHV<RXFDQWKHQVHWXSDOORWKHU
             IHDWXUHVDQGGLVDEOHWKHBridge ModeRSWLRQZKHQHYHU\RXZDQWWRVWDUWXVLQJWKH$FFHVV
             *DWHZD\LQWKDWQHWZRUN
             7KLVSURFHGXUHVKRZV\RXKRZWRHQDEOHWKHBridge ModeRSWLRQ

       248                                                                             System Administration
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       $&&(66*$7(:$<

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6\VWHPWKHQ%ULGJH0RGH7KHBridge
                Mode (Passthrough) Settings VFUHHQDSSHDUV




              &OLFNRQWKHFKHFNER[IRU%ULGJH0RGHWRHQDEOHWKLVIHDWXUH

                         The Access Gateway should be rebooted if this setting is changed.

              ,I\RXZDQWWKHFKDQJHVWRWDNHHIIHFWLPPHGLDWHO\6HOHFW6DYHWKHQ5HERRW
              &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVRUFOLFNRQWKH5HVWRUHEXWWRQLI\RXZDQW
                WRUHVHWWKH³(QDEOH´RSWLRQWRLWVSUHYLRXVVWDWH


           Exporting Configuration Settings to the Archive File {Export}
           7KLVSURFHGXUHVKRZV\RXKRZWRH[SRUWWKHFXUUHQWV\VWHPDXWKHQWLFDWLRQVHWWLQJVWRDQ
           DUFKLYHILOHIRUIXWXUHUHWULHYDO7KLVIXQFWLRQLVXVHIXOLI\RXZDQWWRFKDQJHWKHFRQILJXUDWLRQ
           VHWWLQJVDQG\RXDUHXQVXUHRIWKHHIIHFWWKDWWKHFKDQJHVZLOOKDYH<RXFDQUHVWRUHWKH
           DUFKLYHGV\VWHPFRQILJXUDWLRQVHWWLQJVDWDQ\WLPHZLWKWKHimportIXQFWLRQ




       System Administration                                                                              249
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                                                                                            $&&(66*$7(:$<

                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6\VWHPWKHQ([SRUW7KHExport
                  Configuration VFUHHQDSSHDUV




                             &OLFNKHUHWRYLHZWKH                  &OLFNKHUHWRYLHZWKH
                                ³DUFKLYHW[W´ILOH                       ³FXUUHQWW[W´ILOH

                &OLFNRQWKH2.EXWWRQWRH[SRUWWKHFXUUHQWDXWKHQWLFDWLRQVHWWLQJVWRWKHarchive.txtILOH


             Importing the Factory Defaults {Factory}
             7KLVSURFHGXUHVKRZV\RXKRZWRUHSODFHWKHFXUUHQWDXWKHQWLFDWLRQVHWWLQJVZLWKWKHVHWWLQJV
             WKDWZHUHHVWDEOLVKHGDWWKHIDFWRU\

                           You will need to reboot the system for some of the imported default settings to
                           take effect.




       250                                                                               System Administration
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       $&&(66*$7(:$<

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6\VWHPWKHQ)DFWRU\7KHFactory
                Configuration VFUHHQDSSHDUV




                    &OLFNKHUHWRYLHZWKH             &OLFNKHUHWRYLHZWKH
                        ³IDFWRU\W[W´ILOH                  ³FXUUHQWW[W´ILOH

              &OLFNRQWKH5HVWRUHWKHQ5HERRWEXWWRQWRUHSODFHWKHFXUUHQWV\VWHPFRQILJXUDWLRQ
                VHWWLQJVZLWKWKHIDFWRU\GHIDXOWVHWWLQJVDQGUHERRWWKH$FFHVV*DWHZD\


           Defining the Fail Over Options {Fail Over}


                        Your product license may not support this feature.

           0DQ\ODUJHVFDOHQHWZRUNVUHTXLUHIDLORYHUVXSSRUWIRUDOOGHYLFHVLQWKHSXEOLFDFFHVV
           QHWZRUN7KH)DLO2YHU2SWLRQVIHDWXUHDOORZVWZR1RPDGL[*DWHZD\VWRDFWDVVLEOLQJV
           ZKHUHRQHGHYLFHZLOOWDNHXSWKHXVHUVVKRXOGWKHRWKHUGHYLFHEHFRPHGLVFRQQHFWHGIURPWKH
           QHWZRUN$VSDUWRIWKLVIXQFWLRQDOLW\WKHVHWWLQJV H[FHSW,3DGGUHVVHV EHWZHHQWKHWZR
           GHYLFHVZLOOEHV\QFKURQL]HGDXWRPDWLFDOO\




       System Administration                                                                           251
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                                                                                           $&&(66*$7(:$<

                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6\VWHPWKHQ)DLO2YHU7KHFail Over
                  VFUHHQDSSHDUV




                (QDEOHRUGLVDEOHWKH)DLO2YHUIHDWXUHDVUHTXLUHG
                ,I\RXHQDEOHG)DLO2YHUGHILQHWKH6LEOLQJ6WDWXV 3ULPDU\RU6HFRQGDU\ 
                (QWHUDQ,3DGGUHVVLQWKH6LEOLQJ,3$GGUHVVILHOG
                'HILQHWKHSRUWLQWKH)DLO2YHU3RUWILHOG
                6HOHFWWKH6HFRQGDU\7R3ULPDU\)DLO2YHU7LPH7KHWLPHVHWKHUHLVKRZORQJWKH
                  6HFRQGDU\ZLOOZDLWZKLOHQRWUHFHLYLQJPHVVDJHVIURPWKH3ULPDU\EHIRUHLWWDNHVRYHU

                           If you are using RADIUS, it is recommended to add both Nomadix gateways to the
                           RADIUS server.

                &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHV6DYHWKHQ5HERRWWRPDNHWKHFKDQJHV
                  WDNHHIIHFWLPPHGLDWHO\RUFOLFNRQWKH5HVWRUHEXWWRQWRUHVHWDOOYDOXHVWRWKHLUSUHYLRXV
                  VWDWH


             Viewing the History Log {History}
             <RXFDQYLHZDKLVWRU\ORJRIWKHV\VWHP¶VAccessRebootDQGUptimeDFWLYLWLHV7KHKLVWRU\
             ORJFRQWDLQVXSWRHQWULHV2YHUHQWULHVDQGHDFKQHZORJLWHPUHPRYHVWKHROGHVWHQWU\
             LQWKHOLVW7KHODWHVWHQWU\LVDOZD\VDWWKHWRSRIWKHOLVW




       252                                                                             System Administration
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       $&&(66*$7(:$<

           7RYLHZWKHKLVWRU\ORJJRWRWKH:HE0DQDJHPHQW,QWHUIDFHDQGFOLFNRQ6\VWHPWKHQ
           +LVWRU\7KHUptime and Access/Reboot History VFUHHQDSSHDUV

                                                                 8SWLPH,QGLFDWRU




                0RUHOLVWLQJV

           7KH³8SWLPH´ILHOGGLVSOD\VWKHWLPH LQGD\VKRXUVPLQXWHVDQGVHFRQGV WKDWWKHV\VWHPKDV
           EHHQXSDQGUXQQLQJ
           7KH³$FFHVVDQGUHERRW+LVWRU\´ORJILHOGVLQFOXGH
               z    0HVVDJH±$GPLQLVWUDWRU2SHUDWRUDFWLRQ
               z    /RJLQ±8VHUQDPHRIWKH$GPLQLVWUDWRU2SHUDWRU
               z    ,3±6RXUFH,3DGGUHVV VHHQRWH 

                         The source IP displayed may be the source IP of a NAT router instead of the client
                         of the person accessing the Access Gateway.


           Establishing ICMP Blocking Parameters {ICMP}
           7KH$FFHVV*DWHZD\LQFOXGHVWKHRSWLRQWREORFNDOO,&03WUDIILFIURP³SHQGLQJ´RU³QRQ
           DXWKHQWLFDWHG´XVHUVWKDWDUHGHVWLQHGWRDGGUHVVHVRWKHUWKDQWKRVHGHILQHGLQWKHSDVVWKURXJK


       System Administration                                                                            253
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                                                                                          $&&(66*$7(:$<

              ZDOOHGJDUGHQ OLVW7KHGHIDXOWVHWWLQJIRUWKLVRSWLRQLV³GLVDEOHG´EHFDXVH,&03SDVV
             WKURXJKLVDXVHIXOHQGXVHUWURXEOHVKRRWLQJIHDWXUHDQGLVDOVRUHTXLUHGE\FHUWDLQVPDUWFOLHQWV
              IRUH[DPSOH*5,& 
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6\VWHPWKHQ,&037KHICMP VFUHHQ
                  DSSHDUV




                &OLFNRQWKHFKHFNER[IRU%ORFN,&03IURPSHQGLQJXVHUVWRHQDEOH RUGLVDEOH WKLV
                  IHDWXUHDVUHTXLUHG
                <RXFDQ3LQJDKRVWYLDWKHQHWZRUNSRUWE\HQWHULQJHLWKHUDQ,3DGGUHVVRU'16QDPH
                  RIKRVW7KLVLVWKHVLWHWKDW\RXZDQWWKHSLQJWREHVHQWWRIURPWKH16(
                &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHVRUFOLFNRQWKH5HVWRUHEXWWRQWRUHVHWDOO
                  YDOXHVWRWKHLUSUHYLRXVVWDWH


             Importing Configuration Settings from the Archive File {Import}
             7KLVSURFHGXUHVKRZV\RXKRZWRUHVWRUHWKHV\VWHPFRQILJXUDWLRQVHWWLQJVIURPDQDUFKLYHILOH
              SUHYLRXVO\FUHDWHGZLWKWKHexportIXQFWLRQ 

                           You will need to reboot the system for some of the imported default settings to take
                           effect (especially DHCP).




       254                                                                             System Administration
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       $&&(66*$7(:$<

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6\VWHPWKHQ,PSRUW7KHImport
                Configuration VFUHHQDSSHDUV




                         &OLFNKHUHWRYLHZWKH         &OLFNKHUHWRYLHZWKH
                            ³DUFKLYHW[W´ILOH               ³FXUUHQWW[W´ILOH


              &OLFNRQWKH2.EXWWRQWRUHSODFHWKHFXUUHQWV\VWHPFRQILJXUDWLRQVHWWLQJVZLWKWKH
                VHWWLQJVFRQWDLQHGLQWKHarchive.txtILOH VHHQRWHVDERYH 


           Establishing Login Access Levels {Login}
           7KLVSURFHGXUHVKRZV\RXKRZWRDVVLJQGLIIHUHQWLDWHGDFFHVVOHYHOVIRURSHUDWRUVDQG
           PDQDJHUVDWORJLQ
           7KH$FFHVV*DWHZD\DOORZV\RXWRGHILQHFRQFXUUHQWDFFHVVOHYHOVWRGLIIHUHQWLDWHEHWZHHQ
           PDQDJHUVDQGRSHUDWRUVZKHUHPDQDJHUVDUHSHUPLWWHGread/writeDFFHVVDQGRSHUDWRUVDUH
           UHVWULFWHGWRreadDFFHVVRQO\2QFHWKHORJLQVKDYHEHHQDVVLJQHGPDQDJHUVKDYHWKHDELOLW\WR
           SHUIRUPDOOZULWHFRPPDQGV SubmitResetRebootAddDeleteHWF EXWRSHUDWRUVFDQQRW
           FKDQJHDQ\V\VWHPVHWWLQJV$GPLQLVWUDWLYH&RQFXUUHQF\PD\EHHQDEOHGWRIXUWKHUUHVWULFWWKH
           DPRXQWRIPDQDJHPHQWVHVVLRQVDOORZHGDWRQHWLPH:KHQWKLVIHDWXUHLVHQDEOHGRQH
           PDQDJHUDQGWKUHHRSHUDWRUVFDQDFFHVVWKH$FFHVV*DWHZD\DWDQ\RQHWLPH WKHGHIDXOWLV
           ³GLVDEOHG´ 
           7KLVIHDWXUHVXSSRUWVWKHIROORZLQJLQWHUIDFHV
                z   7HOQHW


       System Administration                                                                            255
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                                                                                  $&&(66*$7(:$<

                  z   &RPPDQG/LQH,QWHUIDFH &/, ±VHULDO
                  z   :HE0DQDJHPHQW,QWHUIDFH :0,
                  z   )73DQG6)73 QRRSHUDWRUDFFHVVDOORZHG
                  z   66+6KHOO$FFHVV
                  z   66/
             2QO\PDQDJHUVFDQDVVLJQDXVHUQDPHDQGSDVVZRUGIRUWKHUHPRWH5$',86WHVWLQJORJLQ
             RSWLRQ
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6\VWHPWKHQ/RJLQ7KHLogin Name and
                  Password VFUHHQDSSHDUV




       256                                                                      System Administration
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       $&&(66*$7(:$<

              &OLFNRQWKHFKHFNER[IRU$GPLQLVWUDWLRQ&RQFXUUHQF\LI\RXZDQWWRDVVLJQFRQFXUUHQW
                ManagerDQGOperatorORJLQV
              ,QWKH0DQDJHU/RJLQILHOGHQWHUDORJLQQDPHIRUWKLVPDQDJHU

                         Login names and passwords are case-sensitive. Use login names and passwords
                         that are easy to remember (up to 11 characters, any character type).

              ,QWKH0DQDJHU3DVVZRUGILHOGHQWHUDSDVVZRUGIRUWKLVPDQDJHU
              ,QWKH&RQILUP3DVVZRUGILHOGHQWHUWKHSDVVZRUGDJDLQWRFRQILUPLW

                         If you forget your password, you will need to contact technical support. See
                         also, ³7HFKQLFDO6XSSRUW´RQSDJH .

              ,I\RXHQDEOHGAdministration ConcurrencyUHSHDWVWHSVWRIRUDQRSHUDWRUORJLQDQG
                 LIGHVLUHG DORJLQIRU;0/XVHUDXWKHQWLFDWLRQ 6HH³'HILQLQJWKH$$$6HUYLFHV
                ^$$$`´RQSDJH  


           Remote RADIUS Testing
                $VSDUWRILWV6PDUW&OLHQWIHDWXUHWKH$FFHVV*DWHZD\RIIHUVDUHPRWH5$',86WHVWLQJ
                IHDWXUH HQDEOHGE\GHIDXOW :LWKWKLVIHDWXUHWKH$FFHVV*DWHZD\SURYLGHVDSDVVZRUG
                SURWHFWHG:HESDJH)URPWKLV:HESDJHWHFKQLFDOVXSSRUWFDQW\SHDXVHUQDPHDQG
                SDVVZRUGDQGLQVWUXFWWKH$FFHVV*DWHZD\WRVHQGD5$',86DFFHVVUHTXHVWWRWKH
                5$',86VHUYHU²IROORZLQJWKHVDPHEDVLFUXOHVDVLIWKHUHTXHVWZDVIURPDXVHU
              ,QDVHSDUDWHEURZVHUZLQGRZYLVLWWKH85/IRUWKHWHVWSDJHDWKWWS1RPDGL[$FFHVV
                *DWHZD\,3!UDGWHVWWHVWUDGLXVKWP7KLV85/FDQEHDFFHVVHGIURPWKHQHWZRUNVLGHRI
                WKH$FFHVV*DWHZD\7KH³)UDPHG,3´ILHOGLVFRQILJXUDEOHE\WKHXVHUDQGFDQEHVHWWR
                DQ\,3DGGUHVV




       System Administration                                                                          257
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                                                                                         $&&(66*$7(:$<

                &OLFNRQWKHFKHFNER[IRU5DGLXV$XWKHQWLFDWLRQ(QDEOHWRHQDEOHWKH&HQWUDOL]HG
                  $XWKHQWLFDWLRQPHFKDQLVP,IFKRVHQWKHV\VWHPZLOOILUVWWU\WRDXWKHQWLFDWHDJDLQVWWKH
                  ORFDOGDWDEDVHDQGWKHQZLOOFKHFNDJDLQVWWKH5$',866HUYLFH3URILOHVWKDWDUH
                  FRQILJXUHG
                6HOHFWWKH5$',866HUYLFH3URILOHIURPWKHSRSXSOLVW7KHOLVWRIDYDLODEOHSURILOHVLV
                  GHILQHGLQ5HDOP%DVHG5RXWLQJ
                (QWHUD6HVVLRQ7LPHRXWYDOXHLQPLQXWHV7KLVGHILQHVWKHWLPHRIYDOLGLW\SHULRGRIWKH
                  FRRNLHSDVVHGWRWKH:HEEURZVHUIURPWKH:0,6HVVLRQDQG5$',86VHVVLRQ
                Managers Only,I5$',86LVHQDEOHG\RXFDQHQWHUDORJLQQDPHLQWKH5$',86
                  5HPRWH7HVW/RJLQILHOG

                           For RADIUS logins, the maximum number of characters for usernames is 96. The
                           maximum number of characters for passwords is 128.

                Managers Only,I\RXHQWHUHGDORJLQQDPHLQ6WHSHQWHUDSDVVZRUGLQWKH5$',86
                  5HPRWH7HVW3DVVZRUGILHOG
                Managers Only&OLFNRQWKH6DYHEXWWRQWRVDYHWKHORJLQDQGSDVVZRUGSDUDPHWHUVRU
                  FOLFNRQWKH5HVWRUHEXWWRQLI\RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH


             Defining the MAC Filtering Options {MAC Filtering}
             0$&$GGUHVVILOWHULQJHQKDQFHV1RPDGL[ DFFHVVFRQWUROWHFKQRORJ\E\DOORZLQJ6\VWHP
             $GPLQLVWUDWRUVWREORFNPDOLFLRXVXVHUVEDVHGRQWKHLU0$&DGGUHVV8SWR0$&
             DGGUHVVHVFDQEHEORFNHGDWDQ\RQHWLPH VHHFDXWLRQ 

                           MAC addresses that you enter here will cause the subscribers at these addresses
                           to be blocked from service. Please make sure that you enter the correct
                           addresses before submitting the data.




       258                                                                            System Administration
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       $&&(66*$7(:$<

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6\VWHPWKHQ0$&)LOWHULQJ7KHMAC
                Filtering VFUHHQDSSHDUV




              &OLFNRQWKHFKHFNER[IRU0$&)LOWHULQJWRHQDEOH RUGLVDEOH WKLVIHDWXUHDVUHTXLUHG
              (QWHUD0$&DGGUHVVLQWKH0$&ILHOGWKHQFOLFNRQWKH$GGEXWWRQWRDGGWKLVDGGUHVVWR
                WKH³EORFNHG´OLVWRUFOLFNRQWKH5HPRYHEXWWRQWRUHPRYHWKLVDGGUHVVIURPWKHOLVW
           )RUDGYDQFHGVHFXULW\VHHDOVR³(VWDEOLVKLQJ6HVVLRQ5DWH/LPLWLQJ^6HVVLRQ/LPLW`´RQ
           SDJH 


           Utilizing Packet Capturing {Packet Capture}
           7KH3DFNHW&DSWXUHIHDWXUHSURYLGHV16(DGPLQLVWUDWRUVZLWKDQRQV\VWHPXWLOLW\WRFDSWXUH
           QHWZRUNWUDIILFRQHDFKRIWKH16(QHWZRUNLQWHUIDFHV7KHFDSWXUHGQHWZRUNWUDIILFZLOOEH
           DFFHVVLEOHIRU)73GRZQORDGDQGYLHZLQJRQDUHPRWHKRVWLQWKHIRUPRID3&$3IRUPDWWHG
           ILOH 1RWHWKDWDXWLOLW\WKDWLVFDSDEOHRIUHDGLQJDQGGLVSOD\LQJ3&$3IRUPDWWHGILOHVVXFKDV
           :LUHVKDUNLVUHTXLUHGLQRUGHUWRYLHZWKHUHVXOWV 




       System Administration                                                                             259
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                                                                                            $&&(66*$7(:$<

                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6\VWHPWKHQ3DFNHW&DSWXUH7KH3DFNHW
                  &DSWXUH6HWWLQJVVFUHHQDSSHDUV




                7RLQLWLDWHDFDSWXUHRQDJLYHQLQWHUIDFHFOLFNWKDWLQWHUIDFH¶VDVVRFLDWHG6WDUWEXWWRQ7KH
                  EXWWRQODEHOZLOOFKDQJHWR6WRSLQGLFDWLQJWKDWDFDSWXUHLVLQSURJUHVV&OLFNWKHEXWWRQ
                  DJDLQWRVWRSWKHFDSWXUH
                :KHQDFDSWXUHKDVEHHQVWRSSHGWKHFDSWXUHGWUDIILFFDQEHYLHZHGE\FOLFNLQJWKH
                  'RZQORDGOLQNIRUWKHJLYHQLQWHUIDFH
                7RPRGLI\FDSWXUHVHWWLQJVFOLFNWKH6KRZEXWWRQIRUWKHGHVLUHGLQWHUIDFH7KLVZLOO
                  GLVSOD\WKHSDUDPHWHUVWKDWFDQEHDGMXVWHG)LOWHULQJH[SUHVVLRQVPXVWEHHQWHUHGLQWKH
                  IRUPRID3&$3VW\OHVWULQJ




       260                                                                               System Administration
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       $&&(66*$7(:$<

           Rebooting the System {Reboot}
           7KLVSURFHGXUHVKRZV\RXKRZWRUHERRWWKH$FFHVV*DWHZD\

                        The “reboot” procedure outlined on this page allows you to decide when to
                        reboot (if you are making multiple changes to different menu functions and you
                        want to reboot just one time after completing all your changes).

              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6\VWHPWKHQ5HERRW7KHReboot Device
                VFUHHQDSSHDUV




              &OLFNRQ2.WRUHERRWWKHRSHUDWLQJV\VWHP


           Routing Tables {Routing}
           7KLVFRPPDQGDOORZV\RXWRFRQILJXUHVWDWLFURXWHVDQGSLFNWKH:$1LQWHUIDFHIRUDVSHFLILF
           GHVWLQDWLRQQHWZRUN7KHGLVSOD\SURYLGHVLQIRUPDWLRQRQQHWZRUNURXWHVDQGWKHLUV\VWHP
           FRQQHFWLRQV<RXFDQDOVRDGGRUGHOHWHURXWHVIURPWKLVVFUHHQ
           7RXVHWKLVIHDWXUH:$1/RDG%DODQFLQJPXVWEHHQDEOHG6HH³/RDG%DODQFLQJ´RQ
           SDJH 




       System Administration                                                                        261
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                                                                                       $&&(66*$7(:$<

             7RYLHZWKHURXWLQJWDEOHVFKRRVH6\VWHP!5RXWLQJ7KH5RXWLQJ7DEOHVVFUHHQDSSHDUV




             <RXFDQYLHZWKHURXWHVDVVRFLDWHGZLWKHDFKSK\VLFDO16(SRUWE\FOLFNLQJRQWKHWDEIRUWKH
             SRUW,QWKHVFUHHQVKRWDERYHRQO\WKH:$1SRUWLVLQXVH

             $GGLQJD5RXWH
                2QWKH5RXWLQJ7DEOHVVFUHHQVFUROOWR$GGD1HZ6WDWLFRU3HUVLVWHQW5RXWH




       262                                                                          System Administration
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       $&&(66*$7(:$<

              (QWHUWKH'HVWLQDWLRQ,33UHIL[/HQJWKDGGUHVVRIWKHURXWH\RXZDQWWRDGGWRWKHURXWLQJ
                WDEOH7KLVLVWKH'HVWLQDWLRQ,3RU6XEQHWWKDWWKH5RXWHLVWU\LQJWRUHDFKZLWKWKHSUHIL[
                OHQJWKWRGHWHUPLQHKRZODUJHWKHVXEQHWPLJKWEH
              (QWHUWKH*DWHZD\,3DGGUHVVIRUWKH5RXWHEHLQJDGGHGVRWKDWWKH16(NQRZVZKDWWR
                XVHWRWU\WRUHDFKWKHGHVWLQDWLRQ,36XEQHW
              &KRRVHWKH3RUW1DPHWKHSK\VLFDO16(3RUWWRZKLFKWKHURXWHLVDWWDFKHG
              &KRRVHWKH5ROHEDVHGRQZKDWWKHURXWHLVGHVLJQHGIRU7KLVZLOOQRUPDOO\EHZDQ
              &KRRVHWKH7\SH6WDWLFRU3HUVLVWHQW
              &OLFNRQWKH$GGEXWWRQWRDGGWKLVURXWHWRWKHURXWLQJWDEOHRUFOLFNRQWKH5HVWRUH
                EXWWRQLI\RXZDQWWRUHVHWDOOWKHYDOXHVWRWKHLUSUHYLRXVVWDWH

           'HOHWLQJD5RXWH
           7RGHOHWHGDURXWHFOLFNWKH'HOHWHOLQNLQWKHURXWLQJWDEOH7KHURXWHLVLPPHGLDWHO\GHOHWHG

                         To restore a deleted route, reboot the NSE (which will restore auto-generated
                         routes) or manually re-enter the route.


           Establishing Session Rate Limiting {Session Limit}
           6HVVLRQ5DWH/LPLWLQJ 65/ VLJQLILFDQWO\UHGXFHVWKHULVNRI³'HQLDORI6HUYLFH´DWWDFNVE\
           DOORZLQJDGPLQLVWUDWRUVWROLPLWWKHQXPEHURI'$7VHVVLRQVDQ\RQHXVHUFDQWDNHRYHUD
           JLYHQWLPHSHULRGDQGLIQHFHVVDU\WKHQEORFNPDOLFLRXVXVHUV
              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6\VWHPWKHQ6HVVLRQ/LPLW7KHSession
                Rate Limiting VFUHHQDSSHDUV




       System Administration                                                                               263
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                                                                                          $&&(66*$7(:$<

                &OLFNRQWKHFKHFNER[IRU6HVVLRQ5DWH/LPLWLQJWRHQDEOH RUGLVDEOH WKLVIHDWXUHDV
                  UHTXLUHG
                (QWHUYDOXHVIRUWKHIROORZLQJVHVVLRQ³OLPLWLQJ´SDUDPHWHUV
                  z   0HDQ5DWH
                  z   %XUVW6L]H
                  z   7LPH,QWHUYDO LQVHFRQGV
                &OLFNRQWKH6DYHEXWWRQWRVDYH\RXUFKDQJHV
             )RUDGYDQFHGVHFXULW\VHHDOVR³'HILQLQJWKH0$&)LOWHULQJ2SWLRQV^0$&)LOWHULQJ`´RQ
             SDJH 


             Adding/Deleting Static Ports {Static Port-Mapping}
             6WDWLF3RUW0DSSLQJDOORZVWKHQHWZRUNDGPLQLVWUDWRUWRVHWXSDSRUWPDSSLQJVFKHPHWKDW
             IRUZDUGVSDFNHWVUHFHLYHGRQDVSHFLILFSRUWWRDSDUWLFXODUVWDWLF,3 W\SLFDOO\SULYDWHDQGPLV
             FRQILJXUHG DQGSRUWQXPEHURQWKHVXEVFULEHUVLGHRIWKH$FFHVV*DWHZD\7KHDGYDQWDJHIRU
             WKHQHWZRUNDGPLQLVWUDWRULVWKDWIUHHSULYDWH,3DGGUHVVHVFDQEHXVHGWRPDQDJHGHYLFHV VXFK
             DV$FFHVV3RLQWV RQWKHVXEVFULEHUVLGHRIWKH$FFHVV*DWHZD\ZLWKRXWVHWWLQJWKHPXSZLWK
             SXEOLF,3DGGUHVVHV




       264                                                                             System Administration
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       $&&(66*$7(:$<

           7RDGGVWDWLFSRUWV
              )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6\VWHPWKHQ6WDWLF3RUW0DSSLQJ7KH
                Static Port-Mapping VFUHHQDSSHDUV




       System Administration                                                                    265
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                                                                                           $&&(66*$7(:$<

                (QWHUWKH,QWHUQDO,3$GGUHVV

                           Ensure that the device with the Internal IP Address has been added to the
                           subscriber’s table.

                (QWHUWKH,QWHUQDO3RUWUHIHUHQFH
                (QWHUDYDOLG0$&$GGUHVV
                (QWHUWKH([WHUQDO,3$GGUHVV

                           The External IP address field will default to the IP address of the Access
                           Gateway.

                (QWHUWKH([WHUQDO3RUWUHIHUHQFH
                Optional(QWHUWKH5HPRWH,3$GGUHVV/HDYHWKLVILHOGVHWWR]HURLI\RXZDQWWRFRQQHFW
                  WRWKHLQWHUQDOGHYLFHIURPDQ\QHWZRUNVLGHZRUNVWDWLRQ
                Optional:(QDEOHWKH3URWHFWZLWK6RXUFH,3EDVHG$FFHVV&RQWURORSWLRQ(QDEOLQJ
                  WKLVZLOORQO\DOORZDGGUHVVLQWKHVRXUFHEDVHGDFFHVVFRQWUROOLVWWRFRQQHFWRQWKLVSRUW
                  PDSSLQJ6RXUFHEDVHGDFFHVVFRQWUROQHHGVWREHHQDEOHGIRUWKLVWREHLQHIIHFW
                Optional(QWHUWKH5HPRWH3RUWUHIHUHQFH/HDYHWKLVILHOGVHWWR]HURLI\RXZDQWWR
                  FRQQHFWWRWKHGHYLFHIURPDQ\7&38'3SRUWRIDQHWZRUNVLGHZRUNVWDWLRQ
              6HOHFWWKHSURWRFRO 7&3RU8'3 IURPWKHSXOOGRZQPHQX
              &OLFNRQWKH$GGEXWWRQWRDGGWKLVVWDWLFSRUWRUFOLFNRQWKH5HVWRUHEXWWRQWRUHVHWDOO
                  YDOXHVWRWKHLUSUHYLRXVVWDWH

             7RGHOHWHVWDWLFSRUWV
                )URPWKH:HE0DQDJHPHQW,QWHUIDFHFOLFNRQ6\VWHPWKHQ6WDWLF3RUW0DSSLQJ7KH
                  Static Port-Map VFUHHQDSSHDUV
                6HOHFWWKHLWHP\RXZDQWWRGHOHWH
                &OLFNRQWKH'HOHWHEXWWRQWRGHOHWHWKHVWDWLFSRUWRUFOLFNRQWKH5HVWRUHEXWWRQWRUHVHW
                  \RXUFKDQJHVWRWKHLUSUHYLRXVVWDWH
             )RUPRUHLQIRUPDWLRQDERXW6WDWLF3RUW0DSSLQJVHHDOVR
                  z   ³'LVSOD\LQJWKH6WDWLF3RUW0DSSLQJ7DEOH^6WDWLF3RUW0DSSLQJ`´RQSDJH 




       266                                                                              System Administration
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       $&&(66*$7(:$<

           Updating the Access Gateway Firmware {Upgrade}
           8SJUDGLQJWKH$FFHVV*DWHZD\ILUPZDUHLVSHUIRUPHGIURPWKH$FFHVV*DWHZD\¶V&RPPDQG
           /LQH,QWHUIDFH &/, RQO\5HIHUWRWKH)LUPZDUH8SJUDGH3URFHGXUH VHSDUDWHGRFXPHQW
           DYDLODEOHIURP1RPDGL[7HFKQLFDO6XSSRUW 




       System Administration                                                                 267
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                                                           $&&(66*$7(:$<




       268                                               System Administration
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       $&&(66*$7(:$<                                                                              
       The Subscriber Interface
           7KLVFKDSWHUSURYLGHVDQRYHUYLHZRIWKH$FFHVV*DWHZD\¶V6XEVFULEHU,QWHUIDFHDQGVHFWLRQV
           RXWOLQLQJWKHDXWKRUL]DWLRQDQGELOOLQJSURFHVVHVVXEVFULEHUPDQDJHPHQWPRGHOVDQGWKH
           ,QIRUPDWLRQDQG&RQWURO&RQVROH ,&& 


       2YHUYLHZ
           7KH6XEVFULEHU,QWHUIDFHLVWKHZLQGRZWRWKHVROXWLRQSURYLGHU¶V:HEVLWHDQGPXFKPRUH
           WKDQWKDW:KHQDVXEVFULEHUDFFHVVHVWKHVROXWLRQSURYLGHU¶VKLJKVSHHGQHWZRUNWKH$FFHVV
           *DWHZD\SRLQWVWKHVXEVFULEHU¶VEURZVHUWRDVLJQLQSDJH7KH$FFHVV*DWHZD\WKHQFUHDWHVD
           GDWDEDVHHQWU\WKDWDXWRPDWLFDOO\UHFRUGVWKHVXEVFULEHU¶V0HGLD$FFHVV&RQWURO 0$& 
           DGGUHVVDQGLQWHJUDWHVWKLVDGGUHVVZLWKD306LQWHUIDFHIRUVHFXUHELOOLQJ/LNHDURXWHUWKH
           $FFHVV*DWHZD\FRQWLQXRXVO\WUDFNVVXEVFULEHU,3DQG0$&VHWWLQJVHOLPLQDWLQJWKHQHHGIRU
           IXUWKHUVLJQLQVDQGHQVXULQJWKDWVXEVFULEHUXVDJHDQGELOOLQJLVUHFRUGHGDFFXUDWHO\7KH
           $FFHVV*DWHZD\DOVRHOLPLQDWHVFRQILJXUDWLRQLVVXHVEHWZHHQWKHVXEVFULEHU¶VFRPSXWHUDQG
           WKHQHWZRUN
           7KH6XEVFULEHU,QWHUIDFHLVWKHSRUWDO:HEVLWHRIWKHVROXWLRQSURYLGHU¶VEURDGEDQGQHWZRUN
           DQGDVVXFKLWVDSSHDUDQFHDQGIXQFWLRQDOLW\UHIOHFWWKHQHHGVRIWKHVROXWLRQSURYLGHU7KH
           $FFHVV*DWHZD\LVDJDWHZD\WRWKLVQHWZRUNSURYLGLQJFRQQHFWLRQVHUYLFHVWKDWHQDEOHDQG
           DXWRPDWHDQHIIHFWLYHEnterpriseUHODWLRQVKLSEHWZHHQDVXSSOLHU WKHVROXWLRQSURYLGHU DQGLWV




       The Subscriber Interface                                                                        269
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                                                                                          $&&(66*$7(:$<

             FXVWRPHU WKHVXEVFULEHU 7KH$FFHVV*DWHZD\¶VUROHLQWKLVFXVWRPHUVXSSOLHUUHODWLRQVKLSLV
             HIIHFWLYHO\³LQYLVLEOH´WRVXEVFULEHUV

                    6XEVFULEHU                         $*

                                                                                  %URDGEDQG1HWZRUN

                                              6XEVFULEHU*DWHZD\



                                                                                       3RUWDO
                                                  $$$0RGXOH




                                                                                      ,QWHUQHW


                                                     %LOOLQJ




       $XWKRUL]DWLRQDQG%LOOLQJ
             $VDJDWHZD\GHYLFHWKH$FFHVV*DWHZD\HQDEOHVSOXJDQGSOD\DFFHVVWREURDGEDQG
             QHWZRUNV%URDGEDQGQHWZRUNVROXWLRQSURYLGHUVFDQQRZRIIHUWKHLUVXEVFULEHUVDZLGHUDQJH
             RIKLJKVSHHGVHUYLFHVLQFOXGLQJDFFHVVWRWKH,QWHUQHW2IFRXUVHDKLJKVSHHG,QWHUQHW
             FRQQHFWLRQLVQRWIUHH±VXEVFULEHUVSD\DQDFFHVVIHHEDVHGRQWKHGXUDWLRQRIWKHLU
             FRQQHFWLRQ$GGLWLRQDOO\VXEVFULEHUVPD\ZDQWWRWDNHDGYDQWDJHRIWKHVROXWLRQSURYLGHU¶V
             ORFDOQHWZRUNVHUYLFHV IRUH[DPSOHSXUFKDVLQJJRRGVDQGORFDOVHUYLFHV ,QHLWKHUFDVHWKH
             VXEVFULEHULVUHTXLUHGWRSD\1DWXUDOO\VXEVFULEHUVH[SHFWWRSD\RQO\IRUWKHVHUYLFHVUHQGHUHG
             WRWKHP
             ,QDQ\HQYLURQPHQWELOOLQJLVDFRPSOH[SURFHVV,WUHTXLUHVDFFXUDWHGDWDFROOHFWLRQDQG
             UHFRQFLOLDWLRQDPHDQVWRYDOLGDWHDQGSURWHFWWKHGDWDDQGDQHIILFLHQWPHWKRGIRUFROOHFWLQJ
             SD\PHQWV
             7KH$FFHVV*DWHZD\RIIHUVSRZHUIXOELOOLQJVXSSRUWIXQFWLRQDOLW\FDOOHG³$XWKHQWLFDWLRQ
             $XWKRUL]DWLRQDQG$FFRXQWLQJ´7KLVIHDWXUH DOVRNQRZQDV$$$ HPSOR\VDFRPELQDWLRQRI
             FRPPDQGURXWLQHVGHVLJQHGWRFUHDWHDIOH[LEOHHIILFLHQWDQGVHFXUHELOOLQJHQYLURQPHQW)RU
             H[DPSOHZKHQDVXEVFULEHUORJVLQWRWKHV\VWHPWKHLUXQLTXH0$&DGGUHVVLVSODFHGLQWRDQ
             DXWKRUL]DWLRQWDEOH7KHV\VWHPWKHQDXWKHQWLFDWHVWKHVXEVFULEHU¶V0$&DGGUHVVDQGELOOLQJ
             LQIRUPDWLRQEHIRUHDOORZLQJWKHPWRDFFHVVWKH,QWHUQHWDQGPDNHRQOLQHSXUFKDVHV




       270                                                                           The Subscriber Interface
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       $&&(66*$7(:$<



                      6XEVFULEHU

                                    /DXQFKEURZVHU


                              (QWHUFUHGLWFDUGGHWDLOV


                                                                       1HWZRUNDFFHVV

                          $*
                                                                                              %LOOLQJ
                                                                                              PLUURU
                        $$$                                                                   VHUYHU
                                     $XWKRUL]HWKLV
                                      VXEVFULEHU
                                                                          ([WHUQDO
                                                                         :HEVHUYHU
                                                                                              306
                               1R                      <HV                                   V\VWHP




                                                                                          EDQNDFFRXQW
                        6ROXWLRQ3URYLGHU




           The AAA Structure
           7KH$FFHVV*DWHZD\¶V$XWKHQWLFDWLRQ$XWKRUL]DWLRQDQG$FFRXQWLQJ $$$ PRGXOHHQDEOHV
           WKHVROXWLRQSURYLGHUWRSURYLVLRQWUDFNDQGELOOQHZRUUHWXUQLQJVXEVFULEHUV7KLVLQFOXGHV
               z    $OORZLQJWKHVROXWLRQSURYLGHU IRUH[DPSOHDKRWHO WRELOOLWVJXHVWVIRUWKHKLJK
                    VSHHGQHWZRUNVHUYLFHVLWSURYLGHVWUDFNXVDJHRQWKHQHWZRUNDQGGHQ\VHUYLFHWR
                    WKRVHJXHVWVZKRKDYHQRWSDLG
               z    $OORZLQJWKHVROXWLRQSURYLGHUWRELOOVXEVFULEHUVIRUVHUYLFHVUHQGHUHGHLWKHUGLUHFWO\
                    RQWKHLUKRWHOELOO LQWKHKRWHOVFHQDULR YLDDPDLOHGLQYRLFHRUGLUHFWO\WRWKH
                    VXEVFULEHU¶VFUHGLWFDUGDFFRXQW
           7KHIROORZLQJLOOXVWUDWLRQVKRZVWKHIXQFWLRQDOUHODWLRQVKLSEHWZHHQWKH$FFHVV*DWHZD\¶V
           LQWHUQDOPRGXOHVDQGWKHH[WHUQDOVXSSRUWV\VWHPV




       The Subscriber Interface                                                                          271
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                                                                                                                            $&&(66*$7(:$<
             




                                   6XEVFULEHU/RJLQ                                         6XEVFULEHU0DQDJHPHQW
                                      ,QWHUQDO:HE6HUYHU        ([WHUQDO:HE6HUYHU             ,QWHUQDO:HE0DQDJHPHQW,QWHUIDFH
                                    RQIODVKIRUORJLQSDJHV   IRUORJLQ SRUWDOSDJHV




        $XWKHQWLFDWLRQ



        ,QWHUQDO8VHU'DWDEDVH
                 0$&
          $XWKRUL]DWLRQ7DEOH




         ,QWHUQDO8VHU'DWDEDVH




                                      3066\VWHP           &UHGLW&DUG6HUYHU
                                                                                             ,QWHUQDO$FFRXQWLQJ/RJ $$$



                                                                                          $FFRXQWLQJ
                                                 %LOOLQJ0LUURU6HUYHU V



                                   %LOOLQJ
             7KH$XWKHQWLFDWLRQPRGXOHLVUHVSRQVLEOHIRUHQVXULQJWKDWZKHQVXEVFULEHUVORJLQWRWKH
             V\VWHPWKH\DUHFRUUHFWO\LGHQWLILHG,WFDQLGHQWLI\VXEVFULEHUVLQPDQ\GLIIHUHQWZD\V)RU
             H[DPSOH
                  z     %DVHGRQWKHLUKDUGZDUH 0$& DGGUHVV
                  z     %\YDOLGDWLQJWKHLUXVHUQDPHDQGSDVVZRUG
                  z     %\ORRNLQJXSVXEVFULEHUVRQDORFDO IODVK GDWDEDVH
                  z     %\ORRNLQJXSVXEVFULEHUVRQDUHPRWHGDWDEDVH

                                  The Authentication module can support user name and MAC address
                                  authentication simultaneously.


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       $&&(66*$7(:$<

           7KHLQLWLDOORJLQSDJHFDQEHSUHVHQWHGLQYDULRXVZD\VGHSHQGLQJRQWKHV\VWHP¶V
           FRQILJXUDWLRQ7KH$FFHVV*DWHZD\VXSSRUWVDQ\RIWKHIROORZLQJPHWKRGVDQGWRROV
               z    ,QWHUQDODQGH[WHUQDO:HESDJHV
               z    ([WHUQDO³SRUWDO´SDJHIRUUHGLUHFWLRQ
               z    8VHUQDPHDQG0$&EDVHGORJLQV VLPXOWDQHRXVRUVWDQGDORQH 
               z    8VHUVHOHFWDEOHRSWLRQVDQGSDUDPHWHUV IRUH[DPSOHGHILQLQJWKHWLPHSXUFKDVHG 
               z    ,QWHUDFWLRQZLWKD3URSHUW\0DQDJHPHQW6\VWHP 306 DQG:HELQWHUIDFHVHQDEOLQJ
                    DGPLQLVWUDWRUVWRHGLWWKHVXEVFULEHU¶VLQSXW
           2QO\VXEVFULEHUVWKDWDUHFRUUHFWO\LGHQWLILHGDQGDXWKHQWLFDWHGDUHDXWKRUL]HGWRDFFHVVWKH
           V\VWHP2QFHDXWKRUL]HGWKHVXEVFULEHU¶VDFWLYLW\LVORJJHGDQGELOOHGWKURXJKWKH$FFHVV
           *DWHZD\¶V$FFRXQWLQJPRGXOH
           7KH$FFRXQWLQJPRGXOHIXOO\VXSSRUWVWKHIROORZLQJIXQFWLRQV
               z    &UHGLWFDUGELOOLQJ IRUH[DPSOHLQWHUDFWLRQZLWKAuthorizeNet 
               z    8VHUQDPHDQGSDVVZRUGYHULILFDWLRQ
               z    %LOOLQJYHULILFDWLRQ
               z    3HUSRUWORFDWLRQ IRUH[DPSOHURRPRUXQLW ELOOLQJ




       The Subscriber Interface                                                                         273
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                                                                                                   $&&(66*$7(:$<

             Process Flow (AAA)
             7KHIROORZLQJIORZFKDUWRXWOLQHVWKH$$$DQGELOOLQJSURFHVV$OODFWLRQVGHSLFWHGLQWKHFKDUW
             DUHDGPLQLVWHUHGDQGWUDFNHGE\WKH$FFHVV*DWHZD\
                          $*GHWHFWVFRQQHFWLRQDQGYHULILHVXVHUDJDLQVWDXWKRUL]DWLRQWDEOH



                               1HZ8VHU                                         ([LVWLQJ6XEVFULEHU



                               /RJLQ3DJH

                        6SHFLI\OHDVHWLPH                                   <HV
                          UHTXLUHGDQG                        3XUFKDVH             /HDVHWLPH
                       FKRRVHDXVHU,'DQG                   PRUHWLPH             KDVH[SLUHG
                            SDVVZRUG


                                                                                           1R
                     3URYLGHFUHGLWFDUGGHWDLOV




                           3066\VWHP

                      5HMHFW              $FFHSW

                        %LOOIRUJRRGV
                        DQGVHUYLFHV                             %LOOLQJ
                          DQGFUHGLW                              0LUURU
                       SURYLGHU¶VEDQN                            6HUYHU
                           DFFRXQW



                                                   ,QWHUQDORU([WHUQDO:HE6HUYHU

                                    6ROXWLRQ3URYLGHU¶V3RUWDO3DJH




                                   ,QWHUQHWDQGORFDORQOLQHVHUYLFHV

                                               %URZVLQJ

                                            2QOLQHSXUFKDVHV




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       $&&(66*$7(:$<

           Internal and External Web Servers
           7KH$FFHVV*DWHZD\VXSSRUWVERWKLQWHUQDODQGH[WHUQDO:HEVHUYHUVZKLFKDFWDVDORJLQ
           LQWHUIDFHEHWZHHQVXEVFULEHUVDQGWKHVROXWLRQSURYLGHU¶VQHWZRUNLQFOXGLQJWKH,QWHUQHW7KH
           LQWHUQDO:HEVHUYHULV³IODVKHG´LQWRWKHV\VWHP¶VPHPRU\DQGWKHORJLQSDJHLVVHUYHGGLUHFWO\
           IURPWKH$FFHVV*DWHZD\,QWKHH[WHUQDO:HEVHUYHUPRGHOWKH$FFHVV*DWHZD\UHGLUHFWVWKH
           VXEVFULEHU¶VORJLQUHTXHVWWRDQH[WHUQDOVHUYHU(LWKHUPHWKRGLVWUDQVSDUHQWWRWKHVXEVFULEHU
           KRZHYHUWKHDGYDQWDJHRIXVLQJWKHLQWHUQDO:HEVHUYHULVREYLRXV±QRORJLQUHGLUHFWLRQWDVNV
           DQGDIDVWHUUHVSRQVHWLPHIRUWKHVXEVFULEHU


           Language Support
           7KH$FFHVV*DWHZD\¶VVXEVFULEHULQWHUIDFHVXSSRUWVPDQ\$VLDQDQG(XURSHDQODQJXDJHV
           LQFOXGLQJ(QJOLVK&KLQHVH)UHQFK*HUPDQ-DSDQHVHDQG6SDQLVK


           Home Page Redirection
           7KH$FFHVV*DWHZD\FDQEHFRQILJXUHGWRUHGLUHFWDOOYDOLGVXEVFULEHUVWRD:HESRUWDORU
           KRPHSDJHGHWHUPLQHGE\WKHVROXWLRQSURYLGHU$IWHUDVSHFLILHGWLPHIURPWKHILUVWKRPH
           SDJHUHGLUHFWLRQ GHWHUPLQHGE\WKHV\VWHPDGPLQLVWUDWRU VXEVFULEHUVDUHUHGLUHFWHGDJDLQWR
           WKHSRUWDODWWKHQH[W:HESDJHUHTXHVW




       The Subscriber Interface                                                                          275
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                                                                                       $&&(66*$7(:$<

       6XEVFULEHU0DQDJHPHQW
             7KH$FFHVV*DWHZD\SURYLGHVVHYHUDOVXEVFULEHUPDQDJHPHQWPRGHOVLQFOXGLQJ
                 z    )UHHDFFHVV IRUH[DPSOHQR$$$IXQFWLRQDOLW\
                 z    0$&DGGUHVV
                 z    3RUW/RFDWLRQ,' IRUH[DPSOHE\URRPRUXQLWQXPEHU
                 z    8VHUQDPHDQGSDVVZRUG
                 z    &UHGLWFDUG
             &RPELQDWLRQVRIWZRRUPRUHVXEVFULEHUPDQDJHPHQWPRGHOVFDQEHXVHG:KHQDVXEVFULEHU
             FRQQHFWVWRWKHQHWZRUNDQGDWWHPSWVWRDFFHVVWKH,QWHUQHWWKH$FFHVV*DWHZD\ORRNVIRUHDFK
             PRGHOLQWKHJLYHQRUGHUDERYH


             Subscriber Management Models
             7KHV\VWHPDGPLQLVWUDWRUHVWDEOLVKHVWKHVXEVFULEHUPDQDJHPHQWPRGHOYLDWKH&RPPDQG/LQH
             ,QWHUIDFH &/, RUWKH:HE0DQDJHPHQW,QWHUIDFH7KHVHPRGHOVFDQEHFKDQJHGZKLOHWKH
             $FFHVV*DWHZD\LVUXQQLQJ ZLWKRXWUHERRWLQJRULQWHUUXSWLQJWKHVHUYLFH 
                 z    )UHH$FFHVV±,IWKH$FFHVV*DWHZD\LVFRQILJXUHGWRGLVDEOH$$$VHUYLFHVDOO
                      VXEVFULEHUVZLOOKDYHIUHHDFFHVVWRWKH,QWHUQHW
                 z    0$&$GGUHVV±(DFKFRPSXWHUZLWKDQ(WKHUQHWLQWHUIDFHFDUGKDVDXQLTXH0$&
                       KDUGZDUH DGGUHVV7KH$FFHVV*DWHZD\FDQEHFRQILJXUHGWRDOORZDFFHVVIRU
                      VSHFLILHG0$&DGGUHVVHV,QWKLVPRGHOZKHQDVXEVFULEHUDWWHPSWVWRDFFHVVWKH
                      ,QWHUQHWWKH$FFHVV*DWHZD\YDOLGDWHVWKHVXEVFULEHU¶V0$&DGGUHVVDJDLQVWD0$&
                      DXWKRUL]DWLRQWDEOH,IWKH0$&DGGUHVVLVYHULILHGWKH$FFHVV*DWHZD\DXWKRUL]HV
                      DFFHVVWRWKH,QWHUQHW$SRVVLEOHVFHQDULRIRUXVLQJWKLVPRGHOLVWRDOORZ,QWHUQHW
                      DFFHVVWRDGPLQLVWUDWLYHSHUVRQQHOLQDOOORFDWLRQV
                 z    8VHU1DPHDQG3DVVZRUG±(DFKVXEVFULEHUFDQFKRRVHDXQLTXHXVHUQDPHDQG
                      SDVVZRUG DQGEHFKDUJHGIRULW ,QWKLVPRGHOZKHQDVXEVFULEHUDWWHPSWVWRDFFHVV
                      WKH,QWHUQHWWKH\DUHSURPSWHGIRUWKHXVHUQDPHDQGSDVVZRUGEHIRUHDFFHVVLV
                      DXWKRUL]HG3RVVLEOHVFHQDULRVLQZKLFKWKLVPRGHOLVDSSURSULDWHLQFOXGHDOORZLQJ
                      VXEVFULEHUVWRXVHPRUHWKDQRQHFRPSXWHURUZKHQVXEVFULEHUVZDQWWRPRYHEHWZHHQ
                      ORFDWLRQV
                 z    &UHGLW&DUG±,QWKLVPRGHOZKHQVXEVFULEHUVFRQQHFWWRWKHQHWZRUNDQGDWWHPSWWR
                      DFFHVVWKH,QWHUQHWWKH\DUHSURPSWHGIRUWKHLUFUHGLWFDUGLQIRUPDWLRQ7KH$FFHVV
                      *DWHZD\LVSUHFRQILJXUHGWRXVHWKHAuthorize.NetVHUYLFHDQG\RXZLOOQHHGWRRSHQ
                      DPHUFKDQWWUDGLQJDFFRXQWZLWKWKHPEHIRUHXVLQJWKLVVXEVFULEHUPDQDJHPHQW
                      PRGHO



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       $&&(66*$7(:$<

           Configuring the Subscriber Management Models

                      0RGHO                           :KDW<RX1HHG7R'R

        )UHHDFFHVV               'LVDEOHWKH$$$VHUYLFHV

        0$&DGGUHVV               (QDEOHWKH$$$VHUYLFHVDQGDGGDVXEVFULEHUSURILOHWRWKH
                                  GDWDEDVHIRUHDFK0$&DGGUHVV\RXZDQWWRHQDEOH

        8VHU1DPHDQG3DVVZRUG    (QDEOHWKH$$$VHUYLFHVDQG8VHUQDPHV$GGDVXEVFULEHU
                                  SURILOHWRWKHGDWDEDVHIRUHDFKXVHUQDPHDQGSDVVZRUG\RX
                                  ZDQWWRHQDEOH<RXZLOOQHHGWRUHTXHVWDXQLTXHXVHUQDPH
                                  DQGSDVVZRUGZKHQWKH\SD\IRUWKHVHUYLFH
                                  7KHXVHUQDPHDQGSDVVZRUGDUHRSWLRQDO WKH0$&DGGUHVV
                                  ZLOOEHVXEVWLWXWHG EXWLQWKLVHYHQWWKHVHUYLFHLVQRW
                                  WUDQVIHUDEOHEHWZHHQFRPSXWHUV

        &UHGLWFDUG               (QDEOHWKH$$$VHUYLFHV<RXKDYHWKHFKRLFHRIHQDEOLQJWKH
                                  $FFHVV*DWHZD\¶VLQWHUQDODXWKRUL]DWLRQPRGXOHRUXVLQJDQ
                                  H[WHUQDOFUHGLWFDUGDXWKRUL]DWLRQVHUYHU
                                  ,QWHUQDO$XWKRUL]DWLRQ(QDEOHG
                                  (QWHUWKHFUHGLWFDUGVHUYHU¶V85/DQG,3DGGUHVVWKHQHQWHU
                                  WKHPHUFKDQW,'\RXREWDLQIURP$XWKRUL]H1HW
                                  ,I\RXKDYH127HQDEOHG,QWHUQDO$XWKRUL]DWLRQ
                                  6HWXS\RXURZQH[WHUQDODXWKRUL]DWLRQVHUYHUZLWK\RXU
                                  PHUFKDQW,'(QWHUWKHVHFUHWNH\ WKHGHIDXOWLVbigbrowndog 
                                  (QWHUWKHH[WHUQDODXWKRUL]DWLRQVHUYHU¶V85/WKHQHQWHULWV,3
                                  DGGUHVVDVDSDVVWKURXJK,3DGGUHVV




       The Subscriber Interface                                                                  277
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                                                                                          $&&(66*$7(:$<

       ,QIRUPDWLRQDQG&RQWURO&RQVROH ,&&
             7KH,&&LVD+70/SRSXSZLQGRZWKDWLVSUHVHQWHGWRVXEVFULEHUVDOORZLQJWKHPWRVHOHFW
             WKHLUEDQGZLGWKDQGELOOLQJRSWLRQVTXLFNO\DQGHIILFLHQWO\DQGGLVSOD\VDG\QDPLF³WLPH´ILHOG
             WRLQIRUPWKHPRIWKHWLPHUHPDLQLQJRQWKHLUDFFRXQW7KH,&&DOVRRIIHUVVHUYLFHSURYLGHUVDQ
             RSSRUWXQLW\WRGLVSOD\DGYHUWLVLQJEDQQHUVDQGSURYLGHDFKRLFHRIUHGLUHFWLRQRSWLRQV
             )RULQIRUPDWLRQDERXWFRQILJXULQJWKH,&&UHIHUWR³'HILQLQJ/DQJXDJHV^/DQJXDJH
             6XSSRUW`´RQSDJH 


             ICC Pop-Up Window
             7KH,&&GLVSOD\VD+70/EDVHGDSSOHWLQWKHIRUPRIDSRSXSZLQGRZIURPZKLFK
             VXEVFULEHUVFDQG\QDPLFDOO\FRQWUROWKHLUELOOLQJRSWLRQVDQGEDQGZLGWKDQGZKLFKDOORZV
             VHUYLFHSURYLGHUVWRGLVSOD\DGYHUWLVLQJEDQQHUVDQGUHGLUHFWWKHLUVXEVFULEHUVWRSUHGHWHUPLQHG
             :HEVLWHV

                     %DQGZLGWKVHOHFWLRQ                                        %DQQHU
                     SXOOGRZQ




                    5HGLUHFWEXWWRQV           0HVVDJH
                                               %DU                 7LPHUHPDLQLQJ



             7KHSRSXSZLQGRZDXWRPDWLFDOO\GLVSOD\VDW+RPH3DJH5HGLUHFWLRQ +35 RUZKHQHYHUWKH
             VXEVFULEHUEULQJVXSDQHZEURZVHUZLQGRZ




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       $&&(66*$7(:$<

           Logout Console
           7KH$FFHVV*DWHZD\DOORZV6\VWHP$GPLQLVWUDWRUVWRGHILQHDVLPSOH+70/EDVHGSRSXS
           ZLQGRZIRUH[SOLFLWORJRXWWKDWFDQEHXVHGDVDQDOWHUQDWLYHWRWKHPRUHIXOO\IHDWXUHG,&&
           7KHSRSXS/RJRXW&RQVROHFDQGLVSOD\WKHHODSVHGFRXQWGRZQWLPHDQGRQHORJRIRULQWUD
           VHVVLRQVHUYLFHEUDQGLQJ




                                                            /RJRXW&RQVROH




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                                                            $&&(66*$7(:$<




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       $&&(66*$7(:$<                                                                             
       Quick Reference Guide
           7KLVFKDSWHUFRQWDLQVSURGXFWUHIHUHQFHLQIRUPDWLRQRUJDQL]HGE\WRSLF8VHWKLVFKDSWHUWR
           ORFDWHWKHLQIRUPDWLRQ\RXQHHGTXLFNO\DQGHIILFLHQWO\


       :HE0DQDJHPHQW,QWHUIDFH :0, 0HQXV
           7KHIROORZLQJWDEOHVFRQWDLQDOLVWLQJDQGEULHIH[SODQDWLRQRIDOOPHQXVDQGPHQXLWHPV
           FRQWDLQHGLQWKH$FFHVV*DWHZD\¶V:HE0DQDJHPHQW,QWHUIDFH :0, OLVWHGDVWKH\DSSHDURQ
           VFUHHQ


              0HQXV                                          'HVFULSWLRQ

        &RQILJXUDWLRQ         'LVSOD\VWKHConfiguration PHQX,WHPVLQWKLVPHQXOHW\RXHVWDEOLVK,3
        0HQX                   SDUDPHWHUVVHW'+&3RSWLRQVVHW'16DQGKRPHSDJHUHGLUHFWLRQ
                               RSWLRQVVHW0$&EDVHGDXWKHQWLFDWLRQGLVSOD\FRQILJXUDWLRQVHWWLQJV
                               DQGVHWWKHV\VWHPGDWHDQGWLPH6103DQG6<6/2*SDUDPHWHUV

        1HWZRUN,QIR0HQX      'LVSOD\VWKHNetwork Info PHQX7KHLWHPVLQWKLVPHQXDUHXVHGWR
                               PRQLWRUDQGUHYLHZQHWZRUNFRQQHFWLRQVURXWLQJVSURWRFROVDQGQHWZRUN
                               VHVVLRQVWDWLVWLFV

        3RUW/RFDWLRQ         'LVSOD\VWKHPort-LocationPHQX,WHPVLQWKLVPHQXOHW\RXILQGDGG
        0HQX                   UHPRYHDQGXSGDWHWKH3RUW/RFDWLRQ$VVLJQPHQWV IRUH[DPSOH9/$1
                               WDJV 

        6XEVFULEHU            'LVSOD\VWKHSubscriber Administration PHQX7KHLWHPVLQWKLVPHQX
        $GPLQLVWUDWLRQ        DOORZ\RXWRDGGUHPRYHDQGPRQLWRUVXEVFULEHUSURILOHVGLVSOD\WKH
        0HQX                   FXUUHQW'+&3OHDVHVDQGPRQLWRUWKHVXEVFULEHUVFXUUHQWO\FRQQHFWHGWR
                               WKHQHWZRUN

        6XEVFULEHU            'LVSOD\VWKHSubscriber Interface PHQX7KHLWHPVLQWKLVPHQXDOORZ\RX
        ,QWHUIDFH0HQX         WRGHILQHKRZWKHVXEVFULEHULQWHUIDFHLVGLVSOD\HGWRXVHUVDQGZKDW
                               LQIRUPDWLRQLWFRQWDLQV

        6\VWHP0HQX            'LVSOD\VWKHSystem PHQX,WHPVLQWKLVPHQXOHW\RXPDQDJHORJLQ
                               QDPHVDQGSDVVZRUGVFRQILJXUDWLRQVHWWLQJVDQGURXWLQJV




       Quick Reference Guide                                                                          281
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                                                                                       $&&(66*$7(:$<

             Configuration Menu Items

                     ,WHP                                         'HVFULSWLRQ

        $$$                            (VWDEOLVKHVWKH$$$VHUYLFHRSWLRQV

        $FFHVV&RQWURO                 7RHQDEOHVHFXUHDGPLQLVWUDWLRQRIWKHSURGXFWWKH1RPDGL[
                                       $FFHVV*DWHZD\LQFRUSRUDWHVDPDVWHUDFFHVVFRQWUROOLVWWKDW
                                       FKHFNVWKHVRXUFH ,3DGGUHVV RIDGPLQLVWUDWRUORJLQV$ORJLQ
                                       LVSHUPLWWHGRQO\LIDPDWFKLVPDGHZLWKWKHPDVWHUOLVW
                                       FRQWDLQHGRQWKH1RPDGL[$FFHVV*DWHZD\,IDPDWFKLVQRW
                                       PDGHWKHORJLQLVGHQLHGHYHQLIDFRUUHFWORJLQQDPHDQG
                                       SDVVZRUGDUHVXSSOLHG7KHDFFHVVFRQWUROOLVWVXSSRUWVXSWR
                                        ILIW\ HQWULHVLQWKHIRUPRIDVSHFLILF,3DGGUHVVRUUDQJHRI
                                       ,3DGGUHVVHV
                                       $GGLWLRQDOO\WKH1RPDGL[$FFHVV*DWHZD\RIIHUVDFFHVV
                                       FRQWUROEDVHGRQWKHW\SHRI,QWHUIDFHEHLQJXVHG7KLVIHDWXUH
                                       DOORZVDGPLQLVWUDWRUVWREORFNDFFHVVIURP7HOQHW:HE
                                       0DQDJHPHQWDQG)73VRXUFHV

        $XWR&RQILJXUDWLRQ             3URYLGHVDQHIIRUWOHVVDQGUDSLGPHWKRGIRUFRQILJXULQJGHYLFHV
                                       IRUIDVWQHWZRUNUROORXWV

        %DQGZLGWK0DQDJHPHQW           0DQDJHVWKHEDQGZLGWKIRUVXEVFULEHUVGHILQHGLQ.ESV
                                        .LORELWVSHUVHFRQGV IRUERWKXSVWUHDPDQGGRZQVWUHDPGDWD
                                       WUDQVPLVVLRQV

        %LOO5HFRUG0LUURULQJ          &RQILJXUHVWKH1RPDGL[$FFHVV*DWHZD\WRVHQGFRSLHVRI
                                       ELOOLQJUHFRUGVWRH[WHUQDOVHUYHUV

        &ODVV%DVHG4XHXHLQJ           'HILQHPXOWLSOHJURXSV FODVVHV RIXVHUVWRVXSSRUWSULRULW\
                                       DQGJXDUDQWHHGPLQLPXPEDQGZLGWKRQDSHUJURXSEDVLV

        &OXVWHULQJ                     $XWRPDWLFDOO\GLVWULEXWHVXEVFULEHUVDFURVVJDWHZD\V

        'HVWLQDWLRQ+7735HGLUHFWLRQ   &RQILJXUHUHGLUHFWLRQRI+773UHTXHVWVWRRQHRUPRUHSRUWDO
                                       SDJH85/V

        '+&3                           $VVLJQVWKH1RPDGL[$FFHVV*DWHZD\DVLWVRZQ'+&3
                                       VHUYHURUHQDEOHVWKH'+&3UHOD\IRUDQH[WHUQDOVHUYHU

        '16                            6HWVXSWKH'16SDUDPHWHUVLQFOXGLQJWKHKRVWQDPHGRPDLQ
                                       DQGWKHSULPDU\DQGVHFRQGDU\'16VHUYHUV

        '\QDPLF'16                    6HWVSDUDPHWHUVIRU'\QDPLF'16

        )DVW)RUZDUGLQJ                (QDEOH)DVW)RUZDUGLQJPRGHIRULPSURYHGWKURXJKSXW



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       $&&(66*$7(:$<


                    ,WHP                                  'HVFULSWLRQ

        *5(7XQQHOLQJ           6HWV*5(7XQQHOLQJSDUDPHWHUV

        +RPH3DJH5HGLUHFW      5HGLUHFWVWKHVXEVFULEHU¶VEURZVHUWRDVSHFLILHGKRPHSDJH

        L1$7                   (QDEOHV,QWHOOLJHQW$GGUHVV7UDQVODWLRQIRU7UDQVSDUHQW931
                                $FFHVV

        ,QWHUIDFH0RQLWRULQJ    7KHDELOLW\WRDFWLYHO\PRQLWRUHDFK:$1,63DQG9/$1
                                FRQQHFWLRQWRDVVXUHWKDWIXOOQHWZRUNIXQFWLRQDOLW\H[LVWV

        ,36HF                   ,3VHFLVDQHQGWRHQGVHFXULW\VFKHPHRSHUDWLQJLQWKH
                                ,QWHUQHW/D\HURIWKH,QWHUQHW3URWRFRO6XLWH,WFDQEHXVHGLQ
                                SURWHFWLQJGDWDIORZVEHWZHHQDSDLURIKRVWV KRVWWRKRVW 
                                EHWZHHQDSDLURIVHFXULW\JDWHZD\V QHWZRUNWRQHWZRUN RU
                                EHWZHHQDVHFXULW\JDWHZD\DQGDKRVW QHWZRUNWRKRVW &DQ
                                EHXVHGLQWKHWUDQVSRUWOD\HURUXVHGWRFUHDWHDVHFXUHWXQQHO

        ,3Y                    $OORZVGLUHFWQHWZRUNPDQDJHPHQWWKURXJK,3Y

        /RDG%DODQFLQJ          (QVXUHVWKDWGHPDQGVSODFHGRQKLJKVSHHG,QWHUQHWDFFHVV
                                 +6,$ DUHEDODQFHGEDVHGRQWKHFDSDELOLW\RIHDFK:$1,63
                                FRQQHFWLRQ

        /RFDWLRQ                6HWVXS\RXUORFDWLRQDQG,3DGGUHVVHVIRUWKHQHWZRUN
                                VXEVFULEHUVXEQHWPDVNDQGGHIDXOWJDWHZD\

        /RJJLQJ                 (QDEOHVORJJLQJRSWLRQVIRUWKHV\VWHPDQG$$$IXQFWLRQV

        0$&$XWKHQWLFDWLRQ      (QDEOHV0$&DXWKHQWLFDWLRQUHWU\IUHTXHQF\0$&DGGUHVV
                                IRUPDW0$&DGGUHVVKH[DOSKDFDVHDQG5$',86VHUYLFH
                                SURILOH

        3DVVWKURXJK$GGUHVVHV   (VWDEOLVKHV,3SDVVWKURXJKDGGUHVVHV XSWR 

        306                     (QDEOHVRQHRIWKHOLVWHG306RSWLRQVRUDOORZV\RXWRGLVDEOH
                                WKH306IHDWXUH

        3RUW/RFDWLRQ           (VWDEOLVKHVWKH$FFHVV&RQFHQWUDWRUVHWWLQJV

        4R6                     &RQILJXUHPRGHDQGSROLFHVIRU4XDOLW\RI6HUYLFHPHWULFV

        5$',86&OLHQW           6HWXSWKH5$',86FOLHQW

        5$',863UR[\            (VWDEOLVKHV5$',86SUR[LHVZKHUHGLIIHUHQWUHDOPVFDQEHVHW
                                XSWRGLUHFWO\FKDQQHO5$',86PHVVDJHVWRWKHYDULRXV
                                5$',86VHUYHUV



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                                                                                $&&(66*$7(:$<


                     ,WHP                                  'HVFULSWLRQ

        5HDOP%DVHG5RXWLQJ    5HDOP%DVHG5RXWLQJSURYLGHVDGYDQFHG1$, 1HWZRUN
                               $FFHVV,GHQWLILHU URXWLQJFDSDELOLWLHVHQDEOLQJPXOWLSOHVHUYLFH
                               SURYLGHUVWRVKDUHD+RW6SRWORFDWLRQIXUWKHUVXSSRUWLQJD:L
                               )LZKROHVDOHPRGHO7KLVIXQFWLRQDOLW\DOORZVXVHUVWRLQWHUDFW
                               RQO\ZLWKWKHLUFKRVHQSURYLGHULQDVHDPOHVVDQGWUDQVSDUHQW
                               PDQQHU

        5RXWHG6XEVFULEHUV     $OORZV5RXWHGQHWZRUNKRSVRQWKH6XEVFULEHUVLGHRIWKH
                               1RPDGL[

        6073                   (QDEOHVWKH6073 (PDLO UHGLUHFWLRQIXQFWLRQV

        6103                   (VWDEOLVKHVWKH6103SDUDPHWHUV

        6XEQHWV                (QDEOHVG\QDPLFPXOWLSOHVXEQHWVXSSRUW

        6XPPDU\                'LVSOD\VDVXPPDU\OLVWLQJRIDOOFRQILJXUDWLRQVHWWLQJV

        7LPH                   6HWVWKHV\VWHPGDWHDQGWLPH

        7UDIILF'HVFULSWRUV    %DQGZLGWKFRQVXPHGRYHUWLPHDFWLYHDOORFDWHGEDQGZLGWK
                               QXPEHURIXVLQJEDQGZLGWKDQGQHWZRUNFDSDFLW\

        85/)LOWHULQJ          '\QDPLFDOO\DGGVRUUHPRYHVXSWRVSHFLILF,3DGGUHVVHV
                               DQGGRPDLQQDPHVWREHILOWHUHGIRUHDFKSURSHUW\

        8VHU$JHQW)LOWHULQJ   8VHUDJHQW)LOWHULQJLVDFDSDELOLW\WKDWFDQILOWHUVRIWZDUHWKDWLV
                               DFWLQJRQEHKDOIRIDXVHUVXFKDVEURZVHUV

        =RQH0LJUDWLRQ         7KHSUHVHQWGLVFORVXUHLVGLUHFWHGWRSURYLGLQJDQHWZRUNXVHU
                               WKHDELOLW\WRWUDYHOEHWZHHQGLIIHUHQW]RQHVRUORFDWLRQVZLWKLQD
                               QHWZRUNHQYLURQPHQWVXFKDVIRUH[DPSOHDKRVSLWDOLW\
                               ORFDWLRQZLWKRXWUHTXLULQJDXVHUWRUHORJLQWRWKHQHZORFDWLRQ




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       $&&(66*$7(:$<

             Network Info Menu Items

                     ,WHP                                    'HVFULSWLRQ

        $53                       'LVSOD\VWKH$53WDEOHLQFOXGLQJWKHGHVWLQDWLRQ,3DGGUHVV
                                  DQGWKHJDWHZD\0$&DGGUHVV

        '$7                       'LVSOD\VWKH'$7VHVVLRQWDEOH

        '166(&                    '166(&VXSSRUWDGGVDXWKHQWLFDWLRQDQGLQWHJULW\FDSDELOLW\WR
                                  '16V\VWHPV7KH'166(&IHDWXUHLQWKH16(DOORZV
                                  '166(&TXHULHVDQGUHVSRQVHVWRWUDYHUVHWKH16(EHWZHHQ
                                  VXEVFULEHUVDQGWKH16( VFRQILJXUHG'16VHUYHUV7KH16(
                                  LWVHOIGRHVQRWSDUWLFLSDWHLQ'166(&WUXVWUHODWLRQVKLSVZLWK
                                  VXEVFULEHUV

        +RVWV                     'LVSOD\VWKHKRVWWDEOHLQFOXGLQJKRVWQDPHVDVVRFLDWHG,3
                                  DGGUHVVHVDQGDQ\DVVLJQHGDOLDVHV

        ,&03                      'LVSOD\VWKH,&03 ,QWHUQHW&RQWURO0HVVDJH3URWRFRO 
                                  SHUIRUPDQFHVWDWLVWLFV

        ,QWHUIDFHV                'LVSOD\VVWDWLVWLFVIRUWKHLQWHUIDFHV

        ,3                        'LVSOD\VWKH,3SHUIRUPDQFHVWDWLVWLFV

        ,36HF                     ,3VHFLVDQHQGWRHQGVHFXULW\VFKHPHRSHUDWLQJLQWKH
                                  ,QWHUQHW/D\HURIWKH,QWHUQHW3URWRFRO6XLWH,WFDQEHXVHGLQ
                                  SURWHFWLQJGDWDIORZVEHWZHHQDSDLURIKRVWV KRVWWRKRVW 
                                  EHWZHHQDSDLURIVHFXULW\JDWHZD\V QHWZRUNWRQHWZRUN RU
                                  EHWZHHQDVHFXULW\JDWHZD\DQGDKRVW QHWZRUNWRKRVW &DQ
                                  EHXVHGLQWKHWUDQVSRUWOD\HURUXVHGWRFUHDWHDVHFXUHWXQQHO

        /RJLQ3DJH)DLORYHU       )RULQVWDOODWLRQVWKDWXVHDQ([WHUQDO:HE6HUYHURUD3RUWDO
                                  6HUYHUWRSURYLVLRQWKHLU/RJLQDQG$XWKHQWLFDWLRQ3DJHVWRWKH
                                  VXEVFULEHUVWKH/RJLQ3DJH)DLORYHUIHDWXUHSURYLGHVDZD\IRU
                                  DGPLQLVWUDWRUVWRFRQILJXUHVHFRQGDU\RUWHUWLDU\/RJLQ3DJHVLQ
                                  FDVHWKHSULPDU\/RJLQ3DJHEHFRPHVXQDYDLODEOH7KLV
                                  PHFKDQLVPJXDUDQWHHVWKDWWKHVXEVFULEHUVZLOOKDYHVRPH
                                  ZD\RIDXWKHQWLFDWLQJWKHPVHOYHVDQGDFFHVVLQJWKH,QWHUQHWLI
                                  WKH([WHUQDODQG3RUWDO6HUYHUVIDLO




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                                                                                $&&(66*$7(:$<


                    ,WHP                                   'HVFULSWLRQ

        1$7,3,QWHUIDFH         $QHZVHSDUDWHL1$7LQWHUIDFHSDJHVKRZVWKHVHWWLQJVIRU
                                 HDFKSRUWLQHLWKHU:$1RU226PRGHV3RUWVLQ68%PRGH
                                 DUHQRWVKRZQ(DFKRIWKHGLVSOD\HGSRUWVKDVLQGLYLGXDOL1$7
                                 6XEVFULEHUWXQQHOVHWWLQJVDFFHVVLEOHE\FOLFNLQJRQWKDWSRUW V
                                 OLQN$QHZLPSURYHGLQWHUIDFHDOORZVHDV\GHOHWLRQRIDQ\L1$7
                                 DGGUHVVUDQJH

        3DFNHW&DSWXUH6XPPDU\   'LVSOD\VWKHGLIIHUHQWLQWHUIDFHVDQGWKHLQIRUPDWLRQRIKRZ
                                 PDQ\SDFNHWVDUHVHHQDQGFDSWXUHGZKHQWKH3DFNHWFDSWXUH
                                 IHDWXUHXQGHU6\VWHP!3DFNHWFDSWXUHLVUXQQLQJIRUWKDW
                                 LQWHUIDFH

        5RXWLQJ                  'LVSOD\VWKHURXWLQJWDEOHVDQGSHUIRUPDQFHVWDWLVWLFV

        6RFNHWV                  'LVSOD\VWKHDFWLYH,QWHUQHWFRQQHFWLRQV

        6WDWLF3RUW0DSSLQJ      'LVSOD\VWKHFXUUHQWO\DFWLYHVWDWLFSRUWPDSSLQJVFKHPH

        7&3                      'LVSOD\VWKH7&3SHUIRUPDQFHVWDWLVWLFV

        8'3                      'LVSOD\VWKH8'3SHUIRUPDQFHVWDWLVWLFV




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       $&&(66*$7(:$<

           Port-Location Menu Items

                     ,WHPV                                   'HVFULSWLRQ

        $GG                      $GGVRUXSGDWHVSRUWORFDWLRQDVVLJQPHQWV

        'HOHWH$OO               'HOHWHVDOOSRUWORFDWLRQDVVLJQPHQWVUse this command with
                                 caution.

        ([SRUW                   ([SRUWVVSHFLILHGSRUWORFDWLRQDVVLJQPHQWVWRWKHlocation.txt
                                 ILOH

        )LQGE\'HVFULSWLRQ      )LQGVDSRUWORFDWLRQDVVLJQPHQWEDVHGRQDXQLTXH
                                 GHVFULSWLRQ

        )LQGE\/RFDWLRQ         )LQGVDSRUWORFDWLRQDVVLJQPHQWEDVHGRQDVSHFLILHG
                                 ORFDWLRQ

        )LQGE\3RUW             )LQGVDSRUWORFDWLRQDVVLJQPHQWEDVHGRQDVSHFLILHGSRUW

        ,PSRUW                   ,PSRUWVVSHFLILHGSRUWORFDWLRQDVVLJQPHQWVIURPWKH
                                 location.txtILOH

        /LVW                     'LVSOD\VWKHSRUWORFDWLRQILOHOLVWLQJDOOSRUWORFDWLRQ
                                 DVVLJQPHQWV



           Subscriber Administration Menu Items

                       ,WHPV                                 'HVFULSWLRQ

         $GG                     $GGVVXEVFULEHUSURILOHVWRWKHGDWDEDVH

         &XUUHQW                 'LVSOD\VDOLVWRIDOOFXUUHQWO\FRQQHFWHGVXEVFULEHUV

         'HOHWHE\0$&           'HOHWHVDVXEVFULEHUEDVHGRQDVSHFLILF0$&DGGUHVV

         'HOHWHE\8VHU          'HOHWHVDVXEVFULEHUEDVHGRQDVSHFLILFXVHUQDPH

         '+&3/HDVHV             6HWVXSWKHFXUUHQWVXEVFULEHU'+&3OHDVHV

         ([SLUHG                 5HPRYHVH[SLUHGSURILOHV

         )LQGE\0$&             )LQGVDVXEVFULEHUSURILOHEDVHGRQDVSHFLILHG0$&DGGUHVV

         )LQGE\8VHU            )LQGVDVXEVFULEHUSURILOHEDVHGRQDVSHFLILHGXVHUQDPH



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                                                                                 $&&(66*$7(:$<


                         ,WHPV                              'HVFULSWLRQ

         /LVW3URILOHV            'LVSOD\VDOLVWRIDXWKRUL]HGVXEVFULEHUSURILOHV

         5$',866HVVLRQ+LVWRU\   7KHVHORJVUHFRUG5$',86SUR[\DFFRXQWLQJPHVVDJHVVHQW
                                  RUUHFHLYHGE\WKH5$',86SUR[\

         6WDWLVWLFV               'LVSOD\VWKHFXUUHQWVXEVFULEHUSURILOHVWDWLVWLFV IRUH[DPSOH
                                  KRZPDQ\SURILOHVDUHFXUUHQWO\LQWKHGDWDEDVH 




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       $&&(66*$7(:$<

           Subscriber Interface Menu Items

                    ,WHPV                                    'HVFULSWLRQ

        %LOOLQJ2SWLRQV            (VWDEOLVKHVWKHYDULRXVELOOLQJSODQVDQGUDWHV VFKHPHV 
                                   LQFOXGLQJPHVVDJHVDQGDSSHDUDQFH

        ,&&6HWXS                  6HWVXSWKH,QIRUPDWLRQDQG&RQWURO&RQVROH ,&& IRU
                                   VXEVFULEHUV

        /DQJXDJH6XSSRUW           'HILQHVWKHODQJXDJHWREHGLVSOD\HGRQWKH:HE
                                   0DQDJHPHQW,QWHUIDFHDQGWKHVXEVFULEHU¶VSRUWDOSDJH

        /RFDO:HE6HUYHU           8SORDGWKHUHTXLUHGSDJHVDQGLPDJHVWRWKHIODVKZHE
                                   GLUHFWRU\XVLQJ)737RWDOILOHVL]HRIDOOSDJHVDQGLPDJHV
                                   FDQQRWH[FHHG.%

        /RJLQ8,                   'HILQHVWKHDSSHDUDQFHRIWKHLQWHUQDOVXEVFULEHUORJLQXVHU
                                   LQWHUIDFHLQFOXGLQJDOOWKHORJLQPHVVDJHVDQGIRQWVHWFDQG
                                   HVWDEOLVKHVWKHFXUUHQF\

        3RVW6HVVLRQ8,            'HILQHVWKHSRVWVHVVLRQ³*RRGE\H´SDJH

        6XEVFULEHU%XWWRQV         'HILQHVKRZHDFKRIWKHVXEVFULEHU¶VXVHULQWHUIDFHFRQWURO
                                   EXWWRQVDUHGLVSOD\HG

        6XEVFULEHU/DEHOV          'HILQHVKRZWKHVXEVFULEHU¶VXVHULQWHUIDFHILHOGODEHOVDUH
                                   GLVSOD\HG

        6XEVFULEHU(UURUV         'HILQHVKRZHUURUPHVVDJHVDUHGLVSOD\HGWRVXEVFULEHUV
        RI                     SDJHRI 

        6XEVFULEHU(UURUV         'HILQHVKRZHUURUPHVVDJHVDUHGLVSOD\HGWRVXEVFULEHUV
        RI                     SDJHRI 

        6XEVFULEHU0HVVDJHV       'HILQHVKRZ³RWKHU´JHQHUDOPHVVDJHVDUHGLVSOD\HGWR
        RI                     VXEVFULEHUV SDJHRI 

        6XEVFULEHU0HVVDJHV       'HILQHVKRZ³RWKHU´JHQHUDOPHVVDJHVDUHGLVSOD\HGWR
        RI                     VXEVFULEHUV SDJHRI 

        6XEVFULEHU0HVVDJHV       'HILQHVKRZ³RWKHU´JHQHUDOPHVVDJHVDUHGLVSOD\HGWR
        RI                     VXEVFULEHUV SDJHRI 

        6XEVFULEHU0HVVDJHV72$   7H[WIRU7HUPVRI$JUHHPHQW&DQEHFUHDWHGXVLQJWKHLQWHUQDO
                                   ZHEVHUYHU




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                                                                                       $&&(66*$7(:$<

             System Menu Items

                 ,WHPV                                        'HVFULSWLRQ

        $53                  $GGVRUGHOHWHVDQ$GGUHVV5HVROXWLRQ3URWRFRO $53 WDEOHHQWU\

        %ULGJH0RGH          (QDEOHVWKH%ULGJH0RGHRSWLRQ

        '\QDPLF3UR[\        $IXQFWLRQWKDWDVVXUHVDVXEVFULEHUFDQEHFRQQHFWHG

        ([SRUW               ([SRUWVWKHV\VWHP¶VFRQILJXUDWLRQVHWWLQJVWRDQDUFKLYHILOH

        )DFWRU\              ,PSRUWVWKHIDFWRU\GHIDXOWVHWWLQJV

        )DLO2YHU            6HWVXSD³VLEOLQJ´1RPDGL[*DWHZD\DOORZLQJRQHGHYLFHWRWDNHXSWKH
                             XVHUVVKRXOGWKHRWKHUGHYLFHEHFRPHGLVFRQQHFWHGIURPWKHQHWZRUN

        +LVWRU\              'LVSOD\VDKLVWRU\ORJRIWKHV\VWHP¶VDFWLYLW\LQFOXGLQJAccessRebootDQG
                             Uptime

        ,&03                 6HWVXS,&03EORFNLQJIRUWUDIILFIURP³SHQGLQJ´RU³QRQDXWKHQWLFDWHG´
                             XVHUVWKDWDUHGHVWLQHGWRDGGUHVVHVRWKHUWKDQWKRVHGHILQHGLQWKHSDVV
                             WKURXJK ZDOOHGJDUGHQ OLVW

        ,PSRUW               ,PSRUWVSUHYLRXVO\H[SRUWHGV\VWHPFRQILJXUDWLRQVHWWLQJVIURPDQDUFKLYH
                             ILOH

        /RJLQ                6HWVXSWKHORJLQQDPHDQGSDVVZRUG

        0DF)LOWHULQJ        %ORFNVPDOLFLRXVXVHUVEDVHGRQWKHLU0$&DGGUHVV8SWR0$&
                             DGGUHVVHVFDQEHEORFNHGDWDQ\RQHWLPH

        0HPRU\8WLOL]DWLRQ   'LVSOD\VDOLVWLQJRIWKHFXUUHQWV\VWHP0HPRU\DQGKRZPXFKLVDOORFDWHG
                             IUHHRULQXVH

        3DFNHW&DSWXUH

        5HERRW               5HERRWVWKH1RPDGL[$FFHVV*DWHZD\

        5RXWLQJ              9LHZ1RPDGL[$FFHVV*DWHZD\¶VURXWLQJWDEOH$GGRUGHOHWHDURXWHWRD
                             VSHFLILF,3GHVWLQDWLRQ

        6HVVLRQ/LPLW        /LPLWVWKHQXPEHUVHVVLRQVDQ\RQHXVHUFDQWDNHRYHUDJLYHQWLPHSHULRG
                             DQGLIQHFHVVDU\WKHQEORFNVPDOLFLRXVXVHUV

        6WDWLF3RUW         6HWXSRUGHOHWHVWDWLFSRUWPDSSLQJVFKHPHV
        0DSSLQJ




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       $&&(66*$7(:$<


              ,WHPV                                          'HVFULSWLRQ

        6XEVFULEHU          %ORFNVVXEVFULEHULQWHUIDFHV
        ,QWHUIDFHV

        6\VORJ               'LVSOD\VV\VORJKLVWRU\

        6\VWHP8WLOL]DWLRQ   'LVSOD\VV\VWHPXWLOL]DWLRQLQIRUPDWLRQ

        8SJUDGH              2EWDLQWKHODWHVW)LUPZDUH8SJUDGH3URFHGXUHIURP1RPDGL[7HFKQLFDO
                             6XSSRUW

        8VHU6HWWLQJV        %ORFNV,335272WUDIILFIURPPLVFRQILJXUHGVXEVFULEHUV




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                                                                                                                                                    $&&(66*$7(:$<

       $OSKDEHWLFDO/LVWLQJRI0HQX,WHPV :0,
             7KHPHQXLWHPVOLVWHGKHUHDUHIRUDIXOO\IHDWXUHG1RPDGL[$FFHVV*DWHZD\ ZLWKDOORSWLRQDO
             PRGXOHVLQFOXGHG 5HIHUWR³$ERXW<RXU3URGXFW/LFHQVH´RQSDJH 

                 ,WHP                             'HVFULSWLRQ                                                                          0HQX
                 $$$ 6HW$$$RSWLRQV &RQILJXUDWLRQ
                 $FFHVV&RQWURO (QDEOHVVHFXUHDGPLQLVWUDWLRQRIWKH$FFHVV*DWHZD\ &RQILJXUDWLRQ
                 $GG$GGRUXSGDWHSRUWORFDWLRQDVVLJQPHQWV 3RUW/RFDWLRQ
                 $GG$GGVXEVFULEHUSURILOHVWRWKHGDWDEDVH6XEVFULEHU$GPLQ
                 $53'LVSOD\WKH$53WDEOH1HWZRUN,QIR
                 $53$GG $GGDQ$53WDEOHHQWU\ 6\VWHP
                 $53'HOHWH'HOHWHDQ$53WDEOHHQWU\6\VWHP
                 %DQGZLGWK0DQDJHPHQW 'HILQHXSVWUHDPDQGGRZQVWUHDPEDQGZLGWK &RQILJXUDWLRQ
                 %LOOLQJ2SWLRQV(VWDEOLVKWKHELOOLQJRSWLRQV 6XEVFULEHU,¶IDFH
                 %LOO5HFRUG0LUURULQJ (QDEOHELOOUHFRUGFRS\LQJWRH[WHUQDOVHUYHUV &RQILJXUDWLRQ
                 %ULGJH0RGH (QDEOHWKH%ULGJH0RGHRSWLRQ6\VWHP
                 &XUUHQW 'LVSOD\FXUUHQWO\FRQQHFWHGVXEVFULEHUV 6XEVFULEHU$GPLQ
                 &OXVWHULQJ 6HW&OXVWHULQJRSWLRQV&RQILJXUDWLRQ
                 '$7'LVSOD\WKH'$7VHVVLRQWDEOH1HWZRUN,QIR
                 'HOHWH$OO 'HOHWHDOOSRUWORFDWLRQDVVLJQPHQWV3RUW/RFDWLRQ
                 'HOHWHE\/RFDWLRQ 'HOHWHSRUWORFDWLRQDVVLJQPHQWVE\ORFDWLRQ3RUW/RFDWLRQ
                 'HOHWHE\0$& 'HOHWHVXEVFULEHUSURILOHVE\0$&DGGUHVV 6XEVFULEHU$GPLQ
                 'HOHWHE\3RUW 'HOHWHSRUWORFDWLRQDVVLJQPHQWVE\SRUW 3RUW/RFDWLRQ
                 'HOHWHE\8VHU'HOHWHVXEVFULEHUSURILOHVE\XVHU 6XEVFULEHU$GPLQ
                 '+&3 6HWWKH'+&3VHUYLFHRSWLRQV&RQILJXUDWLRQ
                 '+&3/HDVHV 6HWWKHFXUUHQWVXEVFULEHU'+&3OHDVHV 6XEVFULEHU$GPLQ
                 '166HWWKH'16SDUDPHWHUV&RQILJXUDWLRQ
                 ([SLUHG 5HPRYHDOOH[SLUHGVXEVFULEHUSURILOHVIURPGDWDEDVH6XEVFULEHU$GPLQ
                 ([SRUW([SRUWFRQILJXUDWLRQVHWWLQJVWRWKHDUFKLYHILOH 6\VWHP
                 ([SRUW([SRUWSRUWORFDWLRQDVVLJQPHQWVWRILOH3RUW/RFDWLRQ
                 )DFWRU\ ,PSRUWWKHIDFWRU\GHIDXOWFRQILJXUDWLRQVHWWLQJV 6\VWHP
                 )DLO2YHU 6HWVXSD³VLEOLQJ´1RPDGL[*DWHZD\ 6\VWHP
                 )LQGE\'HVFULSWLRQ)LQGSRUWORFDWLRQDVVLJQPHQWVE\GHVFULSWLRQ3RUW/RFDWLRQ
                 )LQGE\/RFDWLRQ )LQGSRUWORFDWLRQDVVLJQPHQWVE\ORFDWLRQ3RUW/RFDWLRQ
                 )LQGE\0$& )LQGDVXEVFULEHUSURILOHE\0$&DGGUHVV 6XEVFULEHU$GPLQ
                 )LQGE\3RUW)LQGSRUWORFDWLRQDVVLJQPHQWVE\SRUW 3RUW/RFDWLRQ
                 )LQGE\8VHU)LQGDVXEVFULEHUSURILOHE\XVHUQDPH6XEVFULEHU$GPLQ
                 +LVWRU\'LVSOD\WKHV\VWHP¶VKLVWRU\ORJ6\VWHP
                 +RPH3DJH5HGLUHFW 5HGLUHFWWKHVXEVFULEHU¶VEURZVHU&RQILJXUDWLRQ
                 +RVWV 'LVSOD\WKHKRVWWDEOH 1HWZRUN,QIR
                 ,&&6HWXS6HWVXSWKH,QIRUPDWLRQDQG&RQWURO&RQVROH 6XEVFULEHU,¶IDFH
                 ,&03'LVSOD\,&03SHUIRUPDQFHVWDWLVWLFV 1HWZRUN,QIR
                 ,&036HWVXS,&03EORFNLQJ 6\VWHP
                 ,PSRUW,PSRUWFRQILJXUDWLRQVHWWLQJVIURPWKHDUFKLYHILOH6\VWHP
                 ,PSRUW,PSRUWSRUWORFDWLRQDVVLJQPHQWVIURPILOH 3RUW/RFDWLRQ
                 L1$7(QDEOHWUDQVODWLRQIRUWUDQVSDUHQW931DFFHVV&RQILJXUDWLRQ
                 ,QWHUIDFHV'LVSOD\SHUIRUPDQFHVWDWLVWLFVIRULQWHUIDFHV1HWZRUN,QIR
                 ,3 'LVSOD\,3SHUIRUPDQFHVWDWLVWLFV 1HWZRUN,QIR
                 /DQJXDJH6XSSRUW 'HILQHGLIIHUHQWODQJXDJHV6XEVFULEHU,¶IDFH
                 /LVW 'LVSOD\WKHURRPILOH 3RUW/RFDWLRQ
                 /LVWE\0$& /LVWWKHVXEVFULEHUGDWDEDVHVRUWHGE\0$&DGGUHVV 6XEVFULEHU$GPLQ
                 /LVWE\8VHU/LVWWKHVXEVFULEHUGDWDEDVHVRUWHGE\XVHUQDPH6XEVFULEHU$GPLQ
                 /RFDWLRQ (VWDEOLVK\RXUORFDWLRQDQGQHWZRUN,3SDUDPHWHUV &RQILJXUDWLRQ
                 /RJJLQJ (QDEOHV\VWHPDQG$$$ORJJLQJRSWLRQV &RQILJXUDWLRQ
                 /RJLQ (VWDEOLVKDFFHVVIRUPDQDJHUVDQGRSHUDWRUV6\VWHP
                 /RJLQ8,(VWDEOLVKWKHLQWHUQDOORJLQVFUHHQVHWWLQJV6XEVFULEHU,¶IDFH
                 0DF)LOWHULQJ%ORFNVWUDIILFEDVHGRQ0$&DGGUHVV 6\VWHP
                 3DVVWKURXJK$GGUHVVHV(VWDEOLVKXSWR,3SDVVWKURXJKDGGUHVVHV &RQILJXUDWLRQ
                 3RUW/RFDWLRQ (VWDEOLVKWKHDFFHVVFRQFHQWUDWRUVHWWLQJV &RQILJXUDWLRQ
                 3RVW6HVVLRQ8, 6HWVXSWKHSRVWVHVVLRQ³*RRGE\H´SDJH6XEVFULEHU,¶IDFH
                 5$',86&OLHQW 6HWVXS5$',86FOLHQWRSWLRQV &RQILJXUDWLRQ
                 5$',863UR[\ (VWDEOLVKHV5$',86SUR[LHV&RQILJXUDWLRQ
                 5$',865RXWLQJ6HWVXSVHUYLFHSURILOHVDQGUHDOPEDVHGURXWLQJSROLFLHV&RQILJXUDWLRQ



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               5HERRW  5HERRWWKHRSHUDWLQJV\VWHP  6\VWHP
               5RXWH$GG $GGDURXWHWRWKHURXWLQJWDEOH  6\VWHP
               5RXWH'HOHWH  'HOHWHDURXWHIURPWKHURXWLQJWDEOH  6\VWHP
               5RXWLQJ  'LVSOD\URXWLQJSHUIRUPDQFHVWDWLVWLFVDQGWDEOHV  1HWZRUN,QIR
               6HVVLRQ/LPLW /LPLWVVXEVFULEHUVHVVLRQV 6\VWHP
               6073 6HWWKH6073UHGLUHFWLRQRSWLRQV  &RQILJXUDWLRQ
               6103  (VWDEOLVKWKH6103SDUDPHWHUV &RQILJXUDWLRQ
               6RFNHWV 'LVSOD\WKHDFWLYH,3FRQQHFWLRQV  1HWZRUN,QIR
               6WDWLF3RUW0DSSLQJ  'LVSOD\VFXUUHQWO\DFWLYHVWDWLFSRUWPDSSLQJVFKHPHV 1HWZRUN,QIR
               6WDWLF3RUW0DSSLQJ$GG $GGVDVWDWLFSRUWPDSSLQJVFKHPH  6\VWHP
               6WDWLF3RUW0DSSLQJ'HOHWH  'HOHWHVDVWDWLFSRUWPDSSLQJVFKHPH 6\VWHP
               6WDWLVWLFV  'LVSOD\WKHVXEVFULEHUSURILOHVWDWLVWLFV  6XEVFULEHU$GPLQ
               6XEQHWV  (QDEOHG\QDPLFPXOWLSOHVXEQHWVXSSRUW  &RQILJXUDWLRQ
               6XEVFULEHU%XWWRQV  'HILQHKRZFRQWUROEXWWRQVDUHGLVSOD\HGWRVXEVFULEHUV  6XEVFULEHU,¶IDFH
               6XEVFULEHU,QWHUIDFHV  %ORFNVVXEVFULEHULQWHUIDFHV  6\VWHP
               6XEVFULEHU/DEHOV  'HILQHKRZILHOGODEHOVDUHGLVSOD\HG  6XEVFULEHU,¶IDFH
               6XEVFULEHU(UURUV 'HILQHKRZHUURUPHVVDJHVDUHGLVSOD\HG 6XEVFULEHU,¶IDFH
               6XEVFULEHU0HVVDJHV  'HILQHKRZ³RWKHU´JHQHUDOPHVVDJHVDUHGLVSOD\HG  6XEVFULEHU,¶IDFH
               6XPPDU\  'LVSOD\DVXPPDU\RIWKHFRQILJXUDWLRQVHWWLQJV  &RQILJXUDWLRQ
               7&3 'LVSOD\WKH7&3SHUIRUPDQFHVWDWLVWLFV  1HWZRUN,QIR
               7LPH 6HWWKHV\VWHPGDWHDQGWLPH &RQILJXUDWLRQ
               8'3  'LVSOD\WKH8'3SHUIRUPDQFHVWDWLVWLFV  1HWZRUN,QIR
               8SJUDGH  8SJUDGHWKH$FFHVV*DWHZD\V\VWHPILUPZDUH 6\VWHP
               85/)LOWHULQJ  'HILQH85/VIRUILOWHULQJ &RQILJXUDWLRQ




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       'HIDXOW )DFWRU\ &RQILJXUDWLRQ6HWWLQJV
             7KHIROORZLQJWDEOHVKRZVDSDUWLDOOLVWLQJRIWKH$FFHVV*DWHZD\¶VSULPDU\GHIDXOW
             FRQILJXUDWLRQVHWWLQJV WKHVHWWLQJVHVWDEOLVKHGDWPDQXIDFWXULQJ )RUDFRPSOHWHOLVWLQJRIWKH
             IDFWRU\GHIDXOWVHWWLQJVUHIHUWRWKHIDFWRU\W[WILOH)RUPRUHLQIRUPDWLRQJRWR³,PSRUWLQJWKH
             )DFWRU\'HIDXOWV^)DFWRU\`´RQSDJH 



                       )XQFWLRQ                                         'HIDXOW6HWWLQJ

        9HUVLRQ                                  1RPDGL[$FFHVV*DWHZD\Y[[[ GHSHQGVRQILUPZDUH
        1RPDGL[$FFHVV*DWHZD\,'                YHUVLRQ
        1HWZRUN,QWHUIDFH0$&                    $*
        6XEVFULEHU,QWHUIDFH0$&                 0$&DGGUHVVLVXQLTXHIRUHDFKSURGXFW
                                                 0$&DGGUHVVLVXQLTXHIRUHDFKSURGXFW

        1HWZRUN,QWHUIDFH,3                     
        6XEVFULEHU,3                            
        6XEQHW0DVN                              
        'HIDXOW*DWHZD\,3                       
        '+&3&OLHQW                              (QDEOHG
        $GPLQ,3                                 

        'RPDLQ                                   QRPDGL[
        +RVW1DPH                                $*
        3ULPDU\'16                              
        6HFRQGDU\'16                            
        7HUWLDU\'16                             

        '+&35HOD\                               'LVDEOHG
        ([WHUQDO'+&36HUYHU,3                  
        '+&35HOD\$JHQW,3                      
        '+&36HUYHU                              (QDEOHG
        '+&36HUYHU,3                           
        '+&36XEQHW0DVN                         
        '+&33RRO6WDUW,3                       
        '+&33RRO(QG,3                         
        /HDVH'XUDWLRQ0LQXWHV                   

        +RPH3DJH5HGLUHFWLRQ                    'LVDEOHG
        3DUDPHWHU3DVVLQJ                        'LVDEOHG
        5HGLUHFWLRQ)UHTXHQF\0LQXWHV            

        '\QDPLF$GGUHVV7UDQVODWLRQ             (QDEOHG FDQQRWEHFKDQJHG
        '$7




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                     )XQFWLRQ                          'HIDXOW6HWWLQJ

        $$$/RJJLQJ                         'LVDEOHG
        $$$/RJ6HUYHU1XPEHU               
        $$$/RJ6HUYHU,3                   
        6<6/2* 6\VWHP/RJJLQJ              'LVDEOHG
        6<6/2*6HUYHU1XPEHU                
        6<6/2*6HUYHU,3                    

        $$$6HUYLFHV                        'LVDEOHG
        ,QWHUQDO$XWKRUL]DWLRQ              (QDEOHG
        1HZ6XEVFULEHUV                     (QDEOHG
        &UHGLW&DUG6HUYLFH                 (QDEOHG
        3DUDPHWHU3DVVLQJ                   'LVDEOHG
        8VHUQDPHV                           (QDEOHG
        ;0/                                 'LVDEOHG

        '165HGLUHFWLRQ                     (QDEOHG
        60735HGLUHFWLRQ                    'LVDEOHG
        60736HUYHU,3                      

        6103                                'LVDEOHG
        6103*HW&RPPXQLW\                  SXEOLF
        61036HW&RPPXQLW\                  SULYDWH
        61037UDS,3                        

        6\VWHP$GPLQLVWUDWLRQ/RJLQ8VHU   DGPLQ
        1DPH                                DGPLQ
        6\VWHP$GPLQLVWUDWLRQ3DVVZRUG




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       3URGXFW6SHFLILFDWLRQV

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          $*+RVSLWDOLW\0RGXOH
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          8SWRFRQFXUUHQWXVHUVRUGHYLFHV
          7KURXJKSXWXSWR0ESVDVGHILQHGE\5)&6HFWLRQ

        3/$7)250
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           5-&RQVROH
           '%6HULDO&RQQHFWRU
           86%&RQQHFWRUV
           5HVHW
           3RZHU%XWWRQ

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          7\SH:DWWV9'&$:3RZHU$GDSWHU
          ,QSXW$&9#+=a$



       296                                                           Quick Reference Guide
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          7HPSHUDWXUH$PELHQW2SHUDWLQJ6WRUDJHaa&
          +XPLGLW\ 5+ $PELHQW2SHUDWLQJ$PELHQW1RQ2SHUDWLQJaQRQFRQGHQVLQJ
          aQRQFRQGHQVLQJ

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          GHYLFHV

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          7UL0RGDO$XWKHQWLFDWLRQ$XWKHQWLFDWLRQDQG$FFRXQWLQJ $$$
          :DOOHG*DUGHQ
          *URXS$FFRXQWV
          8QLYHUVDO$FFHVV0HWKRGRYHU66/,((([
          6PDUW&OLHQW6XSSRUW %RLQJR,3DVV 0$&$XWKHQWLFDWLRQ
          5HPHPEHU0H/RJLQ

        $'9$1&('6(&85,7<
          L1$7
          ,36HF6XSSRUW
          33736XSSRUW
          6HVVLRQ5DWH/LPLWLQJ 65/
          8VHU$JHQW)LOWHULQJ0DF$GGUHVV)LOWHULQJ85/)LOWHULQJ
          ,&03%ORFNLQJ
          3UR[\$53IRUGHYLFHWRGHYLFHFRPPXQLFDWLRQ




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           5DGLXV $$$ 3UR[\
           3RUW%DVHG3ROLFLHV
           3RUW0DSSLQJ/RFDO'DWDEDVHV&UHGLW&DUG,QWHUIDFH
           306$GYDQFHG;0/,QWHUIDFH
           %LOO0LUURULQJ
        %5$1',1* (67$%/,6+0(17
           3DUDPHWHU3DVVLQJHQDEOLQJEUDQGLQJ

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          :HE0DQDJHPHQW,QWHUIDFH :0,
          &RPPDQG/LQH,QWHUIDFH &/,
          ,QWHJUDWHG931&OLHQWIRU0DQDJHPHQW
          5DGLXV'ULYHQ&RQILJXUDWLRQ
          0XOWL/HYHO$GPLQ6XSSRUW
          &HQWUDOL]HG5DGLXV$XWKHQWLFDWLRQ
          60735HGLUHFWLRQ
          $FFHVV&RQWURO
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          5-SRUWIRU6HULDO$FFHVV
          6\VWHPV&RQVROH
          '%6HULDO3RUW3URSHUW\0DQDJHPHQW,QWHUIDFH




       298                                                      Quick Reference Guide
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           5HDOP%DVHG5RXWLQJ
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           +RPH3DJH5HGLUHFW
           +7735HGLUHFW
           +77365HGLUHFW
           3RUWDO3DJH5HGLUHFW
           6HVVLRQ7HUPLQDWLRQ5HGLUHFW
           ,QIRUPDWLRQDQG&RQWUROFRQVROH
           3RSXS H[SOLFLW ORJRXWEXWWRQ
           ,QWHUQDWLRQDO/DQJXDJH6XSSRUW
           ([WHUQDO:HE6HUYHU
           0RGH,QWHUQDO:HE6HUYHU0RGH
           6HFXUH;0/$3,RYHU66/
           /RJLQ3DJH)DLORYHU

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          '\QDPLF$GGUHVV7UDQVODWLRQ




       Quick Reference Guide                                          299
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          +RVSLWDOLW\0RGXOH3URSHUW\0DQDJHPHQW,QWHUIDFH 306

        3(5)250$1&(
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          6WRUDJHKXPLGLW\5+
          $OWLWXGH8SWRIW



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          3RZHU

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          0XOWL/HYHO$GPLQLVWUDWLRQ&RQWUROV
          ,QWHJUDWHG931&OLHQW ,36HF IRUVHFXUHFRQQHFWLRQWRDQ12&
          $FFHVV&RQWURO/LVWV
          :HE$GPLQLVWUDWLRQ8,
          &/,YLD7HOQHWDQG6HULDO3RUW
          6103YF
          6HFXUH;0/$3,
          $XWR&RQILJXUDWLRQDQG8SJUDGHV
          6\VORJ$$$ORJ



       Quick Reference Guide                                              301
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          '\QDPLF$GGUHVV7UDQVODWLRQ '$7
          '\QDPLF7UDQVSDUHQW3UR[\

        6(59,&(3529,6,21,1*
          +RPH3DJH5HGLUHFW
          +7735HGLUHFW
          3RUWDO3DJH5HGLUHFW
          6HVVLRQ7HUPLQDWLRQ5HGLUHFW
          ,QIRUPDWLRQDQG&RQWUROFRQVROH
          3RSXS ([SOLFLW /RJRXW%XWWRQ
          ,QWHUQDWLRQDO/DQJXDJH6XSSRUW
          ([WHUQDO:HE6HUYHU0RGH
          ,QWHUQDO:HE6HUYHU0RGH
          6HFXUH;0/$3,RYHU66/
          /RJLQ3DJH)DLORYHU

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           3RUW%DVHG3ROLFLHV
           3RUW0DSSLQJ
           /RFDO'DWDEDVH
           &UHGLW&DUG,QWHUIDFH
           306$GYDQFHG;0/,QWHUIDFH
           %LOO0LUURULQJ




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          $XWKRUL]DWLRQ$XWKHQWLFDWLRQDQG$FFRXQWLQJ $$$
          :DOOHG*DUGHQ
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          7UL0RGH$XWKHQWLFDWLRQ
          8QLYHUVDO$FFHVV0HWKRGRYHU66/
          ,((([
          6PDUW&OLHQW6XSSRUW %RLQJRL3DVV
          0$&$XWKHQWLFDWLRQ
          5HPHPEHU0H/RJLQ

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          L1$7
          ,36HF6XSSRUW
          33736XSSRUW
          6HVVLRQ5DWH/LPLWLQJ 65/
          8VHU$JHQW)LOWHULQJ
          0DF$GGUHVV)LOWHULQJ
          85/)LOWHULQJ
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          3UR[\$53IRUGHYLFHWRGHYLFHFRPPXQLFDWLRQ

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           5HDOP%DVHG5RXWLQJ
           =RQH0LJUDWLRQ



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        %5$1',1*
          3DUDPHWHU3DVVLQJHQDEOHGEUDQGLQJ

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          :HE0DQDJHPHQW,QWHUIDFH :0,
          &RPPDQG/LQH,QWHUIDFH &/,
          ,QWHJUDWHG931&OLHQWIRU0DQDJHPHQW
          5$',86'ULYHQ&RQILJXUDWLRQ
          0XOWLOHYHO$GPLQ6XSSRUW
          &HQWUDOL]HG5DGLXV$XWKHQWLFDWLRQ
          60735HGLUHFWLRQ
          $FFHVV&RQWURO
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          )URQWDFFHVV5-SRUWIRUVHULDO6\VWHP&RQVROH
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          6WRUDJHKXPLGLW\5+QRQFRQGHQVLQJ
          $OWLWXGH8SWRIW




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          :HLJKWOEV
          :HLJKW.J

        /(',1',&$7256
          3RZHU,QGLFDWRU
          6WDWXV,QGLFDWRU
          $&7/,1.DQGIRUHDFK(WKHUQHWSRUW

        3(5)250$1&(
          User Support: 8SWRXVHUVRUGHYLFHVFRQFXUUHQWO\
          Throughput: XSWR0ELWVV
              $VGHILQHGE\5)&6HFWLRQ




       306                                                           Quick Reference Guide
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       $&&(66*$7(:$<


                                      $*6SHFLILFDWLRQV




        86(5758(3/8*$1'3/$<
          '\QDPLF$GGUHVV7UDQVODWLRQ '$7
          '\QDPLF7UDQVSDUHQW3UR[\

        6(59,&(3529,6,21,1*
          +RPH3DJH5HGLUHFW
          +7735HGLUHFW
          +77365HGLUHFW
          3RUWDO3DJH5HGLUHFW
          6HVVLRQ7HUPLQDWLRQ5HGLUHFW,QIRUPDWLRQDQG&RQWURO&RQVROH
          3RS8S ([SOLFLW /RJRXW%XWWRQ
          ,QWHUQDWLRQDO/DQJXDJH6XSSRUW
          ([WHUQDO:HE6HUYHU0RGH
          ,QWHUQDO:HE6HUYHU0RGH
          6HFXUH;0/$3,RYHU66/
          /RJLQ3DJH)DLORYHU

        %,//,1*3/$1(1$%/(0(17
           5$',86&OLHQW
           5$',86 $$$ 3UR[\
           3RUW%DVHG3ROLFLHV
           3RUW0DSSLQJ
           /RFDO'DWDEDVH
           &UHGLW&DUG,QWHUIDFH
           %LOO0LUURULQJ




       Quick Reference Guide                                             307
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                                                                  $&&(66*$7(:$<


                                       $*6SHFLILFDWLRQV

        $&&(66&21752/$1'$87+(17,&$7,21
          $XWKRUL]DWLRQ$XWKHQWLFDWLRQDQG$FFRXQWLQJ $$$
          :DOOHG*DUGHQ
          *URXS$FFRXQWV
          7UL0RGH$XWKHQWLFDWLRQ
          8QLYHUVDO$FFHVV0HWKRGRYHU66/
          ,((([
          6PDUW&OLHQW6XSSRUW %RLQJRL3DVV
          0$&$XWKHQWLFDWLRQ
          5HPHPEHU0H/RJLQ

        $'9$1&('6(&85,7<
          L1$7
          ,36HF6XSSRUW
          33736XSSRUW
          6HVVLRQ5DWH/LPLWLQJ 65/
          8VHU$JHQW)LOWHULQJ
          0DF$GGUHVV)LOWHULQJ
          85/)LOWHULQJ
          ,&03%ORFNLQJ
          3UR[\$53IRUGHYLFHWRGHYLFHFRPPXQLFDWLRQ

        32/,&<%$6('75$)),&6+$3,1*
          %DQGZLGWK0DQDJHPHQW
          4R67DJJLQJ
          *URXS%DQGZLGWK0DQDJHPHQW

        ,3$''5(660$1$*(0(17
           ,(((XDE
           ,(((G
           '+&36HUYHU
           '+&35HOD\
           0XOWLSOH6XEQHW6XSSRUW
           ,38SVHOO
           '+&3&OLHQW
           333R(&OLHQW

        ,17(//,*(1752$0,1*
           5HDOP%DVHG5RXWLQJ
           =RQH0LJUDWLRQ



       308                                                     Quick Reference Guide
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       $&&(66*$7(:$<


                                     $*6SHFLILFDWLRQV

        %5$1',1*
          3DUDPHWHU3DVVLQJHQDEOHGEUDQGLQJ

        1(7:25.0$1$*(0(17
          :HE0DQDJHPHQW,QWHUIDFH :0,
          &RPPDQG/LQH,QWHUIDFH &/,
          ,QWHJUDWHG931&OLHQWIRU0DQDJHPHQW
          5$',86'ULYHQ&RQILJXUDWLRQ
          0XOWLOHYHO$GPLQ6XSSRUW
          &HQWUDOL]HG5DGLXV$XWKHQWLFDWLRQ
          60735HGLUHFWLRQ
          $FFHVV&RQWURO
          %ULGJH0RGH
          6103YF
          6\VORJ$$$/RJ

        0(',$$&&(66&21752/
          &60$&$

        32576
          %DVH7(WKHUQHW5- 873 :$1
          ±%DVH7(WKHUQHW5- 873 /$1
          )URQWDFFHVV5-SRUWIRUVHULDO6\VWHP&RQVROH
          '%VHULDOSRUW3URSHUW\0DQDJHPHQW,QWHUIDFH

        32:(5
          ±9$&+]ZDWWV

        (19,5210(17
          2SHUDWLQJWHPSHUDWXUH&WR&
          6WRUDJHWHPSHUDWXUH&WR&
          2SHUDWLQJKXPLGLW\5+
          6WRUDJHKXPLGLW\5+QRQFRQGHQVLQJ




       Quick Reference Guide                                          309
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                                                                          $&&(66*$7(:$<


                                      $*6SHFLILFDWLRQV

        5(*8/$725<
          )&&&ODVV$
          8/8/ 86DQG&DQDGD
          &((1&ODVV$(1$$(1
          
          (1 ,(&,(&$$,(&
          $,(&,(&,(&
          ,(& 
          $XVWUDOLDQ6WDQGDUG$=1=6&,635&ODVV$&%6FKHPH

        3+<6,&$/
          8UDFNVSDFHLQD´UDFN
          ´ / [´ : [´ +
          PP / [PP : [PP +
          :HLJKWOEV
          :HLJKW.J

        /(',1',&$7256
          3RZHU,QGLFDWRU
          6WDWXV,QGLFDWRU
          0HPRU\,QGLFDWRU
          $&7/,1.DQGIRUHDFK(WKHUQHWSRUW

        3(5)250$1&(
          User Support: 8SWRXVHUVRUGHYLFHVFRQFXUUHQWO\
          Throughput: XSWR0ELWVVas defined by RFC1242, Section 3.18




       310                                                            Quick Reference Guide
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       $&&(66*$7(:$<


                                         $*6SHFLILFDWLRQV

        237,21$/02'8/(
          The AG5900 supports an optional plug-in module that provides two SFP+10 Gigabit
          fiber interface slots. If you are using this optional module, be aware of the following:
           7KHV\VWHP0867EHSRZHUHGGRZQEHIRUHLQVHUWLQJRUUHPRYLQJWKHPRGXOH$OVR
           LWLVKLJKO\UHFRPPHQGHGWKDWWKHSRZHUFRUGEHUHPRYHGIURPWKHXQLWDVD
           SUHFDXWLRQ 6HYHUHGDPDJHWRWKHPRGXOHDQGRUWKH16(FRXOGUHVXOWLIWKHPRGXOH
           LVLQVHUWHGRUUHPRYHGZKLOHSRZHULVDSSOLHG
           7UDQVFHLYHUVPD\EHLQVHUWHGRUUHPRYHGIURPWKH6)3VORWVZLWKSRZHUHLWKHURQ
           RURII
           7KH*6)3SRUWVRQO\VXSSRUW*LJDELWWUDQVFHLYHUVDWWKLVWLPH*VWDQGDUG
           6)3WUDQVFHLYHUVDUHQRWVXSSRUWHG
           :KHQWKH6)3VORWVDUHSUHVHQWDQGFRQILJXUHGLQWKH:$1UROHWKH\EHFRPHWKH
           KLJKHVWSULRULW\LQWHUIDFHVRQWKHV\VWHP)RUH[DPSOHLIWKH6)3VORWLV
           FRQILJXUHGDV:$1V\VWHPWUDIILFZLOOEHURXWHGWKURXJKWKDWLQWHUIDFH




       Quick Reference Guide                                                                    311
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                                                                                           $&&(66*$7(:$<

       6DPSOH$$$/RJ
             7KHIROORZLQJWDEOHVKRZVDVDPSOH$$$ORJ7KLVORJLVJHQHUDWHGE\WKH$FFHVV*DWHZD\
             DQGVHQWWRWKH6<6/2*VHUYHUWKDWLVDVVLJQHGWR$$$ORJJLQJ



                              $FFHVV     7\SH                                         6XEVFULEHU   ([SL
                                                   /RJ
        'DWH        7LPH      *DWHZD\     RI                   /RJ0HVVDJH              0$&        UDWLRQ
                                                   &RGH
                               1DPH       'DWD                                           $GGUHVV       7LPH
       0DU           QRPDG    ,1)2      $$$       $$$B$XWKHQWLFDWLRQ    (    KUV
                           QRPDGL[                     6XFFHVVIXO             &%&             PLQ
                             FRP
       0DU           QRPDG    ,1)2      $$$       $$$B$XWKHQWLFDWLRQ    $   KUV
                           QRPDGL[                     6XFFHVVIXO             ))              PLQ
                             FRP
       0DU           QRPDG    ,1)2      $$$       $$$BORRNXS             (
                           QRPDGL[                     $GGHGBLQBPHPRU\BWD     &%&
                             FRP                             EOHB
                                                              SHQGLQJ
       0DU           QRPDG    ,1)2      $$$       $$$B$XWKHQWLFDWLRQ     %
                           QRPDGL[                     8QVXFFHVVIXOB(UURU     $
                             FRP
       0DU           QRPDG    ,1)2      $$$       $$$B,QWHUIDFH             KUV
                           QRPDGL[                     $GGHGBE\BDGPLQLVWUDW                  PLQ
                             FRP                             RU
       0DU           QRPDG    ,1)2      $$$       $$$,QWHUIDFH             KUV
                           QRPDGL[                     8SGDWHGBE\BDGPLQLVWU                  PLQ
                             FRP                             DWRU
       0DU           QRPDG    ,1)2      $$$       $$$,QWHUIDFH          
                           QRPDGL[                     5HPRYHGBE\BDGPLQLVW    
                             FRP                             UDWRU



             Message Definitions (AAA Log)
             7KHVL[EDVLFPHVVDJHVDUHGHILQHGDVIROORZV


                         0HVVDJH                                           'HILQLWLRQ

         $$$B$XWKHQWLFDWLRQ6XFFHVVIXO             6XEVFULEHUSURILOHZDVVXFFHVVIXOO\DGGHGWRWKH
                                                   $FFHVV*DWHZD\DXWKRUL]DWLRQWDEOHDIWHUEHLQJ
                                                   DXWKHQWLFDWHGE\WKHFUHGLWFDUGVHUYHU




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       $&&(66*$7(:$<


                       0HVVDJH                                        'HILQLWLRQ

         $$$B$XWKHQWLFDWLRQ                      6XEVFULEHUSURILOHZDVQRWDGGHGWRWKH$FFHVV
         8QVXFFHVVIXOB(UURU                      *DWHZD\DXWKRUL]DWLRQWDEOHEHFDXVHWKHFUHGLWFDUG
                                                 VHUYHUGLGQRWUHFRJQL]HWKHWUDQVDFWLRQ

         $$$BORRNXS                              6XEVFULEHUSURILOHKDVEHHQUHFRJQL]HGDQGWKH
         $GGHGBLQBPHPRU\BWDEOHBSHQGLQJ           $FFHVV*DWHZD\LVZDLWLQJWRDXWKHQWLFDWHWKHXVHU

         $$$B,QWHUIDFH                           6XEVFULEHUSURILOHZDVPDQXDOO\DGGHGWRWKH
         $GGHGBE\BDGPLQLVWUDWRU                  DXWKRUL]DWLRQWDEOH

         $$$B,QWHUIDFH                           6XEVFULEHUSURILOHZDVXSGDWHG
         8SGDWHGBE\BDGPLQLVWUDWRU

         $$$B,QWHUIDFH                           6XEVFULEHUSURILOHZDVPDQXDOO\UHPRYHGIURPWKH
         5HPRYHGBE\BDGPLQLVWUDWRU                DXWKRUL]DWLRQWDEOH



       6DPSOH6<6/2*5HSRUW
           6\VORJUHSRUWVDUHJHQHUDWHGE\WKH$FFHVV*DWHZD\DQGVHQWWRWKHV\VORJVHUYHUWKDWLV
           DVVLJQHGWRJHQHUDOHUURUGHWHFWLRQDQGUHSRUWLQJ

                   /RFDO,QIR,1)2>$FFHVV*DWHZD\Y@
                   '+&3QG['+&3,QLW'+&3LQLWLDOL]HG
                   /RFDO,QIR,1)2>$FFHVV*DWHZD\Y@
                   &/,65'6HWWLQJ&20WREDXG
                   /RFDO,QIR,1)2>$FFHVV*DWHZD\Y@
                   &/,65'6WDUWLQJ&/,RQWKHVHULDOSRUW
                   /RFDO,QIR,1)2>$FFHVV*DWHZD\Y@
                   ,1,7$FFHVV*DWHZD\YZLWK,',QLWLDOL]HG




       Quick Reference Guide                                                                           313
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                                                                                      $&&(66*$7(:$<

       6DPSOH+LVWRU\/RJ
             $KLVWRU\ORJLVJHQHUDWHGE\WKH$FFHVV*DWHZD\ZKLFKLQFOXGHVWKHV\VWHP¶VDFWLYLW\
             $FFHVV5HERRWDQG8SWLPH 




                  0RUHOLVWLQJV




       314                                                                        Quick Reference Guide
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       $&&(66*$7(:$<

       .H\ERDUG6KRUWFXWV
           7KHIROORZLQJWDEOHVKRZVWKHPRVWFRPPRQNH\ERDUGVKRUWFXWV

                                      $FWLRQ                             .H\ERDUG6KRUWFXW

                &XWVHOHFWHGGDWDDQGSODFHLWRQWKHFOLSERDUG     &WUO;

                &RS\VHOHFWHGGDWDWRWKHFOLSERDUG                 &WUO&

                3DVWHGDWDIURPWKHFOLSERDUGLQWRDGRFXPHQW DW   &WUO9
                WKHLQVHUWLRQSRLQW 

                &RS\WKHDFWLYHZLQGRZWRWKHFOLSERDUG             $OW3ULQW6FUHHQ

                &RS\WKHHQWLUHGHVNWRSLPDJHWRWKHFOLSERDUG      3ULQW6FUHHQ

                $ERUWDQDFWLRQDWDQ\WLPH                        (VF

                *REDFNWRWKHSUHYLRXVVFUHHQ                      E

                $FFHVVWKH+HOSVFUHHQ                              "



       +\SHU7HUPLQDO6HWWLQJV
           8VHWKHIROORZLQJVHWWLQJVZKHQHVWDEOLVKLQJD+\SHU7HUPLQDOVHVVLRQ

                                             ,WHP              6HWWLQJ

                                    %LWVSHUVHFRQG        

                                    'DWDELWV              

                                    3DULW\                 1RQH

                                    6WRSELWV              

                                    )ORZFRQWURO           1RQH




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                                                                                           $&&(66*$7(:$<

       5$',86$WWULEXWHV
             5$',86 5HPRWH$XWKHQWLFDWLRQ'LDO,Q8VHU6HUYLFH ZDVRULJLQDOO\FUHDWHGWRDOORZUHPRWH
             DXWKHQWLFDWLRQWRWKHGLDOLQQHWZRUNVRIFRUSRUDWLRQVDQGGLDOXS,63V,WLVGHILQHGDQG
             VWDQGDUGL]HGE\WKH,(7) ,QWHUQHW(QJLQHHULQJ7DVN)RUFH DQGVHYHUDO5$',86VHUYHU
             SDFNDJHVH[LVWLQERWKWKHSXEOLFGRPDLQDQGIRUFRPPHUFLDOVDOH
             5$',86VRIWZDUHVWRUHVDGDWDEDVHRIDWWULEXWHVDERXWWKHLUYDOLGVXEVFULEHUEDVH)RU
             H[DPSOHXVHUQDPHVSDVVZRUGVDFFHVVSULYLOHJHVDFFRXQWOLPLWVDQGVXEVFULEHUDWWULEXWHVFDQ
             DOOEHVWRUHGLQD5$',86GDWDEDVH5$',86ZRUNVLQFRQMXQFWLRQVZLWK1$6 1HWZRUN
             $FFHVV6HUYHU GHYLFHVWRGHWHUPLQHLIDFFHVVWRWKHVHUYLFHQHWZRUNVKRXOGEHJUDQWHGDQGLI
             VRZLWKZKDWSULYLOHJHV




                                           $*


                                        $OOVXEVFULEHUVDWWHPSWLQJWRJDLQDFFHVVWR
                                        WKHQHWZRUNDUHYDOLGDWHGE\5$',86

             :KHQDVXEVFULEHUDWWHPSWVWRDFFHVVWKHVHUYLFHSURYLGHU VQHWZRUNWKH$FFHVV*DWHZD\
             GHOLYHUVD:HESDJHWRWKHVXEVFULEHUDVNLQJIRUDORJLQQDPHDQGSDVVZRUG7KLVLQIRUPDWLRQ
              SDVVZRUG LVHQFU\SWHGDQGVHQWDFURVVWKHQHWZRUNWRWKH,63 V5$',86VHUYHU7KH5$',86
             VHUYHUGHFU\SWVWKHLQIRUPDWLRQDQGFRPSDUHVLWDJDLQVWLWVOLVWRIYDOLGXVHUV,IWKHVXEVFULEHU
             FDQEHDXWKHQWLFDWHGWKH5$',86VHUYHUUHSOLHVWRWKH$FFHVV*DWHZD\ZLWKDPHVVDJH
             LQVWUXFWLQJLWWRJUDQWDFFHVVWRWKHVXEVFULEHU2SWLRQDOO\WKH5$',86VHUYHUFDQLQVWUXFWWKH
             1$6WRSHUIRUPRWKHUIXQFWLRQVIRUH[DPSOHWKH5$',86VHUYHUFDQWHOOWKH$FFHVV
             *DWHZD\ZKDWXSVWUHDPDQGGRZQVWUHDPEDQGZLGWKWKHVXEVFULEHUVKRXOGUHFHLYH,I5$',86
             FDQQRWDXWKHQWLFDWHWKHVXEVFULEHULWZLOOLQVWUXFWWKH1$6WRGHQ\DFFHVVWRWKHQHWZRUN




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       $&&(66*$7(:$<

           7KH1RPDGL[$FFHVV*DWHZD\5$',86IXQFWLRQDOLW\FDQEHEURNHQGRZQLQWRWKHIROORZLQJ
           FDWHJRULHV
               z   $XWKHQWLFDWLRQ5HTXHVW
               z   $XWKHQWLFDWLRQ5HSO\ $FFHSW
               z   $FFRXQWLQJ5HTXHVW
               z   6HOHFWHG'HWDLOHG'HVFULSWLRQV
               z   1RPDGL[9HQGRU6SHFLILF5$',86$WWULEXWHV


           Authentication-Request
               z   8VHUQDPH
               z   3DVVZRUG
               z   6HUYLFH7\SH
               z   1$63RUW SRUWQXPEHU
               z   1$6,GHQWLILHU
               z   )UDPHG,3$GGUHVV
               z   1$6,3$GGUHVV
               z   1$63RUW7\SH
               z   $FFW6HVVLRQ,'
               z   /RJ2II85/
               z   ($33DFNHW XVHGIRU[
               z   0HVVDJH$XWKHQWLFDWRU XVHGIRU[ 
               z   6WDWH XVHGWHVWHGIRU[
               z   &DOOHG6WDWLRQ,'
               z   &DOOLQJ6WDWLRQ,'


           Authentication-Reply (Accept)
               z   5HSO\0HVVDJH
               z   5HMHFW0HVVDJH
               z   6WDWH XVHGWHVWHGIRU[ 


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                                                                      $&&(66*$7(:$<

                z   &ODVV
                z   6HVVLRQ7LPHRXW
                z   ,GOH7LPHRXW
                z   ($33DFNHW XVHGIRU[ 
                z   0HVVDJH$XWKHQWLFDWRU XVHGIRU[
                z   $FFW,QWHULP,QWHUYDO
                z   1RPDGL[96$V
                      z     1RPDGL[%Z8S
                      z     1RPDGL[%Z'RZQ
                      z     1RPDGL[85/5HGLUHFWLRQ
                      z     1RPDGL[,38SVHOO
                      z     1RPDGL[0D[%\WHV8S
                      z     1RPDGL[0D[%\WHV'RZQ
                      z     1RPDGL[1HW9/$1
                      z     1RPDGL[6HVVLRQ7HUPLQDWH(QG2I'D\
                      z     1RPDGL[6XEQHW
                      z     1RPDGL[([SLUDWLRQ


             Accounting-Request
                z   8VHUQDPH
                z   $FFW6WDWXV7\SH 6WDUW6WRS8SGDWH
                z   $FFW6HVVLRQ,'
                z   $FFW2XWSXW2FWHWV
                z   $FFW,QSXW2FWHWV
                z   $FFW2XWSXW3DFNHWV
                z   $FFW,QSXW3DFNHWV
                z   &ODVV
                z   1RPDGL[96$V
                      z     1RPDGL[6XEQHW
                      z     1RPDGL[85/5HGLUHFWLRQ
                      z     1RPDGL[,38SVHOO


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       $&&(66*$7(:$<

               z    $FFW6HVVLRQ7LPH 6WRS
               z    7HUPLQDWH&DXVH 6WRS
               z    1$6,'
               z    1$6,3$GGUHVV
               z    1$63RUW7\SH
               z    1$63RUW
               z    )UDPHG,3$GGUHVV
               z    $FFW'HOD\7LPH
               z    &DOOHG6WDWLRQ,'
               z    &DOOLQJ6WDWLRQ,'
               z    0D[%\WHV7RWDO
               z    0D[*LJDZRUGV7RWDO


           Selected Detailed Descriptions

           Acct-Session-ID
           7KH$FFW6HVVLRQ,'LVFUHDWHGZKHQWKH5$',86DXWKHQWLFDWLRQUHTXHVWLVEXLOW,WLV
           WUDQVPLWWHGLQERWKWKH$FFHVV5HTXHVWDQGWKH$FFRXQWLQJ5HTXHVW

           Session Timeout
           7KHUHLVFXUUHQWO\QRGHIDXOWVHVVLRQWLPHRXWWKDW\RXFDQVHWLQWKH$FFHVV*DWHZD\:HE
           0DQDJHPHQW,QWHUIDFH :0, ,IWKH5DGLXVVHUYHUGRHVQRWVHQGD6HVVLRQ7LPHRXWWKH
           $FFHVV*DWHZD\ZLOOVHWWKHVXEVFULEHUH[SLUDWLRQWLPHWRZKLFKPHDQVDFFHVVIRUHYHU

           Log-Off-URL
           $OORZVIRUWKHSODFHPHQWRIDORJRII85/ IRUH[DPSOH RQDQH[WHUQDOSRUWDOSDJH

           MaxBytesTotal
           1XPEHURIWRWDOE\WHVWRVXSSRUWYROXPHEDVHGELOOLQJIRUWRWDORIXSVWUHDPDQGGRZQVWUHDP
           WUDIILF1RWHWKDW0D[%\WHV7RWDOZLOOUHVHWWR]HURDWJLJDE\WHV8VHZLWK
           0D[*LJDZRUGV7RWDOLIYROXPHRIGDWDPD\H[FHHGJLJDE\WHV




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                                                                                          $&&(66*$7(:$<

             MaxGigawordsTotal
             1XPEHURIWRWDOJLJDE\WHVWRVXSSRUWYROXPHEDVHGELOOLQJIRUWRWDORIXSVWUHDPDQG
             GRZQVWUHDPWUDIILF1RWHWKDW0D[*LJDZRUGV7RWDOLVDQLQWHJHUYDOXHXVHZLWK0D[%\WHV7RWDO
             LI\RXQHHGYROXPHJUDQXODULW\RIPRUHWKDQJLJDE\WHV

             Idle Timeout
             7KH:0,DOORZVWKHVHWWLQJRIDGHIDXOWWLPHRXW,IWKH5DGLXVVHUYHUGRHVQRWVHQGDQ,GOH
             7LPHRXWLQWKH5DGLXV$FFHVV$FFHSWWKH$FFHVV*DWHZD\ZLOOXVHWKHGHIDXOWRQHWR
             GLVFRQQHFWVXEVFULEHUV³´PHDQVIRUHYHU

             Timeout Detection
             ,IDVXEVFULEHULVVHQGLQJWUDIILFWKURXJKWKH$FFHVV*DWHZD\WKH$FFHVV*DWHZD\ZLOO
             LPPHGLDWHO\GHWHFWD6HVVLRQ7LPHRXW+RZHYHULQWKHFDVHRIDQ,GOH7LPHRXWRUDQLQDFWLYH
             VXEVFULEHU6HVVLRQ7LPHRXWWKH$FFHVV*DWHZD\GHWHFWVLWYLDDFOHDQXSIXQFWLRQWKDWLV
             FXUUHQWO\FDOOHGHYHU\PLQXWHV7KXVWKHFXUUHQWSUHFLVLRQIRUVHQGLQJWKH$FFW6WRSLVDERXW
             PLQXWHV

             Subscriber Session Duration
             $FFW6HVVLRQ7LPHLVFDOFXODWHGWKHIROORZLQJZD\ IRUHDFKWUDQVPLWWHGUHWUDQVPLWWHG$FFW
             6WRS 
             $FFW6HVVLRQ7LPH WLPHRIODVWVHQWSDFNHWVXEVFULEHUORJLQWLPH
             $QRWKHUDWWULEXWH$FFW'HOD\7LPHZLOOWDNHLQWRFRQVLGHUDWLRQWKHWLPHVSHQWLQ
             UHWUDQVPLVVLRQV

             Interim Accounting Updates
             7KH$FFHVV*DWHZD\SDUVHVWKHDWWULEXWH$FFW,QWHULP,QWHUYDOLQDQ$FFHVV$FFHSW,IWKLV
             DWWULEXWHLVSUHVHQWWKH$FFHVV*DWHZD\WULHVHYHU\>$FFW,QWHULP,QWHUYDO@VHFRQGVWRVHQGD
             5DGLXV$FFRXQWLQJ,QWHULPPHVVDJHIRUWKHVSHFLILFVXEVFULEHU,IWKLVDWWULEXWHLVQRWSUHVHQWRU
             HTXDOWRQR,QWHULPPHVVDJHLVVHQW
             7KHSUHFLVLRQLVPLQXWHV7KH$FFHVV*DWHZD\ZLOOQRWVHQG,QWHULPPHVVDJHVPRUH
             IUHTXHQWO\WKDQHYHU\PLQXWHV

             Called-Station-ID
             7KLVLVWKH0HGLD$FFHVV&RQWURO 0$& DGGUHVVRIWKH$FFHVV*DWHZD\

             Calling-Station-ID
             7KLVLVWKH0HGLD$FFHVV&RQWURO 0$& DGGUHVVRIWKHFOLHQW VFRPSXWHU




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       $&&(66*$7(:$<

           New Attributes in Acct-Request
           7KH$FFHVV*DWHZD\KDVWRVHQGWKHIROORZLQJDWWULEXWHVLQDQ$FFRXQWLQJ6WRS
               z    $FFW2XWSXW3DFNHWVQXPEHURISDFNHWVVHQWE\VXEVFULEHU
               z    $FFW,QSXW3DFNHWVQXPEHURISDFNHWVUHFHLYHGE\VXEVFULEHU
           8SRQDUHERRWWKHVHDWWULEXWHVDUHVDYHGLQcurrfile.datWKHVDPHZD\DVIRU$FFW,QSXW
           2FWHWVDQG$FFW,QSXW2FWHWV

                        If you plan to implement RADIUS, go to ³&RQWDFW,QIRUPDWLRQ´RQSDJH  for
                        Nomadix Technical Support.



           Nomadix Vendor-Specific RADIUS Attributes
           1RPDGL[SURYLGHVWKHIROORZLQJYHQGRUVSHFLILF5$',86DWWULEXWHV7KLVOLVWPD\YDU\
           GHSHQGLQJRQ\RXUFRQILJXUDWLRQ

                                                    ,QWHJHU
                             $WWULEXWH               9DOXH               'HVFULSWLRQ

                   1RPDGL[%:8S                               9DOXH LQ.ESV UHVWULFWVWKH
                                                                VSHHGDWZKLFKXSORDGVDUH
                                                                SHUIRUPHG

                   1RPDGL[%:'RZQ                             9DOXH LQ.ESV UHVWULFWVWKH
                                                                VSHHGDWZKLFKGRZQORDGVDUH
                                                                SHUIRUPHG

                   1RPDGL[8UO5HGLUHFWLRQ                     $OORZVWKHDGPLQLVWUDWRUWR
                                                                UHGLUHFWWKHXVHUWRDSDJHRI
                                                                WKHDGPLQLVWUDWRU¶VFKRLFH
                                                                HDFKWLPHWKHXVHUORJVLQ

                   1RPDGL[,38SVHOO                           $OORZVWKHXVHUWRUHFHLYHD
                                                                SXEOLFDGGUHVVIURPD'+&3
                                                                SRROZKHQWKH16(KDV7KLV
                                                                IHDWXUHHQDEOHG

                   1RPDGL[([SLUDWLRQ                          $OORZVWKHDGPLQLVWUDWRUWRVHW
                                                                DQH[SLUDWLRQGDWHDQGWLPH
                                                                IRUDXVHU

                   1RPDGL[6XEQHW                              6SHFLILHVZKLFK'+&3SRRO
                                                                WKHXVHUVKRXOGUHFHLYHWKHLU
                                                                '+&3OHDVHIURP


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                                                                               $&&(66*$7(:$<


                                            ,QWHJHU
                        $WWULEXWH                               'HVFULSWLRQ
                                             9DOXH

               1RPDGL[0D[%\WHV8S                     :KHQWKHQXPEHURIE\WHV
                                                       VHQWH[FHHGVWKLVYDOXHWKH
                                                       XVHUZLOOEHORJJHGRXWRIWKHLU
                                                       5DGLXVVHVVLRQ7RFRQWLQXH
                                                       WKHLU,QWHUQHWDFFHVVWKHXVHU
                                                       ZRXOGKDYHWRORJLQDJDLQ

               1RPDGL[0D[%\WHV'RZQ                   :KHQWKHQXPEHURIE\WHV
                                                       UHFHLYHGH[FHHGVWKLVYDOXH
                                                       WKHXVHUZLOOEHORJJHGRXWRI
                                                       WKHLU5DGLXVVHVVLRQ7R
                                                       FRQWLQXHWKHLU,QWHUQHWDFFHVV
                                                       WKHXVHUZRXOGKDYHWRORJLQ
                                                       DJDLQ

               1RPDGL[6HVVLRQ7HUPLQDWH             :KHQWKLVDWWULEXWHLVHQDEOHG
               (QG2I'D\                              IRUWKHXVHUWKH16(ZLOOORJ
                                                       WKHXVHURXWDWPLGQLJKW

               1RPDGL[/RJRII8UO                    3DVVHGLQWKH$FFHVV
                                                       5HTXHVWWRWKH5DGLXVVHUYHU
                                                       7KLVLVDUHTXLUHGDWWULEXWHIRU
                                                       :,63U,PSOHPHQWDWLRQLV
                                                       GHWHUPLQHGE\WKHSURSHUW\
                                                       RZQHU

               1RPDGL[1HW9ODQ                      6SHFLILHVZKLFKYODQQXPEHU
                                                       16(VKRXOGWDJWKHSDFNHWV
                                                       ZLWKZKHQJRLQJRXWWKH
                                                       QHWZRUNSRUW

               1RPDGL[&RQILJ8UO                    7KHIWS85/WKDWWKH16(ZLOO
                                                       XVHWRGRZQORDGLWVDXWR
                                                       FRQILJXUDWLRQILOH

               1RPDGL[*RRGE\H8UO                   7KH85/WKDWWKH16(ZLOO
                                                       UHGLUHFWWKHXVHUWRDIWHUWKH\
                                                       ORJRXW

               1RPDGL[4RV3ROLF\                   6SHFLILHVZKLFK4R6SROLF\
                                                       ZLOOEHDSSOLHGWRWKHXVHU

               1RPDGL[60735HGLUHFW                6SHFLILHVZKHWKHURUQRWWKH
                                                       XVHUZLOOEHUHGLUHFWHGWRWKH
                                                       FRQILJXUHG6073VHUYHU


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       $&&(66*$7(:$<


                                               ,QWHJHU
                           $WWULEXWH                               'HVFULSWLRQ
                                                9DOXH

                 1RPDGL[&HQWUDOL]HG0JPW               6HWVWKHDFFHVVIRUXVHUVWR
                                                          WKH:HE0DQDJHPHQW
                                                          ,QWHUIDFH7HOQHW&/,LQWHUIDFH
                                                          )73DQGWKH5HPRWH5DGLXV
                                                          /RJLQWHVWSDJH

                 1RPDGL[*URXS%Z3ROLF\,'            7KH,'IRUWKHEDQGZLGWK
                                                          JURXS

                 1RPDGL[*URXS0D[8S                   9DOXH LQ.ESV UHVWULFWVWKH
                                                          VSHHGDWZKLFKXSORDGVIRU
                                                          WKHHQWLUHJURXSDUH
                                                          SHUIRUPHG

                 1RPDGL[*URXS0D['RZQ                 9DOXH LQ.ESV UHVWULFWVWKH
                                                          VSHHGDWZKLFKGRZQORDGVIRU
                                                          WKHHQWLUHJURXSDUH
                                                          SHUIRUPHG

                 1RPDGL[0D[*LJD:RUGV83                $OORZVIRUYROXPHEDVHG
                                                          VHVVLRQVJUHDWHUWKDQJLJ

                 1RPDGL[0D[*LJD:RUGV                  $OORZVIRUYROXPHEDVHG
                 'RZQ                                     VHVVLRQVJUHDWHUWKDQJLJ

                 1RPDGL[3UHIHUUHG:$1                  (LWKHU:$1(WK(WK(WK
                                                          (WKRU(WKWRLGHQWLI\ZKDW
                                                          LQWHUIDFHWKHXVHUZLOOWU\WR
                                                          VHQGWUDIILFRQ

                 1RPDGL[%Z&ODVV1DPH                  &ODVVQDPHLQGRWWHGQRWDWLRQ

                 1RPDGL[0D[%\WHV7RWDO                  7RWDODPRXQWRIWUDIILFXSDQG
                                                          GRZQIRUDXVHUEHIRUHEHLQJ
                                                          ORJJHGRII

                 1RPDGL[0D[*LJDZRUGV7RWDO              $OORZPRUHWKDQJLJRIWRWDO
                                                          WUDIILFWREHPRQLWRUHGEHIRUH
                                                          ORJJLQJXVHURII




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                                                                                         $&&(66*$7(:$<

       6HWWLQJ8SWKH66/)HDWXUH
             7KLVVHFWLRQGHVFULEHVKRZWRVHWXSWKH$FFHVV*DWHZD\¶V66/IHDWXUH


             Prerequisites
                 z   <RXVKRXOGEHDEXVLQHVVWKDWLVTXDOLILHGWRREWDLQDQ66/VHFXUHVHUYHU,'IURP
                     GLIIHUHQW&HUWLILFDWH$XWKRULWLHV &$V VXFKDV9HUL6LJQ7KH&HUWLILFDWH$XWKRULW\
                     VHWVWKLVTXDOLILFDWLRQFULWHULRQ
                 z   <RXZLOOQHHGWRJHQHUDWH\RXURZQ3ULYDWH.H\DQG&HUWLILFDWH6LJQLQJ5HTXHVW
                      WKHVHLQVWUXFWLRQVDUHSURYLGHGEHORZ 
                 z   <RXPXVWREWDLQ\RXURZQ6LJQHG3XEOLF.H\IURPWKH&HUWLILFDWH$XWKRULW\7KH
                     VHOHFWHG&HUWLILFDWH$XWKRULW\VKRXOGEHFRPPRQO\VXSSRUWHGLQWKHVXEVFULEHUV 
                     EURZVHU:HUHFRPPHQGWKDW\RXXVH9HUL6LJQ DOOLQVWUXFWLRQVLQWKLVGRFXPHQWDUH
                     EDVHGRQREWDLQLQJDNH\IURP9HUL6LJQ 3OHDVHFRQWDFW1RPDGL[7HFKQLFDO6XSSRUW
                     LI\RXZDQWWRXVHDGLIIHUHQW&HUWLILFDWH$XWKRULW\
             )RU1RPDGL[WHFKQLFDOVXSSRUWJRWR³&RQWDFW,QIRUPDWLRQ´RQSDJH 


             Obtain a Private Key File (cakey.pem)
             7RFUHDWHD3ULYDWH.H\)LOH\RXPXVWLQVWDOO2SHQ66/RQ\RXU:LQGRZV[RU17RSHUDWLQJ
             V\VWHPRQD3&ZLWK,QWHUQHWDFFHVV

             Requirements for Certificate Signing Request (CSR) and Key Generation
                 z   &\JZLQDQG2SHQ66/DSSOLFDWLRQLQVWDOOHGRQ:LQGRZV[RU17
                 z   ODUJHUDQGRPILOHVUHVLGLQJRQWKHZRUNVWDWLRQ ODUJHFRPSUHVVHGORJILOHV
                     UHFRPPHQGHGE\9HUL6LJQ 7KHVHILOHVDUHSXWLQDVILOHILOHILOHILOHILOHLQWKH
                     NH\JHQHUDWLRQFRPPDQG

             Downloading Cygwin
             7KHUHDUHVHYHUDOVRXUFHVIRUREWDLQLQJ³&\JZLQ´WRLQVWDOO2SHQ66/2QHSRSXODUVRXUFHLV
             KWWSVRXUFHVUHGKDWFRPF\JZLQ

                          Nomadix used Cygwin version 1.3.2 for generating this section of the User Guide.




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       $&&(66*$7(:$<

           Installing Cygwin and OpenSSL on a PC

                        The example in this document is based on downloading the software with
                        Netscape 4.75.

           7KHSURFHGXUHVWDUWVIURPWKHCygwin Net Release Setup ProgramVFUHHQ




           &OLFNRQWKH1H[WEXWWRQ
           7KHIROORZLQJVFUHHQDSSHDUV




           &OLFNRQWKH1H[WEXWWRQWRGLVSOD\WKHQH[WVHWXSVFUHHQ




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                                                                             $&&(66*$7(:$<

             &OLFNRQWKH1H[WEXWWRQWRGLVSOD\WKHQH[WVHWXSVFUHHQ




             &OLFNRQWKH1H[WEXWWRQWRGLVSOD\WKHQH[WVHWXSVFUHHQ




             &OLFNRQWKH1H[WEXWWRQWRGLVSOD\WKHQH[WVHWXSVFUHHQ




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       $&&(66*$7(:$<

           6HOHFWDORFDWLRQDQGFOLFNRQWKH1H[WEXWWRQ

                        For the purposes of this document, Nomadix used: ftp://planetmirror.com.


           ,QWKHIROORZLQJVFUHHQVSOHDVHVNLSDOOSDFNDJHVH[FHSW³F\JZLQ´DQG³RSHQVVO´WKHQFOLFNRQ
           WKH1H[WZKHQ\RXDUHGRQH

                        At the time of this writing, there are more than 70 packages to install. Please
                        ensure that you “skip” all of them except the two packages mentioned above.




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                                                                                          $&&(66*$7(:$<

             &OLFNRQWKH1H[WEXWWRQWRVWDUWWKH³GRZQORDG´SURFHVV:DLWIRUWKHGRZQORDGSURFHVVWR
             FRPSOHWH




             &OLFNRQWKH1H[WEXWWRQWRVWDUWWKH³LQVWDOO´SURFHVV:DLWIRUWKHLQVWDOOSURFHVVWRFRPSOHWH




             7KHUHZLOOEHDSRSXSGLDORJWRLQIRUP\RXWKDWWKHLQVWDOODWLRQSURFHVVLVFRPSOHWHG$WWKH
             SRSXSGLDORJFOLFNRQWKH2.EXWWRQ


             Private Key Generation
             &UHDWHDGLUHFWRU\IURP5RRWDQGSXWUDQGRPILOHVDGDWEGDWFGDWGGDWDQGHGDW VHH
             QRWH LQWRWKH&?F\JZLQ?ELQ?GLUHFWRU\ RUWKHGLUHFWRU\ZKHUH\RXLQVWDOOHGRSHQVVOH[H 

                           These random files can be any file type, such as Word, Excel, etc. Change the files
                           to .dat files (shown above). All files must follow the DOS naming format
                           (maximum 8 characters).




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       $&&(66*$7(:$<

           5XQWKH³FRPPDQG´SURPSWIURP:LQGRZVWKHQFOLFNRQWKH2.EXWWRQ




           *RWRWKHF?F\JZLQ?ELQ?GLUHFWRU\DQGUXQWKHIROORZLQJFRPPDQG
           !RSHQVVOJHQUVDUDQGILOHILOHILOHILOHILOH!FDNH\SHP
           7KHIROORZLQJWDEOHSURYLGHVDQH[SODQDWLRQRIWKHFRPPDQGHOHPHQWV




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                                                                                          $&&(66*$7(:$<



                   RSHQVVO                ³RSHQVVO´FRPPDQG

                   JHQUVD                 $SDUDPHWHUIRU³RSHQVVO´WRJHQHUDWHDQ56$NH\

                   5DQG                   $SDUDPHWHUIRU³RSHQVVO´WRJHQHUDWHDUDQGRPQXPEHU
                                          IURPWKHILOHVOLVW

                   ILOHILOH«ILOH     7KHVHILYHODUJHUDQGRPILOHVDUHUHVLGLQJRQWKH
                                          ZRUNVWDWLRQ ODUJHFRPSUHVVHGORJILOHVUHFRPPHQGHG
                                          E\9HUL6LJQ 7KHVHILOHVDUHHQWHUHGLQWKHNH\
                                          JHQHUDWLRQFRPPDQGDVILOHILOHILOHILOHILOH

                   !                      2XWSXWWR

                   FDNH\SHP              7KHILOHWKDWFRQWDLQVWKHSULYDWHNH\<RXPXVWKDYHWKH
                                          ILOHQDPH³FDNH\SHP´WREHXVHGLQWKH$FFHVV
                                          *DWHZD\


             %HFDXVHWKHUHLVDSDUDPHWHUEXIIHUVL]HOLPLWDWLRQRIWKH³RSHQVVO´FRPPDQGWKHDUJXPHQW
             OHQJWKVKRXOGQRWKDYHPRUHWKDQFKDUDFWHUV
             ,I\RXDUHFUHDWLQJPXOWLSOHNH\VSOHDVHRXWSXWWKHPLQWRGLIIHUHQWGLUHFWRULHVDQGVDYHWKHPDV
             GLIIHUHQWQDPHV+RZHYHULI\RXDUHVDYLQJWKHPDVGLIIHUHQWQDPHV\RXPXVWFKDQJHWKH
             QDPHVEDFNWR³FDNH\SHP´ZKHQWU\LQJWR)73WRWKH$FFHVV*DWHZD\

                            Do not include “-des3” option to keep the private key in an unencrypted form.




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       $&&(66*$7(:$<

           +HUHLVWKHRXWSXWRIFDNH\SHP




           Create a Certificate Signing Request (CSR) File
           5XQWKHIROORZLQJFRPPDQGWRJHQHUDWHWKHFHUWLILFDWHVLJQLQJUHTXHVW
           !RSHQVVOUHTQHZNH\FDNH\SHP!VHUYHUFVU




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                                                                                        $&&(66*$7(:$<

             7KHIROORZLQJWDEOHSURYLGHVDQH[SODQDWLRQRIWKHFRPPDQGHOHPHQWV

                                 RSHQVVO           ³RSHQVVO´FRPPDQG

                                 UHT               $SDUDPHWHUIRUFUHDWLQJD
                                                   UHTXHVW

                                 QHZ               'HILQLQJD³QHZ´UHTXHVW«

                                 NH\               «IURPSULYDWHNH\

                                 !                 2XWSXWWR«

                                 VHUYHUFVU        «WKHRXWSXWILOH


             )LOOLQ\RXUFRPSDQ\LQIRUPDWLRQ,I³6WDWHV´RU³3URYLQFH´QDPHVGRQRWH[LVWLQ\RXUFRXQWU\
             SOHDVHUHSHDWWKH³/RFDOLW\1DPH´
             7KH³&RPPRQ1DPH´LVWKHQDPHXVHGLQWKH$FFHVV*DWHZD\!$$$!66/&HUWLILFDWH
             'RPDLQ1DPH7KH&RPPRQ1DPHLQWKH3XEOLF.H\PXVWPDWFKWKH66/&HUWLILFDWH'RPDLQ
             1DPHLQWKH:HE0DQDJHPHQW,QWHUIDFHRIWKH$FFHVV*DWHZD\ UHIHUWRWKH$FFHVV*DWHZD\
             VHWXSLQIRUPDWLRQODWHULQWKLVGRFXPHQW 
             +HUHLVWKHRXWSXWRIVHUYHUFVU




             Create a Public Key File (server.pem)
             9HUL6LJQ3XUFKDVLQJ3URFHVV
             7KHVLJQLQJSURFHVVYDULHVE\&HUWLILFDWH$XWKRULW\*HQHUDOO\\RXZLOOQHHGWRVHQGD
             &HUWLILFDWH6LJQLQJ5HTXHVWWRWKH&HUWLILFDWH$XWKRULW\ &$ DQGWKH&$ZLOOFUHDWHDSXEOLF
             NH\EDVHRQWKHFHUWLILFDWHUHTXHVW


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       $&&(66*$7(:$<

           7KLVLVWKHSURFHGXUHWRJHWDELWHQFU\SWLRQRUELW3XEOLF.H\IURP9HUL6LJQ
           :LWK,(RU1HWVFDSHJRWRZZZYHULVLJQFRPSURGXFWVVLWHLQGH[KWPO




           6HOHFW%X\IRU6HFXUH6LWH6HUYLFH




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                                                                                          $&&(66*$7(:$<

             6HOHFW%X\1RZIRUELW66/ 6HFXUH6HUYHU ,'RUELW66/ *OREDO6HUYHU ,'

                          Some older versions of popular browsers only support 40-bit or 56-bit
                          encryption. Since it impossible to forecast the browsers that may be used in a
                          visitor-based network, Nomadix recommends implementing a 40-bit Public Key.

             'XULQJWKHSURFHVV9HUL6LJQZLOODVNIRU\RXUEXVLQHVVLQIRUPDWLRQDQGYHULILFDWLRQ7KHUHDUH
             VHYHUDOZD\VWRSURRIWKHH[LVWHQFHRI\RXUEXVLQHVV3OHDVHIROORZWKHLQVWUXFWLRQIURP
             9HUL6LJQFDUHIXOO\,QDGGLWLRQWKHUHLVRQHVHFWLRQDERXWJHQHUDWLQJD&65KRZHYHUVLQFH
             \RXKDYHDOUHDG\FUHDWHGWKH&65LQVWHSZLWK2SHQ66/\RXFDQVNLSWKHLQVWUXFWLRQV
             &656XEPLVVLRQWR9HUL6LJQ




             3OHDVHVHOHFW³$SDFKH)UHHZDUH´WRVXEPLWWKH&65WR9HUL6LJQ7KH&HUWLILFDWH6LJQLQJ
             5HTXHVWLVLQWKHVHUYHUFVU FUHDWHGLQWKHSUHYLRXVVWHS 2SHQVHUYHUFVUDQGFRS\DQGSDVWH
             DOOGDWDLQWRWKHHGLWER[
             6HOHFWWKHSXUFKDVHPHWKRGDQGVXPPLWWKHUHTXLUHGFRQWDFWLQIRUPDWLRQ

                          For Expedited Service, you will typically be able to get the Public Key by email
                          within two days. For Regular Service, you will typically be able to obtain the key
                          within seven days.

             :KHQ\RXUHFHLYHDQHPDLOIURP9HUL6LJQZLWK³6HFXUH6HUYHU,'´ *OREDO6HUYHU,'LI\RX
             FUHDWHDELWNH\ WKDWFRQWDLQVWKH3XEOLF.H\LQIRUPDWLRQFXWDQGSDVWHWKHNH\WRSDVWHLW
             LQWRDQHZILOHQDPHGVHUYHUSHP




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       $&&(66*$7(:$<

           7KHILOH³VHUYHUSHP´ZLOOORRNOLNHWKLV




           <RXKDYHQRZILQLVKHGWKHSURFHVVRIREWDLQLQJDSXEOLFNH\


           Setting Up Access Gateway for SSL Secure Login
           )73WKH³FDNH\SHP´DQG³VHUYHUSHP´ILOHVLQWRWKH$FFHVV*DWHZD\SODWIRUP VIODVK
           GLUHFWRU\
           )73WRWKH$FFHVV*DWHZD\E\1HWVFDSHIWSXVHUQDPHSDVVZRUG#>$FFHVV*DWHZD\
           1HWZRUN,3@IODVK
           'UDJDQGGURSWKH³FDNH\SHP´DQG³VHUYHUSHP´ILOHVLQWRWKHGLUHFWRU\

           Changing Settings in the WMI
           7RFKDQJHVHWWLQJVLQWKH:HE0DQDJHPHQW,QWHUIDFH :0, JRWR³&RQILJXUDWLRQ0HQX´RQ
           SDJH 




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                                                                                          $&&(66*$7(:$<

             Setting Up the Portal Page
             6\VWHPDGPLQLVWUDWRUVFDQFUHDWHORJLQEXWWRQ V RQWKH3RUWDO3DJHDQGFDQVHWXS³KWWS´OLQNV
             IRUUHJXODUORJLQVVHFXUHORJLQVRUERWK:KHQVXEVFULEHUVHQWHUWKH3RUWDO3DJHWKH\FDQWKHQ
             FKRRVHHLWKHUDUHJXODUORJLQRUDVHFXUHORJLQ7RVHWXSWKH3RUWDO3DJHDGGWKHIROORZLQJ

             For Regular Logins:
             KWWS$FFHVV*DWHZD\BLSXVJORJLQ"26 KWWSDIWHUBORJLQBILQLVKHGBSDJHKWPO

             For Secure Logins:
             KWWSV&HUWLILFDWHB'16B1DPHXVJORJLQ"26 KWWSDIWHUBORJLQBILQLVKHGBSDJHKWPO




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       $&&(66*$7(:$<

       0LUURULQJ%LOOLQJ5HFRUGV
           0XOWLSOH$FFHVV*DWHZD\XQLWVFDQVHQGFRSLHVRIFUHGLWFDUGELOOLQJUHFRUGVWRDQXPEHURI
           H[WHUQDOVHUYHUVWKDWKDYHEHHQSUHYLRXVO\GHILQHGE\V\VWHPDGPLQLVWUDWRUV7KH$FFHVV
           *DWHZD\DVVXPHVFRQWURORIELOOLQJWUDQVPLVVLRQVDQGVDYLQJELOOLQJUHFRUGV%\HIIHFWLYHO\
           ³PLUURULQJ´WKHELOOLQJGDWDWKH$FFHVV*DWHZD\FDQVHQGFRSLHVRIELOOLQJUHFRUGVWR
           SUHGHILQHG³FDUERQFRS\´VHUYHUV
           $GGLWLRQDOO\LIWKHSULPDU\DQGVHFRQGDU\VHUYHUVDUHGRZQWKH$FFHVV*DWHZD\FDQVWRUHXS
           WRFUHGLWFDUGWUDQVDFWLRQUHFRUGV7KH$FFHVV*DWHZD\UHJXODUO\DWWHPSWVWRFRQQHFW
           ZLWKWKHSULPDU\DQGVHFRQGDU\VHUYHUV:KHQDFRQQHFWLRQLVUHHVWDEOLVKHG ZLWKHLWKHU
           VHUYHU WKH$FFHVV*DWHZD\VHQGVWKHFDFKHGLQIRUPDWLRQWRWKHVHUYHU&XVWRPHUVFDQEH
           FRQILGHQWWKDWWKHLUELOOLQJLQIRUPDWLRQLVVHFXUHDQGWKDWQRWUDQVDFWLRQUHFRUGVDUHORVW
           7KLVGRFXPHQWGHVFULEHVWKHSURFHVVXVHGE\WKH$FFHVV*DWHZD\IRUPLUURULQJELOOLQJ
           UHFRUGVDQGLVRUJDQL]HGLQWRWKHIROORZLQJVHFWLRQV
                z   ³6HQGLQJ%LOOLQJ5HFRUGV´RQSDJH 
                z   ³;0/,QWHUIDFH´RQSDJH 
                z   ³(VWDEOLVKLQJ%LOOLQJ5HFRUGV³0LUURULQJ´^%LOO5HFRUG0LUURULQJ`´RQSDJH 


           Sending Billing Records
           :KHQWKHUHLVDPHVVDJH ELOOLQJUHFRUG LQWKHPHVVDJHTXHXHWKHV\VWHP³ZDNHVXS´DQG
           SHUIRUPVWKHIROORZLQJWDVNV
              6WRUHVWKHELOOLQJUHFRUGLQWKHIODVK
              &UHDWHDQ;0/SDFNHWEDVHGRQWKHQHZELOOLQJUHFRUG
              6HQGWKHELOOLQJUHFRUGWRWKHFDUERQFRS\VHUYHU V
              7UDQVPLWWKHGDWDFXUUHQWO\VWRUHGLQWKHIODVKEDVHGRQWKHVSHFLILHGUHWUDQVPLVVLRQ
                PHWKRG URXQGURELQ$%$%RUIDLORYHU$$%%
           7KHV\VWHPVWRUHVWKHELOOLQJUHFRUGLQWKHIODVKVRWKDWWKHUHFRUGZLOOQRWEHORVW IRUH[DPSOH
           LIWKH$FFHVV*DWHZD\LVSRZHUHGGRZQGXULQJWUDQVPLVVLRQDWWHPSWV

                         Billing records are sent to the carbon copy server(s) only after the records are
                         placed in the message queue. Carbon copy servers will not receive the records
                         again if a task for retransmitting to the primary or secondary server needs to be
                         performed.




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                                                                                        $&&(66*$7(:$<

             XML Interface

             ;0/IRUWKH([WHUQDO6HUYHU
             7KH$FFHVV*DWHZD\VHQGVDVWULQJRI;0/FRPPDQGVDFFRUGLQJWRVSHFLILFDWLRQV+773
             KHDGHUVDUHDGGHGWRWKH;0/SDFNHWVWKDWDUHEXLOWDVWKHELOOLQJ³PLUURULQJ´LQIRUPDWLRQLV
             VHQWWRWKHH[WHUQDOVHUYHULQ+773FRPSOLDQW;0/IRUPDW&RQWHQWOHQJWKKDVDOVREHHQ
             DGGHGWRWKH+773SRVW
             7KH;0/VWULQJEXLOWIURPWKHELOOLQJPLUURUUHFRUGLVLQWKHIROORZLQJIRUPDW

             $FFHVV*DWHZD\WR([WHUQDO6HUYHU
             86*507/2*B&200$1' $''B5(&!
                5(&B180!PD[FKDUDFWHUV5(&B180!
                86*B,'!PD[FKDUDFWHUV86*B,'!
                3523(57<B,'!PD[FKDUDFWHUV3523(57<B,'!
                '$7(!PD[FKDUDFWHUV'$7(!
                7,0(!PD[FKDUDFWHUV7,0(!
                5220B180!PD[FKDUDFWHUV5220B180!
                $02817!PD[FKDUDFWHUV$02817!
                75$16B7<3(!PD[FKDUDFWHUV75$16B7<3(!
             86*!

             Format for each field:
                 5(&B180 QXPEHUVRQO\QRDOSKDFKDUDFWHUV
                 $FFHVV*DWHZD\B,'E
                 3523(57<B,'$Q\UHJXODUVWULQJ
                 '$7( PPGG\\\\
                 7,0( KRXUIRUPDW
                 5220B180$Q\UHJXODUVWULQJ
                 $02817
                 75$16B7<3(&&
                 5(68/7B9$/8(2.RU(5525
                 ,36WDQGDUG,3DGGUHVVIRUPDW 




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       $&&(66*$7(:$<

           7KHSDFNHWDIWHUWKH+773KHDGHUVDGGHGORRNVOLNHWKLV




           XML to Access Gateway
           7KH$FFHVV*DWHZD\DFFHSWVDVLQJOHOLQHRI;0/WH[WLQWKHVSHFLILHGIRUPDW7KH;0/
           VWULQJLVDFRPPDQGVHQWE\WKH([WHUQDO6HUYHUWRWKH$FFHVV*DWHZD\SURGXFW,QWKLVFDVH
           WKHDFNQRZOHGJHPHQWUHFHLYHGIURPWKH([WHUQDO6HUYHUIRUPVWKHFRPPDQG7KH$FFHVV
           *DWHZD\H[SHFWVWKHDFNQRZOHGJHPHQWLQWKHIROORZLQJIRUPDW

           External Server to Access Gateway:
           86*&200$1' 507/2*B$&.!
              $&.B9$/8(!5(68/7B9$/8($&.B9$/8(!
              ,3B$''5!6HUYHU,3,3B$''5!
              (5525B&2'(!(5525B&2'((5525B&2'(!
           86*!




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                                                                                   $&&(66*$7(:$<

             Example of a Positive Acknowledgement:
             86*&200$1' 507/2*B$&.!
                $&.B9$/8(!2.$&.B9$/8(!
                ,3B$''5!,3B$''5!
                (5525B&2'(!(5525B&2'(!
             86*!

             Example of a Negative Acknowledgement:
             86*&200$1' 507/2*B$&.!
                $&.B9$/8(!(5525$&.B9$/8(!
                ,3B$''5!,3B$''5!
                (5525B&2'(!(5525B&2'(!
             86*!

             Format for each Field:
             5(68/7B9$/8(2.RU(5525
             ,36WDQGDUG,3IRUPDW 
             (5525B&2'(IRU2.RUDQ\RWKHUQXPEHU

                          Please contact Nomadix Technical Support for the complete XML DTD. Refer to
                          ³&RQWDFW,QIRUPDWLRQ´RQSDJH .

             )RUPRUHLQIRUPDWLRQDERXW%LOOLQJ5HFRUGV0LUURULQJVHHDOVR
                 z   ³%LOOLQJ5HFRUGV0LUURULQJ´RQSDJH 
                 z   ³(VWDEOLVKLQJ%LOOLQJ5HFRUGV³0LUURULQJ´^%LOO5HFRUG0LUURULQJ`´RQSDJH 




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       $&&(66*$7(:$<                                                                             
       Troubleshooting
           7KLVFKDSWHUSURYLGHVLQIRUPDWLRQWRKHOS\RXUHVROYHFRPPRQKDUGZDUHDQGVRIWZDUH
           SUREOHPV,WDOVRFRQWDLQVDOLVWRINQRZQHUURUPHVVDJHVDVVRFLDWHGZLWKWKH0DQDJHPHQW
           ,QWHUIDFH
               z    *HQHUDO+LQWVDQG7LSV
               z    0DQDJHPHQW,QWHUIDFH(UURU0HVVDJHV
               z    &RPPRQ3UREOHPV


       *HQHUDO+LQWVDQG7LSV
           7KH$FFHVV*DWHZD\LVERWKDKDUGZDUHGHYLFHDQGDSRZHUIXOVRIWZDUHXWLOLW\$VDKDUGZDUH
           FRPSXWLQJGHYLFHWKH$FFHVV*DWHZD\UHTXLUHVFDUHIXOKDQGOLQJ,WVKRXOGEHSRVLWLRQHGLQD
           GXVWIUHHDQGWHPSHUDWXUHFRQWUROOHGHQYLURQPHQW1HYHUEORFNWKHXQLW¶VYHQWLODWLRQKROHVDQG
           GRQRWVWDFNZLWKRWKHUHTXLSPHQW XQOHVVFRUUHFWO\PRXQWHGLQDUDFN ,I\RXVXVSHFWWKHXQLW
           LVRYHUKHDWLQJFKHFNWKDWWKHLQWHUQDOFRROLQJIDQLVRSHUDWLQJFRUUHFWO\7KHIDQVKRXOGUXQ
           IUHHO\DQGVLOHQWO\DWDOOWLPHV7KHSRZHUFRUGDQGWKH873SDWFKFDEOHVPXVWKDYHDQ
           XQUHVWULFWHGSDWKEHWZHHQWKHXQLWDQGWKHLUGHVWLQDWLRQV(QVXUHWKDWWKH5-FRQQHFWRUVDUH
           ILUPO\ORFDWHGLQWKHLUUHFHSWDFOHV$SSO\LQJWKHVHJXLGHOLQHVVKRXOGHQVXUHWURXEOHIUHH
           RSHUDWLRQ




       Troubleshooting                                                                                 341
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                                                                                       $&&(66*$7(:$<

       0DQDJHPHQW,QWHUIDFH(UURU0HVVDJHV
             7KHIROORZLQJWDEOHFRQWDLQVWKHHUURUPHVVDJHVDVVRFLDWHGZLWKWKH0DQDJHPHQW,QWHUIDFH
              &/,DQG:HE $OOPHVVDJHVDUHOLVWHGDOSKDEHWLFDOO\

                         (UURU0HVVDJH                                        &DXVH

        $$$PXVWEHHQDEOHGEHIRUHDGGLQJD              <RXDUHDWWHPSWLQJWRDGGDVXEVFULEHUSURILOH
        VXEVFULEHUWRWKHSURILOHGDWDEDVH               ZKLOH$$$LVGLVDEOHG

        &RPPDQGQRWDYDLODEOH³[[´                        7KHV\VWHPGRHVQRWUHFRJQL]H\RXU
                                                          FRPPDQG ³[[´GHQRWHV\RXULQSXW 

        &XUUHQWVHWWLQJVZHUHQRWDUFKLYHG               7KLVPHVVDJHLVGLVSOD\HGLI\RXDQVZHU³QR´
                                                          ZKHQSURPSWHGWRRYHUZULWHWKHFRQILJXUDWLRQ
                                                          DUFKLYHILOHZLWKQHZVHWWLQJV

        &XUUHQWVHWWLQJVZHUHQRWFKDQJHG                7KLVLVHLWKHUDUHVSRQVHWR\RXUGHFLVLRQQRW
                                                          WRFKDQJHVHWWLQJVRUWKHPHVVDJHLV
                                                          JHQHUDWHGE\WKHV\VWHPZKHQLWIDLOVWRORFDWH
                                                          WKHGDWDLWQHHGV

        (UURUORDGLQJIDFWRU\VHWWLQJV                   7KHV\VWHPFDQQRWILQGWKHGHIDXOW
                                                          FRQILJXUDWLRQILOHZKHQDWWHPSWLQJWRUHVWRUH
                                                          WKHIDFWRU\VHWWLQJV

        (UURURFFXUUHG$53HQWU\QRWDGGHG              7KH,3RU0$&DGGUHVVLVLQYDOLG(QVXUHWKDW
                                                          \RXLQSXWWKHFRUUHFWIRUPDWIRUWKHVHILHOGV

        1)6FOLHQWVXSSRUWQRWLQFOXGHG                  7KLVPHVVDJHLVGLVSOD\HGZKHQWKHV\VWHP
                                                          UHERRWVDQG1)6FOLHQWVDUHQRWVXSSRUWHG

        1RPDWFKLQJ0$&DGGUHVVIRXQGLQSURILOH         7KHV\VWHPFRXOGQRWPDWFKWKH0$&DGGUHVV
        GDWDEDVH                                         \RXGHILQHGZKLOHDWWHPSWLQJWRUHPRYHD
                                                          VXEVFULEHUSURILOH

        >QRWGHILQHG@                                     7KLVLVWKHIDFWRU\GHIDXOWIRUVRPHV\VWHP
                                                          SDUDPHWHUV

        7KHV\VWHPPXVWEHUHVHWWRIXQFWLRQSURSHUO\    <RXKDYHPDGHFKDQJHVWRWKHV\VWHP¶V
                                                          FRQILJXUDWLRQWKDWUHTXLUHV\RXWRUHERRW
        7KHV\VWHPPXVWEHUHERRWHGWRIXQFWLRQ          EHIRUH\RXUFKDQJHVEHFRPHHIIHFWLYH
        SURSHUO\




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       $&&(66*$7(:$<


                         (UURU0HVVDJH                                     &DXVH

        :DUQLQJEHIRUHXVLQJWKLVFRPPDQG\RXPXVW   :KHQXSJUDGLQJWKHVRIWZDUHWKHV\VWHP
        )73DYDOLGERRWLPDJHWRWKHIODVK           QHHGVWKHQHZERRWLPDJHILOH<RXPXVW)73
                                                       WKHILOHIURP120$',;WR\RXUORFDOKDUG
                                                       GULYH

        :DUQLQJQR'+&3VHUYLFHVDUHDYDLODEOHWR    7KLVPHVVDJHLVGLVSOD\HGEHFDXVH\RXKDYH
        VXEVFULEHUV                                   GLVDEOHGERWKWKHH[WHUQDO'+&3UHOD\DQGWKH
                                                       V\VWHP¶V'+&3VHUYLFH7RPDNH'+&3
                                                       DYDLODEOHWRVXEVFULEHUVDWOHDVWRQHRIWKHVH
                                                       IXQFWLRQVPXVWEHHQDEOHG

        ³[´LVDPELJXRXV                              7KHV\VWHPKDVPRUHWKDQRQHRSWLRQLWFDQ
                                                       GLVSOD\<RXPXVWSURYLGHDGGLWLRQDO
                                                       FKDUDFWHUVWRQDUURZWKHV\VWHP¶VFKRLFHV
                                                       GRZQWRMXVWRQH

        ³[[[´LVLQYDOLGHQWHU                    <RXULQSXWLVQRWUHFRJQL]HGE\WKHV\VWHP




       Troubleshooting                                                                               343
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                                                                                         $&&(66*$7(:$<

       &RPPRQ3UREOHPV
             ,I\RXDUHKDYLQJSUREOHPV\RXPD\ILQGWKHDQVZHUVKHUH


                    3UREOHP                      3RVVLEOH&DXVH                         6ROXWLRQ

        :KHQXVLQJWKHLQWHUQDO$$$      7KHLQWHUQDO$$$ORJLQVHUYHU     (QDEOHFRPPXQLFDWLRQVZLWK
        ORJLQ:HEVHUYHU\RXFDQQRW     FRPPXQLFDWHVZLWK                 $XWKRUL]H1HWRQSRUW
        FRPPXQLFDWHZLWK                 $XWKRUL]H1HWRQDVSHFLILHG
        $XWKRUL]H1HW                    SRUWZKLFKLVQRWHQDEOHG
                                          ZLWKLQWKHFRPSDQ\¶VILUHZDOO

        :KHQDVXEVFULEHUZKRLV         7KH'+&3UHOD\LVHQDEOHG         &KHFNWKH,3DGGUHVVIRUWKH
        HQDEOHGZLWK'+&3ORJVRQWR      ZLWKDQLQFRUUHFW,3DGGUHVV      H[WHUQDO'+&3VHUYHU,I
        WKHV\VWHPWKH\DUHQRW         IRUWKHH[WHUQDO'+&3VHUYHU      QHFHVVDU\WHVWWKH
        DVVLJQHGDQ,3DGGUHVV                                              FRPPXQLFDWLRQZLWKWKH³SLQJ´
                                                                             FRPPDQG

                                          7KH'+&3UHOD\LVHQDEOHG         &KHFNWKHH[WHUQDO'+&3
                                          ZLWKWKHFRUUHFW,3DGGUHVVIRU   VHUYHUVHWWLQJV IRUH[DPSOH
                                          WKHH[WHUQDO'+&3VHUYHUEXW     LVLWFRQILJXUHGWRDURXWDEOH
                                          WKH'+&3VHUYHULV                FODVVRI,3DGGUHVVHV"$UH
                                          PLVFRQILJXUHG                     WKHUHHQRXJK,3DGGUHVV
                                                                             VSHFLILHG",I\RXVSHFLILHGD
                                                                             VXEQHWLVLWFRUUHFW" ,I\RX
                                                                             VXVSHFWWKHVXEQHWWU\XVLQJ
                                                                             

                                          7KH'+&3UHOD\LVGLVDEOHG        &KHFNWKHLQWHUQDO'+&3
                                          DQGWKH'+&3VHUYLFH              VHUYLFHVHWWLQJV
                                          VHWWLQJVLQWKH$FFHVV
                                          *DWHZD\DUHPLVFRQILJXUHG

        6XEVFULEHUVDUHXQDEOHWR        7KH'16VHUYHUVHWWLQJVDUH       &KHFNWKH'16VHWWLQJV KRVW
        URXWHWRDGRPDLQQDPHEXW      PLVFRQILJXUHG                     GRPDLQDQGWKHSULPDU\
        WKH\FDQURXWHWRDQ,3                                             VHFRQGDU\DQGWHUWLDU\'16 
        DGGUHVV
                                          7KH'16VHUYHULVGRZQ            &KHFNZLWKWKHVHUYLFH
                                                                             SURYLGHU,VWKH'16VHUYHU
                                                                             GRZQ"




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       $&&(66*$7(:$<


                   3UREOHP                         3RVVLEOH&DXVH                       6ROXWLRQ

        :KHQDVXEVFULEHUORJVLQIRU      +RPHSDJHUHGLUHFWLRQLVQRW     (QDEOHKRPHSDJH
        WKHILUVWWLPHWKHLUEURZVHULV   HQDEOHGLQWKH$FFHVV            UHGLUHFWLRQ
        QRWUHGLUHFWHGWRWKHVSHFLILHG    *DWHZD\
        KRPHSDJH
                                            7KHKRPHSDJH85/ZDV            5HHQWHUWKHFRUUHFW85/
                                            HQWHUHGLQWRWKH$FFHVV
                                            *DWHZD\LQFRUUHFWO\

                                            7KHVHUYHUWKDWKRVWVWKH        &KHFNWKDWWKHVHUYHULV
                                            KRPHSDJHLVGRZQRUWKH        RSHUDWLRQDODQGWKDWWKHKRPH
                                            VHUYLFHSURYLGHU LIGLIIHUHQW   SDJHFDQEHDFFHVVHG
                                            IURPWKHKRVW LVQRWDEOHWR    WKURXJK\RXUVHUYLFHSURYLGHU
                                            URXWHWR\RXUSDJH                LIGLIIHUHQW 

                                            '16LVPLVFRQILJXUHGLQWKH      &KHFNWKH'16VHWWLQJV KRVW
                                            $FFHVV*DWHZD\                   GRPDLQDQGWKHSULPDU\
                                                                              VHFRQGDU\DQGWHUWLDU\'16 




       Troubleshooting                                                                                    345
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       $&&(66*$7(:$<                                                                         $
       Appendix A: Technical Support
          :HKDYHWULHGWRHQVXUHWKDW\RXJHWWKHPRVWXSWRGDWHLQIRUPDWLRQDYDLODEOHDERXWWKH$FFHVV
          *DWHZD\DQGZHKRSHWKLV8VHU*XLGHKDVPHWDOO\RXURSHUDWLRQDODQGSHUIRUPDQFHQHHGV
          +RZHYHUZHXQGHUVWDQGWKDWRFFDVLRQDOO\\RXPD\UXQLQWRSUREOHPVWKDWUHTXLUHDGGLWLRQDO
          WHFKQLFDOVXSSRUW
          ³7URXEOHVKRRWLQJ´RQSDJH SURYLGHVVRPHEDVLFWURXEOHVKRRWLQJLQIRUPDWLRQDQG
          SURFHGXUHVWKDWZLOOKHOS\RXWRGLDJQRVHDQGVROYH\RXUSUREOHP LIWKHSUREOHPLVUHODWHGWR
          WKH$FFHVV*DWHZD\ $GGLWLRQDOO\\RXVKRXOGFKHFNZLWK\RXUQHWZRUNGRFXPHQWDWLRQWR
          YHULI\WKDWWKHQHWZRUNFRPSRQHQWVDUHIXQFWLRQLQJFRUUHFWO\
          ,I\RXFDQQRWUHVROYHWKHSUREOHPZLWK\RXUGRFXPHQWDWLRQUHVRXUFHVWU\YLVLWLQJRXUFRUSRUDWH
          :HEVLWH:HPD\KDYHQHZLQIRUPDWLRQSRVWHGKHUHWKDWDGGUHVVHV\RXULVVXHV
          ,I\RXDUHVWLOOKDYLQJSUREOHPVRXUIULHQGO\DQGH[SHULHQFHGWHFKQLFDOVXSSRUWWHDPLVDOZD\V
          UHDG\WRDVVLVW\RX

                       When contacting technical support, please have your Access Gateway’s serial
                       number available. The serial number is located on the bottom panel of your
                       Access Gateway.


       &RQWDFW,QIRUPDWLRQ
          <RXFDQFRQWDFWXVE\(PDLOID[WHOHSKRQHRUUHJXODUPDLO
          Telephone
          
          E-mail
          VXSSRUW#QRPDGL[FRP
          Fax
          
          Address
          1RPDGL[,QF
          $JRXUD5G6XLWH
          $JRXUD+LOOV&$
          86$
          $WWQ7HFKQLFDO6XSSRUW

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       $&&(66*$7(:$<                                                                                               %
       Appendix B: Glossary of Terms
          [
          5HIHUVWRDIDPLO\RIVSHFLILFDWLRQVGHYHORSHGE\WKH,(((IRUZLUHOHVV/$1WHFKQRORJ\VSHFLILHVDQRYHUWKH
          DLULQWHUIDFHEHWZHHQDZLUHOHVVFOLHQWDQGDEDVHVWDWLRQRUEHWZHHQWZRZLUHOHVVFOLHQWV7KH,(((DFFHSWHGWKH
          VSHFLILFDWLRQLQ7KHUHDUHVHYHUDOVSHFLILFDWLRQVLQWKHIDPLO\

          
          $SSOLHVWRZLUHOHVV/$1VDQGSURYLGHVRU0ESVWUDQVPLVVLRQLQWKH*+]EDQGXVLQJHLWKHU)UHTXHQF\+RSSLQJ
          6SUHDG6SHFWUXP )+66 RU'LUHFW6HTXHQFH6SUHDG6SHFWUXP '666 

          D
          $QH[WHQVLRQWRWKDWDSSOLHVWRZLUHOHVV/$1VDQGSURYLGHVXSWR0ESVLQWKH*+]EDQGDXVHVDQ
          2UWKRJRQDO)UHTXHQF\'LYLVLRQ0XOWLSOH[LQJ 2)'0 HQFRGLQJVFKHPHUDWKHUWKDQ)+66RU'666

          E
           DOVRUHIHUUHGWRDV+LJK5DWHRU:L)L $QH[WHQVLRQWRWKDWDSSOLHVWRZLUHOHVV/$1VDQGSURYLGHV
          0ESVWUDQVPLVVLRQ ZLWKDIDOOEDFNWRDQG0ESV LQWKH*+]EDQGEXVHVRQO\'666EZDV
          DUDWLILFDWLRQWRWKHRULJLQDOVWDQGDUGDOORZLQJZLUHOHVVIXQFWLRQDOLW\FRPSDUDEOHWR(WKHUQHW

          J
          $SSOLHVWRZLUHOHVV/$1VDQGSURYLGHV0ESVLQWKH*+]EDQG

          4
          $Q,(((VWDQGDUGIRUSURYLGLQJDYLUWXDO/$1FDSDELOLW\ZLWKLQDFDPSXVQHWZRUN4HVWDEOLVKHVDVWDQGDUG
          IRUPDWIRUIUDPHWDJJLQJ /D\HU9/$1PDUNLQJV HQDEOLQJWKHFUHDWLRQRI9/$1VWKDWXVHHTXLSPHQWIURPPXOWLSOH
          YHQGRUV

          (WKHUQHW
          6HH(WKHUQHW

          $$$
           $XWKHQWLFDWLRQ$XWKRUL]DWLRQDQG$FFRXQWLQJ $FRPELQDWLRQRIFRPPDQGVXVHGE\1RPDGL[*DWHZD\VWR
          DXWKHQWLFDWHDXWKRUL]HDQGVXEVHTXHQWO\ELOOVXEVFULEHUVIRUWKHLUXVHRIWKHFXVWRPHU¶VQHWZRUN:KHQDVXEVFULEHU
          ORJVLQWRWKHV\VWHPWKHLUXQLTXH0$&DGGUHVVLVSODFHGLQWRDQDXWKRUL]DWLRQWDEOH7KHV\VWHPWKHQDXWKHQWLFDWHVWKH
          VXEVFULEHU¶V0$&DGGUHVVDQGELOOLQJLQIRUPDWLRQEHIRUHDOORZLQJWKHPWRDFFHVVWKH,QWHUQHWDQGPDNHRQOLQH
          SXUFKDVHV6HHDOVR0$&$GGUHVV

          $FFHVV&RQFHQWUDWRU
          $W\SHRIPXOWLSOH[HUWKDWFRPELQHVPXOWLSOHFKDQQHOVRQWRDVLQJOHWUDQVPLVVLRQPHGLXPLQVXFKDZD\WKDWDOOWKH
          LQGLYLGXDOFKDQQHOVFDQEHVLPXOWDQHRXVO\DFWLYH)RUH[DPSOH,63VXVHFRQFHQWUDWRUVWRFRPELQHWKHLUGLDOXSPRGHP
          FRQQHFWLRQVRQWRIDVWHU7OLQHVWKDWFRQQHFWWRWKH,QWHUQHW&RQFHQWUDWRUVDUHDOVRXVHGLQ/RFDO$UHD1HWZRUNV
           /$1V WRFRPELQHWUDQVPLVVLRQVIURPDFOXVWHURIQRGHV,QWKLVFDVHWKHFRQFHQWUDWRULVRIWHQFDOOHGDKXE

          $FFHVV5RXWHU
          $URXWHUDWDFXVWRPHUVLWHZKLFKFRQQHFWVWRWKHQHWZRUNVHUYLFHSURYLGHU$OVRNQRZQDVD&XVWRPHU3UHPLVHV
          (TXLSPHQW &3( URXWHU6HHDOVR5RXWHU




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             $&.
              $&.QRZOHGJPHQW ,IDOOWKHWUDQVPLWWHGGDWDLVSUHVHQWDQGFRUUHFWWKHUHFHLYLQJGHYLFHVHQGVDQ$&.VLJQDOZKLFK
             DFWVDVDUHTXHVWIRUWKHQH[WGDWDSDFNHW

             $GDSWLYH&RQILJXUDWLRQ7HFKQRORJ\
             $1RPDGL[,QFSDWHQWHGWHFKQRORJ\WKDWHQDEOHV'\QDPLF$GGUHVV7UDQVODWLRQ6HHDOVR'$7

             DGKRFPRGH
             $Q[QHWZRUNLQJIUDPHZRUNLQZKLFKGHYLFHVRUVWDWLRQVFRPPXQLFDWHGLUHFWO\ZLWKHDFKRWKHUZLWKRXWWKHXVH
             RIDQ$FFHVV3RLQW $3 $GKRFPRGHLVDOVRUHIHUUHGWRDVSHHUWRSHHUPRGHRUDQ,QGHSHQGHQW%DVLF6HUYLFH6HW
              ,%66 $GKRFPRGHLVXVHIXOIRUHVWDEOLVKLQJDQHWZRUNZKHUHZLUHOHVVLQIUDVWUXFWXUHGRHVQRWH[LVWRUZKHUH
             VHUYLFHVDUHQRWUHTXLUHG

             $'6/
             $V\QFKURQRXV'LJLWDO6XEVFULEHU/LQH $PHWKRGIRUPRYLQJGDWDDWKLJKVSHHGRYHUUHJXODUSKRQHOLQHV

             $3
              $FFHVV3RLQW $KDUGZDUHGHYLFHRUDFRPSXWHU VVRIWZDUHWKDWDFWVDVDFRPPXQLFDWLRQKXEIRUXVHUVRIDZLUHOHVV
             GHYLFHWRFRQQHFWWRDZLUHG/$1$3VDUHLPSRUWDQWIRUSURYLGLQJKHLJKWHQHGZLUHOHVVVHFXULW\DQGIRUH[WHQGLQJWKH
             SK\VLFDOUDQJHRIVHUYLFHDZLUHOHVVXVHUKDVDFFHVVWR

             $53
              $GGUHVV5HVROXWLRQ3URWRFRO 8VHGWRG\QDPLFDOO\ELQGDKLJKOHYHO,3DGGUHVVWRDORZOHYHOSK\VLFDOKDUGZDUH
             DGGUHVV$53LVOLPLWHGWRDVLQJOHSK\VLFDOQHWZRUNWKDWVXSSRUWVKDUGZDUHEURDGFDVWLQJ

             $70
              $V\QFKURQRXV7UDQVIHU0RGH $QHWZRUNWHFKQRORJ\EDVHGRQWUDQVIHUULQJGDWDLQ³FHOOV´RUSDFNHWVRIDIL[HGVL]H
              E\WHVHDFK 7KHFHOOXVHGZLWK$70LVUHODWLYHO\VPDOOFRPSDUHGWRXQLWVXVHGZLWKROGHUWHFKQRORJLHV7KHVPDOO
             FRQVWDQWFHOOVL]HDOORZV$70HTXLSPHQWWRWUDQVPLWYLGHRDXGLRDQGFRPSXWHUGDWDRYHUWKHVDPHQHWZRUNDQG
             DVVXUHVWKDWQRVLQJOHW\SHRIGDWDPRQRSROL]HVWKHOLQH$70FDQRIIHUPXOWLJLJDELWEDQGZLGWK6HHDOVR%DQGZLGWK
             DQG3DFNHW

             %DQGZLGWK
             7KHPD[LPXPVSHHGDWZKLFKGDWDFDQEHWUDQVPLWWHGEHWZHHQFRPSXWHUVDFURVVDQHWZRUNXVXDOO\PHDVXUHGLQELWV
             SHUVHFRQG ESV ,I\RXWKLQNRIWKHFRPPXQLFDWLRQSDWKDVDZDWHUSLSHWKHEDQGZLGWKUHSUHVHQWVWKHZLGWKRIWKH
             SLSHZKLFKFRQVHTXHQWO\GHWHUPLQHVKRZPDQ\JDOORQVRIZDWHUFDQIORZWKURXJKLWDWDQ\JLYHQWLPH6HHDOVR
             %URDGEDQG

             %HDFRQ,QWHUYDO
             7KHIUHTXHQF\LQWHUYDORIWKHEHDFRQZKLFKLVDSDFNHWEURDGFDVWE\DURXWHUWRV\QFKURQL]HDZLUHOHVVQHWZRUN

             %URDGEDQG
             $KLJKVSHHGGDWDWUDQVPLVVLRQPHGLXPFDSDEOHRIVXSSRUWLQJDZLGHUDQJHRIYDU\LQJIUHTXHQFLHV%URDGEDQGFDQ
             FDUU\PXOWLSOHVLJQDOVDWIDVWUDWHVRIVSHHGE\GLYLGLQJWKHWRWDOFDSDFLW\RIWKHPHGLXPLQWRPXOWLSOHLQGHSHQGHQW
             EDQGZLGWKFKDQQHOVZKHUHHDFKFKDQQHORSHUDWHVRQO\RQDVSHFLILFUDQJHRIIUHTXHQFLHV6HHDOVR%DQGZLGWK

             %66
             %DVLF6HUYLFH6HW 6HHLQIUDVWUXFWXUHPRGH

             &DUULHUIUHTXHQF\
             $IUHTXHQF\LQDFRPPXQLFDWLRQVFKDQQHOPRGXODWHGWRFDUU\DQDORJRUGLJLWDOVLJQDOLQIRUPDWLRQ)RUH[DPSOHDQ)0
             UDGLRWUDQVPLWWHUPRGXODWHVWKHIUHTXHQF\RIDFDUULHUVLJQDODQGWKHUHFHLYHUSURFHVVHVWKHFDUULHUVLJQDOWRH[WUDFWWKH
             DQDORJLQIRUPDWLRQ$Q$0UDGLRWUDQVPLWWHUPRGXODWHVWKHDPSOLWXGHRIDFDUULHUVLJQDO



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           &ODVVRI6HUYLFH $FDWHJRU\EDVHGRQWKHW\SHRIXVHUW\SHRIDSSOLFDWLRQRUVRPHRWKHUFULWHULDWKDW4R6V\VWHPV
          FDQXVHWRSURYLGHGLIIHUHQWLDWHGFODVVHVRIVHUYLFH7KHFKDUDFWHULVWLFVRIWKH&R6PD\EHDSSURSULDWHIRUKLJK
          WKURXJKSXWWUDIILFIRUWUDIILFZLWKDUHTXLUHPHQWIRUORZODWHQF\RUVLPSO\IRUEHVWHIIRUW7KH4R6H[SHULHQFHGE\D
          SDUWLFXODUIORZRIWUDIILFZLOOEHGHSHQGHQWRQWKHQXPEHUDQGW\SHRIRWKHUWUDIILFIORZVDGPLWWHGWRLWVFODVV6HHDOVR
          4R6

          'DHPRQ
          $SURJUDPWKDWUXQVFRQWLQXRXVO\LQWKHEDFNJURXQGRULVDFWLYDWHGE\DSDUWLFXODUHYHQW IRUH[DPSOHDQHUURUPD\
          WULJJHU6\VORJ 7KHZRUGGDHPRQLV*UHHNIRU³VSLULW´RU³VRXO´6HHDOVR6<6/2*

          '$7
           '\QDPLF$GGUHVV7UDQVODWLRQ 1RPDGL[*DWHZD\VSURYLGH³SOXJDQGSOD\´DFFHVVWRVXEVFULEHUVZKRDUH
          PLVFRQILJXUHGZLWKVWDWLF SHUPDQHQW ,3DGGUHVVHVRUVXEVFULEHUVWKDWGRQRWKDYH'+&3IXQFWLRQDOLW\RQWKHLU
          FRPSXWHUV'$7LVD1RPDGL[,QFSDWHQWHGWHFKQRORJ\WKDWDOORZVDOOXVHUVWRREWDLQQHWZRUNDFFHVVUHJDUGOHVVRI
          WKHLUFRPSXWHU¶VQHWZRUNVHWWLQJV6HHDOVR'+&3

          '+&3
           '\QDPLF+RVW&RQILJXUDWLRQ3URWRFRO $VWDQGDUGPHWKRGIRUDVVLJQLQJ,3DGGUHVVHVDXWRPDWLFDOO\WRGHYLFHV
          FRQQHFWHGRQD7&3,3QHWZRUN:KHQDQHZGHYLFHFRQQHFWVWRWKHQHWZRUNWKH'+&3VHUYHUDVVLJQVDQ,3DGGUHVV
          IURPDOLVWRILWVDYDLODEOHDGGUHVVHV7KHGHYLFHUHWDLQVWKLV,3DGGUHVVIRUWKHGXUDWLRQRIWKHVHVVLRQ:KHQWKHGHYLFH
          GLVFRQQHFWVIURPWKHQHWZRUNWKH,3DGGUHVVEHFRPHVDYDLODEOHIRUUHDVVLJQPHQWWRDQRWKHUGHYLFH6HHDOVR
          '\QDPLF,3$GGUHVV,3$GGUHVV6WDWLF,3$GGUHVVDQG7&3,3

          '16
          'RPDLQ1DPH6\VWHP $V\VWHPWKDWPDSVPHDQLQJIXOGRPDLQQDPHVZLWKFRPSOH[QXPHULF,3DGGUHVVHV6HHDOVR
          'RPDLQ1DPHDQG,3$GGUHVV

          'RPDLQ1DPH
          $XQLTXHDQGPHDQLQJIXOQDPHUHSUHVHQWLQJHDFKDGGUHVVDEOHFRPSXWLQJGHYLFHRQDG\QDPLFQHWZRUN IRUH[DPSOH
          WKH,QWHUQHW 6RPHGHYLFHVKDYHPRUHWKDQRQHGRPDLQQDPH:KHQDXVHUW\SHVDGRPDLQQDPHUHTXHVWLQJD
          FRQQHFWLRQWRWKHGHYLFH'16FRQYHUWVWKHGRPDLQQDPHLQWRDQXPHULF,3DGGUHVV7KHORFDWLRQRIWKHGHYLFHRQWKH
          QHWZRUNLVNQRZQE\LWV,3DGGUHVV:::<$+22&20LVDQH[DPSOHRIDFRPPHUFLDOGRPDLQQDPHRQWKH:RUOG
          :LGH:HE6HHDOVR'16,QWHUQHWDQG,3$GGUHVV

          'ULYHUOHVV3ULQW6HUYHUV
          6HUYHUVWKDWFDQELOOVXEVFULEHUV¶URRPVIRUSULQWLQJWKHLUGRFXPHQWVZLWKRXWWKHPKDYLQJWRLQVWDOOSULQWHUV6HHDOVR
          3ULQW%LOOLQJ&RPPDQG

          '666
           'LUHFW6HTXHQFH6SUHDG6SHFWUXP 2QHRIWZRW\SHVRIVSUHDGVSHFWUXPUDGLR²WKHRWKHUEHLQJ)UHTXHQF\+RSSLQJ
          6SUHDG6SHFWUXP )+66 '666LVDWUDQVPLVVLRQWHFKQRORJ\XVHGLQ:/$1WUDQVPLVVLRQVZKHUHDGDWDVLJQDODWWKH
          VHQGLQJVWDWLRQLVFRPELQHGZLWKDKLJKHUGDWDUDWHELWVHTXHQFHRU³FKLSSLQJ´FRGHWKDWGLYLGHVWKHXVHUGDWD
          DFFRUGLQJWRDVSUHDGLQJUDWLR7KHFKLSSLQJFRGHLVDUHGXQGDQWELWSDWWHUQIRUHDFKELWWKDWLVWUDQVPLWWHGZKLFK
          LQFUHDVHVWKHVLJQDO VUHVLVWDQFHWRLQWHUIHUHQFH,IRQHRUPRUHELWVLQWKHSDWWHUQDUHGDPDJHGGXULQJWUDQVPLVVLRQWKH
          RULJLQDOGDWDFDQEHUHFRYHUHGGXHWRWKHUHGXQGDQF\RIWKHWUDQVPLVVLRQ

          '7,0
          'HOLYHU\7UDIILF,QGLFDWLRQ0HVVDJH $PHVVDJHLQFOXGHGLQGDWDSDFNHWVWKDWFDQLQFUHDVHZLUHOHVVHIILFLHQF\




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             '\QDPLF,3$GGUHVV
             $WHPSRUDU\,3DGGUHVVWKDWLVDVVLJQHGE\WKH'+&3VHUYHUWRDGHYLFH'HYLFHVUHWDLQG\QDPLF,3DGGUHVVHVRQO\IRU
             WKHGXUDWLRQRIWKHLUQHWZRUNLQJVHVVLRQ:KHQDGHYLFHGLVFRQQHFWVIURPWKHQHWZRUNWKH,3DGGUHVVLVUHFDSWXUHGE\
             WKH'+&3VHUYHUDQGEHFRPHVDYDLODEOHIRUUHDVVLJQPHQWWRDQRWKHUGHYLFH6HHDOVR'+&3,3$GGUHVV,3
             $GGUHVV7UDQVODWLRQ6WDWLF,3$GGUHVVDQG7UDQVODWLRQ

             ($3
              ([WHQVLEOH$XWKHQWLFDWLRQ3URWRFRO $QH[WHQVLRQWR333($3LVDJHQHUDOSURWRFROIRUDXWKHQWLFDWLRQWKDWDOVR
             VXSSRUWVPXOWLSOHDXWKHQWLFDWLRQPHWKRGV IRUH[DPSOHSXEOLFNH\DXWKHQWLFDWLRQDQGVPDUWFDUGV ,((([
             VSHFLILHVKRZ($3VKRXOGEHHQFDSVXODWHGLQ/$1IUDPHV,QZLUHOHVVFRPPXQLFDWLRQVXVLQJ($3DXVHUUHTXHVWV
             FRQQHFWLRQWRD:/$1WKURXJKDQ$3ZKLFKWKHQUHTXHVWVWKHLGHQWLW\RIWKHXVHUDQGWUDQVPLWVWKDWLGHQWLW\WRDQ
             DXWKHQWLFDWLRQVHUYHUVXFKDV5$',867KHVHUYHUDVNVWKH$3IRUSURRIRILGHQWLW\ZKLFKWKH$3JHWVIURPWKHXVHU
             DQGWKHQVHQGVEDFNWRWKHVHUYHUWRFRPSOHWHWKHDXWKHQWLFDWLRQ

             (&RPPHUFH
             $EXVLQHVVYHQWXUHEHWZHHQDVXSSOLHUDQGLWVFXVWRPHUVXVLQJRQOLQHVHUYLFHV IRUH[DPSOHWKH,QWHUQHW %RWKSDUWLHV
             XVHRQOLQHVHUYLFHVWRFRQGXFWEXVLQHVVWUDQVDFWLRQV7UDQVDFWLRQVPD\LQFOXGHJHQHUDWLQJRUGHUVLQYRLFHVDQG
             SD\PHQWVDQGVXEPLWWLQJLQTXLULHV$OVRNQRZQDVEnterprise

             (66
             ([WHQGHG6HUYLFH6HW 6HHLQIUDVWUXFWXUHPRGH

             (WKHUQHW
             $/RFDO$UHD1HWZRUN /$1 SURWRFROGHYHORSHGE\;HUR[&RUSRUDWLRQLQFRRSHUDWLRQZLWK'(&DQG,QWHOLQ
             (WKHUQHWXVHVDEXVRUVWDUWRSRORJ\DQGVXSSRUWVGDWDWUDQVIHUUDWHVRI0ESV7KH(WKHUQHWVSHFLILFDWLRQVHUYHGDV
             WKHEDVLVIRUWKH,(((VWDQGDUGZKLFKVSHFLILHVWKHSK\VLFDODQGORZHUVRIWZDUHOD\HUV(WKHUQHWLVRQHRIWKH
             PRVWZLGHO\LPSOHPHQWHG/$1VWDQGDUGV$QHZHUYHUVLRQRI(WKHUQHWFDOOHG%DVH7 RU)DVW(WKHUQHW VXSSRUWV
             GDWDWUDQVIHUUDWHVRI0ESV7KHODWHVWYHUVLRQ*LJDELW(WKHUQHWVXSSRUWVGDWDUDWHVRI*LJDELW 0ESV SHU
             VHFRQG6HHDOVR0ESV

             )DVW(WKHUQHW
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             )&&
              )HGHUDO&RPPXQLFDWLRQV&RPPLVVLRQ 86ZLUHOHVVUHJXODWRU\DXWKRULW\7KH)&&ZDVHVWDEOLVKHGE\WKH
             &RPPXQLFDWLRQV$FWRIDQGLVFKDUJHGZLWKUHJXODWLQJ,QWHUVWDWHDQG,QWHUQDWLRQDOFRPPXQLFDWLRQVE\UDGLR
             WHOHYLVLRQZLUHVDWHOOLWHDQGFDEOH

             )'0
              )UHTXHQF\'LYLVLRQ0XOWLSOH[LQJ $PXOWLSOH[LQJWHFKQLTXHWKDWXVHVGLIIHUHQWIUHTXHQFLHVWRFRPELQHPXOWLSOH
             VWUHDPVRIGDWDIRUWUDQVPLVVLRQRYHUDFRPPXQLFDWLRQVPHGLXP)'0DVVLJQVDGLVFUHWH&DUULHUIUHTXHQF\WRHDFK
             GDWDVWUHDPDQGWKHQFRPELQHVPDQ\PRGXODWHGFDUULHUIUHTXHQFLHVIRUWUDQVPLVVLRQ)RUH[DPSOHWHOHYLVLRQ
             WUDQVPLWWHUVXVH)'0WREURDGFDVWVHYHUDOFKDQQHOVDWRQFH

             )+66
              )UHTXHQF\+RSSLQJ6SUHDG6SHFWUXP 2QHRIWZRW\SHVRIVSUHDGVSHFWUXPUDGLR²WKHRWKHUEHLQJ'LUHFW6HTXHQFH
             6SUHDG6SHFWUXP '666 )+66LVDWUDQVPLVVLRQWHFKQRORJ\XVHGLQ:/$1WUDQVPLVVLRQVZKHUHWKHGDWDVLJQDOLV
             PRGXODWHGZLWKDQDUURZEDQGFDUULHUVLJQDOWKDW³KRSV´LQDUDQGRPEXWSUHGLFWDEOHVHTXHQFHIURPIUHTXHQF\WR
             IUHTXHQF\DVDIXQFWLRQRIWLPHRYHUDZLGHEDQGRIIUHTXHQFLHV7KHVLJQDOHQHUJ\LVVSUHDGLQWLPHGRPDLQUDWKHUWKDQ
             FKRSSLQJHDFKELWLQWRVPDOOSLHFHVLQWKHIUHTXHQF\GRPDLQ7KLVWHFKQLTXHUHGXFHVLQWHUIHUHQFHEHFDXVHDVLJQDOIURP
             DQDUURZEDQGV\VWHPZLOORQO\DIIHFWWKHVSUHDGVSHFWUXPVLJQDOLIERWKDUHWUDQVPLWWLQJDWWKHVDPHIUHTXHQF\DWWKH




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          VDPHWLPH,IV\QFKURQL]HGSURSHUO\DVLQJOHORJLFDOFKDQQHOLVPDLQWDLQHG7KHWUDQVPLVVLRQIUHTXHQFLHVDUH
          GHWHUPLQHGE\D³VSUHDGLQJ´RU³KRSSLQJ´FRGH7KHUHFHLYHUPXVWEHVHWWRWKHVDPHKRSSLQJFRGHDQGPXVWOLVWHQWR
          WKHLQFRPLQJVLJQDODWWKHULJKWWLPHDQGFRUUHFWIUHTXHQF\LQRUGHUWRSURSHUO\UHFHLYHWKHVLJQDO&XUUHQW)&&
          UHJXODWLRQVUHTXLUHPDQXIDFWXUHUVWRXVHRUPRUHIUHTXHQFLHVSHUWUDQVPLVVLRQFKDQQHOZLWKDPD[LPXPGZHOOWLPH
           WKHWLPHVSHQWDWDSDUWLFXODUIUHTXHQF\GXULQJDQ\VLQJOHKRS RIPV

          )ODVK0HPRU\
          $VSHFLDOW\SHRI((3520 (OHFWULFDOO\(UDVDEOH3URJUDPPDEOH5HDG2QO\0HPRU\ WKDWFDQEHHUDVHGDQG
          UHSURJUDPPHGLQEORFNVLQVWHDGRIRQHE\WHDWDWLPH0DQ\PRGHUQ3&VKDYHWKHLU%,26VWRUHGRQDIODVKPHPRU\
          FKLSVRWKDWLWFDQHDVLO\EHXSGDWHG6XFKD%,26LVVRPHWLPHVFDOOHGDIODVK%,26)ODVKPHPRU\LVDOVRSRSXODULQ
          PRGHPVEHFDXVHLWHQDEOHVWKHPRGHPPDQXIDFWXUHUWRVXSSRUWQHZSURWRFROVDVWKH\EHFRPHVWDQGDUGL]HG

          )RUZDUGLQJ5DWH
          7KHPD[LPXPUDWHDWZKLFK.SDFNHWVFDQEHGHOLYHUHGWRWKHLUGHVWLQDWLRQ6HHDOVR3DFNHW3DFNHW6ZLWFKLQJ
          1HWZRUNSSVDQG7KURXJKSXW

          )UDJPHQW/HQJWK )UDJPHQWDWLRQ
          %UHDNLQJDSDFNHWLQWRVPDOOHUXQLWVZKHQWUDQVPLWWLQJRYHUDQHWZRUNPHGLXPWKDWFDQQRWVXSSRUWWKHRULJLQDOVL]HRI
          WKHSDFNHW7KHIUDJPHQWOHQJWKYDOXHVKRXOGUHPDLQDWLWVGHIDXOWVHWWLQJXQOHVV\RXH[SHULHQFHDKLJKSDFNHWHUURU
          UDWH6HWWLQJWKHIUDJPHQWOHQJWKWRRORZPD\UHVXOWLQSRRUSHUIRUPDQFH

          )73
           )LOH7UDQVIHU3URWRFRO $VWDQGDUGSURWRFROXVHGIRUFRS\LQJDQGPRYLQJILOHVTXLFNO\HIILFLHQWO\DQGVHFXUHO\DFURVV
          SXEOLFDQGSULYDWHQHWZRUNV$Q)73VLWHLVRQHZKHUHILOHVDUHDYDLODEOHIRUGRZQORDGLQJDQGXSORDGLQJ)73VLWHV
          XVXDOO\UHTXLUHDVHFXUHORJLQ QDPHDQGSDVVZRUG WRJDLQDFFHVV

          *DWHZD\
          $Q\GHYLFHWKDWSURYLGHVDVHDPOHVVFRQQHFWLRQEHWZHHQRWKHUZLVHLQFRPSDWLEOHV\VWHPV

          *RSKHU
          $FRPSXWHUSURJUDPDQGDQDFFRPSDQ\LQJGDWDWUDQVIHUSURWRFROIRUUHDGLQJLQIRUPDWLRQWKDWKDVEHHQPDGH
          DYDLODEOHWRWKHSXEOLFRQWKH,QWHUQHW*RSKHULVJUDGXDOO\EHLQJVXSHUVHGHGE\+70/

          +RPH3DJH
          8VXDOO\WKHILUVWSDJHXVHUVVHHZKHQWKH\YLVLWD:HEVLWH LIWKH\DGGUHVVWKHKRPHSDJH¶V85/ $ZHOOFRQVWUXFWHG
          :HEVLWHZLOOQRUPDOO\FRQVLVWRIDKRPHSDJHWKDWSURYLGHVDFOHDUDQGFRQFLVHRYHUYLHZRIWKHHQWLUH:HEVLWH
          WRJHWKHUZLWKWKHWRROVIRUDFFHVVLQJRWKHUSDJHVDQGWRSLFVTXLFNO\DQGHIILFLHQWO\,QWKLVFDVHWKHKRPHSDJHLVWKH
          ³SRUWDO´WRWKH:HEVLWH6HHDOVR3RUWDODQG85/

          +RVW
          $Q\FRPSXWHUWKDWSURYLGHVVHUYLFHVWRRWKHUFRPSXWHUVWKDWDUHOLQNHGWRLWE\DQHWZRUN*HQHUDOO\WKHKRVWLVWKH
          PRUHUHPRWHRIWKHFRPSXWHUV)RUH[DPSOHLIDXVHULQ&DOLIRUQLDDFFHVVHVDFRPSXWHULQ1HZ<RUNWKHFRPSXWHULQ
          1HZ<RUNLVFRQVLGHUHGWKHKRVW

          +35
           +RPH3DJH5HGLUHFWLRQ 1RPDGL[*DWHZD\VHQDEOHVROXWLRQSURYLGHUVWRUHGLUHFWVXEVFULEHUVWRD³SRUWDO´KRPHSDJH
          RIWKHLUFKRLFH7KLVDOORZVWKHVROXWLRQSURYLGHUWRJHQHUDWHRQOLQHDGYHUWLVLQJUHYHQXHVDQGLQFUHDVHEXVLQHVV
          H[SRVXUH6HHDOVR+RPH3DJH.

          +70/
           +\SHU7H[W0DUNXS/DQJXDJH 7KHSURJUDPPLQJODQJXDJHXVHGWRFUHDWHK\SHUWH[WGRFXPHQWVIRUXVHRQWKH,QWHUQHW
          6HHDOVR+773+\SHUWH[WDQG,QWHUQHW




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                                                                                                             $&&(66*$7(:$<

             +773
              +\SHU7H[W7UDQVIHU3URWRFRO 7KHVWDQGDUGPHWKRGXVHGIRUSXEOLVKLQJK\SHUWH[WGRFXPHQWVLQ+70/IRUPDWRQWKH
             ,QWHUQHW6HHDOVR+70/DQG,QWHUQHW

             +\SHUWH[W
             (OHFWURQLFGRFXPHQWVWKDWDUHVWUXFWXUHGWRHQDEOHUHDGHUVWRJRGLUHFWO\WRWKHVRXUFHRIWKHLQIRUPDWLRQWKH\QHHGE\
             IROORZLQJGLUHFWLRQDOOLQNV XQOLNHERRNVZKLFKDUHJHQHUDOO\UHDGVHTXHQWLDOO\ :HESDJHVDQGKHOSILOHDUHH[DPSOHV
             RIK\SHUWH[WGRFXPHQWV

             ,&03
              ,QWHUQHW&RQWURO0HVVDJH3URWRFRO $VWDQGDUG,QWHUQHWSURWRFROWKDWGHOLYHUVHUURUDQGFRQWUROPHVVDJHVIURPKRVWVWR
             PHVVDJHUHTXHVWHUV$Q,&03HFKRWHVWFDQGHWHUPLQHZKHWKHUDWDUJHWGHVWLQDWLRQLVUHDFKDEOH$Q,&03HFKRWHVWLV
             DOVRFDOOHGDSLQJ6HHDOVR3LQJ

             ,(((
              ,QVWLWXWHRI(OHFWULFDODQG(OHFWURQLFV(QJLQHHUV )RXQGHGLQWKH,(((LVDQRUJDQL]DWLRQFRPSRVHGRI
             HQJLQHHUVVFLHQWLVWVDQGVWXGHQWV7KH,(((LVEHVWNQRZQIRUGHYHORSLQJVWDQGDUGVIRUWKHFRPSXWHUDQGHOHFWURQLFV
             LQGXVWU\,QSDUWLFXODUWKH,(((VWDQGDUGVIRU/RFDO$UHD1HWZRUNVDUHZLGHO\IROORZHG

             L1$7
              ,QWHOOLJHQW1HWZRUN$GGUHVV7UDQVODWLRQ 1RPDGL[¶L1$7IHDWXUHFUHDWHVDQLQWHOOLJHQWPDSSLQJRI,3DGGUHVVHV
             DQGWKHLUDVVRFLDWHG931WXQQHOVDOORZLQJPXOWLSOHWXQQHOVWREHHVWDEOLVKHGWRWKHVDPH931VHUYHU²FUHDWLQJD
             VHDPOHVVFRQQHFWLRQIRUDOOWKHXVHUVDWWKHSXEOLFDFFHVVORFDWLRQ

             LQIUDVWUXFWXUHPRGH
             $Q[QHWZRUNLQJIUDPHZRUNLQZKLFKGHYLFHVFRPPXQLFDWHZLWKHDFKRWKHUE\ILUVWJRLQJWKURXJKDQ$FFHVV
             3RLQW $3 ,QLQIUDVWUXFWXUHPRGHZLUHOHVVGHYLFHVFDQFRPPXQLFDWHZLWKHDFKRWKHURUFDQFRPPXQLFDWHZLWKD
             ZLUHGQHWZRUN:KHQRQH$3LVFRQQHFWHGWRDZLUHGQHWZRUNDQGDVHWRIZLUHOHVVVWDWLRQVLWLVUHIHUUHGWRDVD%DVLF
             6HUYLFH6HW %66 $Q([WHQGHG6HUYLFH6HW (66 LVDVHWRIWZRRUPRUH%66VWKDWIRUPDVLQJOHVXEQHWZRUN0RVW
             FRUSRUDWHZLUHOHVV/$1VRSHUDWHLQLQIUDVWUXFWXUHPRGHEHFDXVHWKH\UHTXLUHDFFHVVWRWKHZLUHG/$1LQRUGHUWRXVH
             VHUYLFHVVXFKDVILOHVHUYHUVRUSULQWHUV6HHDOVRDGKRFPRGH

             ,QWHUQHW
             2ULJLQDOO\GHYHORSHGE\WKH86'HIHQVH'HSDUWPHQWWKH,QWHUQHWLVQRZDJOREDOFROOHFWLRQRIQHWZRUNVWKDWWUDQVIHU
             LQIRUPDWLRQEHWZHHQHDFKRWKHUXVLQJWKH,QWHUQHW3URWRFRO ,3 $GGLWLRQDOO\WKH,QWHUQHWFDUULHVWKHK\SHUWH[WV\VWHP
             FRPPRQO\NQRZQDVWKH:RUOG:LGH:HE6HHDOVR+\SHUWH[WDQG,QWHUQHW3URWRFRO

             ,QWHUQHW3URWRFRO
             7KHJOREDOVWDQGDUGXVHGWRUHJXODWHGDWDWUDQVPLVVLRQVEHWZHHQFRPSXWHUVDQGWKH,QWHUQHW'DWDLVEURNHQXSLQWR
             SDFNHWVZKLFKDUHWKHQVHQWRYHUWKHQHWZRUN%\XVLQJ,3DGGUHVVLQJ,QWHUQHW3URWRFROHQVXUHVWKDWWKHGDWDUHDFKHVLWV
             GHVWLQDWLRQHYHQWKRXJKGLIIHUHQWSDFNHWVPD\SDVVWKURXJKGLIIHUHQWQHWZRUNVWRJHWWRWKHVDPHORFDWLRQ6HHDOVR
             ,QWHUQHWDQG,3$GGUHVV

             ,QWHUQHW6HUYLFH3URYLGHU
             7KHDJHQF\WKDWSURYLGHV\RXZLWKDFFHVVWRWKH,QWHUQHW<RXU,QWHUQHW6HUYLFH3URYLGHU ,63 PD\EHDODUJH
             FRPPHUFLDORUJDQL]DWLRQ IRUH[DPSOH$PHULFD2QOLQH RULI\RXDFFHVVWKH,QWHUQHWYLD\RXUHPSOR\HUWKHQ\RXU
             HPSOR\HULV\RXU,QWHUQHW6HUYLFH3URYLGHU6HHDOVR,QWHUQHW

             ,QWUDQHW
             $QHWZRUNFRQILQHGWRDVLQJOHRUJDQL]DWLRQ EXWQRWQHFHVVDULO\DVLQJOHVLWH 8VXDOO\WKRXJKWRIDVDFRUSRUDWHPLQL
             ,QWHUQHW

             ,3
             6HH ,QWHUQHW3URWRFRO


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       $&&(66*$7(:$<

          ,3$GGUHVV
          7KHQXPHULFDGGUHVVRIDGHYLFHLQWKHIRUPDWXVHGRQWKH,QWHUQHW7KHDFWXDOQXPHULFYDOXHWDNHVWKHIRUPRID
          ELWELQDU\QXPEHUEURNHQXSLQWRIRXUELWJURXSVZLWKHDFKJURXSVHSDUDWHGE\DSHULRG IRUH[DPSOH 
          7RPDNHLWHDVLHUIRUWKHXVHUWKH,3DGGUHVVLVPDSSHGWRDPHDQLQJIXOGRPDLQQDPH,3DGGUHVVHVFDQEHVWDWLF
           SHUPDQHQW RUG\QDPLF DVVLJQHGHDFKWLPH\RXFRQQHFW 6HHDOVR'RPDLQ1DPH'\QDPLF,3$GGUHVV,QWHUQHW
          3URWRFRODQG6WDWLF,3$GGUHVV

          ,3$GGUHVV7UDQVODWLRQ
          1RPDGL[*DWHZD\VXVHDGDSWLYHFRQILJXUDWLRQWHFKQRORJ\ZKLFKFDQDFFRPPRGDWHDOOQHWZRUNFRQILJXUDWLRQV
          LQFOXGLQJG\QDPLFDQGVWDWLF,3DGGUHVVDVVLJQPHQWV7KLVHQDEOHVLWWRVROYH,3DGGUHVVLQJSUREOHPVLQHQYLURQPHQWV
          ZKHUHWKHVHUYLFHSURYLGHUGRHVQRWKDYHFRQWURORYHUWKHVXEVFULEHU¶VQHWZRUNVHWWLQJV:KHQHYHUDVXEVFULEHUORJV
          RQ\RXU1RPDGL[*DWHZD\DXWRPDWLFDOO\WUDQVODWHVWKHLUFRPSXWHU¶VQHWZRUNVHWWLQJVWRSURYLGHWKHPZLWKVHDPOHVV
          DFFHVVWRWKHEURDGEDQGQHWZRUN6XEVFULEHUVQRORQJHUQHHGWRDOWHUWKHLUFRPSXWHU¶VVHWWLQJV6HHDOVR'\QDPLF,3
          $GGUHVV,3$GGUHVVDQG6WDWLF,3$GGUHVV

          ,6'1
           ,QWHJUDWHG6HUYLFHV'LJLWDO1HWZRUN $QLQWHUQDWLRQDOFRPPXQLFDWLRQVVWDQGDUGIRUVHQGLQJYRLFHYLGHRDQGGDWD
          RYHUGLJLWDOWHOHSKRQHOLQHVRUQRUPDOWHOHSKRQHZLUHV,6'1VXSSRUWVGDWDWUDQVIHUUDWHVRI.ESV ELWVSHU
          VHFRQG 

          ,63
          6HH,QWHUQHW6HUYLFH3URYLGHU

          /$:1
           /RFDO$UHD:LUHOHVV1HWZRUN $W\SHRI/RFDO$UHD1HWZRUNWKDWXVHVKLJKIUHTXHQF\UDGLRZDYHVUDWKHUWKDQZLUHV
          WRFRPPXQLFDWHEHWZHHQQRGHV$OVRUHIHUUHGWRDV:/$16HHDOVR1RGH

          /'$3
           /LJKWZHLJKW'LUHFWRU\$FFHVV3URWRFRO 'LUHFWRULHVFRQWDLQLQJLQIRUPDWLRQVXFKDVQDPHVSKRQHQXPEHUVDQG
          DGGUHVVHVDUHRIWHQVWRUHGRQDYDULHW\RILQFRPSDWLEOHV\VWHPV/'$3SURYLGHVDVLPSOHSURWRFROWKDWDOORZV\RXWR
          DFFHVVDQGVHDUFKWKHVHGLVSDUDWHGLUHFWRULHVRYHUWKH,QWHUQHW/'$3LVFRPPRQO\XVHGIRURQOLQHELOOLQJDSSOLFDWLRQV

          0$&$GGUHVV
           0HGLD$FFHVV&RQWURO 7KHKDUGZDUHDGGUHVVWKDWXQLTXHO\LGHQWLILHVHDFKQRGHRIDQHWZRUN,Q,(((QHWZRUNV
          WKH'DWD/LQN&RQWURO '/& OD\HURIWKH26,5HIHUHQFH0RGHOLVGLYLGHGLQWRWZRVXEOD\HUV±WKH/RJLFDO/LQN
          &RQWURO //& OD\HUDQGWKH0HGLD$FFHVV&RQWURO 0$& OD\HU7KH0$&OD\HULQWHUIDFHVGLUHFWO\ZLWKWKHQHWZRUN
          PHGLD&RQVHTXHQWO\HDFKW\SHRIQHWZRUNPHGLDUHTXLUHVDGLIIHUHQW0$&OD\HU2QQHWZRUNVWKDWGRQRWFRQIRUPWR
          WKH,(((VWDQGDUGVEXWGRFRQIRUPWRWKH26,5HIHUHQFH0RGHOWKHQRGHDGGUHVVLVFDOOHGWKH'DWD/LQN&RQWURO
           '/& DGGUHVV

          0ESV
           0HJDELWVSHUVHFRQG $VWDQGDUGPHDVXUHIRUGDWDWUDQVPLVVLRQVSHHGV IRUH[DPSOHWKHUDWHDWZKLFKLQIRUPDWLRQ
          WUDYHOVRYHUWKH,QWHUQHW 0ESVGHQRWHVRQHPLOOLRQELWVSHUVHFRQG6HYHUDOIDFWRUVFDQLQIOXHQFHKRZTXLFNO\GDWD
          WUDYHOVLQFOXGLQJPRGHPVSHHGEDQGZLGWKFDSDFLW\DQG,QWHUQHWWUDIILFOHYHOVDWWKHWLPHRIWUDQVPLVVLRQ1RWWREH
          FRQIXVHGZLWK0HJD%\WHVSHUVHFRQG 0%SV 6HHDOVR7KURXJKSXW

          0,%
           0DQDJHPHQW,QIRUPDWLRQ%DVH $VHWRISDUDPHWHUVDQ6103PDQDJHPHQWVWDWLRQFDQTXHU\RUHVWDEOLVKLQWKH
          6103DJHQWRIDQHWZRUNGHYLFH IRUH[DPSOHDURXWHU 6WDQGDUGPLQLPDO0,%VKDYHEHHQGHILQHGDQGYHQGRUV
          RIWHQKDYHWKHLURZQSULYDWHHQWHUSULVH0,%V,QWKHRU\DQ\6103PDQDJHUFDQWDONWRDQ\6103DJHQWZLWKD
          SURSHUO\GHILQHG0,%6HHDOVR6103




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             0LVFRQILJXUHG8VHU
             $1RPDGL[,QFWHUPXVHGWRGHVFULEHXVHUVZKRKDYH,3DGGUHVVFRQILJXUDWLRQVWKDWDUHGLIIHUHQWIURPWKHFXUUHQW
             QHWZRUN)RUH[DPSOHLIWKHFXUUHQWQHWZRUNLVEXWWKHXVHU¶V,3DGGUHVVLVWKHQWKLVXVHULV
             FRQVLGHUHGWREH³PLVFRQILJXUHG´

             1$7
              1HWZRUN$GGUHVV7UDQVODWLRQ $Q,QWHUQHWVWDQGDUGWKDWHQDEOHVD/RFDO$UHD1HWZRUN /$1 WRXVHRQHVHWRI,3
             DGGUHVVHVIRULQWHUQDOWUDIILFDQGDVHFRQGVHWRI,3DGGUHVVHVIRUH[WHUQDOWUDIILF$1$7ER[ORFDWHGZKHUHWKH/$1
             PHHWVWKH,QWHUQHWSHUIRUPVDOOWKHQHFHVVDU\,3DGGUHVVWUDQVODWLRQV1$7SURYLGHVDW\SHRIILUHZDOOE\KLGLQJLWV
             LQWHUQDO,3DGGUHVVHV$GGLWLRQDOO\1$7HQDEOHVFRPSDQLHVWRXVHPRUHLQWHUQDO,3DGGUHVVHV EHFDXVHWKHDGGUHVVHV
             DUHRQO\XVHGLQWHUQDOO\DQGWKHUH¶VQRSRVVLELOLW\RIFRQIOLFWLQJZLWK,3DGGUHVVHVXVHGE\RWKHUFRPSDQLHV 1$7DOVR
             DOORZVFRPSDQLHVWRFRPELQHPXOWLSOH,6'1FRQQHFWLRQVLQWRDVLQJOH,QWHUQHWFRQQHFWLRQ6HHDOVR,6'1

             1RGH
             $QDGGUHVVDEOHSRLQWRQDQHWZRUN$QRGHFDQFRQQHFWDFRPSXWHUV\VWHPDWHUPLQDORUYDULRXVSHULSKHUDOGHYLFHVWR
             WKHQHWZRUN(DFKQRGHRQDQHWZRUNKDVDGLVWLQFWQDPH2QWKH,QWHUQHWDQRGHLVDKRVWFRPSXWHUZLWKDXQLTXH
             GRPDLQQDPHDQG,3DGGUHVV6HHDOVR'RPDLQ1DPHDQG,3$GGUHVV

             173
              1HWZRUN7LPH3URWRFRO $Q,QWHUQHWVWDQGDUGSURWRFRO EXLOWRQWRSRI7&3,3 WKDWDVVXUHVDFFXUDWHV\QFKURQL]DWLRQ
              WRWKHPLOOLVHFRQG RIFRPSXWHUFORFNWLPHVLQDQHWZRUNRIFRPSXWHUV%DVHGRQ87&173V\QFKURQL]HVFOLHQW
             ZRUNVWDWLRQFORFNVWRWKH861DYDO2EVHUYDWRU\PDVWHUFORFNV5XQQLQJDVDFRQWLQXRXVEDFNJURXQGFOLHQWSURJUDP
             RQDFRPSXWHU173VHQGVSHULRGLFWLPHUHTXHVWVWRVHUYHUVREWDLQLQJVHUYHUWLPHVWDPSVDQGXVLQJWKHPWRDGMXVWWKH
             FOLHQW VFORFN

             2)'0
              2UWKRJRQDO)UHTXHQF\'LYLVLRQ0XOWLSOH[LQJ $Q)'0PRGXODWLRQWHFKQLTXHIRUWUDQVPLWWLQJODUJHDPRXQWVRI
             GLJLWDOGDWDRYHUDUDGLRZDYH2)'0ZRUNVE\VSOLWWLQJWKHUDGLRVLJQDOLQWRPXOWLSOHVPDOOHUVXEVLJQDOVWKDWDUHWKHQ
             WUDQVPLWWHGVLPXOWDQHRXVO\DWGLIIHUHQWIUHTXHQFLHVWRWKHUHFHLYHU2)'0UHGXFHVWKHDPRXQWRIFURVVWDONLQVLJQDO
             WUDQVPLVVLRQVD:/$1WHFKQRORJ\XVHV2)'0

             263)
              2SHQ6KRUWHVW3DWK)LUVW 7KLVURXWLQJSURWRFROZDVGHYHORSHGIRU,3QHWZRUNVEDVHGRQWKHVKRUWHVWSDWKILUVWRUOLQN
             VWDWHDOJRULWKP5RXWHUVXVHOLQNVWDWHDOJRULWKPVWRVHQGURXWLQJLQIRUPDWLRQWRDOOQRGHVRQDQHWZRUNE\FDOFXODWLQJ
             WKHVKRUWHVWSDWKWRHDFKQRGHEDVHGRQDWRSRJUDSK\RIWKH,QWHUQHWFRQVWUXFWHGE\HDFKQRGH5RXWHUVVHQGWKDW
             SRUWLRQRIWKHURXWLQJWDEOH NHHSLQJWUDFNRIURXWHVWRSDUWLFXODUQHWZRUNGHVWLQDWLRQV WKDWGHVFULEHVWKHVWDWHRILWV
             RZQOLQNVDQGLWDOVRVHQGVWKHFRPSOHWHURXWLQJVWUXFWXUH WRSRJUDSK\ 7KHDGYDQWDJHRIVKRUWHVWSDWKILUVW
             DOJRULWKPVLVWKDWWKH\UHVXOWLQVPDOOHUPRUHIUHTXHQWXSGDWHVHYHU\ZKHUH7KH\FRQYHUJHTXLFNO\WKXVSUHYHQWLQJ
             VXFKSUREOHPVDVURXWLQJORRSVDQGFRXQWWRLQILQLW\ ZKHQURXWHUVFRQWLQXRXVO\LQFUHPHQWWKHKRSFRXQWWRD
             SDUWLFXODUQHWZRUN 7KLVPDNHVIRUDVWDEOHQHWZRUN263) YHUVLRQ LVGHILQHGLQ5)&DQGLVUDSLGO\UHSODFLQJ
             5,3RQWKH,QWHUQHWDVWKHSUHIHUUHGURXWLQJSURWRFRO6HHDOVR5)&DQG5RXWHU

             3DFNHW
             +RZGDWDLVGLVWULEXWHGRYHUWKH,QWHUQHW$SDFNHWFRQWDLQVWKHVRXUFHDQGGHVWLQDWLRQDGGUHVVHVDVZHOODVWKHGDWD
             $QHWKHUQHWSDFNHWLVQRUPDOO\E\WHV,Q,3QHWZRUNVSDFNHWVDUHRIWHQFDOOHGGDWDJUDPV6HHDOVR)RUZDUGLQJ
             5DWH3DFNHW6ZLWFKLQJ1HWZRUNSSVDQG7KURXJKSXW




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          3DFNHW6ZLWFKLQJ1HWZRUN
          5HIHUVWRSURWRFROVLQZKLFKPHVVDJHVDUHGLYLGHGLQWRSDFNHWVEHIRUHWKH\DUHVHQW(DFKSDFNHWLVWKHQWUDQVPLWWHG
          LQGLYLGXDOO\DQGFDQHYHQIROORZGLIIHUHQWURXWHVWRLWVGHVWLQDWLRQ2QFHDOOWKHSDFNHWVIRUPLQJDPHVVDJHDUULYHDWLWV
          GHVWLQDWLRQWKH\DUHUHFRPSLOHGLQWRWKHRULJLQDOPHVVDJH0RVWPRGHUQ:LGH$UHD1HWZRUN :$1 SURWRFROV
          LQFOXGLQJ7&3,3;DQG)UDPH5HOD\DUHEDVHGRQSDFNHWVZLWFKLQJWHFKQRORJLHV%\FRQWUDVWQRUPDOWHOHSKRQH
          VHUYLFHVXVHDFLUFXLWVZLWFKLQJWHFKQRORJ\LQZKLFKDGHGLFDWHGOLQHLVDOORFDWHGIRUWUDQVPLVVLRQEHWZHHQWZRSDUWLHV
          &LUFXLWVZLWFKLQJLVLGHDOIRUIDVWGDWDWUDQVPLVVLRQVZKHUHWKHGDWDPXVWDUULYHLQWKHVDPHRUGHULQZKLFKLWLVVHQW
          7KLVLVWKHFDVHZLWKPRVWUHDOWLPHGDWDVXFKDVOLYHDXGLRDQGYLGHR3DFNHWVZLWFKLQJLVPRUHHIILFLHQWDQGUREXVW
          IRUGDWDWKDWFDQZLWKVWDQGVRPHGHOD\VLQWUDQVPLVVLRQVXFKDVHPDLOPHVVDJHVDQG:HESDJHV6HHDOVR
          )RUZDUGLQJ5DWH3DFNHWSSVDQG7KURXJKSXW

          3')
           3RUWDEOH'RFXPHQW)RUPDW $W\SHRIILOHIRUPDWGHYHORSHGE\$GREH6\VWHPVWKDWGLVSOD\VGRFXPHQWVLGHQWLFDOO\
          RQDQ\FRPSXWHUV\VWHP3')ILOHVUHWDLQWKHLURULJLQDOIRUPDWWHGGHVLJQXQOLNH+70/GRFXPHQWVZKLFKDGMXVWWKH
          IRUPDWGHSHQGLQJRQWKHXVHUVYLHZLQJPHGLXP IRUH[DPSOHPRQLWRUVL]H 

          3LQJ
           3DFNHW,1WHUQHW*URSHU $SURJUDPWKDWWUDQVPLWVDVLJQDOWRDKRVWDQGH[SHFWVDUHVSRQVHZLWKLQDSUHGHWHUPLQHG
          WLPH7KLVLVXVHIXOZKHQWURXEOHVKRRWLQJQHWZRUNWUDQVPLVVLRQSUREOHPV6HHDOVR,&03

          3RUWDO
          $SRUWDOLVD:HEVLWH7KHSRUWDOFRQVLVWVRIDFROOHFWLRQRIOLQNVWRWKHPRVWSRSXODU:HEVHUYLFHVRQWKH,QWHUQHW
          *HQHUDOO\VSHDNLQJDSRUWDOLVDGRRUWRWKH,QWHUQHW6HHDOVR,QWHUQHW

          333
           3RLQWWR3RLQW3URWRFRO 333KDVVXSHUVHGHG6/,3DVWKHVWDQGDUGSURWRFROIRUVHULDOGDWDFRPPXQLFDWLRQVRYHUWKH
          ,QWHUQHW6HHDOVR6/,3

          SSV
           SDFNHWVSHUVHFRQG 7KHUDWHDWZKLFKSDFNHWVDUHGHOLYHUHGWRWKHLUGHVWLQDWLRQ6HHDOVR)RUZDUGLQJ5DWH3DFNHW
          DQG3DFNHW6ZLWFKLQJ1HWZRUN

          3373
           3RLQWWR3RLQW7XQQHOLQJ3URWRFRO 'HYHORSHGMRLQWO\E\0LFURVRIW&RUSRUDWLRQ865RERWLFVDQGVHYHUDOUHPRWH
          DFFHVVYHQGRUFRPSDQLHVNQRZQFROOHFWLYHO\DVWKH3373)RUXP3373LVDQHZWHFKQRORJ\XVHGIRUFUHDWLQJ9LUWXDO
          3ULYDWH1HWZRUNV 931V . %HFDXVHWKH,QWHUQHWLVHVVHQWLDOO\DQRSHQQHWZRUN3373LVXVHGWRHQVXUHWKDWPHVVDJHV
          WUDQVPLWWHGIURPRQH931QRGHWRDQRWKHUDUHVHFXUH3373DOORZVXVHUVWRGLDOLQWRWKHLUFRUSRUDWHQHWZRUNVYLDWKH
          ,QWHUQHW6HHDOVR,QWHUQHW7XQQHOLQJDQG931

          3UHDPEOH
          ,QZLUHOHVVQHWZRUNVSDUWRIWKHZLUHOHVVVLJQDOWKDWV\QFKURQL]HVQHWZRUNWUDIILF

          3ULQW%LOOLQJ&RPPDQG
          $XWKHQWLFDWLRQ$XWKRUL]DWLRQDQG$FFRXQWLQJFRQILJXUDWLRQWKDWDOORZVWKH16(WRVXSSRUW'ULYHUOHVV3ULQWVHUYHUV
          WKDWFDQELOOVXEVFULEHUV¶URRPVIRUSULQWLQJWKHLUGRFXPHQWVZLWKRXWWKHPKDYLQJWRLQVWDOOSULQWHUV

          3URILOH
          $QHOHFWURQLFILOHWKDWGHILQHVKRZVXEVFULEHUVQRUPDOO\LQWHUDFWZLWKWKHVHUYLFHSURYLGHU¶VQHWZRUN




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                                                                                                                $&&(66*$7(:$<

             3URWRFRO
             $VWDQGDUGSURFHVVFRQVLVWLQJRIDVHWRIUXOHVDQGFRQGLWLRQVWKDWUHJXODWHVGDWDWUDQVPLVVLRQVEHWZHHQFRPSXWLQJ
             GHYLFHV6RPHH[DPSOHVRISURWRFROVLQFOXGH+773 +\SHU7H[W7UDQVIHU3URWRFRO )73 )LOH7UDQVIHU3URWRFRO 
             7&3,3 7UDQVPLVVLRQ&RQWURO3URWRFRO,QWHUQHW3URWRFRO DQG323 3RVW2IILFH3URWRFRO $OOWKHVHSURWRFROVDUH
             UHVSRQVLEOHIRUUHJXODWLQJWKHWUDQVPLVVLRQRIWKHLUVSHFLILFGDWDILOHW\SHV

             4R6
              4XDOLW\RI6HUYLFH $FROOHFWLYHPHDVXUHRIWKHOHYHORIVHUYLFHGHOLYHUHGWRWKHFXVWRPHU4R6FDQEHFKDUDFWHUL]HGE\
             VHYHUDOEDVLFSHUIRUPDQFHFULWHULDLQFOXGLQJDYDLODELOLW\ ORZGRZQWLPH HUURUSHUIRUPDQFHUHVSRQVHWLPHDQG
             WKURXJKSXWORVWFDOOVRUWUDQVPLVVLRQVGXHWRQHWZRUNFRQJHVWLRQFRQQHFWLRQVHWXSWLPHDQGWKHVSHHGRIIDXOW
             GHWHFWLRQDQGFRUUHFWLRQ6HUYLFHSURYLGHUVPD\JXDUDQWHHDSDUWLFXODUOHYHORI4R6 GHILQHGE\DVHUYLFHOHYHO
             DJUHHPHQW WRWKHLUVXEVFULEHUV4R6HQDEOHGKDUGZDUHDQGVRIWZDUHVROXWLRQVVRUWDQGFODVVLI\,3SDFNHWUHTXHVWVLQWR
             GLIIHUHQWWUDIILFFODVVHVDQGDOORFDWHWKHSURSHUUHVRXUFHVWRGLUHFWWUDIILFEDVHGRQYDULRXVFULWHULDLQFOXGLQJDSSOLFDWLRQ
             W\SHXVHURUDSSOLFDWLRQ,'VRXUFHRUGHVWLQDWLRQ,3DGGUHVVWLPHRIGD\DQGRWKHUXVHUVSHFLILHGYDULDEOHV6HHDOVR
             &R6DQG7R6

             5$',86
              5HPRWH$XWKHQWLFDWLRQ'LDO,Q8VHU6HUYLFH $QDXWKHQWLFDWLRQDQGDFFRXQWLQJV\VWHPXVHGE\PDQ\,QWHUQHW6HUYLFH
             3URYLGHUV ,63V :KHQ\RXGLDOLQWRWKH,63\RXPXVWHQWHU\RXUXVHUQDPHDQGSDVVZRUG7KLVLQIRUPDWLRQLVSDVVHG
             WRD5$',86VHUYHUZKLFKFKHFNVWKDWWKHLQIRUPDWLRQLVFRUUHFWDQGWKHQDXWKRUL]HVDFFHVVWRWKH,63V\VWHP

             5)&
              5HTXHVWIRU&RPPHQWV $VHULHVRIQRWHVDERXWWKH,QWHUQHWVWDUWHGLQ ZKHQWKH,QWHUQHWZDVWKH$53$1(7 
             $Q5)&QRWHFDQEHVXEPLWWHGE\DQ\RQH(DFK5)&LVGHVLJQDWHGE\DQ5)&QXPEHU2QFHSXEOLVKHGDQ5)&QHYHU
             FKDQJHV$Q\PRGLILFDWLRQVWRDQRULJLQDO5)&DUHDVVLJQHGDQHZ5)&QXPEHU

             5RDPLQJ
             ,QZLUHOHVVQHWZRUNLQJURDPLQJUHIHUVWRWKHDELOLW\WRPRYHIURPRQH$3FRYHUDJHDUHDWRDQRWKHUZLWKRXW
             LQWHUUXSWLRQLQVHUYLFHRUORVVLQFRQQHFWLYLW\

             5RXQG5RELQ4XHXLQJ
             $QDOJRULWKPWKDWVHUYLFHVHDFKTXHXHLQDSUHGHILQHGVHTXHQFH)RUH[DPSOHLWPLJKWHPSW\E\WHVDSLHFHIURP
             TXHXH KLJKSULRULW\ TXHXH PHGLXPSULRULW\ DQGTXHXH ORZSULRULW\ VHUYLFLQJHDFKLQWXUQ

             5RXWHU
             $KDUGZDUHGHYLFHWKDWFRQQHFWVWZRRUPRUHQHWZRUNVDQGURXWHVWKHLQFRPLQJGDWDSDFNHWVWRWKHDSSURSULDWH
             QHWZRUN

             576 /HQJWK
              5HTXHVWWR6HQG $SDFNHWVHQWZKHQDFRPSXWHUKDVGDWDWRWUDQVPLW7KHFRPSXWHUZLOOZDLWIRUD&76 &OHDU7R
             6HQG PHVVDJHEHIRUHVHQGLQJGDWD7KH576/HQJWKYDOXHVKRXOGUHPDLQDWLWVGHIDXOWVHWWLQJXQOHVV\RXHQFRXQWHU
             LQFRQVLVWHQWGDWDIORZ2QO\PLQRUPRGLILFDWLRQVWRWKLVYDOXHDUHUHFRPPHQGHG

             6/,3
              6HULDO/LQH,QWHUQHW3URWRFRO 6/,3LVDVWDQGDUGSURWRFROIRUFRQQHFWLQJWRWKH,QWHUQHWZLWKDPRGHPRYHUDSKRQH
             OLQH,WKDVWURXEOHZLWKQRLV\GLDOXSOLQHVDQGRWKHUHUURUSURQHFRQQHFWLRQVVRORRNWRKLJKHUOHYHOSURWRFROVOLNH
             333IRUHUURUFRUUHFWLRQ

             6073
              6LPSOH0DLO7UDQVIHU3URWRFRO $VWDQGDUGSURWRFROWKDWUHJXODWHVKRZHPDLOLVGLVWULEXWHGRYHUWKH,QWHUQHW6HHDOVR
             3URWRFRO




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       $&&(66*$7(:$<

          6103
           6LPSOH1HWZRUN0DQDJHPHQW3URWRFRO $VWDQGDUGSURWRFROWKDWUHJXODWHVQHWZRUNPDQDJHPHQWRYHUWKH,QWHUQHW
          6103XVHV7&3,3WRFRPPXQLFDWHZLWKDPDQDJHPHQWSODWIRUPDQGRIIHUVDVWDQGDUGVHWRIFRPPDQGVWKDWPDNH
          PXOWLYHQGRULQWHURSHUDELOLW\SRVVLEOH6103XVHVDVWDQGDUGVHWRIGHILQLWLRQVNQRZQDVD0,% 0DQDJHPHQW
          ,QIRUPDWLRQ%DVH ZKLFKFDQEHVXSSOHPHQWHGZLWKHQWHUSULVHVSHFLILFH[WHQVLRQV6HHDOVR7&3,3DQG0,%

          6RFNHW
          $FRPPXQLFDWLRQSDWKEHWZHHQWZRFRPSXWHUSURJUDPVQRWQHFHVVDULO\UXQQLQJRQWKHVDPHPDFKLQH6RFNHWVDUH
          PDQDJHGE\D³VRFNHWGHYLFHGULYHU´WKDWHVWDEOLVKHVQHWZRUNFRQQHFWLRQVDVQHHGHG3URJUDPVWKDWFRPPXQLFDWH
          WKURXJKVRFNHWVQHHGQRWNQRZDQ\WKLQJDERXWKRZWKHQHWZRUNIXQFWLRQV

          6ROXWLRQ3URYLGHU
          9HQGRUVDUHFRQVLGHUHGWREHVROXWLRQSURYLGHUVZKHQWKH\SURYLGHSURGXFWVDQGRUVHUYLFHVWKDWPHHWWKHLUFXVWRPHU¶V
          VSHFLILFQHHGV1RUPDOO\DVROXWLRQSURYLGHULVRIIHULQJDVROXWLRQWKDWLVQ¶WUHDGLO\DYDLODEOHRQWKHRSHQPDUNHW)RU
          H[DPSOH120$',;LVDVROXWLRQSURYLGHUWRLWVFXVWRPHUV EURDGEDQGQHWZRUNVHUYLFHSURYLGHUV DQGWKRVH
          FXVWRPHUVDUHVROXWLRQSURYLGHUVWRWKHLUHQGXVHUV QHWZRUNVXEVFULEHUV 

          66,'
           6HUYLFH6HW,GHQWLILHU $FKDUDFWHUXQLTXHLGHQWLILHUDWWDFKHGWRWKHKHDGHURISDFNHWVVHQWRYHUD:/$1WKDWDFWV
          DVDSDVVZRUGZKHQDPRELOHGHYLFHWULHVWRFRQQHFWWRWKH%667KH66,'GLIIHUHQWLDWHVRQH:/$1IURPDQRWKHUVR
          DOODFFHVVSRLQWVDQGDOOGHYLFHVDWWHPSWLQJWRFRQQHFWWRDVSHFLILF:/$1PXVWXVHWKHVDPH66,'$GHYLFHZLOOQRW
          EHSHUPLWWHGWRMRLQWKH%66XQOHVVLWFDQSURYLGHWKHXQLTXH66,'%HFDXVHDQ66,'FDQEH³VQLIIHG´LQSODLQWH[W
          IURPDSDFNHWLWGRHVQRWVXSSO\DQ\VHFXULW\WRWKHQHWZRUN$Q66,'LVDOVRUHIHUUHGWRDVD³QHWZRUNQDPH´EHFDXVH
          HVVHQWLDOO\LWLVDQDPHWKDWLGHQWLILHVDZLUHOHVVQHWZRUN

          66/
           6HFXUH6RFNHWV/D\HU $SURWRFROGHYHORSHGE\1HWVFDSHIRUWUDQVPLWWLQJSULYDWHGRFXPHQWVYLDWKH,QWHUQHW66/
          ZRUNVE\XVLQJDSULYDWHNH\WRHQFU\SWGDWDWKDWLVWUDQVIHUUHGRYHUWKH66/FRQQHFWLRQ%RWK1HWVFDSH1DYLJDWRUDQG
          ,QWHUQHW([SORUHUVXSSRUW66/DQGPDQ\:HEVLWHVXVHWKHSURWRFROWRREWDLQFRQILGHQWLDOXVHULQIRUPDWLRQVXFKDV
          FUHGLWFDUGQXPEHUV6HHDOVR3URWRFRO

          6WDWLF,3$GGUHVV
          $Q,3DGGUHVVWKDWLVDVVLJQHGWRDFRPSXWLQJGHYLFHSHUPDQHQWO\ RUXQWLOWKHXVHUFKDQJHVLWPDQXDOO\ XQOLNHD
          G\QDPLF,3DGGUHVVZKLFKLVDVVLJQHGWRDGHYLFHWHPSRUDULO\E\WKH'+&3VHUYHU6HHDOVR'+&3,3$GGUHVVDQG
          '\QDPLF,3$GGUHVV

          673
           6SDQQLQJ7UHH3URWRFRO $OLQNPDQDJHPHQWSURWRFROWKDWLVSDUWRIWKH,(((VWDQGDUGIRUPHGLDDFFHVVFRQWURO
          EULGJHV8VLQJWKHVSDQQLQJWUHHDOJRULWKP673SURYLGHVSDWKUHGXQGDQF\ZKLOHSUHYHQWLQJXQGHVLUDEOHORRSVLQD
          QHWZRUNWKDWDUHFUHDWHGE\PXOWLSOHDFWLYHSDWKVEHWZHHQVWDWLRQV/RRSVRFFXUZKHQWKHUHDUHDOWHUQDWHURXWHV
          EHWZHHQKRVWV7RHVWDEOLVKSDWKUHGXQGDQF\673FUHDWHVDWUHHWKDWVSDQVDOORIWKHVZLWFKHVLQDQH[WHQGHGQHWZRUN
          IRUFLQJUHGXQGDQWSDWKVLQWRDVWDQGE\ RUEORFNHG VWDWH673DOORZVRQO\RQHDFWLYHSDWKDWDWLPHEHWZHHQDQ\WZR
          QHWZRUNGHYLFHV WKLVSUHYHQWVWKHORRSV EXWHVWDEOLVKHVWKHUHGXQGDQWOLQNVDVDEDFNXSLIWKHLQLWLDOOLQNVKRXOGIDLO
          ,I673FRVWVFKDQJHRULIRQHQHWZRUNVHJPHQWLQWKH673EHFRPHVXQUHDFKDEOHWKHVSDQQLQJWUHHDOJRULWKP
          UHFRQILJXUHVWKHVSDQQLQJWUHHWRSRORJ\DQGUHHVWDEOLVKHVWKHOLQNE\DFWLYDWLQJWKHVWDQGE\SDWK:LWKRXWVSDQQLQJ
          WUHHLQSODFHLWLVSRVVLEOHWKDWERWKFRQQHFWLRQVPD\EHVLPXOWDQHRXVO\³OLYH´ZKLFKFRXOGUHVXOWLQDQHQGOHVVORRSRI
          WUDIILFRQWKH/$1

          6XEQHW
          $SRUWLRQRIDQHWZRUNZKLFKPD\EHDSK\VLFDOO\LQGHSHQGHQWQHWZRUNVHJPHQWZKLFKVKDUHVDQHWZRUNDGGUHVV
          ZLWKRWKHUSRUWLRQVRIWKHQHWZRUNDQGLVGLVWLQJXLVKHGE\DXQLTXHVXEQHWDGGUHVV,QJHQHUDODVXEQHWLVWRDQHWZRUN
          ZKDWDQHWZRUNLVWRWKH,QWHUQHW




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             6XEQHW$GGUHVV
             7KHVXEQHWSRUWLRQRIDQ,3DGGUHVVWKDWLVGHGLFDWHGWRWKHVXEQHW,QDVXEQHWWHGQHWZRUNWKHKRVWSRUWLRQRIDQ,3
             DGGUHVVLVVSOLWLQWRDVXEQHWSRUWLRQDQGDKRVWSRUWLRQXVLQJDQDGGUHVV VXEQHW PDVN6HHDOVR,3$GGUHVVDQG
             6XEQHW

             6XEQHW0DVN
             6HH6XEQHW$GGUHVV

             6XEVFULEHU
             $Q\SHUVRQRURUJDQL]DWLRQWKDWSD\VDSHULRGIHHIRUVHUYLFHV

             6<6/2*
              6<6WHP/2*JLQJ 6\VORJLVWKHVWDQGDUGHYHQWORJJLQJVXEV\VWHPIRU8QL[DQGFRQVLVWVRIDVHUYHUGDHPRQDFOLHQW
             IXQFWLRQOLEUDU\DQGDFOLHQWFRPPDQGOLQHXWLOLW\<RXFDQORJWRILOHVWHUPLQDOGHYLFHVORJJHGRQXVHUVRUHYHQ
             IRUZDUGWRRWKHUV\VORJV\VWHPV6HHDOVR'DHPRQ

             7&3
              7UDQVPLVVLRQ&RQWURO3URWRFRO 0DQDJHVGDWDLQWRVPDOOSDFNHWVDQGHQVXUHVWKDWWKHGDWDLVWUDQVPLWWHGFRUUHFWO\RYHU
             DQHWZRUN,IDQHUURULVGHWHFWHGWKHGDWDLVWUDQVPLWWHGDJDLQLQLWVRULJLQDOIRUP6HHDOVR7&3,3

             7&3,3
              7UDQVPLVVLRQ&RQWURO3URWRFRO,QWHUQHW3URWRFRO $VXLWHRISURWRFROVWKDWUHJXODWHVGDWDFRPPXQLFDWLRQVIRUWKH
             ,QWHUQHW6HHDOVR,QWHUQHW3URWRFRO,3URWRFRODQG7&3

             7HOQHW
             $VRIWZDUHSURJUDPDQGFRPPDQGXWLOLW\XVHGWRFRQQHFWEHWZHHQUHPRWHORFDWLRQVDQGVHUYLFHV7HOQHWFRQQHFWV\RX
             WRWKHORJLQSURPSWRIDQRWKHUKRVW WKDW\RXKDYHDFFHVVULJKWVWR 6HHDOVR+RVW

             7KURXJKSXW
             7KHQHWGDWDWUDQVIHUUDWHEHWZHHQDQLQIRUPDWLRQVRXUFHDQGLWVGHVWLQDWLRQXVLQJWKHPD[LPXPSDFNHWVL]HZLWKRXW
             ORVV7KURXJKSXWLVH[SUHVVHGDV0HJDELWVSHUVHFRQG 0ESV GHILQHGE\5)&6HFWLRQ6HHDOVR
             )RUZDUGLQJ5DWH0ESV3DFNHW3DFNHW6ZLWFKLQJ1HWZRUNSSVDQG5)&

             7/6
              7UDQVSRUW/D\HU6HFXULW\ $SURWRFROWKDWJXDUDQWHHVSULYDF\DQGGDWDLQWHJULW\EHWZHHQFOLHQWVHUYHUDSSOLFDWLRQV
             FRPPXQLFDWLQJRYHUWKH,QWHUQHW7KH7/6SURWRFROLVPDGHXSRIWZROD\HUV
             TLS Record Protocol
             /D\HUHGRQWRSRIDUHOLDEOHWUDQVSRUWSURWRFROVXFKDV7&3LWHQVXUHVWKDWWKHFRQQHFWLRQLVSULYDWHE\XVLQJ
             V\PPHWULFGDWDHQFU\SWLRQDQGHQVXUHVWKDWWKHFRQQHFWLRQLVUHOLDEOH7KH7/65HFRUG3URWRFRODOVRLVXVHGIRU
             HQFDSVXODWLRQRIKLJKHUOHYHOSURWRFROVVXFKDVWKH7/6+DQGVKDNH3URWRFRO
             TLS Handshake Protocol
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             NH\VEHIRUHWKHDSSOLFDWLRQSURWRFROWUDQVPLWVRUUHFHLYHVDQ\GDWD
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             %DVHGRQ1HWVFDSH¶V66/7/6VXSHUVHGHVDQGLVDQH[WHQVLRQRI66/7/6DQG66/DUHQRWLQWHURSHUDEOH6HH
             DOVR3URWRFRODQG66/

             7UDQVODWLRQ
             6HH,3$GGUHVV7UDQVODWLRQ




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          HQFDSVXODWLQJDQHWZRUNSURWRFROZLWKLQSDFNHWVFDUULHGE\WKHVHFRQGQHWZRUN)RUH[DPSOH0LFURVRIW V3373
          WHFKQRORJ\HQDEOHVRUJDQL]DWLRQVWRXVHWKH,QWHUQHWWRWUDQVPLWGDWDDFURVVD9LUWXDO3ULYDWH1HWZRUN 931 ,WGRHV
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          LQWHUPHGLDWHQHWZRUNLQJGHYLFHWRVLJQDODUHTXHVWIRUDVSHFLILF4R6OHYHO7R6XVHVWKUHHELWVWRWHOODURXWHUKRZWR
          SULRULWL]HDSDFNHWDQGRQHELWDSLHFHWRVLJQDOUHTXLUHPHQWVIRUGHOD\WKURXJKSXWDQGUHOLDELOLW\6HHDOVR3DFNHW
          4R65RXWHUDQG7KURXJKSXW

          85/
           8QLIRUP5HVRXUFH/RFDWRU 7KHVWDQGDUGPHWKRGXVHGIRULGHQWLI\LQJWKHORFDWLRQRILQIRUPDWLRQDYDLODEOHWRWKH
          ,QWHUQHW7KLVLVHIIHFWLYHO\WKH³DGGUHVV´RIDGRFXPHQWRUILOHH[SUHVVHGLQWKHIRUPprotocol://domain.filename/
          path.type IRUH[DPSOHhttp://www.myfile.com/nextpage.html 

          87&
           &RRUGLQDWHG8QLYHUVDO7LPH $WLPHVFDOHWKDWFRXSOHV*UHHQZLFK0HDQ7LPH *07 ZKLFKLVEDVHGVROHO\RQWKH
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          VHFRQGGLIIHUHQFHDOHDSVHFRQGLVFDOFXODWHGLQWR87&87&ZDVGHYLVHGRQ-DQXDU\DQGLVFRRUGLQDWHGLQ
          3DULVE\WKH,QWHUQDWLRQDO%XUHDXRI:HLJKWVDQG0HDVXUHV87&OLNH*07LVVHWDWGHJUHHVORQJLWXGHRQWKHSULPH
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          PDMRUDGYDQWDJHRI9R,3DQG,QWHUQHWWHOHSKRQ\LVWKDWLWDYRLGVWKHWROOVFKDUJHGE\RUGLQDU\WHOHSKRQHVHUYLFHV6HH
          DOVR,QWHUQHWDQG,3

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           9LUWXDO3ULYDWH1HWZRUN $QHWZRUNWKDWLVFRQVWUXFWHGE\XVLQJSXEOLFZLUHVWRFRQQHFWQRGHV)RUH[DPSOHWKHUHDUH
          DQXPEHURIV\VWHPVWKDWHQDEOH\RXWRFUHDWHQHWZRUNVXVLQJWKH,QWHUQHWDVWKHPHGLXPIRUWUDQVSRUWLQJGDWD7KHVH
          V\VWHPVXVHHQFU\SWLRQDQGRWKHUVHFXULW\PHFKDQLVPVWRHQVXUHWKDWRQO\DXWKRUL]HGXVHUVFDQDFFHVVWKHQHWZRUNDQG
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          $UHDOWLPHRSHUDWLQJV\VWHPPDQXIDFWXUHGDQGVROGE\:LQG5LYHU6\VWHPVRI&DOLIRUQLD86$9[:RUNVSURJUDP
          GHYHORSPHQWUHTXLUHVDKRVWPDFKLQHUXQQLQJ8QL[RU:LQGRZV

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           :RUOG:LGH:HE&RQVRUWLXP $QLQWHUQDWLRQDOFRQVRUWLXPRIFRPSDQLHVLQYROYHGZLWKWKH,QWHUQHWDQGWKH:HE7KH
          RUJDQL]DWLRQ VSXUSRVHLVWRGHYHORSRSHQVWDQGDUGVVRWKDWWKH:HEHYROYHVLQDVLQJOHGLUHFWLRQUDWKHUWKDQEHLQJ
          VSOLQWHUHGDPRQJFRPSHWLQJIDFWLRQV7KH:&LVWKHFKLHIVWDQGDUGVERG\IRU+773DQG+70/6HHDOVR+70/
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          FDQEHPDGHXSRILQWHUFRQQHFWHGVPDOOHUQHWZRUNVVSUHDGWKURXJKRXWDEXLOGLQJDVWDWHDFRXQWU\RUWKHHQWLUHJOREH




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              :LUHG(TXLYDOHQW3ULYDF\ $VHFXULW\SURWRFROIRUZLUHOHVVORFDODUHDQHWZRUNV :/$1V GHILQHGLQWKHE
             VWDQGDUG:(3LVGHVLJQHGWRSURYLGHWKHVDPHOHYHORIVHFXULW\DVWKDWRIDZLUHG/$1/$1VDUHLQKHUHQWO\PRUH
             VHFXUHWKDQ:/$1VEHFDXVH/$1VDUHVRPHZKDWSURWHFWHGE\WKHSK\VLFDOLWLHVRIWKHLUVWUXFWXUHKDYLQJVRPHRUDOO
             RIWKHQHWZRUNLQVLGHDEXLOGLQJWKDWFDQEHSURWHFWHGIURPXQDXWKRUL]HGDFFHVV:/$1VZKLFKDUHRYHUUDGLRZDYHV
             GRQRWKDYHWKHVDPHSK\VLFDOVWUXFWXUHDQGWKHUHIRUHDUHPRUHYXOQHUDEOHWRWDPSHULQJ:(3DLPVWRSURYLGHVHFXULW\
             E\HQFU\SWLQJGDWDRYHUUDGLRZDYHVVRWKDWLWLVSURWHFWHGDVLWLVWUDQVPLWWHGIURPRQHHQGSRLQWWRDQRWKHU

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              :LUHOHVV)LGHOLW\ 8VHGJHQHULFDOO\ZKHQUHIHUULQJRIDQ\W\SHRIQHWZRUNZKHWKHUEDGXDO
             EDQGHWF7KHWHUPLVSURPXOJDWHGE\WKH:L)L$OOLDQFH$Q\SURGXFWVWHVWHGDQGDSSURYHGDV³:L)L&HUWLILHG´ D
             UHJLVWHUHGWUDGHPDUN E\WKH:L)L$OOLDQFHDUHFHUWLILHGDVLQWHURSHUDEOHZLWKHDFKRWKHUHYHQLIWKH\DUHIURP
             GLIIHUHQWPDQXIDFWXUHUV$XVHUZLWKD³:L)L&HUWLILHG´SURGXFWFDQXVHDQ\EUDQGRIDFFHVVSRLQWZLWKDQ\RWKHU
             EUDQGRIFOLHQWKDUGZDUHWKDWDOVRLVFHUWLILHG7\SLFDOO\KRZHYHUDQ\:L)LSURGXFWXVLQJWKHVDPHUDGLRIUHTXHQF\
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             ZDYHVUDWKHUWKDQZLUHVWRFRPPXQLFDWHEHWZHHQQRGHV6HHDOVR1RGH

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             :HE0DQDJHPHQW,QWHUIDFH 7KHEURZVHUEDVHGV\VWHPDGPLQLVWUDWRUVLQWHUIDFHIRUDOO1RPDGL[*DWHZD\V

             :3$
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             8VHUDXWKHQWLFDWLRQZKLFKLVJHQHUDOO\PLVVLQJLQ:(3WKURXJKWKHH[WHQVLEOHDXWKHQWLFDWLRQSURWRFRO ($3 :(3
             UHJXODWHVDFFHVVWRDZLUHOHVVQHWZRUNEDVHGRQDFRPSXWHU¶VKDUGZDUHVSHFLILF0$&DGGUHVVZKLFKLVUHODWLYHO\
             VLPSOHWREH³VQLIIHGRXW´DQGVWROHQ($3LVEXLOWRQDPRUHVHFXUHSXEOLFNH\HQFU\SWLRQV\VWHPWRHQVXUHWKDWRQO\
             DXWKRUL]HGQHWZRUNXVHUVFDQDFFHVVWKHQHWZRUN
             ,WVKRXOGEHQRWHGWKDW:3$LVDQLQWHULPVWDQGDUGWKDWZLOOEHUHSODFHGZLWKWKH,(((¶VLVWDQGDUGXSRQLWV
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             GHVLJQHGHVSHFLDOO\IRU:HEGRFXPHQWV,WHQDEOHVGHVLJQHUVWRFUHDWHWKHLURZQFXVWRPL]HGWDJVWRSURYLGH
             IXQFWLRQDOLW\QRWDYDLODEOHZLWK+70/)RUH[DPSOH;0/VXSSRUWVOLQNVWKDWSRLQWWRPXOWLSOHGRFXPHQWVDV
             RSSRVHGWR+70/OLQNVZKLFKFDQUHIHUHQFHMXVWRQHGHVWLQDWLRQHDFK)RUDOO1RPDGL[*DWHZD\V;0/LVXVHGE\
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             1RPDGL[*DWHZD\WRDFFHSWDQGSURFHVV;0/FRPPDQGVIURPDQH[WHUQDOVRXUFH;0/FRPPDQGVDUHDSSHQGHGWRD
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             VSHFLILHGE\WKHVWULQJDQGUHWXUQGDWDWRWKHV\VWHPWKDWLQLWLDWHGWKHFRPPDQGUHTXHVW6HHDOVR+70/7&3DQG
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                        Exhibit F
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                                                          NEWS ANNOUNCEMENT
                                                                  For Immediate Release


   Nomadix Advances the State of Bandwidth Management for Visitor-
                          Based Networks

    Guest Internet Providers to Benefit from New Capabilities Found in Version 8.7 of
                                Nomadix Service Engine


          HITEC, Booth #734, NEW ORLEANS, June 21, 2016 – With the introduction of
 Nomadix Service Engine (NSE) version 8.7, Nomadix Inc. showcases new bandwidth
 management and security features for its AG 2400, AG 5600, AG 5800 and AG 5900 bandwidth
 management and access gateways. These popular gateways service internet connections for
 guests in locations such as hotels or convention centers – or anywhere there is a visitor network.


          The quality of high-speed internet continues to rank as one of the most important factors
 for guests when choosing to stay at a hotel. One of the biggest factors in determining the
 quality of that access is the ability to effectively manage bandwidth. Bandwidth limits, or caps,
 can be useful in managing bandwidth by limiting the amount of bandwidth each guest consumes
 – but there is an even greater level of granularity that can be provided beyond traditional caps.
 With NSE version 8.7, Nomadix continues to invest and innovate by adding bandwidth
 management capabilities beyond caps. Version 8.7 adds support for distribution of unused
 bandwidth and utilizes Weighted Fair Queuing (WFQ) together with Class Based Queuing
 (CBQ).     This contributes to improving the guest experience and helps Managed Service
 Providers (MSPs), and ultimately hotels, extract more value out of purchased bandwidth.


          “Bandwidth management is one of the biggest drivers of value in the hospitality arena
 when it comes to high-speed internet access,” said Nomadix Chief Commercial and Operating
 Officer Fred Reeder. “We continue to make enhancements in those areas that will improve the
 bottom line for hoteliers and others who provide guests with high-speed internet.”




                                               -more-
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 Nomadix Advances the State of…                                                          Page 2


       Specific capabilities offered in version 8.7 include:
       x   Bandwidth Management
              o   Concurrent CBQ and WFQ usage – NSE now integrates its WFQ and CBQ to
                  improve Quality of Service and therefore improves the guest experience.
                  NSE will now allow for subscribers with differently defined individual upper
                  bandwidth limits to be weighted appropriately within the class to which they
                  are assigned. This approach can be applied to multiple classes at the same
                  time. In each class, traffic is shaped in a fair manner. This ensures that
                  subscribers in higher tiers can get a proportionally higher share of bandwidth.
              o   Share Unused Bandwidth – Subscriber bandwidth allocations can now be
                  proportionally increased when excess bandwidth is available. With this
                  enhancement, service providers will now have the ability to assign
                  proportional weights instead of static caps.
              o   New Default Subscriber Bandwidth setting – Valid subscribers that have no
                  specified bandwidth setting will be assigned the default bandwidth.
       x   Security – The customization of the Simple Network Management Protocol (SNMP)
           will improve the ability to perform network monitoring. To overcome an ISP limitation
           enforced on SNMP operations, NSE will now allow MSPs to change the listening port
           for SNMP – thereby increasing the security to monitor NSE and its visitor-based
           network. This customization also helps to avoid opportunistic vulnerability scanners
           that look to create denial of service attacks.
       x   Platform Enhancements
              o   Dynamic Host Configuration Protocol (DHCP) and Option 82 (Relay Agent
                  Information Option protocol extension) – NSE now allows information to be
                  included in a relayed DHCP request. The features allow MSPs to utilize a
                  central DHCP server in communication with multiple NSEs at different sites.
              o   Expanding XML Portal SubID length (36 byte string) – The Portal SubID is an
                  optional element that can be included in the XML Radius_login command. It
                  simplifies implementation of cloud-based portal Operations Support Systems
                  (OSS) deployed in a distributed environment.
              o   Expanding length of user-definable fields – enhances NSE’s external API,
                  providing portal OSS even more flexibility. Specifically, it increases the
                  amount of information (128 bytes) a portal OSS can associate with each
                  subscriber profile.

                                               -more-
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 Nomadix Advances the State of…                                                           Page 3


               o   Reporting subscriber usage statistics – helps MSPs meet SLAs by providing
                   a clearer indication of NSE subscriber license utilization. This can be used as
                   an early indicator of when to increase the number of licensed subscribers.

        Nomadix gateways are designed to meet the needs of any size property. The AG 2400
 gateway serves smaller properties, such as hotels with up to 150 rooms, and supports the
 deployment of wired or wireless networks with up to 500 simultaneous mobile devices. The AG
 5600, AG 5800 and AG 5900 gateways serve larger venues with up to 2,000, 4,000 and 8,000
 simultaneous devices, respectively.


        NSE 8.7 will be available in Q3 2016. For more information, please contact Nomadix at
 818-597-1500 or visit www.nomadix.com.


 About Nomadix
        Nomadix offers gateways for seamless wired and wireless connectivity solutions across
 public access networks and enterprises. Nomadix gateways have earned a global reputation for
 unparalleled reliability and ease of management. As one customer put it, “They just work.”
 Powered by patented technology, Nomadix throughput enhancement technologies make
 available bandwidth stretch further, slowing the pace of investment in bandwidth upgrades and
 enabling revenue generation and customization in a number of business models. With Nomadix,
 public access network providers are able to deploy cost-effective, secure and easy-to-use
 network services. For more information, visit www.nomadix.com, call 818-597-1500, follow on
 LinkedIn, Twitter and Google+, like on Facebook and view the video library on YouTube.



 Media Contact:
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 Lages & Associates
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 stephanie@lages.com


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                                        Exhibit                                    G
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           In order to use the           NSE    Automated Firmware Upgrade System                         NA
           Gateway      AG must respond                 to   ping network side       telnet   and   ftp   ac

           as well as having           SNMP          enabled with the read community config
           during the upgrade process                  to   determine the   unit’s status     during the

           recommended            that   you back up the contents of the             flash directory

           flash directory is the            one you are connected          to   when you log       in via

           ftp log   into the      AG     and download          a    copy the contents in     this direc

           subdirectories Next                in the   Notices screen       click   on the Upgrade y
           link Please            in         fields   and    click   Next to begin the upgrade
                           fill




                                       all




            NSE Automated Firmware Upgrade System NAFUS

           The firmware upgrade               will   take about 10       15 minutes      Do   not close

           this   time Please enter and submit your comments                        to   Nomadix     at th



           Before starting the upgrade ensure the gateway responds                             to   ping
           the    Read Community configured and network side Telnet access a
           blocked The gateway               will    reboot twice during major build upgrades
           and once during minor build upgrades i e version 8.3 xxx to 8.3 yy
           that you back up the contents of the flash directory before starting

           this using   FTP        log into the gateway              and download a copy of the co
           directory including any              sub directories



                           All fields are

                        required


                         NSE Administration
                        User Name
                         NSE Administration
                        Password

                         IP Address
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           You     will   now     see   be able   to   follow the upgrade process as            shown b
           Select the      firmware version to use for the update and then click



                                                                       Release
           Select     Firmware Version                 Status
                                                                         Date

                      8.5.024                      Preferred         Aug 31 2015 Readme

                      1                      gateway Gateway                                  1 ms
                      2
            Step           Pinging the                                       reachable in

             Step           Verifying current model                    firmware information          OK
             Step     3                 Firmware Version to upgrade                to OK
                      4
                            Select

                            Uploading firmware image 1440027267 firmwareAG
                      5 FTP
             Step
             Step                   Session established Checking                  for   any existing firm


            Uploading firmware package
                   Local file      1440027267 firmwareAG5600 v8.5.024                             zip

                   Local   file   size 5667207 bytes

                   Remote    file       firmware AG5600 v8.5.024                   zip



                           complete verifying package sizeOK
                      6
               Transfer

             Step           Performing       upgrade
           Step       7    Firmware image              is   being extracted and         NSE   will shortl

               Waiting for reboot           max 100 pings
           0   ping       pong
               1   ping      pong
               2   ping      no reply
               3   ping      no reply
               4   ping      no reply
               5             NSE                                             OK
                       8
                   ping                 appears   to        be rebooting

             Step           Waiting for       NSE           to   come back   online     max 100   ping
           0   ping       no reply
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            Step        11 The       NSE    will   now   try to contact   the   Nomadix License
           Please       wait
           OK        Received key from License               Key Server
           If   the license    key   is   successfully processed     the   NSE       will   reboot
                 Waiting for reboot         max 15 pings


            0    ping       pong
                 1   ping      pong
                 2   ping      pong
                 3   ping      pong
                 4   ping      pong
                 5   ping      pong
                 6   ping      pong
                 7   ping      pong
                 8   ping      pong
                 9   ping      pong
                 10     ping

                Step     12 Waiting        for    NSE   to   come back    online     max 15   ping

           0     ping       pong
                 1   ping      pong
                 2   ping      pong
                 3   ping      pong
                 4   ping      OKNSE         is    back online
                Step     13 Waiting        30 seconds before verifying post license upd


           License update complete



                Step    14     Logging successful upgrade license update
           Upgrade and          license     update are complete           NSE   is   now    running

           8.5.024
